        19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 1 of
                                               269
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
 Western (San Antonio) District of _________________
 ____________________              Texas
                                       (State)
                                                           7
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name                          Legendary Field Exhibitions, LLC
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer             8 2          4 6 4 8 9 6 4
                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            4525       Macro
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street


                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            San Antonio                TX       78218
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Bexar
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 https://aaf.com
                                           ____________________________________________________________________________________________________


6.   Type of debtor                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            ✔


                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
          19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 2 of
                                                 269
Debtor
                 Legendary Field Exhibitions, LLC
                _______________________________________________________                         Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above
                                          ✔




                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              7112
                                              ___ ___Spectator
                                                      ___ ___  Sports
8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          ✔


                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                              4/01/19 and every 3 years after that).
                                                          
                                                           The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet, statement
                                                              of operations, cash-flow statement, and federal income tax return or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.     District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a                           See Schedule 1                                                    Affiliate
      business partner or an              Yes.     Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                              Western District of Texas (San Antonio)
                                                    District _____________________________________________ When
                                                                                                                              04/17/2019
                                                                                                                              __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                       Case number, if known ________________________________


     Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
         19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 3 of
                                                269
Debtor         Legendary Field Exhibitions, LLC
              _______________________________________________________                        Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                        ✔

                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have       No
                                        ✔

      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                       Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard? _____________________________________________________________________

                                                    It needs to be physically secured or protected from the weather.

                                                    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                    Other _______________________________________________________________________________



                                                 Where is the property?_____________________________________________________________________
                                                                             Number        Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________       _______     ________________
                                                                             City                                          State       ZIP Code


                                                 Is the property insured?
                                                    No
                                                    Yes. Insurance agency ____________________________________________________________________

                                                          Contact name       ____________________________________________________________________

                                                          Phone              ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                   Funds will be available for distribution to unsecured creditors.
                                        ✔


                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        1-49                             1,000-5,000
                                                                         ✔                                          25,001-50,000
14.   Estimated number of               50-99                            5,001-10,000                             50,001-100,000
      creditors
                                        100-199                          10,001-25,000                            More than 100,000
                                        200-999

                                        $0-$50,000                       $1,000,001-$10 million
                                                                         ✔                                          $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 4 of
                                       269
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 5 of
                                       269



                                            SCHEDULE 1
                       Bankruptcy Cases Filed by the Debtor and Its Affiliates
         As of the date of this filing, each of the entities listed below filed a petition in this Court

 for relief under chapter 7 of title 11 of the United States Code.

             AAF Players, LLC
             AAF Properties, LLC
             Ebersol Sports Media Group, Inc.
             Legendary Field Exhibitions, LLC
             LFE 2, LLC
             We Are Realtime, LLC




 #5909959.1
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 6 of
                                       269



                          IN THE UNITED STATES BANKRUPTCY COURT
                                 WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION


     In re:                                                             Chapter 7

     Legendary Field Exhibitions, LLC, et al.,                          Case No.

                                   Debtors.1


                             CORPORATE OWNERSHIP STATEMENT OF
                              LEGENDARY FIELD EXHIBITIONS, LLC

              Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(1), the following are

 corporations, other than a governmental unit, that directly or indirectly own 10% or more of any

 class of Legendary Field Exhibitions, LLC’s equity interests.2

                                                     Shareholder
                            Ebersol Sports Media Group, Inc.
                            Teddy Bright Pictures, Inc.
                            FO2 LLC




                                  [Remainder of page intentionally left blank]




 1
     The Debtors in these chapter 7 cases are: Legendary Field Exhibitions, LLC; AAF Players, LLC; AAF Properties,
     LLC; Ebersol Sports Media Group, Inc.; LFE 2, LLC; and We Are Realtime, LLC. The Debtors’ main corporate and
     mailing address for purposes of these chapter 7 cases is: 4525 Macro, San Antonio, TX 78218.
 2
     On February 14, 2019, Dundon Capital Partners LLC acquired the right to 75% senior ownership and control in
     Ebersol Sports Media Group, Inc., the Debtor's ultimate parent. The form of such capital security to be defined in
     definitive documentation at the sole discretion of Dundon Capital Partners LLC, but in all events senior to any
     other existing capital securities of Ebersol Sports Media Group, Inc. Such definitive documentation was not
     completed prior to filing.
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 7 of
                                       269



                                     Respectfully Submitted,

                                            BRACEWELL LLP

                                            /s/ William A. (Trey) Wood III
                                            William A. (Trey) Wood III
                                            Texas Bar No. 21916050
                                            Trey.Wood@bracewell.com
                                            Jason G. Cohen
                                            Texas Bar No. 24050435
                                            Jason.Cohen@bracewell.com
                                            711 Louisiana, Suite 2300
                                            Houston, Texas 77002
                                            Telephone: (713) 222-3055
                                            Facsimile: (713) 221-1212

                                            Counsel For Debtors




                                       2
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 8 of
                                       269



                                    WRITTEN CONSENT

                                            OF THE

                             MANAGER AND SOLE MEMBER

                                               OF

                         LEGENDARY FIELD EXHIBITIONS, LLC


         The undersigned, being the sole member and the duly appointed manager of Legendary
 Field Exhibitions, LLC, a Delaware limited liability company (the “Company”), and, being
 entitled to vote upon the approval of the resolutions attached hereto as Exhibit A (the
 “Resolutions”), hereby consent to the adoption of the Resolutions without a meeting of the sole
 member or the manager of the Company to have the same force and effect as if approved by at a
 formal meeting of the Company duly called and held for the purpose of approving the
 Resolutions.

         IN WITNESS WHEREOF, the undersigned have executed this written consent to be
 effective as of the first date on which it has been executed by the sole member and the manager.


                                          MANAGER


                                                                                  Date: 4/16/2019
                                          Charles Ebersol


                                          SOLE MEMBER

                                          Ebersol Sports Media Group, Inc.


                                                                                  Date: 4/16/2019
                                          Charles Ebersol
                                          Chief Executive Officer




 #5910098
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 9 of
                                       269



                                               Exhibit A

              RESOLUTIONS OF THE SOLE MEMBER AND MANAGER OF
                     LEGENDARY FIELD EXHIBITIONS, LLC

                                            April 16, 2019
 CHAPTER 7 FILING

 WHEREAS, each of the sole member (the “Member”) and the manager (the “Manager”) of
 Legendary Field Exhibitions, LLC (the “Company”) has reviewed and discussed the financial
 and operational condition of the Company and the Company’s business on the date hereof,
 including the current and historical performance of the Company, the assets and liquidity of the
 Company, the current long-term liabilities of the Company, the market for the Company’s
 services, and credit market conditions; and

 WHEREAS, the Member and the Manager have received, reviewed, and discussed the
 recommendations of senior management of the Company and the Company’s legal, financial,
 and other advisors as to the relative risks and benefits of the strategic alternatives available to the
 Company, including pursuing a bankruptcy proceeding under the provisions of Title 11 of the
 United States Code (the “Bankruptcy Code”); and

 WHEREAS, after review and discussion and due consideration of all of the information
 presented to the Member and the Manager, the Member and the Manager deem it advisable and
 in the best interests of the Company, including without limitation, its creditors, employees, and
 other investors, stakeholders and other interested parties, for the Company to file a voluntary
 petition for relief under chapter 7 of the Bankruptcy Code.

 NOW, THEREFORE, BE IT, RESOLVED, that in the judgment of the Member and the
 Manager, it is desirable and in the best interests of the Company, its creditors, and other parties
 in interest, that the Company shall be and hereby is authorized to file or cause to be filed a
 voluntary petition for relief (such voluntary petition, the “Chapter 7 Case”) under the provisions
 of the Bankruptcy Code in the United States Bankruptcy Court for the Western District of Texas
 or another court of proper jurisdiction (the “Bankruptcy Court”); and

 RESOLVED, that Charles Ebersol, and Kevin Farrell, the Head of Corporate Operations (the
 “Authorized Signatories”), acting alone or with one or more other Authorized Signatories be, and
 hereby are, authorized, empowered and directed to execute and file on behalf of the Company all
 petitions, schedules, lists and other motions, papers, or documents, and to take any and all action
 that they deem necessary or proper to obtain such relief, including, without limitation, any action
 necessary to maintain the ordinary course operation of the Company’s business; and

 RETENTION OF PROFESSIONALS

 RESOLVED, that the Authorized Signatories be, and each hereby is, authorized and directed to
 employ the law firm of Bracewell LLP as bankruptcy counsel to represent and assist the
 Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions to


                                                  -2-
 #5910098
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 10 of
                                       269



 advance the Company’s rights and obligations, including filing any pleadings; and in connection
 therewith, the each of the Authorized Signatories, with power of delegation, is hereby authorized
 and directed to execute appropriate retention agreements, pay appropriate retainers, and to cause
 to be filed an appropriate application for authority to retain the services of Bracewell LLP; and

 RESOLVED, that the Authorized Signatories be, and each hereby is, authorized and directed to
 employ any other professionals to assist the Company in carrying out its duties under the
 Bankruptcy Code; and in connection therewith, each Authorized Signatory, with power of
 delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
 appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
 services of any other professionals as necessary; and

 RESOLVED, that the Authorized Signatories be, and each hereby is, with power of delegation,
 authorized, empowered and directed to execute and file all petitions, schedules, motions, lists,
 applications, pleadings, and other papers and, in connection therewith, to employ and retain all
 assistance by legal counsel, accountants, financial advisors, and other professionals and to take
 and perform any and all further acts and deeds that the Authorized Signatory deems necessary,
 proper, or desirable in connection with the Company’s Chapter 7 case, with a view to the
 successful prosecution of such case; and

 GENERAL

 RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
 Authorized Signatories, the Authorized Signatories (and their designees and delegates) be, and
 each hereby is, authorized and empowered, in the name of and on behalf of the Company, to take
 or cause to be taken any and all such other and further action, and to execute, acknowledge,
 deliver and file any and all such agreements, certificates, instruments and other documents and to
 pay all expenses, including but not limited to filing fees, in each case as in such signatory’s or
 signatories’ judgment, shall be necessary, advisable or desirable in order to fully carry out the
 intent and accomplish the purposes of the resolutions adopted herein; and

 RESOLVED, that the Member and the Manager have received sufficient notice of the actions
 and transactions relating to the matters contemplated by the foregoing resolutions, as may be
 required by the organizational documents of the Company, or hereby waive any right to have
 received such notice; and

 RESOLVED, that all acts, actions, and transactions relating to the matters contemplated by the
 foregoing resolutions done in the name of and on behalf of the Company, which acts would have
 been approved by the foregoing resolutions except that such acts were taken before the adoption
 of these resolutions, are hereby in all respects approved and ratified as the true acts and deeds of
 the Company with the same force and effect as if each such act, transaction, agreement, or
 certificate has been specifically authorized in advance by resolution of the Member and the
 Manager; and

 RESOLVED, that the Authorized Signatories (and their designees and delegates) be, and each
 hereby is, authorized and empowered to take all actions or to not take any action in the name of


                                                  -3-
 #5910098
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 11 of
                                       269



 the Company with respect to the transactions contemplated by these resolutions hereunder as the
 sole shareholder, partner, member, or managing member of each direct subsidiary of the
 Company, in each case, as the Authorized Signatory shall deem necessary or desirable in the
 Authorized Signatory’s reasonable business judgment as may be necessary or convenient to
 effectuate the purposes of the transactions contemplated herein.



                                              ***




                                               -4-
 #5910098
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 12 of
                                       269



                         IN THE UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION


 In re                                                           Chapter 7

 Legendary Field Exhibitions, LLC, et al.,                       Case No.
            1
 Debtors.



             GLOBAL NOTES, METHODOLOGY, AND SPECIFIC DISCLOSURES
               REGARDING THE DEBTORS’ SCHEDULES OF ASSETS AND
                LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                                  Introduction

        Ebersol Sports Media Group, Inc. (“ESMG”) and its affiliated debtors (collectively, the
 “Debtors”) are filing their respective Schedules of Assets and Liabilities (the “Schedules”) and
 Statements of Financial Affairs (the “Statements,” and together with the Schedules, the
 “Schedules and Statements”) with the United States Bankruptcy Court for the Western District
 of Texas, San Antonio Division (the “Bankruptcy Court”).

 The Schedules and Statements were prepared pursuant to Bankruptcy Code section 521 and
 Rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) by
 management of the Debtors with unaudited information available as of the Petition Dates.

 The Debtors’ management prepared the Schedules and Statements with the assistance of their
 financial and legal advisors. The Schedules and Statements are unaudited. The Debtors’
 management and advisors have made reasonable efforts to ensure that the Schedules and
 Statements are as accurate and complete as possible under the circumstances based on
 information that was available to them at the time of preparation; however, subsequent
 information or discovery may result in material changes to the Schedules and Statements and
 inadvertent errors or omissions may exist. Notwithstanding any such discovery or new
 information, the Debtors shall not be required to update the Schedules and Statements.
 Furthermore, nothing contained in the Schedules and Statements shall constitute a waiver of

 1
     The Debtors in these chapter 7 cases are: Legendary Field Exhibitions, LLC; AAF Players, LLC; AAF Properties,
     LLC; Ebersol Sports Media Group, Inc; LFE 2, LLC; and We are Realtime, LLC. The Debtors’ main corporate
     and mailing address for purposes of these chapter 7 cases is: 4525 Macro, San Antonio, TX 78218.


                                                         1
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 13 of
                                       269



 rights with respect to these Chapter 7 Cases, including to issues involving substantive
 consolidation, equitable subordination, and causes of action arising under provisions of chapter
 5 of the Bankruptcy Code and other relevant non-bankruptcy laws to recover assets or avoid
 transfers.

 These Global Notes, Methodology, and Specific Disclosures Regarding the Debtors’ Schedules
 of Assets and Liabilities and Statements of Financial Affairs (the “Global Notes”) relate to each
 Debtor’s Schedules and Statements and set forth the basis upon which the Schedules and
 Statements are presented. These Global Notes comprise an integral part of all of the Schedules
 and Statements and should be referred to and considered in connection with any review of the
 Schedules and Statements. The Schedules and Statements do not purport to represent financial
 statements prepared in accordance with Generally Accepted Accounting Principles in the
 United States (“GAAP”), nor are they intended to be fully reconciled with the financial
 statements of each Debtor. Additionally, the Schedules and Statements contain unaudited
 information that is subject to further review and potential adjustment and reflect the Debtors’
 commercially reasonable efforts to report the assets and liabilities of each Debtor on an
 unconsolidated basis.

 The Schedules and Statements should not be relied upon by any person for information
 relating to current or future financial conditions, events or performance of any of the
 Debtors. Due to numerous unliquidated, contingent and/or disputed claims, summary
 statistics in the Schedules and Statements likely significantly understate the Debtors’
 liabilities. The Debtors and their agents, attorneys, and advisors do not guarantee or warrant
 the accuracy or completeness of the data that is provided herein and shall not be liable for any
 loss or injury arising out of or caused in whole or in part by the acts, errors, or omissions,
 whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
 communicating, or delivering the information contained herein. While commercially
 reasonable efforts have been made to provide accurate and complete information herein,
 inadvertent errors or omissions may exist. The Debtors and their agents, attorneys, and
 advisors expressly do not undertake any obligation to update, modify, revise, or recategorize
 the information provided herein, or to notify any third party should the information be updated,
 modified, revised, or recategorized.

 In no event shall the Debtors or their agents, attorneys, and financial advisors be liable to any
 third party for any direct, indirect, incidental, consequential, or special damages (including, but
 not limited to, damages arising from the disallowance of a potential claim against the Debtors
 or damages to business reputation, lost business, or lost profits), whether foreseeable or not and
 however caused, even if the Debtors or their agents, attorneys, and financial advisors are
 advised of the possibility of such damages.


                                                  2
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 14 of
                                       269




 Kevin Farrell, Head of Corporate Operations, has signed each of the Schedules and Statements.
 Mr. Farrell is an authorized signatory for each of the Debtors. In reviewing and signing the
 Schedules and Statements, Mr. Farrell necessarily has relied upon the efforts, statements, and
 representations of various personnel involved in the Debtors’ businesses and their advisors.
 Mr. Farrell has not (and could not have) personally verified the accuracy of each statement and
 representation contained in the Schedules and Statements, including statements and
 representation concerning amounts owed to creditors, classification of such amounts, and
 creditor addresses.


 Global Notes and Overview of Methodology

 1.      Consolidation of Books and Records. The Debtors’ books and records have been
 maintained only on a consolidated basis since inception rather than on a legal entity basis. As
 such, the Schedules and Statements have been prepared on a “best efforts” basis to list assets
 for each legal entity based on the Debtors’ business operations.

 2.      Net Book Value of Assets. It would be prohibitively expensive and unduly
 burdensome to obtain current market valuations for all of the Debtors’ property interests.
 Unless otherwise stated, the Schedules and Statements reflect net book values as of January 31,
 2019, the date that the most recent financial statements were completed. Due to the timing of
 the preparation of these Schedules and Statements, the Debtors’ financials as of the Petition
 Date are not yet available. Where more recent data is available, the Debtors have endeavored to
 reflect this information in the Schedules and Statements. The book values of certain assets may
 materially differ from their fair market values. For the avoidance of doubt, nothing contained
 in the Schedules and Statements is indicative of the Debtors’ enterprise value.

 Book values of assets prepared in accordance with GAAP generally do not reflect the current
 performance of the assets or the impact of the current price environment and may differ
 materially from the actual value and/or performance of the underlying assets.

 3.      Liabilities. The liability information provided herein represents the estimated liability
 data of the Debtors as of the Petition Date, except as otherwise noted. Amounts presented
 herein are based on the Debtors’ reasonable efforts to determine amounts owed to creditors as
 of the Petition Date. Amounts owed to vendors for certain goods in transit which have not yet
 been received at the Debtors’ facilities or services provided for which invoices have not been
 received as of April 11, 2019, may be understated due to lack of sufficient information.




                                                 3
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 15 of
                                       269



 Accordingly, the Debtors reserve all of their rights to amend, supplement, or otherwise modify
 the Schedules and Statements as is necessary or appropriate.

 The liabilities listed on the Schedules do not reflect any analysis of claims under section
 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of their rights to
 dispute or challenge the validity of any asserted claims under section 503(b)(9) of the
 Bankruptcy Code or the characterization of the structure of any such transaction or any
 document or instrument related to any creditor’s Claim.

 4.      Leases. In the ordinary course of their businesses, the Debtors lease facilities from
 certain third-party lessors for use in their daily operations. Any such leases are set forth in
 Schedule G. The property subject to any of such leases is not reflected in either Schedule A or
 Schedule B as either owned property or assets of the Debtors. Neither is the property subject to
 any such leases reflected in the Statements as property or assets of third-parties within the
 control of a Debtor. Nothing in the Schedules is or shall be construed as an admission or
 determination as to the legal status of any lease (including whether any lease is a true lease or a
 financing arrangement), and the Debtors reserve all rights with respect to any such issues.

 5.     Reservation of Rights. Reasonable efforts have been made to prepare and file
 complete and accurate Schedules and Statements, but inadvertent errors or omissions may exist.
 Nothing contained in the Schedules and Statements or the Global Notes shall constitute a
 waiver of rights with respect to the Chapter 7 Cases, including, but not limited to, issues
 involving substantive consolidation, equitable subordination, characterization or
 re-characterization of contracts, assumption or rejection of executory contracts under the
 provisions of chapter 3 of the Bankruptcy Code and causes of action arising under the
 provisions of chapter 5 of the Bankruptcy Code or any applicable non-bankruptcy laws to
 recover assets or avoid transfers.

              (a)   Schedules D and E/F permit each of the Debtors to designate a Claim as
                    “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a
                    claim listed on the Schedules and Statements as “disputed,” “contingent” or
                    “unliquidated” does not constitute an admission by the Debtors that such
                    amount is not “disputed,” “contingent” or “unliquidated.” The Debtors
                    reserve the right to dispute, or to assert setoff rights, counterclaims or
                    defenses to, any claim reflected on its Schedules and Statements as to
                    amount, liability or classification, or to otherwise subsequently designate any
                    claim as “disputed,” “contingent” or “unliquidated.”




                                                  4
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 16 of
                                       269



            (b)   Listing a claim on the Schedules and Statements as “secured” does not
                  constitute an admission by the Debtors of the legal rights of the claimant, or
                  a waiver of the Debtors’ right to reclassify such claim or contract.
                  Moreover, although the Debtors may have scheduled claims of various
                  creditors as secured claims for informational purposes, no current valuation
                  of the Debtors’ assets in which such creditors may have a lien has been
                  undertaken. The Debtors reserve all rights to dispute or challenge the
                  secured nature of any such creditor’s claims or the characterization of the
                  structure of any transaction, or any document or instrument related to such
                  creditor’s claim.

            (c)   Listing a claim on the Schedules and Statements as “unsecured priority” does
                  not constitute an admission by the Debtors of the legal rights of the claimant.
                  The Debtors hereby expressly reserve the right to assert that any claim listed
                  as unsecured priority does not constitute an unsecured priority claim under
                  section 507 of the Bankruptcy Code and thus constitutes an unsecured
                  nonpriority claim.

            (d)   The Debtors’ businesses are part of a complex enterprise. Although the
                  Debtors have made every effort to ensure the accuracy of their Schedules and
                  Statements, inadvertent errors, omissions or inclusion may have occurred.
                  The Debtors hereby reserve all of their rights to dispute the validity, status or
                  enforceability of any contracts, agreements or leases set forth on the
                  Schedules and Statements and to amend further or supplement the Schedules
                  and Statements as necessary.

            (e)   The Debtors further reserve all of their rights, claims and causes of action
                  with respect to the contracts and agreements listed on the Schedules and
                  Statements, including the right to dispute or challenge the characterization or
                  the structure of any transaction, document or instrument related to a
                  creditor’s claim.

            (f)   Debtors may not have identified certain guarantees associated with the
                  Debtors’ executory contracts, unexpired leases, and other such agreements.
                  The Debtors reserve all of their rights to amend the Schedules to the extent
                  that additional guarantees are identified or such guarantees are discovered to
                  have expired or be unenforceable. In the ordinary course of their businesses,
                  the Debtors may be involved in pending or threatened litigation. These
                  matters may involve multiple plaintiffs and defendants, some or all of whom


                                                5
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 17 of
                                       269



                  may assert cross-claims and counter-claims against other parties. Because
                  all such claims are contingent, disputed and/or unliquidated, such claims
                  have not been set forth individually on Schedule H. Litigation matters can
                  be found on each Debtor’s Schedule F and Statement 7, as applicable. It is
                  possible that certain guaranties embedded in the Debtors’ executory
                  contracts, unexpired leases, secured financings, debt instruments, and other
                  such agreements may have been inadvertently omitted. The Debtors reserve
                  their rights to amend the Schedules and Statements to the extent additional
                  guaranties are identified. In addition, the Debtors reserve the right to amend
                  the Schedules and Statements and to recharacterize or reclassify any such
                  contract or claim, whether by amending the Schedules and Statements or in
                  another appropriate filing.

            (g)   Despite their commercially reasonable efforts to identify all known assets,
                  the Debtors may not have listed all of their causes of action or potential
                  causes of action against third-parties as assets in the Schedules and
                  Statements, including, without limitation, causes of actions arising under the
                  provisions of chapter 5 of the Bankruptcy Code and any other relevant
                  non-bankruptcy laws to recover assets or avoid transfers. The Debtors
                  reserve all of their rights with respect to any cause of action (including
                  avoidance actions), controversy, right of setoff, cross claim, counterclaim, or
                  recoupment and any claim on contracts or for breaches of duties imposed by
                  law or in equity, demand, right, action, lien, indemnity, guaranty, suit,
                  obligation, liability, damage, judgment, account, defense, power, privilege,
                  license, and franchise of any kind or character whatsoever, known, unknown,
                  fixed or contingent, matured or unmatured, suspected or unsuspected,
                  liquidated or unliquidated, disputed or undisputed, secured or unsecured,
                  assertable directly or derivatively, whether arising before, on, or after the
                  Petition Date, in contract or in tort, in law or in equity, or pursuant to any
                  other theory of law (collectively, “Causes of Action”) they may have, and
                  neither these Global Notes nor the Schedules and Statements shall be
                  deemed a waiver of any claims or Causes of Action or in any way prejudice
                  or impair the assertion of such claims or Causes of Action.

            (h)   Although the Debtors made diligent attempts to attribute an executory
                  contract to its rightful Debtor, in certain instances, the Debtors may have
                  inadvertently failed to do so due to the complexity and size of the Debtors’
                  businesses. The placing of a contract or lease onto the Debtors’ Schedules
                  shall not be deemed an admission that such contract is an executory contract


                                               6
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 18 of
                                       269



                    or unexpired lease, or that it is necessarily a binding, valid and enforceable
                    contract. The Debtors hereby expressly reserve the right to assert that any
                    contract listed on the Debtors’ Schedules does not constitute an executory
                    contract within the meaning of section 365 of the Bankruptcy Code.

              (i)   Exclusion of certain intellectual property shall not be construed as an
                    admission that such intellectual property rights have been abandoned,
                    terminated, assigned, expired by their terms, or otherwise transferred
                    pursuant to a sale, acquisition, or other transaction.

 6.     Excluded Assets and Liabilities. The Debtors have excluded rejection damage claims
 of counterparties to executory contracts and unexpired leases that may or may not be rejected,
 to the extent such damage claims exist. In addition, certain immaterial assets and liabilities
 may have been excluded.

 7.      Insiders. For purposes of the Schedules and Statements, the Debtors defined “insiders”
 pursuant to section 101(31) of the Bankruptcy Code as: (a) directors; (b) officers; (c) persons in
 control of the Debtors; (d) relatives of the Debtors’ directors, officers, or persons in control of
 the Debtors; and (e) debtor/non-debtor affiliates of the foregoing. Persons listed as “insiders”
 have been included for informational purposes only and by including them in the Schedules,
 shall not constitute an admission that those persons are insiders for purposes of section 101(31)
 of the Bankruptcy Code. Moreover, the Debtors do not take any position with respect to: (a)
 any insider’s influence over the control of the Debtors; (b) the management responsibilities or
 functions of any such insider; (c) the decision making or corporate authority of any such
 insider; or (d) whether the Debtors or any such insider could successfully argue that he or she is
 not an “insider” under applicable law or with respect to any theories of liability or for any other
 purpose.

 8.      Summary of Significant Reporting Policies. The following is a summary of
 significant reporting policies:

              (a)   Undetermined Amounts. The description of an amount as “unknown,”
                    “TBD,” or “undetermined” is not intended to reflect upon the materiality of
                    such amount.

              (b)   Totals. All totals that are included in the Schedules and Statements represent
                    totals of all known amounts. To the extent there are unknown or
                    undetermined amounts, the actual total may be different than the listed total.




                                                  7
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 19 of
                                       269



              (c)   Liens. Property and equipment listed in the Schedules and Statements are
                    presented without consideration of any liens that may attach (or have
                    attached) to such property and equipment.

 9.     Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

 10.     Confidential Information. In order to maintain the privacy of their employees and
 customers, the Debtors have deemed it necessary and appropriate to redact address information
 for individuals for purposes of public filings. Unredacted versions of the document have been
 made available to the Bankruptcy Court and the United States Trustee.

 11.    Global Notes Control. In the event that the Schedules and Statements differ from these
 Global Notes, the Global Notes shall control.



 Specific Disclosures with Respect to the Debtors’ Schedules

 Schedule A/B.3. The bank account balances listed are as of the Petition Date.

 Schedule A/B. 6-9. In the books and records of the Debtors, deposits and prepaids are included
 in one trial balance amount. Specific detail regarding counterparties has been identified where
 available. Due to the consolidation of the Debtors’ financial records, all items have been listed
 as assets of Debtor Legendary Field Exhibitions, LLC (“LFE”). Amounts presented are as of
 the date of the Debtors’ most recently completed financial statements. However, given the
 timing difference between the financial statements and the Petition Date, it is likely that many
 of the prepaid assets and security deposits have been utilized or otherwise applied against
 outstanding payables and therefore values provided herein may be overstated.

 Schedule A/B.11. Accounts receivable are presented based on book value as of April 9, 2019.
 Such accounts receivable have not been adjusted to reflect any counterclaims or set-offs that
 customers may assert based on breach of contract or other disputes.

 Schedule A/B.39 - 41. A full detailed listing of the Debtors’ furniture, fixtures and equipment
 owned by the Debtors as of the Petition Date was not available at the time the Schedules were
 prepared. A listing of those assets that were listed on the Debtors’ books and records as of the
 date that the last financial statements were prepared has been provided as an exhibit for Debtor
 LFE. As of the Petition Date, certain items may have been in transit from other corporate
 locations to the central storage facility located in San Antonio, TX.



                                                 8
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 20 of
                                       269




 Schedule A/B.50. A detailed listing of the Debtors’ video production and other equipment was
 not available at the time that the Schedules were prepared. As of the Petition Date, certain items
 may have been in transit from other corporate locations to the central storage facility located in
 San Antonio, TX.

 Schedule A/B.60 - 64. The Debtors have used reasonable efforts to report trademarks, patents
 and intellectual property that are assets of the Debtors. However, much of the information
 surrounding the Debtors’ intellectual property resides with Morgan Lewis & Bockius LLP
 (“Morgan Lewis”), the Debtors’ former legal advisor. This information has been requested
 from Morgan Lewis, but had not been received as of the date that the Schedules and Statements
 were prepared. Further, without this information it is unclear as to ownership of trademarks
 and certain other IP between ESMG, LFE and AAF Properties, LLC. As such, out of an
 abundance of caution these assets have been listed for each of the Debtors. Licensing
 agreements have been reflected on the Debtors’ Schedule G, and not presented separately on
 Schedule A/B as reasonable estimates of value are not available.

 Schedule D. The descriptions provided on Schedule D are intended only as a summary.
 Reference to the applicable loan agreements and related documents is necessary for a complete
 description of the collateral and the nature, extent and priority of any liens. Nothing in these
 Global Notes or in the Schedules and Statements shall be deemed a modification or
 interpretation of the terms of such agreements or related documents.

 Schedule E/F. The Debtors have listed all known taxing authorities for each Debtor. These tax
 claims are, or may in the future be subject to audits, and the Debtors are unable to determine with
 certainty the amount of the tax claims listed on Schedule E/F. In addition, there may be other
 contingent, unliquidated claims from state and local taxing authorities, not all of which are listed.

 The claims of individual creditors for, among other things, goods, products, services, or taxes are
 listed as the amounts entered on the Debtors’ books and records and may not reflect credits,
 allowances, or other adjustments due from such creditors to the Debtors. Amounts presented
 herein are based on the Debtors’ best efforts to determine amounts owed to creditors as of the
 Petition Date. Amounts owed to vendors for certain goods in transit which have not yet been
 received at the Debtors’ facilities, or for services provided where invoices have not been
 received, may be understated due to lack of sufficient information. Further, a substantial portion
 of the Debtors business was transacted through vendors directly charging the Debtors’ corporate
 credit cards. Such amounts which may be owed are not included in the Debtors’ current
 accounts payable reports.




                                                  9
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 21 of
                                       269



 Schedule G. The Debtors have used reasonable efforts to report all executory contracts of the
 Debtors. However, much of the information surrounding the Debtors’ contracts resides with
 Morgan Lewis. This information has been requested from Morgan Lewis, but had not been
 received as of the date that the Schedules and Statements were prepared.

 Although commercially reasonable efforts have been made to ensure the accuracy of Schedule
 G regarding executory contracts and unexpired leases, the Debtors’ review is ongoing at the
 time of the filing of the Schedules and Statements and inadvertent errors, omissions or
 over-inclusion may have occurred in preparing Schedule G. Despite best efforts, in some
 instances, the Debtors may not have been able to identify which Debtor entity is party to a
 particular contract. Any such contracts have been listed in Schedule G for LFE. Contracts
 reflected on Schedule G do not reflect the impact of any counterparty’s assertion of termination
 due to breach of contract or cessation of operations. The Debtors hereby expressly reserve the
 right to assert that any instrument listed on Schedule G is or is not an executory contract within
 the meaning of section 365 of the Bankruptcy Code. The Debtors reserve all of their rights,
 claims, and causes of action with respect to claims associated with any contract or agreement
 listed on Schedule G, including their right to dispute or challenge the characterization or the
 structure of any transaction, document, or instrument (including any intercompany agreement)
 related to a creditor’s claim.

 Certain of the contracts and agreements listed on Schedule G may consist of several parts,
 including, purchase orders, amendments, restatements, waivers, letters, and other documents
 that may not be listed on Schedule G or that may be listed as a single entry.

 Certain of the contracts, agreements, and leases listed on Schedule G may have expired or may
 have been modified, amended, or supplemented from time to time by various amendments,
 restatements, waivers, estoppel certificates, letters, memoranda, and other documents,
 instruments, and agreements that may not be listed therein despite the Debtors’ use of
 reasonable efforts to identify such documents. Further, unless otherwise specified on Schedule
 G, each executory contract or unexpired lease listed thereon shall include all exhibits,
 schedules, riders, modifications, declarations, amendments, supplements, attachments,
 restatements, or other agreements made directly or indirectly by any agreement, instrument, or
 other document that in any manner affects such executory contract or unexpired lease, without
 respect to whether such agreement, instrument, or other document is listed thereon. In some
 cases, the same supplier or provider appears multiple times on Schedule G. This multiple listing
 is intended to reflect distinct agreements between the applicable Debtor and such supplier or
 provider.




                                                 10
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 22 of
                                       269




 Schedule H. The Debtors may not have identified certain guarantees associated with the
 Debtors’ executory contracts, unexpired leases, and other such agreements. The Debtors reserve
 all of their rights to amend the Schedules to the extent that additional guarantees are identified or
 any scheduled guarantees are discovered to have expired or be unenforceable. In the ordinary
 course of their businesses, the Debtors may be involved in pending or threatened litigation.
 These matters may involve multiple plaintiffs and defendants, some or all of whom may assert
 cross-claims and counter-claims against other parties. Because all such claims are contingent,
 disputed and/or unliquidated, such claims have not been set forth individually on Schedule H.
 Litigation matters can be found on each Debtor’s Schedule F and Statement 7, as applicable.


 Specific Disclosures with Respect to the Debtors’ Statements



 Statement 3. In Statement 3, disbursements made on account of multiple invoices may be
 reflected as a single payment. Transactions listed on Statement 3 have been derived from
 certain reports generated from the Debtors’ banking and online bill payment systems that were
 the best information available as of the date of this report. For several payment instances,
 information relating to the payment party is generic and was unable to be identified to a specific
 counterparty. Such payments have been listed with as much information as was available in the
 banking reports. In certain instances, interbank transfers may have inadvertently been listed.

 As previously described, the Debtors’ books and records are kept on a consolidated basis. The
 only Debtor entities with bank accounts are ESMG and LFE. Payments, such as payroll, which
 may have benefitted other Debtor entities were not tracked separately as intercompany
 receivables/payables. As such, payments listed in Statement 3 have been listed only by the
 payor entity.

 Statement 4. Directors and officers listed as transferees in Statement 4 may be (i) directors or
 officers of ESMG and another Debtor or non-Debtor affiliate. Any payments or other transfers
 of property made within 1 year before the Petition Date to such directors and officers have only
 been listed by LFE as the payor entity. Such payments have not been duplicated for each Debtor
 entity a director or officer served or may have served. Statement 4 does not include payments
 made to certain employee benefit providers in the ordinary course for the benefit of employee
 insiders.

 Statement 7. The Debtors have used reasonable efforts to report all legal actions, proceedings,
 investigations, arbitrations, mediations, and audits by federal or state agencies in which the


                                                  11
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 23 of
                                       269



 Debtors were involved in any capacity within one year before the Petition Date. However, much
 of the information surrounding the Debtors’ legal affairs resides with Morgan Lewis. This
 information has been requested from Morgan Lewis, but had not been received as of the date that
 the Schedules and Statements were prepared.

 Statement 10. Amounts listed herein were for events that were reported and/or tracked for
 insurance purposes. De minimis losses are not separately tracked by the Debtors and were not
 included on Statement 10.

 Statement 11. All disbursements listed in Statement 11 were initiated and disbursed by ESMG,
 but were for the benefit of all Debtors. Such payments have been listed only at ESMG and not
 duplicated across all Debtors.

 Statement 20. As of the Petition Date, the Debtors’ furniture, fixtures, production and
 operating equipment were either located in or being transported to the central storage location
 in San Antonio, TX.

 Statement 26d. Over the prior two years, the Debtors have provided their financial statements
 to various parties, including potential lenders, investors, vendors, government entities and other
 interested parties. No efforts were made to keep records of parties provided with this
 information.

 Statement 30. Any and all known disbursements to insiders of the Debtors, as defined above,
 have been listed in the response to SOFA 4. The items listed under SOFA 30 incorporate by
 reference any items listed under SOFA 4, and vice versa.




                                                 12
           19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 24 of
                                                  269

 Fill in this information to identify the case:

                      Legendary Field Exhibitions, LLC
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _

                                                       Western
 United States Bankruptcy Court f or the: _______________________ District of ________
                                                                                                                Texas
                                                                                                                 (State)
 Case number (If known):              _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:                                                                                                                                                                         N/A
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B.....................................................................................................................................

     1b.   Total personal property:                                                                                                                                                               11,372,298.68
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:                                                                                                                                                                   11,372,298.68
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B.....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                  9,642,171.00
                                                                                                                                                                                                $ ________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims(Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
                                                                                                                                                                                                  173,031.67
                                                                                                                                                                                                $ ________________
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................

     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:                                                                                                                    38,550,986.23
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................                                        +   $ ________________




4.   Total liabilities...................................................................................................................................................................         48,366,188.90
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
       19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 25 of
                                              269
  Fill in this information to identify the case:

              Legendary Field Exhibitions, LLC
  Debtor name __________________________________________________________________

                                         Western
  United States Bankruptcy Court for the:_______________________             Texas
                                                                 District of ________
                                                                             (State)
  Case number (If known):     _________________________                                                                               Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
         Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                     N/A
                                                                                                                                  $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                  Last 4 digits of account number
         See Schedule A/B: Part 1, Question 3
   3.1. _________________________________________________ ______________________                ____ ____ ____ ____                 536,160.68
                                                                                                                                  $______________________
   3.2. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
        N/A
   4.1. _____________________________________________________________________________________________________                       N/A
                                                                                                                                  $______________________
        N/A
   4.2. _____________________________________________________________________________________________________                       N/A
                                                                                                                                  $______________________

5. Total of Part 1                                                                                                                 536,160.68
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
         Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
        See Schedule A/B: Part 2, Question 7 - Deposits
   7.1. ________________________________________________________________________________________________________                    2,949,339.33
                                                                                                                                   $______________________
        N/A
   7.2._________________________________________________________________________________________________________                    N/A
                                                                                                                                   $_______________________


  Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                    page 1
         19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 26 of
Debtor        Legendary Field Exhibitions, LLC                     269
             _______________________________________________________   Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
        See Schedule A/B: Part 2, Question 8 - Prepayments
   8.1.___________________________________________________________________________________________________________                  3,710,545.16
                                                                                                                                  $______________________
        N/A
   8.2.___________________________________________________________________________________________________________                  N/A
                                                                                                                                  $_______________________

9. Total of Part 2.
                                                                                                                                   6,659,884.49
                                                                                                                                 $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
     Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:     $533,557.42
                                 ____________________________   Unknown
                                                              – ___________________________          = ........ Î                  $533,557.42
                                                                                                                                 $______________________
                                   face amount                  doubtful or uncollectible accounts

    11b. Over 90 days old:         N/A
                                  ___________________________    N/A
                                                              – ___________________________          = ........ Î                  N/A
                                                                                                                                 $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                $533,557.42
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
     No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
          N/A
   14.1. ________________________________________________________________________________               N/A                        N/A
                                                                                                        _____________________    $________________________
          N/A
   14.2. ________________________________________________________________________________               N/A
                                                                                                        _____________________      N/A
                                                                                                                                 $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:
         AAF Players, LLC
   15.1._______________________________________________________________             100
                                                                                   ________%            N/A
                                                                                                        _____________________      Undetermined
                                                                                                                                 $________________________
         LFE 2, LLC
   15.2._______________________________________________________________             100
                                                                                   ________%            N/A
                                                                                                        _____________________      Undetermined
                                                                                                                                 $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
         N/A
   16.1.________________________________________________________________________________                N/A
                                                                                                        ______________________    N/A
                                                                                                                                 $_______________________
         N/A
   16.2.________________________________________________________________________________                N/A                       N/A
                                                                                                        ______________________   $_______________________




17. Total of Part 4                                                                                                                Undetermined
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 2
         19-50900-cag
              Legendary    Doc#1Field Filed  04/17/19 Entered
                                         Exhibitions,        LLC 04/17/19 13:00:14 Main Document Pg 27 of
Debtor       _______________________________________________________269    Case number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last     Net book value of     Valuation method used     Current value of
                                                    physical inventory   debtor's interest     for current value         debtor’s interest
                                                                         (Where available)
19. Raw materials
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

20. Work in progress
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________


23. Total of Part 5                                                                                                     $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
         No
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
         Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         No
         Yes

Part 6:     Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                Net book value of     Valuation method used     Current value of debtor’s
                                                                         debtor's interest     for current value         interest
                                                                         (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________         $________________     ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________         $________________     ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

   ______________________________________________________________         $________________     ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________         $________________     ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________         $________________     ____________________    $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                          page 3
         19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 28 of
Debtor        Legendary Field Exhibitions, LLC                     269
             _______________________________________________________   Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:     Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes. Fill in the information below.

   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
                                                                              (Where available)

39. Office furniture
   See Schedule A/B: Part 7, Question 39
   ______________________________________________________________                462,661.24
                                                                               $________________   ____________________      462,661.24
                                                                                                                            $______________________

40. Office fixtures
   N/A
   ______________________________________________________________                N/A
                                                                               $________________    N/A
                                                                                                   ____________________      N/A
                                                                                                                            $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
    See Schedule A/B: Part 7, Question 41
   ______________________________________________________________                3,101,452.85
                                                                               $________________   ____________________      3,101,452.85
                                                                                                                            $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
        N/A
   42.1___________________________________________________________               N/A
                                                                               $________________     N/A
                                                                                                    ____________________      N/A
                                                                                                                            $______________________
        N/A
   42.2___________________________________________________________               N/A
                                                                               $________________     N/A
                                                                                                    ____________________      N/A
                                                                                                                            $______________________
        N/A
   42.3___________________________________________________________               N/A
                                                                               $________________     N/A
                                                                                                    ____________________      N/A
                                                                                                                            $______________________

43. Total of Part 7.
                                                                                                                              3,564,114.09
                                                                                                                            $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                            page 4
          19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 29 of
 Debtor        Legendary Field Exhibitions, LLC                     269
              _______________________________________________________   Case number (if known)_____________________________________
                 Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes. Fill in the information below.

   General description                                                     Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________   ____________________    $______________________

   47.2___________________________________________________________          $________________   ____________________    $______________________

   47.3___________________________________________________________          $________________   ____________________    $______________________

   47.4___________________________________________________________          $________________   ____________________    $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________    ____________________    $______________________

   48.2__________________________________________________________          $________________    ____________________    $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________    ____________________    $______________________

   49.2__________________________________________________________          $________________    ____________________    $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________    ____________________    $______________________


51. Total of Part 8.
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
          No
          Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
          No
          Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                        page 5
         19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 30 of
Debtor
              Legendary Field Exhibitions, LLC
             _______________________________________________________269 Case number (if known)_____________________________________
                  Name




Part 9:      Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
     Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                                Nature and extent            Net book value of    Valuation method used    Current value of
    Include street address or other description such as                 of debtor’s interest         debtor's interest    for current value        debtor’s interest
    Assessor Parcel Number (APN), and type of property                  in property                  (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
    55.1________________________________________                          _________________          $_______________     ____________________     $_____________________

    55.2________________________________________                          _________________          $_______________     ____________________     $_____________________

    55.3________________________________________                          _________________          $_______________     ____________________     $_____________________

    55.4________________________________________                          _________________          $_______________     ____________________     $_____________________

    55.5________________________________________                          _________________          $_______________     ____________________     $_____________________

    55.6________________________________________                          _________________          $_______________     ____________________     $_____________________


56. Total of Part 9.
                                                                                                                                                   $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         No
         Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
     Yes. Fill in the information below.
   General description                                                                              Net book value of    Valuation method         Current value of
                                                                                                     debtor's interest    used for current value   debtor’s interest
                                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    See Schedule A/B: Part 10, Question 60 - 65 Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________
                                                                                                       Unknown
                                                                                                     $_________________
                                                                                                                           Unknown
                                                                                                                          ______________________
                                                                                                                                                     Unknown
                                                                                                                                                   $____________________

61. Internet domain names and websites
    See Schedule A/B: Part 10, Question 60 - 65 Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________
                                                                                                       Unknown
                                                                                                     $_________________
                                                                                                                           Unknown
                                                                                                                          ______________________
                                                                                                                                                     Unknown
                                                                                                                                                    $____________________

62. Licenses, franchises, and royalties
    See Schedule A/B: Part 10, Question 60 - 65 Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________
                                                                                                        $78,582.00
                                                                                                     $_________________
                                                                                                                           Unknown
                                                                                                                          ______________________
                                                                                                                                                      $78,582.00
                                                                                                                                                    $____________________

63. Customer lists, mailing lists, or other compilations
    See Schedule A/B: Part 10, Question 60 - 65 Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________
                                                                                                       Unknown
                                                                                                     $_________________
                                                                                                                           Unknown
                                                                                                                          ______________________
                                                                                                                                                     Unknown
                                                                                                                                                    $____________________

64. Other intangibles, or intellectual property                                                        Unknown             Unknown
    ______________________________________________________________
    See Schedule A/B: Part 10, Question 60 - 65 Patents, copyrights, trademarks, and trade secrets    $________________   _____________________      Unknown
                                                                                                                                                   $____________________
65. Goodwill
    See Schedule A/B: Part 10, Question 60 - 65 Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________
                                                                                                       Unknown
                                                                                                      $________________
                                                                                                                           Unknown
                                                                                                                          _____________________      Unknown
                                                                                                                                                   $____________________

66. Total of Part 10.                                                                                                                                 $78,582.00
                                                                                                                                                   $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                                         Schedule A/B: Assets  Real and Personal Property                                page 6
         19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 31 of
Debtor        Legendary Field Exhibitions, LLC                     269
             _______________________________________________________   Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
         No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         No
         Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
         No. Go to Part 12.
         Yes. Fill in the information below.
                                                                                                                                                   Current value of
                                                                                                                                                     debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                                     N/A
                                                                                    _______________     –    N/A
                                                                                                            __________________________         =Î    N/A
     N/A
    ______________________________________________________                                                                                          $_____________________
                                                                                    Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)
    N/A
    _________________________________________________________________________________                                               N/A
                                                                                                                          Tax year ___________       N/A
                                                                                                                                                    $_____________________
     N/A
    _________________________________________________________________________________                                               N/A
                                                                                                                          Tax year ___________       N/A
     N/A                                                                                                                                            $_____________________
    _________________________________________________________________________________                                               N/A
                                                                                                                          Tax year ___________       N/A
                                                                                                                                                    $_____________________

73. Interests in insurance policies or annuities
     See Schedule A/B: Part 11, Question 73 - Interests in Insurance policies or annuities
    ______________________________________________________________                                                                                   Unknown
                                                                                                                                                    $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    N/A
    ______________________________________________________________                                                                                   N/A
                                                                                                                                                    $_______________________
    Nature of claim                       N/A
                                         ___________________________________

    Amount requested                      N/A
                                         $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    N/A
    ______________________________________________________________                                                                                   N/A
                                                                                                                                                    $_______________________

    Nature of claim                       N/A
                                         ___________________________________

    Amount requested                      N/A
                                         $________________

76. Trusts, equitable or future interests in property
    N/A
    ______________________________________________________________                                                                                     N/A
                                                                                                                                                     $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   See Schedule A/B: Part 11: Question 77 - Other Property
   ____________________________________________________________                                                                                       Unknown
                                                                                                                                                    $_____________________
   N/A
   ____________________________________________________________                                                                                       N/A
                                                                                                                                                    $_____________________

78. Total of Part 11.
                                                                                                                                                     Unknown
                                                                                                                                                    $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         No
         Yes

Official Form 206A/B                                                    Schedule A/B: Assets  Real and Personal Property                                       page 7
         19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 32 of
Debtor
              Legendary Field Exhibitions, LLC
             _______________________________________________________269 Case number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                          Current value
                                                                                                      personal property                         of real property
                                                                                                           536,160.68
                                                                                                         $_______________
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.

                                                                                                           6,659,884.49
81. Deposits and prepayments. Copy line 9, Part 2.                                                       $_______________

                                                                                                           533,557.42
                                                                                                         $_______________
82. Accounts receivable. Copy line 12, Part 3.

                                                                                                          Unknown
                                                                                                         $_______________
83. Investments. Copy line 17, Part 4.
                                                                                                            0.00
                                                                                                         $_______________
84. Inventory. Copy line 23, Part 5.
                                                                                                            0.00
                                                                                                         $_______________
85. Farming and fishing-related assets. Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment; and collectibles.                                             3,564,114.09
                                                                                                         $_______________
     Copy line 43, Part 7.
                                                                                                            0.00
                                                                                                         $_______________
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.

                                                                                                                                                 0.00
                                                                                                                                                $________________
88. Real property. Copy line 56, Part 9. . ..................................................................................... Î
                                                                                                              78,582.00
                                                                                                         $_______________
89. Intangibles and intellectual property. Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                                        +         Unknown
                                                                                                         $_______________

                                                                                                           11,372,298.68                          0.00
91. Total. Add lines 80 through 90 for each column. ............................ 91a.                    $_______________            +   91b.
                                                                                                                                                $________________




                                                                                                                                                                     11,372,298.68
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................     $__________________




Official Form 206A/B                                                       Schedule A/B: Assets  Real and Personal Property                                                page 8
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 33 of
                                       269


                                  In re Legendary Field Exhibitions, LLC

                                                Case No.

             Schedule A/B: Part 1, Question 3 – Checking, savings or other financial account

  Debtor Name               Name of           Type of        Last 4 digits of     Current Value of
                          Institution        Account        account number        Debtor's Interest
  Legendary Field       Silicon Valley   Collateral MMA    x0749                         $500,000.00
  Exhibitions, LLC      Bank
  Legendary Field       Silicon Valley   LFE Operating   x4094                             $36,116.72
  Exhibitions, LLC      Bank             Account
  Legendary Field       Regions          Birmingham Iron x7213                                 $43.96
  Exhibitions, LLC
  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 34 of
                                         269

                                       In re Legendary Field Exhibitions, LLC
                                                     Case No.
                                     Schedule A/B: Part 2, Question 7 - Deposits

             Debtor Name            Name of Holder of the Deposit        Description of the Deposit         Current Value of
                                                                                                            Debtor's Interest
Legendary Field Exhibitions, LLC   BaseCamp Franchising, LLC          Nov Rent - Salt Lake City, UT         $     9,663.66
Legendary Field Exhibitions, LLC   Carey International                Deposit installment 1 - Training      $   230,800.00
                                                                      camp
Legendary Field Exhibitions, LLC   City of San Antonio Alamadome      Convention Center Deposit -           $   303,865.00
                                                                      Multiple Dates
Legendary Field Exhibitions, LLC   Embassy Suites                     Security Deposit - Minicamp -         $   347,788.32
                                                                      Multiple Dates
Legendary Field Exhibitions, LLC   Energy United                      Security Deposit - Tampa              $       500.00
Legendary Field Exhibitions, LLC   Esports Arena                      Non-refundable security deposit       $    30,000.00
Legendary Field Exhibitions, LLC   FELDMAN EQUITIES                   Security Deposit - Tampa Lease        $   100,000.00
Legendary Field Exhibitions, LLC   Highwoods/Forsyth Orlando          Security Deposit - Orlando Lease      $    39,011.01
Legendary Field Exhibitions, LLC   Holiday Inn                        Security Deposit - Minicamp           $   160,000.00
Legendary Field Exhibitions, LLC   Hyatt                              Security Deposit - Minicamp           $    50,000.00
Legendary Field Exhibitions, LLC   IM MIAMI Air Intl.                 Deposit for Player Airfare            $   500,000.00

Legendary Field Exhibitions, LLC   Liberty Bowl Memorial Stadium      Initial Contract Security Deposit -   $   375,000.00
                                                                      Multiple Dates
Legendary Field Exhibitions, LLC   Marnoel Calizo                     Deposit for AAF Build - Las Vegas     $      5,000.00

Legendary Field Exhibitions, LLC   Marriott                           Security Deposit - Minicamp           $    20,000.00
Legendary Field Exhibitions, LLC   Omni                               Security Deposit - Minicamp -         $   276,684.00
                                                                      Multiple Dates
Legendary Field Exhibitions, LLC   Pioneer Manufacturing Co           Field Paint Birmingham                $      6,810.59

Legendary Field Exhibitions, LLC   Prologis - San Antonio Lease       Security Deposit                      $     40,000.00
Legendary Field Exhibitions, LLC   Regus                              Security Deposit                      $      3,022.00

Legendary Field Exhibitions, LLC   SAFC Management                    San Antonio Training Camp             $   128,441.03
                                                                      Deposit
Legendary Field Exhibitions, LLC   Thomas Logan LLC                   Security Deposit - NC Lease           $      2,000.00

Legendary Field Exhibitions, LLC   Thunderbird ACU                    San Antonio Training Camp             $     88,108.72
                                                                      Deposit
Legendary Field Exhibitions, LLC   University of Utah                 2019 Stadium deposit                  $     70,000.00

Legendary Field Exhibitions, LLC   Werqwise, Inc                      Service Retainer - Multiple Dates     $   162,645.00




                                                                   Page 1 of 1
  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 35 of
                                         269

                                                 In re Legendary Field Exhibitions, LLC
                                                                Case No.
                                             Schedule A/B: Part 2, Question 8 - Prepayments

             Debtor Name             Name of Holder of the Prepayment               Description of the Prepayment            Current Value of
                                                                                                                             Debtor's Interest
Legendary Field Exhibitions, LLC   Arthur J. Gallagher & Co. Insurance        Prepaid D&O and Professional Liability         $     5,102.76

Legendary Field Exhibitions, LLC   BankCapital Finance (D&O, PC)              See Biz Insurance Payment Schedule             $    87,439.56

Legendary Field Exhibitions, LLC   BCU Alumni Musicians Assoc.                ORA190209:Game day entertainment               $    20,000.00

Legendary Field Exhibitions, LLC   Bluemedia                                  Stadium Use - Multiple Dates                   $   135,887.04
Legendary Field Exhibitions, LLC   BTM Coaches Inc.                           ORA190207:Buses for B-CU band for              $     6,720.00
                                                                              Apollos game
Legendary Field Exhibitions, LLC   Critical Mention                           Subscription for Media monitoring service      $     8,000.00

Legendary Field Exhibitions, LLC   DVSport, Inc.                              First Installment - HD Instant Replay          $   114,833.33
                                                                              Software and Hardware Rental - Multiple
                                                                              Dates
Legendary Field Exhibitions, LLC   eClinicalWorks, LLC                        Implementation fees & eClinical next works     $    83,333.33
                                                                              suite - billed over 3 years

Legendary Field Exhibitions, LLC   FBXChange                                  1 Yr Subscription to FBX for 10 users          $     2,000.00

Legendary Field Exhibitions, LLC   First Insurance Funding                    Property & Casualty Insurance - Multiple       $   607,415.50
                                                                              Dates
Legendary Field Exhibitions, LLC   HackerOne                                  Subscription to HackerOne Challenge -          $    28,416.67
                                                                              Multiple Dates
Legendary Field Exhibitions, LLC   HUB International                          Inland Marine Premium - Multiple Dates         $   667,600.48

Legendary Field Exhibitions, LLC   James D. Edgeworth (JDEA)                  Property & Casualty Insurance - Multiple       $   309,578.82
                                                                              Dates
Legendary Field Exhibitions, LLC   KORE Interactive systems                   KPI Subscription - Quarterly                   $     5,025.00

Legendary Field Exhibitions, LLC   Landmark American Insurance                Insurance                                      $   268,947.17
Legendary Field Exhibitions, LLC   Lever, Inc                                 Lever Hire Starter Annual Fee 4/3/18 -         $       637.50
                                                                              4/2/19
Legendary Field Exhibitions, LLC   LinkedIn Corp.                             Recruiter corporate - Multiple Dates           $    11,873.97

Legendary Field Exhibitions, LLC   Mesa College Athletics                     Rent/parking passes: Feb - May (02.01.19-      $     7,800.00
                                                                              05.01.19)
Legendary Field Exhibitions, LLC   Miami Air International Inc                Various Invoices                               $   421,756.95

Legendary Field Exhibitions, LLC   Optiv                                      12 month subscription                          $    42,000.00

Legendary Field Exhibitions, LLC   Pioneer Manufacturing                      Orlando Logos - Multiple Dates                 $    58,709.68
Legendary Field Exhibitions, LLC   ProScout                                   Proscout Subscription - Multiple Dates         $   116,666.67

Legendary Field Exhibitions, LLC   Protravel                                  Unused airline tickets purchased through       $    16,898.56
                                                                              ProTrave
Legendary Field Exhibitions, LLC   Purchase Control                           12 month license for 50 plus users             $     4,650.00

Legendary Field Exhibitions, LLC   Robert B. Lucas II dba Robert Lucas        Weight Equipment:Rent Jan to May (1/1/19- $          5,400.00
                                                                              5/1/19) $1800.00 per month

Legendary Field Exhibitions, LLC   Salesforce                                 Subscription to Salesforce - Multiple Dates    $     8,736.00

Legendary Field Exhibitions, LLC   SocialFlow                                 Publishing Platform subscription Jan 15,       $    23,333.33
                                                                              2019 - April 14, 2019
Legendary Field Exhibitions, LLC   Sportsdigita LLC                           Annual Master Deck License                     $     6,333.33

Legendary Field Exhibitions, LLC   State of California Workers Comp           Deposit for State Fund - Terms are still       $   236,716.75
                                                                              being negotiated
Legendary Field Exhibitions, LLC   StatSports                                 Contract No. CON000121 - Multiple Dates        $    80,000.00

Legendary Field Exhibitions, LLC   TeamWork Online                            Teamwork Online 12 month subscription          $     2,000.00
                                                                              from March 15, 2018 - March 14, 2019

Legendary Field Exhibitions, LLC   Teamworks Innovations                      Teamworks Core Platform subscription           $    48,915.00

Legendary Field Exhibitions, LLC   User Testing                               1 year Subscription to User testing platform   $    19,316.67

Legendary Field Exhibitions, LLC   Vokkero                                    Communication Systems (Payment 1 of 3)         $    29,504.00

Legendary Field Exhibitions, LLC   WCF Insurance (WC - Utah)                  See Biz Insurance Payment Schedule             $   115,223.75

Legendary Field Exhibitions, LLC   Werqwise, Inc                              Prepaid Rent - SF - Multiple Dates             $    58,440.00

Legendary Field Exhibitions, LLC   ZenSourcer                                 Workflow Automation                            $     3,750.00
Legendary Field Exhibitions, LLC   Zoom Info Inc.                             Business Edition - Data and credits            $    41,583.33




                                                                          Page 1 of 1
 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 36 of
                                        269

                                 In re Legendary Field Exhibitions, LLC
                                                 Case No.
                           Schedule A/B: Part 7, Question 39 - Office Furniture

    Debtor Name    General Description        Net Book Value of    Valuation Method        Current Value of
                      of Property             Debtor's Interest     Used for Current       Debtor's Interest
                                                                         Value
Legendary Field   Equipment Supplies      $           84,738.47                        $           84,738.47
Exhibitions LLC
Legendary Field   Field Dolly/Practice    $           81,674.20                        $           81,674.20
Exhibitions LLC   Timer/mouthgards
Legendary Field   Furniture &             $           53,236.24                        $           53,236.24
Exhibitions LLC   Equipment - Other
Legendary Field   Studio Desks            $           46,294.47                        $           46,294.47
Exhibitions LLC
Legendary Field   Custom under shields    $           32,919.56                        $           32,919.56
Exhibitions LLC
Legendary Field   Vokero                  $           29,763.28                        $           29,763.28
Exhibitions LLC
Legendary Field   Customer PO: PO         $           24,110.84                        $           24,110.84
Exhibitions LLC   Inbound
Legendary Field   Customer PO Otis        $           17,983.81                        $           17,983.81
Exhibitions LLC
Legendary Field   Custom Sideline Case, $             17,532.99                        $           17,532.99
Exhibitions LLC   8-in-1 Tub Case

Legendary Field   WILSON Sporting         $           15,544.42                        $           15,544.42
Exhibitions LLC   goods
Legendary Field   Hospital and Medical    $           11,535.60                        $           11,535.60
Exhibitions LLC   Equipment
Legendary Field   Down payment on         $           10,222.67                        $           10,222.67
Exhibitions LLC   Equipment: Shoulder
                  Pad Shells
Legendary Field   Miscellanous General    $             8,272.95                       $             8,272.95
Exhibitions LLC   Merchandise

Legendary Field   MCC:5999 -              $             6,840.80                       $             6,840.80
Exhibitions LLC   Miscellaneous
                  Specialty
Legendary Field   Sideline trunk          $             5,924.38                       $             5,924.38
Exhibitions LLC
Legendary Field   Office and Commercial $               5,843.71                       $             5,843.71
Exhibitions LLC   Furniture

Legendary Field   CORT INSTANT            $             5,377.55                       $             5,377.55
Exhibitions LLC   FURNITURE
Legendary Field   TV Equipment for        $             4,845.30                       $             4,845.30
Exhibitions LLC   Coaches Rooms




                                                    Page 1 of 1
 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 37 of
                                        269

                                 In re Legendary Field Exhibitions, LLC
                                                Case No.
                          Schedule A/B: Part 7, Question 41 - Office Equipment

    Debtor Name    General Description        Net Book Value of    Valuation Method        Current Value of
                      of Property             Debtor's Interest     Used for Current       Debtor's Interest
                                                                         Value
Legendary Field   Computer &              $          572,469.26                        $          572,469.26
Exhibitions LLC   Equipment - Other
Legendary Field   XOS Digital - Thunder   $          523,822.66                        $          523,822.66
Exhibitions LLC   Software
Legendary Field   Jan License fees        $          452,264.17                        $          452,264.17
Exhibitions LLC
Legendary Field   Broadcasting            $          299,175.14                        $          299,175.14
Exhibitions LLC   equipment
Legendary Field   X-ATA Systems           $          234,590.56                        $          234,590.56
Exhibitions LLC
Legendary Field   Wireless Lynx stadium $            190,666.67                        $          190,666.67
Exhibitions LLC   system
Legendary Field   CoachComm - 8 X-ATA $              183,333.33                        $          183,333.33
Exhibitions LLC   systems
Legendary Field   Feb License fees      $            175,730.08                        $          175,730.08
Exhibitions LLC
Legendary Field   Thunder Software &      $          156,284.72                        $          156,284.72
Exhibitions LLC   Gold support,
                  hardware
Legendary Field   Lynx - Wireless Isolynx $           98,222.22                        $           98,222.22
Exhibitions LLC   stadium system, rental
                  system

Legendary Field   Computers               $           44,126.16                        $           44,126.16
Exhibitions LLC
Legendary Field   DELL Computers          $           38,615.20                        $           38,615.20
Exhibitions LLC   Peripherals and
                  Software
Legendary Field   Camera equipment        $           32,658.89                        $           32,658.89
Exhibitions LLC
Legendary Field   Video Trunk - laptops, $            32,468.69                        $           32,468.69
Exhibitions LLC   projectors, accessories

Legendary Field   MCC:5732 -              $           27,251.22                        $           27,251.22
Exhibitions LLC   Electronics Stores
Legendary Field   Google Hangouts         $           17,513.33                        $           17,513.33
Exhibitions LLC   Meet Hardware Kit
Legendary Field   Intel Xeon &            $             7,797.31                       $             7,797.31
Exhibitions LLC   BlackMagic Design
                  Decklink Duo 2
Legendary Field   Cat 6 wiring and        $             7,790.00                       $             7,790.00
Exhibitions LLC   installation
Legendary Field   Apple IPHONE MAX        $             6,673.25                       $             6,673.25
Exhibitions LLC   and accessories




                                                    Page 1 of 1
  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 38 of
                                         269

                                                     In re Legendary Field Exhibitions, LLC
                                                                   Case No.
                                   Schedule A/B: Part 10, Question 60 - 65 - Intangibles & Intellectual Property

             Debtor Name               General Description of Property                 Description                     Net Book     Valuation   Current
                                                                                                                       Value of      Method     Value of
                                                                                                                       Debtor's     Used for    Debtor's
                                                                                                                        Interest     Current    Interest
                                                                                                                                      Value
Legendary Field Exhibitions, LLC      Royalties                               Starter / GIII / Touch / G34Her
                                                                                                                   $ 9,734.00
Legendary Field Exhibitions, LLC      Royalties                                         New Era                    $ (75,273.99)
Legendary Field Exhibitions, LLC      Royalties                                        Levelwear                   $ (32,146.00)
Legendary Field Exhibitions, LLC      Royalties                                         Wincraft                   $    (452.00)
Legendary Field Exhibitions, LLC      Royalties                                        Outerstuff                  $ 4,000.00
Legendary Field Exhibitions, LLC      Royalties                                          Riddell                   $ 4,598.00
Legendary Field Exhibitions, LLC      Royalties                                       Logo Brands                  $ 4,000.00
Legendary Field Exhibitions, LLC      Royalties                                           Topps                    $ 50,000.00
Legendary Field Exhibitions, LLC      Royalties                                       For Bare Feet                $     500.00
Legendary Field Exhibitions, LLC      Royalties                                         Fathead                    $     500.00
Legendary Field Exhibitions, LLC      Royalties                                          Boelter
                                                                                                                   $     4,000.00
Legendary Field Exhibitions, LLC       Royalties                                           Orca
                                                                                                                   $       500.00
Legendary Field Exhibitions, LLC       Royalties                                      HIghland Mint
                                                                                                                   $      250.00
Legendary Field Exhibitions, LLC      Royalties                                           OYO                      $      500.00
Legendary Field Exhibitions, LLC      Trademark                               A Logo - Australia - A0075374            Unknown
Legendary Field Exhibitions, LLC      Trademark                                AAF - Australia - A0075372
                                                                                                                       Unknown
Legendary Field Exhibitions, LLC       Trademark                            ALLIANCE - Australia - A0075370
                                                                                                                       Unknown
Legendary Field Exhibitions, LLC       Trademark                              ALLIANCE AF - Australia -
                                                                                     A0075371                          Unknown
Legendary Field Exhibitions, LLC       Trademark                              ALLIANCE OF AMERICAN
                                                                           FOOTBALL - Australia - A0075373             Unknown
Legendary Field Exhibitions, LLC      Trademark                             THEAAF - Australia - A0075375
                                                                                                                       Unknown
Legendary Field Exhibitions, LLC       Trademark                               A Logo - Canada - 1898132
                                                                                                                       Unknown
Legendary Field Exhibitions, LLC       Trademark                                AAF - Canada - 1898129
                                                                                                                       Unknown
Legendary Field Exhibitions, LLC       Trademark                             ALLIANCE - Canada - 1898127
                                                                                                                       Unknown
Legendary Field Exhibitions, LLC       Trademark                                ALLIANCE AF - Canada -
                                                                                        1898128                        Unknown
Legendary Field Exhibitions, LLC       Trademark                               ALLIANCE OF AMERICAN
                                                                            FOOTBALL - Canada - 1898130                Unknown
Legendary Field Exhibitions, LLC       Trademark                           ARIZONA HOT SHOTS - Canada -
                                                                                        1925776                        Unknown
Legendary Field Exhibitions, LLC       Trademark                            Arizona Primary Logo - Canada -
                                                                                        1925874                        Unknown
Legendary Field Exhibitions, LLC       Trademark                            ATLANTA LEGENDS - Canada -
                                                                                        1925775                        Unknown
Legendary Field Exhibitions, LLC       Trademark                            Atlanta Primary Logo - Canada -
                                                                                        1925872                        Unknown
Legendary Field Exhibitions, LLC       Trademark                            BIRMINGHAM IRON - Canada -
                                                                                        1925774                        Unknown
Legendary Field Exhibitions, LLC       Trademark                               Birmingham Primary Logo -
                                                                                   Canada - 1925869                    Unknown
Legendary Field Exhibitions, LLC       Trademark                            MEMPHIS EXPRESS - Canada -
                                                                                        1925773                        Unknown
Legendary Field Exhibitions, LLC       Trademark                           Memphis Primary Logo - Canada -
                                                                                        1925868                        Unknown
Legendary Field Exhibitions, LLC       Trademark                           ORLANDO APOLLOS - Canada -
                                                                                        1925772                        Unknown
Legendary Field Exhibitions, LLC       Trademark                           Orlando Primary Logo - Canada -
                                                                                        1925780                        Unknown
Legendary Field Exhibitions, LLC       Trademark                           SALT LAKE STALLIONS - Canada
                                                                                       - 1925771                       Unknown
Legendary Field Exhibitions, LLC       Trademark                           Salt Lake Primary Logo - Canada -
                                                                                        1925779                        Unknown
Legendary Field Exhibitions, LLC       Trademark                           SAN ANTONIO COMMANDERS -
                                                                                   Canada - 1925769                    Unknown
Legendary Field Exhibitions, LLC       Trademark                               San Antonio Primary Logo -
                                                                                   Canada - 1926506                    Unknown
Legendary Field Exhibitions, LLC       Trademark                             SAN DIEGO FLEET - Canada -
                                                                                        1925770                        Unknown




                                                                       Page 1 of 3
  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 39 of
                                         269

                                                     In re Legendary Field Exhibitions, LLC
                                                                   Case No.
                                   Schedule A/B: Part 10, Question 60 - 65 - Intangibles & Intellectual Property

             Debtor Name               General Description of Property                 Description                 Net Book    Valuation   Current
                                                                                                                   Value of     Method     Value of
                                                                                                                   Debtor's    Used for    Debtor's
                                                                                                                    Interest    Current    Interest
                                                                                                                                 Value
Legendary Field Exhibitions, LLC       Trademark                            San Diego Primary Logo - Canada
                                                                                       - 1925777                   Unknown
Legendary Field Exhibitions, LLC      Trademark                               THEAAF - Canada - 1898131            Unknown
Legendary Field Exhibitions, LLC      Trademark                                A Logo - China - A0075374           Unknown
Legendary Field Exhibitions, LLC      Trademark                                 AAF - China - A0075372             Unknown
Legendary Field Exhibitions, LLC      Trademark                              ALLIANCE - China - A0075370           Unknown
Legendary Field Exhibitions, LLC      Trademark                             ALLIANCE AF - China - A0075371
                                                                                                                   Unknown
Legendary Field Exhibitions, LLC       Trademark                              ALLIANCE OF AMERICAN
                                                                            FOOTBALL - China - A0075373            Unknown
Legendary Field Exhibitions, LLC      Trademark                              THEAAF - China - A0075375             Unknown
Legendary Field Exhibitions, LLC      Trademark                                 A Logo - EU - A0075374             Unknown
Legendary Field Exhibitions, LLC      Trademark                                  AAF - EU - A0075372               Unknown
Legendary Field Exhibitions, LLC      Trademark                               ALLIANCE - EU - 1428325              Unknown
Legendary Field Exhibitions, LLC      Trademark                             ALLIANCE AF - EU - A0075371            Unknown
Legendary Field Exhibitions, LLC      Trademark                               ALLIANCE OF AMERICAN
                                                                             FOOTBALL - EU - A0075373              Unknown
Legendary Field Exhibitions, LLC      Trademark                                THEAAF - EU - A0075375              Unknown
Legendary Field Exhibitions, LLC      Trademark                                A Logo - India - A0075374           Unknown
Legendary Field Exhibitions, LLC      Trademark                                 AAF - India - A0075372             Unknown
Legendary Field Exhibitions, LLC      Trademark                              ALLIANCE - India - A0075370           Unknown
Legendary Field Exhibitions, LLC      Trademark                            ALLIANCE AF - India - A0075371          Unknown
Legendary Field Exhibitions, LLC      Trademark                               ALLIANCE OF AMERICAN
                                                                            FOOTBALL - India - A0075373            Unknown
Legendary Field Exhibitions, LLC      Trademark                               THEAAF - India - A0075375            Unknown
Legendary Field Exhibitions, LLC      Trademark                               A Logo - Japan - A0075374            Unknown
Legendary Field Exhibitions, LLC      Trademark                                 AAF - Japan - A0075372             Unknown
Legendary Field Exhibitions, LLC      Trademark                             ALLIANCE - Japan - A0075370            Unknown
Legendary Field Exhibitions, LLC      Trademark                            ALLIANCE AF - Japan - A0075371
                                                                                                                   Unknown
Legendary Field Exhibitions, LLC       Trademark                                ALLIANCE OF AMERICAN
                                                                             FOOTBALL - Japan - A0075373           Unknown
Legendary Field Exhibitions, LLC      Trademark                               THEAAF - Japan - A0075375            Unknown
Legendary Field Exhibitions, LLC      Trademark                                A Logo - Mexico - A0075374          Unknown
Legendary Field Exhibitions, LLC      Trademark                                 AAF - Mexico - A0075372            Unknown
Legendary Field Exhibitions, LLC      Trademark                              ALLIANCE - Mexico - A0075370          Unknown
Legendary Field Exhibitions, LLC      Trademark                                  ALLIANCE AF - Mexico -
                                                                                        A0075371                   Unknown
Legendary Field Exhibitions, LLC       Trademark                                ALLIANCE OF AMERICAN
                                                                            FOOTBALL - Mexico - A0075373           Unknown
Legendary Field Exhibitions, LLC      Trademark                               THEAAF - Mexico - A0075375           Unknown
Legendary Field Exhibitions, LLC      Trademark                                   AAF - USA - 87799542             Unknown
Legendary Field Exhibitions, LLC      Trademark                               ALLIANCE - USA - 87799528            Unknown
Legendary Field Exhibitions, LLC      Trademark                             ALLIANCE AF - USA - 87799536           Unknown
Legendary Field Exhibitions, LLC      Trademark                                 ALLIANCE OF AMERICAN
                                                                              FOOTBALL - USA - 87799550            Unknown
Legendary Field Exhibitions, LLC       Trademark                             ARIZONA HOT SHOTS - USA -
                                                                                        88125840                   Unknown
Legendary Field Exhibitions, LLC       Trademark                             ARIZONA HOTSHOTS Stylized
                                                                                 (A&Z) - USA - 88126028            Unknown
Legendary Field Exhibitions, LLC       Trademark                             ATL Stylized - USA - 88122462         Unknown
Legendary Field Exhibitions, LLC       Trademark                              ATLANTA LEGENDS - USA -
                                                                                        88122412                   Unknown
Legendary Field Exhibitions, LLC       Trademark                             ATLANTA LEGENDS Stylized -
                                                                                    USA - 88122437                 Unknown
Legendary Field Exhibitions, LLC       Trademark                               BIRMINGHAM IRON - USA -
                                                                                        88122416                   Unknown
Legendary Field Exhibitions, LLC       Trademark                             BIRMINGHAM Stylized - USA -
                                                                                        88122446                   Unknown
Legendary Field Exhibitions, LLC       Trademark                            CAN'T STOP GREATNESS - USA
                                                                                       - 88145307                  Unknown
Legendary Field Exhibitions, LLC       Trademark                               Design (horse head) - USA -
                                                                                        88126082                   Unknown
Legendary Field Exhibitions, LLC       Trademark                            Design (shield and sword) - USA -
                                                                                        88126015                   Unknown
Legendary Field Exhibitions, LLC       Trademark                            Design (ship inside shield) - USA -
                                                                                        88126089                   Unknown




                                                                       Page 2 of 3
  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 40 of
                                         269

                                                     In re Legendary Field Exhibitions, LLC
                                                                   Case No.
                                   Schedule A/B: Part 10, Question 60 - 65 - Intangibles & Intellectual Property

             Debtor Name               General Description of Property                 Description                 Net Book    Valuation   Current
                                                                                                                   Value of     Method     Value of
                                                                                                                   Debtor's    Used for    Debtor's
                                                                                                                    Interest    Current    Interest
                                                                                                                                 Value
Legendary Field Exhibitions, LLC       Trademark                              FANCHISE - USA - 87924465            Unknown
Legendary Field Exhibitions, LLC       Trademark                                LEGENDS Stylized - USA -
                                                                                          88122523                 Unknown
Legendary Field Exhibitions, LLC       Trademark                                   Logo - USA - 87799560           Unknown
Legendary Field Exhibitions, LLC       Trademark                              MEMPHIS EXPRESS - USA -
                                                                                          88122419                 Unknown
Legendary Field Exhibitions, LLC       Trademark                              MEMPHIS EXPRESS Stylized -
                                                                                      USA - 88122450               Unknown
Legendary Field Exhibitions, LLC       Trademark                              ORLANDO APOLLOS - USA -
                                                                                          88122424                 Unknown
Legendary Field Exhibitions, LLC       Trademark                             ORLANDO APOLLOS Stylized -
                                                                                      USA - 88122456               Unknown
Legendary Field Exhibitions, LLC       Trademark                                PLAYR and Design - USA -
                                                                                          88122387                 Unknown
Legendary Field Exhibitions, LLC       Trademark                             SALT LAKE STALLIONS - USA -
                                                                                          88125828                 Unknown
Legendary Field Exhibitions, LLC       Trademark                            SALT LAKE STALLIONS Stylized -
                                                                                      USA - 88126062               Unknown
Legendary Field Exhibitions, LLC       Trademark                            SAN ANTONIO COMMANDERS -
                                                                                      USA - 88125795               Unknown
Legendary Field Exhibitions, LLC       Trademark                             SAN ANTONIO COMMANDERS
                                                                                Stylized - USA - 88125999          Unknown
Legendary Field Exhibitions, LLC       Trademark                               SAN DIEGO FLEET - USA -
                                                                                          88125816                 Unknown
Legendary Field Exhibitions, LLC       Trademark                              SAN DIEGO FLEET Stylized -
                                                                                      USA - 88126069               Unknown
Legendary Field Exhibitions, LLC       Trademark                                Stylized “A” (crown) - USA -
                                                                                          88122469                 Unknown
Legendary Field Exhibitions, LLC       Trademark                             Stylized “A” & “Z” (circle) - USA -
                                                                                          88126034                 Unknown
Legendary Field Exhibitions, LLC       Trademark                            Stylized “A” & “Z” (crossed axes) -
                                                                                      USA - 88126055               Unknown
Legendary Field Exhibitions, LLC       Trademark                             Stylized “A” & “Z” (shield) - USA -
                                                                                          88126047                 Unknown
Legendary Field Exhibitions, LLC       Trademark                              Stylized “B” & “I” (interwoven) -
                                                                                      USA - 88122478               Unknown
Legendary Field Exhibitions, LLC       Trademark                               Stylized “B” (football) - USA -
                                                                                          88122533                 Unknown
Legendary Field Exhibitions, LLC       Trademark                              Stylized “E” (airplane) - USA -
                                                                                          88122540                 Unknown
Legendary Field Exhibitions, LLC       Trademark                            Stylized “M” (football line) - USA -
                                                                                          88122484                 Unknown
Legendary Field Exhibitions, LLC       Trademark                              Stylized “O” (person with bow-
                                                                                  arrow) - USA - 88122550          Unknown
Legendary Field Exhibitions, LLC      Trademark                                 THEAAF - USA - 87801104            Unknown
Legendary Field Exhibitions, LLC      Trademark                                  A Logo - WIPO - 1428364           Unknown
Legendary Field Exhibitions, LLC      Trademark                                    AAF - WIPO - 1428296            Unknown
Legendary Field Exhibitions, LLC      Trademark                               ALLIANCE - WIPO - 1428325            Unknown
Legendary Field Exhibitions, LLC      Trademark                             ALLIANCE AF - WIPO - A0075371
                                                                                                                   Unknown
Legendary Field Exhibitions, LLC       Trademark                               ALLIANCE OF AMERICAN
                                                                              FOOTBALL - WIPO - 1428334            Unknown
Legendary Field Exhibitions, LLC      Trademark                               THEAAF - WIPO - A0075375             Unknown
Legendary Field Exhibitions, LLC      Internet domain names and
                                      websites                                                                     Unknown
Legendary Field Exhibitions, LLC      Mobile gaming and technology
                                      platforms                                                                    Unknown
Legendary Field Exhibitions, LLC      Miscellaneous other patents and
                                      intellectual property                                                        Unknown
Legendary Field Exhibitions, LLC      Customer lists                           Season and individual ticket
                                                                                      holders list                 Unknown




                                                                       Page 3 of 3
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 41 of
                                       269


                                   In re Legendary Field Exhibitions, LLC

                                                     Case No.

            Schedule A/B: Part 11, Question 73 – Interests in insurance policies or annuities


  Debtor Name                                    Description                Current Value of Debtor's
                                                                                     Interest
  Legendary Field Exhibitions,   Commercial Property                                Unknown
  LLC
  Legendary Field Exhibitions,   Inland Marine                                      Unknown
  LLC
  Legendary Field Exhibitions,   General Liability Incl. Hired & Non-               Unknown
  LLC                            Owned Auto
  Legendary Field Exhibitions,   Primary Excess Liability - $10m xs                 Unknown
  LLC                            Primary
  Legendary Field Exhibitions,   Excess Liability - 1st Layer - $15M xs             Unknown
  LLC                            $10M
  Legendary Field Exhibitions,   Excess Liability - 2nd Layer - $25M xs             Unknown
  LLC                            $25M
  Legendary Field Exhibitions,   Participant Accident Coverage (Youth               Unknown
  LLC                            Camps)
  Legendary Field Exhibitions,   Cyber Liability / Tech E&O - $5M                   Unknown
  LLC
  Legendary Field Exhibitions,   Non-Owned Aircraft /Unmanned Aircraft              Unknown
  LLC                            Liability
  Legendary Field Exhibitions,   Directors & Officers - $1M xs $1M                  Unknown
  LLC
  Legendary Field Exhibitions,   Directors & Officers - $3M xs $2M                  Unknown
  LLC
  Legendary Field Exhibitions,   Employment Practices - $1M                         Unknown
  LLC
  Legendary Field Exhibitions,   Excess Employment Practices - $1M xs               Unknown
  LLC                            $1M
  Legendary Field Exhibitions,   Fiduciary Liability - $1M                          Unknown
  LLC
  Legendary Field Exhibitions,   Excess Fiduciary - $1M xs $1M                      Unknown
  LLC
  Legendary Field Exhibitions,   Commercial Crime - $2M
  LLC                                                                               Unknown
  Legendary Field Exhibitions,   Allied Healthcare
  LLC                                                                               Unknown
 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 42 of
                                        269

                                   In re Legendary Field Exhibitions, LLC
                                                 Case No.
                             Schedule A/B: Part 11, Question 77 - Other Property

             Debtor Name                           Description                 Current Value of Debtor's
                                                                                        Interest
Legendary Field Exhibitions LLC         Plastic Shelving Units                         Unknown

Legendary Field Exhibitions LLC         Plastic Totes                                  Unknown
Legendary Field Exhibitions LLC         Elbow Sleeves                                  Unknown
Legendary Field Exhibitions LLC         Knee Sleeves                                   Unknown
Legendary Field Exhibitions LLC         Thigh Sleeves                                  Unknown
Legendary Field Exhibitions LLC         Wrist Braces                                   Unknown
Legendary Field Exhibitions LLC         Knee Braces                                    Unknown
Legendary Field Exhibitions LLC         Ankle Boot                                     Unknown
Legendary Field Exhibitions LLC         Crutches                                       Unknown
Legendary Field Exhibitions LLC         Sher Lite Tape                                 Unknown
Legendary Field Exhibitions LLC         Light Plast Cohesive Tape                      Unknown

Legendary Field Exhibitions LLC         Mueller Flex Light Tape                        Unknown

Legendary Field Exhibitions LLC         Coach Athletic Speed Pack Tape                 Unknown

Legendary Field Exhibitions LLC         Powerflex 2" Tape                              Unknown
Legendary Field Exhibitions LLC         Powerflex 3" Tape                              Unknown
Legendary Field Exhibitions LLC         Econoline Heel/Lace Pads                       Unknown

Legendary Field Exhibitions LLC         Mueller Pre-Wrap                               Unknown
Legendary Field Exhibitions LLC         Ice Bags (large boxes)                         Unknown

Legendary Field Exhibitions LLC         Cramer Flex Wrap w/ Handle                     Unknown

Legendary Field Exhibitions LLC         Cramer Flex Wrap w/o Handle                    Unknown

Legendary Field Exhibitions LLC         Ice Bags (small boxes)                         Unknown

Legendary Field Exhibitions LLC         Misc. Braces & Sleeves (boxes)                 Unknown

Legendary Field Exhibitions LLC         Elastikon 2.5 in. Tape                         Unknown

Legendary Field Exhibitions LLC         Exam Tables                                    Unknown
Legendary Field Exhibitions LLC         Misc. Medical Supplies (boxes)                 Unknown

Legendary Field Exhibitions LLC         Travel Trunk                                   Unknown
Legendary Field Exhibitions LLC         Travel Utility Cart/Hamper                     Unknown

Legendary Field Exhibitions LLC         Travel Trunks                                  Unknown
Legendary Field Exhibitions LLC         1 man sled                                     Unknown
Legendary Field Exhibitions LLC         5 man sled                                     Unknown
Legendary Field Exhibitions LLC         Agile 1 pads                                   Unknown
Legendary Field Exhibitions LLC         Medicine Balls (15 lbs)                        Unknown

Legendary Field Exhibitions LLC         Hand shields                                   Unknown



                                                Page 1 of 4
 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 43 of
                                        269

                                   In re Legendary Field Exhibitions, LLC
                                                 Case No.
                             Schedule A/B: Part 11, Question 77 - Other Property

             Debtor Name                           Description                 Current Value of Debtor's
                                                                                        Interest
Legendary Field Exhibitions LLC         Quick snap ball on stick                       Unknown

Legendary Field Exhibitions LLC         Agility ladders                                Unknown
Legendary Field Exhibitions LLC         Attack arch board                              Unknown
Legendary Field Exhibitions LLC         Linemen boards                                 Unknown
Legendary Field Exhibitions LLC         Snap attack machine                            Unknown

Legendary Field Exhibitions LLC         6" cones                                       Unknown
Legendary Field Exhibitions LLC         Agility cones                                  Unknown
Legendary Field Exhibitions LLC         2 Bullet arms                                  Unknown
Legendary Field Exhibitions LLC         Forearm shiver pads                            Unknown

Legendary Field Exhibitions LLC         Jugs Machine                                   Unknown
Legendary Field Exhibitions LLC         Goal post                                      Unknown
Legendary Field Exhibitions LLC         Travel bags                                    Unknown
Legendary Field Exhibitions LLC         Ball bags                                      Unknown
Legendary Field Exhibitions LLC         Shoulder Pad Back Plates                       Unknown

Legendary Field Exhibitions LLC         Rib Protectors                                 Unknown
Legendary Field Exhibitions LLC         Used Game Pants                                Unknown
Legendary Field Exhibitions LLC         Used Game Jerseys                              Unknown

Legendary Field Exhibitions LLC         Schutt Facemasks                               Unknown
Legendary Field Exhibitions LLC         Riddell Facemasks                              Unknown
Legendary Field Exhibitions LLC         White Practice Pants                           Unknown

Legendary Field Exhibitions LLC         White Practice Jerseys                         Unknown

Legendary Field Exhibitions LLC         Black Practice Jerseys                         Unknown

Legendary Field Exhibitions LLC         Game Pants                                     Unknown
Legendary Field Exhibitions LLC         Knee Pads                                      Unknown
Legendary Field Exhibitions LLC         Thigh Pads                                     Unknown
Legendary Field Exhibitions LLC         Odor Spray                                     Unknown
Legendary Field Exhibitions LLC         Helmet Guard                                   Unknown
Legendary Field Exhibitions LLC         Helmet Decals                                  Unknown
Legendary Field Exhibitions LLC         Clear Gear Spray                               Unknown
Legendary Field Exhibitions LLC         Schutt Helmets (New)                           Unknown

Legendary Field Exhibitions LLC         Tech Shorts                                    Unknown
Legendary Field Exhibitions LLC         Fan                                            Unknown
Legendary Field Exhibitions LLC         Utility Racks                                  Unknown
Legendary Field Exhibitions LLC         Hot Packs (Hand Warm)                          Unknown

Legendary Field Exhibitions LLC         Cpx Shoulder Pads                              Unknown
Legendary Field Exhibitions LLC         Spx Shoulder Pads                              Unknown



                                                Page 2 of 4
 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 44 of
                                        269

                                   In re Legendary Field Exhibitions, LLC
                                                 Case No.
                             Schedule A/B: Part 11, Question 77 - Other Property

             Debtor Name                           Description                 Current Value of Debtor's
                                                                                        Interest
Legendary Field Exhibitions LLC         Flex Helmets                                   Unknown
Legendary Field Exhibitions LLC         Speed Classic Helmets                          Unknown

Legendary Field Exhibitions LLC         Vicis Helmets                                  Unknown
Legendary Field Exhibitions LLC         V-7 Helmets                                    Unknown
Legendary Field Exhibitions LLC         V-10 Helmets                                   Unknown
Legendary Field Exhibitions LLC         Vicis Helmet Parts                             Unknown
Legendary Field Exhibitions LLC         L/S Compression Shirts                         Unknown

Legendary Field Exhibitions LLC         Cap Sleeve Comp Shirts                         Unknown

Legendary Field Exhibitions LLC         Black Starter Tees                             Unknown
Legendary Field Exhibitions LLC         Comp Tights                                    Unknown
Legendary Field Exhibitions LLC         Windbreaker Jacket                             Unknown

Legendary Field Exhibitions LLC         Crew Shirt                                     Unknown
Legendary Field Exhibitions LLC         Black Long Socks                               Unknown
Legendary Field Exhibitions LLC         White Long Socks                               Unknown
Legendary Field Exhibitions LLC         White Crew Socks                               Unknown
Legendary Field Exhibitions LLC         Long Sleeve T-Shirts                           Unknown

Legendary Field Exhibitions LLC         Stocking Caps                                  Unknown
Legendary Field Exhibitions LLC         Baseball Caps                                  Unknown
Legendary Field Exhibitions LLC         Gray Comp Shirts                               Unknown
Legendary Field Exhibitions LLC         Padded Girdles                                 Unknown
Legendary Field Exhibitions LLC         Padded Shirts                                  Unknown
Legendary Field Exhibitions LLC         Low Cut Socks                                  Unknown
Legendary Field Exhibitions LLC         Sock Extensions                                Unknown
Legendary Field Exhibitions LLC         Qb Towels                                      Unknown
Legendary Field Exhibitions LLC         Black Chinstraps                               Unknown
Legendary Field Exhibitions LLC         Heavy Sideline Jackets                         Unknown

Legendary Field Exhibitions LLC         Schutt Jaw Pads                                Unknown
Legendary Field Exhibitions LLC         Riddell Jaw Pads                               Unknown
Legendary Field Exhibitions LLC         Skull Caps                                     Unknown
Legendary Field Exhibitions LLC         Laundry Loops                                  Unknown
Legendary Field Exhibitions LLC         Shiny Sideline Jackets                         Unknown

Legendary Field Exhibitions LLC         Shoe Stretchers                                Unknown
Legendary Field Exhibitions LLC         Adidas Cleats                                  Unknown
Legendary Field Exhibitions LLC         Adidas Trainers                                Unknown
Legendary Field Exhibitions LLC         Black Game Socks                               Unknown
Legendary Field Exhibitions LLC         White Game Socks                               Unknown
Legendary Field Exhibitions LLC         White Sleeves                                  Unknown
Legendary Field Exhibitions LLC         Short Sleeve T'S                               Unknown
Legendary Field Exhibitions LLC         Long Sleeve T'S                                Unknown


                                                Page 3 of 4
 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 45 of
                                        269

                                   In re Legendary Field Exhibitions, LLC
                                                 Case No.
                             Schedule A/B: Part 11, Question 77 - Other Property

             Debtor Name                           Description                 Current Value of Debtor's
                                                                                        Interest
Legendary Field Exhibitions LLC         White Coaches Hats                             Unknown

Legendary Field Exhibitions LLC         Revo Helmets                                   Unknown
Legendary Field Exhibitions LLC         Torr-X Ball Pump                               Unknown
Legendary Field Exhibitions LLC         Shampoo                                        Unknown
Legendary Field Exhibitions LLC         Mueller Eye Paint                              Unknown
Legendary Field Exhibitions LLC         Starter Wrist Bands                            Unknown
Legendary Field Exhibitions LLC         Game Gloves                                    Unknown
Legendary Field Exhibitions LLC         Helmet Visors                                  Unknown
Legendary Field Exhibitions LLC         Starter T-Shirts                               Unknown
Legendary Field Exhibitions LLC         Black Sock Extensions                          Unknown

Legendary Field Exhibitions LLC         Chin Straps                                    Unknown
Legendary Field Exhibitions LLC         Game Jerseys                                   Unknown
Legendary Field Exhibitions LLC         Velcor Tape                                    Unknown
Legendary Field Exhibitions LLC         Hot Hands                                      Unknown




                                                Page 4 of 4
        19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 46 of
                                               269
  Fill in this information to identify the case:

                 Legendary Field Exhibitions, LLC
  Debtor name __________________________________________________________________
                                           Western
  United States Bankruptcy Court for the: ______________________             Texas
                                                                 District of _________
                                                                                        (State)

  Case number (If known):      _________________________
                                                                                                                                                      Check if this is an
                                                                                                                                                         amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     See attached Schedule D
     __________________________________________                                                                      9,642,171.00
                                                                ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________

     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
                                                                 ■ No
     _________________________________________
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
     No                                                           Contingent
     Yes. Specify each creditor, including this creditor,         Unliquidated
             and its relative priority.                            Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________                 ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________
     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________                   No
                                                                ■
                                                                 Yes
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
             priority?                                             Disputed
            No. Specify each creditor, including this
                  creditor, and its relative priority.
                  _________________________________
                  _________________________________
            Yes. The relative priority of creditors is
                  specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                  9,642,171.00
                                                                                                                                 $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of ___
                                                                                                           In re Legendary Field Exhibitions, LLC
                                                                                                                           Case No.
                                                                                             Schedule D: Part 1 - Creditors Who Have Claims Secured by Property


            Creditor Name                        Address               Insider or Related Party?            CoDebtor               If Multiple Creditors      Date Debt was      Contingent   Unliquidated   Disputed   Amount of Claim      Value of
                                                                                                                                  Have in Interest in the        Incurred,                                               (Do not deduct    Collateral that
                                                                                                                                      Same Property,           Description of                                           the value of the   Supports this
                                                                                                                                       Specific Each       Debtor's Property                                               collateral)         Claim
                                                                                                                                      Creditor and Its    Subject to the Lien
                                                                                                                                      Relative Priority    and the Nature of
                                                                                                                                                                     Lien
MGM Resorts International Operations,   ATTN: Scott Butera,            No                          x                                                      Security interest in                x                         $   7,000,000.00 Unknown
Inc.                                    President Interactive                                                                                             all Intellectual
                                        Gaming 3600 Las Vegas                                                                                             Property
                                        Blvd. South, Las Vegas, NV
                                        89109
Aramark Sports and Entertainment        ATTN: Aramark Sports and       No                                                                                Silicon Valley Bank                  x                         $   1,831,648.00 $ 500,000.00
Services, LLC                           Entertainment - President                                                                                        L/C secured by cash
                                        2400 Market Street                                                                                               collateral MMA
                                        Philadelphia, PA 19103                                                                                           account x5155
Silicon Valley Bank                     3003 Tasman Drive 2nd          No                          x                                                     ESMG cash            x               x                         $    500,000.00 $ 500,000.00
                                        Floor, Mail Sort Hf210 Santa                                                                                     collateral MMA
                                        Clara, CA 95054                                                                                                  account x5115
Silicon Valley Bank                     3003 Tasman Drive 2nd          No                                                                                Credit cards secured                                           $    310,523.00 $ 500,000.00
                                        Floor, Mail Sort Hf210 Santa                                                                                     by LFE cash
                                        Clara, CA 95054                                                                                                  collateral MMA
                                                                                                                                                         account x0749
                                                                                                                                                                                                                                                                                                    269
                                                                                                                                                                                                                                                             19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 47 of




                                                                                                                               Page 1 of 1
         19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 48 of
   Fill in this information to identify the case: 269

   Debtor            Legendary Field Exhibitions, LLC
                    __________________________________________________________________

   United States Bankruptcy Court for the: ______________________
                                           Western                District of __________
                                                                              Texas
                                                                                                (State)
   Case number       ___________________________________________
    (If known)

                                                                                                                                                     Check if this is an
                                                                                                                                                        amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
        Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                         Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                            As of the petition filing date, the claim is: $______________________
                                                                                                                            173,031.67                173,031.67
                                                                                                                                                    $_________________
      See Schedule E/F: Part 1 - Creditors with Priority Unsecured Claims
     __________________________________________________________________     Check all that apply.
    ___________________________________________                                Contingent
                                                                               Unliquidated
    ___________________________________________                                Disputed
    Date or dates debt was incurred                                          Basis for the claim:
                                                                            __________________________________
    _________________________________

    Last 4 digits of account                                                Is the claim subject to offset?
    number      ___ ___ ___ ___                                              No
                                                                             Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                            As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________     Check all that apply.
    ___________________________________________                                Contingent
                                                                               Unliquidated
    ___________________________________________                                Disputed
    Date or dates debt was incurred                                          Basis for the claim:
                                                                            __________________________________
    _________________________________

    Last 4 digits of account                                                Is the claim subject to offset?
    number      ___ ___ ___ ___                                              No
                                                                             Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                            As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________     Check all that apply.
    ___________________________________________                                Contingent
                                                                               Unliquidated
    ___________________________________________                                Disputed
    Date or dates debt was incurred                                          Basis for the claim:
                                                                            __________________________________
    _________________________________

    Last 4 digits of account                                                Is the claim subject to offset?
    number      ___ ___ ___ ___                                              No
                                                                             Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                        page 1 of ___
           19-50900-cag      Doc#1
                Legendary Field         FiledLLC
                                 Exhibitions,  04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 49 of
  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                  269
 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:
                                                                                                                             38,550,986.23
                                                                                                                           $________________________________
     See Schedule E/F: Part 2 Creditors with Nonpriority Unsecured Claims Check all that apply.
    ____________________________________________________________
                                                                           Contingent
                                                                           Unliquidated
    ____________________________________________________________  Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred             ___________________        Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number             ___ ___ ___ ___               Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred             ___________________        Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number             ___ ___ ___ ___               Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred             ___________________        Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number             ___ ___ ___ ___               Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred             ___________________        Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number             ___ ___ ___ ___               Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred             ___________________        Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number             ___ ___ ___ ___               Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred             ___________________        Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number             ___ ___ ___ ___               Yes



    Official Form 206E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                             page __ of ___
 Debtor
               Legendary
          19-50900-cag      Doc#1FieldFiled
                                         Exhibitions,        LLC 04/17/19 13:00:14
                                              04/17/19 Entered
              _______________________________________________________
                                                                                           Main Document Pg 50 of
                                                                           Case number (if known)_____________________________________
              Name                                                  269
Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                        Total of claim amounts



5a. Total claims from Part 1                                                                 5a.
                                                                                                         173,031.67
                                                                                                        $_____________________________




5b. Total claims from Part 2                                                                 5b.   +
                                                                                                         38,550,986.23
                                                                                                        $_____________________________




5c. Total of Parts 1 and 2
                                                                                             5c.
                                                                                                         38,724,017.90
                                                                                                        $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                   page __ of ___
                                                                                       In re Legendary Field Exhibitions, LLC
                                                                                                      Case No.
                                                                           Schedule E/F: Part 1 - Creditors With Priority Unsecured Claims

           Debtor Name                             Creditor Name                    Last 4         Specify Code            Contingent        Unliquidated Disputed     Claim          Total Claim      Priority Amount
                                                                                   Digits of    Subsection of Priority                                               subject to
                                                                                   Account        Unsecured Claim                                                     offset?
                                                                                   Number




Legendary Field Exhibitions, LLC   Arizona Department of Revenue                 x8964         507(a)(8) - Sales Tax                                                              $        29,762.67   $       29,762.67
                                   PO Box 29082
                                   Phoenix, AZ 85038-9082
Legendary Field Exhibitions, LLC   City of Birmingham                                          507(a)(8) - Sales Tax                                                              $        38,657.00   $       38,657.00
                                   P.O. Box 830638
                                   Birmingham, AL
                                   35283-0638
Legendary Field Exhibitions, LLC   Idaho State Tax Commission                    N/A           507(a)(8) - Withholding                                                            $         6,219.00   $        6,219.00
                                   PO Box 83784                                                Tax
                                   Boise ID 83707-3784
Legendary Field Exhibitions, LLC   Missouri Department of Revenue Harry S Truman N/A           507(a)(8) - Withholding                                                            $         4,657.00   $        4,657.00
                                   State Office Building                                       Tax
                                   301 West High Street
                                   Jefferson City, MO 65101

Legendary Field Exhibitions, LLC   Nebraska Department of Revenue Nebraska        N/A          507(a)(8) - Withholding                                                            $         3,738.50   $        3,738.50
                                   State Office Building                                       Tax
                                   301 Centennial Mall S
                                   Lincoln, NE 68508
Legendary Field Exhibitions, LLC   Ohio Department of Taxation                    N/A          507(a)(8) - Withholding                                                            $        12,156.56   $       12,156.56
                                   P.O. Box 530                                                Tax
                                   Columbus, OH 43216-0530
Legendary Field Exhibitions, LLC   Florida Department of Revenue                  x4289        507(a)(8) - Sales Tax                                                              $        24,143.00   $       24,143.00
                                   5050 West Tennessee St
                                   Tallahassee, FL 32399-0120
Legendary Field Exhibitions, LLC   State of Georgia Department of Revenue         x0506        507(a)(8) - Sales Tax                                                              $         3,401.00   $        3,401.00
                                   Taxpayer Services Division
                                   PO Box 49512
                                                                                                                                                                                                                                                                  269




                                   Atlanta, GA 30359-1512

Legendary Field Exhibitions, LLC   State of Tennessee - Department of Revenue     x0890        507(a)(8) - Sales Tax                                                              $         6,932.00   $        6,932.00
                                   500 Deaderick Street
                                   Nashville, TN 37242

Legendary Field Exhibitions, LLC   Tennessee Department of Revenue                N/A          507(a)(8) - State                                                                  $        17,807.94   $       17,807.94
                                   500 Deaderick Street                                        Unemployment Tax
                                   Nashville, TN 37242
Legendary Field Exhibitions, LLC   Texas Comptroller of Public Accounts           x1329        507(a)(8) - Sales Tax                                                              $        24,026.00   $       24,026.00
                                   PO Box 149354
                                   Austin, TX 78714-9354

Legendary Field Exhibitions, LLC   Utah State Tax Commission                      x9002        507(a)(8) - Sales Tax                                                              $         1,531.00   $        1,531.00
                                   210 N 1950 W
                                   Salt Lake City, UT 84134-9000
                                                                                                                                                                                                                           19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 51 of




                                                                                                                                     Page 1 of 1
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name                 Address           Last 4 Date Debt   Trade, Debt / Note          Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                            Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                            Account Incurred,                                                                       offset?
                                                                                            Number Basis for
                                                                                                      Claim
Legendary Field Exhibitions, LLC   1985                               Address on file                           Unearned Revenue                                                                $           10.00

Legendary Field Exhibitions, LLC   1954 Productions, LLC              8447 Wilshire                             Trade                                                                           $      178,851.00
                                                                      Boulevard, Suite
                                                                      300
                                                                      Beverly Hills CA
                                                                      90211
Legendary Field Exhibitions, LLC   313 Productions, Inc.              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   6x7 Networks, LLC                  4104 24th St,                             Trade                                                                           $        3,700.00
                                                                      San Francisco CA
                                                                      94114-3615
Legendary Field Exhibitions, LLC   A Bounce Above                     13745 Lyall Pl                            Trade                                                                           $        2,321.60
                                                                      Lakeside, CA 92040-
                                                                      4823
Legendary Field Exhibitions, LLC   A Roof 4 You                       Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Aalto, Martin                      Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Aamold, Jeffrey                    Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Aaro-Hansen, Kris                  Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Aaron Larrimore dba All American   603 Blackwell Ave.                        Trade                                                                           $        1,094.41
                                   Flags and Banners, LLC             Manchaca TX
                                                                      78652
Legendary Field Exhibitions, LLC   Abarca, David                      Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Abbatantuono, Charles              Address on file                           Unearned Revenue                                                                $           44.00
Legendary Field Exhibitions, LLC   Abbott, Patrick                    Address on file                           Unearned Revenue                                                                $          140.00


Legendary Field Exhibitions, LLC   Abendroth, Daniel                  Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Abernathy, John                    Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                                                                           269




Legendary Field Exhibitions, LLC   Abernathy, William C               Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Abinsay, Cesar                     Address on file                           Unearned Revenue                                                                $          121.50
Legendary Field Exhibitions, LLC   Ables, Paul Ryan                   Address on file                           Unearned Revenue                                                                $          120.00


Legendary Field Exhibitions, LLC   Abraham, Tink                      Address on file                           Unearned Revenue                                                                $           80.00
Legendary Field Exhibitions, LLC   Abraham, Travis                    Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   AC Technology Consultants          305 Dr. MLK Street                        Trade                                                                           $        6,075.00
                                                                      South 513
                                                                      St. Petersburg FL
                                                                      33705
Legendary Field Exhibitions, LLC   Accolade USA Inc.                  60 Industrial                             Trade                                                                           $       69,105.90
                                                                      Parkway Ste. 397
                                                                      Cheektowaga NY
                                                                      14227
Legendary Field Exhibitions, LLC   Accu-Print San Antonio             3503 Crosspoint                           Trade                                                                           $       10,224.28
                                                                      San Antonio TX
                                                                      78217
Legendary Field Exhibitions, LLC   Ace Consulting Group, LLC.         Address on file                           Unearned Revenue                                                                $          600.00

Legendary Field Exhibitions, LLC   Ace Parking Management Inc.        645 Ash St.                               Trade                                                                           $          520.81
                                                                      San Diego CA
                                                                      92101-3211
Legendary Field Exhibitions, LLC   Acevedo, Andrea                    Address on file                           Unearned Revenue                                                                $           75.00
Legendary Field Exhibitions, LLC   Acevedo, Danielle                  Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Acevedo, Larry                     Address on file                           Unearned Revenue                                                                $          220.00


Legendary Field Exhibitions, LLC   Acevedo, Noe                       Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Acevedo, Zuleima                   Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Achan, Danielle                    Address on file                           Unearned Revenue                                                                $          166.50
Legendary Field Exhibitions, LLC   Achtyl, Michael                    Address on file                           Unearned Revenue                                                                $          240.00

Legendary Field Exhibitions, LLC   Ackerman, Jerry                    Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   ACM HUB, LLC dba Titan Sign        PO Box 40142                              Trade                                                                           $       25,869.60
                                   Company                            San Antonio TX
                                                                                                                                                                                                                    19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 52 of




                                                                      78229




                                                                                                                                                         Page 1 of 202
                                                                                In re Legendary Field Exhibitions, LLC
                                                                                                Case No.
                                                                  Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name           Address          Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                      Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                      Account Incurred,                                                                         offset?
                                                                                      Number Basis for
                                                                                                Claim
Legendary Field Exhibitions, LLC   ACO Medical Supply, Inc.      P.O Box 600104                             Trade                                                                           $       51,919.43
                                                                 Raleigh NC 27675-
                                                                 6014
Legendary Field Exhibitions, LLC   ACOSTA, CHERYL                Address on file                            Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Active Pest Control           Address on file                            Unearned Revenue                                                                $        1,250.00

Legendary Field Exhibitions, LLC   Adams, Angela                 Address on file                            Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Adams, Benjamin               Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Adams, Brian                  Address on file                            Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Adams, Daniel                 Address on file                            Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Adams, Donald                 Address on file                            Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Adams, Evan                   Address on file                            Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Adams, Maria                  Address on file                            Unearned Revenue                                                                $           15.00
Legendary Field Exhibitions, LLC   Adams, Robert                 Address on file                            Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Adanjr, Rogelio               Address on file                            Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Addison, Donald               Address on file                            Unearned Revenue                                                                $          200.00
Legendary Field Exhibitions, LLC   Addison, Jordan               Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Addy, Shelley                 Address on file                            Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Aderholt, Deen                Address on file                            Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Aderinto, Phillip             Address on file                            Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Adeyemo, Femi                 Address on file                            Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Adidas                        685 Cedar Crest                            Trade                                                                           $       68,538.05
                                                                 Rd.
                                                                 Spartanburg SC
                                                                 29301
Legendary Field Exhibitions, LLC   Adkins, Taylor                Address on file                            Unearned Revenue                                                                $           70.00
                                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   Adkinson, Brooke              Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Adler Services                Address on file                            Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   ADVANCED FRAMING CONCEPTS 7975 Dunbrook                                  Trade                                                                           $          608.34
                                                                 Road Suite G
                                                                 San Diego CA
                                                                 92126
Legendary Field Exhibitions, LLC   Adzima, Jeff                  Address on file                            Unearned Revenue                                                                $            0.02
Legendary Field Exhibitions, LLC   Aerial Video Systems          3200 W. Valhalla                           Trade                                                                           $        2,170.00
                                                                 Drive
                                                                 Burbank CA 91505
Legendary Field Exhibitions, LLC   Aerial Video Systems dba      712 S Main St                              Trade                                                                           $          955.04
                                   Randy Hermes Productions Inc. Burbank, CA 91506
Legendary Field Exhibitions, LLC   AFLANNY INC.                  PO Box 233                                 Trade                                                                           $       40,075.45
                                                                 Rancho Santa Fe,
                                                                 CA 92067
Legendary Field Exhibitions, LLC   Agency, Ford Insurance        Address on file                            Unearned Revenue                                                                $        1,200.00



Legendary Field Exhibitions, LLC   Agnew, Joseph                 Address on file                            Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Agpaoa, Jorelyn               Address on file                            Unearned Revenue                                                                $           50.00



Legendary Field Exhibitions, LLC   Agraz, Derek                  Address on file                            Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Agron, Inc.                   2440 South                                 Trade                                                                           $       15,784.26
                                                                 Sepulveda Blvd
                                                                 Ste 201
                                                                 Los Angeles, CA
                                                                 90064
Legendary Field Exhibitions, LLC   Aguero, Glen                  Address on file                            Unearned Revenue                                                                $           75.00
Legendary Field Exhibitions, LLC   Aguero, Margarito             Address on file                            Unearned Revenue                                                                $          122.00
Legendary Field Exhibitions, LLC   Aguero, Mario                 Address on file                            Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Agueros, Victor               Address on file                            Unearned Revenue                                                                $           90.00


Legendary Field Exhibitions, LLC   Aguila, Einar                 Address on file                            Unearned Revenue                                                                $           45.00
                                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 53 of




                                                                                                                                                     Page 2 of 202
                                                                           In re Legendary Field Exhibitions, LLC
                                                                                           Case No.
                                                             Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                 Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                 Account Incurred,                                                                         offset?
                                                                                 Number Basis for
                                                                                           Claim
Legendary Field Exhibitions, LLC   Aguilar, Jorge            Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   aguilar, mark             Address on file                           Unearned Revenue                                                                $            8.00
Legendary Field Exhibitions, LLC   Aguilar, Mike             Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   aguilera, ramon           Address on file                           Unearned Revenue                                                                $           81.00
Legendary Field Exhibitions, LLC   Aguillon, Andrew          Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Aguirre, Alberto          Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   aguirre, gustavo          Address on file                           Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   Aguon, Ryan               Address on file                           Unearned Revenue                                                                $          220.00


Legendary Field Exhibitions, LLC   Ahern, Frank              Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Ahn, Sarah                Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Aiello, James             Address on file                           Unearned Revenue                                                                $          224.00

Legendary Field Exhibitions, LLC   Aiken, Jeremiah           Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Air Cannons               8241 S. Shady                             Trade                                                                           $        3,750.00
                                                             Grove Ct.
                                                             Aurora CO 80016
Legendary Field Exhibitions, LLC   Akers, Donald             Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Akina, Danny              Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Alabama Graphics          2801 5th Avenue                           Trade                                                                           $       16,853.71
                                                             South
                                                             Birmingham, AL
                                                             35233
Legendary Field Exhibitions, LLC   Alabama Media Group       P.O Box 77000                             Trade                                                                           $        4,500.00
                                                             Dept. 77571
                                                             Detroit MI 48277-
                                                             0571
Legendary Field Exhibitions, LLC   Alanis, Jorge             Address on file                           Unearned Revenue                                                                $           70.00
                                                                                                                                                                                                                                                  269




Legendary Field Exhibitions, LLC   Alaniz, Annette           Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Alatorre, Antonio         Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Albanese, Ralph           Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Albert, Samantha          Address on file                           Unearned Revenue                                                                $           80.51

Legendary Field Exhibitions, LLC   Albertsen, Eric           Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Albertson, Dallin         Address on file                           Unearned Revenue                                                                $          195.00

Legendary Field Exhibitions, LLC   Albini, Deanna            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Albini, John              Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Albright, Derek           Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Alcazar, Edgar            Address on file                           Unearned Revenue                                                                $           25.00

Legendary Field Exhibitions, LLC   Alcock, Richard           Address on file                           Unearned Revenue                                                                $           55.00

Legendary Field Exhibitions, LLC   Aldaco, Manuel            Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Alderson, Richard         Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Aldinger, Tim             Address on file                           Unearned Revenue                                                                $           80.00
Legendary Field Exhibitions, LLC   ALERT SERVICES, INC.      PO BOX 1088                               Trade                                                                           $          661.78
                                                             San Marcos TX
                                                             78667
Legendary Field Exhibitions, LLC   Alevy, Scott              Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Alexander, Jeremy         Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Alexander, Michele        Address on file                           Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   alexander, sandra         Address on file                           Unearned Revenue                                                                $           78.20
Legendary Field Exhibitions, LLC   Alfano, Scott             Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Ali, Salene               Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                           19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 54 of




                                                                                                                                                Page 3 of 202
                                                                               In re Legendary Field Exhibitions, LLC
                                                                                               Case No.
                                                                 Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                           Creditor Name        Address           Last 4 Date Debt   Trade, Debt / Note          Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                       Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                       Account Incurred,                                                                       offset?
                                                                                       Number Basis for
                                                                                                 Claim
Legendary Field Exhibitions, LLC   Alicia Jessop                 5525 TanOak Lane                          Trade                                                                           $          500.00
                                                                 Apt. 270
                                                                 Oak Park CA 91377

Legendary Field Exhibitions, LLC   Aline, Mike                   Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Alizadeh, Robin               Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Alkire, Bruce                 Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   All Pro Services              Address on file                           Unearned Revenue                                                                $          120.00


Legendary Field Exhibitions, LLC   Allan Company                 Address on file                           Unearned Revenue                                                                $          500.00

Legendary Field Exhibitions, LLC   Alleman, Chris                Address on file                           Unearned Revenue                                                                $           64.00
Legendary Field Exhibitions, LLC   Allen, Alvan                  Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Allen, Cheryl                 Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Allen, Connie                 Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Allen, Connor                 Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Allen, Erin                   Address on file                           Unearned Revenue                                                                $          125.00
Legendary Field Exhibitions, LLC   Allen, Garrett                Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Allen, Lynn                   Address on file                           Unearned Revenue                                                                $          150.00
Legendary Field Exhibitions, LLC   Allen, Phillip                Address on file                           Unearned Revenue                                                                $          140.00


Legendary Field Exhibitions, LLC   Allen, Renee                  Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Allen, Tyler                  Address on file                           Unearned Revenue                                                                $           25.00


Legendary Field Exhibitions, LLC   Allen, Will                   Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Allen, Willard                Address on file                           Unearned Revenue                                                                $          192.50
                                                                                                                                                                                                                                                      269




Legendary Field Exhibitions, LLC   ALLEY, JENNIFER               Address on file                           Unearned Revenue                                                                $           10.00

Legendary Field Exhibitions, LLC   Alliance Productions          5200 Northshore Dr.                       Trade                                                                           $      128,026.12
                                                                 STE C
                                                                 North Little Rock
                                                                 AR 72118
Legendary Field Exhibitions, LLC   Alligood, Lance               Address on file                           Unearned Revenue                                                                $           44.00
Legendary Field Exhibitions, LLC   Allison, Beverly              Address on file                           Unearned Revenue                                                                $          600.00

Legendary Field Exhibitions, LLC   Allison, Judith               Address on file                           Unearned Revenue                                                                $          340.00


Legendary Field Exhibitions, LLC   Allison, Michele              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   AllStar Lettering             9419 Ann St                               Trade                                                                           $          525.71
                                                                 Santa Fe Springs,
                                                                 CA 90670
Legendary Field Exhibitions, LLC   Alo, Vincent                  Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Aloft Tempe                   951 E Playa Del                           Trade                                                                           $       25,263.21
                                                                 Norte Dr
                                                                 Tempe, AZ 85281
Legendary Field Exhibitions, LLC   Alonzo, Erin                  Address on file                           Unearned Revenue                                                                $           32.00
Legendary Field Exhibitions, LLC   Alonzo, Melissa               Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Alpha Media                   4050 Eisenhauer                           Trade                                                                           $       20,612.00
                                                                 Rd.
                                                                 San Antonio TX
                                                                 78218
Legendary Field Exhibitions, LLC   alpuente, james               Address on file                           Unearned Revenue                                                                $           35.00


Legendary Field Exhibitions, LLC   Alsobrooks, Shelitta          Address on file                           Unearned Revenue                                                                $           55.20
Legendary Field Exhibitions, LLC   Alston, Amy                   Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Alston, Travis                Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   ALT Systems Inc.              2777 N. Ontario St.                       Trade                                                                           $      159,293.20
                                                                 ste 210
                                                                 Burbank CA 91504
Legendary Field Exhibitions, LLC   Alton, Janice                 Address on file                           Unearned Revenue                                                                $           65.00
                                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 55 of




                                                                                                                                                    Page 4 of 202
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                                    Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name              Address          Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                        Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                        Account Incurred,                                                                         offset?
                                                                                        Number Basis for
                                                                                                  Claim
Legendary Field Exhibitions, LLC   Alva, John                      Address on file                            Unearned Revenue                                                                $          180.00

Legendary Field Exhibitions, LLC   Alvala, Henrique                Address on file                            Unearned Revenue                                                                $           25.00


Legendary Field Exhibitions, LLC   Alvarado, Alex                  Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Alvarado, Joseph                Address on file                            Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   alvarado, mike                  Address on file                            Unearned Revenue                                                                $          162.00

Legendary Field Exhibitions, LLC   Alvarado, Richard               Address on file                            Unearned Revenue                                                                $           65.00

Legendary Field Exhibitions, LLC   alvarado, xavier                Address on file                            Unearned Revenue                                                                $            0.02
Legendary Field Exhibitions, LLC   Alvarez, Albert                 Address on file                            Unearned Revenue                                                                $          213.50
Legendary Field Exhibitions, LLC   Alvarez, David                  Address on file                            Unearned Revenue                                                                $          230.00

Legendary Field Exhibitions, LLC   Alvarez, Jorge                  Address on file                            Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Alvarez, Melia                  Address on file                            Unearned Revenue                                                                $           55.50
Legendary Field Exhibitions, LLC   Alvarez, Pete                   Address on file                            Unearned Revenue                                                                $          230.00

Legendary Field Exhibitions, LLC   Alvarez, Tony                   Address on file                            Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Alves-McCollum, Elaine          Address on file                            Unearned Revenue                                                                $           35.00

Legendary Field Exhibitions, LLC   Alvey, Noah                     Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Amaker, Chris                   Address on file                            Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Aman, Chad                      Address on file                            Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Amass, William                  Address on file                            Unearned Revenue                                                                $          350.00

Legendary Field Exhibitions, LLC   AMAYA, Yvonne                   Address on file                            Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   AMAZON WEB SERVICES- AWS        PO Box 84023                               Trade                                                                           $      197,595.95
                                                                   Seattle WA 98124-
                                                                                                                                                                                                                                                         269




                                                                   8423
Legendary Field Exhibitions, LLC   Amberg, Nicole                  Address on file                            Unearned Revenue                                                                $          600.00

Legendary Field Exhibitions, LLC   Amberson, Chris                 Address on file                            Unearned Revenue                                                                $          300.00
Legendary Field Exhibitions, LLC   Ambrose, Dwayne                 Address on file                            Unearned Revenue                                                                $           25.50

Legendary Field Exhibitions, LLC   AMER Sports                     1 Prudential Plaza                         Trade                                                                           $       84,771.12
                                                                   130 E Randolph St.
                                                                   ste 600
                                                                   Chicago IL 60601
Legendary Field Exhibitions, LLC   American Builders Supply        Address on file                            Unearned Revenue                                                                $          700.00

Legendary Field Exhibitions, LLC   AMERICAN CLEANING SYSTEMS, Address on file                                 Unearned Revenue                                                                $          300.00
                                   INC
Legendary Field Exhibitions, LLC   American Laundry Distributors 5915 Distribution                            Trade                                                                           $       19,176.50
                                                                 San Antonio, TX
                                                                 78218
Legendary Field Exhibitions, LLC   Americom                      Address on file                              Unearned Revenue                                                                $          156.00

Legendary Field Exhibitions, LLC   Amerifactors Financial Group    Address on file                            Unearned Revenue                                                                $        2,100.00

Legendary Field Exhibitions, LLC   Amerine, Rob                    Address on file                            Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Amerine, Robin                  Address on file                            Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Ameritex Waterproofing          Address on file                            Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   Amerson, Cody                   Address on file                            Unearned Revenue                                                                $          121.50

Legendary Field Exhibitions, LLC   Ames, Bridget                   Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Amey, Scott                     Address on file                            Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Amiotte, Scott                  Address on file                            Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Ammon, Drew                     Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Amparan, Joshua                 Address on file                            Unearned Revenue                                                                $          122.00

Legendary Field Exhibitions, LLC   Amy Schwartz                    13810 SE 134th                             Trade                                                                           $        1,820.00
                                                                   Ave
                                                                   Clackamas, OR
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 56 of




                                                                   97015




                                                                                                                                                       Page 5 of 202
                                                                           In re Legendary Field Exhibitions, LLC
                                                                                           Case No.
                                                             Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                 Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                 Account Incurred,                                                                         offset?
                                                                                 Number Basis for
                                                                                           Claim
Legendary Field Exhibitions, LLC   Anady, Allie              Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Anagnostis, Joe           Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Anau, Scott               Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Anchan, Joshua            Address on file                           Unearned Revenue                                                                $          125.00

Legendary Field Exhibitions, LLC   Ancona, Lucy              Address on file                           Unearned Revenue                                                                $          140.00
Legendary Field Exhibitions, LLC   Anderjeski, Ashlee        Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Anderjeski, Audrey        Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Anders, Robert            Address on file                           Unearned Revenue                                                                $           65.02
Legendary Field Exhibitions, LLC   Andersen, Michael         Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Anderson, Alvin           Address on file                           Unearned Revenue                                                                $           72.00
Legendary Field Exhibitions, LLC   Anderson, Andy            Address on file                           Unearned Revenue                                                                $          350.00

Legendary Field Exhibitions, LLC   Anderson, Bernice         Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Anderson, Brian           Address on file                           Unearned Revenue                                                                $          255.00

Legendary Field Exhibitions, LLC   Anderson, Brittany        Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Anderson, Casey           Address on file                           Unearned Revenue                                                                $          122.00
Legendary Field Exhibitions, LLC   Anderson, Chisa           Address on file                           Unearned Revenue                                                                $           31.28
Legendary Field Exhibitions, LLC   anderson, christina       Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Anderson, Christopher     Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Anderson, David           Address on file                           Unearned Revenue                                                                $          352.50

Legendary Field Exhibitions, LLC   Anderson, Eric            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Anderson, Harry           Address on file                           Unearned Revenue                                                                $           58.00
                                                                                                                                                                                                                                                  269




Legendary Field Exhibitions, LLC   Anderson, Heidi           Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Anderson, Jason           Address on file                           Unearned Revenue                                                                $        1,250.00

Legendary Field Exhibitions, LLC   Anderson, Jeffrey         Address on file                           Unearned Revenue                                                                $          170.00

Legendary Field Exhibitions, LLC   Anderson, Karen           Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Anderson, Kathleen        Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Anderson, Katie           Address on file                           Unearned Revenue                                                                $            0.02
Legendary Field Exhibitions, LLC   Anderson, Kevin           Address on file                           Unearned Revenue                                                                $          150.00


Legendary Field Exhibitions, LLC   Anderson, Kim             Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Anderson, Laura           Address on file                           Unearned Revenue                                                                $           30.04

Legendary Field Exhibitions, LLC   Anderson, Lisa            Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Anderson, Matthew         Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Anderson, Max             Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   Anderson, Richard         Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Anderson, Scott           Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Anderson, Shane           Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Anderson, Stephen         Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Anderson, Tucker          Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Anderson, Vincent         Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Anderson, William         Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   andrade, alyssa           Address on file                           Unearned Revenue                                                                $           31.28
                                                                                                                                                                                                           19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 57 of




Legendary Field Exhibitions, LLC   Andrade, Roland           Address on file                           Unearned Revenue                                                                $          100.00




                                                                                                                                                Page 6 of 202
                                                                                     In re Legendary Field Exhibitions, LLC
                                                                                                     Case No.
                                                                       Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name                Address          Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                           Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                           Account Incurred,                                                                         offset?
                                                                                           Number Basis for
                                                                                                     Claim
Legendary Field Exhibitions, LLC   Andrade, Victor                    Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Andrew David Siciliano dba ADS     725 21st St.                               Trade                                                                           $       22,964.96
                                   Sports, Inc                        Hermosa Beach CA
                                                                      90254
Legendary Field Exhibitions, LLC   Andrews, Corey                     Address on file                            Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Andrews, Daniel                    Address on file                            Unearned Revenue                                                                $          410.00

Legendary Field Exhibitions, LLC   Andrews, John                      Address on file                            Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Andrezzi, Heather                  Address on file                            Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Andy Andersen                      16031 Dove Rd.                             Trade                                                                           $        1,000.00
                                                                      Moody TX 76557
Legendary Field Exhibitions, LLC   Angel, Valerie                     Address on file                            Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Angela Hollis & Co.                Address on file                            Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Angeleve Ambulance                 Address on file                            Unearned Revenue                                                                $        1,210.00

Legendary Field Exhibitions, LLC   Angelis, Spencer                   Address on file                            Unearned Revenue                                                                $          808.00

Legendary Field Exhibitions, LLC   Anguiano, Marc                     Address on file                            Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Angulo, Alfredo                    Address on file                            Unearned Revenue                                                                $          125.00

Legendary Field Exhibitions, LLC   Angulo, Genaro                     Address on file                            Unearned Revenue                                                                $          105.00

Legendary Field Exhibitions, LLC   Annotti, Mark                      Address on file                            Unearned Revenue                                                                $          600.00

Legendary Field Exhibitions, LLC   Anson, Weston                      Address on file                            Unearned Revenue                                                                $          200.00
Legendary Field Exhibitions, LLC   Anstey, Scott                      Address on file                            Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Anthem Inc                         21555 Oxnard                               Trade                                                                           $        8,755.12
                                                                      Street, 11th Floor
                                                                      Woodland Hills, CA
                                                                      91367
Legendary Field Exhibitions, LLC   Anthony, Eric                      Address on file                            Unearned Revenue                                                                $           62.56
                                                                                                                                                                                                                                                             269




Legendary Field Exhibitions, LLC   Antonelli, Nick                    Address on file                            Unearned Revenue                                                                $           68.00

Legendary Field Exhibitions, LLC   Antu, Cynthia                      Address on file                            Unearned Revenue                                                                $          457.50
Legendary Field Exhibitions, LLC   Antu, Laura                        Address on file                            Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Antu, robert                       Address on file                            Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   anzaldua, veronica                 Address on file                            Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Apablasa, Jane                     Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Apataker, Brandon                  Address on file                            Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Aponte, Mark                       Address on file                            Unearned Revenue                                                                $          290.00

Legendary Field Exhibitions, LLC   APPLE                              P.O Box 846095                             Trade                                                                           $       23,597.43
                                                                      Dallas TX 75284
Legendary Field Exhibitions, LLC   Applewhite, James                  Address on file                            Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Araiza, Adrian                     Address on file                            Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Aramark Sports and Entertainment   2400 Market Street                         Trade (Deficiency)                                                 x            $     1,331,648.00
                                   Services, LLC                      Philadelphia, PA
                                                                      19103
Legendary Field Exhibitions, LLC   Aranda, Christopher                Address on file                            Unearned Revenue                                                                $           55.00

Legendary Field Exhibitions, LLC   Aranda, E.J.                       Address on file                            Unearned Revenue                                                                $           90.00


Legendary Field Exhibitions, LLC   Aranda, Manuel                     Address on file                            Unearned Revenue                                                                $           55.00


Legendary Field Exhibitions, LLC   Aranzanso, Mark                    Address on file                            Unearned Revenue                                                                $          180.00

Legendary Field Exhibitions, LLC   Arbona, Brandy                     Address on file                            Unearned Revenue                                                                $           36.00
Legendary Field Exhibitions, LLC   Arbuckle, Roger                    Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   arce, monica                       Address on file                            Unearned Revenue                                                                $           61.00

Legendary Field Exhibitions, LLC   Architectural Surfaces & Design Inc. 5526 West 13400                          Trade                                                                           $       15,739.05
                                                                        South
                                                                        Herriman, UT
                                                                        84096
                                                                                                                                                                                                                      19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 58 of




                                                                                                                                                          Page 7 of 202
                                                                                       In re Legendary Field Exhibitions, LLC
                                                                                                       Case No.
                                                                         Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name                 Address           Last 4 Date Debt   Trade, Debt / Note          Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                               Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                               Account Incurred,                                                                       offset?
                                                                                               Number Basis for
                                                                                                         Claim
Legendary Field Exhibitions, LLC   Archuleta Entertainment LLC           7600 E Doubletree                         Trade                                                                           $       23,477.78
                                                                         Rd
                                                                         Scottsdale, AZ
                                                                         85258
Legendary Field Exhibitions, LLC   Arehart, Zach                         Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Arendse, David                        Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Arevalo, Joe                          Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Arevalo, Leatrice                     Address on file                           Unearned Revenue                                                                $          222.00
Legendary Field Exhibitions, LLC   Arina Shames                          96 Lake Meadow Dr                         Trade                                                                           $        1,745.07
                                                                         Daly City, CA 94105


Legendary Field Exhibitions, LLC   Arispe, Andres                        Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Arispe, Tomas                         Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Arizona Cardinals Football Club       8701 S. Hardy Dr.                         Trade                                                                           $          500.00
                                                                         Tempe AZ 85284
Legendary Field Exhibitions, LLC   Arizona Central Protective Services   Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   ARIZONA CHRISTIAN UNIVERSITY 2625 E. Cactus Rd.                                 Trade                                                                           $       55,108.72
                                                                Phoenix AZ 85032
Legendary Field Exhibitions, LLC   Arizona State University     PO Box 870105                                      Trade                                                                           $     1,237,793.82
                                                                Tempe AZ 85287-
                                                                0105
Legendary Field Exhibitions, LLC   Arizpe, Gerardo              Address on file                                    Unearned Revenue                                                                $          202.50
Legendary Field Exhibitions, LLC   Arkansas Graphics Inc.       PO Box 34080                                       Trade                                                                           $        1,727.80
                                                                Little Rock AR
                                                                72203
Legendary Field Exhibitions, LLC   Arlington Animal Clinic      Address on file                                    Unearned Revenue                                                                $          250.00
Legendary Field Exhibitions, LLC   Armas, Tony                  Address on file                                    Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Armeli, Matthew                       Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Armendariz, Amanda                    Address on file                           Unearned Revenue                                                                $           82.00
Legendary Field Exhibitions, LLC   Armenta, Jacob                        Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                                                                               269




Legendary Field Exhibitions, LLC   Armenta, Ruben                        Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Arms, Dawn                            Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Armstrong, Jillian                    Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Armstrong, Vicki                      Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Arndt, Alan                           Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Arnett, Maarifa                       Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Arnhold, Wayne                        Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Arnold, CJ                            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Arnold, James                         Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Arnold, Jon                           Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Arnott, Kent                          Address on file                           Unearned Revenue                                                                $          170.00

Legendary Field Exhibitions, LLC   arredondo, jenny                      Address on file                           Unearned Revenue                                                                $          555.00
Legendary Field Exhibitions, LLC   Arriaga, Jose                         Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Arricale, Chris                       Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Arrieta, Rogelio                      Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Arrington, Joseph                     Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Art F/X                               912 W. Broad St                           Trade                                                                           $        1,425.00
                                                                         Groveland FL
                                                                         34736
Legendary Field Exhibitions, LLC   Arteaga, Elva                         Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Artemax Inc dba WRISTBAND             16000 W. Rogers                           Trade                                                                           $        1,993.84
                                   RESOURCES                             Dr. Ste. 100
                                                                         New Berlin WI
                                                                         53151
Legendary Field Exhibitions, LLC   Arteritano, Joseph                    Address on file                           Unearned Revenue                                                                $          100.00
                                                                                                                                                                                                                        19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 59 of




                                                                                                                                                            Page 8 of 202
                                                                                     In re Legendary Field Exhibitions, LLC
                                                                                                     Case No.
                                                                       Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name                 Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                           Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                           Account Incurred,                                                                         offset?
                                                                                           Number Basis for
                                                                                                     Claim
Legendary Field Exhibitions, LLC   Arthur M. Blank Family Foundation   Address on file                           Unearned Revenue                                                                $        2,855.60

Legendary Field Exhibitions, LLC   Arthur Rodriguez                    2462 Claremont Pl                         Trade                                                                           $        3,200.00
                                                                       Union City CA
                                                                       94587
Legendary Field Exhibitions, LLC   Artigue, Ray                        Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Artisent Floors                     Address on file                           Unearned Revenue                                                                $        1,000.00
Legendary Field Exhibitions, LLC   Arveson, Daniel                     Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Asarnow, David                      Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Asbury, Earl                        Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Ascencao, Kristen                   Address on file                           Unearned Revenue                                                                $          170.00

Legendary Field Exhibitions, LLC   Ascher, Morgan                      Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Ashby, Antony                       Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Ashworth, Alan                      Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Asper, David                        Address on file                           Unearned Revenue                                                                $          600.00

Legendary Field Exhibitions, LLC   Astiazaran, Juan                    Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Astle, Collisa                      Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Astorga, Bianca                     Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Astran, Isidoro                     Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Asuncion, Edgar                     Address on file                           Unearned Revenue                                                                $          120.00
Legendary Field Exhibitions, LLC   AT&T                                PO BOX 5019                               Trade                                                                           $       17,672.91
                                                                       Carol Stream IL
                                                                       60197-5019
Legendary Field Exhibitions, LLC   Atencio, Christopher                Address on file                           Unearned Revenue                                                                $          100.00
                                                                                                                                                                                                                                                            269




Legendary Field Exhibitions, LLC   Atkin, Steve                        Address on file                           Unearned Revenue                                                                $           78.00

Legendary Field Exhibitions, LLC   Atkins, Kristi                      Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Atkins, Michelle                    Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Atkinson, Christopher               Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Atkinson, Greg                      Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Atkinson, Jerome                    Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Atlanta All Stars Youth Sports      Address on file                           Unearned Revenue                                                                $          610.00
                                   League
Legendary Field Exhibitions, LLC   ATLANTA CONCOURSE                   178 S Main Street                         Trade                                                                           $       55,370.18
                                   RENAISSANCE                         Alpharetta GA
                                                                       30009-7948
Legendary Field Exhibitions, LLC   Atlanta Enforcers                   Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Atlanta Falcons                     Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   ATM Gymnastics                      Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Atteo, Michael                      Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Audio Visual Management Solutions 814 Sixth Ave.                              Trade                                                                           $          534.21
                                   Inc.                              South
                                                                     Seattle WA 98134
Legendary Field Exhibitions, LLC   Aufdenkamp, Ned                   Address on file                             Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Aukamp, Anne                        Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Austgen, Braeden                    Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Austin, Dena                        Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Avadim Health, Inc                  Address on file                           Trade                                                                           $          875.08

Legendary Field Exhibitions, LLC   Avalos, Carlos                      Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Avalos, Joseph                      Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   avelar, rudy                        Address on file                           Unearned Revenue                                                                $          100.00
                                                                                                                                                                                                                     19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 60 of




Legendary Field Exhibitions, LLC   Aven, Adam                          Address on file                           Unearned Revenue                                                                $          100.00




                                                                                                                                                          Page 9 of 202
                                                                             In re Legendary Field Exhibitions, LLC
                                                                                             Case No.
                                                               Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name         Address          Last 4 Date Debt   Trade, Debt / Note           Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                    Digits of  was    Payable (Type of Claim)                                               subject to
                                                                                    Account Incurred,                                                                        offset?
                                                                                    Number Basis for
                                                                                              Claim
Legendary Field Exhibitions, LLC   avendano, mauricio          Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Avery, Eleanor              Address on file                           Unearned Revenue                                                                $          210.00

Legendary Field Exhibitions, LLC   Avery, Evan                 Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Aveyard, Darin              Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Avila, David                Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Aviles, Kevin               Address on file                           Unearned Revenue                                                                $           15.00


Legendary Field Exhibitions, LLC   Avitua, Daniel              Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Axtell, Jennifer            Address on file                           Unearned Revenue                                                                $          200.00
Legendary Field Exhibitions, LLC   AY Productions LLC          1334 Park View                            Trade                                                                           $       30,271.92
                                                               Avenue #250
                                                               Manhattan Beach
                                                               CA 90266
Legendary Field Exhibitions, LLC   Ayala, Ayla                 Address on file                           Unearned Revenue                                                                $           40.50
Legendary Field Exhibitions, LLC   Ayala, Carlos               Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Ayala, Joel                 Address on file                           Unearned Revenue                                                                $          375.00
Legendary Field Exhibitions, LLC   Ayala, Lazarus              Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Ayala, Patricia             Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Ayers, Michael              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Ayly, Yshurun               Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Ayuk, Iman                  Address on file                           Unearned Revenue                                                                $           62.56
Legendary Field Exhibitions, LLC   azar builders               Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   B&B Floors                  Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   B&B Ice of Tampa Bay, Inc   2281 N Valrico Rd.                        Trade                                                                           $        1,575.00
                                                                                                                                                                                                                                                    269




                                                               Seffner FL 33584
Legendary Field Exhibitions, LLC   B&D Consultants             Address on file                           Unearned Revenue                                                                $        7,000.00

Legendary Field Exhibitions, LLC   Babauta, Formaine           Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Babiash, Bryce              Address on file                           Trade                                                                           $          300.00

Legendary Field Exhibitions, LLC   Baca, Robert                Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Bacanskas, Brandon          Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Bachman, Tom                Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Backhaus, David             Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Bacling, Lisa               Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Bacon, Brian                Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Badillo, Jose               Address on file                           Unearned Revenue                                                                $          183.00
Legendary Field Exhibitions, LLC   Badillo, Sean               Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Badri, Leah                 Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Baer, Thomas                Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Baez, Deb                   Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Baez, Victor                Address on file                           Unearned Revenue                                                                $          170.00

Legendary Field Exhibitions, LLC   Baeza, Antonio              Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Bagdon, Clint               Address on file                           Unearned Revenue                                                                $           44.00
Legendary Field Exhibitions, LLC   bagdon, john                Address on file                           Unearned Revenue                                                                $           22.00
Legendary Field Exhibitions, LLC   Bagga, Isha                 Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Bagley, Shane               Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Bailey, Ethan               Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Bailey, Justin              Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Bailey, Norman              Address on file                           Unearned Revenue                                                                $          100.00
                                                                                                                                                                                                             19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 61 of




Legendary Field Exhibitions, LLC   Bailey, Patricia            Address on file                           Unearned Revenue                                                                $           30.00




                                                                                                                                                  Page 10 of 202
                                                                               In re Legendary Field Exhibitions, LLC
                                                                                               Case No.
                                                                 Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                           Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                     Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                     Account Incurred,                                                                         offset?
                                                                                     Number Basis for
                                                                                               Claim
Legendary Field Exhibitions, LLC   Bailey, Sandy                 Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Bailey, Walter                Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Baird, Edward                 Address on file                           Unearned Revenue                                                                $          280.00

Legendary Field Exhibitions, LLC   Baird, John                   Address on file                           Unearned Revenue                                                                $           58.00

Legendary Field Exhibitions, LLC   bakalla, ed                   Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Baker Hostetler               Address on file                           Unearned Revenue                                                                $          280.00

Legendary Field Exhibitions, LLC   Baker, Alan C                 Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Baker, Camesha                Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Baker, Erin                   Address on file                           Unearned Revenue                                                                $          180.00


Legendary Field Exhibitions, LLC   Baker, Jodie                  Address on file                           Unearned Revenue                                                                $           15.64

Legendary Field Exhibitions, LLC   Baker, Marvin                 Address on file                           Unearned Revenue                                                                $          217.50
Legendary Field Exhibitions, LLC   Baker, Peggy                  Address on file                           Unearned Revenue                                                                $           15.00


Legendary Field Exhibitions, LLC   Baker, R Tim                  Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Bakhshandeh, Melody           Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Balcerak, Brian               Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Baldoni, Garrett              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   BALDOZ, RICHEER               Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Baldus, Jennifer              Address on file                           Unearned Revenue                                                                $           60.00
                                                                                                                                                                                                                                                      269




Legendary Field Exhibitions, LLC   Baldwin, Ashley               Address on file                           Unearned Revenue                                                                $           30.50
Legendary Field Exhibitions, LLC   Baldwin, Chris                Address on file                           Unearned Revenue                                                                $        3,000.00

Legendary Field Exhibitions, LLC   Baldwin, Robin                Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Ball, Shari                   Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Ball, Tom and Sharon          Address on file                           Unearned Revenue                                                                $          700.00

Legendary Field Exhibitions, LLC   Ballantyne, Braden            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Ballard, Brian                Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Ballard, Craig                Address on file                           Unearned Revenue                                                                $          280.00

Legendary Field Exhibitions, LLC   Ballinger, Nathan             Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Balls, Eric                   Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Balzer, Howard                Address on file                           Trade                                                                           $        3,400.00


Legendary Field Exhibitions, LLC   bancker, adrian               Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Banda, Ralph                  Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Bandak, Samar                 Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Bandy, Shane                  Address on file                           Unearned Revenue                                                                $          630.00

Legendary Field Exhibitions, LLC   Banks, Michael                Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   Banks, Susan                  Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Banning, Christopher          Address on file                           Unearned Revenue                                                                $          440.00


Legendary Field Exhibitions, LLC   Banning, Jason                Address on file                           Unearned Revenue                                                                $          596.00

Legendary Field Exhibitions, LLC   Bannon, Jonathan              Address on file                           Unearned Revenue                                                                $           17.00
Legendary Field Exhibitions, LLC   Baptie, Jeff                  Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Barabe, Timothy               Address on file                           Unearned Revenue                                                                $           50.00
                                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 62 of




                                                                                                                                                    Page 11 of 202
                                                                            In re Legendary Field Exhibitions, LLC
                                                                                            Case No.
                                                              Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                  Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                  Account Incurred,                                                                         offset?
                                                                                  Number Basis for
                                                                                            Claim
Legendary Field Exhibitions, LLC   Barajas, Jessica           Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Barajas, Lisa              Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Barajas, Manuel            Address on file                           Unearned Revenue                                                                $           25.00


Legendary Field Exhibitions, LLC   Barajas, Rene              Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Barbara, Dalton            Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Barbee, Benjamin           Address on file                           Unearned Revenue                                                                $          110.00

Legendary Field Exhibitions, LLC   Barbee, Jarrus             Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Barber, Jessica            Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Barber, Robert             Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Barbour, Peter             Address on file                           Unearned Revenue                                                                $          120.00


Legendary Field Exhibitions, LLC   Barbour, Vicki             Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Barchard, Duncan           Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Barclay, Chad              Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Bardin, James              Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Barela, Donald             Address on file                           Unearned Revenue                                                                $          230.00

Legendary Field Exhibitions, LLC   Barela, Frank              Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Barker, James              Address on file                           Unearned Revenue                                                                $          100.00



Legendary Field Exhibitions, LLC   Barker, Jay                Address on file                           Unearned Revenue                                                                $          140.00
                                                                                                                                                                                                                                                   269




Legendary Field Exhibitions, LLC   Barker, Kevin              Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Barling, Tristian          Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Barlow, Timothy            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Barnard, Summer            Address on file                           Unearned Revenue                                                                $           54.00

Legendary Field Exhibitions, LLC   Barnes, Alex               Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Barnes, David              Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Barnes, Eric               Address on file                           Unearned Revenue                                                                $           40.00


Legendary Field Exhibitions, LLC   Barnes, Greg               Address on file                           Unearned Revenue                                                                $           25.00

Legendary Field Exhibitions, LLC   Barnes, Joseph             Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Barnes, Sherri             Address on file                           Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   Barnett, Joseph            Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Barnett, Ryan              Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Barnett, Windsor           Address on file                           Unearned Revenue                                                                $          104.00

Legendary Field Exhibitions, LLC   Barnhardt, Brett           Address on file                           Unearned Revenue                                                                $          640.00

Legendary Field Exhibitions, LLC   Barnhart, Timothy          Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Barnhill, Amber            Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Barno, John                Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Barone, Salvatoe           Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Baros, Travis              Address on file                           Unearned Revenue                                                                $        1,210.00
                                                                                                                                                                                                            19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 63 of




                                                                                                                                                 Page 12 of 202
                                                                             In re Legendary Field Exhibitions, LLC
                                                                                             Case No.
                                                               Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                         Creditor Name        Address          Last 4 Date Debt   Trade, Debt / Note           Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                    Digits of  was    Payable (Type of Claim)                                               subject to
                                                                                    Account Incurred,                                                                        offset?
                                                                                    Number Basis for
                                                                                              Claim
Legendary Field Exhibitions, LLC   Barr, Brian                 Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Barr, Darrell               Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Barrera, Janelle            Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Barrera, Jennifer           Address on file                           Unearned Revenue                                                                $          245.00

Legendary Field Exhibitions, LLC   Barrera, Marcy              Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Barrett, Dana               Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Barrett, Lamar              Address on file                           Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Barrientes, Valerie         Address on file                           Unearned Revenue                                                                $           63.00
Legendary Field Exhibitions, LLC   Barrios, April              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Barrios, Armando            Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Barron, Claudia             Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Barron, Keeton              Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   barron, matthew             Address on file                           Unearned Revenue                                                                $           61.00
Legendary Field Exhibitions, LLC   Barros, Douglas             Address on file                           Unearned Revenue                                                                $           58.00

Legendary Field Exhibitions, LLC   Barrow, Zachary             Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Barrows, Kristy             Address on file                           Unearned Revenue                                                                $          596.00

Legendary Field Exhibitions, LLC   Barry, charles              Address on file                           Unearned Revenue                                                                $          150.00
Legendary Field Exhibitions, LLC   Barry, Robert               Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Barry, Tyler                Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Barthol, Alex               Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                                                                    269




Legendary Field Exhibitions, LLC   Bartlett, Kevin             Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Barton, Kurtis              Address on file                           Unearned Revenue                                                                $          370.00

Legendary Field Exhibitions, LLC   Barton, Laura               Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Barton, Ryan                Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   BaseCamp Franchising, LLC   39 E. Eagle Ridge                         Trade                                                                           $       19,447.13
                                                               Drive,
                                                               Suite 100
                                                               North Salt Lake UT
                                                               84054
Legendary Field Exhibitions, LLC   Bass, Mike                  Address on file                           Unearned Revenue                                                                $          600.00

Legendary Field Exhibitions, LLC   Bassard, JWesley            Address on file                           Unearned Revenue                                                                $          250.00


Legendary Field Exhibitions, LLC   Batchelder, Gerald          Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Bates, Al                   Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   Bates, Billy                Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Bates, Keith                Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Bates, Nancy                Address on file                           Unearned Revenue                                                                $           78.00


Legendary Field Exhibitions, LLC   Bates, Phillip              Address on file                           Unearned Revenue                                                                $            0.02

Legendary Field Exhibitions, LLC   Bates, Trey                 Address on file                           Unearned Revenue                                                                $           70.00



Legendary Field Exhibitions, LLC   Battaglia, Dino             Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Battaglia, Trisha           Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Battle, Cheryl              Address on file                           Unearned Revenue                                                                $          111.00
Legendary Field Exhibitions, LLC   Baucke, Joshua              Address on file                           Unearned Revenue                                                                $           31.28
                                                                                                                                                                                                             19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 64 of




                                                                                                                                                  Page 13 of 202
                                                                            In re Legendary Field Exhibitions, LLC
                                                                                            Case No.
                                                              Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name         Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                  Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                  Account Incurred,                                                                         offset?
                                                                                  Number Basis for
                                                                                            Claim
Legendary Field Exhibitions, LLC   Bauer, Brent               Address on file                           Trade                                                                           $        2,750.00

Legendary Field Exhibitions, LLC   Bauer, Tara                Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Baum, Debra                Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Baxter, Matthew            Address on file                           Unearned Revenue                                                                $          240.00

Legendary Field Exhibitions, LLC   Baxter, Neil               Address on file                           Unearned Revenue                                                                $           40.00


Legendary Field Exhibitions, LLC   Baxter, Raymond            Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Bayliss, Jennifer          Address on file                           Unearned Revenue                                                                $          180.00
Legendary Field Exhibitions, LLC   Bayot, Richard             Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Bea, Stephanie             Address on file                           Unearned Revenue                                                                $           15.64
Legendary Field Exhibitions, LLC   Beal, Austin               Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Beam, Eric                 Address on file                           Unearned Revenue                                                                $            0.02
Legendary Field Exhibitions, LLC   Beaman, Cheryl             Address on file                           Unearned Revenue                                                                $          140.00


Legendary Field Exhibitions, LLC   Beamesderfer, Jared        Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Bean, Charles              Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Bean, Tracy                Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Beard, Kelby               Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Beardsley, Christopher     Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Beatty, Richard            Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   Beaty, Kimberly            Address on file                           Unearned Revenue                                                                $          222.00
                                                                                                                                                                                                                                                   269




Legendary Field Exhibitions, LLC   Beaver, Patrick            Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Beavers, Andy              Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   becerra, richard           Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Bechaz, Joe                Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   Beck, Doug                 Address on file                           Unearned Revenue                                                                $           10.00
Legendary Field Exhibitions, LLC   Beck, John                 Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Beck, Taylor               Address on file                           Unearned Revenue                                                                $           58.00
Legendary Field Exhibitions, LLC   Becker Boards Small, LLC   4234 E. Indian                            Trade                                                                           $          753.75
                                                              School Rd
                                                              Phoenix AZ 85018
Legendary Field Exhibitions, LLC   Beckett, Glenn             Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Beckett, Russell           Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Beckham, Ambyr             Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Beckman, Henry             Address on file                           Unearned Revenue                                                                $          110.00


Legendary Field Exhibitions, LLC   Beckstrom, Kurt            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Bedore, Bob                Address on file                           Unearned Revenue                                                                $          156.00

Legendary Field Exhibitions, LLC   Bedore-Solis, Brandie      Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Bedoya, Richard            Address on file                           Unearned Revenue                                                                $           80.00
Legendary Field Exhibitions, LLC   Beebe, Daniel              Address on file                           Unearned Revenue                                                                $           45.00
Legendary Field Exhibitions, LLC   Beeks, Kimberly            Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Beer Doctor                Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Begley, Michael            Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Behrends, Scott            Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Beish, Esther              Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                            19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 65 of




                                                                                                                                                 Page 14 of 202
                                                                                   In re Legendary Field Exhibitions, LLC
                                                                                                   Case No.
                                                                     Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name             Address           Last 4 Date Debt   Trade, Debt / Note          Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                           Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                           Account Incurred,                                                                       offset?
                                                                                           Number Basis for
                                                                                                     Claim
Legendary Field Exhibitions, LLC   Belcourt, Jamie                   Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   Beldon, Brad                      Address on file                           Unearned Revenue                                                                $        1,200.00

Legendary Field Exhibitions, LLC   Belinda Upton Carlisle            2284 Lakehill Court                       Trade                                                                           $          832.50
                                                                     Cordova TN 38016
Legendary Field Exhibitions, LLC   Belkhous, Abed                    Address on file                           Trade                                                                           $        5,500.00

Legendary Field Exhibitions, LLC   Bell, Garrett                     Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Bell, Lindsey                     Address on file                           Unearned Revenue                                                                $           60.50

Legendary Field Exhibitions, LLC   Bell, Mark                        Address on file                           Unearned Revenue                                                                $          450.00

Legendary Field Exhibitions, LLC   Bell, Moreland                    Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Bell, Pamela                      Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Bell, Robert                      Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Bell, Shattuck                    Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Beller, Stuart                    Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Bellinger, Craig                  Address on file                           Unearned Revenue                                                                $          375.00

Legendary Field Exhibitions, LLC   Bellino, Joseph                   Address on file                           Unearned Revenue                                                                $           82.00
Legendary Field Exhibitions, LLC   Beltran, Thomas                   Address on file                           Unearned Revenue                                                                $           61.50
Legendary Field Exhibitions, LLC   Belvel, Steven                    Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Belz Construction Service LLC     PO Box 3661                               Trade                                                                           $       81,529.83
                                                                     Memphis TN 38173
Legendary Field Exhibitions, LLC   Ben Holden - WME Entertainment,   11 Madison Ave.                           Trade                                                                           $        7,700.00
                                   LLC                               18th fl.
                                                                     New York NY 10010

Legendary Field Exhibitions, LLC   Bena, Larry                       Address on file                           Unearned Revenue                                                                $          100.00
                                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   Benavides, Cody                   Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Benavides, Mike                   Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Benavidez, Joe                    Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Bendall, Jason                    Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Bender, Anthony                   Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Bender, Brian                     Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Benecke, Karl                     Address on file                           Unearned Revenue                                                                $          350.00

Legendary Field Exhibitions, LLC   Benedict, Christopher             Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Benedict, Tod                     Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Benites, Juan                     Address on file                           Unearned Revenue                                                                $          105.00

Legendary Field Exhibitions, LLC   Benites, Michael                  Address on file                           Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Benjamin, LeAnne                  Address on file                           Unearned Revenue                                                                $          450.00


Legendary Field Exhibitions, LLC   Benn, Sarah                       Address on file                           Unearned Revenue                                                                $          213.50
Legendary Field Exhibitions, LLC   Benner, Tom                       Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Bennett, Austin                   Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Bennett, Brice                    Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Bennett, Derrick                  Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Bennett, Jacob                    Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Bennett, Jason                    Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Bennett, Nathan                   Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Bennett, Zach                     Address on file                           Unearned Revenue                                                                $           15.00
                                                                                                                                                                                                                   19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 66 of




                                                                                                                                                        Page 15 of 202
                                                                                 In re Legendary Field Exhibitions, LLC
                                                                                                 Case No.
                                                                   Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                           Creditor Name          Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                       Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                       Account Incurred,                                                                         offset?
                                                                                       Number Basis for
                                                                                                 Claim
Legendary Field Exhibitions, LLC   Benniefield, Marcus             Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Bennington, Sarah               Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Benoit, John                    Address on file                           Unearned Revenue                                                                $           72.00

Legendary Field Exhibitions, LLC   Benson, Coleen                  Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Benson, Keith                   Address on file                           Unearned Revenue                                                                $          152.50

Legendary Field Exhibitions, LLC   Benson, Kevin                   Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Bentley, Brian                  Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Bentley, Tracie                 Address on file                           Unearned Revenue                                                                $          112.00

Legendary Field Exhibitions, LLC   Bentson, Brandon                Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Berban, Timothy                 Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Berger, Ron                     Address on file                           Unearned Revenue                                                                $          400.00
Legendary Field Exhibitions, LLC   Berger, Ronnie                  Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Berkholtz, Michael              Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Berlau, Brian                   Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   berlin, craig                   Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Bermudez, Damien                Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   bernal, alex                    Address on file                           Unearned Revenue                                                                $           31.28

Legendary Field Exhibitions, LLC   Bernal, Christian               Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   bernal, rita                    Address on file                           Unearned Revenue                                                                $          241.50
Legendary Field Exhibitions, LLC   Bernard, Karen                  Address on file                           Unearned Revenue                                                                $           31.28
                                                                                                                                                                                                                                                        269




Legendary Field Exhibitions, LLC   Bernero, Emi                    Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Bernhardt, Paul                 Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Bernotski, Jessica              Address on file                           Unearned Revenue                                                                $           38.00

Legendary Field Exhibitions, LLC   Bernstein, Sara                 Address on file                           Unearned Revenue                                                                $          240.00
Legendary Field Exhibitions, LLC   Berrelleza Palma, Juan Carlos   Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Berry, Lisa                     Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Berry, Phil                     Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Berry, Suzette                  Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Berryessa, Sierra               Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Berthelot, Chip                 Address on file                           Unearned Revenue                                                                $          300.00
Legendary Field Exhibitions, LLC   Bertrand, Stephen               Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Berzins, Peter                  Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Best, Chris                     Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Betancourt, Guillermo           Address on file                           Unearned Revenue                                                                $           15.00


Legendary Field Exhibitions, LLC   Bethune, Kenneth                Address on file                           Unearned Revenue                                                                $          600.00

Legendary Field Exhibitions, LLC   Bettis, Scott                   Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Betts, Sheila                   Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Beveridge, Dan                  Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Bevilacqua, Ron                 Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Bevis, Chris                    Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   BexelESS                        1000 Nolen Dr.                            Trade                                                                           $      941,813.71
                                                                   #100
                                                                                                                                                                                                                 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 67 of




                                                                   Grapevine TX
                                                                   76051




                                                                                                                                                      Page 16 of 202
                                                                                In re Legendary Field Exhibitions, LLC
                                                                                                Case No.
                                                                  Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name          Address           Last 4 Date Debt   Trade, Debt / Note          Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                        Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                        Account Incurred,                                                                       offset?
                                                                                        Number Basis for
                                                                                                  Claim
Legendary Field Exhibitions, LLC   beyelhadj, fatima              Address on file                           Unearned Revenue                                                                $           24.00

Legendary Field Exhibitions, LLC   BEYER PLUMBING                 Address on file                           Unearned Revenue                                                                $        1,200.00

Legendary Field Exhibitions, LLC   Bharucha, Timir                Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Biase, Sal                     Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Biasiolli, Paul                Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Bice, James                    Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Bickel, Rob                    Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Bieber, Darius                 Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Bieck, Tara                    Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Biedrzycki, Keanu              Address on file                           Unearned Revenue                                                                $           40.00


Legendary Field Exhibitions, LLC   Bierschwale, Courtney          Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   Biesel, Darren                 Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Big Fogg, Inc.                 42095 Zero Dr. Unit                       Trade                                                                           $      139,570.64
                                                                  A2
                                                                  Temecula CA
                                                                  29590
Legendary Field Exhibitions, LLC   Big Rock Plumbing Corp         13763 S 7530 W                            Trade                                                                           $       14,577.00
                                                                  Herriman UT 84096
Legendary Field Exhibitions, LLC   Big Ticket Inc. (Rich Waltz)   820 5th Ave. NW                           Trade                                                                           $        7,500.00
                                                                  Issaquah WA 98027

Legendary Field Exhibitions, LLC   Bigley, Edward                 Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Bigwood, Russell               Address on file                           Unearned Revenue                                                                $          100.00
                                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   Bilan, Matthew                 Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Biles, Lezlie                  Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Bilka, Deborah                 Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Billig, David                  Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Billingsley, Lenell            Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Bilodeau, Andre                Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Biltjinitis, Shawn             Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Binckley, George               Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Binder, John                   Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Bingham, Joel                  Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Bird, Charles                  Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Bird, Jeffrey                  Address on file                           Unearned Revenue                                                                $          300.00


Legendary Field Exhibitions, LLC   Birdsall, William              Address on file                           Unearned Revenue                                                                $           75.00



Legendary Field Exhibitions, LLC   Birmingham Business Journal    120 West Morehead                         Trade                                                                           $        6,500.00
                                                                  Charlotte NC 28202

Legendary Field Exhibitions, LLC   Birmingham, Donna              Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Bishop, Aaron                  Address on file                           Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   Bishop, Charles                Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Bishop, Gilda                  Address on file                           Unearned Revenue                                                                $          174.00

Legendary Field Exhibitions, LLC   Bittle, Austin                 Address on file                           Unearned Revenue                                                                $           60.00
                                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 68 of




                                                                                                                                                     Page 17 of 202
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                                    Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                           Creditor Name           Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                        Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                        Account Incurred,                                                                         offset?
                                                                                        Number Basis for
                                                                                                  Claim
Legendary Field Exhibitions, LLC   Bitzer, Jay                      Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Black, Darrell                   Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Black, Emily                     Address on file                           Unearned Revenue                                                                $           10.00

Legendary Field Exhibitions, LLC   Blackburn, Gregory               Address on file                           Unearned Revenue                                                                $          208.00

Legendary Field Exhibitions, LLC   Blackburn, Jean                  Address on file                           Unearned Revenue                                                                $           73.00
Legendary Field Exhibitions, LLC   Blackburn, John                  Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Blackney, Adrian                 Address on file                           Unearned Revenue                                                                $          130.00

Legendary Field Exhibitions, LLC   Blackstad, Robert                Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Blaha, Mark                      Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Blaine, Kerry                    Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Blair II, Oliver L               Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Blair, Becky                     Address on file                           Unearned Revenue                                                                $          210.00

Legendary Field Exhibitions, LLC   Blake, Chris                     Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Blakely, Stan                    Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Blakeney, Cathy                  Address on file                           Unearned Revenue                                                                $           10.00

Legendary Field Exhibitions, LLC   Blakey, Lydia                    Address on file                           Unearned Revenue                                                                $          640.00


Legendary Field Exhibitions, LLC   Blalock, Weston                  Address on file                           Unearned Revenue                                                                $           35.00

Legendary Field Exhibitions, LLC   Blanchard, John                  Address on file                           Unearned Revenue                                                                $          128.00
Legendary Field Exhibitions, LLC   Blanchette, Mark                 Address on file                           Unearned Revenue                                                                $          170.00

Legendary Field Exhibitions, LLC   Blanco, Alejandro L              Address on file                           Unearned Revenue                                                                $           20.00
                                                                                                                                                                                                                                                         269




Legendary Field Exhibitions, LLC   Blanco, David                    Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Bland, Eric                      Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Blansett, Bennie                 Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   Blanton, Michael                 Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Blas, Mark                       Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Blaschke, Dustin                 Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   Blass, Chad                      Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Blattler, Chris                  Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Blaylock, Michael                Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   Blinn, Mike                      Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Blom, Derek                      Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Bloodsworth, Jamie               Address on file                           Unearned Revenue                                                                $           20.00


Legendary Field Exhibitions, LLC   Bloom, Daniel                    Address on file                           Unearned Revenue                                                                $          400.00


Legendary Field Exhibitions, LLC   Blount, Montaria                 Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Blue, Billy                      Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   bluemedia                        8920 s McKemy st                          Trade                                                                           $      413,387.28
                                                                    Tempe AZ 85284
Legendary Field Exhibitions, LLC   Blues City Music, LLC            Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Blunt, Dan                       Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   BluSite Solutions of Southwest   103 6th Street                            Trade                                                                           $          590.00
                                   Florida                          Fort Myers, FL
                                                                    33907
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 69 of




Legendary Field Exhibitions, LLC   Boatright, Carl                  Address on file                           Unearned Revenue                                                                $           10.00




                                                                                                                                                       Page 18 of 202
                                                                            In re Legendary Field Exhibitions, LLC
                                                                                            Case No.
                                                              Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                  Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                  Account Incurred,                                                                         offset?
                                                                                  Number Basis for
                                                                                            Claim
Legendary Field Exhibitions, LLC   Boatright, Cristin         Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Bobroff, Michael           Address on file                           Unearned Revenue                                                                $          108.00
Legendary Field Exhibitions, LLC   Bodden, Jan                Address on file                           Unearned Revenue                                                                $          180.00

Legendary Field Exhibitions, LLC   Bodford, John              Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Boevers, Abby              Address on file                           Unearned Revenue                                                                $          480.00

Legendary Field Exhibitions, LLC   Bofenkamp, Eric            Address on file                           Unearned Revenue                                                                $           22.00
Legendary Field Exhibitions, LLC   Boggs, Eric                Address on file                           Unearned Revenue                                                                $          320.00


Legendary Field Exhibitions, LLC   Boggs, Greg                Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Boggus, J D                Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Boheme, Mike               Address on file                           Unearned Revenue                                                                $           30.00



Legendary Field Exhibitions, LLC   Bohlman, Tyler             Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Bohnert, Lori              Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Boldin, Mary               Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Bolinger, John             Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Boller, David              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   bollinger, mark            Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Bolston, Valencia          Address on file                           Unearned Revenue                                                                $          110.00

Legendary Field Exhibitions, LLC   Bolton, Lee                Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Bolton, Susie              Address on file                           Unearned Revenue                                                                $           74.00
Legendary Field Exhibitions, LLC   Bolzan, Matthew            Address on file                           Unearned Revenue                                                                $           15.00
                                                                                                                                                                                                                                                   269




Legendary Field Exhibitions, LLC   Bomersbach, Ray            Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Bompensiero, Salvatore     Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Bond, James                Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Bond, Ray                  Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Bond, Richard              Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Boney, Shayne              Address on file                           Unearned Revenue                                                                $            0.02
Legendary Field Exhibitions, LLC   Bonn, Donalyn              Address on file                           Unearned Revenue                                                                $          410.00

Legendary Field Exhibitions, LLC   Bonner, Vera               Address on file                           Unearned Revenue                                                                $           31.28
Legendary Field Exhibitions, LLC   Bonnett, William           Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Bonnette, Stephen          Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   Bookbinder, Russ           Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   booker, phil               Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Booker, Wayne              Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Boone, Jean                Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Boone, Melanie             Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Boothe, William            Address on file                           Unearned Revenue                                                                $           20.50
Legendary Field Exhibitions, LLC   booz allen                 Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Boozer, James              Address on file                           Unearned Revenue                                                                $           20.00


Legendary Field Exhibitions, LLC   Bordeaux, Ramses           Address on file                           Unearned Revenue                                                                $           44.00

Legendary Field Exhibitions, LLC   Bordner, Steven            Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Bordovsky, Darryl          Address on file                           Unearned Revenue                                                                $          300.00
                                                                                                                                                                                                            19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 70 of




                                                                                                                                                 Page 19 of 202
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                                    Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name              Address          Last 4 Date Debt   Trade, Debt / Note           Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                         Digits of  was    Payable (Type of Claim)                                               subject to
                                                                                         Account Incurred,                                                                        offset?
                                                                                         Number Basis for
                                                                                                   Claim
Legendary Field Exhibitions, LLC   Borel, David                     Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Boren, Will                      Address on file                           Unearned Revenue                                                                $           25.00

Legendary Field Exhibitions, LLC   Borja, jerry                     Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Bork, Darrel                     Address on file                           Unearned Revenue                                                                $          180.00


Legendary Field Exhibitions, LLC   Born, Chase                      Address on file                           Unearned Revenue                                                                $          135.00

Legendary Field Exhibitions, LLC   Borondy, Jason                   Address on file                           Unearned Revenue                                                                $           22.00
Legendary Field Exhibitions, LLC   Bosier, Andre                    Address on file                           Unearned Revenue                                                                $           45.00


Legendary Field Exhibitions, LLC   Boston, Bryan                    Address on file                           Unearned Revenue                                                                $          140.00


Legendary Field Exhibitions, LLC   Boston, Jacob                    Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Boston, Mark                     Address on file                           Unearned Revenue                                                                $          420.00

Legendary Field Exhibitions, LLC   Boswell, David                   Address on file                           Unearned Revenue                                                                $           30.20

Legendary Field Exhibitions, LLC   Botlick, Thomas                  Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   boucher, brian                   Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Boucher, Shawna                  Address on file                           Unearned Revenue                                                                $          280.00

Legendary Field Exhibitions, LLC   Boudreaux, Sarah                 Address on file                           Unearned Revenue                                                                $          320.00


Legendary Field Exhibitions, LLC   Boulden, Dave                    Address on file                           Unearned Revenue                                                                $          208.00

Legendary Field Exhibitions, LLC   Boursaw, Sandra                  Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Bouyer, Geraldin                 Address on file                           Unearned Revenue                                                                $           20.00
                                                                                                                                                                                                                                                         269




Legendary Field Exhibitions, LLC   Bouzas, James                    Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Bovaird, Pamela                  Address on file                           Unearned Revenue                                                                $          122.00
Legendary Field Exhibitions, LLC   Bowan, Susan                     Address on file                           Unearned Revenue                                                                $           78.00

Legendary Field Exhibitions, LLC   Bowe, Dawn                       Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Bowen, Douglas                   Address on file                           Unearned Revenue                                                                $          200.00
Legendary Field Exhibitions, LLC   Bowers, Ronald                   Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Bowman, Judd                     Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Bowman, Sonny                    Address on file                           Unearned Revenue                                                                $          140.00


Legendary Field Exhibitions, LLC   Box, James                       Address on file                           Unearned Revenue                                                                $           80.50
Legendary Field Exhibitions, LLC   Boxley, Santina                  Address on file                           Unearned Revenue                                                                $           31.28
Legendary Field Exhibitions, LLC   Boyatt, Kris                     Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Boyd, Bob                        Address on file                           Unearned Revenue                                                                $          140.00
Legendary Field Exhibitions, LLC   Boyd, Brent                      Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Boyd, Cedric                     Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Boyd, Gary                       Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Boyd, James                      Address on file                           Unearned Revenue                                                                $           15.00


Legendary Field Exhibitions, LLC   Boyd, Johnny                     Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Boykin, James                    Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Boyle, Kari                      Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Boyles, Richard                  Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Bozeman, Christopher             Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   BPM Concerts, LLC dba Ballpark   1045 Crossvine Rd.                        Trade                                                                           $        4,356.00
                                   Music                            Roswell GA 30075
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 71 of




                                                                                                                                                       Page 20 of 202
                                                                            In re Legendary Field Exhibitions, LLC
                                                                                            Case No.
                                                              Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name        Address          Last 4 Date Debt   Trade, Debt / Note           Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                   Digits of  was    Payable (Type of Claim)                                               subject to
                                                                                   Account Incurred,                                                                        offset?
                                                                                   Number Basis for
                                                                                             Claim
Legendary Field Exhibitions, LLC   Brace, John                Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Brackney, Bob              Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Bradeen, Allan             Address on file                           Unearned Revenue                                                                $           35.00


Legendary Field Exhibitions, LLC   Bradford, Dana             Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Bradford, Karen            Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Bradford, Malcolm          Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Bradley, Dale              Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Brady, Bobbie              Address on file                           Unearned Revenue                                                                $           46.92
Legendary Field Exhibitions, LLC   Brainard, Danny            Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Brakefield, Scott          Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Bramlett, rebecca          Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Brandiose Studios, Inc     8730 Mariposa St.                         Trade                                                                           $        5,000.00
                                                              La Mesa CA 91941
Legendary Field Exhibitions, LLC   Brandon, Lewis             Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Brandt, Dana               Address on file                           Unearned Revenue                                                                $          125.00

Legendary Field Exhibitions, LLC   Brandt, Zachary            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Branum, Zachary            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Brashear, Quest            Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Brass, Patrick             Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Bray, Melanie              Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Brdicka, Megan             Address on file                           Unearned Revenue                                                                $           20.00
                                                                                                                                                                                                                                                   269




Legendary Field Exhibitions, LLC   Breeden, Barry             Address on file                           Unearned Revenue                                                                $           85.00

Legendary Field Exhibitions, LLC   Brem, Austin               Address on file                           Unearned Revenue                                                                $           30.50
Legendary Field Exhibitions, LLC   Brendel, Bill              Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Brendel, William           Address on file                           Unearned Revenue                                                                $           10.00

Legendary Field Exhibitions, LLC   Brennan, Jeffrey           Address on file                           Unearned Revenue                                                                $          740.00

Legendary Field Exhibitions, LLC   Brent, Merilynn            Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Breu, Joseph               Address on file                           Unearned Revenue                                                                $           40.00
Legendary Field Exhibitions, LLC   Brevik, Aaron              Address on file                           Unearned Revenue                                                                $          150.00
Legendary Field Exhibitions, LLC   Brewer, Dan                Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Brewer, Hunter             Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Brewer, Karl               Address on file                           Unearned Revenue                                                                $          500.00

Legendary Field Exhibitions, LLC   Brewer, Mike               Address on file                           Unearned Revenue                                                                $          105.00
Legendary Field Exhibitions, LLC   Brewer, Terry              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Brex                       153 Townsend 6th                          Credit Card                                                                     $       14,831.44
                                                              Floor,
                                                              San Francisco, CA
                                                              94107
Legendary Field Exhibitions, LLC   Brian Molina               522 Windsor Street                        Trade                                                                           $          675.68
                                                              Lakeland FL 33803
Legendary Field Exhibitions, LLC   Brice, Jeffrey             Address on file                           Unearned Revenue                                                                $        1,400.00

Legendary Field Exhibitions, LLC   Brick, Merrill             Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Bridger, Colleen           Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Bridges, Brian             Address on file                           Unearned Revenue                                                                $          500.00

Legendary Field Exhibitions, LLC   Bridges, Claude            Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Bridges, Jim               Address on file                           Unearned Revenue                                                                $           63.00
                                                                                                                                                                                                            19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 72 of




Legendary Field Exhibitions, LLC   Bridges, Mary              Address on file                           Unearned Revenue                                                                $          160.00




                                                                                                                                                 Page 21 of 202
                                                                                In re Legendary Field Exhibitions, LLC
                                                                                                Case No.
                                                                  Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name          Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                      Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                      Account Incurred,                                                                         offset?
                                                                                      Number Basis for
                                                                                                Claim
Legendary Field Exhibitions, LLC   Bridgwater, Mark               Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Bridinger, Vicki               Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   brigalli, tyler                Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Bright, William                Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   Brinkerhoff , Daniel           Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Brinson, Alan                  Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Briseno, Ben                   Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Briseno, Stephen               Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Bristol, Daniel                Address on file                           Unearned Revenue                                                                $           25.00

Legendary Field Exhibitions, LLC   Brito, John                    Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Britton, Jennifer              Address on file                           Unearned Revenue                                                                $           31.28

Legendary Field Exhibitions, LLC   Britza, Aubre                  Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Broadway Media, LLC dba KXRK, 50 West Broadway                           Trade                                                                           $       14,220.00
                                   KEGA, KYMV. KUUU, KUDD, KALL, #200
                                   KOVO                          Salt Lake City UT
                                                                 84101
Legendary Field Exhibitions, LLC   Brock, Ryan                   Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Brodbeck, Charles              Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Broderick, David               Address on file                           Unearned Revenue                                                                $           57.00


Legendary Field Exhibitions, LLC   Broemer, Joshua                Address on file                           Unearned Revenue                                                                $           20.50
Legendary Field Exhibitions, LLC   Brogan, Rose                   Address on file                           Unearned Revenue                                                                $          240.00

Legendary Field Exhibitions, LLC   Bronk, Michael                 Address on file                           Unearned Revenue                                                                $          150.00
                                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   Bronson, Ben                   Address on file                           Unearned Revenue                                                                $          600.00

Legendary Field Exhibitions, LLC   Brooks                         Address on file                           Unearned Revenue                                                                $          800.00

Legendary Field Exhibitions, LLC   Brooks, Joe                    Address on file                           Unearned Revenue                                                                $          500.00
Legendary Field Exhibitions, LLC   Brooks, Pamela                 Address on file                           Unearned Revenue                                                                $          465.00

Legendary Field Exhibitions, LLC   Brooks, Phylicia               1552 Cella St,                            Trade                                                                           $          525.00
                                                                  Memphis, TN 38114

Legendary Field Exhibitions, LLC   Brophy, Fred                   Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Brown, Alexander               Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Brown, Brenda                  Address on file                           Unearned Revenue                                                                $           75.00
Legendary Field Exhibitions, LLC   Brown, Brett                   Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Brown, Casey                   Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Brown, Chris                   Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Brown, Clarkson                Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Brown, Comarochie              Address on file                           Unearned Revenue                                                                $          115.00

Legendary Field Exhibitions, LLC   Brown, David                   Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Brown, Devin                   Address on file                           Unearned Revenue                                                                $          200.00
Legendary Field Exhibitions, LLC   brown, dori                    Address on file                           Unearned Revenue                                                                $           45.00
Legendary Field Exhibitions, LLC   Brown, Dwayne                  Address on file                           Unearned Revenue                                                                $          140.00


Legendary Field Exhibitions, LLC   Brown, Eric                    Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Brown, Glenn                   Address on file                           Unearned Revenue                                                                $          200.00
Legendary Field Exhibitions, LLC   Brown, Grant                   Address on file                           Unearned Revenue                                                                $          280.00


Legendary Field Exhibitions, LLC   Brown, Gregory                 Address on file                           Unearned Revenue                                                                $           60.00
                                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 73 of




                                                                                                                                                     Page 22 of 202
                                                                           In re Legendary Field Exhibitions, LLC
                                                                                           Case No.
                                                             Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name        Address            Last 4 Date Debt   Trade, Debt / Note         Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                    Digits of  was    Payable (Type of Claim)                                             subject to
                                                                                    Account Incurred,                                                                      offset?
                                                                                    Number Basis for
                                                                                              Claim
Legendary Field Exhibitions, LLC   Brown, Jared              Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Brown, Jeffrey            Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Brown, John               Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Brown, Keegan             Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Brown, Ken                Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Brown, Lester             Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Brown, Mark               Address on file                           Unearned Revenue                                                                $           65.00


Legendary Field Exhibitions, LLC   Brown, Marlo              Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Brown, Mason              Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Brown, Matt               Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Brown, Matthew            Address on file                           Unearned Revenue                                                                $           40.00


Legendary Field Exhibitions, LLC   Brown, Nicole             Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Brown, Robert             Address on file                           Unearned Revenue                                                                $          216.00

Legendary Field Exhibitions, LLC   Brown, Ryan               Address on file                           Unearned Revenue                                                                $           78.00

Legendary Field Exhibitions, LLC   Brown, Steven             Address on file                           Unearned Revenue                                                                $          216.00

Legendary Field Exhibitions, LLC   Brown, Talisia            Address on file                           Unearned Revenue                                                                $           31.28
Legendary Field Exhibitions, LLC   Brown, Teresa             Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Brown, Thomas             Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                                                                  269




Legendary Field Exhibitions, LLC   Brown, Tom                Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Browne, Edward            Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   Brubach, Dennis           Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Brubaker, Scott           4900 North 44th St.,                      Trade                                                                           $           26.00
                                                             Apt. 3066
                                                             Phoenix, AZ 85018
Legendary Field Exhibitions, LLC   Bruce, Robert             Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   bruett, dave              Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Bruggeman, Adam           Address on file                           Unearned Revenue                                                                $          410.00

Legendary Field Exhibitions, LLC   Bruglio, Ross             Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Brugmann, David           Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Brummond, Bob             Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Brune, Sean               Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Bruno Event Team LLC      100 Grandview Pl                          Trade                                                                           $       31,540.83
                                                             Birmingham, AL
                                                             35243
Legendary Field Exhibitions, LLC   Bruno, Joseph             Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Brunson, Robert           Address on file                           Unearned Revenue                                                                $          250.00


Legendary Field Exhibitions, LLC   Brusby, Jessica           Address on file                           Unearned Revenue                                                                $           75.00


Legendary Field Exhibitions, LLC   Bryan, Chris              Address on file                           Unearned Revenue                                                                $          150.00


Legendary Field Exhibitions, LLC   Bryan, Kanhai             Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Bryant, Chris             Address on file                           Unearned Revenue                                                                $          160.00
                                                                                                                                                                                                           19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 74 of




                                                                                                                                                Page 23 of 202
                                                                              In re Legendary Field Exhibitions, LLC
                                                                                              Case No.
                                                                Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name        Address          Last 4 Date Debt   Trade, Debt / Note           Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                     Digits of  was    Payable (Type of Claim)                                               subject to
                                                                                     Account Incurred,                                                                        offset?
                                                                                     Number Basis for
                                                                                               Claim
Legendary Field Exhibitions, LLC   BSN Sports                   1180-A California                         Trade                                                                           $       22,256.21
                                                                Ave.
                                                                Corona CA 92881
Legendary Field Exhibitions, LLC   BTS Group Inc                Address on file                           Unearned Revenue                                                                $          450.00

Legendary Field Exhibitions, LLC   Buchanan, Chris              Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Buchanan, Royce              Address on file                           Unearned Revenue                                                                $           10.00

Legendary Field Exhibitions, LLC   Buchanan, Shannon            Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Buchanan, Trevor             Address on file                           Unearned Revenue                                                                $           45.00
Legendary Field Exhibitions, LLC   Buchaus, Eric                Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Buchi, B ryan                Address on file                           Unearned Revenue                                                                $          108.00


Legendary Field Exhibitions, LLC   Buck, Clinton                Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Buck, Richard                Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   Buckingham, Gregg            Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Buckner, Carl                Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Buckner, Corey               Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   BUCK'S BAGS Inc.             2401 West Main St.                        Trade                                                                           $        1,120.00
                                                                Boise ID 83702

Legendary Field Exhibitions, LLC   Buddin, Carol                Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Buder II, Alexander          Address on file                           Unearned Revenue                                                                $           90.00


Legendary Field Exhibitions, LLC   Bue, Jeffrey                 Address on file                           Unearned Revenue                                                                $           50.00
                                                                                                                                                                                                                                                     269




Legendary Field Exhibitions, LLC   Bueno, Allen                 Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Bueno, Ricardo               Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Buentello, Catherine         Address on file                           Unearned Revenue                                                                $           30.50

Legendary Field Exhibitions, LLC   Bui, Huy                     Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Buitron, Andres              Address on file                           Unearned Revenue                                                                $           80.50
Legendary Field Exhibitions, LLC   Bukauskas, Jeremy            Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Bukowski, Glenn              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Bullard, Donald              Address on file                           Unearned Revenue                                                                $          609.00

Legendary Field Exhibitions, LLC   Bult, Rick                   Address on file                           Unearned Revenue                                                                $           35.00

Legendary Field Exhibitions, LLC   Bumpus, Bob                  Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Bungay, Geronimo             Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Bunker, David                Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Bunn, Kahalida               Address on file                           Unearned Revenue                                                                $           80.00
Legendary Field Exhibitions, LLC   Bunn, Robert                 Address on file                           Unearned Revenue                                                                $          200.00
Legendary Field Exhibitions, LLC   Bunn, Thomas                 Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Buras, Jeff                  Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Burcham, Brian               Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Burciaga, Joe                Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Burdette, Daniel             Address on file                           Unearned Revenue                                                                $           44.00
Legendary Field Exhibitions, LLC   Burge, Bruce                 Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   burger, jeffrey              Address on file                           Unearned Revenue                                                                $          156.00

Legendary Field Exhibitions, LLC   Burgess, Derrick             Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Burgess, Harvey              Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Burke, Jennifer              Address on file                           Unearned Revenue                                                                $            0.02
Legendary Field Exhibitions, LLC   Burkholder, Mike             Address on file                           Unearned Revenue                                                                $           81.00
Legendary Field Exhibitions, LLC   Burks, Aaron                 Address on file                           Unearned Revenue                                                                $          100.00
                                                                                                                                                                                                              19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 75 of




                                                                                                                                                   Page 24 of 202
                                                                              In re Legendary Field Exhibitions, LLC
                                                                                              Case No.
                                                                Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name          Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                    Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                    Account Incurred,                                                                         offset?
                                                                                    Number Basis for
                                                                                              Claim
Legendary Field Exhibitions, LLC   Burleson, Preston            Address on file                           Unearned Revenue                                                                $          680.00


Legendary Field Exhibitions, LLC   Burnett, Ashley              Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Burnett, Lori                Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Burnett, Price               Address on file                           Unearned Revenue                                                                $           15.00
Legendary Field Exhibitions, LLC   Burnham, Roger               Address on file                           Unearned Revenue                                                                $          150.00
Legendary Field Exhibitions, LLC   Burnley, Amy                 Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Burns, Alyssa                Address on file                           Unearned Revenue                                                                $          131.00

Legendary Field Exhibitions, LLC   Burns, Larry                 Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Burns, Marlies               Address on file                           Unearned Revenue                                                                $           78.00

Legendary Field Exhibitions, LLC   Burns, Robert                Address on file                           Unearned Revenue                                                                $          118.00
Legendary Field Exhibitions, LLC   Burns, Ryan                  Address on file                           Unearned Revenue                                                                $          140.00


Legendary Field Exhibitions, LLC   burnside, thomas             Address on file                           Unearned Revenue                                                                $           30.50

Legendary Field Exhibitions, LLC   Burrell, Elaine              Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Burrell, Jovita              Address on file                           Unearned Revenue                                                                $           31.28
Legendary Field Exhibitions, LLC   Burroughs, James             Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Burrow, Robert               Address on file                           Unearned Revenue                                                                $           15.00


Legendary Field Exhibitions, LLC   Burrows, Alan                Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Burrows, Vicki               Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   bursey, michael              Address on file                           Unearned Revenue                                                                $           80.00
Legendary Field Exhibitions, LLC   Burson, Rochelle             Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                                                                     269




Legendary Field Exhibitions, LLC   Burton, Shane                Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Bush, Jason                  Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Bushman, Jeff                Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Business Electronics Corp.   219 Oxmoor Circle                         Trade                                                                           $        2,426.01
                                                                Birmingham AL
                                                                35209
Legendary Field Exhibitions, LLC   Buss, Mark                   Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Bustamante, Diego            Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Bustos, Eric                 Address on file                           Unearned Revenue                                                                $           40.00
Legendary Field Exhibitions, LLC   Butcher, Aaron               Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Butkiewicz, James            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Butler, Lizbeth              Address on file                           Unearned Revenue                                                                $           70.00



Legendary Field Exhibitions, LLC   Butler, Luthuli              Address on file                           Unearned Revenue                                                                $           80.00


Legendary Field Exhibitions, LLC   BUTLER, MICHAEL              Address on file                           Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   Butler, Patrick              Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Butler, Penny                Address on file                           Unearned Revenue                                                                $          210.00

Legendary Field Exhibitions, LLC   Butler, Robert               Address on file                           Unearned Revenue                                                                $        1,000.00


Legendary Field Exhibitions, LLC   Butterick, Jonathan          Address on file                           Unearned Revenue                                                                $          340.00

Legendary Field Exhibitions, LLC   Buzzard, Dylan               Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Bybee, Nathan                Address on file                           Unearned Revenue                                                                $           81.00
Legendary Field Exhibitions, LLC   Byerlein, Josh               Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Byers, Kari                  Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                              19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 76 of




                                                                                                                                                   Page 25 of 202
                                                                                     In re Legendary Field Exhibitions, LLC
                                                                                                     Case No.
                                                                       Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name                 Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                           Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                           Account Incurred,                                                                         offset?
                                                                                           Number Basis for
                                                                                                     Claim
Legendary Field Exhibitions, LLC   Byers, Renee                        Address on file                           Unearned Revenue                                                                $           80.00


Legendary Field Exhibitions, LLC   Byers, Stacey                       Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Byes, Matthew                       Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Byrd, Alfred                        Address on file                           Unearned Revenue                                                                $           45.00
Legendary Field Exhibitions, LLC   Byrd, Jessica                       Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Byrne, John                         Address on file                           Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   Byrne, Sylvia                       Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Byrnes, John                        Address on file                           Unearned Revenue                                                                $          392.00

Legendary Field Exhibitions, LLC   Bywaters, Charles                   Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   BZ Clarity Holdings, LLC dba Base   849 E. Commerce                           Trade                                                                           $        1,000.00
                                   1836, LLC                           St, Ste. 623
                                                                       San Antonio TX
                                                                       78205-3939
Legendary Field Exhibitions, LLC   C. Ruiz, Rolando                    Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   Cabada, Mario                       Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   caballero, ronda                    Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   CABALLERO, SANDRA                   Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Cabasos, Adrian                     Address on file                           Unearned Revenue                                                                $           81.00
Legendary Field Exhibitions, LLC   Cable, Shawn                        Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Cabral, Raul                        Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Cacho, Angela                       Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Cade, James                         Address on file                           Unearned Revenue                                                                $           58.00
                                                                                                                                                                                                                                                            269




Legendary Field Exhibitions, LLC   Cadena, Sylvia                      Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Cadle, Statina                      Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Cafaro, Peter                       Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Cagle, Teri                         Address on file                           Unearned Revenue                                                                $          165.00

Legendary Field Exhibitions, LLC   cajigas, jasmine                    Address on file                           Unearned Revenue                                                                $          108.00

Legendary Field Exhibitions, LLC   calabrese, karen                    Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Calabucci, Christopher              Address on file                           Unearned Revenue                                                                $          228.00
Legendary Field Exhibitions, LLC   calderon, kendal                    Address on file                           Unearned Revenue                                                                $           41.00
Legendary Field Exhibitions, LLC   caldwell, david                     Address on file                           Unearned Revenue                                                                $          320.00
Legendary Field Exhibitions, LLC   Calender, Michelle                  Address on file                           Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   Caler, Frank                        Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Calhoon, Jeff                       Address on file                           Unearned Revenue                                                                $           15.00


Legendary Field Exhibitions, LLC   Califf, Kyle                        Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   CaliVenture Party Rentals           5562 Las Alturas                          Trade                                                                           $        1,875.00
                                                                       Terrace
                                                                       San Diego CA
                                                                       92114
Legendary Field Exhibitions, LLC   Calkins, Michael                    Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Callahan, Arlene                    Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Callarman, Devon                    Address on file                           Unearned Revenue                                                                $           82.80
Legendary Field Exhibitions, LLC   Callaway, Rob                       Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Callman, Del                        Address on file                           Unearned Revenue                                                                $          150.00


Legendary Field Exhibitions, LLC   Calvary Orlando                     Address on file                           Unearned Revenue                                                                $        2,500.00

Legendary Field Exhibitions, LLC   Calvin, Justin                      Address on file                           Unearned Revenue                                                                $        1,210.00

Legendary Field Exhibitions, LLC   Camacho, Marcy                      Address on file                           Unearned Revenue                                                                $          120.00
                                                                                                                                                                                                                     19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 77 of




                                                                                                                                                          Page 26 of 202
                                                                               In re Legendary Field Exhibitions, LLC
                                                                                               Case No.
                                                                 Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name            Address          Last 4 Date Debt   Trade, Debt / Note           Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                      Digits of  was    Payable (Type of Claim)                                               subject to
                                                                                      Account Incurred,                                                                        offset?
                                                                                      Number Basis for
                                                                                                Claim
Legendary Field Exhibitions, LLC   Camarata, Christopher         Address on file                           Unearned Revenue                                                                $            0.02

Legendary Field Exhibitions, LLC   Camarena, Enrique             Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Camden County PSA Leisure     1050 Wildcat Dr.                          Trade                                                                           $        5,400.00
                                   Services                      Kingsland GA
                                                                 31548
Legendary Field Exhibitions, LLC   Cameron Nizialek              27452 Bridle Place                        Trade                                                                           $          205.00
                                                                 Chantilly VA 20152
Legendary Field Exhibitions, LLC   Cameron, Octavius             Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Camilleri, Aronne             Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Camnitz, Carol                Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Campbell Clinic Orthopedics   1400 South                                Trade                                                                           $       50,000.00
                                                                 Germantown Road
                                                                 Germantown TN
                                                                 38138
Legendary Field Exhibitions, LLC   Campbell, Cody                Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Campbell, David               Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Campbell, Dennis              Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Campbell, Douglas             Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Campbell, Fred                Address on file                           Unearned Revenue                                                                $          150.00


Legendary Field Exhibitions, LLC   Campbell, James               Address on file                           Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Campbell, Michael             Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   Campbell, Sean                Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                                                                      269




Legendary Field Exhibitions, LLC   Campbell, Winston             Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Campitelli, Dawn              Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   CAMPLIN                       Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Campo, Joe                    Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   CAMPOS, CARLOS                Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Campos, Elizabeth             Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Campoz, Jessica               Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Campus USA Credit Union       Address on file                           Unearned Revenue                                                                $        1,680.00

Legendary Field Exhibitions, LLC   Canchola, Saul                Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Cancino, Juan                 Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Cancino, Karla                Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Canion, Crystal               Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Canion, Joyce                 Address on file                           Unearned Revenue                                                                $           80.50
Legendary Field Exhibitions, LLC   Cannata, John                 Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Cannavo, Michael              Address on file                           Unearned Revenue                                                                $           44.00
Legendary Field Exhibitions, LLC   Cannon, Russell               Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Cannon-Jenkins, Tyler         Address on file                           Unearned Revenue                                                                $           22.00
Legendary Field Exhibitions, LLC   Cano , Chance                 Address on file                           Unearned Revenue                                                                $           15.00


Legendary Field Exhibitions, LLC   Cano, Homero                  Address on file                           Unearned Revenue                                                                $          140.00


Legendary Field Exhibitions, LLC   Cano, Jesse                   Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Cano, Richard                 Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Canto, Stephen                Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Cantrell, Michael             Address on file                           Unearned Revenue                                                                $        5,350.00
                                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 78 of




Legendary Field Exhibitions, LLC   Cantu, Edward                 Address on file                           Unearned Revenue                                                                $           61.00




                                                                                                                                                    Page 27 of 202
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                                    Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name               Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                        Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                        Account Incurred,                                                                         offset?
                                                                                        Number Basis for
                                                                                                  Claim
Legendary Field Exhibitions, LLC   Cantu, Enrique                   Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Cantu, Leonel                    Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Cantu, Marcos                    Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Cantu, Suzanne                   Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Cantu-Aleman, Samantha           Address on file                           Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   Capece, Anthony                  Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Capehart, Linda                  Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Capers, Felicia                  Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Capitano, Anthony                Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Cappas, Shaun                    Address on file                           Unearned Revenue                                                                $          225.00

Legendary Field Exhibitions, LLC   Cappuccio, Elliott               Address on file                           Unearned Revenue                                                                $          125.00

Legendary Field Exhibitions, LLC   Capraro, David                   Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Caraway, Michael                 Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Caraway, Patrick                 Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   carberry, nathan                 Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Carbonaro, Alfred                Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Carboni, Jeffrey                 Address on file                           Unearned Revenue                                                                $          140.00
Legendary Field Exhibitions, LLC   Card, Cameron                    Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   cardenas, adrianna               Address on file                           Unearned Revenue                                                                $           61.00
Legendary Field Exhibitions, LLC   Cardenas, Aimee                  Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Cardenas, Arturo                 Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Cardenas, Erik                   Address on file                           Unearned Revenue                                                                $           40.00
                                                                                                                                                                                                                                                         269




Legendary Field Exhibitions, LLC   Cardona Sr, Andres               Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   Cardosi, Melissa                 Address on file                           Unearned Revenue                                                                $          300.00


Legendary Field Exhibitions, LLC   Carew, Marty                     Address on file                           Unearned Revenue                                                                $          156.00

Legendary Field Exhibitions, LLC   Carey International Inc.         P.O Box 931994                            Trade                                                                           $        8,307.50
                                                                    Atlanta GA 31193-
                                                                    1994
Legendary Field Exhibitions, LLC   Carey, Patrick                   Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Carias, Delia                    Address on file                           Unearned Revenue                                                                $           35.00


Legendary Field Exhibitions, LLC   Carling, Howard                  Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Carlisle, Thomas                 Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Carlon, Celeste                  Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Carlson, Paul                    Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Carmichael, Michelle             Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Carnahan, Jonathan               Address on file                           Unearned Revenue                                                                $          150.00


Legendary Field Exhibitions, LLC   Carnevale, George                Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Carney, Jared                    Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Carnley, Don                     Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Caroll, Ryan                     Address on file                           Unearned Revenue                                                                $          440.00

Legendary Field Exhibitions, LLC   Carolyn Pittman and Associates   Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   carpenter, alexis                Address on file                           Unearned Revenue                                                                $           31.28
Legendary Field Exhibitions, LLC   Carpenter, Cheri                 Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 79 of




                                                                                                                                                       Page 28 of 202
                                                                             In re Legendary Field Exhibitions, LLC
                                                                                             Case No.
                                                               Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                         Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                   Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                   Account Incurred,                                                                         offset?
                                                                                   Number Basis for
                                                                                             Claim
Legendary Field Exhibitions, LLC   Carpenter, Jeff             Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Carpenter, Jim              Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Carpenter, Steve            Address on file                           Unearned Revenue                                                                $          600.00


Legendary Field Exhibitions, LLC   Carpenter, Terry            Address on file                           Unearned Revenue                                                                $          225.00

Legendary Field Exhibitions, LLC   Carpenter, Thomas           Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Carpenter, Wayne            Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Carr, AJ                    Address on file                           Unearned Revenue                                                                $          125.00

Legendary Field Exhibitions, LLC   Carr, Matthew               Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   Carr, Sherri                Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Carr, Tim                   Address on file                           Unearned Revenue                                                                $          112.00

Legendary Field Exhibitions, LLC   Carranco, ben               Address on file                           Unearned Revenue                                                                $           10.00
Legendary Field Exhibitions, LLC   Carranco, Jorge             Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Carranza , Felix            Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Carranza, Mia Sara          Address on file                           Unearned Revenue                                                                $           61.00

Legendary Field Exhibitions, LLC   Carranza, Miguel A.         Address on file                           Unearned Revenue                                                                $           55.00

Legendary Field Exhibitions, LLC   Carrasco, Joshua            Address on file                           Unearned Revenue                                                                $           10.00

Legendary Field Exhibitions, LLC   Carrasquilla, Michael       Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   CARRILLO, KIM               Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Carrillo, Lorenzo           Address on file                           Unearned Revenue                                                                $          563.50
                                                                                                                                                                                                                                                    269




Legendary Field Exhibitions, LLC   Carrington, Paul            Address on file                           Unearned Revenue                                                                $           61.50

Legendary Field Exhibitions, LLC   Carroll Bradford            Address on file                           Unearned Revenue                                                                $       13,800.00


Legendary Field Exhibitions, LLC   Carroll, Brett              Address on file                           Unearned Revenue                                                                $          174.00
Legendary Field Exhibitions, LLC   Carroll, Cynthia            Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Carroll, Katie              Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Carroll, Scott              Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Carroll, William            Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Carruth, Butch              Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Carson, Brad                Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Carson, Jessica             Address on file                           Unearned Revenue                                                                $          250.00
Legendary Field Exhibitions, LLC   Carswell, Scott             Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   carter, austin              Address on file                           Unearned Revenue                                                                $           22.00
Legendary Field Exhibitions, LLC   Carter, Donald              Address on file                           Unearned Revenue                                                                $          110.00

Legendary Field Exhibitions, LLC   Carter, Jeremiah            Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Carter, Lynda               Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Carter, Roxanna             Address on file                           Unearned Revenue                                                                $          640.00


Legendary Field Exhibitions, LLC   Casanova , Jenica           Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Casanova, Victoria          Address on file                           Unearned Revenue                                                                $           81.00
Legendary Field Exhibitions, LLC   Casarez, Joseph             Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Casas, Eddy                 Address on file                           Unearned Revenue                                                                $          400.00
Legendary Field Exhibitions, LLC   Case, Blais                 Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Casey, John                 Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Cashatt, Kacy               Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Casillas, Mark              Address on file                           Unearned Revenue                                                                $          120.00
                                                                                                                                                                                                             19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 80 of




                                                                                                                                                  Page 29 of 202
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                                    Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name             Address          Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                        Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                        Account Incurred,                                                                         offset?
                                                                                        Number Basis for
                                                                                                  Claim
Legendary Field Exhibitions, LLC   Cass, Manuel                    Address on file                            Unearned Revenue                                                                $          270.00
Legendary Field Exhibitions, LLC   Cassaday, Paris                 Address on file                            Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Castaneda, Allyn                Address on file                            Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Castaneda, Garrett              Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Castaneda, George L             Address on file                            Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Castaneda, Ricardo              Address on file                            Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Castellano, Darryl              Address on file                            Unearned Revenue                                                                $           90.00


Legendary Field Exhibitions, LLC   Castete, Don                    Address on file                            Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Castillo, Anthony               Address on file                            Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Castillo, Bethany               Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Castillo, Christian             Address on file                            Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Castillo, Christy               Address on file                            Unearned Revenue                                                                $           61.00
Legendary Field Exhibitions, LLC   Castillo, Danny                 Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Castillo, Enrique               Address on file                            Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Castillo, Javier                Address on file                            Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   castillo, jesse                 Address on file                            Unearned Revenue                                                                $           20.50
Legendary Field Exhibitions, LLC   Castillo, John                  Address on file                            Unearned Revenue                                                                $           81.00
Legendary Field Exhibitions, LLC   Castillo, Leslie                Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Castillo, Miguel                Address on file                            Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Castillo, Victor                Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Castle, Shayne                  Address on file                            Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Castor, Will                    Address on file                            Unearned Revenue                                                                $           45.00
                                                                                                                                                                                                                                                         269




Legendary Field Exhibitions, LLC   Castorena, Julian               Address on file                            Unearned Revenue                                                                $          270.00

Legendary Field Exhibitions, LLC   Castro , Eduardo                Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Castro, Chris                   Address on file                            Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Castro, Edward                  Address on file                            Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Castro, Enrique                 Address on file                            Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Castro, Osvaldo                 Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Castro-Galvan, Miguel           Address on file                            Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Casuto, Loren                   Address on file                            Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Catalani, Blas                  Address on file                            Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Catalano, Joe                   Address on file                            Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Catering by Rosemary, Ink dba The 1220 E Commerce                          Trade                                                                           $      203,000.81
                                   RK Group                          San Antonio TX
                                                                     78205
Legendary Field Exhibitions, LLC   Cates, Angela                     Address on file                          Unearned Revenue                                                                $          120.00


Legendary Field Exhibitions, LLC   Cates, Kristin                  Address on file                            Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Cathcart, Jarrett               Address on file                            Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Catina, David                   Address on file                            Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Catledge, John                  Address on file                            Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Catlin, John                    Address on file                            Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Cato Steel Company              Address on file                            Unearned Revenue                                                                $          260.00

Legendary Field Exhibitions, LLC   Catterton, Troy                 Address on file                            Unearned Revenue                                                                $          150.00


Legendary Field Exhibitions, LLC   Causie, Rhonda                  Address on file                            Unearned Revenue                                                                $           90.00
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 81 of




                                                                                                                                                       Page 30 of 202
                                                                                     In re Legendary Field Exhibitions, LLC
                                                                                                     Case No.
                                                                       Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name                  Address         Last 4 Date Debt   Trade, Debt / Note                Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                           Digits of  was    Payable (Type of Claim)                                                    subject to
                                                                                           Account Incurred,                                                                             offset?
                                                                                           Number Basis for
                                                                                                     Claim
Legendary Field Exhibitions, LLC   Cavale, Nick                        Address on file                           Unearned Revenue                                                                    $           30.00

Legendary Field Exhibitions, LLC   Cavanaugh, Doug                     Address on file                           Unearned Revenue                                                                    $          230.00

Legendary Field Exhibitions, LLC   Cavazos, Albert                     Address on file                           Unearned Revenue                                                                    $           70.00

Legendary Field Exhibitions, LLC   Cavazos, Arlyssa                    Address on file                           Unearned Revenue                                                                    $          183.00

Legendary Field Exhibitions, LLC   Cavazos, Hilario                    Address on file                           Unearned Revenue                                                                    $           35.00


Legendary Field Exhibitions, LLC   Cavazos, Isaac                      Address on file                           Unearned Revenue                                                                    $           15.00

Legendary Field Exhibitions, LLC   Cavazos, Joe                        Address on file                           Unearned Revenue                                                                    $          120.00


Legendary Field Exhibitions, LLC   Cavazos, Yadira                     Address on file                           Unearned Revenue                                                                    $           20.00

Legendary Field Exhibitions, LLC   CAVES, STEVE                        Address on file                           Unearned Revenue                                                                    $          150.00
Legendary Field Exhibitions, LLC   cavin, jake                         Address on file                           Unearned Revenue                                                                    $        1,850.00
Legendary Field Exhibitions, LLC   Cavinder, Justin                    Address on file                           Unearned Revenue                                                                    $           20.00
Legendary Field Exhibitions, LLC   Caylor, Jonathan                    Address on file                           Unearned Revenue                                                                    $          210.00

Legendary Field Exhibitions, LLC   CBS Television Network              51 W 52nd St. 2nd                         Trade                       x                  x              x                     $     5,190,153.00
                                                                       floor
                                                                       New York NY 10019

Legendary Field Exhibitions, LLC   Cederholm, Michael                  Address on file                           Unearned Revenue                                                                    $           38.00

Legendary Field Exhibitions, LLC   Cedillo, Michelle                   Address on file                           Unearned Revenue                                                                    $           20.00
Legendary Field Exhibitions, LLC   Celano, Larry                       Address on file                           Unearned Revenue                                                                    $           50.00

Legendary Field Exhibitions, LLC   Celentino, Christopher              Address on file                           Unearned Revenue                                                                    $           60.00

Legendary Field Exhibitions, LLC   Central Catholic High School        1403 N St. Mary’s                         Trade                                                                               $       52,500.00
                                                                       Street
                                                                       San Antonio TX
                                                                                                                                                                                                                                                                 269




                                                                       78215
Legendary Field Exhibitions, LLC   Central Florida Sports Commission   400 West Church                           Trade                                                                               $        2,500.00
                                   dba Greater Orlando Sports          Street, Suite 205
                                   Commission                          Orlando FL 32801
Legendary Field Exhibitions, LLC   CENTURY CLUB OF SAN DIEGO           9404 GENESEE                              Trade                                                                               $        6,000.00
                                   DBA FARMERS INSURANCE               AVE, STE 310
                                   OPEN                                LA JOLLA CA
                                                                       92037
Legendary Field Exhibitions, LLC   Cepeda, Rita                        Address on file                           Unearned Revenue                                                                    $           30.00

Legendary Field Exhibitions, LLC   Cerda Rico, Emilio                  Address on file                           Unearned Revenue                                                                    $          125.00

Legendary Field Exhibitions, LLC   Cerda, Levi                         Address on file                           Unearned Revenue                                                                    $           40.00
Legendary Field Exhibitions, LLC   Cerny, Stephen                      Address on file                           Unearned Revenue                                                                    $          176.00

Legendary Field Exhibitions, LLC   Ceron, Claudia M.                   Address on file                           Unearned Revenue                                                                    $           50.00


Legendary Field Exhibitions, LLC   Cerrato, Anthony                    Address on file                           Unearned Revenue                                                                    $           20.00

Legendary Field Exhibitions, LLC   Cerrito, Larry                      Address on file                           Unearned Revenue                                                                    $          315.00
Legendary Field Exhibitions, LLC   Cervantes, Carlos                   Address on file                           Unearned Revenue                                                                    $           20.00

Legendary Field Exhibitions, LLC   Cervantez, George                   Address on file                           Unearned Revenue                                                                    $           20.00

Legendary Field Exhibitions, LLC   Cervantez, Manuel                   Address on file                           Unearned Revenue                                                                    $           40.00


Legendary Field Exhibitions, LLC   Cesalien, Vik                       Address on file                           Unearned Revenue                                                                    $           31.00
Legendary Field Exhibitions, LLC   CESD dba PG Productions FSO         333 Seventh                               Trade                                                                               $        2,000.00
                                                                       Avenue
                                                                       Suite 1102
                                                                       New York NY 10001

Legendary Field Exhibitions, LLC   Chacon, David                       Address on file                           Unearned Revenue                                                                    $           45.00


Legendary Field Exhibitions, LLC   chacon, Jimmy                       Address on file                           Unearned Revenue                                                                    $           50.00

Legendary Field Exhibitions, LLC   Chacon, Juan                        Address on file                           Unearned Revenue                                                                    $          180.00

Legendary Field Exhibitions, LLC   Chadwick, David                     Address on file                           Unearned Revenue                                                                    $          500.00
                                                                                                                                                                                                                          19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 82 of




                                                                                                                                                              Page 31 of 202
                                                                                 In re Legendary Field Exhibitions, LLC
                                                                                                 Case No.
                                                                   Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name              Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                       Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                       Account Incurred,                                                                         offset?
                                                                                       Number Basis for
                                                                                                 Claim
Legendary Field Exhibitions, LLC   Chagoya, Michael                Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Chalmers, Peter                 Address on file                           Trade                                                                           $          270.26

Legendary Field Exhibitions, LLC   Chamberlain, Melody             Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   chamberlin, jack                Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Chamberlin, Randy               Address on file                           Unearned Revenue                                                                $          320.00


Legendary Field Exhibitions, LLC   Chambers, Michael               Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Chambers, Warren                Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Champagne, Tyler                Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Champion , Cynthia              Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Champion, William               Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Chan, Ray                       Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Chandler, Bernie                Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Chandler, Ken                   Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Chaney, Melanie                 Address on file                           Unearned Revenue                                                                $          800.00

Legendary Field Exhibitions, LLC   Chang, Pang                     Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Chansley, Patsy                 Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Chapa, Andre                    Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   chapa, ruben                    Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Chapelle, Sonja                 Address on file                           Unearned Revenue                                                                $           75.20

Legendary Field Exhibitions, LLC   Chapman, Travis                 Address on file                           Unearned Revenue                                                                $          210.00
                                                                                                                                                                                                                                                        269




Legendary Field Exhibitions, LLC   Chappelear, Jason               Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Chappell, LaShaun               Address on file                           Unearned Revenue                                                                $           25.00


Legendary Field Exhibitions, LLC   Chaput, Derek                   Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Chariots, Apollos               Address on file                           Unearned Revenue                                                                $          640.00



Legendary Field Exhibitions, LLC   Charles E. Johnson dba Vortex   1865 Wasatch Dr.                          Trade                                                                           $        2,152.00
                                   Productions Inc                 Salt Lake City UT
                                                                   84108
Legendary Field Exhibitions, LLC   Charles, Ernest                 Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Charles, Ethan                  Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Charles, Roland                 Address on file                           Unearned Revenue                                                                $           31.28

Legendary Field Exhibitions, LLC   Charnholm, Eric                 Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   CHASE, ANGELA                   Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Chase, Dan                      Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Chase, Karen                    Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   Chase, Larry                    Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Chatman, Lambert                Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Chavana, Rick                   Address on file                           Unearned Revenue                                                                $           55.00

Legendary Field Exhibitions, LLC   Chavez, Albert                  Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Chavez, Frank                   Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   CHAVEZ, JAMES                   Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Chavez, Marc                    Address on file                           Unearned Revenue                                                                $           50.00
                                                                                                                                                                                                                 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 83 of




                                                                                                                                                      Page 32 of 202
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                                    Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name               Address          Last 4 Date Debt   Trade, Debt / Note           Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                         Digits of  was    Payable (Type of Claim)                                               subject to
                                                                                         Account Incurred,                                                                        offset?
                                                                                         Number Basis for
                                                                                                   Claim
Legendary Field Exhibitions, LLC   Chavez, Michael                  Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Chavez, Nora                     Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   chavez, rick                     Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Chavs, Toy                       Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Cheatham, Quincy                 Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Checkrein Consulting             Address on file                           Unearned Revenue                                                                $          110.00


Legendary Field Exhibitions, LLC   Chedester, Richard               Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Cheesbrough, Ashley              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Cheffer, Ardel                   Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Cheney, Josh                     Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Cheng, Stephen                   Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Cherry, Walt                     Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Cherry, Wayne                    Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Chetwood, Elizabeth              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Chiasson, Josh                   Address on file                           Unearned Revenue                                                                $          105.00

Legendary Field Exhibitions, LLC   Chief Zebra Productions - Mike   2443 Fair Oaks                            Trade                                                                           $       60,497.81
                                   Pereira                          Blvd
                                                                    Box # 503
                                                                    Sacramento CA
                                                                    95825
Legendary Field Exhibitions, LLC   Childress, Marcel                Address on file                           Unearned Revenue                                                                $           45.00
Legendary Field Exhibitions, LLC   Childs, Leslie                   Address on file                           Unearned Revenue                                                                $           81.00
Legendary Field Exhibitions, LLC   Chilton, Julianna                Address on file                           Unearned Revenue                                                                $          250.00
                                                                                                                                                                                                                                                         269




Legendary Field Exhibitions, LLC   Chiozza, Raymond                 Address on file                           Unearned Revenue                                                                $          462.56

Legendary Field Exhibitions, LLC   Chocooj, Alex                    Address on file                           Unearned Revenue                                                                $           35.00

Legendary Field Exhibitions, LLC   Choi, Matthew                    Address on file                           Trade                                                                           $          300.00


Legendary Field Exhibitions, LLC   Chrencik, Russell                Address on file                           Unearned Revenue                                                                $           35.00
Legendary Field Exhibitions, LLC   Christensen, Michael             Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Christensen, Rick                Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Christian, Andre                 Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Christiansen, David              Address on file                           Unearned Revenue                                                                $           45.00
Legendary Field Exhibitions, LLC   Christopherson, Craig            Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Chronis, Gregory                 Address on file                           Unearned Revenue                                                                $           45.00


Legendary Field Exhibitions, LLC   Chuk, Jonathon                   Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Chula, Chris                     Address on file                           Unearned Revenue                                                                $           15.00


Legendary Field Exhibitions, LLC   Chung, Vivian                    Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Church, Carla                    Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Cigna Insurance                  Address on file                           Unearned Revenue                                                                $          356.00
Legendary Field Exhibitions, LLC   Ciotti, Frank                    Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Cisar, Richard                   Address on file                           Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Cisneros, Crystal                Address on file                           Unearned Revenue                                                                $          101.25
Legendary Field Exhibitions, LLC   Cisneros, Jerald                 Address on file                           Unearned Revenue                                                                $          241.50
Legendary Field Exhibitions, LLC   City of Birmingham, Park and     710 North 20th                            Trade                                                                           $       11,248.00
                                   Recreation Board                 Street, Suite 300,
                                                                    Birmingham, AL
                                                                    35203
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 84 of




                                                                                                                                                       Page 33 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name              Address          Last 4 Date Debt   Trade, Debt / Note           Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                           Digits of  was    Payable (Type of Claim)                                               subject to
                                                                                           Account Incurred,                                                                        offset?
                                                                                           Number Basis for
                                                                                                     Claim
Legendary Field Exhibitions, LLC   City of Memphis - Memphis Police   Financial Services                        Trade                                                                           $        3,100.00
                                   Department                         Room #11-23
                                                                      170 N. Main
                                                                      Memphis, TN 38103

Legendary Field Exhibitions, LLC   City of San Antonio - Alamodome   PO Box 1809                                Trade                                                                           $      169,619.13
                                                                     San Antonio TX
                                                                     78296
Legendary Field Exhibitions, LLC   City of San Diego - SDCCU Stadium SDCCU Stadium -                            Trade                                                                           $      225,555.99
                                                                     City Treasurer
                                                                     9449 Friars Rd
                                                                     San Diego CA
                                                                     92108
Legendary Field Exhibitions, LLC   Clanton, Otis                     Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Clardy, Matthew                    Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Clark, Brandon                     Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Clark, Cynthia                     Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Clark, Daniel                      Address on file                           Unearned Revenue                                                                $           25.50


Legendary Field Exhibitions, LLC   Clark, David                       Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   Clark, Derek                       Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Clark, Donald                      Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Clark, Harry                       Address on file                           Unearned Revenue                                                                $          110.00

Legendary Field Exhibitions, LLC   Clark, James                       Address on file                           Unearned Revenue                                                                $          236.00

Legendary Field Exhibitions, LLC   Clark, Jason                       Address on file                           Unearned Revenue                                                                $          210.00
Legendary Field Exhibitions, LLC   Clark, Jennifer                    Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                                                                           269




Legendary Field Exhibitions, LLC   Clark, Jonathan                    Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   clark, kim                         Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Clark, Marcellus                   Address on file                           Unearned Revenue                                                                $          195.00

Legendary Field Exhibitions, LLC   Clark, Matt                        Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   clark, Robert                      Address on file                           Unearned Revenue                                                                $           22.00

Legendary Field Exhibitions, LLC   Clark, Saylor                      Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Clark, Yvonne                      Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Clarke, Earl                       Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Clarke, Rachel                     Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Classic Traditions, Inc.           4 Baltusrol Ct.                           Trade                                                                           $        2,854.58
                                                                      Shoal Creek AL
                                                                      35242
Legendary Field Exhibitions, LLC   Clauss, Allen                      Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Claxton, Jennifer                  Address on file                           Unearned Revenue                                                                $          180.00

Legendary Field Exhibitions, LLC   clay, katherine                    Address on file                           Unearned Revenue                                                                $           56.00
Legendary Field Exhibitions, LLC   Clay, Shawn                        Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Claytor, Kelly                     Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Clear Channel Outdoor              Clear Channel                             Trade                                                                           $       59,310.88
                                                                      Outdoor
                                                                      P.O Box 402379
                                                                      Atlanta GA 30384-
                                                                      2379
Legendary Field Exhibitions, LLC   Clear Gear                         354 N Lewis Rd                            Trade                                                                           $        7,339.92
                                                                      #149
                                                                      Royersford PA
                                                                      19468
Legendary Field Exhibitions, LLC   Cleary, Jason                      Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Clem, Linda                        Address on file                           Unearned Revenue                                                                $           96.00
                                                                                                                                                                                                                    19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 85 of




                                                                                                                                                         Page 34 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                           Creditor Name             Address           Last 4 Date Debt   Trade, Debt / Note          Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                            Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                            Account Incurred,                                                                       offset?
                                                                                            Number Basis for
                                                                                                      Claim
Legendary Field Exhibitions, LLC   Client Centric Wealth Management   Address on file                           Unearned Revenue                                                                $          320.00



Legendary Field Exhibitions, LLC   Cliff Keen                         PO Box 1447                               Trade                                                                           $          786.00
                                                                      Ann Arbor MI 48108

Legendary Field Exhibitions, LLC   Clifford, Michael                  Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Climer, Ryan                       Address on file                           Unearned Revenue                                                                $          410.00

Legendary Field Exhibitions, LLC   Cline, Lisa                        Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   Cline, Lynn                        Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Clingerman, Gary                   Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Clyburn, Douglas                   Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   Clynes, Patrick                    Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   CM+PR dba Cardenas Marketing +     9404 W. Pierson St.                       Trade                                                                           $          600.00
                                   Public Relations                   Phoenix AZ 85037

Legendary Field Exhibitions, LLC   CMAXIII Entertainment/ Charles     24245 Wilderness                          Trade                                                                           $          544.67
                                   Sloan Jr.                          Oak Apt #3310
                                                                      San Antonio TX
                                                                      78258
Legendary Field Exhibitions, LLC   Cobbe, Eric                        Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Cochran, Shawn                     Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Cocke, Judy                        Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Codallos, Beverly                  Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Codraro, Steve                     Address on file                           Unearned Revenue                                                                $           15.00
Legendary Field Exhibitions, LLC   Coe, David                         Address on file                           Unearned Revenue                                                                $          240.00
                                                                                                                                                                                                                                                           269




Legendary Field Exhibitions, LLC   Coe, Marlan                        Address on file                           Unearned Revenue                                                                $          156.00


Legendary Field Exhibitions, LLC   Coffey, Dan                        Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   COFFEY, LEO                        Address on file                           Unearned Revenue                                                                $          800.00

Legendary Field Exhibitions, LLC   Coffinger, Lori                    Address on file                           Unearned Revenue                                                                $          740.00


Legendary Field Exhibitions, LLC   Coffman, Michelle                  Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Cogan, Jacob                       Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Cogdill, Larry                     Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Cohen, Eric                        Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Cohen, Jerome                      Address on file                           Unearned Revenue                                                                $          210.00

Legendary Field Exhibitions, LLC   Cohen, Mark                        Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Cole Entertainment Services        3424 W. Oak Grove                         Trade                                                                           $        2,900.00
                                                                      Rd.
                                                                      Hernando, MS
                                                                      38632
Legendary Field Exhibitions, LLC   Cole, Marty                        Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Cole, Melvin                       Address on file                           Unearned Revenue                                                                $          700.00

Legendary Field Exhibitions, LLC   Cole’s Screen Printing             2531 Woodhurst                            Trade                                                                           $        7,200.00
                                                                      Cove
                                                                      Germantown, TN
                                                                      38139
Legendary Field Exhibitions, LLC   Coleman Jr, Wilford                Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Coleman, Antoinette                Address on file                           Unearned Revenue                                                                $           15.64

Legendary Field Exhibitions, LLC   Coleman, Austin                    Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Coleman, Bryan                     Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Coleman, Candie                    Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                                    19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 86 of




                                                                                                                                                         Page 35 of 202
                                                                                   In re Legendary Field Exhibitions, LLC
                                                                                                   Case No.
                                                                     Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name               Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                         Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                         Account Incurred,                                                                         offset?
                                                                                         Number Basis for
                                                                                                   Claim
Legendary Field Exhibitions, LLC   Coleman, Cherie                   Address on file                           Unearned Revenue                                                                $           31.28

Legendary Field Exhibitions, LLC   Coleman, Forest                   Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Coleman, Michelle                 Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Coleman, Rawson                   Address on file                           Unearned Revenue                                                                $          240.00


Legendary Field Exhibitions, LLC   Coleman, Ryan                     Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   Coleman, William                  Address on file                           Unearned Revenue                                                                $          450.00

Legendary Field Exhibitions, LLC   Collar, Amanda                    Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   COLLETTI, PETER                   Address on file                           Unearned Revenue                                                                $           44.00
Legendary Field Exhibitions, LLC   Collier, Karyn                    Address on file                           Unearned Revenue                                                                $          122.00
Legendary Field Exhibitions, LLC   COLLINS, JEFFREY                  Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Collins, Julie                    Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Collins, Michael                  Address on file                           Unearned Revenue                                                                $           76.00

Legendary Field Exhibitions, LLC   Collins, Tammy                    Address on file                           Unearned Revenue                                                                $          112.00

Legendary Field Exhibitions, LLC   Collum, Dawn                      Address on file                           Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Colombo, Brian                    Address on file                           Unearned Revenue                                                                $           15.00


Legendary Field Exhibitions, LLC   Colona, Angela                    Address on file                           Unearned Revenue                                                                $          475.00

Legendary Field Exhibitions, LLC   Colors Agency - Bruce LLC         516 Tennessee                             Trade                                                                           $        2,580.00
                                                                     Street, Suite 403
                                                                     Memphis TN 38103
Legendary Field Exhibitions, LLC   Colsell, Rick                     Address on file                           Unearned Revenue                                                                $          130.00
                                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   Colton, Brian                     Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Colton, Joseph                    Address on file                           Unearned Revenue                                                                $          105.00

Legendary Field Exhibitions, LLC   Colton, Kathie                    Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Colucci, Gene                     Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Columbo, Kirsten                  Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Colunga, David                    Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Colunga, Hector                   Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Comcast Spotlight                 P.O. Box 409558                           Trade                                                                           $       18,524.05
                                                                     Atlanta GA 30384
Legendary Field Exhibitions, LLC   Comcast Spotlight - Los Angeles   PO Box 742637                             Trade                                                                           $          255.00
                                                                     Los Angeles CA
                                                                     90074
Legendary Field Exhibitions, LLC   Comer, Garrett                    Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Comparato, Jerome                 Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Compton, Uriah                    Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   conarc, paul                      Address on file                           Unearned Revenue                                                                $           81.00
Legendary Field Exhibitions, LLC   conatser, brian                   Address on file                           Unearned Revenue                                                                $          280.00

Legendary Field Exhibitions, LLC   Conforte, Vincent                 Address on file                           Unearned Revenue                                                                $           90.00


Legendary Field Exhibitions, LLC   Congel, Matt                      Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Conley, Christopher               Address on file                           Unearned Revenue                                                                $           58.00


Legendary Field Exhibitions, LLC   Conley, Michael                   Address on file                           Unearned Revenue                                                                $           25.00


Legendary Field Exhibitions, LLC   Conlon, Ray                       Address on file                           Unearned Revenue                                                                $           22.00

Legendary Field Exhibitions, LLC   Conn, Austin                      Address on file                           Unearned Revenue                                                                $          120.00
                                                                                                                                                                                                                   19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 87 of




                                                                                                                                                        Page 36 of 202
                                                                                     In re Legendary Field Exhibitions, LLC
                                                                                                     Case No.
                                                                       Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name                 Address           Last 4 Date Debt   Trade, Debt / Note           Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                            Digits of  was    Payable (Type of Claim)                                               subject to
                                                                                            Account Incurred,                                                                        offset?
                                                                                            Number Basis for
                                                                                                      Claim
Legendary Field Exhibitions, LLC   Conner, Raymond                    Address on file                            Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Conner, Richard                    Address on file                            Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Connolly, Shane                    Address on file                            Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Connors, Brady                     Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Conover, Sean                      Address on file                            Unearned Revenue                                                                $          375.00

Legendary Field Exhibitions, LLC   Conroy, Mark                       Address on file                            Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Constein, Eric                     Address on file                            Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Contemporary Media, Inc             Contemporary                              Trade                                                                           $        4,885.00
                                                                       Media
                                                                       P.O. Box 1738
                                                                       Memphis TN 38101
Legendary Field Exhibitions, LLC   Contemporary Services Corporation - 17101 Superior St.                        Trade                                                                           $       63,702.69
                                   CSC                                 Northridge CA
                                                                       91325
Legendary Field Exhibitions, LLC   CONTI, MICHAEL                      Address on file                           Unearned Revenue                                                                $           34.00
Legendary Field Exhibitions, LLC   Contreras, Amy                      Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Contreras, Carlos                  Address on file                            Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Contreras, Edward                  Address on file                            Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Contreras, Enrique                 Address on file                            Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Contreras, Larry                   Address on file                            Unearned Revenue                                                                $          166.50
Legendary Field Exhibitions, LLC   Contreras, Patricia                Address on file                            Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Contreras, Priscilla               Address on file                            Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Contreras, Troy                    Address on file                            Unearned Revenue                                                                $           91.50
Legendary Field Exhibitions, LLC   Control Dynamics Corp.             960 Louis Drive                            Trade                                                                           $        4,000.00
                                                                      Westminster PA
                                                                      18974
                                                                                                                                                                                                                                                            269




Legendary Field Exhibitions, LLC   Conway, Mary                       Address on file                            Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Conyers, Brett                     Address on file                            Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Cooch, Steven                      Address on file                            Unearned Revenue                                                                $          112.00

Legendary Field Exhibitions, LLC   Cook, Adrian                       Address on file                            Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Cook, Alec                         Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Cook, Bobby                        Address on file                            Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Cook, Charles                      Address on file                            Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Cook, Matt                         Address on file                            Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Cook, Sam                          Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Cook, Sean                         Address on file                            Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Cool, Dwight                       Address on file                            Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Coombs, Daryl                      Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Coons, Timothy                     Address on file                            Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Cooper, Brian                      Address on file                            Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Cooper, Dave                       Address on file                            Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Cooper, Gary C.                    Address on file                            Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Cooper, John                       Address on file                            Unearned Revenue                                                                $          170.00

Legendary Field Exhibitions, LLC   Cooper, Joseph                     Address on file                            Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Cooper, Susan                      Address on file                            Unearned Revenue                                                                $          110.00


Legendary Field Exhibitions, LLC   Copeland, Deborah                  Address on file                            Unearned Revenue                                                                $           52.00

Legendary Field Exhibitions, LLC   Copeland, Douglas                  Address on file                            Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Copeland, Harry                    Address on file                            Unearned Revenue                                                                $          320.00
                                                                                                                                                                                                                     19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 88 of




                                                                                                                                                          Page 37 of 202
                                                                                     In re Legendary Field Exhibitions, LLC
                                                                                                     Case No.
                                                                       Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name                  Address           Last 4 Date Debt   Trade, Debt / Note          Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                             Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                             Account Incurred,                                                                       offset?
                                                                                             Number Basis for
                                                                                                       Claim
Legendary Field Exhibitions, LLC   Copeland, Terry                     Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Copeland, Zach                      Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Cornell, James                      Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Cornell, Tina                       Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Corning-Vega, Gwen                  Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Coronado, Roberto                   Address on file                           Unearned Revenue                                                                $          170.00

Legendary Field Exhibitions, LLC   Corre, Kate                         Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Correia, Eugene                     Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Correia, Joe                        Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   CORT BUSINESS SERVICES              PO Box 17401                              Trade                                                                           $       40,072.07
                                   CORP                                Baltimore, MD
                                                                       21297-1401
Legendary Field Exhibitions, LLC   Cortes, pablo                       Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Cortez Liquid Waste Services        19540 S US Hwy                            Trade                                                                           $        9,348.48
                                                                       281
                                                                       San Antonio, TX
                                                                       78221
Legendary Field Exhibitions, LLC   Cortez, Deanna                      Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Cortez, Kiko                        Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Cortez, Leonides                    Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Cortez, Richard                     Address on file                           Unearned Revenue                                                                $           55.00

Legendary Field Exhibitions, LLC   Cortez, Robert                      Address on file                           Unearned Revenue                                                                $           40.00
Legendary Field Exhibitions, LLC   Cortez, Thomas                      Address on file                           Unearned Revenue                                                                $           50.00
                                                                                                                                                                                                                                                            269




Legendary Field Exhibitions, LLC   cortinas, narcedalia                Address on file                           Unearned Revenue                                                                $          111.00
Legendary Field Exhibitions, LLC   Cosby, Ralene                       Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Cosco Fire Protection               Address on file                           Unearned Revenue                                                                $        1,000.00

Legendary Field Exhibitions, LLC   Cose, LaVerne                       Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Costancio, Sam                      Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Cottrell, Eric                      Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   COUGHRAN, BEN                       Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Coulombe, Chris                     Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Coulthard, Lynda                    Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Counts, Kimberly                    Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Countywide Mechanical Systems Inc Address on file                             Unearned Revenue                                                                $        1,000.00


Legendary Field Exhibitions, LLC   Courtner, Ryan                      Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Courtney, Frank H.                  Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Courtyard Birmingham Downtown       1820 5th Ave. South                       Trade                                                                           $       20,042.87
                                                                       Birmingham, AL
                                                                       35233

Legendary Field Exhibitions, LLC   Courtyard By Marriott Atlanta       12655 Deerfield                           Trade                                                              x            $      184,854.09
                                   Alpharetta                          Pkwy
                                                                       Alpharetta GA
                                                                       30004
Legendary Field Exhibitions, LLC   Courtyard by Marriott San Antonio   P.O. Box 403003                           Trade                                                                           $       71,765.34
                                   River Center                        Atlanta GA 30384-
                                                                       3003
Legendary Field Exhibitions, LLC   Couture, Wilson                     Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   Covarrubias, Jose                   Address on file                           Unearned Revenue                                                                $           45.00
                                                                                                                                                                                                                     19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 89 of




Legendary Field Exhibitions, LLC   Covas, Jorge                        Address on file                           Unearned Revenue                                                                $           60.00




                                                                                                                                                          Page 38 of 202
                                                                                   In re Legendary Field Exhibitions, LLC
                                                                                                   Case No.
                                                                     Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name                Address          Last 4 Date Debt   Trade, Debt / Note           Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                          Digits of  was    Payable (Type of Claim)                                               subject to
                                                                                          Account Incurred,                                                                        offset?
                                                                                          Number Basis for
                                                                                                    Claim
Legendary Field Exhibitions, LLC   Covington, Billy                  Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Covucci, Frank                    Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Cox Business                      PO Box 53214                              Trade                                                                           $        1,407.39
                                                                     Phoenix AZ 85072-
                                                                     3214
Legendary Field Exhibitions, LLC   COX ENTERPRISES, INC dba          PO Box 645433                             Trade                                                                           $       18,500.00
                                   ATLANTA JOURNAL-                  Cincinnati OH
                                   CONSTITUTION                      45264-5433
Legendary Field Exhibitions, LLC   COX Media - West Arizona          PO Box 50470                              Trade                                                                           $        7,180.80
                                                                     Los Angeles CA
                                                                     90074
Legendary Field Exhibitions, LLC   Cox Media LLC San diego dba Cox   P.O Box 50456                             Trade                                                                           $          500.00
                                   Media - West                      Los Angeles CA
                                                                     90074
Legendary Field Exhibitions, LLC   Cox Media TV, Orlando - COX       Address on file                           Trade                                                                           $        4,000.00
                                   MEDIA GROUP; WRDQ INC; EFTV;
                                   ERDQ; GFTV; WFTV; WFTV.COM;
                                   COX TV ORLANDO
Legendary Field Exhibitions, LLC   Cox Radio, Inc dba KSRV-FM   PO Box 83191                                   Trade                                                                           $        5,500.00
                                                                Chicago IL 60691-
                                                                0191
Legendary Field Exhibitions, LLC   Cox, Amy                     Address on file                                Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Cox, Chloe                        Address on file                           Unearned Revenue                                                                $           91.50
Legendary Field Exhibitions, LLC   Cox, David                        Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Cox, Felicia                      Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Cox, James                        Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Cox, Jeffrey                      Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   cox, melanie                      Address on file                           Unearned Revenue                                                                $           50.00
                                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   Cox, Robert                       Address on file                           Unearned Revenue                                                                $          125.00
Legendary Field Exhibitions, LLC   cox, ronald                       Address on file                           Unearned Revenue                                                                $           40.00
Legendary Field Exhibitions, LLC   Cox, Valli                        Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Coy, Jeffrey                      Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Coy-burt, Henry                   Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   CP Communications                 3506 St. Valentine                        Trade                                                                           $      100,142.79
                                                                     Way
                                                                     Unit #6
                                                                     Orlando FL 32811
Legendary Field Exhibitions, LLC   Crafton, Chad                     Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Craig Arnold                      Address on file                           Unearned Revenue                                                                $          225.00

Legendary Field Exhibitions, LLC   Craig, Cindi                      Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Craig, Jim                        Address on file                           Unearned Revenue                                                                $          123.52
Legendary Field Exhibitions, LLC   Craig, Stacey                     Address on file                           Unearned Revenue                                                                $          110.00

Legendary Field Exhibitions, LLC   Cramer , Leslie                   Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Cramer, Shelly                    Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   cranfield, LaRonda                Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Cranker, Robert                   Address on file                           Unearned Revenue                                                                $           44.00
Legendary Field Exhibitions, LLC   Crawford, Bianca                  Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Crawford, Charles                 Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Crawford, Janet                   Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Crawford, Jeff                    Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Crawford, Kevin                   Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Crawford, Monyea                  Address on file                           Unearned Revenue                                                                $          390.00

Legendary Field Exhibitions, LLC   Crawford, Timothy                 Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Crawley, Michael                  Address on file                           Unearned Revenue                                                                $           75.00
                                                                                                                                                                                                                   19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 90 of




                                                                                                                                                        Page 39 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name               Address          Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                          Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                          Account Incurred,                                                                         offset?
                                                                                          Number Basis for
                                                                                                    Claim
Legendary Field Exhibitions, LLC   CRC Broadcasting Company Inc.     8145 E. Evans                              Trade                                                                           $        1,912.50
                                   dba KFNN-AM;Money Radio 1510;     Road
                                   KQFN-AM; 1500 The Fanatic         Suite #8
                                                                     Scottsdale AZ
                                                                     85260
Legendary Field Exhibitions, LLC   Creamer, Robertson                Address on file                            Unearned Revenue                                                                $           55.50

Legendary Field Exhibitions, LLC   Creamer, Taylor                   Address on file                            Unearned Revenue                                                                $           55.50


Legendary Field Exhibitions, LLC   Crean, David                      Address on file                            Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Creative Artists Agency (CAA)     2000 Avenue of the                         Trade                                                                           $       30,000.00
                                                                     Stars
                                                                     Los Angeles, CA
                                                                     90067
Legendary Field Exhibitions, LLC   Creative Business Techniques West 10565 Livewood                             Trade                                                                           $        5,475.00
                                   dbs CBT-West                      Way
                                                                     San Diego CA
                                                                     92131
Legendary Field Exhibitions, LLC   Creek Entertainment Inc. - Riot   235 Lakeridge CT                           Trade                                                                           $        2,575.00
                                   Parade                            Winter Springs FL
                                                                     32708
Legendary Field Exhibitions, LLC   Crena, Ronnie                     Address on file                            Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Crenwelge, Ryan                   Address on file                            Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Crew Line Inc.                    1971 Swan Lane                             Trade                                                                           $        3,000.00
                                                                     Palm Harbor FL
                                                                     34683
Legendary Field Exhibitions, LLC   Crew One Productions              750 Cowan Street                           Trade                                                                           $        7,303.00
                                                                     Nashville TN 37207
Legendary Field Exhibitions, LLC   Crewdson, John                    Address on file                            Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Crews, Dennis                     Address on file                            Unearned Revenue                                                                $           31.28
Legendary Field Exhibitions, LLC   Crimmins, Dennis                  Address on file                            Unearned Revenue                                                                $          100.00
                                                                                                                                                                                                                                                           269




Legendary Field Exhibitions, LLC   Criscione, Nicholas               Address on file                            Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Cristo, Christopher               Address on file                            Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Crocker, Chris                    Address on file                            Trade                                                                           $          750.00

Legendary Field Exhibitions, LLC   CRONIN, PATRICK                   Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Crooke, Dennis                    Address on file                            Unearned Revenue                                                                $          180.00

Legendary Field Exhibitions, LLC   Crooks, Kyle                      Address on file                            Unearned Revenue                                                                $           44.00

Legendary Field Exhibitions, LLC   Cropper, Christopher              Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Crosby, Alan                      Address on file                            Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Crosby, Mark                      Address on file                            Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Cross, Christopher                Address on file                            Unearned Revenue                                                                $           15.64

Legendary Field Exhibitions, LLC   Cross, Heather                    Address on file                            Unearned Revenue                                                                $          121.50
Legendary Field Exhibitions, LLC   Cross, Shanetta                   Address on file                            Unearned Revenue                                                                $          150.00
Legendary Field Exhibitions, LLC   Crouch, JD                        Address on file                            Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Crouse, Andi                      Address on file                            Unearned Revenue                                                                $           82.00
Legendary Field Exhibitions, LLC   Crout, Jason                      Address on file                            Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Crowder, Mark                     Address on file                            Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Crowe, Keith                      Address on file                            Unearned Revenue                                                                $        1,200.00

Legendary Field Exhibitions, LLC   Crowson, Cindy                    Address on file                            Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Crowther, Charles                 Address on file                            Unearned Revenue                                                                $          168.00

Legendary Field Exhibitions, LLC   Crowther, John                    Address on file                            Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Crum, James                       Address on file                            Unearned Revenue                                                                $          110.00

Legendary Field Exhibitions, LLC   Crum, Larry                       Address on file                            Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Cruz, Bo                          Address on file                            Unearned Revenue                                                                $          200.00
                                                                                                                                                                                                                    19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 91 of




                                                                                                                                                         Page 40 of 202
                                                                                In re Legendary Field Exhibitions, LLC
                                                                                                Case No.
                                                                  Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name            Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                      Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                      Account Incurred,                                                                         offset?
                                                                                      Number Basis for
                                                                                                Claim
Legendary Field Exhibitions, LLC   Cruz, Christine                Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   cruz, monica                   Address on file                           Unearned Revenue                                                                $           40.00
Legendary Field Exhibitions, LLC   CRUZ, STEVEN                   Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Cruz, Ventura                  Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Cuello, Rafael                 Address on file                           Unearned Revenue                                                                $          320.00


Legendary Field Exhibitions, LLC   Cuesta, Alexander              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Cuevas, Alvino                 Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Cuevas, John                   Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Culinary Crafts Catering LLC   573 West State                            Trade                                                                           $        9,617.08
                                                                  Road
                                                                  Pleasant Grove UT
                                                                  84062
Legendary Field Exhibitions, LLC   Cullen, JoAnn                  Address on file                           Unearned Revenue                                                                $          665.00
Legendary Field Exhibitions, LLC   Culpepper, Cates               Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Culpepper, Michelle            Address on file                           Unearned Revenue                                                                $          224.00

Legendary Field Exhibitions, LLC   cummings, james                Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Cummins, Daniel                Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Cummins, Donney                Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Cumulus Media - WGKX-FM        3644 Momentum                             Trade                                                                           $       20,191.00
                                                                  Place
                                                                  Chicago IL 60689-
                                                                  5336
Legendary Field Exhibitions, LLC   Cunningham, Derek              Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Cunningham, Evan               Address on file                           Unearned Revenue                                                                $           20.00
                                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   Cunningham, Kenneth            Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Cunningham, Matt               Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Curby, Brian                   Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Curd, David                    Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Cureton, Richard               Address on file                           Unearned Revenue                                                                $           56.00

Legendary Field Exhibitions, LLC   Curp, Richard                  Address on file                           Unearned Revenue                                                                $          270.00

Legendary Field Exhibitions, LLC   Curry, Deborah                 Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Curry, Debra                   Address on file                           Unearned Revenue                                                                $           32.00

Legendary Field Exhibitions, LLC   Curry, Doug                    Address on file                           Unearned Revenue                                                                $          416.00

Legendary Field Exhibitions, LLC   Curry, Jon                     Address on file                           Unearned Revenue                                                                $           10.00
Legendary Field Exhibitions, LLC   Curtis Sr, Alfred T.           Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Curtis, Kevin                  Address on file                           Unearned Revenue                                                                $          121.00
Legendary Field Exhibitions, LLC   Curtis, LeighAnn               Address on file                           Unearned Revenue                                                                $           80.50
Legendary Field Exhibitions, LLC   Curtis, Mike                   Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Curtis, Nathan                 Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Curtiss, Scott                 Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   curtoys, David                 Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Cutler, Charles                Address on file                           Unearned Revenue                                                                $           66.00
Legendary Field Exhibitions, LLC   Cutrer, Jeremy                 1659 N Robertson                          Trade                                                                           $          405.00
                                                                  St
                                                                  New Orleans LA
                                                                  70117
Legendary Field Exhibitions, LLC   CUTTING EDGE CARPET INC        Address on file                           Unearned Revenue                                                                $          480.00

Legendary Field Exhibitions, LLC   Cutting, Matthew               Address on file                           Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   Cydell, Corey                  Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Cydell, Haley                  Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Cyman, Christine               Address on file                           Unearned Revenue                                                                $          250.00
                                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 92 of




                                                                                                                                                     Page 41 of 202
                                                                                     In re Legendary Field Exhibitions, LLC
                                                                                                     Case No.
                                                                       Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name                 Address          Last 4 Date Debt   Trade, Debt / Note           Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                            Digits of  was    Payable (Type of Claim)                                               subject to
                                                                                            Account Incurred,                                                                        offset?
                                                                                            Number Basis for
                                                                                                      Claim
Legendary Field Exhibitions, LLC   cymanski, sondra                    Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Cynthia Frelund - WME               11 Madison Ave.                           Trade                                                                           $       50,000.00
                                   Entertainment, LLC                  18th fl.
                                                                       New York NY 10010

Legendary Field Exhibitions, LLC   Dahlen, Derrick                     Address on file                           Unearned Revenue                                                                $          325.00
Legendary Field Exhibitions, LLC   Dail, Katherine                     Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Daley, Emily                        Address on file                           Unearned Revenue                                                                $          350.00

Legendary Field Exhibitions, LLC   DalPonte, Diane                     Address on file                           Unearned Revenue                                                                $           38.00

Legendary Field Exhibitions, LLC   Daly, Patrick                       Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   D'Amico, Michael                    Address on file                           Unearned Revenue                                                                $          600.00

Legendary Field Exhibitions, LLC   Dampier, Michael                    Address on file                           Unearned Revenue                                                                $           15.64
Legendary Field Exhibitions, LLC   dance, cynthia                      Address on file                           Unearned Revenue                                                                $          110.00

Legendary Field Exhibitions, LLC   Dang, Lucy                          Address on file                           Unearned Revenue                                                                $           55.20
Legendary Field Exhibitions, LLC   Daniel Williams                     2115 North 58th                           Trade                                                                           $          205.00
                                                                       Street
                                                                       East St. Louis IL
                                                                       62204
Legendary Field Exhibitions, LLC   Daniel, Angela                      Address on file                           Unearned Revenue                                                                $           55.50
Legendary Field Exhibitions, LLC   Daniel, John                        Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Daniel, Matthew                     Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Daniel, Tammi                       Address on file                           Unearned Revenue                                                                $           25.00


Legendary Field Exhibitions, LLC   Daniel, Victoria                    Address on file                           Unearned Revenue                                                                $           50.00
                                                                                                                                                                                                                                                            269




Legendary Field Exhibitions, LLC   Danielewicz, Mark                   Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Daniels, Chase                      Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Daniels, Cynthia                    Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Daniels, Jack                       Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   Danish, Mike                        Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Dansby, Garvin                      Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Dantonio, Susan                     Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Danziger, Derek                     Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Daoud, Warsama                      Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Darktronics Inc                     SDS 12-2222                               Trade                                                                           $        6,000.00
                                                                       PO Box 86
                                                                       Minneapolis, MN
                                                                       55486
Legendary Field Exhibitions, LLC   Darling, Denis                      Address on file                           Unearned Revenue                                                                $          110.00

Legendary Field Exhibitions, LLC   Darling, Mike                       Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Darnell, David                      Address on file                           Unearned Revenue                                                                $          370.00

Legendary Field Exhibitions, LLC   Darst, Steven                       Address on file                           Unearned Revenue                                                                $           40.50
Legendary Field Exhibitions, LLC   Database Builders Inc./Full House   3215 Golf Rd. #112                        Trade                                                                           $        1,581.80
                                   Sports Marketing                    Delafield WI 53018
Legendary Field Exhibitions, LLC   Datacomm Services Corporation       3717 Cherry Rd.                           Trade                                                                           $        9,954.01
                                   (DSC)                               Memphis TN 38118
Legendary Field Exhibitions, LLC   Daugherty, Bradley                  Address on file                           Unearned Revenue                                                                $        1,265.00


Legendary Field Exhibitions, LLC   Daugherty, Regina                   Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Davalos, Gabriel                    Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   daves perspective photography       Address on file                           Unearned Revenue                                                                $          170.00
                                                                                                                                                                                                                     19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 93 of




                                                                                                                                                          Page 42 of 202
                                                                              In re Legendary Field Exhibitions, LLC
                                                                                              Case No.
                                                                Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                    Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                    Account Incurred,                                                                         offset?
                                                                                    Number Basis for
                                                                                              Claim
Legendary Field Exhibitions, LLC   David Voth                   1346 Desert Links                         Trade                                                                           $        5,000.00
                                                                San Antonio TX
                                                                78258
Legendary Field Exhibitions, LLC   David, Ari                   Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   David, Tal                   Address on file                           Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Davidson, Elizabeth          Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Davidson, Gordon             Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   Davidson, Kellie             Address on file                           Unearned Revenue                                                                $           30.50
Legendary Field Exhibitions, LLC   Davidson, Paula              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Davidson, Robert             Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Davila Jr, Felix             Address on file                           Unearned Revenue                                                                $           90.00


Legendary Field Exhibitions, LLC   Davila, Janell               Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Davila, Leroy                Address on file                           Unearned Revenue                                                                $           65.00

Legendary Field Exhibitions, LLC   Davila, Mark                 Address on file                           Unearned Revenue                                                                $           65.00

Legendary Field Exhibitions, LLC   Davila, Marsha               Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Davila, Moses                Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Davis, Adeo                  Address on file                           Unearned Revenue                                                                $           35.00

Legendary Field Exhibitions, LLC   Davis, Amanda                Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Davis, Andrew J.             Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Davis, Angelique             Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Davis, Brandon               Address on file                           Unearned Revenue                                                                $           50.00
                                                                                                                                                                                                                                                     269




Legendary Field Exhibitions, LLC   Davis, Brett                 Address on file                           Unearned Revenue                                                                $          305.00
Legendary Field Exhibitions, LLC   Davis, Brian                 Address on file                           Unearned Revenue                                                                $           22.00
Legendary Field Exhibitions, LLC   davis, carl                  Address on file                           Unearned Revenue                                                                $          108.00
Legendary Field Exhibitions, LLC   Davis, Charley               Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Davis, Christopher           Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Davis, Chrystal              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Davis, Daniel                Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Davis, Danny                 Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Davis, Gary                  Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Davis, George                Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Davis, James                 Address on file                           Unearned Revenue                                                                $          170.00


Legendary Field Exhibitions, LLC   Davis, Joel                  Address on file                           Unearned Revenue                                                                $          704.00

Legendary Field Exhibitions, LLC   Davis, Justin                Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Davis, Laura                 Address on file                           Unearned Revenue                                                                $          211.00
Legendary Field Exhibitions, LLC   Davis, Mark                  Address on file                           Unearned Revenue                                                                $           32.00
Legendary Field Exhibitions, LLC   Davis, Rebecca               Address on file                           Unearned Revenue                                                                $          152.00

Legendary Field Exhibitions, LLC   Davis, Samario               Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Davis, Todd                  Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Davis, Treva                 Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Davis, William               Address on file                           Unearned Revenue                                                                $          340.00

Legendary Field Exhibitions, LLC   Davison, Anthony             Address on file                           Unearned Revenue                                                                $          600.00

Legendary Field Exhibitions, LLC   Dawe, Anthony                Address on file                           Unearned Revenue                                                                $          110.00
                                                                                                                                                                                                              19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 94 of




                                                                                                                                                   Page 43 of 202
                                                                                   In re Legendary Field Exhibitions, LLC
                                                                                                   Case No.
                                                                     Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name                Address           Last 4 Date Debt   Trade, Debt / Note          Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                           Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                           Account Incurred,                                                                       offset?
                                                                                           Number Basis for
                                                                                                     Claim
Legendary Field Exhibitions, LLC   Dawson, John                      Address on file                           Unearned Revenue                                                                $           82.00
Legendary Field Exhibitions, LLC   Dawson, Robert                    Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Day, Jim                          Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   DB Services, LLC                  6 Peabody Rd                              Trade                                                                           $          568.53
                                                                     Cold Spring Harbor,
                                                                     NY 01724
Legendary Field Exhibitions, LLC   De Anda, Daniel                   Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   De Baca, Esther                   Address on file                           Unearned Revenue                                                                $           45.00
Legendary Field Exhibitions, LLC   De Ganna, Shelley                 Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   De Gruy, Louis                    Address on file                           Unearned Revenue                                                                $          160.00


Legendary Field Exhibitions, LLC   De Hoyos, Alberto                 Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   De Hoyos, Melinda                 Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   De La Cruz, Alan                  Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   de la rosa, beatrice              Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   De La Rosa, Jorge                 Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   De La Rosa, Stephanie             Address on file                           Unearned Revenue                                                                $          111.00

Legendary Field Exhibitions, LLC   De La Vega, Angel                 Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   De La Vega, Carlos                Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   De Leon III, John                 Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   De Leon, Marianod                 Address on file                           Unearned Revenue                                                                $          166.50
Legendary Field Exhibitions, LLC   De Melfi, James                   Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   De Rogatis, Clay                  Address on file                           Unearned Revenue                                                                $           60.00
                                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   De Simone, Gabriel                Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Dean Blandino                     21 Waterway Ave                           Trade                                                                           $       45,000.00
                                                                     Ste. 425
                                                                     The Woodlands TX
                                                                     77380
Legendary Field Exhibitions, LLC   Dean, Bobby                       Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   dean, cheryl                      Address on file                           Unearned Revenue                                                                $           55.20
Legendary Field Exhibitions, LLC   Dean, Nancy                       Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Dean, Ringers, Morgan & Lawton,   Address on file                           Unearned Revenue                                                                $        1,788.00
                                   PA

Legendary Field Exhibitions, LLC   Dean, Ronald                      Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Dean, Steven                      Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Dean, Tim                         Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Dean, William                     Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Deanda, Juan                      Address on file                           Unearned Revenue                                                                $           45.00
Legendary Field Exhibitions, LLC   Deaton, Daniel                    Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   Debner, Richard                   Address on file                           Unearned Revenue                                                                $           81.00
Legendary Field Exhibitions, LLC   Deboer, Steven                    Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   DeCino, Charles                   Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Decker, Shawn                     Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Dederian, Mark                    Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Dee, Dalton                       Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Deemer, Barry                     Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Defa, Scott                       Address on file                           Unearned Revenue                                                                $          270.00
                                                                                                                                                                                                                   19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 95 of




                                                                                                                                                        Page 44 of 202
                                                                           In re Legendary Field Exhibitions, LLC
                                                                                           Case No.
                                                             Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                 Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                 Account Incurred,                                                                         offset?
                                                                                 Number Basis for
                                                                                           Claim
Legendary Field Exhibitions, LLC   DeGeorge, Nick            Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Dehalle, Michael          Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   DeHaven, Leon             Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Dehoyos, Irene            Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Deichert, Dustin          Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   DeIorio, Vic              Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Deitzler, Edward          Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Dejarnette, marillyn      Address on file                           Unearned Revenue                                                                $           15.00
Legendary Field Exhibitions, LLC   Del Angel, Alexandria     Address on file                           Unearned Revenue                                                                $           61.00

Legendary Field Exhibitions, LLC   Del Rio, Eduardo          Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Del Rio, Joann            Address on file                           Unearned Revenue                                                                $          120.00


Legendary Field Exhibitions, LLC   Delacruz, Joe             Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Delafuente, Juan          Address on file                           Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   DeLaHaya, Steve           Address on file                           Unearned Revenue                                                                $          170.00

Legendary Field Exhibitions, LLC   DeLaHoya, Candice         Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Delahunt, Kimberly        Address on file                           Unearned Revenue                                                                $           20.00


Legendary Field Exhibitions, LLC   Delarosa, Wendie          Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Delaware North            Address on file                           Unearned Revenue                                                                $        5,950.00

Legendary Field Exhibitions, LLC   Delchamps, Lawton         Address on file                           Unearned Revenue                                                                $           50.00
                                                                                                                                                                                                                                                  269




Legendary Field Exhibitions, LLC   DeLeo, Dennis             Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Deleon, David             Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   DELEON, IVAN              Address on file                           Unearned Revenue                                                                $          333.00
Legendary Field Exhibitions, LLC   Delgado, Albert           Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Delgado, Phil             Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Delgado, Sarah            Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Delhamer, Brent           Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   DeLoach, Alexander        Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Deloach, Denise           Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   DeLong, Caleb             Address on file                           Unearned Revenue                                                                $           15.00


Legendary Field Exhibitions, LLC   Delozier, Robert          Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Delta Exploration         Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Demarest, Brian           Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Demarest, Christina       Address on file                           Unearned Revenue                                                                $          110.00

Legendary Field Exhibitions, LLC   Demario, Joseph           Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   DeMartino, Sean           Address on file                           Unearned Revenue                                                                $          700.00

Legendary Field Exhibitions, LLC   DeMayo, Chase             Address on file                           Unearned Revenue                                                                $       14,150.00

Legendary Field Exhibitions, LLC   Demers, Sean              Address on file                           Unearned Revenue                                                                $          320.00
Legendary Field Exhibitions, LLC   Demeter, David            Address on file                           Unearned Revenue                                                                $          320.00
Legendary Field Exhibitions, LLC   Demonaco, Tracy           Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Dempsey, Mitch            Address on file                           Unearned Revenue                                                                $          360.00
                                                                                                                                                                                                           19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 96 of




                                                                                                                                                Page 45 of 202
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                                    Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name              Address           Last 4 Date Debt   Trade, Debt / Note          Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                          Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                          Account Incurred,                                                                       offset?
                                                                                          Number Basis for
                                                                                                    Claim
Legendary Field Exhibitions, LLC   Denardo, Matthew                 Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Dencker, Kyle                    Address on file                           Unearned Revenue                                                                $           66.00
Legendary Field Exhibitions, LLC   Denempont, Geoffrey              Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Denmark, Summer                  Address on file                           Unearned Revenue                                                                $           33.00

Legendary Field Exhibitions, LLC   Dennard, Bakari                  Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Denney, Danielle                 Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Dennis, Adam                     Address on file                           Unearned Revenue                                                                $           25.00
Legendary Field Exhibitions, LLC   Dental Choice holdings LLC       10100 Linn Station                        Trade                                                                           $        7,750.00
                                                                    Road
                                                                    Louisville KY 40223
Legendary Field Exhibitions, LLC   Denton, Jamie                    Address on file                           Unearned Revenue                                                                $           15.00


Legendary Field Exhibitions, LLC   DePasqual, Ryan                  Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   Deppe, john                      Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Derby, Jason                     Address on file                           Unearned Revenue                                                                $           40.00
Legendary Field Exhibitions, LLC   Derico, Stacey                   Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   DeRouen, BK                      Address on file                           Unearned Revenue                                                                $          222.00

Legendary Field Exhibitions, LLC   Derrick, Jessica                 7492 S Francesco                          Trade                                                                           $          665.00
                                                                    Way Apt F201,
                                                                    Midvale, UT 84047
Legendary Field Exhibitions, LLC   D'Errico, Tyler                  Address on file                           Unearned Revenue                                                                $          110.00
Legendary Field Exhibitions, LLC   DeSantis, Michael                Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   DESERET DIGITAL MEDIA Inc.       55 North 300 West                         Trade                                                                           $       27,206.00
                                   (dba KSL.com, Deseretnews.com,   Suite 450
                                   DDM, Utah.com)                   Salt Lake City UT
                                                                                                                                                                                                                                                         269




                                                                    84101
Legendary Field Exhibitions, LLC   Deshaies, Lorraine               Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Desloge, Elizabeth H.            Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Despain, Kelsi                   Address on file                           Unearned Revenue                                                                $          114.00


Legendary Field Exhibitions, LLC   Detharidge, Nathan               Address on file                           Unearned Revenue                                                                $          105.00
Legendary Field Exhibitions, LLC   Detiveaux, Floyd                 Address on file                           Unearned Revenue                                                                $           65.00

Legendary Field Exhibitions, LLC   Detro, Kristy                    Address on file                           Unearned Revenue                                                                $           22.00
Legendary Field Exhibitions, LLC   devereux, brian                  Address on file                           Unearned Revenue                                                                $           75.00


Legendary Field Exhibitions, LLC   Devine, Kristin                  Address on file                           Unearned Revenue                                                                $           39.00

Legendary Field Exhibitions, LLC   Devno, James                     Address on file                           Unearned Revenue                                                                $           55.00

Legendary Field Exhibitions, LLC   Devonis, Zach                    Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Devries, Edward                  Address on file                           Unearned Revenue                                                                $           66.00



Legendary Field Exhibitions, LLC   DeVries, Eric                    Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Dews, Joshua                     Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Dex Imaging                      PO Box 17299                              Trade                                                                           $        1,745.58
                                                                    Clearwater FL
                                                                    33762-0299
Legendary Field Exhibitions, LLC   Dezell, marshall                 Address on file                           Unearned Revenue                                                                $           10.00

Legendary Field Exhibitions, LLC   Di Prinzio, Janet                Address on file                           Unearned Revenue                                                                $          750.00

Legendary Field Exhibitions, LLC   Dial, Patricia                   Address on file                           Unearned Revenue                                                                $          280.00

Legendary Field Exhibitions, LLC   Dial, Rachel                     Address on file                           Unearned Revenue                                                                $          140.00


Legendary Field Exhibitions, LLC   Diamond Resorts                  Address on file                           Unearned Revenue                                                                $        4,200.00

Legendary Field Exhibitions, LLC   Diamond, Tina                    Address on file                           Unearned Revenue                                                                $           25.00
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 97 of




                                                                                                                                                       Page 46 of 202
                                                                                     In re Legendary Field Exhibitions, LLC
                                                                                                     Case No.
                                                                       Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                           Creditor Name              Address          Last 4 Date Debt   Trade, Debt / Note           Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                            Digits of  was    Payable (Type of Claim)                                               subject to
                                                                                            Account Incurred,                                                                        offset?
                                                                                            Number Basis for
                                                                                                      Claim
Legendary Field Exhibitions, LLC   Diaz Granados, William             Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Diaz Jr, Gabriel                   Address on file                            Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Diaz Moore, Laura                  Address on file                            Unearned Revenue                                                                $           78.00

Legendary Field Exhibitions, LLC   Diaz, Analicia                     Address on file                            Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Diaz, Angel                        Address on file                            Unearned Revenue                                                                $          132.00

Legendary Field Exhibitions, LLC   Diaz, Charlie                      Address on file                            Unearned Revenue                                                                $           10.00
Legendary Field Exhibitions, LLC   Diaz, Desiree                      Address on file                            Unearned Revenue                                                                $           91.50

Legendary Field Exhibitions, LLC   Diaz, Diane                        Address on file                            Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Diaz, Felix                        Address on file                            Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Diaz, Jaime                        Address on file                            Unearned Revenue                                                                $           15.00
Legendary Field Exhibitions, LLC   Diaz, Jana                         Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   diaz, john                         Address on file                            Unearned Revenue                                                                $          111.00
Legendary Field Exhibitions, LLC   Diaz, Randy                        Address on file                            Unearned Revenue                                                                $           81.00
Legendary Field Exhibitions, LLC   Diaz, Raul                         Address on file                            Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Diaz, Robert                       Address on file                            Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Diaz, Ryan                         Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   DiCarlo, Joe                       Address on file                            Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Dickens, James                     Address on file                            Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Dickenshied, Scott                 Address on file                            Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Dickerson, Michael                 Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Dickey Broadcasting Company          P.O Box 117199                           Trade                                                                           $       31,600.00
                                                                        Atlanta GA 30368-
                                                                        7199
                                                                                                                                                                                                                                                            269




Legendary Field Exhibitions, LLC   Dicon dba Private Diagnostic Clinic, PO Box 102359                            Trade                                                                           $        1,005.25
                                   PLLC                                 Durham NC 27710
Legendary Field Exhibitions, LLC   Diegel, Lee                          Address on file                          Unearned Revenue                                                                $          410.00

Legendary Field Exhibitions, LLC   Diem, Jeremy                       Address on file                            Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Diener, Ryan                       Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Dietz Tractor Company              Address on file                            Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Difilippo, William                 Address on file                            Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Dillard Door                       Address on file                            Unearned Revenue                                                                $          130.00

Legendary Field Exhibitions, LLC   Dillard, Tiffany                   Address on file                            Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Dillon, Steven                     Address on file                            Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Dilts, A Eileen                    Address on file                            Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Dilworth, Wayne                    Address on file                            Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Dimaculangan, Chris                Address on file                            Unearned Revenue                                                                $           10.00
Legendary Field Exhibitions, LLC   Dinneen, Jessica                   Address on file                            Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Dinsmore, George                   Address on file                            Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Diorio, RaeLynn                    Address on file                            Unearned Revenue                                                                $           34.00
Legendary Field Exhibitions, LLC   Disandro, Jesse                    Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Discount Tire                      Address on file                            Unearned Revenue                                                                $          500.00

Legendary Field Exhibitions, LLC   Disharoon, Larry D.                Address on file                            Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Dishong, Donald                    Address on file                            Unearned Revenue                                                                $        1,192.00

Legendary Field Exhibitions, LLC   Divila, Marvin                     Address on file                            Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Dix, Adrian                        Address on file                            Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Dixie Pickers                      Address on file                            Unearned Revenue                                                                $           70.00
                                                                                                                                                                                                                     19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 98 of




                                                                                                                                                          Page 47 of 202
                                                                                   In re Legendary Field Exhibitions, LLC
                                                                                                   Case No.
                                                                     Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name               Address           Last 4 Date Debt   Trade, Debt / Note          Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                           Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                           Account Incurred,                                                                       offset?
                                                                                           Number Basis for
                                                                                                     Claim
Legendary Field Exhibitions, LLC   Dixon, Don                        Address on file                           Unearned Revenue                                                                $          150.00



Legendary Field Exhibitions, LLC   Dixon, Kevin                      Address on file                           Unearned Revenue                                                                $          270.00


Legendary Field Exhibitions, LLC   Dixon, Thomas                     Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Dixon, Tim                        Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   DJO, LLC                          PO Box 650777                             Trade                                                                           $       55,692.05
                                                                     Dallas TX 75265
Legendary Field Exhibitions, LLC   DLA Piper LLP                     PO Box 75190                              Trade                                                                           $        6,000.00
                                                                     Baltimore MD
                                                                     21275
Legendary Field Exhibitions, LLC   DMS Color - Digital Marketing     273 Cahaba Valley                         Trade                                                                           $       11,271.18
                                   Services Inc                      Parkway
                                                                     Pelham AL 35124
Legendary Field Exhibitions, LLC   Dobbins, Tim                      Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Dobry, Kristina                   Address on file                           Unearned Revenue                                                                $          320.00



Legendary Field Exhibitions, LLC   Dobson, Matthew                   Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   DOCUmation                        Address on file                           Unearned Revenue                                                                $        2,070.00


Legendary Field Exhibitions, LLC   Documation, Inc. dba Documation   4560 Lockhill Selma                       Trade                                                                           $          497.95
                                   of San Antonio                    Suite 100
                                                                     San Antonio TX
                                                                     78249

Legendary Field Exhibitions, LLC   Dodd, Jonathan                    Address on file                           Unearned Revenue                                                                $           25.00
                                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   Dodson, Arthur                    Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Doerr, Ryan                       Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   dolan, robert                     Address on file                           Unearned Revenue                                                                $           44.00
Legendary Field Exhibitions, LLC   Dolce, Francis                    Address on file                           Unearned Revenue                                                                $          216.00

Legendary Field Exhibitions, LLC   Dollente, Eldwin                  Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Dollison, David                   Address on file                           Unearned Revenue                                                                $           55.50

Legendary Field Exhibitions, LLC   Domier, Gina                      Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Domineck, Victoria                Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Dominguez, Daniel                 Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Dominguez, Dario                  Address on file                           Unearned Revenue                                                                $           41.00

Legendary Field Exhibitions, LLC   Dominguez, John                   Address on file                           Unearned Revenue                                                                $          105.00

Legendary Field Exhibitions, LLC   Dominguez, Roger                  Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   Dominguez, Ruben                  Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Donahoe, Chris                    Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Donahue, Charles                  Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   DONEHOO, GLENN                    Address on file                           Unearned Revenue                                                                $          116.00
Legendary Field Exhibitions, LLC   Donley, John                      Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Donnellan, Brendan                Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Donohue, Raymond                  Address on file                           Unearned Revenue                                                                $          300.00
Legendary Field Exhibitions, LLC   Donovan, Willson                  Address on file                           Unearned Revenue                                                                $           10.00

Legendary Field Exhibitions, LLC   Dooley, John                      Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   Doria, Vincent                    Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Dorminy, Rick                     Address on file                           Unearned Revenue                                                                $          112.00
                                                                                                                                                                                                                   19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 99 of




                                                                                                                                                        Page 48 of 202
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                                    Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name            Address            Last 4 Date Debt   Trade, Debt / Note         Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                           Digits of  was    Payable (Type of Claim)                                             subject to
                                                                                           Account Incurred,                                                                      offset?
                                                                                           Number Basis for
                                                                                                     Claim
Legendary Field Exhibitions, LLC   Dornan, Kris                     Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Dorosan, Henry                   Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Doster, Kent                     Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Doster, Tommy                    Address on file                           Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Dotson, Carter                   Address on file                           Unearned Revenue                                                                $           10.00
Legendary Field Exhibitions, LLC   Dotson, Connor                   Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Doty, Will                       Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Doucette, Brandon                Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Doucette, Mark                   Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Dougher, Matt                    Address on file                           Unearned Revenue                                                                $           80.00


Legendary Field Exhibitions, LLC   Dougherty, Kevin                 Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Dougherty, Mike                  Address on file                           Trade                                                                           $          500.00

Legendary Field Exhibitions, LLC   Dougherty, Patrick               Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Douglas, Curt                    Address on file                           Unearned Revenue                                                                $          144.00
Legendary Field Exhibitions, LLC   Douglas, Dean                    Address on file                           Unearned Revenue                                                                $          850.00

Legendary Field Exhibitions, LLC   Dovalina, Juan                   Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Dove, Nick                       Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Dow, Michael                     Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   DOWCO Construction               Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Dowden, Joseph                   Address on file                           Unearned Revenue                                                                $          150.00
                                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   Dowhan, Sapphire                 Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Dowling, James                   Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Down In Front Productions, LLC   1318 Alford Ave,                          Trade                                                                           $       17,850.00
                                                                    Suite 201
                                                                    Hoover AL 35226
Legendary Field Exhibitions, LLC   Downey, Carolyn                  Address on file                           Unearned Revenue                                                                $          250.00


Legendary Field Exhibitions, LLC   Downing, Brian                   Address on file                           Unearned Revenue                                                                $          700.00

Legendary Field Exhibitions, LLC   Downing, Michael                 Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Downs, Nicholas                  Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Downtown Tempe Authority         310 S. Mill Ave,                          Trade                                                                           $          116.00
                                                                    Suite A-201
                                                                    Tempe AZ 85281
Legendary Field Exhibitions, LLC   Dr ricardo diaz                  Address on file                           Unearned Revenue                                                                $          410.00

Legendary Field Exhibitions, LLC   Dr. Jill's Foot Pads, Inc.       384 S Military Trail                      Trade                                                                           $       16,125.75
                                                                    Deerfield Beach FL
                                                                    33442
Legendary Field Exhibitions, LLC   Drake, June                      Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Drake, Lauren                    Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Drake, Thomas                    Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Draper, Rebecca                  Address on file                           Unearned Revenue                                                                $           30.50

Legendary Field Exhibitions, LLC   Drash, Gloria                    Address on file                           Unearned Revenue                                                                $           10.00

Legendary Field Exhibitions, LLC   Dreesbach, Scott                 Address on file                           Unearned Revenue                                                                $          153.00
Legendary Field Exhibitions, LLC   Driggers, Danny                  Address on file                           Unearned Revenue                                                                $          440.00

Legendary Field Exhibitions, LLC   Dringle, Brandon                 Address on file                           Unearned Revenue                                                                $           96.00

Legendary Field Exhibitions, LLC   Drive Marketing dna Drive        8689 S 700 W                              Trade                                                                           $        1,535.19
                                   Fulfillment / DNA Cycling        Sandy UT 84070
Legendary Field Exhibitions, LLC   Drotts, Aaron                    Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   drushel, ryan                    Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 100 of




                                                                                                                                                       Page 49 of 202
                                                                               In re Legendary Field Exhibitions, LLC
                                                                                               Case No.
                                                                 Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                           Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                     Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                     Account Incurred,                                                                         offset?
                                                                                     Number Basis for
                                                                                               Claim
Legendary Field Exhibitions, LLC   Dryer, Peter                  Address on file                           Unearned Revenue                                                                $           49.00

Legendary Field Exhibitions, LLC   Drzycimski, Jeffrey           Address on file                           Unearned Revenue                                                                $          110.00

Legendary Field Exhibitions, LLC   DTN, LLC                      26385 Network                             Trade                                                                           $        2,999.04
                                                                 Place
                                                                 Chicago IL 60673-
                                                                 1263
Legendary Field Exhibitions, LLC   Duarte, Mario                 Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Duarte, Robert                Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Duarte, Sergio                Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   DuBrucq, John                 Address on file                           Unearned Revenue                                                                $           15.00
Legendary Field Exhibitions, LLC   Duby, Brian                   Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Ducharme, Daniel              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Dudley, Matthew               Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Duenez, Ernest                Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Duff, Elisa                   Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   Duff, Thomas                  Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Duffield, David               Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Duffin, David                 Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Duffy, Alicia                 Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Dufrane, Taylor               Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   Dukes, Roddy                  Address on file                           Unearned Revenue                                                                $          170.00

Legendary Field Exhibitions, LLC   Dulak, Yvonne                 Address on file                           Unearned Revenue                                                                $          170.00

Legendary Field Exhibitions, LLC   Dumac, LLC                    2837 S. 600 W                             Trade                                                                           $        1,498.45
                                                                 Salt Lake City UT
                                                                 84115
Legendary Field Exhibitions, LLC   Dumas Sr., Mike               Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Dumas, Takesha                Address on file                           Unearned Revenue                                                                $          153.00
Legendary Field Exhibitions, LLC   Dumler, Russell               Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Dumond, Cortlin               Address on file                           Unearned Revenue                                                                $          190.00


Legendary Field Exhibitions, LLC   Dunbar, Mark                  Address on file                           Unearned Revenue                                                                $          210.00

Legendary Field Exhibitions, LLC   Dunbar, Michael               Address on file                           Unearned Revenue                                                                $          190.00

Legendary Field Exhibitions, LLC   Dunbar, Timothy N.            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Duncan, Aren                  Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Duncan, Bob                   Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Duncan, Dave                  Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   duncan, mary                  Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Duncan, Robert "BOB"          Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Duncan, Ronald                Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Dunham, Aimee                 Address on file                           Unearned Revenue                                                                $           10.00
Legendary Field Exhibitions, LLC   Dunham, Bryan                 Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Dunham, Richard               Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Dunivan, John                 Address on file                           Unearned Revenue                                                                $            0.02
Legendary Field Exhibitions, LLC   Dunlap, Anita                 Address on file                           Unearned Revenue                                                                $           31.28
Legendary Field Exhibitions, LLC   Dunn, Benjamin                Address on file                           Unearned Revenue                                                                $           25.00


Legendary Field Exhibitions, LLC   Dunn, Beth                    Address on file                           Unearned Revenue                                                                $        3,500.00
                                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 101 of




                                                                                                                                                    Page 50 of 202
                                                                           In re Legendary Field Exhibitions, LLC
                                                                                           Case No.
                                                             Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                 Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                 Account Incurred,                                                                         offset?
                                                                                 Number Basis for
                                                                                           Claim
Legendary Field Exhibitions, LLC   Dunn, Christopher         Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Dunn, Dennis              Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Dunn, James               Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Dunn, Jennifer            Address on file                           Unearned Revenue                                                                $           62.56
Legendary Field Exhibitions, LLC   Dunn, Mark                Address on file                           Unearned Revenue                                                                $           44.00
Legendary Field Exhibitions, LLC   Dunn, Summer              Address on file                           Unearned Revenue                                                                $           38.00

Legendary Field Exhibitions, LLC   DUNN, TERRELL             Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Dunn, Tom                 Address on file                           Unearned Revenue                                                                $          420.00

Legendary Field Exhibitions, LLC   Dunn, Zackery             Address on file                           Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   Duran, Andy               Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Duran, Danny              Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Duran, Ernie              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Duran, Fernando           Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Durand, Damian            Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Durham, Melissa           Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Durham, Nancy             Address on file                           Unearned Revenue                                                                $           10.00
Legendary Field Exhibitions, LLC   Durler, Jeff              Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Durment, Kristie          Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Durnen, Leo               Address on file                           Unearned Revenue                                                                $          210.00

Legendary Field Exhibitions, LLC   Duron, Deborah            Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Dussault, Stefanie        Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Dvornik, Mark             Address on file                           Unearned Revenue                                                                $          200.00
                                                                                                                                                                                                                                                   269




Legendary Field Exhibitions, LLC   DVSport, Inc.             1 Penn Center                             Trade                                                                           $       39,000.00
                                                             West, Suite 200
                                                             Pittsburgh PA
                                                             15276
Legendary Field Exhibitions, LLC   Dwyer, Terrance           Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Dycus, Christopher        Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Dymond, Bill              Address on file                           Unearned Revenue                                                                $          280.00

Legendary Field Exhibitions, LLC   Eagle, Nicholas           Address on file                           Unearned Revenue                                                                $          150.00
Legendary Field Exhibitions, LLC   Eakman, Angela            Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Eames, Joanne             Address on file                           Unearned Revenue                                                                $          392.00

Legendary Field Exhibitions, LLC   Eames, Tanya              Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Earl, Brian               Address on file                           Unearned Revenue                                                                $        2,500.00

Legendary Field Exhibitions, LLC   Earnest, Cindy            Address on file                           Unearned Revenue                                                                $           40.00
Legendary Field Exhibitions, LLC   Eason, Kierra             Address on file                           Unearned Revenue                                                                $           31.28
Legendary Field Exhibitions, LLC   Eaton, Stephen            Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Ebersbach, Eric           Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   Ebert, Louise             Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Eccles, Dane              Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Eckel, Charles            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Eckel, Thomas             Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Eckel, William            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Eckert, Robert            Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Ecklord, Ryan             Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Eckman, Dale              Address on file                           Unearned Revenue                                                                $          300.00
                                                                                                                                                                                                           19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 102 of




                                                                                                                                                Page 51 of 202
                                                                                     In re Legendary Field Exhibitions, LLC
                                                                                                     Case No.
                                                                       Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                           Creditor Name              Address          Last 4 Date Debt   Trade, Debt / Note           Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                            Digits of  was    Payable (Type of Claim)                                               subject to
                                                                                            Account Incurred,                                                                        offset?
                                                                                            Number Basis for
                                                                                                      Claim
Legendary Field Exhibitions, LLC   eClinicalWorks LLC                    P.O Box 847950                          Trade                                                                           $      121,433.50
                                                                         Boston MA 02284-
                                                                         7950
Legendary Field Exhibitions, LLC   Ecological Consulting Solutions, Inc. Address on file                         Unearned Revenue                                                                $          320.00


Legendary Field Exhibitions, LLC   Eddleman, Heidi                     1176 Weiner Rd,                           Trade                                                                           $          695.00
                                                                       Memphis, TN 38122

Legendary Field Exhibitions, LLC   Edgar, David                        Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Edison, Steven                      Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Edler, Randy                        Address on file                           Unearned Revenue                                                                $          395.00

Legendary Field Exhibitions, LLC   Edward Lepp dba Leppdesign, LLC     320 North                                 Trade                                                                           $        4,500.00
                                                                       Shadowwood Drive
                                                                       St. Augustine FL
                                                                       32086
Legendary Field Exhibitions, LLC   Edwards, Bruce                      Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Edwards, Chris                      Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Edwards, James                      Address on file                           Unearned Revenue                                                                $           44.00
Legendary Field Exhibitions, LLC   Edwards, John                       Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Edwards, Ralph                      Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Edwards, Shane                      Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   EEG Enterprises, Inc.               586 Main Street                           Trade                                                                           $       79,074.83
                                                                       Farmingdale NY
                                                                       11735
Legendary Field Exhibitions, LLC   Efron, Barry                        Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Egan, Melanie                       Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Egolinsky, Shana                    Address on file                           Unearned Revenue                                                                $           50.00
                                                                                                                                                                                                                                                             269




Legendary Field Exhibitions, LLC   Egwuekwe, Pamela                    Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Ehlers, Chad                        Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Eichberger, Scott                   Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Eichorn, Bob L.                     Address on file                           Unearned Revenue                                                                $          440.00

Legendary Field Exhibitions, LLC   Eide, David                         Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Eiermann, John                      Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Eiler, Harrison                     Address on file                           Unearned Revenue                                                                $           78.00

Legendary Field Exhibitions, LLC   El-Amin, Tamara                     Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Eldridge, James                     Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Elem, Shermarco                     Address on file                           Unearned Revenue                                                                $           15.00


Legendary Field Exhibitions, LLC   Eletto, Robin                       Address on file                           Unearned Revenue                                                                $          520.00

Legendary Field Exhibitions, LLC   Elguira, Irene                      Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Elior, Inc. dba Aladdin Food        16567 Collections                         Trade                                                                           $       37,125.00
                                   Management Services, LLC            Center Drive
                                                                       Chicago IL 60693
Legendary Field Exhibitions, LLC   elisara, tricia                     Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Elizardo, Alfred                    Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Elizarraraz, KATHLEEN               Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Elizondo, Patrick                   Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Ellen, Jeff                         Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Eller, Josh                         Address on file                           Unearned Revenue                                                                $          115.00

Legendary Field Exhibitions, LLC   Ellerson, Chandra                   Address on file                           Unearned Revenue                                                                $           15.64
Legendary Field Exhibitions, LLC   Elliott, Benjamin                   Address on file                           Unearned Revenue                                                                $          420.00

Legendary Field Exhibitions, LLC   Elliott, Bryen                      Address on file                           Unearned Revenue                                                                $          200.00
                                                                                                                                                                                                                     19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 103 of




                                                                                                                                                          Page 52 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                           Creditor Name             Address           Last 4 Date Debt   Trade, Debt / Note          Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                            Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                            Account Incurred,                                                                       offset?
                                                                                            Number Basis for
                                                                                                      Claim
Legendary Field Exhibitions, LLC   Elliott, Marvin                    Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Ellis, Alex                        Address on file                           Unearned Revenue                                                                $          325.00

Legendary Field Exhibitions, LLC   Ellis, Ashley                      Address on file                           Unearned Revenue                                                                $          120.00


Legendary Field Exhibitions, LLC   Ellis, Brad                        Address on file                           Unearned Revenue                                                                $          410.00

Legendary Field Exhibitions, LLC   Ellis, Bridget                     Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   ellis, david                       Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Ellis, Doc                         Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Ellis, James                       Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Ellis, Melissa                     Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Ellis, Merrill                     Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Ellison, Gwendolyn                 Address on file                           Unearned Revenue                                                                $          210.00

Legendary Field Exhibitions, LLC   Elmer, David and Danielle          Address on file                           Unearned Revenue                                                                $           38.00

Legendary Field Exhibitions, LLC   Eloi, Dina                         Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   elrod, lucas                       Address on file                           Unearned Revenue                                                                $          123.00
Legendary Field Exhibitions, LLC   Elser, Christian                   Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Ely, David                         Address on file                           Unearned Revenue                                                                $          250.00


Legendary Field Exhibitions, LLC   EM Printing                        Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   EM Printing, LLC                   3081 Bartlett                             Trade                                                                           $       11,908.00
                                                                      Corporate Dr.
                                                                      Bartlett TN 38133
Legendary Field Exhibitions, LLC   Embassy Suites Atlanta Buckhead    Address on file                           Unearned Revenue                                                                $           50.00
                                                                                                                                                                                                                                                            269




Legendary Field Exhibitions, LLC   Embassy Suites by Hilton Atlanta   3285 Peachtree Rd                         Trade                                                                           $       21,816.37
                                   Buckhead                           NE
                                                                      Atlanta, GA 30305
Legendary Field Exhibitions, LLC   Embassy Suites by Hilton South     10333 South Jordan                        Trade                                                                           $      115,009.75
                                   Jordan Salt Lake City              Gateway
                                                                      South Jordan UT
                                                                      84095
Legendary Field Exhibitions, LLC   Embassy Suites San Antonio         5615 Landmark                             Trade                                                                           $      439,838.52
                                   Landmark                           Parkway
                                                                      San Antonio TX
                                                                      78249
Legendary Field Exhibitions, LLC   Embassy Suites San Antonio         125 East Houston                          Trade                                                                           $      133,158.63
                                   Riverwalk Downtown                 St.
                                                                      San Antonio TX
                                                                      78205
Legendary Field Exhibitions, LLC   Embly, Margaret                    Address on file                           Unearned Revenue                                                                $          228.00

Legendary Field Exhibitions, LLC   Emm, Mylan                         Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Encarnacion, Jackie                Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Encina, Jason                      Address on file                           Unearned Revenue                                                                $          157.50

Legendary Field Exhibitions, LLC   Encore Event Technologies          One North Arlington                       Trade                                                                           $        8,668.23
                                                                      1500 West Shure
                                                                      Drive, Suite 175
                                                                      Arlington Heights,
                                                                      Illinois 60004
Legendary Field Exhibitions, LLC   Enfold I.T.                        435 Lancaster St                          Trade                                                                           $        3,575.00
                                                                      Ste 350
                                                                      Leominster, MA
                                                                      01453
Legendary Field Exhibitions, LLC   Engel, David                       Address on file                           Unearned Revenue                                                                $          570.00

Legendary Field Exhibitions, LLC   England, Gary                      Address on file                           Unearned Revenue                                                                $           76.00


Legendary Field Exhibitions, LLC   Engle , Justin                     Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   english, elizaberh                 Address on file                           Unearned Revenue                                                                $           72.00
Legendary Field Exhibitions, LLC   English, Michael                   Address on file                           Unearned Revenue                                                                $          216.00

Legendary Field Exhibitions, LLC   Engstrand, William                 Address on file                           Unearned Revenue                                                                $          170.00
                                                                                                                                                                                                                    19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 104 of




                                                                                                                                                         Page 53 of 202
                                                                                In re Legendary Field Exhibitions, LLC
                                                                                                Case No.
                                                                  Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name            Address           Last 4 Date Debt   Trade, Debt / Note           Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                       Digits of  was    Payable (Type of Claim)                                               subject to
                                                                                       Account Incurred,                                                                        offset?
                                                                                       Number Basis for
                                                                                                 Claim
Legendary Field Exhibitions, LLC   Enos, Scott                   Address on file                            Unearned Revenue                                                                $          320.00


Legendary Field Exhibitions, LLC   Enright, John                 Address on file                            Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Enriquez, Jennifer            Address on file                            Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Entercom Atlanta dba WSTR,    PO Box 74093                               Trade                                                                           $       16,410.00
                                   WZGC, WVEE, WAOK, DIG Atlanta Cleveland OH
                                                                 44194-0159
Legendary Field Exhibitions, LLC   Entercom Tennessee LLC        1835 Moriah Woods                          Trade                                                                           $       11,656.00
                                                                 Blvd
                                                                 Suite 1
                                                                 Memphis TN 38117
Legendary Field Exhibitions, LLC   Episcopo, Peter               Address on file                            Unearned Revenue                                                                $          190.00

Legendary Field Exhibitions, LLC   Eppinger, Andrew              Address on file                            Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   Ericksen, Faith               Address on file                            Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Erickson, Brent               Address on file                            Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Ernst, Michelle               Address on file                            Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Ervin, Thomas                 Address on file                            Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   Erwin, Andrew                 Address on file                            Unearned Revenue                                                                $           22.00

Legendary Field Exhibitions, LLC   Erwin, Brent                  Address on file                            Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   escamilla, rey                Address on file                            Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   ESCOBAR, Hilda                Address on file                            Unearned Revenue                                                                $           61.00
Legendary Field Exhibitions, LLC   Escobedo, Reuben              Address on file                            Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Escondido Golf Cart Center    124 Market Place S.                        Trade                                                                           $        1,675.00
                                                                                                                                                                                                                                                        269




                                                                 #400
                                                                 Escondido, CA
                                                                 92029
Legendary Field Exhibitions, LLC   Espanol, Eddie                Address on file                            Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Esparza, Jacob                Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Esparza, Orlando              Address on file                            Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Esperon, Wilfredo             Address on file                            Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Espinal, John                 Address on file                            Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Espinosa, Antonio             Address on file                            Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Espinosa, Ernest              Address on file                            Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   ESPINOZA II, EUGENIO          Address on file                            Unearned Revenue                                                                $          121.50
Legendary Field Exhibitions, LLC   Espinoza, Alicia              Address on file                            Unearned Revenue                                                                $           30.50
Legendary Field Exhibitions, LLC   ESPINOZA, RAFAEL              Address on file                            Unearned Revenue                                                                $           10.00

Legendary Field Exhibitions, LLC   Esqueda, Christian            Address on file                            Unearned Revenue                                                                $           40.00
Legendary Field Exhibitions, LLC   Esquivel, Chasity             Address on file                            Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Esquivel, Pepe                Address on file                            Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Esser, Connie                 Address on file                            Unearned Revenue                                                                $        2,250.00


Legendary Field Exhibitions, LLC   Estep, Luis                   Address on file                            Unearned Revenue                                                                $        1,200.00

Legendary Field Exhibitions, LLC   Estopare, Ronald              Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Estrada, Bob                  Address on file                            Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Estrada, Isaac                Address on file                            Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Estrada, Letty                Address on file                            Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Estrada, Luz                  Address on file                            Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Estrada, Veronica             Address on file                            Unearned Revenue                                                                $           40.50
Legendary Field Exhibitions, LLC   Etheridge, Felecia            Address on file                            Unearned Revenue                                                                $          410.00
                                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 105 of




                                                                                                                                                     Page 54 of 202
                                                                             In re Legendary Field Exhibitions, LLC
                                                                                             Case No.
                                                               Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name         Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                   Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                   Account Incurred,                                                                         offset?
                                                                                   Number Basis for
                                                                                             Claim
Legendary Field Exhibitions, LLC   Etheridge, Jarrod           Address on file                           Unearned Revenue                                                                $          195.00

Legendary Field Exhibitions, LLC   Ethridge, Brittany          Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Eubank, Alicia              Address on file                           Unearned Revenue                                                                $          150.00
Legendary Field Exhibitions, LLC   Eubanks, Rodney             Address on file                           Unearned Revenue                                                                $           35.00


Legendary Field Exhibitions, LLC   Eustis, George              Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Evander, Brian              Address on file                           Unearned Revenue                                                                $          140.00


Legendary Field Exhibitions, LLC   Evangelist, John            Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Evans, Jeremy               Address on file                           Unearned Revenue                                                                $           15.00


Legendary Field Exhibitions, LLC   Evans, Joe P                Address on file                           Unearned Revenue                                                                $          470.00

Legendary Field Exhibitions, LLC   Evans, Kristin              430 W Bay St,                             Trade                                                                           $        5,130.00
                                                               Winter Garden, FL
                                                               34787
Legendary Field Exhibitions, LLC   Evans, Michael              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Evans, Robert               Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Evans, Samantha             Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   Evans, Shaun                Address on file                           Unearned Revenue                                                                $           38.00

Legendary Field Exhibitions, LLC   Evans, Zach                 Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Evitt, Vernon               Address on file                           Unearned Revenue                                                                $           45.00


Legendary Field Exhibitions, LLC   Ewoldc, Shona               Address on file                           Unearned Revenue                                                                $           40.00
                                                                                                                                                                                                                                                     269




Legendary Field Exhibitions, LLC   exhibit experts             4012 East                                 Trade                                                                           $       47,977.54
                                                               Broadway
                                                               Suite 307
                                                               Phoenix AZ 85040
Legendary Field Exhibitions, LLC   ExpandaBrand, Inc           1005 Alderman Dr.                         Trade                                                                           $          635.00
                                                               Suite 205
                                                               Alpharetta GA
                                                               30005
Legendary Field Exhibitions, LLC   Express KCS                 440 Wheelers Farm                         Trade                                                                           $        5,032.86
                                                               Rd
                                                               Milford, CT 06461
Legendary Field Exhibitions, LLC   EyeKing                     10 HUB Drive Ste                          Trade                                                                           $          511.76
                                                               104
                                                               Melville NY 11747
Legendary Field Exhibitions, LLC   Eytalis, Charles            Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Ezzet, Kace                 Address on file                           Unearned Revenue                                                                $          200.00
Legendary Field Exhibitions, LLC   F&F Productions             14333 Myerlake                            Trade                                                                           $      104,108.81
                                                               Circle
                                                               Clearwater FL
                                                               33760
Legendary Field Exhibitions, LLC   Fabrey, Robert              Address on file                           Unearned Revenue                                                                $           40.00
Legendary Field Exhibitions, LLC   FABROW, MARY                Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Factor, Emily               Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Facundo, Iris Trevino       Address on file                           Unearned Revenue                                                                $          121.50
Legendary Field Exhibitions, LLC   Fadeley, Jennifer           Address on file                           Unearned Revenue                                                                $          370.00


Legendary Field Exhibitions, LLC   Faesser, Andy               Address on file                           Unearned Revenue                                                                $           16.00
Legendary Field Exhibitions, LLC   Fair, Julie                 Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   fair, meredith              Address on file                           Unearned Revenue                                                                $           45.00


Legendary Field Exhibitions, LLC   FAIRFIELD INN & SUITES BY   1319 E. King Ave.                         Trade                                                                           $       14,657.25
                                   MARRIOTT KINGSLAND          Kingsland GA
                                                               31584
Legendary Field Exhibitions, LLC   Fajardo, Frankie            Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Falgoust, Dudley            Address on file                           Unearned Revenue                                                                $           50.00
                                                                                                                                                                                                             19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 106 of




                                                                                                                                                  Page 55 of 202
                                                                             In re Legendary Field Exhibitions, LLC
                                                                                             Case No.
                                                               Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                         Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                   Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                   Account Incurred,                                                                         offset?
                                                                                   Number Basis for
                                                                                             Claim
Legendary Field Exhibitions, LLC   Falk, Amy                   Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Falk, Nathan                Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Falk, Tony                  Address on file                           Unearned Revenue                                                                $          190.00

Legendary Field Exhibitions, LLC   Falls, Morgan               Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Fanchi, Anthony             Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Farias, Richard             Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Farinholt, Brown            Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Faris, Warren               Address on file                           Unearned Revenue                                                                $          180.00

Legendary Field Exhibitions, LLC   Farkas, Barbars             Address on file                           Trade                                                                           $          250.00
Legendary Field Exhibitions, LLC   Farless, Patricia           Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Farley, Barry               Address on file                           Unearned Revenue                                                                $          240.00

Legendary Field Exhibitions, LLC   Farley, Markel              Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Farley, Richard             Address on file                           Unearned Revenue                                                                $           15.00


Legendary Field Exhibitions, LLC   Farmer, Daniel              Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Farmer, JANICE              Address on file                           Unearned Revenue                                                                $           31.28

Legendary Field Exhibitions, LLC   Farmer, John                Address on file                           Unearned Revenue                                                                $           65.00

Legendary Field Exhibitions, LLC   Farmer, Kierstan            Address on file                           Unearned Revenue                                                                $           15.64
Legendary Field Exhibitions, LLC   Farmer, Lauren              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   farrell, blake              Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Faulkner, Terry             Address on file                           Unearned Revenue                                                                $          120.00
                                                                                                                                                                                                                                                     269




Legendary Field Exhibitions, LLC   Faustine, Ken               Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Favila, Fernando            Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Feagin, Jennifer            Address on file                           Unearned Revenue                                                                $          208.00

Legendary Field Exhibitions, LLC   Fearn, Richard              Address on file                           Unearned Revenue                                                                $          210.00

Legendary Field Exhibitions, LLC   Featherston, Grant          Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Fechner, Scott              Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   FedEx Custom Critical       P.O. Box 645123                           Trade                                                                           $       24,066.46
                                                               Pittsburgh PA
                                                               15264-5123
Legendary Field Exhibitions, LLC   feeney, sean                Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Fegley, Christopher         Address on file                           Unearned Revenue                                                                $           45.00


Legendary Field Exhibitions, LLC   Fekete, Johnny              Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Fekete, Steven              Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Felcher, Scott              Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   FELDMAN EQUITIES            P.O. Box 744876                           Trade                                                                           $       30,473.34
                                                               Atlanta GA 30374-
                                                               4876
Legendary Field Exhibitions, LLC   Feldmann, Kris              Address on file                           Unearned Revenue                                                                $          300.00
Legendary Field Exhibitions, LLC   Feldmayer, Danny            Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Feldt, Brent                Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Felger, Steve               Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Feliciano, Victor           Address on file                           Unearned Revenue                                                                $           25.00

Legendary Field Exhibitions, LLC   Felizardo, Robert           Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Felter, Joann               Address on file                           Unearned Revenue                                                                $          100.00
                                                                                                                                                                                                             19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 107 of




                                                                                                                                                  Page 56 of 202
                                                                                   In re Legendary Field Exhibitions, LLC
                                                                                                   Case No.
                                                                     Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name               Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                         Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                         Account Incurred,                                                                         offset?
                                                                                         Number Basis for
                                                                                                   Claim
Legendary Field Exhibitions, LLC   Felts, Kevin                      Address on file                           Unearned Revenue                                                                $          350.00

Legendary Field Exhibitions, LLC   Felts, Tracy                      Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Fendley, Teresa                   Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Fenechi, jeremy                   Address on file                           Unearned Revenue                                                                $           82.00
Legendary Field Exhibitions, LLC   Fennell, Jesse                    Address on file                           Unearned Revenue                                                                $          140.00


Legendary Field Exhibitions, LLC   Fenster, Jeff                     Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Fenwick & West LLP                Silicon Valley                            Trade                                                                           $          173.19
                                                                     Center
                                                                     801 California
                                                                     Street
                                                                     Mountain View CA
                                                                     94041
Legendary Field Exhibitions, LLC   Feole, Marc                       Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Feraud, Bobbi                     Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Ferguson, Courtney                Address on file                           Unearned Revenue                                                                $           40.50

Legendary Field Exhibitions, LLC   Ferguson, David                   Address on file                           Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   Ferguson, Edward                  Address on file                           Unearned Revenue                                                                $          175.00

Legendary Field Exhibitions, LLC   Ferguson, Eric                    Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Ferguson, Michael                 Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Fernald, Joshua                   Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Fernandez, Carlos                 Address on file                           Unearned Revenue                                                                $          196.00

Legendary Field Exhibitions, LLC   Fernandez, Emilio                 Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Fernandez, Jaclyn                 Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   fernung, lloyd                    Address on file                           Unearned Revenue                                                                $           70.00
                                                                                                                                                                                                                                                           269




Legendary Field Exhibitions, LLC   Ferracioli, Josh                  Address on file                           Unearned Revenue                                                                $           15.00


Legendary Field Exhibitions, LLC   Ferrante, Monique                 Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Ferrara, chris                    Address on file                           Unearned Revenue                                                                $          112.00
Legendary Field Exhibitions, LLC   Ferrara, Miguel                   Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Ferraris, Drew                    Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Ferraro, Jenny                    Address on file                           Unearned Revenue                                                                $           40.00
Legendary Field Exhibitions, LLC   Ferrel, Gregorio                  Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   ferrell copeland, misty           Address on file                           Unearned Revenue                                                                $           61.00
Legendary Field Exhibitions, LLC   Ferrell, Lori                     Address on file                           Unearned Revenue                                                                $           74.00

Legendary Field Exhibitions, LLC   Ferrer, Joshua                    Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Ferryman, Jim                     Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   FESSENDEN, MICHAEL                Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Feuerman, Ashley                  Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Fick, Hunter                      Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Fidelis Bookkeeping and Payroll   Address on file                           Unearned Revenue                                                                $          100.00
                                   Services

Legendary Field Exhibitions, LLC   Fields, Joy Lynn                  Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Fields, Tony                      Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Figler, Jeff                      Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Figueroa Jr, Richard              Address on file                           Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Figueroa, Anthony                 Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Figueroa, Chris                   Address on file                           Unearned Revenue                                                                $           80.00
Legendary Field Exhibitions, LLC   Figueroa, Dylan                   Address on file                           Unearned Revenue                                                                $           60.00
                                                                                                                                                                                                                   19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 108 of




                                                                                                                                                        Page 57 of 202
                                                                                   In re Legendary Field Exhibitions, LLC
                                                                                                   Case No.
                                                                     Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name                Address           Last 4 Date Debt   Trade, Debt / Note          Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                           Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                           Account Incurred,                                                                       offset?
                                                                                           Number Basis for
                                                                                                     Claim
Legendary Field Exhibitions, LLC   Fikes, Bruce                      Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Fillmore, Scott                   Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Filmwerks LLC.                    P.O. Box 12348                            Trade                                                                           $       59,776.52
                                                                     Wilmington NC
                                                                     28405
Legendary Field Exhibitions, LLC   Filosofos, Sevaste                Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   FINCO.                            Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Fineagan, Carol                   Address on file                           Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Finley, Daryl                     Address on file                           Unearned Revenue                                                                $          600.00

Legendary Field Exhibitions, LLC   Finnigan, Susan                   Address on file                           Unearned Revenue                                                                $           17.00
Legendary Field Exhibitions, LLC   Fiorenzi, Meredith                Address on file                           Unearned Revenue                                                                $          166.50
Legendary Field Exhibitions, LLC   Fiquett, Charles                  Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   FireEye                           P.O Box 123063                            Trade                                                                           $       13,200.00
                                                                     Dept 3063
                                                                     Dallas TX 75312-
                                                                     3063
Legendary Field Exhibitions, LLC   Firnschild, Laura                 Address on file                           Unearned Revenue                                                                $        1,400.00

Legendary Field Exhibitions, LLC   First Insurance Funding           P.O Box 7000                              Trade                                                                           $      598,854.15
                                                                     Carol Stream IL
                                                                     60197-7000
Legendary Field Exhibitions, LLC   Fischer, Jason                    Address on file                           Unearned Revenue                                                                $           65.00

Legendary Field Exhibitions, LLC   Fischer, Richard                  Address on file                           Unearned Revenue                                                                $          105.00

Legendary Field Exhibitions, LLC   Fischer, Valerie                  Address on file                           Unearned Revenue                                                                $           30.50
Legendary Field Exhibitions, LLC   Fisher, Angela                    Address on file                           Unearned Revenue                                                                $           46.92

Legendary Field Exhibitions, LLC   Fisher, Gregory                   Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Fisher, Jonathan                  Address on file                           Unearned Revenue                                                                $           50.00
                                                                                                                                                                                                                                                           269




Legendary Field Exhibitions, LLC   FISHER, NED                       Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Fisher, Stefan                    Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Fisher, Theresa                   Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Fishman, David                    Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Five Marketing & Management LLC   925 B Street #603                         Trade                                                                           $       11,747.00
                                                                     San Diego CA
                                                                     92101
Legendary Field Exhibitions, LLC   Flaherty, James                   Address on file                           Unearned Revenue                                                                $          224.00

Legendary Field Exhibitions, LLC   Flake, David                      Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Flanagan, Danny                   Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Flanagan, Steve                   Address on file                           Unearned Revenue                                                                $          270.00


Legendary Field Exhibitions, LLC   Flanders, Patrick                 Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Flanders, S. Craig                Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Flannigan, Cheryl                 Address on file                           Unearned Revenue                                                                $           25.00
Legendary Field Exhibitions, LLC   Flayler, James                    Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   Fleming, Ed                       Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Fletcher Group, LLC               8120 S. Madison St.                       Trade                                                                           $       15,603.87
                                                                     Burr Ridge IL 60527


Legendary Field Exhibitions, LLC   Fletcher, David                   Address on file                           Unearned Revenue                                                                $          105.00

Legendary Field Exhibitions, LLC   Fletcher, Joseph                  Address on file                           Unearned Revenue                                                                $          620.00
Legendary Field Exhibitions, LLC   Fletcher, Kyle                    Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Fletcher, Russell                 Address on file                           Unearned Revenue                                                                $          217.50
Legendary Field Exhibitions, LLC   Fletcher, Sunshine                Address on file                           Unearned Revenue                                                                $          100.00
                                                                                                                                                                                                                   19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 109 of




                                                                                                                                                        Page 58 of 202
                                                                                     In re Legendary Field Exhibitions, LLC
                                                                                                     Case No.
                                                                       Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name                 Address           Last 4 Date Debt   Trade, Debt / Note          Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                             Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                             Account Incurred,                                                                       offset?
                                                                                             Number Basis for
                                                                                                       Claim
Legendary Field Exhibitions, LLC   Flinn Broadcasting dba KXHT-        6080 Mt. Moriah                           Trade                                                                           $       10,010.00
                                   FM;WHBQ-FM;WIVG-FM;WHBQ-            Road EXT
                                   AM                                  Memphis TN 38115
Legendary Field Exhibitions, LLC   Flippo, Rachael                     Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Flood, Daniel                       Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Flood, William                      Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Flores, Adrian                      Address on file                           Unearned Revenue                                                                $          240.00
Legendary Field Exhibitions, LLC   Flores, Del                         Address on file                           Unearned Revenue                                                                $          800.00

Legendary Field Exhibitions, LLC   Flores, Dolores                     Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Flores, Iris                        Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   FLORES, J'                          Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   flores, jacob                       Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Flores, James                       Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Flores, Jason                       Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   flores, jesse                       Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Flores, Julian                      Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Flores, Manny                       Address on file                           Unearned Revenue                                                                $           25.00


Legendary Field Exhibitions, LLC   Flores, Raul                        Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Flores, Rosemarie                   Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Florez, Robert                      Address on file                           Unearned Revenue                                                                $          105.00
Legendary Field Exhibitions, LLC   Florida Citrus Sports Events Inc.   One Citrus Bowl                           Trade                                                                           $       10,000.00
                                                                       Place
                                                                       Orlando FL 32805-
                                                                       2451
Legendary Field Exhibitions, LLC   Florida Medical Distributors, LLC   123 Barrier Isle                          Trade                                                                           $        4,000.00
                                                                                                                                                                                                                                                             269




                                                                       Drive
                                                                       Ormond beach FL
                                                                       32176
Legendary Field Exhibitions, LLC   Flowers, Aaron                      Address on file                           Unearned Revenue                                                                $          210.00

Legendary Field Exhibitions, LLC   Flowers, Clifford                   Address on file                           Unearned Revenue                                                                $          210.00
Legendary Field Exhibitions, LLC   flowers, daniel                     Address on file                           Unearned Revenue                                                                $          128.00
Legendary Field Exhibitions, LLC   Flowers, David                      Address on file                           Unearned Revenue                                                                $           35.00

Legendary Field Exhibitions, LLC   Floyd, David                        Address on file                           Unearned Revenue                                                                $           85.00

Legendary Field Exhibitions, LLC   Floyd, Jacob                        Address on file                           Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   Floyd, Kennedy                      Address on file                           Unearned Revenue                                                                $          600.00

Legendary Field Exhibitions, LLC   Floyd, Kenny                        Address on file                           Unearned Revenue                                                                $          600.00


Legendary Field Exhibitions, LLC   Floyd, Ladd                         Address on file                           Unearned Revenue                                                                $          390.00

Legendary Field Exhibitions, LLC   Flugel, Donald                      Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Fluharty, Roy                       Address on file                           Unearned Revenue                                                                $          960.00

Legendary Field Exhibitions, LLC   Flying V Group                      2051 Placentia Ave.                       Trade                                                                           $        3,500.00
                                                                       Costa Mesa CA
                                                                       92627

Legendary Field Exhibitions, LLC   Flynn, Warren                       Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   FNF                                 Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Fogel, Sara                         Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Foley, Amanda                       Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Foley, Mark                         Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Foley, Scott                        Address on file                           Unearned Revenue                                                                $          410.00

Legendary Field Exhibitions, LLC   Fontenette, Karen                   Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Fontenot, Justin                    Address on file                           Unearned Revenue                                                                $           25.00
                                                                                                                                                                                                                     19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 110 of




                                                                                                                                                          Page 59 of 202
                                                                                In re Legendary Field Exhibitions, LLC
                                                                                                Case No.
                                                                  Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name          Address           Last 4 Date Debt   Trade, Debt / Note          Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                        Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                        Account Incurred,                                                                       offset?
                                                                                        Number Basis for
                                                                                                  Claim
Legendary Field Exhibitions, LLC   Fontenot, Mark                 Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Fontes, Raul                   Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Foot Management, Inc.          7201 Friendship Rd.                       Trade                                                                           $        1,209.50
                                                                  Pittsville MD 21850

Legendary Field Exhibitions, LLC   Forbes, Luke                   Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Forbis, Chris                  Address on file                           Unearned Revenue                                                                $        1,000.00


Legendary Field Exhibitions, LLC   Forby, Robb                    Address on file                           Unearned Revenue                                                                $          140.00
Legendary Field Exhibitions, LLC   ford, joy                      Address on file                           Unearned Revenue                                                                $           52.00
Legendary Field Exhibitions, LLC   Ford, Kathryn                  Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Ford, Sheryl                   Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Ford, Steve                    Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Ford, Susan                    Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Forder, David                  Address on file                           Unearned Revenue                                                                $            5.00
Legendary Field Exhibitions, LLC   Forehand, Reed                 Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Forero, Patricia               Address on file                           Unearned Revenue                                                                $          162.00
Legendary Field Exhibitions, LLC   Forester, Brennan              Address on file                           Unearned Revenue                                                                $           58.00

Legendary Field Exhibitions, LLC   Forester, John                 Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Forke, Danny                   Address on file                           Unearned Revenue                                                                $          166.50
Legendary Field Exhibitions, LLC   Forrest Jr., Riley             Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Forrest, Jeffrey               Address on file                           Unearned Revenue                                                                $        4,200.00

Legendary Field Exhibitions, LLC   Forsyth, Rich                  Address on file                           Unearned Revenue                                                                $          100.00
                                                                                                                                                                                                                                                        269




Legendary Field Exhibitions, LLC   Fortenberry, Joesph            Address on file                           Unearned Revenue                                                                $           70.00




Legendary Field Exhibitions, LLC   Forth, Andrea                  Address on file                           Unearned Revenue                                                                $          112.00

Legendary Field Exhibitions, LLC   Fortner, Tim                   Address on file                           Unearned Revenue                                                                $        1,000.00

Legendary Field Exhibitions, LLC   Foster, Ed                     Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Foster, Jesse                  Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Foster, Katherine              Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Foster, Travis                 Address on file                           Unearned Revenue                                                                $          200.00




Legendary Field Exhibitions, LLC   Foultz, Ruthie                 Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Foundation for Orange County   Attn: Kathleen                            Trade                                                                           $        1,883.99
                                   Public Schools                 Wright
                                                                  OCPS Foundation
                                                                  455 W. Amelia St.
                                                                  Suite 901
Legendary Field Exhibitions, LLC   Fountain, Victoria             Address on file                           Unearned Revenue                                                                $           54.00

Legendary Field Exhibitions, LLC   Fournier , Kristin             Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Foust, Boyd                    Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   Fowler, Dave                   Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Fowler, Jay                    Address on file                           Unearned Revenue                                                                $           45.00
Legendary Field Exhibitions, LLC   Fowler, Kari                   Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Fowler, Timothy                Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Fowlkes, Greg                  Address on file                           Unearned Revenue                                                                $          200.00
                                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 111 of




                                                                                                                                                     Page 60 of 202
                                                                                In re Legendary Field Exhibitions, LLC
                                                                                                Case No.
                                                                  Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                         Creditor Name           Address           Last 4 Date Debt   Trade, Debt / Note          Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                        Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                        Account Incurred,                                                                       offset?
                                                                                        Number Basis for
                                                                                                  Claim
Legendary Field Exhibitions, LLC   Fox 5 San Diego                KSWB-TV                                   Trade                                                                           $       30,000.00
                                                                  P.O Box 749011
                                                                  Los Angeles CA
                                                                  90074-9011
Legendary Field Exhibitions, LLC   Fox, Adam                      Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Fox, Dave                      Address on file                           Trade                                                                           $        3,559.37
Legendary Field Exhibitions, LLC   Fox, Erik                      Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Fox, Paul                      Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Fraden, Bernie                 Address on file                           Unearned Revenue                                                                $          240.00

Legendary Field Exhibitions, LLC   Fradin, Nancy                  Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Franck, Kent                   Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   Franckowiak, Cole              Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Franco, Enrique                Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Frank, Ciara                   Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Frank, Robert                  Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Frank, Stephen                 Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Franke, Luke                   Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Franklin, Cheryl               Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Franklin, Donna                Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Franklin, Ken                  Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Franks, Chuck                  Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Frannicola, Keith              Address on file                           Unearned Revenue                                                                $          164.00
                                                                                                                                                                                                                                                        269




Legendary Field Exhibitions, LLC   Franzone, Philip               Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Frazier, Jason                 Address on file                           Unearned Revenue                                                                $          240.00

Legendary Field Exhibitions, LLC   FREDERICK, DAVID               Address on file                           Unearned Revenue                                                                $          470.00


Legendary Field Exhibitions, LLC   Fredricks, Oliver              Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Freeman, Glenn                 Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Freeman, Maureen               Address on file                           Unearned Revenue                                                                $          190.00

Legendary Field Exhibitions, LLC   Freeman, Penny                 Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Freeman, Robert                Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   freese, Teena                  Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Freiman, Amber                 Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Fresenius Medical Care         Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Frey, Sharon                   Address on file                           Unearned Revenue                                                                $          120.00
Legendary Field Exhibitions, LLC   Frick, Timothy                 Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Friedman, Darcy                Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Friel, Dona                    Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Friend, Joseph                 Address on file                           Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   Fristoe, Karrie                Address on file                           Unearned Revenue                                                                $          800.00

Legendary Field Exhibitions, LLC   Fritz Martin Management, LLC   PMB #335 - 8550                           Trade                                                                           $       60,000.00
                                                                  W. Charleston Blvd.
                                                                  Suite 102
                                                                  Las Vegas NV
                                                                  89117
Legendary Field Exhibitions, LLC   Frizzell, Chris                Address on file                           Unearned Revenue                                                                $          150.00
Legendary Field Exhibitions, LLC   Froelick, Thomas               Address on file                           Unearned Revenue                                                                $          170.00
                                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 112 of




                                                                                                                                                     Page 61 of 202
                                                                              In re Legendary Field Exhibitions, LLC
                                                                                              Case No.
                                                                Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                    Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                    Account Incurred,                                                                         offset?
                                                                                    Number Basis for
                                                                                              Claim
Legendary Field Exhibitions, LLC   Froese, Kevin                Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   froio, james                 Address on file                           Unearned Revenue                                                                $           81.50
Legendary Field Exhibitions, LLC   Frost, Isaac                 Address on file                           Unearned Revenue                                                                $          280.00

Legendary Field Exhibitions, LLC   Frost, Patrick               Address on file                           Unearned Revenue                                                                $        1,420.00

Legendary Field Exhibitions, LLC   Frost, Samantha              Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Fry, Anthony                 Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Fry, David                   Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Fry-MacNeil, Brandi          Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Fuchs, Alex                  Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Fuentes, Cameron             Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Fugate, Randy                Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   FULGINITI, JOHN              Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Fulks, Randy                 Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Fullard, Trina               Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Fuller, Christopher          Address on file                           Unearned Revenue                                                                $           30.50
Legendary Field Exhibitions, LLC   fuller, felicia              Address on file                           Unearned Revenue                                                                $           31.28
Legendary Field Exhibitions, LLC   Fuller, Tony                 Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Fullman, Faberge'            Address on file                           Unearned Revenue                                                                $           40.00
Legendary Field Exhibitions, LLC   Fulmer, Logan                Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Fulton, Jason                Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                                                                      269




Legendary Field Exhibitions, LLC   Fulton, Lynn                 Address on file                           Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Funk, Nellie                 Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Funk, Paige                  Address on file                           Unearned Revenue                                                                $          112.00

Legendary Field Exhibitions, LLC   Funke, Russ                  Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   Fuoss, Nicholas              Address on file                           Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Furey, Sarah                 Address on file                           Unearned Revenue                                                                $           95.00


Legendary Field Exhibitions, LLC   Furtado, Thomas              Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Fusco, Frank                 Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   fusco, patrick               Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Futch, Michael               Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   G De Araujo, Diego           Address on file                           Unearned Revenue                                                                $           25.00

Legendary Field Exhibitions, LLC   G Torres Lll, Baldemar       Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   G&G Outfitters Inc.          4901 Forbes Blvd                          Trade                                                                           $      334,611.60
                                                                Lanham MD 20706
Legendary Field Exhibitions, LLC   G.J. Gardner Homes           Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Gaarder-Feingold, Liam       Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Gabbart, Gary                Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   Gabourie, Matthew            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Gaddis, Clayton              Address on file                           Unearned Revenue                                                                $           40.00
Legendary Field Exhibitions, LLC   Gaffney, Robert              Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Gage, Christina              Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Gaglione, Bob                Address on file                           Unearned Revenue                                                                $           15.00
                                                                                                                                                                                                              19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 113 of




                                                                                                                                                   Page 62 of 202
                                                                             In re Legendary Field Exhibitions, LLC
                                                                                             Case No.
                                                               Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                         Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                   Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                   Account Incurred,                                                                         offset?
                                                                                   Number Basis for
                                                                                             Claim
Legendary Field Exhibitions, LLC   Gahagan, Robert             Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Gahary, Jacques             Address on file                           Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Gain, Romeo                 Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Gaines, Justin              Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Gaitan, Gina                Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Gaitan, Mary                Address on file                           Unearned Revenue                                                                $           81.00
Legendary Field Exhibitions, LLC   Gaither, Brandon            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Galan, David                Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Galan, Evangelina           Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Galan, Felix                Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Galaxy Productions LLC      9619 Nona Kay Dr.                         Trade                                                                           $        1,800.00
                                                               San Antonio TX
                                                               78217
Legendary Field Exhibitions, LLC   Galbiso, Darren             Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Galbiso, Viola              Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Gale, David                 Address on file                           Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Gale, Keith                 Address on file                           Unearned Revenue                                                                $          640.00

Legendary Field Exhibitions, LLC   Gale, Nathan                Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Galicia, Phillip            Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Galindo, Fabien             Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Galindo, Ryan               Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                                                                     269




Legendary Field Exhibitions, LLC   Gall Carrizosa, Valeria     Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Gall, Jon                   Address on file                           Unearned Revenue                                                                $          135.00

Legendary Field Exhibitions, LLC   Gallaway, Ray               Address on file                           Unearned Revenue                                                                $           80.50
Legendary Field Exhibitions, LLC   gallego, Sergio             Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Gallegos, Nathan            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   GALLEGOS, ROBERT            Address on file                           Unearned Revenue                                                                $           64.00
Legendary Field Exhibitions, LLC   Gallo, Leonard              Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Galloway, Amy               Address on file                           Unearned Revenue                                                                $           35.00

Legendary Field Exhibitions, LLC   Galvan, Eddie               Address on file                           Unearned Revenue                                                                $           35.00

Legendary Field Exhibitions, LLC   Galvan, Jose                Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Galvan, Victor              Address on file                           Unearned Revenue                                                                $           10.00
Legendary Field Exhibitions, LLC   Gamboa, Michael             Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Gamin, Bert                 Address on file                           Unearned Revenue                                                                $          420.00

Legendary Field Exhibitions, LLC   Gammage, Stephanie          Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Gannon, David               Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Ganz, Wayne                 Address on file                           Unearned Revenue                                                                $          150.00


Legendary Field Exhibitions, LLC   Garber, Kayla               Address on file                           Unearned Revenue                                                                $          112.00

Legendary Field Exhibitions, LLC   Garcia Jr, Henrique         Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Garcia, Alex                Address on file                           Unearned Revenue                                                                $           35.00
Legendary Field Exhibitions, LLC   Garcia, Amy                 Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Garcia, Antonio             Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Garcia, Bert                Address on file                           Unearned Revenue                                                                $           44.00
Legendary Field Exhibitions, LLC   Garcia, Beth                Address on file                           Unearned Revenue                                                                $           45.00
                                                                                                                                                                                                             19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 114 of




                                                                                                                                                  Page 63 of 202
                                                                           In re Legendary Field Exhibitions, LLC
                                                                                           Case No.
                                                             Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                 Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                 Account Incurred,                                                                         offset?
                                                                                 Number Basis for
                                                                                           Claim
Legendary Field Exhibitions, LLC   Garcia, Brandon           Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   Garcia, Brian             Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Garcia, Carlos            Address on file                           Unearned Revenue                                                                $          170.00

Legendary Field Exhibitions, LLC   Garcia, Christian         Address on file                           Unearned Revenue                                                                $           40.00
Legendary Field Exhibitions, LLC   Garcia, Clemente          Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Garcia, Eddie             Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   Garcia, Edgar             Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Garcia, Edward            Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Garcia, Elias             Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Garcia, Enrique           Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Garcia, Eric              Address on file                           Unearned Revenue                                                                $           62.00


Legendary Field Exhibitions, LLC   Garcia, Erika             Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Garcia, Fernando          Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Garcia, Gabe              Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Garcia, Isaiah            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Garcia, Jesse             Address on file                           Unearned Revenue                                                                $          225.00

Legendary Field Exhibitions, LLC   garcia, joel              Address on file                           Unearned Revenue                                                                $          274.50
Legendary Field Exhibitions, LLC   Garcia, Joey              Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Garcia, Jonathan          Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Garcia, Jose              Address on file                           Unearned Revenue                                                                $          105.00
                                                                                                                                                                                                                                                   269




Legendary Field Exhibitions, LLC   garcia, Kim               Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Garcia, Krista            Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Garcia, Luis              Address on file                           Unearned Revenue                                                                $           75.00
Legendary Field Exhibitions, LLC   Garcia, Marco             Address on file                           Unearned Revenue                                                                $          195.00

Legendary Field Exhibitions, LLC   Garcia, Mario             Address on file                           Unearned Revenue                                                                $          150.00
Legendary Field Exhibitions, LLC   Garcia, Michael           Address on file                           Unearned Revenue                                                                $          208.00

Legendary Field Exhibitions, LLC   Garcia, Raymond           Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Garcia, Robert            Address on file                           Unearned Revenue                                                                $          180.00


Legendary Field Exhibitions, LLC   Garcia, Roger             Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Garcia, Ronda             Address on file                           Unearned Revenue                                                                $          175.00

Legendary Field Exhibitions, LLC   Garcia, Salvador          Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Garcia, Velma             Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Garcia-Jaiman, Liah M.    Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Garcias, Jan              Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Garcia-silva, Adrian      Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Gardner, Austin           Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Gardner, Emma             Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   GARDNER, VALERIE          Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Garibay, Robert           Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Garnica, Luis             Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Garofalo, Sarah           Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Garrant, Tracey           Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Garrett, Gerald           Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                           19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 115 of




Legendary Field Exhibitions, LLC   Garrett, Gregory          Address on file                           Unearned Revenue                                                                $           50.00




                                                                                                                                                Page 64 of 202
                                                                               In re Legendary Field Exhibitions, LLC
                                                                                               Case No.
                                                                 Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                           Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                     Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                     Account Incurred,                                                                         offset?
                                                                                     Number Basis for
                                                                                               Claim
Legendary Field Exhibitions, LLC   Garrett, Josh                 Address on file                           Unearned Revenue                                                                $           38.00


Legendary Field Exhibitions, LLC   Garrett, Steve                Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Garrido, Fernando             Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Garrido, Michael              Address on file                           Unearned Revenue                                                                $          168.00

Legendary Field Exhibitions, LLC   Garris, Ira                   Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Garro, Paul                   Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Garver, Zachary               Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Garwood, Melissa              Address on file                           Unearned Revenue                                                                $           73.00
Legendary Field Exhibitions, LLC   Gary, Daniel                  Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Garza, Alma                   Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Garza, Anthony                Address on file                           Unearned Revenue                                                                $           20.51
Legendary Field Exhibitions, LLC   Garza, Becky                  Address on file                           Unearned Revenue                                                                $           20.50
Legendary Field Exhibitions, LLC   Garza, Clemente               Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Garza, Daniel                 Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Garza, Eric                   Address on file                           Unearned Revenue                                                                $          166.50
Legendary Field Exhibitions, LLC   Garza, Francine               Address on file                           Unearned Revenue                                                                $           10.00
Legendary Field Exhibitions, LLC   Garza, James                  Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Garza, Jorge                  Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Garza, Melissa                Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Garza, Natalie                Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Garza, Neftali                Address on file                           Unearned Revenue                                                                $          111.00
Legendary Field Exhibitions, LLC   Garza, Phil                   Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Garza, Randy                  Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Garza, Rogelio                Address on file                           Unearned Revenue                                                                $           70.00
                                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   Garza, Roger                  Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Garza, Sandra                 Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Garza, Sarah                  Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Garza, Stephen                Address on file                           Unearned Revenue                                                                $          300.00


Legendary Field Exhibitions, LLC   Gasbarro, Dominic             Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Gaschler, Brett               Address on file                           Unearned Revenue                                                                $           44.00

Legendary Field Exhibitions, LLC   Gatewood, Paul                Address on file                           Unearned Revenue                                                                $          112.00

Legendary Field Exhibitions, LLC   Gaudi, Justin                 Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Gault, Donavon                Address on file                           Unearned Revenue                                                                $          120.00


Legendary Field Exhibitions, LLC   Gauthier, Ray                 Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   gawley, kyle                  Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   GAYDEN, DAVID                 Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Gazaway, Jeffrey              Address on file                           Unearned Revenue                                                                $           25.00


Legendary Field Exhibitions, LLC   Gazzaway, John                Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Gearhart, Ron                 Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Geehan, Vicki L               Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Geier, Flint                  Address on file                           Unearned Revenue                                                                $          580.00

Legendary Field Exhibitions, LLC   Geiger, Bryan                 Address on file                           Unearned Revenue                                                                $          105.00

Legendary Field Exhibitions, LLC   Geleske, Alexandra            Address on file                           Unearned Revenue                                                                $           61.50
Legendary Field Exhibitions, LLC   Gelvin, Eric                  Address on file                           Unearned Revenue                                                                $          200.00
                                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 116 of




                                                                                                                                                    Page 65 of 202
                                                                                      In re Legendary Field Exhibitions, LLC
                                                                                                      Case No.
                                                                        Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name                Address           Last 4 Date Debt   Trade, Debt / Note          Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                              Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                              Account Incurred,                                                                       offset?
                                                                                              Number Basis for
                                                                                                        Claim
Legendary Field Exhibitions, LLC   Gentry, Shannon                      Address on file                           Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   George, Ashley                       Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   George, Cathy                        Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   George, Jeff                         Address on file                           Unearned Revenue                                                                $           58.00


Legendary Field Exhibitions, LLC   George, Michael                      Address on file                           Trade                                                                           $          300.00

Legendary Field Exhibitions, LLC   Georgia Officials Association        3320 Thompson Mill                        Trade                                                                           $        1,800.00
                                                                        Rd.
                                                                        Buford GA 30519
Legendary Field Exhibitions, LLC   Georgia Power                        Address on file                           Unearned Revenue                                                                $        1,750.00

Legendary Field Exhibitions, LLC   Georgia State University Athletics   755 Hank Aaron Dr.                        Trade                                                                           $      250,764.40
                                                                        Atlanta GA 30315
Legendary Field Exhibitions, LLC   Georgia State University dba GSU     55 Gilmer Street                          Trade                                                                           $       45,649.08
                                   Panther Dining                       Room 318
                                                                        Atlanta GA 30303
Legendary Field Exhibitions, LLC   Geraci, Michael                      Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Gerber, Bert                         Address on file                           Unearned Revenue                                                                $          460.00


Legendary Field Exhibitions, LLC   Gerding, Matt                        Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Geren, Jonathan                      Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   GERHART, MARK                        Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Gerlach, Stephan                     Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   Gerrard, Tom                         Address on file                           Unearned Revenue                                                                $          215.00
                                                                                                                                                                                                                                                              269




Legendary Field Exhibitions, LLC   Gersper, Mike                        Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Gerzsenye, Jeanna                    Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Gethings, Jeremy                     Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Geystan, Otis                        Address on file                           Unearned Revenue                                                                $           25.00


Legendary Field Exhibitions, LLC   Ghazi, Sierra                        Address on file                           Unearned Revenue                                                                $          150.00
Legendary Field Exhibitions, LLC   GHP Media                            475 Heffernan Drive                       Trade                                                                           $       22,604.36
                                                                        West Haven CT
                                                                        06516

Legendary Field Exhibitions, LLC   Giacomino, C G                       Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Gibbs, Dylan                         12269 S                                   Trade                                                                           $          305.00
                                                                        STEPHENS VIEW
                                                                        CIR,
                                                                        Draper, UT 84020
Legendary Field Exhibitions, LLC   Gibbs, Jodi                          Address on file                           Unearned Revenue                                                                $          375.00

Legendary Field Exhibitions, LLC   gibbs, josh                        Address on file                             Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Gibralter Partners LLC dba Smokin' 2875 W. Ray Rd.                             Trade                                                                           $        1,340.00
                                   Hot BBQ                            Ste. 6-134
                                                                      Chandler AZ 85224
Legendary Field Exhibitions, LLC   Gibson Graphics, LLC               511 Tarrytown                               Trade                                                                           $          325.00
                                                                      Center
                                                                      Rocky Mount NC
                                                                      27804
Legendary Field Exhibitions, LLC   Gibson, Alicia                     Address on file                             Unearned Revenue                                                                $          150.00
Legendary Field Exhibitions, LLC   Gibson, Joe                        Address on file                             Unearned Revenue                                                                $          222.00
Legendary Field Exhibitions, LLC   Gibson, Justin                     Address on file                             Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   Giffin, Pat                        Address on file                             Unearned Revenue                                                                $        1,200.00

Legendary Field Exhibitions, LLC   Gifford, Kevin                       Address on file                           Unearned Revenue                                                                $          244.00

Legendary Field Exhibitions, LLC   Gifford, Shawn                       Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   G-III Leather Fashions               P.O Box 29242                             Trade                                                                           $       72,266.01
                                                                        New York, NY
                                                                        10087-9242
Legendary Field Exhibitions, LLC   Gil, Josie                           Address on file                           Unearned Revenue                                                                $          100.00
                                                                                                                                                                                                                      19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 117 of




                                                                                                                                                           Page 66 of 202
                                                                             In re Legendary Field Exhibitions, LLC
                                                                                             Case No.
                                                               Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                         Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                   Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                   Account Incurred,                                                                         offset?
                                                                                   Number Basis for
                                                                                             Claim
Legendary Field Exhibitions, LLC   Gil, Robert                 Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Gilchrist, Kamie            Address on file                           Unearned Revenue                                                                $           78.00

Legendary Field Exhibitions, LLC   Gilchrist, Lance            Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Gilchrist, Noel             Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Gilfoy, Lisa                Address on file                           Unearned Revenue                                                                $          596.00

Legendary Field Exhibitions, LLC   Gililland, Billy            Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Gill, Patrick               Address on file                           Unearned Revenue                                                                $          425.00

Legendary Field Exhibitions, LLC   Gillespie, Bryan            Address on file                           Unearned Revenue                                                                $          600.00

Legendary Field Exhibitions, LLC   Gillespie, Nighly           Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Gilley, Joseph              Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Gillie, Matthew             Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Gillis, Timothy             Address on file                           Unearned Revenue                                                                $          140.00
Legendary Field Exhibitions, LLC   Ginda, Alexandra            Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Giovacchini, David M.       Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Giovine, Aldo               Address on file                           Unearned Revenue                                                                $          180.00

Legendary Field Exhibitions, LLC   Gipson, Tom                 Address on file                           Unearned Revenue                                                                $          150.00
Legendary Field Exhibitions, LLC   Girard, Gregg               Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Girardot, Brittany          Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Girdley, John               Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Girtman, Dave               Address on file                           Unearned Revenue                                                                $          140.00
Legendary Field Exhibitions, LLC   Gladkowski, Robert          Address on file                           Unearned Revenue                                                                $          220.00
                                                                                                                                                                                                                                                     269




Legendary Field Exhibitions, LLC   glausier, james             Address on file                           Unearned Revenue                                                                $           10.00
Legendary Field Exhibitions, LLC   Gleason Electrick           947 Citrine Way                           Trade                                                                           $       35,000.00
                                                               San Marcos CA
                                                               92078
Legendary Field Exhibitions, LLC   Gleason, James              Address on file                           Unearned Revenue                                                                $          340.00

Legendary Field Exhibitions, LLC   Gledhill, Jannell           Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Gleeson, Robert             Address on file                           Unearned Revenue                                                                $          800.00

Legendary Field Exhibitions, LLC   Glenn, David                Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Glennon, Jeffrey            Address on file                           Unearned Revenue                                                                $          320.00


Legendary Field Exhibitions, LLC   Glick, Rush                 Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Glock, Mike                 Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   gloria, carlos              Address on file                           Unearned Revenue                                                                $           41.00
Legendary Field Exhibitions, LLC   Gloria, Frank               Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Gloria, Linda               Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Glosson, Sam                Address on file                           Unearned Revenue                                                                $           15.00


Legendary Field Exhibitions, LLC   Glover, Kanella             Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Goane, Ashley               Address on file                           Unearned Revenue                                                                $           90.00


Legendary Field Exhibitions, LLC   Goar, Kim                   Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   GODBEY, CARLTON             Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Goddard, John               Address on file                           Unearned Revenue                                                                $          180.00

Legendary Field Exhibitions, LLC   Godin, Paul                 Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Godina, Jose                Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Godines, Angel              Address on file                           Unearned Revenue                                                                $           70.00
                                                                                                                                                                                                             19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 118 of




                                                                                                                                                  Page 67 of 202
                                                                           In re Legendary Field Exhibitions, LLC
                                                                                           Case No.
                                                             Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                 Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                 Account Incurred,                                                                         offset?
                                                                                 Number Basis for
                                                                                           Claim
Legendary Field Exhibitions, LLC   Godinez, Roberto          Address on file                           Unearned Revenue                                                                $           31.00


Legendary Field Exhibitions, LLC   Goforth, Rob              Address on file                           Unearned Revenue                                                                $          105.00

Legendary Field Exhibitions, LLC   Goldacker, Curt           Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Goldberg, David           Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Goldberg, Steven          Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Goldberg, Susan           Address on file                           Unearned Revenue                                                                $           55.50

Legendary Field Exhibitions, LLC   Golden Corral             Address on file                           Unearned Revenue                                                                $        4,200.00

Legendary Field Exhibitions, LLC   Golden, Janet             Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Goldner, Scott            Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Goldstein, Edward         Address on file                           Unearned Revenue                                                                $          250.00
Legendary Field Exhibitions, LLC   Golish, Spencer           Address on file                           Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   Gomez, Alex               Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Gomez, Anthony            Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Gomez, Antonio            Address on file                           Unearned Revenue                                                                $           45.00


Legendary Field Exhibitions, LLC   Gomez, Armando            Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   Gomez, Dante              Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Gomez, Gerardo            Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   gomez, james              Address on file                           Unearned Revenue                                                                $           10.00

Legendary Field Exhibitions, LLC   Gomez, Kevin              Address on file                           Unearned Revenue                                                                $          200.00
                                                                                                                                                                                                                                                   269




Legendary Field Exhibitions, LLC   Gomez, Marsha             Address on file                           Unearned Revenue                                                                $          102.50
Legendary Field Exhibitions, LLC   Gomez, Raymond            Address on file                           Unearned Revenue                                                                $          185.00


Legendary Field Exhibitions, LLC   Gomez, Roman              Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Gomez, Ronnie             Address on file                           Unearned Revenue                                                                $          111.00
Legendary Field Exhibitions, LLC   Gomez-ramirez, Cruz       Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Gonyou, Brian             Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Gonzaba, John             Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Gonzales Ii, Fernando     Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Gonzales, Abel            Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Gonzales, Albert          Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Gonzales, Danielle        Address on file                           Unearned Revenue                                                                $          111.00

Legendary Field Exhibitions, LLC   Gonzales, David           Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Gonzales, Debbie          Address on file                           Unearned Revenue                                                                $          312.00

Legendary Field Exhibitions, LLC   Gonzales, Delana          Address on file                           Unearned Revenue                                                                $          122.00
Legendary Field Exhibitions, LLC   Gonzales, Ernest          Address on file                           Unearned Revenue                                                                $           15.00
Legendary Field Exhibitions, LLC   Gonzales, Esther          Address on file                           Unearned Revenue                                                                $           30.50
Legendary Field Exhibitions, LLC   Gonzales, Faith           Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Gonzales, Fred            Address on file                           Unearned Revenue                                                                $          170.00

Legendary Field Exhibitions, LLC   Gonzales, Gabe            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Gonzales, Jennifer        Address on file                           Unearned Revenue                                                                $           10.00
Legendary Field Exhibitions, LLC   Gonzales, Jerry           Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Gonzales, Jonathan        Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Gonzales, Joseph          Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Gonzales, Mark            Address on file                           Unearned Revenue                                                                $           70.00
                                                                                                                                                                                                           19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 119 of




                                                                                                                                                Page 68 of 202
                                                                           In re Legendary Field Exhibitions, LLC
                                                                                           Case No.
                                                             Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                 Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                 Account Incurred,                                                                         offset?
                                                                                 Number Basis for
                                                                                           Claim
Legendary Field Exhibitions, LLC   Gonzales, Michael         Address on file                           Unearned Revenue                                                                $          312.00

Legendary Field Exhibitions, LLC   gonzales, mike            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Gonzales, Nathan          Address on file                           Unearned Revenue                                                                $           55.50
Legendary Field Exhibitions, LLC   gonzales, nikki           Address on file                           Unearned Revenue                                                                $           41.00
Legendary Field Exhibitions, LLC   Gonzales, Ray             Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Gonzales, Richard         Address on file                           Unearned Revenue                                                                $           80.00


Legendary Field Exhibitions, LLC   Gonzales, Vicente         Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Gonzalez Sanchez, Fidel   Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Gonzalez, Andy            Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Gonzalez, Angelica        Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Gonzalez, Belinda         Address on file                           Unearned Revenue                                                                $           35.00

Legendary Field Exhibitions, LLC   Gonzalez, Donovan         Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Gonzalez, Jesus           Address on file                           Unearned Revenue                                                                $           40.00
Legendary Field Exhibitions, LLC   Gonzalez, Joe D           Address on file                           Unearned Revenue                                                                $           40.00
Legendary Field Exhibitions, LLC   Gonzalez, John            Address on file                           Unearned Revenue                                                                $          520.00

Legendary Field Exhibitions, LLC   Gonzalez, Jorge           Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Gonzalez, Joshua          Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Gonzalez, Marco           Address on file                           Unearned Revenue                                                                $           75.00
Legendary Field Exhibitions, LLC   Gonzalez, Michelle        Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   GONZALEZ, PETE            Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Gonzalez, Rene            Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Gonzalez, Richard         Address on file                           Unearned Revenue                                                                $           70.00
                                                                                                                                                                                                                                                   269




Legendary Field Exhibitions, LLC   Gonzalez, Samantha        Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   Gonzalez, Vidal           Address on file                           Unearned Revenue                                                                $          140.00


Legendary Field Exhibitions, LLC   gonzalez, william         Address on file                           Unearned Revenue                                                                $          375.00
Legendary Field Exhibitions, LLC   Gonzalez, Xavier          Address on file                           Unearned Revenue                                                                $           10.00

Legendary Field Exhibitions, LLC   Gonzalez, Yolanda         Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Good, Alvie               Address on file                           Unearned Revenue                                                                $           45.00
Legendary Field Exhibitions, LLC   Goodall, Andrew           Address on file                           Unearned Revenue                                                                $          200.00
Legendary Field Exhibitions, LLC   Goodman, Randy            Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Goods, Jacolby            Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Goodwin, Alexa            Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Goodwin, Billus           Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Goodwin, Deborah          Address on file                           Unearned Revenue                                                                $           31.28
Legendary Field Exhibitions, LLC   Goodwin, Scott            Address on file                           Unearned Revenue                                                                $          210.00

Legendary Field Exhibitions, LLC   Goodwin, William          Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Google (Gmail)            1600 Amphitheatre                         Trade                                                                           $       10,944.00
                                                             Pkwy. Mountain
                                                             View, CA 94043
Legendary Field Exhibitions, LLC   Goon, David               Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Gordillo, Mark            Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Gordon, Devin             Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Gordon, Mike              Address on file                           Unearned Revenue                                                                $          320.00


Legendary Field Exhibitions, LLC   Gordon, Shane             Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Gore, Bryan               Address on file                           Unearned Revenue                                                                $           35.00
Legendary Field Exhibitions, LLC   Goris, Thomas             Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                           19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 120 of




                                                                                                                                                Page 69 of 202
                                                                                In re Legendary Field Exhibitions, LLC
                                                                                                Case No.
                                                                  Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name          Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                      Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                      Account Incurred,                                                                         offset?
                                                                                      Number Basis for
                                                                                                Claim
Legendary Field Exhibitions, LLC   Gorjup, Gabriel                Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Gorman, Edward                 Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Gormley, Shawn                 Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Gorrell, Jacob                 Address on file                           Unearned Revenue                                                                $           15.00


Legendary Field Exhibitions, LLC   Gorsuch, Kim                   Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Gossman, Sharon                Address on file                           Unearned Revenue                                                                $          470.00

Legendary Field Exhibitions, LLC   Gott, Toni                     Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Goularte, Lydia                Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Goulet, Ryan                   Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Gowin, Andrew                  Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Gowins, David                  Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Grabek, Edward                 Address on file                           Unearned Revenue                                                                $          102.00
Legendary Field Exhibitions, LLC   Grable, Brandon                Address on file                           Unearned Revenue                                                                $          800.00

Legendary Field Exhibitions, LLC   Grace, Michael                 Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Grady, Christina               Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Graf, Bob                      Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Graf, Mel A                    Address on file                           Unearned Revenue                                                                $          170.00

Legendary Field Exhibitions, LLC   Graff, Jared                   Address on file                           Unearned Revenue                                                                $           25.00

Legendary Field Exhibitions, LLC   Graff, Toby                    Address on file                           Trade                                                                           $        7,352.04
                                                                                                                                                                                                                                                        269




Legendary Field Exhibitions, LLC   Gragg, Roger                   Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Graham Media Group DBA KSAT-   1408 North St.                            Trade                                                                           $        2,000.00
                                   TV;NSAT-TV;IKSAT               Mary's Street
                                                                  San Antonio TX
                                                                  78215
Legendary Field Exhibitions, LLC   Graham, B Russell              Address on file                           Unearned Revenue                                                                $          680.00

Legendary Field Exhibitions, LLC   Graham, Craig                  Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Graham, David                  Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Graham, Jeremy                 Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   Graham, Mary                   Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Grandell, Myzsa                Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Granillo, Kara                 Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Granillo, Manny                Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Granja, Dana                   Address on file                           Unearned Revenue                                                                $           61.00
Legendary Field Exhibitions, LLC   Grant, Cameron                 Address on file                           Unearned Revenue                                                                $          215.00


Legendary Field Exhibitions, LLC   Grant, Connor                  Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Grant, Dale                    Address on file                           Unearned Revenue                                                                $          600.00

Legendary Field Exhibitions, LLC   Grant, Shemar                  Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Grant, Timothy                 Address on file                           Unearned Revenue                                                                $          600.00

Legendary Field Exhibitions, LLC   Grant, Wendy                   Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Grantham, Melissa              Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Grassmuck, Scott               Address on file                           Unearned Revenue                                                                $           50.00
                                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 121 of




Legendary Field Exhibitions, LLC   GRAVES, RANDY                  Address on file                           Unearned Revenue                                                                $          163.00




                                                                                                                                                     Page 70 of 202
                                                                            In re Legendary Field Exhibitions, LLC
                                                                                            Case No.
                                                              Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name        Address           Last 4 Date Debt   Trade, Debt / Note          Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                    Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                    Account Incurred,                                                                       offset?
                                                                                    Number Basis for
                                                                                              Claim
Legendary Field Exhibitions, LLC   GRAVITY Sports Marketing   Post Office Box 614                       Trade                                                                           $       16,000.00
                                                              Edwards CO 81632


Legendary Field Exhibitions, LLC   Gray Matter Mechanical     Address on file                           Unearned Revenue                                                                $          500.00



Legendary Field Exhibitions, LLC   Gray, Glenn                Address on file                           Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   Gray, Jeff                 Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Gray, Jerome               Address on file                           Unearned Revenue                                                                $          105.00

Legendary Field Exhibitions, LLC   Gray, Rosemarie            Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Graybar Electric Company   8170 Lackland                             Trade                                                                           $          947.82
                                                              Road
                                                              Bel Ridge MO
                                                              63114
Legendary Field Exhibitions, LLC   Grayson, Samantha          Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Greco, Jay                 Address on file                           Unearned Revenue                                                                $           65.00

Legendary Field Exhibitions, LLC   Green, Anthony             Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Green, Gary                Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Green, Kathy               Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Green, Michael             Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Green, Nicholas            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Green, Rickey              Address on file                           Unearned Revenue                                                                $          650.00

Legendary Field Exhibitions, LLC   Green, Shawn               Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Green, Thomas              Address on file                           Unearned Revenue                                                                $          640.00

Legendary Field Exhibitions, LLC   Greene, Breyan             Address on file                           Unearned Revenue                                                                $          100.00
                                                                                                                                                                                                                                                    269




Legendary Field Exhibitions, LLC   Greene, Jared              Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Greene, Sam                Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Greene, Sherman            Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Greenhouse Software Inc.   PO Box 392683                             Trade                                                                           $        6,400.00
                                                              Pittsburgh PA
                                                              15251-9683,
Legendary Field Exhibitions, LLC   Greenup, Rebecca           Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Greer, Ethan               Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Gregg, Roy                 Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Gregoire, Arlene           Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Gregory, Jim               Address on file                           Unearned Revenue                                                                $          195.00

Legendary Field Exhibitions, LLC   Gresham, John              Address on file                           Unearned Revenue                                                                $           15.00


Legendary Field Exhibitions, LLC   Gresham, Melissa           Address on file                           Unearned Revenue                                                                $          600.00


Legendary Field Exhibitions, LLC   Gresham, Scott             Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Gresham, Will              Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Grettenberger, Erin        Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Gretz, Angelica            Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Grey Husky Ent.            Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   grider, william            Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Griego, Danielle           Address on file                           Unearned Revenue                                                                $           75.00
Legendary Field Exhibitions, LLC   Griego, Dominic            Address on file                           Unearned Revenue                                                                $          340.00

Legendary Field Exhibitions, LLC   Griego, Manuel             Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Grier, Sony'a              Address on file                           Unearned Revenue                                                                $           80.00
                                                                                                                                                                                                            19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 122 of




                                                                                                                                                 Page 71 of 202
                                                                               In re Legendary Field Exhibitions, LLC
                                                                                               Case No.
                                                                 Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                         Creditor Name          Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                     Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                     Account Incurred,                                                                         offset?
                                                                                     Number Basis for
                                                                                               Claim
Legendary Field Exhibitions, LLC   Griesemer, Luke               Address on file                           Unearned Revenue                                                                $          640.00

Legendary Field Exhibitions, LLC   Griffin, Germia               Address on file                           Unearned Revenue                                                                $           31.28
Legendary Field Exhibitions, LLC   Griffin, Joshua               Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Griffin, Justin               Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Griffin, Matt                 Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Griffith, Alfred              Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Griffith, Greg                Address on file                           Unearned Revenue                                                                $          160.00


Legendary Field Exhibitions, LLC   Griffith, Jason               Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Griffith, Michael             Address on file                           Unearned Revenue                                                                $           75.00


Legendary Field Exhibitions, LLC   Griggs, Rick                  Address on file                           Unearned Revenue                                                                $           35.00
Legendary Field Exhibitions, LLC   Grill, Eric                   Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Grimaldo, Enrique             Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Grimm, John                   Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   grimmett, charlotte           Address on file                           Unearned Revenue                                                                $          222.00
Legendary Field Exhibitions, LLC   Grimshaw, Deborah             Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Grimsley, Justin              Address on file                           Unearned Revenue                                                                $          105.00

Legendary Field Exhibitions, LLC   Grissom, Brad                 Address on file                           Unearned Revenue                                                                $           15.00


Legendary Field Exhibitions, LLC   Grizzly Completion Services   Address on file                           Unearned Revenue                                                                $        3,450.00

Legendary Field Exhibitions, LLC   Gross, Belinda                Address on file                           Unearned Revenue                                                                $           25.00
                                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   Gross, Leonard                Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Gross, Ruth                   Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Gross, Thomas                 Address on file                           Unearned Revenue                                                                $          400.00
Legendary Field Exhibitions, LLC   Grossmann, Connie             Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Group, Morgan Law             Address on file                           Unearned Revenue                                                                $        1,200.00



Legendary Field Exhibitions, LLC   Grove, David                  Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Grover, Mary                  Address on file                           Unearned Revenue                                                                $           25.00

Legendary Field Exhibitions, LLC   Grubaugh, David               Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Grubbs, Guy                   Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Grubbs, Jonathan              Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Gruber, Matt                  Address on file                           Unearned Revenue                                                                $          105.00
Legendary Field Exhibitions, LLC   Gruber, Paul                  Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Grund, William                Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Gryson, David                 Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Guajardo, Frank               Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Guedea, Edmund                Address on file                           Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   Guemes, Franklin              Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Guerra, Edward                Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Guerra, Melissa               Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Guerra, Rachel                Address on file                           Unearned Revenue                                                                $           50.50
Legendary Field Exhibitions, LLC   Guerra, Silverio              Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Guerrero Rosas, Luis          Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   guerrero, luis                Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   guerrero, paco                Address on file                           Unearned Revenue                                                                $           40.00
Legendary Field Exhibitions, LLC   Guest, Michael                Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Guetter, Michelle             Address on file                           Unearned Revenue                                                                $           20.00
                                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 123 of




                                                                                                                                                    Page 72 of 202
                                                                              In re Legendary Field Exhibitions, LLC
                                                                                              Case No.
                                                                Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                    Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                    Account Incurred,                                                                         offset?
                                                                                    Number Basis for
                                                                                              Claim
Legendary Field Exhibitions, LLC   Guevara, Charles             Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Guevara, Joe                 Address on file                           Unearned Revenue                                                                $          225.00

Legendary Field Exhibitions, LLC   Gugino, Katie                Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Guglielmello, Jerry          Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Guido Construction           8526 Vidor Ave.                           Trade                                                                           $       58,674.70
                                                                San Antonio TX
                                                                78216
Legendary Field Exhibitions, LLC   Guillen, Dora                Address on file                           Unearned Revenue                                                                $           25.00

Legendary Field Exhibitions, LLC   Guimarin, Paul               Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Gundel, Manuela              Address on file                           Unearned Revenue                                                                $           73.00
Legendary Field Exhibitions, LLC   Gunnell, Marcie              Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   Gunter, Stephen              Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Gurbal, Andy                 Address on file                           Unearned Revenue                                                                $          165.00

Legendary Field Exhibitions, LLC   Gurfinkel, Elie              Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Gurley, Evangeline           Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Gurnell, Christopher         Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Gurnett, Jennifer            Address on file                           Unearned Revenue                                                                $           80.00


Legendary Field Exhibitions, LLC   Gusam, Siva                  Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Gustafson, Jeffrey           Address on file                           Unearned Revenue                                                                $          170.00

Legendary Field Exhibitions, LLC   Gutensohn, Mark              Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Guthrie, William             Address on file                           Unearned Revenue                                                                $          140.00
                                                                                                                                                                                                                                                      269




Legendary Field Exhibitions, LLC   Gutierrez Sanchez, Celena    Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Gutierrez, Alberto           Address on file                           Unearned Revenue                                                                $          105.00
Legendary Field Exhibitions, LLC   Gutierrez, Alexis            Address on file                           Unearned Revenue                                                                $           31.28
Legendary Field Exhibitions, LLC   Gutierrez, Anthony D.        Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Gutierrez, Daniel            Address on file                           Unearned Revenue                                                                $           55.50
Legendary Field Exhibitions, LLC   Gutierrez, Doretta           Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Gutierrez, Gilda             Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Gutierrez, Henry             Address on file                           Unearned Revenue                                                                $          105.00
Legendary Field Exhibitions, LLC   Gutierrez, Juan              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Gutierrez, Katherine         Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Gutierrez, Liliana           Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Gutierrez, Paul              Address on file                           Unearned Revenue                                                                $           80.00
Legendary Field Exhibitions, LLC   Gutierrez, Sarik             Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   Gutierrez, Serpico           Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Gutierrez, Ty                Address on file                           Unearned Revenue                                                                $           25.00
Legendary Field Exhibitions, LLC   Guzman, Andrew               Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Guzman, Brandon              Address on file                           Trade                                                                           $          300.00


Legendary Field Exhibitions, LLC   Guzman, Gwen                 Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Guzman, John                 Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   gvs enterprises              Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   Gyure, Andrew                Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Haag, Janice                 Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Haas, Erin                   Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                              19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 124 of




                                                                                                                                                   Page 73 of 202
                                                                               In re Legendary Field Exhibitions, LLC
                                                                                               Case No.
                                                                 Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                           Creditor Name        Address          Last 4 Date Debt   Trade, Debt / Note           Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                      Digits of  was    Payable (Type of Claim)                                               subject to
                                                                                      Account Incurred,                                                                        offset?
                                                                                      Number Basis for
                                                                                                Claim
Legendary Field Exhibitions, LLC   Haberman, Joseph              Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Habitat, Architectural        Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Hackley, Mike                 Address on file                           Unearned Revenue                                                                $          140.00
Legendary Field Exhibitions, LLC   Hackman, dustin               Address on file                           Unearned Revenue                                                                $          175.00
Legendary Field Exhibitions, LLC   Hackney, Reid                 Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Hadfield, Edward              Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Haefner, Alan                 Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Hafner, John                  Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Hagan, John                   Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Hagen, Lisa                   Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hagen, Matthew                Address on file                           Unearned Revenue                                                                $           35.00

Legendary Field Exhibitions, LLC   Hager, Michael                Address on file                           Unearned Revenue                                                                $          600.00

Legendary Field Exhibitions, LLC   Hahnlein, Sabrina             Address on file                           Unearned Revenue                                                                $           25.00

Legendary Field Exhibitions, LLC   Hailey, Jordan                Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   haimovitz, DAVID              Address on file                           Unearned Revenue                                                                $          240.00
Legendary Field Exhibitions, LLC   haimovitz, lawrence           Address on file                           Unearned Revenue                                                                $          240.00
Legendary Field Exhibitions, LLC   haimovitz, SOPHIA             Address on file                           Unearned Revenue                                                                $          200.00
Legendary Field Exhibitions, LLC   Haines, Lon                   Address on file                           Unearned Revenue                                                                $           45.00


Legendary Field Exhibitions, LLC   Hal Mumme                     127 S Roach Street                        Trade                                                                           $       30,000.00
                                                                 Apt #1503
                                                                 Jackson MS 39201
Legendary Field Exhibitions, LLC   Halamuda, Kris                Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Hale, Jessica                 Address on file                           Unearned Revenue                                                                $           60.00
                                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   Hale, Lauren                  Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Hale, Steve                   Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Haley, Greg                   Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Haley, Juston                 Address on file                           Unearned Revenue                                                                $          285.00


Legendary Field Exhibitions, LLC   Hall, Angela                  Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Hall, Chris                   Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Hall, Craig                   Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Hall, Dave                    Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Hall, Grant                   Address on file                           Unearned Revenue                                                                $           15.00
Legendary Field Exhibitions, LLC   Hall, Jerry                   Address on file                           Unearned Revenue                                                                $          356.00

Legendary Field Exhibitions, LLC   Hall, Richard                 Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Hall, Rodney                  Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hall, Scott                   Address on file                           Unearned Revenue                                                                $          160.00
Legendary Field Exhibitions, LLC   Hallak, Sarmad                Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Halman, Gloria                Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Halsey, Jack                  Address on file                           Unearned Revenue                                                                $          210.00


Legendary Field Exhibitions, LLC   hamann, robert                Address on file                           Unearned Revenue                                                                $           80.00
Legendary Field Exhibitions, LLC   Hamano Do, Nicole             Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Hamblin, Alleen               Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Hamby, Jarett                 Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Hamilton , Robert             Address on file                           Unearned Revenue                                                                $          596.00
                                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 125 of




                                                                                                                                                    Page 74 of 202
                                                                           In re Legendary Field Exhibitions, LLC
                                                                                           Case No.
                                                             Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                 Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                 Account Incurred,                                                                         offset?
                                                                                 Number Basis for
                                                                                           Claim
Legendary Field Exhibitions, LLC   Hamilton, Michael         Address on file                           Unearned Revenue                                                                $          555.00

Legendary Field Exhibitions, LLC   Hamilton, Paige-Marie     Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Hamilton, Scott           Address on file                           Unearned Revenue                                                                $          270.00

Legendary Field Exhibitions, LLC   Hamilton, Terry           Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Hamlin, Damara            Address on file                           Unearned Revenue                                                                $            0.04

Legendary Field Exhibitions, LLC   Hammerschmidt, Brian      Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Hampton, Clay             Address on file                           Trade                                                                           $        5,000.00

Legendary Field Exhibitions, LLC   Hampton, Maurice          Address on file                           Unearned Revenue                                                                $        1,000.00

Legendary Field Exhibitions, LLC   Hampton, Rodney           Address on file                           Unearned Revenue                                                                $          300.00


Legendary Field Exhibitions, LLC   Hanau, Walter             Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Hance, Jennifer           Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Hancock, Craig            Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Hancock, Mark             Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Handrahan, David          Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Hands On Atlanta          600 Means Street                          Trade                                                                           $           50.00
                                                             NW Ste 100
                                                             Atlanta, GA 30318
Legendary Field Exhibitions, LLC   Hanewinckel, Bryan        Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Hanika, Helen             Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Haniotakis, Tony          Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                                                                   269




Legendary Field Exhibitions, LLC   Hankins, Gary             Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Hanna, Austin             Address on file                           Unearned Revenue                                                                $          220.00



Legendary Field Exhibitions, LLC   Hanna, Les                Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Hanna, William            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hannah, Marion            Address on file                           Unearned Revenue                                                                $          155.00

Legendary Field Exhibitions, LLC   Hannah, Ryan              Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Hannon, Sonia             Address on file                           Unearned Revenue                                                                $          175.00

Legendary Field Exhibitions, LLC   Hanover, Emily            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hanover, Holly            Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Hansen, Jackie            Address on file                           Unearned Revenue                                                                $          180.00

Legendary Field Exhibitions, LLC   Hansen, Monte             Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Hanson, Theresa           Address on file                           Unearned Revenue                                                                $          180.00

Legendary Field Exhibitions, LLC   Hanson, Tyler             Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Hara, Nathaniel           Address on file                           Unearned Revenue                                                                $           80.00
Legendary Field Exhibitions, LLC   Hard, Ray                 Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Hardeman, Michael         Address on file                           Unearned Revenue                                                                $           80.00


Legendary Field Exhibitions, LLC   Hardie, Cynthia & Rich    Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Hardin, David             Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Harding, Rob              Address on file                           Unearned Revenue                                                                $           75.00
Legendary Field Exhibitions, LLC   Haring Barnum, Marlo      Address on file                           Unearned Revenue                                                                $           48.00
Legendary Field Exhibitions, LLC   Harkness, James           Address on file                           Unearned Revenue                                                                $          100.00



Legendary Field Exhibitions, LLC   Harlan, Alexander         Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                           19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 126 of




                                                                                                                                                Page 75 of 202
                                                                            In re Legendary Field Exhibitions, LLC
                                                                                            Case No.
                                                              Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                  Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                  Account Incurred,                                                                         offset?
                                                                                  Number Basis for
                                                                                            Claim
Legendary Field Exhibitions, LLC   Harms, Barron              Address on file                           Unearned Revenue                                                                $           45.00


Legendary Field Exhibitions, LLC   Harn, Sherri               Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Harnish, Ethan             Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Harp, Derrik               Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Harp, Vernon               Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Harper, Charles            Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Harper, Nick               Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Harrington, Michael        Address on file                           Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   Harrington, Patrick        Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Harris, Brian              Address on file                           Unearned Revenue                                                                $           31.28
Legendary Field Exhibitions, LLC   Harris, Cody               Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Harris, Corey              Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Harris, Gary               Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Harris, Jesse              Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Harris, Kelli              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Harris, Sean               Address on file                           Unearned Revenue                                                                $           75.00


Legendary Field Exhibitions, LLC   Harris, Tamara             Address on file                           Unearned Revenue                                                                $        1,500.00

Legendary Field Exhibitions, LLC   Harris, Tami               126 W 50 S                                Trade                                                                           $          305.00
                                                              Farmington
                                                              UT84025
                                                                                                                                                                                                                                                    269




Legendary Field Exhibitions, LLC   Harris, William            Address on file                           Unearned Revenue                                                                $          320.00


Legendary Field Exhibitions, LLC   harrison, darian           Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Harrison, David            Address on file                           Unearned Revenue                                                                $          154.00


Legendary Field Exhibitions, LLC   Harrison, Sean             Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Hart, Blake                Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Hart, Jesse                Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Hartel, Ed                 Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Hartman, Mark              Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hartman, Phil              Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hartman, Quinn             Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Hartman, Sydney            Address on file                           Unearned Revenue                                                                $          270.00
Legendary Field Exhibitions, LLC   Hartoon, Robert            Address on file                           Unearned Revenue                                                                $           35.00


Legendary Field Exhibitions, LLC   Harvey, James              Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Harvey, John               Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Harvey, Rob                Address on file                           Unearned Revenue                                                                $           57.00

Legendary Field Exhibitions, LLC   harvey, tom                Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Harwood, Zachary           Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Hasberry, Charles          Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Hash, James                Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hash, Matthew              Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Hash, Shawna               Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                            19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 127 of




                                                                                                                                                 Page 76 of 202
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                                    Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name               Address          Last 4 Date Debt   Trade, Debt / Note           Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                         Digits of  was    Payable (Type of Claim)                                               subject to
                                                                                         Account Incurred,                                                                        offset?
                                                                                         Number Basis for
                                                                                                   Claim
Legendary Field Exhibitions, LLC   Haskin, Jessica                  Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Haskins, Darnell                 Address on file                           Unearned Revenue                                                                $          500.00

Legendary Field Exhibitions, LLC   Hassler, Jason                   Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hastings, Camille                Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hatch, James                     Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hatch, John                      Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Hatch, Michael J                 Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Hatchett, Anna                   Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Hauck, William                   Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Hauswirth, Tim                   Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Hawk, Kris                       Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Hawkins , Matthew                Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Hawkins, Jack                    Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Hawkins, Joe                     Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Hawley, Tanner                   Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Haworth, Austin                  Address on file                           Unearned Revenue                                                                $          161.00
Legendary Field Exhibitions, LLC   Hawryluk, Kent                   Address on file                           Unearned Revenue                                                                $          600.00

Legendary Field Exhibitions, LLC   Hayden, Major                    Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Hayes, Corinthia                 Address on file                           Unearned Revenue                                                                $           15.00
                                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   Hayes, Frederick                 Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Hayes, Gaynell                   Address on file                           Unearned Revenue                                                                $           35.00

Legendary Field Exhibitions, LLC   Hayes, Howard                    Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Hayes, Kristine                  Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Hayes, Ralph S.                  Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hayes, Tierra                    Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Hayes, Vincent                   Address on file                           Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Hayes, Wendy                     Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Hayhurst, Lindsay                Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Haynes, Christian                Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Haynes, Trey                     Address on file                           Unearned Revenue                                                                $          302.00
Legendary Field Exhibitions, LLC   Haynes, Willie                   Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   Hayward, Jeff                    Address on file                           Unearned Revenue                                                                $          640.00


Legendary Field Exhibitions, LLC   Haywood, Mary Ellen              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   HCM Cleaning                     8680 W Mesquite                           Trade                                                                           $          950.00
                                                                    Circle
                                                                    Magna, UT 84044
Legendary Field Exhibitions, LLC   Healy, Kathleen                  Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Hearsey, David                   Address on file                           Unearned Revenue                                                                $        1,400.00

Legendary Field Exhibitions, LLC   Hearst Media Solutions dba San   P.O Box 80087                             Trade                                                                           $       19,900.00
                                   Antonio Express News             Prescott AZ 86304-
                                                                    8087
Legendary Field Exhibitions, LLC   Heath, Earl                      Address on file                           Unearned Revenue                                                                $        1,000.00
Legendary Field Exhibitions, LLC   Heaton, Robert                   Address on file                           Unearned Revenue                                                                $           40.00
Legendary Field Exhibitions, LLC   Hebdon, Robert                   Address on file                           Unearned Revenue                                                                $           70.00
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 128 of




                                                                                                                                                       Page 77 of 202
                                                                              In re Legendary Field Exhibitions, LLC
                                                                                              Case No.
                                                                Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                    Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                    Account Incurred,                                                                         offset?
                                                                                    Number Basis for
                                                                                              Claim
Legendary Field Exhibitions, LLC   Hebrank, Thomas              Address on file                           Unearned Revenue                                                                $           25.00

Legendary Field Exhibitions, LLC   HEBRON CORPORATION           Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Heck, William                Address on file                           Unearned Revenue                                                                $          304.00


Legendary Field Exhibitions, LLC   Hect, Matthew                Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Hedgecock, David             Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Heeder, Harry                Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Heerdink, Corina             Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Hegedus, Tara                Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Heggood, David               Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Heiderich, Jeremy            Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Heidrich, Mitch              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Hein, James                  Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Hein, Kris                   Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Heldal, Nicolas              Address on file                           Unearned Revenue                                                                $          105.00

Legendary Field Exhibitions, LLC   Helfers, Curtis              Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   helie, robert                Address on file                           Unearned Revenue                                                                $           32.00
Legendary Field Exhibitions, LLC   Hellan, Mark                 Address on file                           Unearned Revenue                                                                $          150.00
Legendary Field Exhibitions, LLC   hellinger, justin            Address on file                           Unearned Revenue                                                                $          680.00


Legendary Field Exhibitions, LLC   Hellyer, Christy             Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Hemmert, Jennifer Ellen      Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Hemphill, Tommy              Address on file                           Unearned Revenue                                                                $           58.00
                                                                                                                                                                                                                                                      269




Legendary Field Exhibitions, LLC   Hence, Yoshia                Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Henderson, Bill              Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   henderson, eric              Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Henderson, Jason             Address on file                           Unearned Revenue                                                                $           10.00

Legendary Field Exhibitions, LLC   Henderson, Pamela            Address on file                           Unearned Revenue                                                                $           44.00
Legendary Field Exhibitions, LLC   Henderson, veronica          Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Hendrix, David               Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hendrix, Gerid               Address on file                           Unearned Revenue                                                                $          105.00

Legendary Field Exhibitions, LLC   Henke, Waylon                Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Henley, John                 Address on file                           Unearned Revenue                                                                $          170.00

Legendary Field Exhibitions, LLC   Hennessy, Brianna            Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Hennig, Richard              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   HENRY SCHEIN, Inc.           135 Duryea Rd                             Trade                                                                           $      172,004.05
                                                                Melville NY 11747
Legendary Field Exhibitions, LLC   Henry, Brett                 Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Henry, Kelly                 Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Henry, Selia                 Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Hensley, Adrian C            Address on file                           Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   Henson, Shannon              Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   hepworth, marvin             Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Herkes, Samuel               Address on file                           Unearned Revenue                                                                $           25.00

Legendary Field Exhibitions, LLC   HERNANDEZ , LUIS             Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Hernandez raya, christian    Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Hernandez, Alberto           Address on file                           Unearned Revenue                                                                $          150.00
                                                                                                                                                                                                              19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 129 of




                                                                                                                                                   Page 78 of 202
                                                                           In re Legendary Field Exhibitions, LLC
                                                                                           Case No.
                                                             Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                 Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                 Account Incurred,                                                                         offset?
                                                                                 Number Basis for
                                                                                           Claim
Legendary Field Exhibitions, LLC   Hernandez, Alex           Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Hernandez, Andrea         Address on file                           Unearned Revenue                                                                $          152.50
Legendary Field Exhibitions, LLC   Hernandez, Antonio        Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Hernandez, Arturo         Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Hernandez, Bernard        Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Hernandez, Carol J        Address on file                           Unearned Revenue                                                                $          400.00


Legendary Field Exhibitions, LLC   Hernandez, Cassandra      Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Hernandez, Chris          Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Hernandez, Cristina       Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hernandez, Cruz           Address on file                           Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Hernandez, Dalia          Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Hernandez, Dan            Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Hernandez, Daniel         Address on file                           Unearned Revenue                                                                $          120.00
Legendary Field Exhibitions, LLC   Hernandez, Elizabeth      Address on file                           Unearned Revenue                                                                $           40.00
Legendary Field Exhibitions, LLC   Hernandez, Ernest         Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hernandez, George         Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Hernandez, Guadalupe      Address on file                           Unearned Revenue                                                                $          125.00

Legendary Field Exhibitions, LLC   Hernandez, Hector         Address on file                           Unearned Revenue                                                                $          210.75

Legendary Field Exhibitions, LLC   Hernandez, Joel           Address on file                           Unearned Revenue                                                                $          340.00


Legendary Field Exhibitions, LLC   hernandez, jose           Address on file                           Unearned Revenue                                                                $           45.00
                                                                                                                                                                                                                                                   269




Legendary Field Exhibitions, LLC   Hernandez, Josephine      Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Hernandez, Joshua         Address on file                           Unearned Revenue                                                                $           44.00

Legendary Field Exhibitions, LLC   Hernandez, Lee            Address on file                           Unearned Revenue                                                                $          175.00

Legendary Field Exhibitions, LLC   Hernandez, Marco          Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Hernandez, Mario          Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Hernandez, Martin         Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Hernandez, Mike           Address on file                           Unearned Revenue                                                                $          270.00

Legendary Field Exhibitions, LLC   Hernandez, Miriam         Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Hernandez, Nelda          Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Hernandez, Oscar          Address on file                           Unearned Revenue                                                                $          470.00

Legendary Field Exhibitions, LLC   Hernandez, Paul           Address on file                           Unearned Revenue                                                                $          695.00

Legendary Field Exhibitions, LLC   Hernandez, Ricky          Address on file                           Unearned Revenue                                                                $          180.00

Legendary Field Exhibitions, LLC   Hernandez, Robert         Address on file                           Unearned Revenue                                                                $          135.00

Legendary Field Exhibitions, LLC   Hernandez, Ruben B        Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   Hernandez, Rudy           Address on file                           Unearned Revenue                                                                $          250.00
Legendary Field Exhibitions, LLC   Hernandez, Sarah          Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   HERNANDEZ, Scott          Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Hernandez, Suzanne        Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Hernandez, Taigoro        Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hernandez, Trey           Address on file                           Unearned Revenue                                                                $          650.00
Legendary Field Exhibitions, LLC   Hernandez, Veronica       Address on file                           Unearned Revenue                                                                $           80.00
Legendary Field Exhibitions, LLC   Herndon, Winston          Address on file                           Unearned Revenue                                                                $           70.00
                                                                                                                                                                                                           19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 130 of




                                                                                                                                                Page 79 of 202
                                                                                 In re Legendary Field Exhibitions, LLC
                                                                                                 Case No.
                                                                   Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name              Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                       Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                       Account Incurred,                                                                         offset?
                                                                                       Number Basis for
                                                                                                 Claim
Legendary Field Exhibitions, LLC   Herrberg, Chris                 Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   HERRERA, FRED                   Address on file                           Unearned Revenue                                                                $           78.00

Legendary Field Exhibitions, LLC   Herrera, Gabino                 Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   Herrera, Justin                 Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   HERRERA, PATRICIA               Address on file                           Unearned Revenue                                                                $           82.00

Legendary Field Exhibitions, LLC   Herrera, Rick                   Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Herrera, Ruby                   Address on file                           Unearned Revenue                                                                $           91.50
Legendary Field Exhibitions, LLC   Herrick, Howard                 Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Herring, Ryan                   Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Herron, Jayci                   Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Hester, Blaine                  Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Hester, Kaitlyn                 Address on file                           Unearned Revenue                                                                $           81.00
Legendary Field Exhibitions, LLC   Hester, Petrr                   Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Hettinger, Michael              Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   Hettler, Lisa                   Address on file                           Unearned Revenue                                                                $           83.25
Legendary Field Exhibitions, LLC   Hetzler, KAthryn                Address on file                           Unearned Revenue                                                                $        2,720.00

Legendary Field Exhibitions, LLC   Heusner, Sandra                 Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hevener, Kirk                   Address on file                           Unearned Revenue                                                                $           15.64
Legendary Field Exhibitions, LLC   Hevier, Rj                      Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Hewitt's Flooring & Demo, LLC   1925 Shumantown                           Trade                                                                           $        7,806.44
                                                                   Rd.
                                                                   Ellabell GA 31308
Legendary Field Exhibitions, LLC   Heyer, Troy                     Address on file                           Unearned Revenue                                                                $          600.00
                                                                                                                                                                                                                                                         269




Legendary Field Exhibitions, LLC   Hibbets, Shawn                  Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Hibbett, Robert                 Address on file                           Unearned Revenue                                                                $          116.00
Legendary Field Exhibitions, LLC   Hickerson, Claude               Address on file                           Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   Hickey, Brianne                 Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Hickman, Tommy                  Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Hicks Conventions Services &    935 Rayner Street                         Trade                                                                           $        5,821.06
                                   Special Events, Inc.            Memphis TN 38114
Legendary Field Exhibitions, LLC   Hicks, Bradley                  Address on file                           Unearned Revenue                                                                $           44.00
Legendary Field Exhibitions, LLC   Hicks, Jaudohn                  Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Hicks, Katherine                Address on file                           Unearned Revenue                                                                $          500.00

Legendary Field Exhibitions, LLC   Hicks, Richard                  Address on file                           Unearned Revenue                                                                $          150.00


Legendary Field Exhibitions, LLC   Hieb, Ryan                      Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Higginbotham , Terry            Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   higgins, joshua                 Address on file                           Unearned Revenue                                                                $          180.00


Legendary Field Exhibitions, LLC   Higgins, Mark                   Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Higgins, Matthew                Address on file                           Unearned Revenue                                                                $           38.00

Legendary Field Exhibitions, LLC   High Key Management             Address on file                           Unearned Revenue                                                                $          105.00

Legendary Field Exhibitions, LLC   High Rise Audio                 6783 S 2300 E                             Trade                                                                           $        4,035.00
                                                                   Salt Lake City UT
                                                                   84121
Legendary Field Exhibitions, LLC   Highmark Electric LLC           7577 West Caballo                         Trade                                                                           $       16,027.26
                                                                   Cove
                                                                   Herriman UT 84096
Legendary Field Exhibitions, LLC   Hilger, Charles                 Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Hill Country Classics           Address on file                           Unearned Revenue                                                                $          300.00
                                                                                                                                                                                                                 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 131 of




                                                                                                                                                      Page 80 of 202
                                                                                   In re Legendary Field Exhibitions, LLC
                                                                                                   Case No.
                                                                     Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                           Creditor Name            Address          Last 4 Date Debt   Trade, Debt / Note           Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                          Digits of  was    Payable (Type of Claim)                                               subject to
                                                                                          Account Incurred,                                                                        offset?
                                                                                          Number Basis for
                                                                                                    Claim
Legendary Field Exhibitions, LLC   Hill, Alton                       Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   hill, angela                      Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Hill, Ariana                      Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Hill, Dianne                      Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Hill, Donald                      Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Hill, Jeremiah                    Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hill, Larry                       Address on file                           Unearned Revenue                                                                $           35.00

Legendary Field Exhibitions, LLC   Hill, M.L.                        Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Hill, Micah                       Address on file                           Unearned Revenue                                                                $          340.00


Legendary Field Exhibitions, LLC   Hill, Richelle                    Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hill, Rick                        Address on file                           Unearned Revenue                                                                $          240.00

Legendary Field Exhibitions, LLC   Hill, Sean                        Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Hill, Stephen                     Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Hilles, Alexandra                 Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Hilliard, Ben                     Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Hilliard, Chris                   Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Hilton Garden Inn Downtown        250 18th St S                             Trade                                                                           $          836.64
                                   Birmingham                        Birmingham, AL
                                                                     35233
Legendary Field Exhibitions, LLC   Hilton Garden Inn Orlando EastUCF 1959 N Alafaya                            Trade                                                                           $       29,266.44
                                                                                                                                                                                                                                                           269




                                   Area                              Trail
                                                                     Orlando, FL 32826
Legendary Field Exhibitions, LLC   Hilton Grand Vacations            Address on file                           Unearned Revenue                                                                $          280.00

Legendary Field Exhibitions, LLC   Hilton Salt Lake City Center      255 South West                            Trade                                                                           $       80,796.10
                                                                     Temple
                                                                     Salt Lake City, UT
                                                                     84101
Legendary Field Exhibitions, LLC   Hilton San Diego Mission Valley   901 Camino Del Rio                        Trade                                                                           $       12,758.07
                                                                     South
                                                                     San Diego, CA
                                                                     92108
Legendary Field Exhibitions, LLC   Hilton, Hunter                    Address on file                           Unearned Revenue                                                                $           91.50
Legendary Field Exhibitions, LLC   Hiltpold, Roger                   Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Hineman, Monique                  Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Hines, Eric                       Address on file                           Unearned Revenue                                                                $           45.00


Legendary Field Exhibitions, LLC   Hines, James                      Address on file                           Unearned Revenue                                                                $          140.00


Legendary Field Exhibitions, LLC   Hinkle, Scott                     Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Hinrichs, Mike                    Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Hiregy                            P.O Box 536853                            Trade                                                                           $       18,309.99
                                                                     Atlanta GA 30353-
                                                                     6853
Legendary Field Exhibitions, LLC   Hitchcock, Brian                  Address on file                           Unearned Revenue                                                                $          600.00

Legendary Field Exhibitions, LLC   Hite, Andrew                      Address on file                           Unearned Revenue                                                                $          230.00

Legendary Field Exhibitions, LLC   HiWire Communication              8 W 38th St Suite                         Trade                                                                           $        6,012.00
                                                                     1200
                                                                     New York, NY
                                                                     10018
Legendary Field Exhibitions, LLC   Hix, Jim                          Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   Hixon, Gean                       Address on file                           Unearned Revenue                                                                $           25.00
                                                                                                                                                                                                                   19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 132 of




                                                                                                                                                        Page 81 of 202
                                                                                     In re Legendary Field Exhibitions, LLC
                                                                                                     Case No.
                                                                       Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name               Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                           Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                           Account Incurred,                                                                         offset?
                                                                                           Number Basis for
                                                                                                     Claim
Legendary Field Exhibitions, LLC   Ho, Victor                          Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Hobbs, Cory                         Address on file                           Unearned Revenue                                                                $           35.00

Legendary Field Exhibitions, LLC   Hobbs, Michael                      Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Hodel, Michael                      Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Hoder, Timothy                      Address on file                           Unearned Revenue                                                                $          360.00

Legendary Field Exhibitions, LLC   hodge, alan                         Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Hodge, Bryon                        Address on file                           Unearned Revenue                                                                $           25.20

Legendary Field Exhibitions, LLC   Hodges, Jim                         Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Hodges, Mark                        Address on file                           Unearned Revenue                                                                $           62.56
Legendary Field Exhibitions, LLC   Hoefle, Jeffrey                     Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Hoeger, Brian                       Address on file                           Unearned Revenue                                                                $           45.00


Legendary Field Exhibitions, LLC   Hoermann, Rusty                     Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Hoffer, Rachel                      Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Hoffman, Brian                      Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Hoffman, christina                  Address on file                           Unearned Revenue                                                                $           61.00
Legendary Field Exhibitions, LLC   Hoffman, Jacob                      Address on file                           Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Hoffman, Martin                     Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Hoffman, Michael                    Address on file                           Unearned Revenue                                                                $          110.00

Legendary Field Exhibitions, LLC   Hoffman, Phillip                    Address on file                           Unearned Revenue                                                                $        1,200.00
                                                                                                                                                                                                                                                             269




Legendary Field Exhibitions, LLC   Hoffman, Ryan                       Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Hoffman, Scott                      Address on file                           Unearned Revenue                                                                $          110.00


Legendary Field Exhibitions, LLC   Hoffman, Steve                      Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   hoffman, wyatt                      Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hoffmann, Austin                    Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Hog Wild –Real Memphis Barbeque,    1291 Tully St.                            Trade                                                                           $      116,699.59
                                   LLC                                 Memphis TN 38107
Legendary Field Exhibitions, LLC   Hogan, Richard                      Address on file                           Unearned Revenue                                                                $          162.00
Legendary Field Exhibitions, LLC   Hoggan, Jarrod                      Address on file                           Unearned Revenue                                                                $          156.00


Legendary Field Exhibitions, LLC   Hoggard, Jon                        Address on file                           Unearned Revenue                                                                $          230.00


Legendary Field Exhibitions, LLC   Hoggatt, Denice                     Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hoibraten, John                     Address on file                           Unearned Revenue                                                                $          112.00

Legendary Field Exhibitions, LLC   Hokanson, Carl                      Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Hokanson, Trevor                    Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Holcombe, Shawn                     Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Holiday Inn Downtown Memphis        160 Union Ave                             Trade                                                                           $       47,287.70
                                                                       Memphis, TN 38103

Legendary Field Exhibitions, LLC   Holiday Inn Riverwalk               Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Holiday Inn San Antonio Riverwalk   217 North Saint                           Trade                                                                           $      478,147.85
                                                                       Mary's St
                                                                       San Antonio TX
                                                                       78205
Legendary Field Exhibitions, LLC   Holifield, Patricia                 Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Holland, Jeremy                     Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hollenbeck, Ryan                    Address on file                           Unearned Revenue                                                                $          590.00
                                                                                                                                                                                                                     19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 133 of




                                                                                                                                                          Page 82 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name               Address          Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                          Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                          Account Incurred,                                                                         offset?
                                                                                          Number Basis for
                                                                                                    Claim
Legendary Field Exhibitions, LLC   Holler, Roger                     Address on file                            Unearned Revenue                                                                $        7,000.00
Legendary Field Exhibitions, LLC   Hollis, Lee                       Address on file                            Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Holloway, Donald                  Address on file                            Unearned Revenue                                                                $          410.00

Legendary Field Exhibitions, LLC   holloway, jeff                    Address on file                            Unearned Revenue                                                                $           45.00
Legendary Field Exhibitions, LLC   Holmes, Robert                    Address on file                            Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Holmes, Steven C                  Address on file                            Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Holmgren, Travis                  Address on file                            Unearned Revenue                                                                $           40.00
Legendary Field Exhibitions, LLC   Holt, Anthony                     Address on file                            Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Holt, Carlos                      Address on file                            Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Holt, Megan                       Address on file                            Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Holt, Sjioukie                    Address on file                            Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Holzhaus, Colby                   Address on file                            Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Hom, Henry                        Address on file                            Unearned Revenue                                                                $          375.00

Legendary Field Exhibitions, LLC   Homberger, Eric                   Address on file                            Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Home rebate                       Address on file                            Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Home2 Suites by Hilton Birmingham 250 18th Street                            Trade                                                                           $        4,601.52
                                   Downtown                          South
                                                                     Birmingham AL
                                                                     35233
Legendary Field Exhibitions, LLC   Honohan, Trevor                   Address on file                            Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Honse, Reese                      Address on file                            Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Hood, Michelle                    Address on file                            Unearned Revenue                                                                $           50.00
                                                                                                                                                                                                                                                            269




Legendary Field Exhibitions, LLC   Hood, Ronald                      Address on file                            Unearned Revenue                                                                $           44.00

Legendary Field Exhibitions, LLC   Hood, Sabrina                     Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hoofard, Charles                  Address on file                            Unearned Revenue                                                                $          121.50
Legendary Field Exhibitions, LLC   Hook, Doug                        Address on file                            Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Hooks-Kramer, Wendy               Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Hookstra, Terry                   Address on file                            Unearned Revenue                                                                $          410.00

Legendary Field Exhibitions, LLC   Hooper, Griffon                   Address on file                            Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   Hooven, Mark                      Address on file                            Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Hope, Lucas                       Address on file                            Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Hopek, Robert                     Address on file                            Unearned Revenue                                                                $          210.00



Legendary Field Exhibitions, LLC   Hopenwasser, Brett                Address on file                            Unearned Revenue                                                                $           20.00


Legendary Field Exhibitions, LLC   Hopkin, Ethan                     Address on file                            Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Hopkins, Caleb                    Address on file                            Trade                                                                           $          300.00

Legendary Field Exhibitions, LLC   Hopkins, Edward                   Address on file                            Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Hopkins, Erica                    Address on file                            Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Hopkins, Jeffry                   Address on file                            Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Hopkins, Martin                   Address on file                            Unearned Revenue                                                                $          264.00

Legendary Field Exhibitions, LLC   Hopper, Sherrie                   Address on file                            Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Horn, Israel                      Address on file                            Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Horner, Richard                   Address on file                            Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Hornsby, Jason                    Address on file                            Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Hornsby, Tonya                    Address on file                            Unearned Revenue                                                                $          100.00
                                                                                                                                                                                                                    19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 134 of




                                                                                                                                                         Page 83 of 202
                                                                                      In re Legendary Field Exhibitions, LLC
                                                                                                      Case No.
                                                                        Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name                Address         Last 4 Date Debt   Trade, Debt / Note                Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                            Digits of  was    Payable (Type of Claim)                                                    subject to
                                                                                            Account Incurred,                                                                             offset?
                                                                                            Number Basis for
                                                                                                      Claim
Legendary Field Exhibitions, LLC   Horseshoe Casino                     Address on file                           Unearned Revenue                                                                    $        1,000.00


Legendary Field Exhibitions, LLC   Hortenstine, Gary                    Address on file                           Unearned Revenue                                                                    $           50.00

Legendary Field Exhibitions, LLC   Horton, Caroline                     Address on file                           Unearned Revenue                                                                    $           20.00
Legendary Field Exhibitions, LLC   Horton, Patrick                      Address on file                           Unearned Revenue                                                                    $          170.00

Legendary Field Exhibitions, LLC   Horton, Walter                       Address on file                           Unearned Revenue                                                                    $          100.00

Legendary Field Exhibitions, LLC   Horvath, Tom                         Address on file                           Unearned Revenue                                                                    $          130.00

Legendary Field Exhibitions, LLC   Host, Paul                           Address on file                           Unearned Revenue                                                                    $           76.00

Legendary Field Exhibitions, LLC   Hotard, Robert                       Address on file                           Unearned Revenue                                                                    $          100.00

Legendary Field Exhibitions, LLC   Hotshots Softball of Arizona, Inc.   Address on file                           Litigation                  x                  x              x                              Unknown

Legendary Field Exhibitions, LLC   Houchins, Clint                      Address on file                           Unearned Revenue                                                                    $          205.00
Legendary Field Exhibitions, LLC   Houghtaling, Gus                     Address on file                           Unearned Revenue                                                                    $          320.00

Legendary Field Exhibitions, LLC   Houlihan, Michael                    Address on file                           Unearned Revenue                                                                    $          245.00

Legendary Field Exhibitions, LLC   Houser, Dennis                       Address on file                           Unearned Revenue                                                                    $           30.00

Legendary Field Exhibitions, LLC   Houston, Brad                        Address on file                           Unearned Revenue                                                                    $           70.00

Legendary Field Exhibitions, LLC   Houston, Jeff                        Address on file                           Unearned Revenue                                                                    $           90.00
Legendary Field Exhibitions, LLC   Hover Sr., Thomas                    Address on file                           Unearned Revenue                                                                    $           50.00

Legendary Field Exhibitions, LLC   Hover, Thomas                        Address on file                           Unearned Revenue                                                                    $           50.00

Legendary Field Exhibitions, LLC   Hovland, Steven                      Address on file                           Unearned Revenue                                                                    $           30.00


Legendary Field Exhibitions, LLC   Howard, Billy                        Address on file                           Unearned Revenue                                                                    $          120.00

Legendary Field Exhibitions, LLC   Howard, Brooks                       Address on file                           Unearned Revenue                                                                    $          225.00
                                                                                                                                                                                                                                                                  269




Legendary Field Exhibitions, LLC   Howard, Christopher                  Address on file                           Unearned Revenue                                                                    $           20.00


Legendary Field Exhibitions, LLC   Howard, Corey                        Address on file                           Unearned Revenue                                                                    $          265.00


Legendary Field Exhibitions, LLC   Howard, Defrieda                     Address on file                           Unearned Revenue                                                                    $           30.00

Legendary Field Exhibitions, LLC   Howard, Glenn                        Address on file                           Unearned Revenue                                                                    $           15.00

Legendary Field Exhibitions, LLC   Howard, Josh                         Address on file                           Trade                                                                               $          600.00

Legendary Field Exhibitions, LLC   Howard, Julie                        Address on file                           Unearned Revenue                                                                    $           20.00
Legendary Field Exhibitions, LLC   Howard, Keyeria                      Address on file                           Unearned Revenue                                                                    $          140.00

Legendary Field Exhibitions, LLC   Howard, Richard                      Address on file                           Unearned Revenue                                                                    $          100.00

Legendary Field Exhibitions, LLC   Howell, Chris                        Address on file                           Unearned Revenue                                                                    $           90.00

Legendary Field Exhibitions, LLC   Howell, Connie                       Address on file                           Unearned Revenue                                                                    $          640.00
Legendary Field Exhibitions, LLC   Howell, James                        Address on file                           Unearned Revenue                                                                    $           70.00

Legendary Field Exhibitions, LLC   Howell, Michael                      Address on file                           Unearned Revenue                                                                    $           50.00

Legendary Field Exhibitions, LLC   Howell, Robbie                       Address on file                           Unearned Revenue                                                                    $          150.00

Legendary Field Exhibitions, LLC   Howie, Michael                       Address on file                           Unearned Revenue                                                                    $           25.00


Legendary Field Exhibitions, LLC   Hoyum, Kaleb                         Address on file                           Unearned Revenue                                                                    $           45.00

Legendary Field Exhibitions, LLC   Hubbard Radio Phoenix dba KSLX-      Lockboc# 511553.                          Trade                                                                               $       11,118.06
                                   FM, KAZG-AM, KDKB-FM, KUPD-          P.O. Box 511553
                                   FM, KDUS-AM                          Los Angeles CA
                                                                        90051-8108
Legendary Field Exhibitions, LLC   Hubbard, Derek                       Address on file                           Unearned Revenue                                                                    $           40.00
Legendary Field Exhibitions, LLC   Hubbard, Jessica                     Address on file                           Unearned Revenue                                                                    $          150.00

Legendary Field Exhibitions, LLC   HUBBARD, STEPHEN                     Address on file                           Unearned Revenue                                                                    $          100.00

Legendary Field Exhibitions, LLC   Hubbs, Gwen                          Address on file                           Unearned Revenue                                                                    $          120.00
                                                                                                                                                                                                                          19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 135 of




                                                                                                                                                               Page 84 of 202
                                                                             In re Legendary Field Exhibitions, LLC
                                                                                             Case No.
                                                               Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                         Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                   Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                   Account Incurred,                                                                         offset?
                                                                                   Number Basis for
                                                                                             Claim
Legendary Field Exhibitions, LLC   Hubert, Warren              Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Hudgins, Phillip            Address on file                           Unearned Revenue                                                                $          190.00

Legendary Field Exhibitions, LLC   Hudnall, William            Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Hudson, Barry               Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Hudson, Ernest              Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Hudson, Leo                 Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Hudson, Michael             Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   Huelsebusch, Ethan          Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Huerta, Gerry               Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Huerta, Steven              Address on file                           Unearned Revenue                                                                $           25.00


Legendary Field Exhibitions, LLC   Huerta, Victor              Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Hueston, Walter             Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Huff, Dennis                Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Huff, Lonnie                Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   huffman, kris               Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Huffman, Marvin             Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Huggins, Ocea               Address on file                           Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Hughes, Arthur              Address on file                           Unearned Revenue                                                                $           70.00
                                                                                                                                                                                                                                                     269




Legendary Field Exhibitions, LLC   Hughes, Brian               Address on file                           Unearned Revenue                                                                $           10.00
Legendary Field Exhibitions, LLC   Hughes, Denise              Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hughes, Joshua              Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Hughes, Kevin               Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Hughes, Shamus              Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Hughes, Wade                Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Hughey, Keith               Address on file                           Unearned Revenue                                                                $          150.00


Legendary Field Exhibitions, LLC   Huizar, Rick                Address on file                           Unearned Revenue                                                                $          170.00

Legendary Field Exhibitions, LLC   Hull, Lowell                Address on file                           Unearned Revenue                                                                $           75.00
Legendary Field Exhibitions, LLC   Hulley, Shaw                Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Human, Chris                Address on file                           Unearned Revenue                                                                $          280.00
Legendary Field Exhibitions, LLC   Human, Jason                Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Humphrey, Patrick           Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Humphryes, Tiffany          Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Hungerford, Michael         Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Hunt, Bob                   Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Hunt, Pamela                Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Hunter, Michael             Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Hunt-Gallati, Tyler         Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Huntsman, Doug              Address on file                           Unearned Revenue                                                                $           78.00


Legendary Field Exhibitions, LLC   Hurlbert, Matt              Address on file                           Unearned Revenue                                                                $          240.00
Legendary Field Exhibitions, LLC   Hurley, Misty               Address on file                           Unearned Revenue                                                                $           70.00
                                                                                                                                                                                                             19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 136 of




                                                                                                                                                  Page 85 of 202
                                                                                   In re Legendary Field Exhibitions, LLC
                                                                                                   Case No.
                                                                     Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name               Address           Last 4 Date Debt   Trade, Debt / Note          Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                           Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                           Account Incurred,                                                                       offset?
                                                                                           Number Basis for
                                                                                                     Claim
Legendary Field Exhibitions, LLC   Huron, Frank                      Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Hurst, Anthony                    Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Hurst, Chris                      Address on file                           Unearned Revenue                                                                $          600.00


Legendary Field Exhibitions, LLC   Hurst, Eric                       Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Hurst, Jason                      Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Hurst, Joshua                     Address on file                           Unearned Revenue                                                                $          111.00

Legendary Field Exhibitions, LLC   Hurtado, Joel                     Address on file                           Unearned Revenue                                                                $           40.00
Legendary Field Exhibitions, LLC   Husband, Philip                   Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Hussein, Maen                     Address on file                           Unearned Revenue                                                                $          700.00

Legendary Field Exhibitions, LLC   Hutchins, Eric                    Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Hutchinson, Scott                 Address on file                           Unearned Revenue                                                                $          336.00

Legendary Field Exhibitions, LLC   Hutchison, Valerie                Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Huxley, Donald                    Address on file                           Unearned Revenue                                                                $          600.00

Legendary Field Exhibitions, LLC   Hyams, Chad                       Address on file                           Unearned Revenue                                                                $          210.00

Legendary Field Exhibitions, LLC   Hyatt Regency Riverwalk San       123 Losoya                                Trade                                                                           $      117,306.54
                                   Antonio                           San Antonio TX
                                                                     78205
Legendary Field Exhibitions, LLC   Hyde, Clayton                     Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Hyde, Evan                        Address on file                           Trade                                                                           $          600.00

Legendary Field Exhibitions, LLC   Hyeoma, Leander                   Address on file                           Unearned Revenue                                                                $          150.00
Legendary Field Exhibitions, LLC   Hyland , Alex                     Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Hyland, Jonathan                  Address on file                           Unearned Revenue                                                                $          100.00
                                                                                                                                                                                                                                                           269




Legendary Field Exhibitions, LLC   Hypsh, Stephen                    Address on file                           Unearned Revenue                                                                $           88.00

Legendary Field Exhibitions, LLC   Iacuzzo, Christopher              Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   iannuzzi, Derek                   Address on file                           Unearned Revenue                                                                $          270.00


Legendary Field Exhibitions, LLC   Ibarra, Cynthia                   Address on file                           Unearned Revenue                                                                $           81.00
Legendary Field Exhibitions, LLC   ICM Partners - Terrell Davis      10250 Constellation                       Trade                                                                           $       84,000.00
                                                                     Blvd. 31st floor
                                                                     Los Angeles CA
                                                                     90067
Legendary Field Exhibitions, LLC   iHeartMedia Ent. Inc.             FILE #56107                               Trade                                                                           $      258,409.25
                                                                     Los Angeles CA
                                                                     90074
Legendary Field Exhibitions, LLC   Ilijevski, Drew                   Address on file                           Unearned Revenue                                                                $           10.00


Legendary Field Exhibitions, LLC   Image Cam, Inc                    7835 E. Evans Dr.                         Trade                                                                           $       80,792.56
                                                                     Suite 500
                                                                     Scottsdale AK
                                                                     85260
Legendary Field Exhibitions, LLC   IMG College, LLC                  P.O Box 16533                             Trade                                                                           $        3,500.00
                                                                     Palatine, IL 60055
Legendary Field Exhibitions, LLC   Infinite Scale Design Group LLC   16 Exchange Place                         Trade                                                                           $       30,700.00
                                                                     Salt Lake City UT
                                                                     84111
Legendary Field Exhibitions, LLC   Inglett, Scott                    Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Ingold, Rory                      Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Ingram, Edward                    Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Ingram, Jeffrey                   Address on file                           Unearned Revenue                                                                $          112.00

Legendary Field Exhibitions, LLC   Ingram, Richard                   Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Ingram, William                   Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Innis, Jerry                      Address on file                           Unearned Revenue                                                                $          120.00
                                                                                                                                                                                                                   19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 137 of




                                                                                                                                                        Page 86 of 202
                                                                                      In re Legendary Field Exhibitions, LLC
                                                                                                      Case No.
                                                                        Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name                  Address           Last 4 Date Debt   Trade, Debt / Note          Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                              Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                              Account Incurred,                                                                       offset?
                                                                                              Number Basis for
                                                                                                        Claim
Legendary Field Exhibitions, LLC   innovative implant                   Address on file                           Unearned Revenue                                                                $          500.00


Legendary Field Exhibitions, LLC   Inselmann, Bernadette                Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Integrated Sports Specialties, LLC   88 East Main Street                       Trade                                                                           $        3,375.20
                                                                        Suite H-411
                                                                        Mendham NJ 07945


Legendary Field Exhibitions, LLC   International Bank of Commerce       Address on file                           Unearned Revenue                                                                $          820.00

Legendary Field Exhibitions, LLC   IPFS Corporation                     PO Box 100391                             Trade                                                                           $       10,133.95
                                                                        Pasadena CA
                                                                        91189-0391
Legendary Field Exhibitions, LLC   iQ Graphics                          6512 El Cajon Blvd.                       Trade                                                                           $       22,394.35
                                                                        Suite H
                                                                        San Diego CA
                                                                        92115
Legendary Field Exhibitions, LLC   Iracheta, Cesar                      Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Ireland, Quentin                     Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Irish, Michael                       Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Irvin, Chris                         Address on file                           Unearned Revenue                                                                $          220.00


Legendary Field Exhibitions, LLC   Irvine, Warren                       Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Irwin, Lenny                         Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Isaacs, Josh                         Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Iseri, Jackie                        Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   islas, melissa                       Address on file                           Unearned Revenue                                                                $           61.50
Legendary Field Exhibitions, LLC   IsoLynx                              179 Ward Hill                             Trade                                                                           $        3,191.00
                                                                                                                                                                                                                                                              269




                                                                        Haverhill MA 01835
Legendary Field Exhibitions, LLC   Itterly, John                        Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Iudiciani, Andy                      Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Ivankovich, Michael                  Address on file                           Unearned Revenue                                                                $           72.00
Legendary Field Exhibitions, LLC   Ivanov, Artur                        Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Ivers, Barry                         Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Iverson, AAron                       Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Iverson, Sean                        Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Izidoro, Joey                        Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Izidoro, Sherri                      Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   J Rodriguez, Juan                    Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   J&S Audio Visual                     555 South Alamo                           Trade                                                                           $          765.80
                                                                        St.
                                                                        San Antonio TX
                                                                        78205
Legendary Field Exhibitions, LLC   Jaarsma, Machelle                    Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Jablinske, Susie                     Address on file                           Unearned Revenue                                                                $            0.02
Legendary Field Exhibitions, LLC   Jacinto, Rosa                        Address on file                           Unearned Revenue                                                                $           81.00
Legendary Field Exhibitions, LLC   JACKSON, BRANDY                      Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Jackson, Cheryl                      Address on file                           Unearned Revenue                                                                $           31.28
Legendary Field Exhibitions, LLC   Jackson, Deondre                     Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Jackson, Everitt                     Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Jackson, Jamie                       Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Jackson, Jermaine                    Address on file                           Unearned Revenue                                                                $          120.00


Legendary Field Exhibitions, LLC   Jackson, Joe                         Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Jackson, John                        Address on file                           Unearned Revenue                                                                $           27.60
                                                                                                                                                                                                                      19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 138 of




                                                                                                                                                           Page 87 of 202
                                                                                   In re Legendary Field Exhibitions, LLC
                                                                                                   Case No.
                                                                     Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name               Address          Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                         Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                         Account Incurred,                                                                         offset?
                                                                                         Number Basis for
                                                                                                   Claim
Legendary Field Exhibitions, LLC   jackson, jordan                  Address on file                            Unearned Revenue                                                                $           40.50
Legendary Field Exhibitions, LLC   Jackson, Karin                   Address on file                            Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Jackson, Kerry                   Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Jackson, Rodney                  Address on file                            Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Jackson, Tammy                   Address on file                            Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   Jacobs, Barnet                   Address on file                            Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Jacobs, Phillip                  Address on file                            Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Jacobs, Sandy                    Address on file                            Unearned Revenue                                                                $          340.00

Legendary Field Exhibitions, LLC   Jacox, Kareem                    Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Jaeger, Karen                    Address on file                            Unearned Revenue                                                                $          240.00

Legendary Field Exhibitions, LLC   Jaeger, Rod                      Address on file                            Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Jaeger, Steve                    Address on file                            Unearned Revenue                                                                $           25.00

Legendary Field Exhibitions, LLC   Jalnos, Robert                   Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   James Jones                      5321 S. San                                Trade                                                                           $        5,000.00
                                                                    Sebastian Pl.
                                                                    Chandler AZ 85249
Legendary Field Exhibitions, LLC   James, Brandon                   Address on file                            Unearned Revenue                                                                $           31.28

Legendary Field Exhibitions, LLC   James, Joseph                    Address on file                            Unearned Revenue                                                                $          800.00

Legendary Field Exhibitions, LLC   James, Lachanda                  Address on file                            Unearned Revenue                                                                $           62.56
Legendary Field Exhibitions, LLC   James, Nichole                   Address on file                            Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   James, Richard                   Address on file                            Unearned Revenue                                                                $          500.00

Legendary Field Exhibitions, LLC   James, Ted                       Address on file                            Trade                                                                           $          220.00
                                                                                                                                                                                                                                                           269




Legendary Field Exhibitions, LLC   Jamison, Gina                    Address on file                            Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Janes, William                   Address on file                            Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   January service company          Address on file                            Unearned Revenue                                                                $          500.00

Legendary Field Exhibitions, LLC   January, Favian                  Address on file                            Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Janysek II, Albert               Address on file                            Unearned Revenue                                                                $           30.50
Legendary Field Exhibitions, LLC   Jarabek, Mel                     Address on file                            Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Jaramillo, Baltazar              Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Jaramillo, Paul                  Address on file                            Unearned Revenue                                                                $           41.00
Legendary Field Exhibitions, LLC   JARMON, TEENA                    Address on file                            Unearned Revenue                                                                $           55.20
Legendary Field Exhibitions, LLC   Jarvis, James                    Address on file                            Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Jary, Cy                         Address on file                            Unearned Revenue                                                                $          800.00

Legendary Field Exhibitions, LLC   Jaskulski, David                 Address on file                            Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Jason Zone Fisher                128 South Kikea                            Trade                                                                           $       10,470.51
                                                                    Drive
                                                                    Los Angeles CA
                                                                    90048
Legendary Field Exhibitions, LLC   Jasper, Bradyn                   Address on file                            Unearned Revenue                                                                $          110.00


Legendary Field Exhibitions, LLC   Jasper, Kim                      Address on file                            Unearned Revenue                                                                $          485.00

Legendary Field Exhibitions, LLC   Jasper, Teddy                    Address on file                            Unearned Revenue                                                                $           31.28
Legendary Field Exhibitions, LLC   Jayko, Steven                    Address on file                            Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   JDH Broadcasting LLC - Dan Hellie 324 31st St.                              Trade                                                                           $       54,811.41
                                                                     Manhattan Beach
                                                                     CA 90266
Legendary Field Exhibitions, LLC   Jeff Knight Electrical            Address on file                           Unearned Revenue                                                                $          800.00

Legendary Field Exhibitions, LLC   Jefferson, Valerie               Address on file                            Unearned Revenue                                                                $           25.00
Legendary Field Exhibitions, LLC   JEFFRIES, TINA                   Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Jellison, Deborah                Address on file                            Unearned Revenue                                                                $          100.00
                                                                                                                                                                                                                   19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 139 of




                                                                                                                                                        Page 88 of 202
                                                                               In re Legendary Field Exhibitions, LLC
                                                                                               Case No.
                                                                 Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name           Address           Last 4 Date Debt   Trade, Debt / Note          Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                       Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                       Account Incurred,                                                                       offset?
                                                                                       Number Basis for
                                                                                                 Claim
Legendary Field Exhibitions, LLC   Jemes, Robert                 Address on file                           Unearned Revenue                                                                $           45.00


Legendary Field Exhibitions, LLC   Jenkins, Ali                  Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Jenkins, Jennifer             Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Jenkins, Ryan                 Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Jenkins, Scott                Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Jenne, Andy                   Address on file                           Unearned Revenue                                                                $           70.00
Legendary Field Exhibitions, LLC   Jenne, Charles                Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Jennings, Everett             Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Jennings, Scott               Address on file                           Unearned Revenue                                                                $          375.00


Legendary Field Exhibitions, LLC   Jensen, Chad                  Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Jensen, Glenn                 Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Jensen, Richard               Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Jentink, Stephenie            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   JERNIGAN, DAVID               Address on file                           Unearned Revenue                                                                $            5.00
Legendary Field Exhibitions, LLC   Jerron Searles                1915 Columbia                             Trade                                                                           $          205.00
                                                                 Avenue
                                                                 Atlantic City NJ
                                                                 08401
Legendary Field Exhibitions, LLC   Jerry Greeson                 6974 Oak Drive                            Trade                                                                           $          290.36
                                                                 #1121
                                                                 San Antonio TX
                                                                 78256
Legendary Field Exhibitions, LLC   Jessamen Dunker               3709 Jordan                               Trade                                                                           $          405.00
                                                                 Meadows
                                                                                                                                                                                                                                                       269




                                                                 Southaven MS
                                                                 38671
Legendary Field Exhibitions, LLC   Jessum, Allison               Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Jessum, Ryan                  Address on file                           Unearned Revenue                                                                $           33.00
Legendary Field Exhibitions, LLC   Jessup, Thomas                Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Jeter, Donald                 Address on file                           Unearned Revenue                                                                $          500.00


Legendary Field Exhibitions, LLC   Jewell, Robert                Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   Jim N Nicks Management, LLC   10 Inverness Center                       Trade                                                                           $       12,718.15
                                                                 Parkway
                                                                 Suite 250
                                                                 Birmingham AL
                                                                 35242
Legendary Field Exhibitions, LLC   Jimenez, Efrain               Address on file                           Unearned Revenue                                                                $           10.00
Legendary Field Exhibitions, LLC   Jimenez, Eulalio              Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Jimenez, Jose                 Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Jimenez, Michael              Address on file                           Unearned Revenue                                                                $          162.00
Legendary Field Exhibitions, LLC   Jimenez, Peter                Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Jimenez, Richard              Address on file                           Unearned Revenue                                                                $          170.00

Legendary Field Exhibitions, LLC   Jividen, Thomas               Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   John Gaw dba Hi-Wire          9622 Doctor Baker                         Trade                                                                           $        6,597.00
                                   Communications Products Inc   Rd
                                                                 Groveland FL
                                                                 34736
Legendary Field Exhibitions, LLC   John Schriffen                7316 Santa Monica                         Trade                                                                           $        8,450.80
                                                                 Blvd. Unit 120
                                                                 West Hollywood CA
                                                                 90046
Legendary Field Exhibitions, LLC   John, Matthew Ian             Address on file                           Unearned Revenue                                                                $          600.00

Legendary Field Exhibitions, LLC   John, Michael                 Address on file                           Unearned Revenue                                                                $          600.00

Legendary Field Exhibitions, LLC   Johnican, Lisa                Address on file                           Unearned Revenue                                                                $          250.00

Legendary Field Exhibitions, LLC   Johnsen, Bernard              Address on file                           Unearned Revenue                                                                $          200.00
                                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 140 of




                                                                                                                                                    Page 89 of 202
                                                                           In re Legendary Field Exhibitions, LLC
                                                                                           Case No.
                                                             Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                 Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                 Account Incurred,                                                                         offset?
                                                                                 Number Basis for
                                                                                           Claim
Legendary Field Exhibitions, LLC   Johnson Group, Inc.       Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Johnson, Amanda           Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Johnson, Andrea           Address on file                           Unearned Revenue                                                                $           31.28
Legendary Field Exhibitions, LLC   Johnson, Anthony          Address on file                           Unearned Revenue                                                                $          410.00


Legendary Field Exhibitions, LLC   Johnson, April            Address on file                           Unearned Revenue                                                                $          350.00

Legendary Field Exhibitions, LLC   Johnson, Bernie           Address on file                           Unearned Revenue                                                                $          200.00
Legendary Field Exhibitions, LLC   Johnson, Brian            Address on file                           Unearned Revenue                                                                $           27.00

Legendary Field Exhibitions, LLC   Johnson, Bruce            Address on file                           Unearned Revenue                                                                $           78.00

Legendary Field Exhibitions, LLC   Johnson, Caleb            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Johnson, Chance           Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Johnson, charlotte        Address on file                           Unearned Revenue                                                                $          304.00


Legendary Field Exhibitions, LLC   Johnson, Curtis           Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Johnson, Cynthia          Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Johnson, Dawn             Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Johnson, Deborah          Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Johnson, Debra            Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Johnson, Dennis           Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Johnson, Donald           Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Johnson, Douglas          Address on file                           Unearned Revenue                                                                $          420.00
                                                                                                                                                                                                                                                   269




Legendary Field Exhibitions, LLC   Johnson, Elvis            Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Johnson, Eric             Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Johnson, Gene             Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Johnson, Gil              Address on file                           Unearned Revenue                                                                $           56.00


Legendary Field Exhibitions, LLC   Johnson, Jamie            Address on file                           Unearned Revenue                                                                $          112.00

Legendary Field Exhibitions, LLC   Johnson, Jeremy           Address on file                           Unearned Revenue                                                                $          168.00

Legendary Field Exhibitions, LLC   Johnson, Jimmie           Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Johnson, Jodie            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Johnson, John             Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Johnson, Jordan           Address on file                           Unearned Revenue                                                                $          131.50


Legendary Field Exhibitions, LLC   Johnson, Joshua           Address on file                           Unearned Revenue                                                                $           15.00


Legendary Field Exhibitions, LLC   JOHNSON, KAHMIA           Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Johnson, Karis            Address on file                           Unearned Revenue                                                                $          305.00
Legendary Field Exhibitions, LLC   Johnson, Keith            Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Johnson, Kerry            Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Johnson, Kristian         Address on file                           Unearned Revenue                                                                $          160.00
Legendary Field Exhibitions, LLC   Johnson, Larry            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Johnson, Marcus           Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Johnson, Mary             Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Johnson, Megan            Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Johnson, Michael          Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                           19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 141 of




                                                                                                                                                Page 90 of 202
                                                                             In re Legendary Field Exhibitions, LLC
                                                                                             Case No.
                                                               Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name          Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                   Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                   Account Incurred,                                                                         offset?
                                                                                   Number Basis for
                                                                                             Claim
Legendary Field Exhibitions, LLC   Johnson, Noel               Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Johnson, Paul               Address on file                           Unearned Revenue                                                                $           48.00
Legendary Field Exhibitions, LLC   Johnson, Race               Address on file                           Trade                                                                           $          300.00

Legendary Field Exhibitions, LLC   Johnson, Renee              Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Johnson, Rob                Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Johnson, Roy                Address on file                           Unearned Revenue                                                                $          640.00

Legendary Field Exhibitions, LLC   Johnson, Sajida             Address on file                           Unearned Revenue                                                                $          340.00


Legendary Field Exhibitions, LLC   Johnson, Shea               Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Johnson, Sylvia             Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Johnson, Tommy              Address on file                           Unearned Revenue                                                                $          280.00

Legendary Field Exhibitions, LLC   Johnson, Tracy              Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Johnson, Travis             Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Johnson, Trevor             Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Johnson, Tyler              Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Johnson, Vanette            Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Johnson, William            Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Johnston, Bradley           Address on file                           Unearned Revenue                                                                $           31.28

Legendary Field Exhibitions, LLC   Johnston, Charles           Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Johnston, JoAnna            Address on file                           Unearned Revenue                                                                $          150.00
Legendary Field Exhibitions, LLC   Johnston, Kevin             Address on file                           Unearned Revenue                                                                $           40.00
                                                                                                                                                                                                                                                     269




Legendary Field Exhibitions, LLC   Johnston, Robert            Address on file                           Unearned Revenue                                                                $          640.00

Legendary Field Exhibitions, LLC   Johnston, Robin             Address on file                           Unearned Revenue                                                                $          230.00

Legendary Field Exhibitions, LLC   Jolley, Rachele             Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Jolley, Troy                Address on file                           Unearned Revenue                                                                $           38.00

Legendary Field Exhibitions, LLC   Jonason, Chris              Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Jones Digital Design, LLC   Address on file                           Unearned Revenue                                                                $          210.00

Legendary Field Exhibitions, LLC   Jones, Amanda               Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Jones, Ayesha               Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Jones, Brandon              Address on file                           Unearned Revenue                                                                $          194.25

Legendary Field Exhibitions, LLC   Jones, Brian                Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Jones, Byron                Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Jones, Crystal              Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Jones, Doug                 Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Jones, Eric                 Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Jones, Geoff                Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Jones, Glenn                Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Jones, Harold               Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Jones, Harry                Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Jones, James                Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Jones, John                 Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Jones, Linda                Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Jones, Marc                 Address on file                           Unearned Revenue                                                                $          100.00
                                                                                                                                                                                                             19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 142 of




                                                                                                                                                  Page 91 of 202
                                                                           In re Legendary Field Exhibitions, LLC
                                                                                           Case No.
                                                             Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note                Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                 Digits of  was    Payable (Type of Claim)                                                    subject to
                                                                                 Account Incurred,                                                                             offset?
                                                                                 Number Basis for
                                                                                           Claim
Legendary Field Exhibitions, LLC   Jones, Michael            Address on file                           Unearned Revenue                                                                    $          200.00

Legendary Field Exhibitions, LLC   Jones, Mike               Address on file                           Unearned Revenue                                                                    $          200.00


Legendary Field Exhibitions, LLC   Jones, Mike               Address on file                           Unearned Revenue                                                                    $           60.00
Legendary Field Exhibitions, LLC   Jones, Randall            Address on file                           Unearned Revenue                                                                    $           50.00

Legendary Field Exhibitions, LLC   Jones, Richard            Address on file                           Unearned Revenue                                                                    $          116.00

Legendary Field Exhibitions, LLC   Jones, Rick               Address on file                           Unearned Revenue                                                                    $          150.00

Legendary Field Exhibitions, LLC   Jones, Ryan               Address on file                           Unearned Revenue                                                                    $           25.00

Legendary Field Exhibitions, LLC   Jones, Shantera           Address on file                           Unearned Revenue                                                                    $           15.64
Legendary Field Exhibitions, LLC   Jones, Sonia              Address on file                           Unearned Revenue                                                                    $          111.00
Legendary Field Exhibitions, LLC   Jones, Tanner             Address on file                           Unearned Revenue                                                                    $           60.00


Legendary Field Exhibitions, LLC   Jones, Troy               Address on file                           Unearned Revenue                                                                    $          400.00

Legendary Field Exhibitions, LLC   Jones, William            Address on file                           Unearned Revenue                                                                    $          100.00

Legendary Field Exhibitions, LLC   Jones-Wright, Geneviéve   Address on file                           Unearned Revenue                                                                    $           40.00
Legendary Field Exhibitions, LLC   Jongeward, John           Address on file                           Unearned Revenue                                                                    $          500.00

Legendary Field Exhibitions, LLC   Jonietz, Dustin           Address on file                           Unearned Revenue                                                                    $           50.00

Legendary Field Exhibitions, LLC   Jonker, Kory              Address on file                           Unearned Revenue                                                                    $           15.00

Legendary Field Exhibitions, LLC   Jordan, David             Address on file                           Unearned Revenue                                                                    $           15.00

Legendary Field Exhibitions, LLC   Jordan, Freddie           Address on file                           Unearned Revenue                                                                    $           40.00

Legendary Field Exhibitions, LLC   Jordan, Jennifer          Address on file                           Unearned Revenue                                                                    $          100.00

Legendary Field Exhibitions, LLC   Jordan, Mark              Address on file                           Unearned Revenue                                                                    $           20.00
                                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   jorgenson, ronald         Address on file                           Unearned Revenue                                                                    $          125.00

Legendary Field Exhibitions, LLC   Joseph, Kelly             Address on file                           Unearned Revenue                                                                    $          320.00


Legendary Field Exhibitions, LLC   Jouas, Rebecca            Address on file                           Unearned Revenue                                                                    $           70.00


Legendary Field Exhibitions, LLC   Jourdan, Michael          Address on file                           Unearned Revenue                                                                    $          220.00

Legendary Field Exhibitions, LLC   Joy, Austin               Address on file                           Unearned Revenue                                                                    $          100.00

Legendary Field Exhibitions, LLC   Joyner, Cynthia           Address on file                           Unearned Revenue                                                                    $           70.00

Legendary Field Exhibitions, LLC   Joyner, John              Address on file                           Unearned Revenue                                                                    $           50.00
Legendary Field Exhibitions, LLC   Joyner, Neila             Address on file                           Unearned Revenue                                                                    $          400.00

Legendary Field Exhibitions, LLC   Juarez, Abigail           Address on file                           Unearned Revenue                                                                    $           75.00

Legendary Field Exhibitions, LLC   Juarez, Alejandro         Address on file                           Unearned Revenue                                                                    $          170.00


Legendary Field Exhibitions, LLC   Juarez, Alicia            Address on file                           Unearned Revenue                                                                    $           30.00
Legendary Field Exhibitions, LLC   Juarez, Daniel            Address on file                           Unearned Revenue                                                                    $          210.00

Legendary Field Exhibitions, LLC   Juarez, Mark              Address on file                           Unearned Revenue                                                                    $           45.00

Legendary Field Exhibitions, LLC   Juarez, Rodolfo           Address on file                           Unearned Revenue                                                                    $          270.00

Legendary Field Exhibitions, LLC   Juarez, Ron               Address on file                           Unearned Revenue                                                                    $          160.00

Legendary Field Exhibitions, LLC   Judd, Steven              Address on file                           Unearned Revenue                                                                    $           38.00

Legendary Field Exhibitions, LLC   Jude Adjei-Barimah        3270 Possum Ct                            Trade                                                                               $          205.00
                                                             Runt
                                                             Columbus OH
                                                             43224
Legendary Field Exhibitions, LLC   Judkins, Tyler            Address on file                           Unearned Revenue                                                                    $          156.00

Legendary Field Exhibitions, LLC   Juleyna, LLC, Etc.        Address on file                           Litigation                  x                  x              x                              Unknown
Legendary Field Exhibitions, LLC   Julian, Paul              Address on file                           Unearned Revenue                                                                    $           40.00

Legendary Field Exhibitions, LLC   Jumonville, Roy           Address on file                           Unearned Revenue                                                                    $           90.00
                                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 143 of




                                                                                                                                                    Page 92 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name                Address          Last 4 Date Debt   Trade, Debt / Note           Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                           Digits of  was    Payable (Type of Claim)                                               subject to
                                                                                           Account Incurred,                                                                        offset?
                                                                                           Number Basis for
                                                                                                     Claim
Legendary Field Exhibitions, LLC   Junge, Cari                        604 N Capital Park                        Trade                                                                           $          460.00
                                                                      Ave,
                                                                      Salt Lake City, UT
                                                                      84108
Legendary Field Exhibitions, LLC   Junkin, Jimmy                      Address on file                           Unearned Revenue                                                                $          170.00

Legendary Field Exhibitions, LLC   Jurado, Diane                      Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Justesen, Jack                     Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Justice, Steve                     Address on file                           Unearned Revenue                                                                $          420.00

Legendary Field Exhibitions, LLC   Justus, Nathan                     Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Jutting, Brian                     Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Jutze, Ron                         Address on file                           Unearned Revenue                                                                $          110.00

Legendary Field Exhibitions, LLC   JW Marriott Hotel Buckhead Atlanta PO Box 403003                             Trade                                                                           $       31,585.53
                                                                      Atlanta, GA 30384-
                                                                      3003
Legendary Field Exhibitions, LLC   K K & T Getaways                   Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   K. Lee Davis                       102 Scoville Road                         Trade                                                                           $        1,760.00
                                                                      Avon CT 06001
Legendary Field Exhibitions, LLC   Kaatz, Seth                        Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Kahn, Matt                         Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Kainz, Greg                        Address on file                           Unearned Revenue                                                                $        1,200.00

Legendary Field Exhibitions, LLC   Kaiser Foundation Health Plan      FILE 5915                                 Trade                                                                           $       43,597.68
                                                                      Los Angeles, CA
                                                                      90074-5915
Legendary Field Exhibitions, LLC   Kaiser, Dakota                     Address on file                           Unearned Revenue                                                                $          135.00

Legendary Field Exhibitions, LLC   Kalb, Samantha                     Address on file                           Unearned Revenue                                                                $           40.00
                                                                                                                                                                                                                                                            269




Legendary Field Exhibitions, LLC   Kalbaugh, Austin                   Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Kallen, Bruce                      Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Kallenbach, Zach                   Address on file                           Unearned Revenue                                                                $        2,180.00

Legendary Field Exhibitions, LLC   Kalucki, Tracy                     Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Kameen, Lawrence                   Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Kamen, Barry                       Address on file                           Unearned Revenue                                                                $          101.50
Legendary Field Exhibitions, LLC   Kamerath, Brian                    Address on file                           Unearned Revenue                                                                $           78.00

Legendary Field Exhibitions, LLC   Kamfonik, Tina                     Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Kanakaris, alex                    Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Kane, Katherine                    Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Kaneubbe, Don                      Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   kanning, greg                      Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Kapla, William                     Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Kaplan, Howard                     Address on file                           Unearned Revenue                                                                $          320.00
Legendary Field Exhibitions, LLC   Kaplan, Jason                      Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Karam, Robert                      Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Karbowski, Daniel                  Address on file                           Unearned Revenue                                                                $           91.00
Legendary Field Exhibitions, LLC   Kareem Are                         200 Louis Avenue                          Trade                                                                           $          405.00
                                                                      Elmont NY 11003
Legendary Field Exhibitions, LLC   Karick Enterprises, LLC dba        3480 S. Main St.                          Trade                                                                           $          108.93
                                   Signarama - Salt Lake City         Salt Lake City UT
                                                                      84115
Legendary Field Exhibitions, LLC   Kariuki, Gabriella                 Address on file                           Unearned Revenue                                                                $           55.20

Legendary Field Exhibitions, LLC   Karrh, Melissa                     Address on file                           Unearned Revenue                                                                $          125.00

Legendary Field Exhibitions, LLC   Karson, Damon                      Address on file                           Unearned Revenue                                                                $           15.00
                                                                                                                                                                                                                    19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 144 of




                                                                                                                                                         Page 93 of 202
                                                                               In re Legendary Field Exhibitions, LLC
                                                                                               Case No.
                                                                 Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                           Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                     Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                     Account Incurred,                                                                         offset?
                                                                                     Number Basis for
                                                                                               Claim
Legendary Field Exhibitions, LLC   Kaserman, Edward              Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   kasheta, jason                Address on file                           Unearned Revenue                                                                $          116.00
Legendary Field Exhibitions, LLC   Kasik, John J.                Address on file                           Trade                                                                           $          500.00

Legendary Field Exhibitions, LLC   Kassar, David                 Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Kastner, Thomas               Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Kaszuba, Adam                 Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Katz, David                   Address on file                           Unearned Revenue                                                                $        1,260.00

Legendary Field Exhibitions, LLC   Katz, Kent                    Address on file                           Unearned Revenue                                                                $           78.00

Legendary Field Exhibitions, LLC   Katz, Michael                 Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Kauffman, Bruce               Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Kauffman, Michael             Address on file                           Unearned Revenue                                                                $          170.00

Legendary Field Exhibitions, LLC   Kawulok, Kevin                Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Kay, Joel                     Address on file                           Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Kaye, Evan                    Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Keaki Technologies, LLC       Address on file                           Unearned Revenue                                                                $        2,880.00


Legendary Field Exhibitions, LLC   Keaster, Audree               Address on file                           Unearned Revenue                                                                $          125.00
Legendary Field Exhibitions, LLC   Keefer, Heather               Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Keehan, Harry                 Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   keeler, matthew               Address on file                           Unearned Revenue                                                                $           15.00
                                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   Keenan, Ben                   Address on file                           Unearned Revenue                                                                $           61.50

Legendary Field Exhibitions, LLC   Keene, Janice                 Address on file                           Unearned Revenue                                                                $          150.00


Legendary Field Exhibitions, LLC   Keeney, Amy                   Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Keilman, April                Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Keilty, Kevin                 Address on file                           Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Keith McGill                  2501 Campbell                             Trade                                                                           $          205.00
                                                                 Avenue
                                                                 La Habra CA 90631

Legendary Field Exhibitions, LLC   Kelch, Jeffery                Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Kellen, Brian                 Address on file                           Unearned Revenue                                                                $          416.00

Legendary Field Exhibitions, LLC   Kelley, Michael               Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Kelley, Mike                  Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Kelley, Patrick               Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Kelley, Tim                   Address on file                           Unearned Revenue                                                                $          600.00

Legendary Field Exhibitions, LLC   kellogg, John                 Address on file                           Unearned Revenue                                                                $           25.00

Legendary Field Exhibitions, LLC   Kelly Preston, Ashling        Address on file                           Unearned Revenue                                                                $           31.28
Legendary Field Exhibitions, LLC   Kelly, Brendan                Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Kelly, Debbie                 Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Kelly, James                  Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Kelly, Kevin                  Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Kelly, Patrick                Address on file                           Unearned Revenue                                                                $          370.00

Legendary Field Exhibitions, LLC   kelly, pete                   Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Kelly, Randy                  Address on file                           Unearned Revenue                                                                $          220.00
                                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 145 of




                                                                                                                                                    Page 94 of 202
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                                    Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name            Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                        Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                        Account Incurred,                                                                         offset?
                                                                                        Number Basis for
                                                                                                  Claim
Legendary Field Exhibitions, LLC   Kelly, Sean                      Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Kelly, Timothy                   Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   Kelly, Walter                    Address on file                           Unearned Revenue                                                                $           70.00



Legendary Field Exhibitions, LLC   KELTY, THOMAS                    Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Kemmerer, Brian                  Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Kemp, Barry                      Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   Kemp, Paul                       Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Kempa, Melinda                   Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Kempf, Kathryn                   Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Kempski, Justina                 Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Kennedy, Allen                   Address on file                           Unearned Revenue                                                                $            0.02
Legendary Field Exhibitions, LLC   kennedy, donnie                  Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Kennedy, Justin                  Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Kennedy, Mark                    Address on file                           Unearned Revenue                                                                $          210.00

Legendary Field Exhibitions, LLC   Kennedy, Sean                    Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Kennedy, Zeke                    Address on file                           Unearned Revenue                                                                $          440.00

Legendary Field Exhibitions, LLC   Kenner, Kyle                     Address on file                           Unearned Revenue                                                                $           25.00


Legendary Field Exhibitions, LLC   Kenney, Kathryn                  Address on file                           Unearned Revenue                                                                $           70.00
                                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   Kenney, Scott                    Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Kenny, John                      Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Kenyon, Tricia                   Address on file                           Unearned Revenue                                                                $          250.00


Legendary Field Exhibitions, LLC   ker-Pabarue, Marsha              Address on file                           Unearned Revenue                                                                $           52.00

Legendary Field Exhibitions, LLC   Kersh, Andrew                    Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Kersten, Alicia                  Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Kessinger, Donovan               Address on file                           Unearned Revenue                                                                $          110.00

Legendary Field Exhibitions, LLC   Kessler, Ken                     Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Ketchum, Bryce                   Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   ketterer, robert                 Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Kevin Sullivan Communications,   7886 Minglewood                           Trade                                                                           $          175.00
                                   Inc.                             Lane
                                                                    Dallas, TX 75231
Legendary Field Exhibitions, LLC   KFMB-TV                          P.O Box 637386                            Trade                                                                           $       62,970.00
                                                                    Cincinnati OH
                                                                    45263-7386
Legendary Field Exhibitions, LLC   Khan, Asif                       Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Kida, James                      Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Kiefer, Allen                    Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Kiefer, Jared                    Address on file                           Unearned Revenue                                                                $           80.00


Legendary Field Exhibitions, LLC   Killian, Scott                   Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Killpack, Kyle                   Address on file                           Trade                                                                           $          300.00
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 146 of




                                                                                                                                                       Page 95 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                           Creditor Name            Address          Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                          Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                          Account Incurred,                                                                         offset?
                                                                                          Number Basis for
                                                                                                    Claim
Legendary Field Exhibitions, LLC   Kilpatrick Townsend & Stockton LLP Dept # 34542                              Trade                                                                           $       20,000.00
                                                                      P.O. Box 39000
                                                                      San Francisco CA
                                                                      94139
Legendary Field Exhibitions, LLC   Kimball, Margaret                  Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Kimbell, Charles                  Address on file                            Unearned Revenue                                                                $          260.00

Legendary Field Exhibitions, LLC   Kimbrell, Jenny                   Address on file                            Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Kimbro, India                     Address on file                            Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   KIMBROUGH, JASON                  Address on file                            Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Kimmell, Christopher              Address on file                            Unearned Revenue                                                                $           75.00
Legendary Field Exhibitions, LLC   Kimmelman, Patrick                Address on file                            Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Kimmins, William                  Address on file                            Unearned Revenue                                                                $          280.00

Legendary Field Exhibitions, LLC   Kinder, Greg                      Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Kindregan, Steve                  Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Kinematic Sports, LLC             3933 Rice Mine Rd                          Trade                                                                           $       49,018.12
                                                                     Tuscaloosa AL
                                                                     35406
Legendary Field Exhibitions, LLC   King, Amos                        Address on file                            Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   King, Arthur                      Address on file                            Unearned Revenue                                                                $           22.00
Legendary Field Exhibitions, LLC   King, Brad                        Address on file                            Unearned Revenue                                                                $          280.00

Legendary Field Exhibitions, LLC   King, Brandon                     Address on file                            Unearned Revenue                                                                $           22.00
Legendary Field Exhibitions, LLC   King, Charles                     Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   King, Derick                      Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   King, Devin                       Address on file                            Unearned Revenue                                                                $          100.00
                                                                                                                                                                                                                                                            269




Legendary Field Exhibitions, LLC   King, Jacob                       Address on file                            Unearned Revenue                                                                $           24.00
Legendary Field Exhibitions, LLC   king, jamie                       Address on file                            Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   King, Jovita                      Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   King, Michael                     Address on file                            Unearned Revenue                                                                $          200.00
Legendary Field Exhibitions, LLC   King, Novel                       Address on file                            Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   King, Pervis                      Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   King, Ralph                       Address on file                            Unearned Revenue                                                                $           64.00

Legendary Field Exhibitions, LLC   Kinney, Thomas                    Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Kinser, Joseph                    Address on file                            Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Kinsey, Eric                      Address on file                            Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Kinsler, Noreen                   Address on file                            Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Kirby, Mac                        Address on file                            Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Kirby, Maureen                    Address on file                            Unearned Revenue                                                                $          210.00

Legendary Field Exhibitions, LLC   Kirchhof , Rebecca                Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Kirchner, Tracy                   Address on file                            Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Kirchner-Ortiz, Jacob             Address on file                            Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Kiritchouk, Anastassia            Address on file                            Unearned Revenue                                                                $           50.00



Legendary Field Exhibitions, LLC   Kirk, Kenneth                     Address on file                            Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Kirkendall, Don                   Address on file                            Unearned Revenue                                                                $          210.00

Legendary Field Exhibitions, LLC   Kirkpatrick, Christopher          Address on file                            Unearned Revenue                                                                $           31.28
Legendary Field Exhibitions, LLC   Kirkpatrick, Ed                   Address on file                            Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Kirkpatrick, Ryan                 Address on file                            Unearned Revenue                                                                $           38.00

Legendary Field Exhibitions, LLC   Kirwan, Nate                      Address on file                            Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Kiser, Jeff                       Address on file                            Unearned Revenue                                                                $        1,600.00
                                                                                                                                                                                                                    19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 147 of




                                                                                                                                                         Page 96 of 202
                                                                             In re Legendary Field Exhibitions, LLC
                                                                                             Case No.
                                                               Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                         Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                   Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                   Account Incurred,                                                                         offset?
                                                                                   Number Basis for
                                                                                             Claim
Legendary Field Exhibitions, LLC   Kish, Matt                  Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Kisling, Kristy             Address on file                           Unearned Revenue                                                                $          700.00

Legendary Field Exhibitions, LLC   Kistler, Beverley           Address on file                           Unearned Revenue                                                                $          460.00

Legendary Field Exhibitions, LLC   Kite, Jason                 Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Kittell, Broch              Address on file                           Unearned Revenue                                                                $           50.00


Legendary Field Exhibitions, LLC   Kitzman, Joseph             Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   kizer, marvin               Address on file                           Unearned Revenue                                                                $           31.28
Legendary Field Exhibitions, LLC   Klarfeld, Jordan            Address on file                           Unearned Revenue                                                                $          360.00
Legendary Field Exhibitions, LLC   Klayson, E J                Address on file                           Unearned Revenue                                                                $          420.00

Legendary Field Exhibitions, LLC   Klayson, Shellie            Address on file                           Unearned Revenue                                                                $           80.00
Legendary Field Exhibitions, LLC   Klein, Joshua and Britt     Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Klein, Katie                Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Klingaman, Tyler            Address on file                           Unearned Revenue                                                                $          140.00


Legendary Field Exhibitions, LLC   Klippel, Janice             Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Klobucar, John              Address on file                           Unearned Revenue                                                                $          100.00



Legendary Field Exhibitions, LLC   Klopf, Carson               Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   knapp, eldon                Address on file                           Unearned Revenue                                                                $           12.10

Legendary Field Exhibitions, LLC   Knapp, Frank                Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Knecht, Nathan              Address on file                           Unearned Revenue                                                                $           30.00
                                                                                                                                                                                                                                                     269




Legendary Field Exhibitions, LLC   Kneck, John                 Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Kneuker, Rachael            Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Knight, Alex                Address on file                           Unearned Revenue                                                                $          510.00


Legendary Field Exhibitions, LLC   Knight, Martin              Address on file                           Unearned Revenue                                                                $           35.00


Legendary Field Exhibitions, LLC   Knott, Kevin                Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Knox, Maureen               Address on file                           Unearned Revenue                                                                $          300.00

Legendary Field Exhibitions, LLC   Knox, Ray                   Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Knox, Samuel                Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   knuckey, Thomas             Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Kobryn, Anthony             Address on file                           Unearned Revenue                                                                $          120.00

Legendary Field Exhibitions, LLC   Koch, Barbara               Address on file                           Unearned Revenue                                                                $          180.00

Legendary Field Exhibitions, LLC   Koch, Lisa                  Address on file                           Unearned Revenue                                                                $          182.00
Legendary Field Exhibitions, LLC   Koedding, Bryant H.         Address on file                           Trade                                                                           $           50.76

Legendary Field Exhibitions, LLC   Koehmleiw, Jerry            Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Koenen, Kevin               Address on file                           Unearned Revenue                                                                $           40.00
Legendary Field Exhibitions, LLC   Kohler, Michael             Address on file                           Unearned Revenue                                                                $          100.00


Legendary Field Exhibitions, LLC   Kohlwes, Jeremy             Address on file                           Unearned Revenue                                                                $           61.00

Legendary Field Exhibitions, LLC   Kohn, Katelyn               Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Kolehmainen, Chris          Address on file                           Unearned Revenue                                                                $          500.00

Legendary Field Exhibitions, LLC   Kolt, Sammy                 Address on file                           Unearned Revenue                                                                $          200.00


Legendary Field Exhibitions, LLC   Kondo, Brad                 Address on file                           Unearned Revenue                                                                $          150.00
                                                                                                                                                                                                             19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 148 of




                                                                                                                                                  Page 97 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name              Address           Last 4 Date Debt   Trade, Debt / Note          Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                            Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                            Account Incurred,                                                                       offset?
                                                                                            Number Basis for
                                                                                                      Claim
Legendary Field Exhibitions, LLC   KongBasileConsulting, LLC          1610 Eucalyptus                           Trade                                                                           $       26,697.50
                                                                      Drive
                                                                      San Francisco CA
                                                                      94132
Legendary Field Exhibitions, LLC   Kontour, Kameron                   Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Koon, Lori                         Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Koontz, Kevin                      Address on file                           Unearned Revenue                                                                $          105.00

Legendary Field Exhibitions, LLC   KORE Interactive Systems           259 W 30th St.,                           Trade                                                                           $       85,200.00
                                                                      16th Floor
                                                                      New York NY 10001

Legendary Field Exhibitions, LLC   kornegay, Shannon                  Address on file                           Unearned Revenue                                                                $          174.00

Legendary Field Exhibitions, LLC   Korpe, Martha                      Address on file                           Unearned Revenue                                                                $           40.00

Legendary Field Exhibitions, LLC   Korzekwa, Billy                    Address on file                           Unearned Revenue                                                                $           15.00

Legendary Field Exhibitions, LLC   Koshik-Knoblauch, Christopher J.   Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Koury, Kelly                       Address on file                           Unearned Revenue                                                                $           60.00

Legendary Field Exhibitions, LLC   Kovach, Larry                      Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Kowalski, Gregory                  Address on file                           Unearned Revenue                                                                $          800.00


Legendary Field Exhibitions, LLC   Kozicki, Chad                      Address on file                           Unearned Revenue                                                                $           90.00


Legendary Field Exhibitions, LLC   KPHO Broadcasting Corporation      P.O. Box 10067                            Trade                                                                           $        3,389.66
                                   dba KPHO-TV; KTVK-TV;              Pasadena CA
                                   AZFAMILY.COM                       91189-0067
Legendary Field Exhibitions, LLC   Krabbenschmidt, Jocelyn            Address on file                           Unearned Revenue                                                                $          500.00
                                                                                                                                                                                                                                                            269




Legendary Field Exhibitions, LLC   KRAMER, BRADLEY                    Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Kramer, Mark                       Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Kramer, Steven                     Address on file                           Unearned Revenue                                                                $          500.00


Legendary Field Exhibitions, LLC   KRANOS CORPORATION / Schutt        710 S Industrial                          Trade                                                                           $       65,518.78
                                   Sports                             Ave.
                                                                      Litchfield IL 62056
Legendary Field Exhibitions, LLC   Krauch, Bryan                      Address on file                           Unearned Revenue                                                                $           80.00


Legendary Field Exhibitions, LLC   Krausko LLC                        4900 Memco Lane                           Trade                                                                           $          415.00
                                                                      Racine WA 53404
Legendary Field Exhibitions, LLC   Krehmke, John                      Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Krieger, Jordan                    Address on file                           Unearned Revenue                                                                $           35.00

Legendary Field Exhibitions, LLC   Krol, Andrew                       Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Kroner, Karen                      Address on file                           Unearned Revenue                                                                $          350.00

Legendary Field Exhibitions, LLC   Krpata, Dan                        Address on file                           Unearned Revenue                                                                $          150.00

Legendary Field Exhibitions, LLC   Kruck, Thomas                      Address on file                           Unearned Revenue                                                                $           75.00

Legendary Field Exhibitions, LLC   Krueger International, Inc.        PO Box 8100                               Trade                                                                           $       12,295.99
                                                                      Green Bay WI
                                                                      54308-8100
Legendary Field Exhibitions, LLC   Krueger, Cal                       Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Krumenacker, Wayne                 Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   KSL NewsRadio - Bonneville         PO Box 26245                              Trade                                                                           $       39,106.43
                                                                      Dept. 16
                                                                      Salt Lake City CA
                                                                      84126-0245
Legendary Field Exhibitions, LLC   Kubiak, James                      Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   kuca, Susan                        Address on file                           Unearned Revenue                                                                $           48.00
Legendary Field Exhibitions, LLC   Kuchta, Tracy                      Address on file                           Unearned Revenue                                                                $          280.00
                                                                                                                                                                                                                    19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 149 of




                                                                                                                                                         Page 98 of 202
                                                                           In re Legendary Field Exhibitions, LLC
                                                                                           Case No.
                                                             Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name        Address          Last 4 Date Debt   Trade, Debt / Note           Contingent     Unliquidated Disputed     Claim          Total Claim
                                                                                  Digits of  was    Payable (Type of Claim)                                               subject to
                                                                                  Account Incurred,                                                                        offset?
                                                                                  Number Basis for
                                                                                            Claim
Legendary Field Exhibitions, LLC   Kueber, Josh              Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   Kuehne, Teresa            Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Kuentz, Zachery           Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Kuhlmann, Mark            Address on file                           Unearned Revenue                                                                $           90.00

Legendary Field Exhibitions, LLC   Kuiper, Brad              Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   KUMAR, VINOD              Address on file                           Unearned Revenue                                                                $           45.00
Legendary Field Exhibitions, LLC   Kunicki, Robert           Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Kunschaft, Maria          Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Kusmierz, Emma            Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Kuwamura, Ken             Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Kuwamura, Paul            Address on file                           Unearned Revenue                                                                $           90.00
Legendary Field Exhibitions, LLC   Kuykendall, Kim           Address on file                           Unearned Revenue                                                                $          100.00
Legendary Field Exhibitions, LLC   Kyle, Brandon             Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Kyles, Esmee              Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   L Mccord, Jim             Address on file                           Unearned Revenue                                                                $          130.00

Legendary Field Exhibitions, LLC   Labar, Shawn              Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Lacey, Kelly              Address on file                           Unearned Revenue                                                                $          112.00

Legendary Field Exhibitions, LLC   Lackey, Dalton            Address on file                           Unearned Revenue                                                                $           40.00
Legendary Field Exhibitions, LLC   Ladds                     6881 Appling Farms                        Trade                                                                           $        1,327.40
                                                             Parkway
                                                             Memphis TN 38133
Legendary Field Exhibitions, LLC   Ladensack, Alex           Address on file                           Unearned Revenue                                                                $           45.00
Legendary Field Exhibitions, LLC   Ladson, Rosanna           Address on file                           Unearned Revenue                                                                $           55.50
Legendary Field Exhibitions, LLC   Laegeler, Tom             Address on file                           Unearned Revenue                                                                $           60.00
                                                                                                                                                                                                                                                   269




Legendary Field Exhibitions, LLC   Laehn, Eric               Address on file                           Unearned Revenue                                                                $          112.00

Legendary Field Exhibitions, LLC   Lafferty, Shane           Address on file                           Unearned Revenue                                                                $          277.50

Legendary Field Exhibitions, LLC   Lafko, Martin             Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Laflam, Steve             Address on file                           Unearned Revenue                                                                $          320.00

Legendary Field Exhibitions, LLC   Lafontaine, Christina     Address on file                           Unearned Revenue                                                                $           40.00


Legendary Field Exhibitions, LLC   Laijas, Chaz              Address on file                           Unearned Revenue                                                                $           30.00


Legendary Field Exhibitions, LLC   Laijas, Zack              Address on file                           Unearned Revenue                                                                $           15.00


Legendary Field Exhibitions, LLC   Lajom, Gemma              Address on file                           Unearned Revenue                                                                $          200.00

Legendary Field Exhibitions, LLC   LAMAR                     P.O Box 96030                             Trade                                                                           $       39,570.00
                                                             Baton Rouge LA
                                                             70896
Legendary Field Exhibitions, LLC   Lamaster, Ericson         Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Lamb, Alex                Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Lambert, Caleb            Address on file                           Unearned Revenue                                                                $           70.00


Legendary Field Exhibitions, LLC   Lambert, David            Address on file                           Unearned Revenue                                                                $           40.50
Legendary Field Exhibitions, LLC   Lambert, Matthew          Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Lambert, Rebecca          Address on file                           Unearned Revenue                                                                $           82.00

Legendary Field Exhibitions, LLC   Lambert, Rick             Address on file                           Unearned Revenue                                                                $        4,254.00


Legendary Field Exhibitions, LLC   Lambeth, Rob              Address on file                           Unearned Revenue                                                                $           30.00
Legendary Field Exhibitions, LLC   Lamey, Nick               Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Lamison, William          Address on file                           Unearned Revenue                                                                $           50.00
                                                                                                                                                                                                           19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 150 of




                                                                                                                                                Page 99 of 202
                                                                           In re Legendary Field Exhibitions, LLC
                                                                                           Case No.
                                                             Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                 Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                 Account Incurred,                                                                       offset?
                                                                                 Number Basis for
                                                                                           Claim
Legendary Field Exhibitions, LLC   Lamontagne, Sandy         Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Lamug, Aiza               Address on file                           Unearned Revenue                                                              $          195.00
Legendary Field Exhibitions, LLC   Landaiche, Jason          Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Landis, Ryan              Address on file                           Unearned Revenue                                                              $           35.00

Legendary Field Exhibitions, LLC   landry, alex              Address on file                           Unearned Revenue                                                              $           61.00
Legendary Field Exhibitions, LLC   Landry, Paul              Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Lane, Deborah             Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Laney, Keith              Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Lang, Richard             Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Lang, Todd                Address on file                           Unearned Revenue                                                              $          210.00

Legendary Field Exhibitions, LLC   Langan, John              Address on file                           Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   Lange, Eddie              Address on file                           Unearned Revenue                                                              $          140.00


Legendary Field Exhibitions, LLC   Lange, Jeremy             Address on file                           Unearned Revenue                                                              $           80.50
Legendary Field Exhibitions, LLC   Lange, Matthew            Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   lange, robert             Address on file                           Unearned Revenue                                                              $          600.00

Legendary Field Exhibitions, LLC   Langit, Glenn             Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Langston, Frank           Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Langston, George          Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Language of Caring, LLC   6614 Clayton Rd.                          Trade                                                                         $        9,057.59
                                                             #333
                                                             Richmond Heights
                                                                                                                                                                                                                                                 269




                                                             MO 63117
Legendary Field Exhibitions, LLC   Langworthy, Alan          Address on file                           Unearned Revenue                                                              $           90.00
Legendary Field Exhibitions, LLC   Lansing, Charlie          Address on file                           Unearned Revenue                                                              $          640.00


Legendary Field Exhibitions, LLC   Lantz, Kenny              Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Lantz, Leslie             Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Lanyi, Christopher        Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Lanzer, Michael           Address on file                           Unearned Revenue                                                              $           40.00


Legendary Field Exhibitions, LLC   Lapins, Michael           Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   LaQuay, CJ                Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Lara, Alex                Address on file                           Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Lara, Rene                Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Lara-Murabito, Eloisa     Address on file                           Unearned Revenue                                                              $           18.00
Legendary Field Exhibitions, LLC   Larc, Kevin               Address on file                           Unearned Revenue                                                              $           58.00

Legendary Field Exhibitions, LLC   Lares, Anita              Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Largent, John             Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Largue, James             Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Larios, John              Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   LARIOS, NICHOLAS          Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Larkin, Robert            Address on file                           Unearned Revenue                                                              $          150.00


Legendary Field Exhibitions, LLC   LaRosa, Kelly             Address on file                           Unearned Revenue                                                              $           45.00
Legendary Field Exhibitions, LLC   Larosa, Lee               Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   LaRose, Mary              Address on file                           Unearned Revenue                                                              $          122.00
Legendary Field Exhibitions, LLC   Larrew, Eric              Address on file                           Unearned Revenue                                                              $           70.00
Legendary Field Exhibitions, LLC   Larsen, Eric              Address on file                           Unearned Revenue                                                              $          150.00
                                                                                                                                                                                                         19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 151 of




                                                                                                                                            Page 100 of 202
                                                                                   In re Legendary Field Exhibitions, LLC
                                                                                                   Case No.
                                                                     Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                           Creditor Name            Address          Last 4 Date Debt   Trade, Debt / Note           Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                          Digits of  was    Payable (Type of Claim)                                             subject to
                                                                                          Account Incurred,                                                                      offset?
                                                                                          Number Basis for
                                                                                                    Claim
Legendary Field Exhibitions, LLC   Larson, Laurie                    Address on file                           Unearned Revenue                                                              $           20.00


Legendary Field Exhibitions, LLC   Larson, Lawrence                  Address on file                           Unearned Revenue                                                              $           39.00



Legendary Field Exhibitions, LLC   LaRue, John                       Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   LaRue, Melaney                    Address on file                           Unearned Revenue                                                              $          170.00


Legendary Field Exhibitions, LLC   Lary, Cliff                       Address on file                           Unearned Revenue                                                              $           25.00

Legendary Field Exhibitions, LLC   Laser, Randy                      Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Lastname, James                   Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   lastName, Kyle                    Address on file                           Unearned Revenue                                                              $          105.00
Legendary Field Exhibitions, LLC   lastName, Ray                     Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Latham, William                   Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Latimer, Coady                    Address on file                           Unearned Revenue                                                              $           75.00


Legendary Field Exhibitions, LLC   Latorre, Chris                    Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Latorre, Frances                  Address on file                           Unearned Revenue                                                              $          120.00
Legendary Field Exhibitions, LLC   Lattanzio, Zachary                Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Lauerman, Mike                    Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Lauersdorf, Mike                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Laughlin, Keith                   Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Laureanti, Allison                Address on file                           Unearned Revenue                                                              $           30.00
                                                                                                                                                                                                                                                         269




Legendary Field Exhibitions, LLC   Laurie, Matthew                   Address on file                           Unearned Revenue                                                              $          115.00

Legendary Field Exhibitions, LLC   laursen, nicholas                 Address on file                           Unearned Revenue                                                              $           35.00

Legendary Field Exhibitions, LLC   Laury, Walker                     Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Laux, George                      Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   LaVallee, Robert                  Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   LAVANGIE, AMY                     Address on file                           Unearned Revenue                                                              $          112.00

Legendary Field Exhibitions, LLC   LaVergne, Bradford                Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Law Enforcement Specialists Inc   PO Box 11656                              Trade                                                                         $        3,047.00
                                                                     Glendale AZ 85318-
                                                                     1656
Legendary Field Exhibitions, LLC   Law Office of David E. Dilley     Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Law, Fred                         Address on file                           Unearned Revenue                                                              $          208.00


Legendary Field Exhibitions, LLC   Law, Ken                          Address on file                           Unearned Revenue                                                              $          140.00
Legendary Field Exhibitions, LLC   Law, Richard                      Address on file                           Unearned Revenue                                                              $          480.00

Legendary Field Exhibitions, LLC   Lawler, Paul                      Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Lawrence, Allen                   Address on file                           Trade                                                                         $       28,711.45

Legendary Field Exhibitions, LLC   Lawrence, Maureen                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Lawrence, Nathan                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Lawrence, Paige                   Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Laws, Jimmie                      Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Laws, Kolumn                      Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Lawson, Cindy                     Address on file                           Unearned Revenue                                                              $          150.00
Legendary Field Exhibitions, LLC   Lawson, Debi                      Address on file                           Unearned Revenue                                                              $           96.00
                                                                                                                                                                                                                 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 152 of




                                                                                                                                                    Page 101 of 202
                                                                              In re Legendary Field Exhibitions, LLC
                                                                                              Case No.
                                                                Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                    Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                    Account Incurred,                                                                       offset?
                                                                                    Number Basis for
                                                                                              Claim
Legendary Field Exhibitions, LLC   Layman, James                Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Lazaga, Dennis               Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Lazser Down LLC              4528 W. 140th                             Trade                                                                         $       23,600.00
                                                                Street
                                                                Leawood KS 66224
Legendary Field Exhibitions, LLC   Le Roy, Jayson               Address on file                           Unearned Revenue                                                              $          125.00

Legendary Field Exhibitions, LLC   Le, Chris                    Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Lea, Ron                     Address on file                           Unearned Revenue                                                              $          500.00
Legendary Field Exhibitions, LLC   Leadbeater, William          Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Leadley, Gabe                Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   LeafFilter North, LLC        1595 Georgetown                           Trade                                                  x                      $          700.00
                                                                Road
                                                                Hudson, Ohio
                                                                44236
Legendary Field Exhibitions, LLC   Leal, Chris                  Address on file                           Unearned Revenue                                                              $           41.00
Legendary Field Exhibitions, LLC   Leasman, James               Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Leathers, Larry              Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Leavitt, Boyce               Address on file                           Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Leavitt, Timothy             Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Lechowicz, MaryJo            Address on file                           Unearned Revenue                                                              $          450.00

Legendary Field Exhibitions, LLC   Lechuga, Zenaido             Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   LeClair, Jason               Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Ledesma, Jeremy              Address on file                           Unearned Revenue                                                              $          123.00
Legendary Field Exhibitions, LLC   Ledesma, Michael             Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Ledyard, Christian           Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Ledyard, Ryan                Address on file                           Unearned Revenue                                                              $           75.00
                                                                                                                                                                                                                                                    269




Legendary Field Exhibitions, LLC   Lee Kwai, Lorrin             Address on file                           Unearned Revenue                                                              $           75.00
Legendary Field Exhibitions, LLC   Lee, Alex                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Lee, Alvin                   Address on file                           Unearned Revenue                                                              $           70.00



Legendary Field Exhibitions, LLC   Lee, Bill                    Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Lee, Chris                   Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Lee, Edward                  Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Lee, Jason                   Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Lee, Kimberly                Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Lee, Rebecca                 Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   Lee, Terry                   Address on file                           Unearned Revenue                                                              $           35.00

Legendary Field Exhibitions, LLC   Lee, Tyler                   Address on file                           Unearned Revenue                                                              $           44.00
Legendary Field Exhibitions, LLC   Leeman, Mert                 Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   LeFavre, Michele             Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Leffew, Michelle             Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Leffew, Patricia             Address on file                           Unearned Revenue                                                              $           81.00
Legendary Field Exhibitions, LLC   LeFils, Linda                Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Lefils, Nicholas             Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Lefkowitz, Chuck             Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Legacy Pro Sports            Address on file                           Unearned Revenue                                                              $        4,200.00

Legendary Field Exhibitions, LLC   Legerrette, Tonantzin        Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Legge, Robert                Address on file                           Unearned Revenue                                                              $          200.00
                                                                                                                                                                                                            19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 153 of




                                                                                                                                               Page 102 of 202
                                                                            In re Legendary Field Exhibitions, LLC
                                                                                            Case No.
                                                              Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                  Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                  Account Incurred,                                                                       offset?
                                                                                  Number Basis for
                                                                                            Claim
Legendary Field Exhibitions, LLC   Lehmann, Darrell           Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Lehmeyer, Bob              Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Leija, Randy               Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Leitch, David              Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Lemay, David               Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Lemeron, Jake              Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Lemieux, Corey             Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Lemke, David               Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Lemons, Kip                Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   Lenard, Bill               Address on file                           Unearned Revenue                                                              $          150.00


Legendary Field Exhibitions, LLC   Lenart Smith, Leslie       Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Lent, Chris                Address on file                           Unearned Revenue                                                              $          180.00

Legendary Field Exhibitions, LLC   leon, kernick              Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Leonard, Nicole            Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Leonard, Phyllis           Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Leone, Bob                 Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Leos, Catherine            Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Lerma, Daniel              Address on file                           Unearned Revenue                                                              $          170.00
                                                                                                                                                                                                                                                  269




Legendary Field Exhibitions, LLC   Lerma, Edward              Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Lerma, Enrique             Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Lerond-Aoudia, Clemence    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Lesser, Jaden              Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Lesser, Lucinda            Address on file                           Unearned Revenue                                                              $           66.00
Legendary Field Exhibitions, LLC   Lessing, Liz               Address on file                           Unearned Revenue                                                              $           72.00
Legendary Field Exhibitions, LLC   lessley, buford            Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Lester Insure One Agency   Address on file                           Unearned Revenue                                                              $          600.00


Legendary Field Exhibitions, LLC   Lester, Matt               Address on file                           Unearned Revenue                                                              $            0.02
Legendary Field Exhibitions, LLC   Levante, Pete              Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Levy, Jake                 Address on file                           Unearned Revenue                                                              $        3,750.00
Legendary Field Exhibitions, LLC   Levy, Jeff                 Address on file                           Unearned Revenue                                                              $          200.00
Legendary Field Exhibitions, LLC   Lewen, Wendy               Address on file                           Unearned Revenue                                                              $          600.00


Legendary Field Exhibitions, LLC   lewin, aiden               Address on file                           Unearned Revenue                                                              $           44.00

Legendary Field Exhibitions, LLC   Lewis Consulting           Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Lewis, Anthony             Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Lewis, Daniel              Address on file                           Unearned Revenue                                                              $          270.00

Legendary Field Exhibitions, LLC   Lewis, Donovan             Address on file                           Unearned Revenue                                                              $          150.00


Legendary Field Exhibitions, LLC   Lewis, Dylan               Address on file                           Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   Lewis, Erik                Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   lewis, jesse               Address on file                           Unearned Revenue                                                              $          150.00


Legendary Field Exhibitions, LLC   Lewis, Kyle                Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Lewis, Mark                Address on file                           Unearned Revenue                                                              $          600.00

Legendary Field Exhibitions, LLC   Lewis, Michelle            Address on file                           Unearned Revenue                                                              $           20.00
                                                                                                                                                                                                          19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 154 of




                                                                                                                                             Page 103 of 202
                                                                                     In re Legendary Field Exhibitions, LLC
                                                                                                     Case No.
                                                                       Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                           Creditor Name              Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                           Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                           Account Incurred,                                                                       offset?
                                                                                           Number Basis for
                                                                                                     Claim
Legendary Field Exhibitions, LLC   Lewis, Preston                      Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Lewis, Starla                       Address on file                           Unearned Revenue                                                              $        2,500.00


Legendary Field Exhibitions, LLC   Lewis, Tina                         Address on file                           Unearned Revenue                                                              $           76.00

Legendary Field Exhibitions, LLC   Lewis, Tonjia                       Address on file                           Unearned Revenue                                                              $          116.00
Legendary Field Exhibitions, LLC   Lex, William                        Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Lexington Hotel Conference Center   1515 Prudential                           Trade                                                                         $      326,054.15
                                   Jacksonville Riverwalk              Drive
                                                                       Jacksonville FL
                                                                       32207
Legendary Field Exhibitions, LLC   Leyendecker, Jesse                  Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Leyva, Irene                        Address on file                           Unearned Revenue                                                              $          260.00

Legendary Field Exhibitions, LLC   Leyva, John                         Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Lezama, Victoria                    Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Liberty Bowl Memorial Stadium       335 South                                 Trade                                                                         $       89,749.81
                                                                       Hollywood St.
                                                                       Memphis TN 38104
Legendary Field Exhibitions, LLC   Lichte, Ronald                      Address on file                           Unearned Revenue                                                              $          125.00

Legendary Field Exhibitions, LLC   Lieb, Vernie                        Address on file                           Unearned Revenue                                                              $           70.00
Legendary Field Exhibitions, LLC   Liebert, Brandon                    Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Lifa, Heather                       Address on file                           Unearned Revenue                                                              $          285.00


Legendary Field Exhibitions, LLC   light, John                         Address on file                           Unearned Revenue                                                              $          175.00
                                                                                                                                                                                                                                                           269




Legendary Field Exhibitions, LLC   Light, Mike                         Address on file                           Unearned Revenue                                                              $          295.00


Legendary Field Exhibitions, LLC   Likes, Billy                        Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Lillo, Dusty                        Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Lim, Samuel                         Address on file                           Unearned Revenue                                                              $           24.00

Legendary Field Exhibitions, LLC   Limpert , Lindsay                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   linch, kathy                        Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Lincoln, Matthew                    Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   Lind, Gregory                       Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Lind, Kurt                          Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Lindebrg, Ryan                      Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Linder, Melanie                     Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Lindley, Matt                       Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Lindsay, Genealy                    Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Lindsay, Jack                       Address on file                           Unearned Revenue                                                              $          110.00

Legendary Field Exhibitions, LLC   Lindsay, Philippe                   Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   LINDSEY, APRIL                      Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Lindsey, Justin                     Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Line, Gary                          Address on file                           Unearned Revenue                                                              $           15.00
Legendary Field Exhibitions, LLC   Lineberry, Jeffrey                  Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Linekin, Ian                        Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Ling, Roxanne                       Address on file                           Unearned Revenue                                                              $           54.00
                                                                                                                                                                                                                   19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 155 of




                                                                                                                                                      Page 104 of 202
                                                                               In re Legendary Field Exhibitions, LLC
                                                                                               Case No.
                                                                 Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name         Address          Last 4 Date Debt   Trade, Debt / Note           Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                      Digits of  was    Payable (Type of Claim)                                             subject to
                                                                                      Account Incurred,                                                                      offset?
                                                                                      Number Basis for
                                                                                                Claim
Legendary Field Exhibitions, LLC   Lininger, Gloria              Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Link, Justin                  Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   LinkedIn Corp.                62228 Collections                         Trade                                                                         $        6,608.22
                                                                 Center Drive
                                                                 Chicago IL 60693
Legendary Field Exhibitions, LLC   Linkhorn, Booker T            Address on file                           Unearned Revenue                                                              $           25.00

Legendary Field Exhibitions, LLC   Linsley, Scott                Address on file                           Unearned Revenue                                                              $           95.00

Legendary Field Exhibitions, LLC   Linthicum, Gary               Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Linton, Zach                  Address on file                           Unearned Revenue                                                              $          150.00


Legendary Field Exhibitions, LLC   Linville, Dolores             Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Lipo, Stephanie               Address on file                           Unearned Revenue                                                              $          800.00

Legendary Field Exhibitions, LLC   LIQUID SOUL MEDIA, LLC        1024 Hemphill Ave.                        Trade                                                                         $       25,000.00
                                                                 NW
                                                                 Ste. B
                                                                 Atlanta GA 30318
Legendary Field Exhibitions, LLC   LITTLE, CHAD                  Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Littlejohn, Anita             Address on file                           Unearned Revenue                                                              $           44.00
Legendary Field Exhibitions, LLC   LITWHILER, CHRISTOPHER        Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Lively, Matthew               Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Livingstob, Rhett             Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Livingston, Susan             Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Lizotte, Jonathan             Address on file                           Unearned Revenue                                                              $           80.00
Legendary Field Exhibitions, LLC   Llamas, Leonardo              Address on file                           Unearned Revenue                                                              $           70.00
                                                                                                                                                                                                                                                     269




Legendary Field Exhibitions, LLC   Llanes, Patrick               Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   LLC, ProAviation Supply       Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Llera, Rafael                 Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Llorens, Paula                Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Lloyd, Len                    Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Lloyd, Tom                    Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Loch, Randy                   Address on file                           Unearned Revenue                                                              $          100.00



Legendary Field Exhibitions, LLC   Loeb, Josh                    Address on file                           Unearned Revenue                                                              $          800.00

Legendary Field Exhibitions, LLC   Loerwald, Collin              Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Logicopy                      3146 Tiger Run                            Trade                                                                         $        2,075.44
                                                                 Court Suite 110
                                                                 Carlsbad
                                                                 Carlsbad CA 92010
Legendary Field Exhibitions, LLC   Lohman, Dylan                 Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Lokar, Todd                   Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Lomeli, Jaime                 Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Lomibao, Joshua               Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   LONDON, DENISE                Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Lone Star Material Handling   Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Long, Bryan                   Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   long, kim                     Address on file                           Unearned Revenue                                                              $           92.50
Legendary Field Exhibitions, LLC   Long, Michael                 Address on file                           Unearned Revenue                                                              $          750.00

Legendary Field Exhibitions, LLC   Longdon, Jamais               Address on file                           Unearned Revenue                                                              $           30.00
                                                                                                                                                                                                             19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 156 of




                                                                                                                                                Page 105 of 202
                                                                           In re Legendary Field Exhibitions, LLC
                                                                                           Case No.
                                                             Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                 Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                 Account Incurred,                                                                       offset?
                                                                                 Number Basis for
                                                                                           Claim
Legendary Field Exhibitions, LLC   longest, beaufort         Address on file                           Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Loomis                    PO Box 120757                             Trade                                                                         $          439.33
                                                             Dept. 0757
                                                             Dallas, TX 75312-
                                                             0757
Legendary Field Exhibitions, LLC   Loper, Eric               Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Lopes, Gregory            Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Lopez , Miguel            Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Lopez, Aaron              Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Lopez, Abner              Address on file                           Unearned Revenue                                                              $           15.00


Legendary Field Exhibitions, LLC   Lopez, Alex               Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Lopez, Anthony            Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Lopez, Brian              Address on file                           Unearned Revenue                                                              $          105.00

Legendary Field Exhibitions, LLC   Lopez, Carlos             Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Lopez, Chris              Address on file                           Unearned Revenue                                                              $          105.00

Legendary Field Exhibitions, LLC   Lopez, David              Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Lopez, Dominque           Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Lopez, Edwin              Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   lopez, ernest             Address on file                           Unearned Revenue                                                              $           82.00
Legendary Field Exhibitions, LLC   Lopez, Frank              Address on file                           Unearned Revenue                                                              $          420.00

Legendary Field Exhibitions, LLC   lopez, george             Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Lopez, Heather            Address on file                           Unearned Revenue                                                              $          100.00
                                                                                                                                                                                                                                                 269




Legendary Field Exhibitions, LLC   Lopez, Jake               Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Lopez, Javier             Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Lopez, Jeanette           Address on file                           Unearned Revenue                                                              $           61.00

Legendary Field Exhibitions, LLC   Lopez, Joe                Address on file                           Unearned Revenue                                                              $          170.00

Legendary Field Exhibitions, LLC   Lopez, Jose               Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Lopez, Joseph             Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   lopez, joshua             Address on file                           Unearned Revenue                                                              $           61.50

Legendary Field Exhibitions, LLC   Lopez, Juan               Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Lopez, Matthew            Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Lopez, Michael            Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Lopez, Mike               Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Lopez, Naissa             Address on file                           Unearned Revenue                                                              $           61.00
Legendary Field Exhibitions, LLC   lopez, neida              Address on file                           Unearned Revenue                                                              $           81.00
Legendary Field Exhibitions, LLC   Lopez, Norma              Address on file                           Unearned Revenue                                                              $           55.50
Legendary Field Exhibitions, LLC   Lopez, Olivia             Address on file                           Unearned Revenue                                                              $          340.00

Legendary Field Exhibitions, LLC   Lopez, Rafael             Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Lopez, Ramiro             Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Lopez, Ramon              Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Lopez, Raymond            Address on file                           Unearned Revenue                                                              $          960.00

Legendary Field Exhibitions, LLC   Lopez, Rebecca            Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Lopez, Robert             Address on file                           Unearned Revenue                                                              $           15.00


Legendary Field Exhibitions, LLC   Lopez, Roland             Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Lopez, Tiffany            Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Lopez, Yvette             Address on file                           Unearned Revenue                                                              $          210.00

Legendary Field Exhibitions, LLC   Lord, John                Address on file                           Unearned Revenue                                                              $           20.00
                                                                                                                                                                                                         19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 157 of




                                                                                                                                            Page 106 of 202
                                                                                      In re Legendary Field Exhibitions, LLC
                                                                                                      Case No.
                                                                        Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                           Creditor Name               Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                            Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                            Account Incurred,                                                                       offset?
                                                                                            Number Basis for
                                                                                                      Claim
Legendary Field Exhibitions, LLC   Lordigyan, Steve                     Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Lords, Nick                          Address on file                           Unearned Revenue                                                              $           78.00

Legendary Field Exhibitions, LLC   Loredo, Gilbert                      Address on file                           Unearned Revenue                                                              $          240.00

Legendary Field Exhibitions, LLC   LoRicco, Jason                       Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Lorne, Jill                          Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Losoya, Rueben                       Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   lott, mike                           Address on file                           Unearned Revenue                                                              $           45.00
Legendary Field Exhibitions, LLC   Lotus Broadcasting Corporation dba   8755 W. Flamingo                          Trade                                                                         $        8,600.00
                                   KOMP, KXPT, KWID, KWWN,              Road
                                   KENO, KLAV, KBAD, LOTUS              Las Vegas NV
                                   DIGITAL                              89147
Legendary Field Exhibitions, LLC   Louchery, Michael                    Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Loucks, Dan                          Address on file                           Unearned Revenue                                                              $          116.00


Legendary Field Exhibitions, LLC   Love, Lori                           Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Lovelace, Stephen                    Address on file                           Unearned Revenue                                                              $          420.00


Legendary Field Exhibitions, LLC   loveland, nicholas                   Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Loveless, Judith                     Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Lovering Remodiling and              Address on file                           Unearned Revenue                                                              $          125.00
                                   Construction
Legendary Field Exhibitions, LLC   Lowe, Jeffrey                        Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Lowe, Todd                           Address on file                           Unearned Revenue                                                              $          125.00

Legendary Field Exhibitions, LLC   Lowell, Andrew                       Address on file                           Unearned Revenue                                                              $           35.00
                                                                                                                                                                                                                                                            269




Legendary Field Exhibitions, LLC   Lowery, Brian                        Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Lowery, William                      Address on file                           Unearned Revenue                                                              $          600.00

Legendary Field Exhibitions, LLC   Loy, David                           Address on file                           Unearned Revenue                                                              $          120.00


Legendary Field Exhibitions, LLC   Lozano, Eli                          Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Lozano, Fernando                     Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Lozano, Jorge                        Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Lozano, Patty                        Address on file                           Unearned Revenue                                                              $            0.02
Legendary Field Exhibitions, LLC   Lozano, Robert                       Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   LSI Graphics, LLC                    P.O Box 372                               Trade                                                                         $        5,740.53
                                                                        Dept 210
                                                                        Memphis TN 38101
Legendary Field Exhibitions, LLC   Lucas, Dawn                          Address on file                           Unearned Revenue                                                              $          500.00

Legendary Field Exhibitions, LLC   Lucas, Jason                         Address on file                           Unearned Revenue                                                              $           80.00
Legendary Field Exhibitions, LLC   Lucas, Thomas                        Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Lucas, Todd                          Address on file                           Unearned Revenue                                                              $          360.00
Legendary Field Exhibitions, LLC   lucio, Richard                       Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Luckenbach, Kendrick                 Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Lucy, Keith                          Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Ludwikowski, Edward                  Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   Luellen, David                       Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Luera, Jon-Carlo                     Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Lugar, Garry                         Address on file                           Unearned Revenue                                                              $          800.00

Legendary Field Exhibitions, LLC   Lugo, Edwin                          Address on file                           Unearned Revenue                                                              $           70.00
                                                                                                                                                                                                                    19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 158 of




                                                                                                                                                       Page 107 of 202
                                                                            In re Legendary Field Exhibitions, LLC
                                                                                            Case No.
                                                              Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name        Address           Last 4 Date Debt   Trade, Debt / Note          Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                    Digits of  was    Payable (Type of Claim)                                            subject to
                                                                                    Account Incurred,                                                                     offset?
                                                                                    Number Basis for
                                                                                              Claim
Legendary Field Exhibitions, LLC   Luhnow, Sandra             Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Luhrs, Thomas              Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Lujano, Jeff               Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Luke, Craig                Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Luken, Audrey              Address on file                           Unearned Revenue                                                              $          105.00

Legendary Field Exhibitions, LLC   Lum, Anthony               Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Luna, Consuelo             Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Luna, Rudy                 Address on file                           Unearned Revenue                                                              $           90.00


Legendary Field Exhibitions, LLC   Lundquist, Dennis          Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Lupton, Jennifer           Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Lussier, Janine            Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Luthander, Robbie          Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Lutz, Russel               Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   LUTZENBERGER, Albert       Address on file                           Unearned Revenue                                                              $          183.00

Legendary Field Exhibitions, LLC   Ly, Nhi                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Lykkebak, Don              Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   Lykkebak, John             Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Lynch, Christopher         Address on file                           Unearned Revenue                                                              $          300.00


Legendary Field Exhibitions, LLC   Lynn, Jeremy               Address on file                           Unearned Revenue                                                              $          122.00
Legendary Field Exhibitions, LLC   Lyon, Andrew               Address on file                           Unearned Revenue                                                              $          640.00
                                                                                                                                                                                                                                                  269




Legendary Field Exhibitions, LLC   Lyon, Hunter               Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Lyon, Michael              Address on file                           Unearned Revenue                                                              $          200.00
Legendary Field Exhibitions, LLC   Lyon, Mike                 Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Lyons, Chris               Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Lyons, Theresa             Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Lyssy, Joe                 Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Lyssy, Linda               Address on file                           Unearned Revenue                                                              $          120.00


Legendary Field Exhibitions, LLC   Lytle, Lanita              Address on file                           Unearned Revenue                                                              $           35.00

Legendary Field Exhibitions, LLC   M&M Productions, Inc       1739 Dixon St                             Trade                                                                         $        2,526.52
                                                              Redondo Beach CA
                                                              90278
Legendary Field Exhibitions, LLC   M, Joe                     Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   M, Ross                    Address on file                           Unearned Revenue                                                              $           75.00
Legendary Field Exhibitions, LLC   Maag, Lisa                 Address on file                           Unearned Revenue                                                              $           40.00


Legendary Field Exhibitions, LLC   Maag, Sean                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Mabrouk, Joan              Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   MAC Printing               7417 El Cajon Blvd.                       Trade                                                                         $          378.67
                                                              La Mesa CA 91942
Legendary Field Exhibitions, LLC   Macadan, Austin            Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Macaluso, Jeannie          Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   macaw, kevin               Address on file                           Unearned Revenue                                                              $           51.00
Legendary Field Exhibitions, LLC   MacDonald, James           Address on file                           Unearned Revenue                                                              $          342.00

Legendary Field Exhibitions, LLC   MacDonald, Matt            Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Machen, Adrian             Address on file                           Unearned Revenue                                                              $          150.00
                                                                                                                                                                                                          19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 159 of




                                                                                                                                             Page 108 of 202
                                                                              In re Legendary Field Exhibitions, LLC
                                                                                              Case No.
                                                                Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name           Address          Last 4 Date Debt   Trade, Debt / Note           Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                     Digits of  was    Payable (Type of Claim)                                             subject to
                                                                                     Account Incurred,                                                                      offset?
                                                                                     Number Basis for
                                                                                               Claim
Legendary Field Exhibitions, LLC   Machicote, Ian               Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Macias, Alex                 Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Macias, Celeste              Address on file                           Unearned Revenue                                                              $          111.00
Legendary Field Exhibitions, LLC   Macias, John                 Address on file                           Unearned Revenue                                                              $          140.00
Legendary Field Exhibitions, LLC   Maciaszek, Eric              Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   MacIntyre, Austin            Address on file                           Unearned Revenue                                                              $          174.00

Legendary Field Exhibitions, LLC   MacIntyre, Roderick          Address on file                           Unearned Revenue                                                              $          116.00
Legendary Field Exhibitions, LLC   Mack, Ken                    Address on file                           Trade                                                                         $        2,761.25

Legendary Field Exhibitions, LLC   Mack, Rodney                 Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Mackellar, Kyle              Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Mackie, Michael              Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Macomber, Kathi              Address on file                           Unearned Revenue                                                              $          240.00

Legendary Field Exhibitions, LLC   MacWilliam, Christopher G.   Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Madara, Danny                Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Maddox, Julie                Address on file                           Unearned Revenue                                                              $          120.00
Legendary Field Exhibitions, LLC   Mader, Marcus                Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Madigan , Brad               Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Madsen, Susan                Address on file                           Unearned Revenue                                                              $           76.00

Legendary Field Exhibitions, LLC   Magallanes, Krista           Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Magana, frank                Address on file                           Unearned Revenue                                                              $           15.00
                                                                                                                                                                                                                                                    269




Legendary Field Exhibitions, LLC   MAGARO, DENNIS               Address on file                           Unearned Revenue                                                              $           54.00


Legendary Field Exhibitions, LLC   Magness, Mike                Address on file                           Unearned Revenue                                                              $           65.00
Legendary Field Exhibitions, LLC   Magnuson, Joseph             Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Magtoto, Jomer               Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Maguire, Callum              Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Mahar, Terri                 Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Mahley, Mike                 Address on file                           Unearned Revenue                                                              $          800.00

Legendary Field Exhibitions, LLC   Mahon, Julia                 Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   MAHORO, PORSHIA              Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   main, charles                Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Mainka, Susan                Address on file                           Unearned Revenue                                                              $           61.00
Legendary Field Exhibitions, LLC   Mair, Jason                  Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Mair, Joshua                 Address on file                           Unearned Revenue                                                              $          145.00

Legendary Field Exhibitions, LLC   Major Promotions             3517 Spring Valley                        Trade                                                                         $        1,671.66
                                                                Court
                                                                Mountain Brook AL
                                                                35223
Legendary Field Exhibitions, LLC   Major, Aramaxis              Address on file                           Unearned Revenue                                                              $          400.00

Legendary Field Exhibitions, LLC   Malatek, Hunter              Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   maldonado, antonio           Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Maldonado, Arturo            Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Maldonado, Cynthia           Address on file                           Unearned Revenue                                                              $           44.00

Legendary Field Exhibitions, LLC   Maldonado, Luisgabriel       Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Maldonado, Veronica          Address on file                           Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Malenfant, Mark              Address on file                           Unearned Revenue                                                              $           60.00
                                                                                                                                                                                                            19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 160 of




                                                                                                                                               Page 109 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name                Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                          Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                          Account Incurred,                                                                       offset?
                                                                                          Number Basis for
                                                                                                    Claim
Legendary Field Exhibitions, LLC   Mallas, Jimmy                      Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Mallon, John                       Address on file                           Unearned Revenue                                                              $          632.00

Legendary Field Exhibitions, LLC   Mallory, Joseph                    Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Malo, John                         Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Malo, Joshua                       Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Malone, Miguel                     Address on file                           Unearned Revenue                                                              $          270.00

Legendary Field Exhibitions, LLC   Mancha, Rudy                       Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Mancheter, William "Bill"          Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Mandato, Grant                     Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Mandel, Mark                       Address on file                           Unearned Revenue                                                              $          216.00


Legendary Field Exhibitions, LLC   mangold, leyton                    Address on file                           Unearned Revenue                                                              $           61.00

Legendary Field Exhibitions, LLC   Manhire, Melody                    Address on file                           Unearned Revenue                                                              $           70.00
Legendary Field Exhibitions, LLC   Mankiewicz, Paul                   Address on file                           Unearned Revenue                                                              $          500.00

Legendary Field Exhibitions, LLC   Manning, Genevive                  Address on file                           Unearned Revenue                                                              $           81.00
Legendary Field Exhibitions, LLC   Manning, Theodore                  Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Manrique, Enrique                  Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Manson, Steven                     Address on file                           Unearned Revenue                                                              $          200.00



Legendary Field Exhibitions, LLC   Mansur, Montie                     Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Mantell, Adam                      Address on file                           Unearned Revenue                                                              $           15.00
                                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   manz, Dan                          Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Manzano, John and Jenn             Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Maras, Dennis                      Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Marbury, Michael                   Address on file                           Unearned Revenue                                                              $           75.00
Legendary Field Exhibitions, LLC   Marcello, Marc                     Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Marcial, Gustavo                   Address on file                           Unearned Revenue                                                              $          208.00

Legendary Field Exhibitions, LLC   Marcoe, Jason                      Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Marcoux, Eugene                    Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Marcus Jewish community center of Address on file                            Unearned Revenue                                                              $          100.00
                                   Atlanta
Legendary Field Exhibitions, LLC   Marcus, Andrew                    Address on file                            Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Marcy, Tyler                       Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Margaritaville Inc.                Address on file                           Unearned Revenue                                                              $          340.00

Legendary Field Exhibitions, LLC   Marginot, Rudy                     Address on file                           Unearned Revenue                                                              $          316.00

Legendary Field Exhibitions, LLC   Marin, Juan                        Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Marin, Megan                       Address on file                           Unearned Revenue                                                              $           61.00
Legendary Field Exhibitions, LLC   Mariscal, Ignacio                  Address on file                           Unearned Revenue                                                              $           25.00



Legendary Field Exhibitions, LLC   Mark Malone                        27186 N 112th                             Trade                                                                         $       13,000.00
                                                                      Place
                                                                      Scottsdale AZ
                                                                      85262
Legendary Field Exhibitions, LLC   Mark Mayer                         1739 Dixon St                             Trade                                                                         $        2,000.00
                                                                      Redondo Beach CA
                                                                      90278-2822
Legendary Field Exhibitions, LLC   Markel                             Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   MarketBlazer, Inc.                 Address on file                           Unearned Revenue                                                              $          310.00
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 161 of




                                                                                                                                                     Page 110 of 202
                                                                                   In re Legendary Field Exhibitions, LLC
                                                                                                   Case No.
                                                                     Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name               Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                         Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                         Account Incurred,                                                                       offset?
                                                                                         Number Basis for
                                                                                                   Claim
Legendary Field Exhibitions, LLC   Marketstar                        Address on file                           Unearned Revenue                                                              $          208.00

Legendary Field Exhibitions, LLC   Markey, John & Teresa             Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Marking, Kathie                   Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Markos, Jarrold                   Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Marks, Ursula                     Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Marley, Bill                      Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   MARLEY, Larry                     Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   marlow, nash                      Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Marlowe, Karen                    Address on file                           Unearned Revenue                                                              $           64.00
Legendary Field Exhibitions, LLC   Marlowe, Ronald                   Address on file                           Unearned Revenue                                                              $          180.00



Legendary Field Exhibitions, LLC   Maroney, Steve                    Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Maroulis, Nicholas                Address on file                           Unearned Revenue                                                              $          250.00


Legendary Field Exhibitions, LLC   Marquez, Cesar                    Address on file                           Unearned Revenue                                                              $           41.00

Legendary Field Exhibitions, LLC   Marquez, Lisa                     Address on file                           Unearned Revenue                                                              $          200.00


Legendary Field Exhibitions, LLC   Marquez, Victor                   Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Marquis Bundy                     4632 E Winston Dr                         Trade                                                                         $          236.61
                                                                     Phoenix AZ 85044
Legendary Field Exhibitions, LLC   Marrie, Mike                      Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Marriott Hotel Services Inc DBA   16770 N Perimeter                         Trade                                                                         $       92,196.34
                                                                                                                                                                                                                                                         269




                                   Scottsdale Marriott at McDowell   Dr
                                   Mountains                         Scottsdale, AZ
                                                                     85260
Legendary Field Exhibitions, LLC   MARRIOTT ORLANDO                  400 West                                  Trade                                                                         $       48,347.32
                                   DOWNTOWN                          Livingston Street
                                                                     Orlando FL 32801
Legendary Field Exhibitions, LLC   Marriott Plaza San Antonio        555 S, Alamo                              Trade                                                                         $      113,671.06
                                                                     San Antonio TX
                                                                     78205
Legendary Field Exhibitions, LLC   Marriott San Antonio Northwest    3233 NW LOOP                              Trade                                                                         $      600,995.01
                                                                     410
                                                                     San Antonio TX
                                                                     78213
Legendary Field Exhibitions, LLC   Marron, Nick                      Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Marsh, Venessa                    Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   Marshall, Frank                   Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Marshall, Ryan                    Address on file                           Unearned Revenue                                                              $          112.00

Legendary Field Exhibitions, LLC   Marshall, Scott                   Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Martell, James                    Address on file                           Unearned Revenue                                                              $           25.00


Legendary Field Exhibitions, LLC   Martin, Chris                     Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Martin, David                     Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Martin, David A.                  Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   Martin, Douglas                   Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Martin, Jenica                    Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Martin, Mark                      Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   martin, michael                   Address on file                           Unearned Revenue                                                              $           19.00
                                                                                                                                                                                                                 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 162 of




                                                                                                                                                    Page 111 of 202
                                                                            In re Legendary Field Exhibitions, LLC
                                                                                            Case No.
                                                              Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                  Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                  Account Incurred,                                                                       offset?
                                                                                  Number Basis for
                                                                                            Claim
Legendary Field Exhibitions, LLC   Martin, Ninon              Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Martin, Pamela             Address on file                           Unearned Revenue                                                              $          110.00

Legendary Field Exhibitions, LLC   Martin, Richard            Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Martin, Rick               Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Martin, Robert             Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Martin, Teresa             Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Martinez, Adrian           Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   martinez, alfredo          Address on file                           Unearned Revenue                                                              $          388.50

Legendary Field Exhibitions, LLC   Martinez, Ashley           Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Martinez, Aurora           Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Martinez, Bernie           Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Martinez, Christina        Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Martinez, Danjelly         Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Martinez, DAWN             Address on file                           Unearned Revenue                                                              $           55.50

Legendary Field Exhibitions, LLC   Martinez, Dennis           Address on file                           Unearned Revenue                                                              $          360.00

Legendary Field Exhibitions, LLC   Martinez, Derek            Address on file                           Unearned Revenue                                                              $           41.00
Legendary Field Exhibitions, LLC   Martinez, Diane            Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Martinez, Donna            Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Martinez, Eddie            Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Martinez, Eric             Address on file                           Unearned Revenue                                                              $          185.00
                                                                                                                                                                                                                                                  269




Legendary Field Exhibitions, LLC   Martinez, Erick            Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Martinez, Ernesto          Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Martinez, Ezequiel         Address on file                           Unearned Revenue                                                              $          170.00

Legendary Field Exhibitions, LLC   Martinez, Felix            Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   martinez, fernando         Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   Martinez, Henry            Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Martinez, Ike              Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   martinez, janette          Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Martinez, Jason            Address on file                           Unearned Revenue                                                              $           41.00
Legendary Field Exhibitions, LLC   Martinez, Joe              Address on file                           Unearned Revenue                                                              $          105.00

Legendary Field Exhibitions, LLC   Martinez, Joel             Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Martinez, John             Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Martinez, John L.          Address on file                           Unearned Revenue                                                              $           75.00
Legendary Field Exhibitions, LLC   Martinez, Jorge            Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Martinez, Julian           Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Martinez, Kristie          Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Martinez, Leo              Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Martinez, Manny            Address on file                           Unearned Revenue                                                              $          150.00
Legendary Field Exhibitions, LLC   Martinez, Manuel           Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Martinez, Maria            Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   martinez, mark             Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Martinez, Michael          Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Martinez, Miguel           Address on file                           Unearned Revenue                                                              $           90.00
                                                                                                                                                                                                          19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 163 of




                                                                                                                                             Page 112 of 202
                                                                                 In re Legendary Field Exhibitions, LLC
                                                                                                 Case No.
                                                                   Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                         Creditor Name            Address          Last 4 Date Debt   Trade, Debt / Note           Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                        Digits of  was    Payable (Type of Claim)                                             subject to
                                                                                        Account Incurred,                                                                      offset?
                                                                                        Number Basis for
                                                                                                  Claim
Legendary Field Exhibitions, LLC   Martinez, Nicolas               Address on file                           Unearned Revenue                                                              $           50.00



Legendary Field Exhibitions, LLC   Martinez, Norma                 Address on file                           Unearned Revenue                                                              $           81.00

Legendary Field Exhibitions, LLC   Martinez, Priscilla             Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Martinez, Raymond               Address on file                           Unearned Revenue                                                              $          187.50

Legendary Field Exhibitions, LLC   Martinez, Reynaldo              Address on file                           Unearned Revenue                                                              $           35.00

Legendary Field Exhibitions, LLC   Martinez, Richard               Address on file                           Unearned Revenue                                                              $          283.50

Legendary Field Exhibitions, LLC   Martinez, Robert                Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Martinez, Roland                Address on file                           Unearned Revenue                                                              $          400.00

Legendary Field Exhibitions, LLC   Martinez, Roslynn               Address on file                           Unearned Revenue                                                              $          525.00
Legendary Field Exhibitions, LLC   MARTINEZ, STANLEY               Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Martinez, Steven                Address on file                           Unearned Revenue                                                              $          111.00
Legendary Field Exhibitions, LLC   Martinez, Willie                Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Marvin Hart                     6191 NE 72nd                              Trade                                                                         $          205.00
                                                                   Place
                                                                   Silver springs FL
                                                                   34488
Legendary Field Exhibitions, LLC   MARVIN LEWIS                    10040 E. Happy                            Trade                                                                         $      135,617.22
                                                                   Valley Rd. #596
                                                                   Scottsdale AZ
                                                                   85255
Legendary Field Exhibitions, LLC   Marvin, Jennifer                Address on file                           Unearned Revenue                                                              $          110.00

Legendary Field Exhibitions, LLC   Marx, Jay                       Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Masel, jENNA                    Address on file                           Unearned Revenue                                                              $           62.00
Legendary Field Exhibitions, LLC   Mashak, Lindsay                 Address on file                           Unearned Revenue                                                              $           30.00
                                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   Maslankowski, Erik              Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Mason, Claudia                  Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Mason, Dan                      Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Mason, Duff                     Address on file                           Unearned Revenue                                                              $           22.00
Legendary Field Exhibitions, LLC   Mason, Jonathan                 Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Mason, Joshua                   Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Mason, Lacy                     Address on file                           Unearned Revenue                                                              $          120.00
Legendary Field Exhibitions, LLC   mason, Rose                     Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Mason, Tim                      Address on file                           Unearned Revenue                                                              $       17,960.00

Legendary Field Exhibitions, LLC   Masque Sound & Recording DBA    21 E Union Ave                            Trade                                                                         $       13,700.60
                                   Professional Wireless Systems   East Rutherford NJ
                                                                   07073
Legendary Field Exhibitions, LLC   Massee, Jules                   Address on file                           Unearned Revenue                                                              $          600.00

Legendary Field Exhibitions, LLC   Massey, Anthony                 Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Massey, Cody                    Address on file                           Unearned Revenue                                                              $           15.00


Legendary Field Exhibitions, LLC   Massey, Garrett                 Address on file                           Unearned Revenue                                                              $           44.00

Legendary Field Exhibitions, LLC   Massey, Lucynda                 Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Massie, Elizabeth               Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Massie, Robert                  Address on file                           Unearned Revenue                                                              $           82.00
Legendary Field Exhibitions, LLC   Mast, Autumn Rachelle           Address on file                           Unearned Revenue                                                              $          416.00

Legendary Field Exhibitions, LLC   Mast, Jason                     Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   MAT Express                     Address on file                           Unearned Revenue                                                              $          750.00


Legendary Field Exhibitions, LLC   Mata, Carlos                    Address on file                           Unearned Revenue                                                              $           20.00
                                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 164 of




Legendary Field Exhibitions, LLC   Mata, Lus                       Address on file                           Unearned Revenue                                                              $           20.00




                                                                                                                                                  Page 113 of 202
                                                                                 In re Legendary Field Exhibitions, LLC
                                                                                                 Case No.
                                                                   Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                         Creditor Name            Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                       Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                       Account Incurred,                                                                       offset?
                                                                                       Number Basis for
                                                                                                 Claim
Legendary Field Exhibitions, LLC   mata, megan                     Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Mata, Paul                      Address on file                           Unearned Revenue                                                              $          152.00
Legendary Field Exhibitions, LLC   Matalon Media, LLC              P.O Box 270095                            Trade                                                                         $        2,780.57
                                                                   West Hartford CT
                                                                   06127
Legendary Field Exhibitions, LLC   Matejowsky, Ty                  Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Matera, Jeff                    Address on file                           Unearned Revenue                                                              $          410.00

Legendary Field Exhibitions, LLC   Matheaus, Preston               Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Mather, David                   Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Mathews, Steven                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Mathis, Chaevis                 Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Matney , Scott                  Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Matson, Eric                    Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Matta, Miranda                  Address on file                           Unearned Revenue                                                              $           80.50
Legendary Field Exhibitions, LLC   Matta-rodriguez, Enrique        Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Mattey, Paul                    Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Matthew Smith dba MMS Media LLC 11872 Reagan St                           Trade                                                                         $       38,435.42
                                                                   Los Alamitos CA
                                                                   90720
Legendary Field Exhibitions, LLC   Matthews, Greta                 Address on file                           Unearned Revenue                                                              $           15.64
Legendary Field Exhibitions, LLC   Matthews, Jeremy                Address on file                           Unearned Revenue                                                              $          600.00


Legendary Field Exhibitions, LLC   Matthies, Mason                 Address on file                           Unearned Revenue                                                              $          500.00


Legendary Field Exhibitions, LLC   Matykiewicz, Tim                Address on file                           Unearned Revenue                                                              $          100.00
                                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   Matzke, Kevin                   Address on file                           Unearned Revenue                                                              $          120.00
Legendary Field Exhibitions, LLC   Mauldin, Ron                    Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Maurice Jones-Drew              1054 31st Street                          Trade                                                                         $       20,026.32
                                                                   NW, Suite 18
                                                                   Washington DC
                                                                   20007
Legendary Field Exhibitions, LLC   maurizi, elizabeth              Address on file                           Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   Mauze, Cameron                  Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   Maverick Whiskey                Address on file                           Unearned Revenue                                                              $          600.00

Legendary Field Exhibitions, LLC   Maxwell, Robert                 Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   May, Bill                       Address on file                           Unearned Revenue                                                              $           40.00


Legendary Field Exhibitions, LLC   May, Cynthia                    Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   May, Judith                     Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   May, Kaley                      Address on file                           Unearned Revenue                                                              $           40.00


Legendary Field Exhibitions, LLC   May, Mark                       Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Mayers, Zachary                 Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Mayes, Marci                    Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Mayeux, Kevin                   Address on file                           Unearned Revenue                                                              $          640.00

Legendary Field Exhibitions, LLC   Mayfield, Otis                  Address on file                           Unearned Revenue                                                              $          200.00


Legendary Field Exhibitions, LLC   Mayhugh, Kent                   Address on file                           Unearned Revenue                                                              $          840.00

Legendary Field Exhibitions, LLC   Mayoral, Gus                    Address on file                           Unearned Revenue                                                              $          120.00
Legendary Field Exhibitions, LLC   Mayr, Alan                      Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Mayse, Chris                    Address on file                           Unearned Revenue                                                              $          200.00
                                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 165 of




                                                                                                                                                  Page 114 of 202
                                                                                 In re Legendary Field Exhibitions, LLC
                                                                                                 Case No.
                                                                   Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name              Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                       Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                       Account Incurred,                                                                       offset?
                                                                                       Number Basis for
                                                                                                 Claim
Legendary Field Exhibitions, LLC   Maywald, John                   Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   MC Hawk Enterprises             Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Mcadams, Andrew                 Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Mcafee, Rebecca                 Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   McAlexander, Robert             Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Mcalister, Brandon              Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   McAlister, Nicole               Address on file                           Unearned Revenue                                                              $           95.00

Legendary Field Exhibitions, LLC   Mcbride, Alicia                 Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Mcbride, Scott                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   McBride, Whitney                Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   McCabe, Michael                 Address on file                           Unearned Revenue                                                              $          405.00
Legendary Field Exhibitions, LLC   McCall, Stacy                   Address on file                           Unearned Revenue                                                              $       11,420.00

Legendary Field Exhibitions, LLC   McCandless, Courtney            Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Mccann, Steve                   Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   McCarthy, Paul                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Mccarthy, Peter                 Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Mccarty, Daniel                 Address on file                           Unearned Revenue                                                              $          800.00

Legendary Field Exhibitions, LLC   McCauley, Chuck                 Address on file                           Unearned Revenue                                                              $          120.00


Legendary Field Exhibitions, LLC   McChesney, Kylie                Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Mcchesney, Stephen              Address on file                           Unearned Revenue                                                              $          320.00
                                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   McClain, Jack                   Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   McClamb, Nichelle D.            Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   McClammy, Richard               Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   McClellan, Jane                 Address on file                           Unearned Revenue                                                              $           72.00
Legendary Field Exhibitions, LLC   McClintock, Brandon             Address on file                           Unearned Revenue                                                              $           40.00


Legendary Field Exhibitions, LLC   McClune, Ryan                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   McClure, Benjamin               Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Mcclure, Ed                     Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Mccollister, Kenneth            Address on file                           Unearned Revenue                                                              $          410.00

Legendary Field Exhibitions, LLC   McCombs Family Partners, Ltd.   Address on file                           Unearned Revenue                                                              $          650.00


Legendary Field Exhibitions, LLC   McConnell, Chad                 Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   McCool, Scott                   Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Mccoole, Keren                  Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   McCord, Tsa                     Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   McCormick, Matt                 Address on file                           Unearned Revenue                                                              $          250.00
Legendary Field Exhibitions, LLC   McCormick, Timothy              Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Mccourt, Charles                Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   McCoy, Chris                    Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Mccoy, Dennis                   Address on file                           Unearned Revenue                                                              $          105.00



Legendary Field Exhibitions, LLC   McCoy, Ed                       Address on file                           Unearned Revenue                                                              $            0.02
Legendary Field Exhibitions, LLC   McCoy, Melvin                   Address on file                           Unearned Revenue                                                              $          125.00
                                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 166 of




                                                                                                                                                  Page 115 of 202
                                                                           In re Legendary Field Exhibitions, LLC
                                                                                           Case No.
                                                             Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                 Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                 Account Incurred,                                                                       offset?
                                                                                 Number Basis for
                                                                                           Claim
Legendary Field Exhibitions, LLC   Mccoy, Nicholas           Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   McCracken, Casey          Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   McCracken, David          Address on file                           Unearned Revenue                                                              $           80.00
Legendary Field Exhibitions, LLC   McCrary, Donald           Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   McCrary, Tommy            Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   McCreary, Shawn           Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   MCCREE, VALENCIA          Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   McCue, Colette            Address on file                           Unearned Revenue                                                              $          180.00

Legendary Field Exhibitions, LLC   Mccue, John               Address on file                           Unearned Revenue                                                              $          110.00

Legendary Field Exhibitions, LLC   McCulloch, Tyler          Address on file                           Unearned Revenue                                                              $           41.00

Legendary Field Exhibitions, LLC   Mccullough, Christopher   Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   McCune, Don               Address on file                           Unearned Revenue                                                              $          150.00


Legendary Field Exhibitions, LLC   McDaniel, Chris           Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   McDaniel, James           Address on file                           Unearned Revenue                                                              $           75.00
Legendary Field Exhibitions, LLC   Mcdermott, John           Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   McDonald, Alex            Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   McDonald, Kevin           Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   McDonald, Leah            Address on file                           Unearned Revenue                                                              $          125.00

Legendary Field Exhibitions, LLC   McDonald, Matthew         Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Mcdonald, Steve           Address on file                           Unearned Revenue                                                              $          110.00
                                                                                                                                                                                                                                                 269




Legendary Field Exhibitions, LLC   Mcdonough, Edward         Address on file                           Unearned Revenue                                                              $          600.00


Legendary Field Exhibitions, LLC   McDonough, Robert         Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   McDonough, Russell        Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   McDougal, Antonio         Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   McDowell, Todd            Address on file                           Unearned Revenue                                                              $          640.00

Legendary Field Exhibitions, LLC   mcduffee, brian           Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   McElroy, Jason            Address on file                           Unearned Revenue                                                              $          200.00
Legendary Field Exhibitions, LLC   McElveen, David           Address on file                           Unearned Revenue                                                              $          370.00

Legendary Field Exhibitions, LLC   McElveen, RJ              Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   McEwen, Heather           Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Mcfadden, William         Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   McGarran, Michael         Address on file                           Unearned Revenue                                                              $           70.00
Legendary Field Exhibitions, LLC   McGee, Lawrence           Address on file                           Unearned Revenue                                                              $          105.00

Legendary Field Exhibitions, LLC   Mcgee, Roger              Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Mcginley, Michael         Address on file                           Unearned Revenue                                                              $           35.00

Legendary Field Exhibitions, LLC   McGlynn Staff, Mary       Address on file                           Unearned Revenue                                                              $          400.00
Legendary Field Exhibitions, LLC   McGraw, Mike              Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   McGregor, Nick            Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   McGuidwin, Katie          Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   MCGUIRE, Cody             Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Mchenry, Gerald           Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Mchenry, Glenn            Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   MCILWAIN, SEAN            Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   McIntosh, DeAngelo        Address on file                           Unearned Revenue                                                              $           85.00
                                                                                                                                                                                                         19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 167 of




                                                                                                                                            Page 116 of 202
                                                                              In re Legendary Field Exhibitions, LLC
                                                                                              Case No.
                                                                Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name           Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                    Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                    Account Incurred,                                                                       offset?
                                                                                    Number Basis for
                                                                                              Claim
Legendary Field Exhibitions, LLC   McIntosh, Lance              Address on file                           Unearned Revenue                                                              $          150.00
Legendary Field Exhibitions, LLC   McIntyre, Debbie             Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   McIver, Laura                Address on file                           Unearned Revenue                                                              $          180.00

Legendary Field Exhibitions, LLC   McKay, Logan                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   McKee, James Scott           Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   Mckenzie, Michael            Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   McKenzie, Tann               Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Mckeown, Voneva              Address on file                           Unearned Revenue                                                              $          162.00
Legendary Field Exhibitions, LLC   MCKETTRICK, WILLLIAM         Address on file                           Unearned Revenue                                                              $           10.00

Legendary Field Exhibitions, LLC   MCKIBBEN, MARC               Address on file                           Unearned Revenue                                                              $           35.00


Legendary Field Exhibitions, LLC   McKinley, Ernest             Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   McKinney, Laura              Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   McKinnon, Morgan             Address on file                           Unearned Revenue                                                              $          320.00


Legendary Field Exhibitions, LLC   mckittrick, ivan             Address on file                           Unearned Revenue                                                              $           55.50
Legendary Field Exhibitions, LLC   McKoy, Morgan                Address on file                           Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   McLain, Nick                 Address on file                           Unearned Revenue                                                              $          450.00

Legendary Field Exhibitions, LLC   McLain, Ryan                 Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   McLane, Adam                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   McLarty, Caleb               Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   McLaughlin, Don              Address on file                           Unearned Revenue                                                              $          340.00
                                                                                                                                                                                                                                                    269




Legendary Field Exhibitions, LLC   McLaughlin, Elliot           Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   MCLAUGHLIN, Paul             Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   McLaughlin, Thomas           Address on file                           Unearned Revenue                                                              $          320.00
Legendary Field Exhibitions, LLC   McLaughlin-Taylor, Natalie   Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Mclean, Michael              Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Mcleish, Rhonda              Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   McLeod , Gary                Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   McLeod, Kris                 Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   McLucas, Amy                 Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   mcmahan, mike                Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   McManus, Jack                Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   McMaster, Freddie            Address on file                           Unearned Revenue                                                              $          210.00

Legendary Field Exhibitions, LLC   Mcmillan, Dan                Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   McMillan, Judy               Address on file                           Unearned Revenue                                                              $           41.00
Legendary Field Exhibitions, LLC   McMiller, Norris             Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   McMullen, Megan              Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   McNamee-Ontl, Keely          Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Mcneal, Dan                  Address on file                           Unearned Revenue                                                              $          250.00


Legendary Field Exhibitions, LLC   McNeel, Day                  Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   McNeill, Thomas              Address on file                           Unearned Revenue                                                              $           45.00
                                                                                                                                                                                                            19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 168 of




                                                                                                                                               Page 117 of 202
                                                                                 In re Legendary Field Exhibitions, LLC
                                                                                                 Case No.
                                                                   Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name             Address          Last 4 Date Debt   Trade, Debt / Note           Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                        Digits of  was    Payable (Type of Claim)                                             subject to
                                                                                        Account Incurred,                                                                      offset?
                                                                                        Number Basis for
                                                                                                  Claim
Legendary Field Exhibitions, LLC   McNelia, Ed                     Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   McNulty, Chad                   Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   McParlane, Paul                 Address on file                           Unearned Revenue                                                              $          500.00


Legendary Field Exhibitions, LLC   McPartland, Mark                Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   McQuade, OBrien                 Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   McVea, Darnell                  Address on file                           Unearned Revenue                                                              $          166.50
Legendary Field Exhibitions, LLC   Mcwhortor, Andrew               Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Meador, Jerrod                  Address on file                           Unearned Revenue                                                              $          420.00

Legendary Field Exhibitions, LLC   Meadows, Jonathan               Address on file                           Unearned Revenue                                                              $          132.00


Legendary Field Exhibitions, LLC   Meagher, Jason                  Address on file                           Unearned Revenue                                                              $          500.00

Legendary Field Exhibitions, LLC   Means, Candice                  Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Mecham, Shad and Jessica        Address on file                           Unearned Revenue                                                              $           76.00

Legendary Field Exhibitions, LLC   Medellin, Francisco             Address on file                           Unearned Revenue                                                              $           41.00
Legendary Field Exhibitions, LLC   Medford, Mark                   Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   Media2, Inc. dba m2             1 Bridge St.                              Trade                                                                         $      128,858.19
                                                                   Suite 215
                                                                   Irvington NY 10533
Legendary Field Exhibitions, LLC   Medici, Christopher             Address on file                           Unearned Revenue                                                              $          160.00
                                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   Medina, Al                      Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Medina, Celeste                 Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Medina, Ernesto                 Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Medina, Jaime                   Address on file                           Unearned Revenue                                                              $          610.00


Legendary Field Exhibitions, LLC   Medina, Juan                    Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Medina, Robert                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Medina, Ruben                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Medjuck, Michael                Address on file                           Unearned Revenue                                                              $          200.00


Legendary Field Exhibitions, LLC   Meijer, Danny                   Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Meinen, Jonathan                Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Meinert, Gary                   Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Melbourne Podiatry Associates   Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Melcher, Kriste                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Melchor, Cecilia                Address on file                           Unearned Revenue                                                              $        1,000.00

Legendary Field Exhibitions, LLC   Melitz, Michael                 Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   Mellin, Cheryl                  Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Mellor, Russ                    Address on file                           Unearned Revenue                                                              $           78.00

Legendary Field Exhibitions, LLC   Melton, Justin                  Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Meltreder, April                Address on file                           Unearned Revenue                                                              $          112.00
                                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 169 of




                                                                                                                                                  Page 118 of 202
                                                                                   In re Legendary Field Exhibitions, LLC
                                                                                                   Case No.
                                                                     Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name               Address            Last 4 Date Debt   Trade, Debt / Note         Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                            Digits of  was    Payable (Type of Claim)                                           subject to
                                                                                            Account Incurred,                                                                    offset?
                                                                                            Number Basis for
                                                                                                      Claim
Legendary Field Exhibitions, LLC   Memphis Marriott East             88 Union Ave                              Trade                                                                         $       41,946.11
                                                                     Memphis TN 38103-
                                                                     5135
Legendary Field Exhibitions, LLC   Memphis United Fitness, LLC dba   580 Tillman, Suite 1                      Trade                                                                         $        4,500.00
                                   The Box                           Memphis TN 38112
Legendary Field Exhibitions, LLC   Menard, tom                       Address on file                           Unearned Revenue                                                              $           91.50

Legendary Field Exhibitions, LLC   menchaca, yasmin                  Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Mendelsohn, Briane                Address on file                           Unearned Revenue                                                              $          500.00

Legendary Field Exhibitions, LLC   Mendez, Cornelio                  Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Mendez, Jose                      Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   mendez, veronica                  Address on file                           Unearned Revenue                                                              $          222.00
Legendary Field Exhibitions, LLC   Mendiola, Antonio                 Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Mendiola, David                   Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Mendoza, Frankie                  Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   MENDOZA, JEREMY                   Address on file                           Unearned Revenue                                                              $           40.50

Legendary Field Exhibitions, LLC   mendoza, judy                     Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Mendoza, Leticia                  Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Mendoza, Madalyn                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Menor, James                      Address on file                           Unearned Revenue                                                              $           90.00
Legendary Field Exhibitions, LLC   Menzella, Vito                    Address on file                           Unearned Revenue                                                              $           10.00


Legendary Field Exhibitions, LLC   Meras, Lina                       Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Meras, Michael                    Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Mercado, Christian                Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Mercado, Jose                     Address on file                           Unearned Revenue                                                              $           90.00
                                                                                                                                                                                                                                                         269




Legendary Field Exhibitions, LLC   Mercedes Benz South Orlando       Address on file                           Unearned Revenue                                                              $          450.00

Legendary Field Exhibitions, LLC   mercer, richard                   Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Meridith, Laurie                  Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Merino, Daniel                    Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Meritage Homes                    Address on file                           Unearned Revenue                                                              $          560.00

Legendary Field Exhibitions, LLC   Merkel, Lynne                     Address on file                           Unearned Revenue                                                              $          220.00
Legendary Field Exhibitions, LLC   mer-maid clean service llc        5488 telluride cove                       Trade                                                                         $        1,000.00
                                                                     West Jordan UT
                                                                     84081
Legendary Field Exhibitions, LLC   Mermea, Albert                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Merriam, Mitch                    Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Merrill, Greg                     Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Merrill, William                  Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Merriman, Ronnie                  Address on file                           Unearned Revenue                                                              $          125.00

Legendary Field Exhibitions, LLC   Merritt, Chris                    Address on file                           Unearned Revenue                                                              $          400.00

Legendary Field Exhibitions, LLC   Merritt, Chris                    Address on file                           Unearned Revenue                                                              $          312.00

Legendary Field Exhibitions, LLC   Merritt, Dylan                    Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Merritt, Tiffanee                 Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Merriwether, Lamont               Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Mervine , Christina               Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Mesker, Cameron                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Mesloh, Robert                    Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Messick, Merle                    Address on file                           Unearned Revenue                                                              $          220.00
                                                                                                                                                                                                                 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 170 of




                                                                                                                                                    Page 119 of 202
                                                                                 In re Legendary Field Exhibitions, LLC
                                                                                                 Case No.
                                                                   Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name           Address           Last 4 Date Debt   Trade, Debt / Note          Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                         Digits of  was    Payable (Type of Claim)                                            subject to
                                                                                         Account Incurred,                                                                     offset?
                                                                                         Number Basis for
                                                                                                   Claim
Legendary Field Exhibitions, LLC   Messinger, Steve                Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Metcalf, Robin                  Address on file                           Unearned Revenue                                                              $          114.00

Legendary Field Exhibitions, LLC   Metcalfe, Gennie                Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Metcalfe, Mark                  Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Methey, Steve                   Address on file                           Unearned Revenue                                                              $          180.00
Legendary Field Exhibitions, LLC   Metro Broadcast Services, LLC   Address on file                           Trade                                                                         $        5,129.38

Legendary Field Exhibitions, LLC   Metzger, John                   Address on file                           Unearned Revenue                                                              $          280.00

Legendary Field Exhibitions, LLC   Metzig, michael                 Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Mewing, Colleen                 Address on file                           Unearned Revenue                                                              $           57.00

Legendary Field Exhibitions, LLC   Meyer, Brian                    Address on file                           Unearned Revenue                                                              $          316.00

Legendary Field Exhibitions, LLC   Meyer, Joshua                   Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Meyer, Karen                    Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Meyer, Kevin                    Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Meyer, Patricia                 Address on file                           Unearned Revenue                                                              $          250.00
Legendary Field Exhibitions, LLC   Meyer, Reid                     Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Meyers, Jared                   Address on file                           Unearned Revenue                                                              $        1,400.00

Legendary Field Exhibitions, LLC   Meza, Timothy                   Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   mezulic, darrian                Address on file                           Unearned Revenue                                                              $           40.50
Legendary Field Exhibitions, LLC   Mezzancello, Lucia              Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   MGM Resorts International       ATTN: Scott Butera,                       Notes Payable (Deficiency                x                       x            $     7,000,000.00
                                   Operations, Inc.                President                                 Claim)
                                                                   Interactive Gaming
                                                                                                                                                                                                                                                        269




                                                                   3600 Las Vegas
                                                                   Blvd. South,
                                                                   Las Vegas, NV
                                                                   89109
Legendary Field Exhibitions, LLC   Miami Air International Inc     P.O. Box 660880                           Trade                                                                         $      143,844.00
                                                                   Miami Springs FL
                                                                   33602
Legendary Field Exhibitions, LLC   Micciche, Stephen               Address on file                           Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Miceli, Patricia                Address on file                           Unearned Revenue                                                              $          640.00

Legendary Field Exhibitions, LLC   Michael, Peter                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Michaelis, Mike                 Address on file                           Unearned Revenue                                                              $           44.00

Legendary Field Exhibitions, LLC   Michaels, Roberta               Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Mick, Bill                      Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Mickel, Steven                  Address on file                           Unearned Revenue                                                              $          112.00

Legendary Field Exhibitions, LLC   Mickelson, Kyler                Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Middleton, Brett                Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Midelton, Michael               Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Midkiff, Greg                   Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Midway Television Productions   215 Laird Road                            Trade                                                                         $        1,500.00
                                                                   Colts Neck NJ
                                                                   07722
Legendary Field Exhibitions, LLC   Mielak, Charles                 Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   miele, john                     Address on file                           Unearned Revenue                                                              $          148.00
Legendary Field Exhibitions, LLC   Miess, Lillian                  Address on file                           Unearned Revenue                                                              $          111.00
Legendary Field Exhibitions, LLC   Migliacci, John                 Address on file                           Unearned Revenue                                                              $          640.00

Legendary Field Exhibitions, LLC   Miglicco, Kimberly              Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Mijares, Abbley                 Address on file                           Unearned Revenue                                                              $           81.00
Legendary Field Exhibitions, LLC   Mika, Virginia                  Address on file                           Unearned Revenue                                                              $          166.50
                                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 171 of




Legendary Field Exhibitions, LLC   Mikesell, Randy                 Address on file                           Unearned Revenue                                                              $          121.50




                                                                                                                                                  Page 120 of 202
                                                                            In re Legendary Field Exhibitions, LLC
                                                                                            Case No.
                                                              Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                  Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                  Account Incurred,                                                                       offset?
                                                                                  Number Basis for
                                                                                            Claim
Legendary Field Exhibitions, LLC   Milam, Michell             Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Milan, Rodolfo             Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Milla, Oscar               Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Millard, Zach              Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Millen, Denise             Address on file                           Unearned Revenue                                                              $          110.00

Legendary Field Exhibitions, LLC   Miller Hill, Mindy         Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   miller, adam               Address on file                           Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Miller, Allen              Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Miller, Amy                Address on file                           Unearned Revenue                                                              $           62.00

Legendary Field Exhibitions, LLC   Miller, Austin             Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Miller, Christopher        Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Miller, Clayton            Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Miller, Dan                Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Miller, Denise             Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Miller, Don                Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Miller, Douglas            Address on file                           Trade                                                                         $        3,950.00

Legendary Field Exhibitions, LLC   Miller, Garrett            Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Miller, Jason              Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Miller, Kevin              Address on file                           Unearned Revenue                                                              $           30.00
                                                                                                                                                                                                                                                  269




Legendary Field Exhibitions, LLC   Miller, Mark               Address on file                           Unearned Revenue                                                              $          210.00

Legendary Field Exhibitions, LLC   Miller, Michelle           Address on file                           Unearned Revenue                                                              $          161.00

Legendary Field Exhibitions, LLC   Miller, Poppy              Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Miller, Rand               Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   MILLER, RICHELLE           Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Miller, Scott              Address on file                           Unearned Revenue                                                              $          111.50
Legendary Field Exhibitions, LLC   Miller, Stephanie          Address on file                           Unearned Revenue                                                              $          160.00
Legendary Field Exhibitions, LLC   Miller, Trent              Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Miller, Troy D.            Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Miller, Valerie            Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Miller, William            Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Millman, Eric              Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Mills, Greg                Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Mills, Kaylee              Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Mills, Pamela              Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Mills, Rob                 Address on file                           Unearned Revenue                                                              $          585.00
Legendary Field Exhibitions, LLC   Millward, Mindy            Address on file                           Unearned Revenue                                                              $          520.00

Legendary Field Exhibitions, LLC   Milner, Willis             Address on file                           Unearned Revenue                                                              $          640.00


Legendary Field Exhibitions, LLC   Milton, James              Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Mind Over Media LLC        15212 N. 53rd St.                         Trade                                                                         $       25,946.18
                                                              Scottsdale AZ
                                                              85254
Legendary Field Exhibitions, LLC   Mindzora, Julie            Address on file                           Unearned Revenue                                                              $           30.00
                                                                                                                                                                                                          19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 172 of




                                                                                                                                             Page 121 of 202
                                                                           In re Legendary Field Exhibitions, LLC
                                                                                           Case No.
                                                             Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                 Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                 Account Incurred,                                                                       offset?
                                                                                 Number Basis for
                                                                                           Claim
Legendary Field Exhibitions, LLC   Minnis, Kyle              Address on file                           Unearned Revenue                                                              $           12.60

Legendary Field Exhibitions, LLC   Minoff, Jennifer          Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Minor, Johnny R.          Address on file                           Unearned Revenue                                                              $           25.00


Legendary Field Exhibitions, LLC   Minor, Sheri              Address on file                           Unearned Revenue                                                              $          410.00


Legendary Field Exhibitions, LLC   MINOZEVSKI, VALLERY       Address on file                           Unearned Revenue                                                              $           61.00
Legendary Field Exhibitions, LLC   Mique, Jenny              Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   miranda, jamie            Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Miranda, Paul             Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   Miranda, Paulino          Address on file                           Unearned Revenue                                                              $          160.00


Legendary Field Exhibitions, LLC   Mire, Daryl               Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Mireles, Eleanor G        Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Mission Cloud Services    135 Sheldon St.                           Trade                                                                         $       21,800.00
                                                             El Segundo CA
                                                             90245
Legendary Field Exhibitions, LLC   Mistlebauer, Jason        Address on file                           Unearned Revenue                                                              $          200.00
Legendary Field Exhibitions, LLC   Mitchell, Ca-Mara         Address on file                           Unearned Revenue                                                              $           15.64

Legendary Field Exhibitions, LLC   Mitchell, Clay            Address on file                           Unearned Revenue                                                              $          440.00

Legendary Field Exhibitions, LLC   Mitchell, Jason           Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Mitchell, Jeff            Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   mitchell, Kristen         Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Mitchell, Letishia        Address on file                           Unearned Revenue                                                              $          110.40
                                                                                                                                                                                                                                                 269




Legendary Field Exhibitions, LLC   Mitchell, loren Doug      Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Mitchell, Luke            Address on file                           Unearned Revenue                                                              $          152.50
Legendary Field Exhibitions, LLC   Mitchell, Mark            Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Mitchell, Teashia         Address on file                           Unearned Revenue                                                              $           15.64
Legendary Field Exhibitions, LLC   Mitchell, Venita          Address on file                           Unearned Revenue                                                              $          400.00

Legendary Field Exhibitions, LLC   Mitchum, Travis           Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Mithal, Rudra             Address on file                           Unearned Revenue                                                              $          166.50
Legendary Field Exhibitions, LLC   Mitrovich, Trish          Address on file                           Unearned Revenue                                                              $           15.00
Legendary Field Exhibitions, LLC   MK Contractor Services    Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Mobbs, Danielle           Address on file                           Unearned Revenue                                                              $           35.00

Legendary Field Exhibitions, LLC   Mobile Mini Solutions     4646 E Van Buren                          Trade                                                                         $        1,521.51
                                                             St.
                                                             Phoenix AZ 85008
Legendary Field Exhibitions, LLC   Mobile Modular            PO Box 45043                              Trade                                                                         $       75,630.68
                                                             San Francisco CA
                                                             94145-5043
Legendary Field Exhibitions, LLC   Mock, Joshua              Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Moctezuma, George         Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Moczygemba, Joey          Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   modelscout                Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Modrow, Kim               Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Moe, Mickey               Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Moehlenkamp, Laura        Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Moeller, Gary             Address on file                           Unearned Revenue                                                              $          120.00


Legendary Field Exhibitions, LLC   Mohammad, Johnathan       Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Mohankumar, Nirai         Address on file                           Unearned Revenue                                                              $           42.00
                                                                                                                                                                                                         19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 173 of




                                                                                                                                            Page 122 of 202
                                                                           In re Legendary Field Exhibitions, LLC
                                                                                           Case No.
                                                             Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                 Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                 Account Incurred,                                                                       offset?
                                                                                 Number Basis for
                                                                                           Claim
Legendary Field Exhibitions, LLC   Moiso, Vincent            Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Molak, Pat                Address on file                           Unearned Revenue                                                              $          800.00

Legendary Field Exhibitions, LLC   Moles, Clint              Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Molina, Cristina          Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Molitoris, John           Address on file                           Unearned Revenue                                                              $          120.00
Legendary Field Exhibitions, LLC   Molloy, Ryan              Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Monaghan, Brian           Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   Monarch Trophy Studio     16227 San Pedro                           Trade                                                                         $       11,933.38
                                                             Ave
                                                             San Antonio TX
                                                             78232
Legendary Field Exhibitions, LLC   Moncivais, Michael        Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Moneyline Analytics       Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Mongold, Joey             Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Moniz, richard            Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Monn, Jennifer            Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Monroe, Michael           Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Monroig, Korine           Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Montalvo, Fred            Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Montanaro, Peter          Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Montanye, Shaina          Address on file                           Unearned Revenue                                                              $           11.00
Legendary Field Exhibitions, LLC   Monteith, Dylan           Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Montemayor, Joshua        Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Montenieri, Veronica      Address on file                           Unearned Revenue                                                              $           30.00
                                                                                                                                                                                                                                                 269




Legendary Field Exhibitions, LLC   Montes, Armondo           Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Montez III, Ramon J       Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   montez, curtis            Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   montez, noel              Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Montgomery, Bruce         Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Montgomery, Nicole        Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Montgomery, Tami          Address on file                           Unearned Revenue                                                              $          150.00
Legendary Field Exhibitions, LLC   Montoya, David            Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Montoya, Javier           Address on file                           Unearned Revenue                                                              $           35.00

Legendary Field Exhibitions, LLC   Moodie, Laura             Address on file                           Unearned Revenue                                                              $           41.00

Legendary Field Exhibitions, LLC   Moody, Amy                Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Moody, Brandon            Address on file                           Unearned Revenue                                                              $           54.00


Legendary Field Exhibitions, LLC   Moody, Daniel             Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Moody, Robert             Address on file                           Unearned Revenue                                                              $          320.00


Legendary Field Exhibitions, LLC   Moody, Sara               Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Moore , Kenneth           Address on file                           Unearned Revenue                                                              $          800.00

Legendary Field Exhibitions, LLC   Moore, Aaron              Address on file                           Unearned Revenue                                                              $          225.00

Legendary Field Exhibitions, LLC   Moore, Alicia             Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Moore, Charles            Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   Moore, Dari               Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Moore, Davina             Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Moore, Jacob              Address on file                           Unearned Revenue                                                              $           20.00
                                                                                                                                                                                                         19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 174 of




                                                                                                                                            Page 123 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name                 Address          Last 4 Date Debt   Trade, Debt / Note             Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                           Digits of  was    Payable (Type of Claim)                                               subject to
                                                                                           Account Incurred,                                                                        offset?
                                                                                           Number Basis for
                                                                                                     Claim
Legendary Field Exhibitions, LLC   Moore, Jacqueline                  Address on file                           Unearned Revenue                                                                $           15.64
Legendary Field Exhibitions, LLC   Moore, Micah                       Address on file                           Unearned Revenue                                                                $          392.00

Legendary Field Exhibitions, LLC   Moore, Paul                        Address on file                           Unearned Revenue                                                                $           57.00

Legendary Field Exhibitions, LLC   Moore, Seth                        Address on file                           Unearned Revenue                                                                $           44.00


Legendary Field Exhibitions, LLC   Moore, Shirley                     Address on file                           Unearned Revenue                                                                $          400.00

Legendary Field Exhibitions, LLC   Moore, Thomas                      Address on file                           Unearned Revenue                                                                $           45.00

Legendary Field Exhibitions, LLC   Moorhead, Allan                    Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Mora, Charlene                     Address on file                           Unearned Revenue                                                                $           20.00

Legendary Field Exhibitions, LLC   mora, miguel                       Address on file                           Unearned Revenue                                                                $           50.00
Legendary Field Exhibitions, LLC   Morale, Welfare and Recreation -   937 North Harber                          Trade                                                                           $          500.00
                                   Commander, Navy Region,            Drive
                                   Southwest (Code N94P) -            Box 28
                                   Sponsorship Dept.                  San Diego CA
                                                                      92132-0058
Legendary Field Exhibitions, LLC   Morale. Welfare and Recreation     Box 14D, Building                         Trade                                                                           $          828.00
                                   CNRSE                              919, Langley Ave
                                                                      Jacksonville FL
                                                                      32212
Legendary Field Exhibitions, LLC   Morales, George                    Address on file                           Unearned Revenue                                                                $          121.50
Legendary Field Exhibitions, LLC   Morales, Gilbert                   Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Morales, Javier                    Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Morales, Jerry                     Address on file                           Unearned Revenue                                                                $           20.00
Legendary Field Exhibitions, LLC   Morales, Joseph                    Address on file                           Unearned Revenue                                                                $          123.25

Legendary Field Exhibitions, LLC   Morales, Stephanie                 Address on file                           Unearned Revenue                                                                $           60.00
Legendary Field Exhibitions, LLC   Moralez, Rick                      Address on file                           Unearned Revenue                                                                $          220.00

Legendary Field Exhibitions, LLC   moreau, jason                      Address on file                           Unearned Revenue                                                                $            0.02
Legendary Field Exhibitions, LLC   Moreira, Mario                     Address on file                           Unearned Revenue                                                                $           40.00
                                                                                                                                                                                                                                                             269




Legendary Field Exhibitions, LLC   Moreland, Greg                     Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Moreland, Marcus                   Address on file                           Unearned Revenue                                                                $           45.00


Legendary Field Exhibitions, LLC   Moreno, Arian                      Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Moreno, Arthur                     Address on file                           Unearned Revenue                                                                $          122.00
Legendary Field Exhibitions, LLC   Moreno, Christopher                Address on file                           Unearned Revenue                                                                $           30.00

Legendary Field Exhibitions, LLC   Moreno, Grace                      Address on file                           Unearned Revenue                                                                $          111.00
Legendary Field Exhibitions, LLC   Moreno, Jesus                      Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Moreno, Kari                       Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Moreno, Laura                      Address on file                           Unearned Revenue                                                                $          200.00
Legendary Field Exhibitions, LLC   Moreno, Samuel                     Address on file                           Unearned Revenue                                                                $           70.00

Legendary Field Exhibitions, LLC   Morentin, Jesse                    Address on file                           Unearned Revenue                                                                $          140.00

Legendary Field Exhibitions, LLC   Morey, Jason                       Address on file                           Unearned Revenue                                                                $           80.00

Legendary Field Exhibitions, LLC   Morfin Renovators LLC              Address on file                           Unearned Revenue                                                                $          160.00

Legendary Field Exhibitions, LLC   Morgan, Alvin                      Address on file                           Unearned Revenue                                                                $           50.00

Legendary Field Exhibitions, LLC   Morgan, Billie                     Address on file                           Unearned Revenue                                                                $          220.00


Legendary Field Exhibitions, LLC   Morgan, Daniel                     Address on file                           Unearned Revenue                                                                $           60.00


Legendary Field Exhibitions, LLC   Morgan, Ella                       Address on file                           Unearned Revenue                                                                $          240.00

Legendary Field Exhibitions, LLC   Morgan, Geoffrey B.                Address on file                           Unearned Revenue                                                                $          100.00

Legendary Field Exhibitions, LLC   Morgan, Herb                       Address on file                           Unearned Revenue                                                                $          500.00

Legendary Field Exhibitions, LLC   Morgan, Kyle                       Address on file                           Unearned Revenue                                                                $            32.00
Legendary Field Exhibitions, LLC   Morgan, Lewis & Bockius            1701 Market Street                        Litigation / Legal Services                                                     $     2,413,773.57
                                                                      Philadelphia PA
                                                                      19103
Legendary Field Exhibitions, LLC   Morgan, Sandee                     Address on file                           Unearned Revenue                                                                $          100.00
                                                                                                                                                                                                                     19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 175 of




                                                                                                                                                       Page 124 of 202
                                                                           In re Legendary Field Exhibitions, LLC
                                                                                           Case No.
                                                             Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                 Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                 Account Incurred,                                                                       offset?
                                                                                 Number Basis for
                                                                                           Claim
Legendary Field Exhibitions, LLC   Morgan, Sylvia            Address on file                           Unearned Revenue                                                              $          110.40
Legendary Field Exhibitions, LLC   Morman, Garth             Address on file                           Unearned Revenue                                                              $          160.00


Legendary Field Exhibitions, LLC   Moroney, Eric             Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Morris, Brian             Address on file                           Unearned Revenue                                                              $           40.02
Legendary Field Exhibitions, LLC   Morris, Colin             Address on file                           Unearned Revenue                                                              $          700.00


Legendary Field Exhibitions, LLC   Morris, David             Address on file                           Unearned Revenue                                                              $           44.00

Legendary Field Exhibitions, LLC   Morris, Dwight            Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Morris, Emily             Address on file                           Unearned Revenue                                                              $          162.00

Legendary Field Exhibitions, LLC   Morris, Garet             Address on file                           Unearned Revenue                                                              $           35.00



Legendary Field Exhibitions, LLC   Morris, Linda             Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Morris, Robert            Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Morris, Rosalind          Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Morris, Shaun             Address on file                           Unearned Revenue                                                              $          220.00


Legendary Field Exhibitions, LLC   Morrisey, John            Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Morrison, Florence        Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Morse, Amanda             Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Morton, Jacob             Address on file                           Unearned Revenue                                                              $           10.00


Legendary Field Exhibitions, LLC   Morton, Thomas            Address on file                           Unearned Revenue                                                              $          200.00
                                                                                                                                                                                                                                                 269




Legendary Field Exhibitions, LLC   Moser, James              Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Moses, Troy               Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Mosier, Glenn             Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Moskowitz, Deborah        Address on file                           Unearned Revenue                                                              $          180.00

Legendary Field Exhibitions, LLC   Mosley, Coleman           Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Moss, John                Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Moss, Tisia               Address on file                           Unearned Revenue                                                              $           91.28
Legendary Field Exhibitions, LLC   Mossburg, Steven          Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Mota, Hector              Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Motes, Steven             Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Motley, Tiana             Address on file                           Unearned Revenue                                                              $          170.00

Legendary Field Exhibitions, LLC   Motz, Michael             Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Mould, Andy               Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Mousavi, Mehrzad          Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Mousel, Keith             Address on file                           Unearned Revenue                                                              $          225.00

Legendary Field Exhibitions, LLC   Mowery, Micah             Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Moy, Clayton              Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Moya-Mendez, Sommer       Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Moyer, Thea               Address on file                           Unearned Revenue                                                              $           92.50
Legendary Field Exhibitions, LLC   moyer, timothy            Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Mroz, Curtis              Address on file                           Unearned Revenue                                                              $           44.00

Legendary Field Exhibitions, LLC   Mrozek Services Group     Address on file                           Unearned Revenue                                                              $          432.00
                                                                                                                                                                                                         19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 176 of




                                                                                                                                            Page 125 of 202
                                                                                   In re Legendary Field Exhibitions, LLC
                                                                                                   Case No.
                                                                     Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name               Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                         Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                         Account Incurred,                                                                       offset?
                                                                                         Number Basis for
                                                                                                   Claim
Legendary Field Exhibitions, LLC   mrozek, christopher               Address on file                           Unearned Revenue                                                              $          177.00
Legendary Field Exhibitions, LLC   Muehl, Ann                        Address on file                           Unearned Revenue                                                              $          180.00
Legendary Field Exhibitions, LLC   Mueller, Austin                   Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Muffoletto, Chris                 Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   MULDER FIRE PROTECTION, INC. 5807 La Colonia                                Trade                                                                         $       13,600.00
                                                                San Antonio, TX
                                                                78218
Legendary Field Exhibitions, LLC   Mulholland, Amy              Address on file                                Unearned Revenue                                                              $          120.00
Legendary Field Exhibitions, LLC   Mullen, Ryan                 Address on file                                Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Mullenger, Lee                    Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Mulligan, Robert                  Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Mullins, David                    Address on file                           Unearned Revenue                                                              $           44.00
Legendary Field Exhibitions, LLC   Multi Electric Co                 Address on file                           Unearned Revenue                                                              $          270.00

Legendary Field Exhibitions, LLC   Multimedia Holdings Corportion dba 200 E. Van Buren                         Trade                                                                         $       15,641.32
                                   KPNX-TV; Channel 12; 12 News       St
                                                                      Phoenix AZ 85004
Legendary Field Exhibitions, LLC   Mulvihill, Brenda                  Address on file                          Unearned Revenue                                                              $          400.00

Legendary Field Exhibitions, LLC   Mulvihill, Jim                    Address on file                           Unearned Revenue                                                              $          390.00

Legendary Field Exhibitions, LLC   Munguia, Suellen                  Address on file                           Unearned Revenue                                                              $           61.50
Legendary Field Exhibitions, LLC   Muniz, Cassidy                    Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   muniz, wesley                     Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Munos, Amy                        Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Munoz, Joey                       Address on file                           Unearned Revenue                                                              $           91.50

Legendary Field Exhibitions, LLC   Munoz, Jorge                      Address on file                           Unearned Revenue                                                              $           10.00
                                                                                                                                                                                                                                                         269




Legendary Field Exhibitions, LLC   Munoz, Marco                      Address on file                           Unearned Revenue                                                              $          400.00


Legendary Field Exhibitions, LLC   Munoz, Monica                     Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Munoz, Oscar                      Address on file                           Unearned Revenue                                                              $          225.00

Legendary Field Exhibitions, LLC   Munoz-Blanco, Maria               Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Muns, Andrew                      Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Munz, Cullen                      Address on file                           Trade                                                                         $          300.00

Legendary Field Exhibitions, LLC   Muras, Patrick                    Address on file                           Unearned Revenue                                                              $           80.50
Legendary Field Exhibitions, LLC   Murcott, Dave                     Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Muriel, Erika                     Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Murillo, Andrew                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Murillo, Esteban                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Murillo, Gracie                   Address on file                           Unearned Revenue                                                              $          166.50
Legendary Field Exhibitions, LLC   Murphy, Gina                      Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Murphy, Michael                   Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Murphy, Tamara                    Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Murphy, Timothy                   Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Murphy, Tom                       Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Murray, Brandon                   Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Murray, Chris                     Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Murray, James                     Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Murray, Phyllis                   Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Murray, Tyrone                    Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Murrell, Rashad                   Address on file                           Unearned Revenue                                                              $          105.00
                                                                                                                                                                                                                 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 177 of




                                                                                                                                                    Page 126 of 202
                                                                            In re Legendary Field Exhibitions, LLC
                                                                                            Case No.
                                                              Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name        Address          Last 4 Date Debt   Trade, Debt / Note           Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                   Digits of  was    Payable (Type of Claim)                                             subject to
                                                                                   Account Incurred,                                                                      offset?
                                                                                   Number Basis for
                                                                                             Claim
Legendary Field Exhibitions, LLC   Murrieta, Johnny           Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Murrill, Lawrence          Address on file                           Unearned Revenue                                                              $          200.00


Legendary Field Exhibitions, LLC   Murtagh, Paula             Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Musquiz, Jerry             Address on file                           Unearned Revenue                                                              $          410.00

Legendary Field Exhibitions, LLC   Musselman, Deborah         Address on file                           Unearned Revenue                                                              $           32.00

Legendary Field Exhibitions, LLC   Mustache Pretzels, LLC     9393 N 90th St                            Trade                                                                         $        1,000.00
                                                              #102-601
                                                              Scottsdale AZ
                                                              85258
Legendary Field Exhibitions, LLC   Musto, William             Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   musum, wayne               Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Muto, Paul                 Address on file                           Unearned Revenue                                                              $          600.00

Legendary Field Exhibitions, LLC   MWW Group LLC              PO Box 69076                              Trade                                                                         $       66,056.74
                                                              New York NY 10087-
                                                              5483
Legendary Field Exhibitions, LLC   Mycka, Bob                 Address on file                           Unearned Revenue                                                              $           90.00
Legendary Field Exhibitions, LLC   Myers, Gary                Address on file                           Trade                                                                         $          650.00

Legendary Field Exhibitions, LLC   Myers, Lee                 Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Myers, Luis                Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Myers, Matthew             Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Myers, Randall             Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Myers, Stacie              Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Myler, Rusty               Address on file                           Unearned Revenue                                                              $          220.00
                                                                                                                                                                                                                                                  269




Legendary Field Exhibitions, LLC   Myrmo, Marlow              Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Nacpil, Traven             Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Nadeau, Jennifer           Address on file                           Unearned Revenue                                                              $          560.00

Legendary Field Exhibitions, LLC   Nagro, Mark                Address on file                           Unearned Revenue                                                              $          115.00

Legendary Field Exhibitions, LLC   Naidas, Gabby              Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Nail, Justin               Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Nails by Desiree           Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Nalley, Maurice            Address on file                           Unearned Revenue                                                              $          300.00


Legendary Field Exhibitions, LLC   Nanney, Justin             Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Napier, Josef              Address on file                           Unearned Revenue                                                              $            0.02
Legendary Field Exhibitions, LLC   Napolitano, Peter          Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Napolitano, Zackary        Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   naporlee, richard          Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Naranjo, Justin            Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   naranjo, stephanie         Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Narvaez, Raul              Address on file                           Unearned Revenue                                                              $           15.00
Legendary Field Exhibitions, LLC   Nash, Jessica              Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Nasland, Paul              Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Nation, Phil               Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   National Car Rental        EAN Services LLC                          Trade                                                                         $          188.47
                                                              P.O BOX 402383
                                                              Atlanta GA 30384-
                                                              2383
                                                                                                                                                                                                          19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 178 of




                                                                                                                                             Page 127 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name                Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                          Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                          Account Incurred,                                                                       offset?
                                                                                          Number Basis for
                                                                                                    Claim
Legendary Field Exhibitions, LLC   Nationwide Referral Company, Inc. 11818 Wurzbach                             Trade                                                                         $      101,959.00
                                   dba Apartment & Relocation Center Rd.
                                                                     San Antonio TX
                                                                     78230
Legendary Field Exhibitions, LLC   Naughton, Christopher             Address on file                            Unearned Revenue                                                              $            0.02

Legendary Field Exhibitions, LLC   Nava, Jorge                        Address on file                           Unearned Revenue                                                              $          170.00

Legendary Field Exhibitions, LLC   navaira, Sylvia                    Address on file                           Unearned Revenue                                                              $          240.00
Legendary Field Exhibitions, LLC   Navarrete, Gabriel                 Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Navarro, David                     Address on file                           Unearned Revenue                                                              $          112.00

Legendary Field Exhibitions, LLC   Navarro, Rusty                     Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Navarro619, Myrna                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Navejar, Herlinda                  Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Navejar, Rolando                   Address on file                           Unearned Revenue                                                              $          270.00

Legendary Field Exhibitions, LLC   Navy Federal Credit Union          Address on file                           Unearned Revenue                                                              $        1,500.00



Legendary Field Exhibitions, LLC   NBC Universal, LLC dba Telemundo 6234 San Pedro                              Trade                                                                         $       22,300.05
                                   of Texas, LLC (KDVA)             Ave.
                                                                    San Antonio TX
                                                                    78216
Legendary Field Exhibitions, LLC   neafus, Kylie                    Address on file                             Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Neal, Erin                       Address on file                             Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Neal, Kathy J.                   Address on file                             Unearned Revenue                                                              $           85.00

Legendary Field Exhibitions, LLC   Neal, Phillis                      Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Neal, Stephen                      Address on file                           Unearned Revenue                                                              $          150.00
                                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   Nedbalek, David                    Address on file                           Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Negrete, Gilbert                   Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Neill, Ryan                        Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Nellans, Pat                       Address on file                           Unearned Revenue                                                              $           26.00

Legendary Field Exhibitions, LLC   Nelms, Lakersha                    Address on file                           Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   Nelson, Aly                        Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Nelson, Amanda                     Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   nelson, bruce                      Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Nelson, Dutch                      Address on file                           Unearned Revenue                                                              $          230.00

Legendary Field Exhibitions, LLC   Nelson, Gregory                    Address on file                           Unearned Revenue                                                              $          170.00

Legendary Field Exhibitions, LLC   Nelson, Jody                       Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Nelson, Kimberly                   Address on file                           Unearned Revenue                                                              $          170.00

Legendary Field Exhibitions, LLC   Nelson, Lou                        Address on file                           Unearned Revenue                                                              $          170.00

Legendary Field Exhibitions, LLC   Nelson, Matthew                    Address on file                           Unearned Revenue                                                              $          111.00
Legendary Field Exhibitions, LLC   Nelson, Mike                       Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Nelson, Pamela                     Address on file                           Unearned Revenue                                                              $          210.00

Legendary Field Exhibitions, LLC   Nelson, Robyn                      Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Nelson, Tom                        Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Nelson, Vicki                      Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Nelsons Tents and Events           1153 Ocoee Apopka                         Trade                                                                         $        6,354.98
                                                                      Road
                                                                      Apopka FL 32703
Legendary Field Exhibitions, LLC   Nemelka, Richard                   Address on file                           Unearned Revenue                                                              $          108.00


Legendary Field Exhibitions, LLC   NEP II, Inc dba NEP Supershooters, 2 Beta Dr                                 Trade                                                                         $      615,332.10
                                   LP                                 Pittsburgh PA
                                                                      15238
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 179 of




                                                                                                                                                     Page 128 of 202
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                                    Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name               Address          Last 4 Date Debt   Trade, Debt / Note           Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                         Digits of  was    Payable (Type of Claim)                                             subject to
                                                                                         Account Incurred,                                                                      offset?
                                                                                         Number Basis for
                                                                                                   Claim
Legendary Field Exhibitions, LLC   Neppes, Helen                    Address on file                           Unearned Revenue                                                              $          415.00

Legendary Field Exhibitions, LLC   nerdmatics                       8149 Santa Monica                         Trade                                                                         $       17,651.34
                                                                    Blvd
                                                                    404
                                                                    West Hollywood CA
                                                                    90046
Legendary Field Exhibitions, LLC   Nesmith, Joe                     Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Neubauer, John                   Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Neuberger, Scott                 Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Neuclier-Price, Diana            Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Neuhaus, Matt                    Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Neuheisel, Kathryn               Address on file                           Unearned Revenue                                                              $        1,295.00

Legendary Field Exhibitions, LLC   Neuls, William                   Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Neumann, Jim                     Address on file                           Unearned Revenue                                                              $          116.00
Legendary Field Exhibitions, LLC   Nevarez, Joel                    Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Nevarez, Jose                    Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Nevius, Paul                     Address on file                           Unearned Revenue                                                              $          320.00


Legendary Field Exhibitions, LLC   New Era Cap                      160 Delaware                              Trade                                                                         $      188,731.01
                                                                    Avenue
                                                                    Buffalo NY 14240
Legendary Field Exhibitions, LLC   New Memphis Institute            22 N. Front St.                           Trade                                                                         $        2,000.00
                                                                    Suite 500
                                                                    Memphis TN 38103
Legendary Field Exhibitions, LLC   Newbanks, Russ                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Newman, Seth                     Address on file                           Unearned Revenue                                                              $           30.00
                                                                                                                                                                                                                                                         269




Legendary Field Exhibitions, LLC   Newman, Stephen                  Address on file                           Unearned Revenue                                                              $          111.00

Legendary Field Exhibitions, LLC   Newman, Steve                    Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Newman, Tyler                    Address on file                           Unearned Revenue                                                              $          210.00

Legendary Field Exhibitions, LLC   Newnam, Hollie                   Address on file                           Unearned Revenue                                                              $          112.00

Legendary Field Exhibitions, LLC   Newsom, Rodney                   Address on file                           Unearned Revenue                                                              $          125.00

Legendary Field Exhibitions, LLC   Newsome, William                 Address on file                           Unearned Revenue                                                              $          700.00

Legendary Field Exhibitions, LLC   Newton, Bobby                    Address on file                           Unearned Revenue                                                              $           70.00
Legendary Field Exhibitions, LLC   Newton, Brad                     Address on file                           Unearned Revenue                                                              $           44.00
Legendary Field Exhibitions, LLC   Next Level Films, LLC dba Tory   Address on file                           Trade                                                                         $        3,062.50
                                   Weeks
Legendary Field Exhibitions, LLC   NFL Alumni Inc. - Charity        3000 Midlantic                            Trade                                                                         $        5,000.00
                                                                    Drive, Suite 100
                                                                    Mount Laurel NJ
                                                                    08054
Legendary Field Exhibitions, LLC   NFL Network                      Attn: Accounts                            Trade                                                                         $     1,000,000.00
                                                                    Receivable Dept
                                                                    PO Box 27573
                                                                    New York NY 10087-
                                                                    7573
Legendary Field Exhibitions, LLC   Nicasio, Daniel                  Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Nichols, Greg                    Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Nichols, Kathryn                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Nichols, Robert                  Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Nichols, Ryan                    Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Nichols, Warde                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Nickerson, Robert                Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Nickey, Caydie                   Address on file                           Unearned Revenue                                                              $           30.00
                                                                                                                                                                                                                 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 180 of




                                                                                                                                                   Page 129 of 202
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                                    Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name              Address           Last 4 Date Debt   Trade, Debt / Note          Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                          Digits of  was    Payable (Type of Claim)                                            subject to
                                                                                          Account Incurred,                                                                     offset?
                                                                                          Number Basis for
                                                                                                    Claim
Legendary Field Exhibitions, LLC   Nicoson, Ashley                  Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Nielsen, Rick                    Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Nighswonger, Dave                Address on file                           Unearned Revenue                                                              $          375.00

Legendary Field Exhibitions, LLC   Nikolic, Lori                    Address on file                           Unearned Revenue                                                              $          126.00

Legendary Field Exhibitions, LLC   Nimmo, Jeff                      Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Nixon, Annette                   Address on file                           Unearned Revenue                                                              $          410.00

Legendary Field Exhibitions, LLC   Nixon, Josh                      Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Nixon, Troy                      Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   niznik, paul                     Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Noal, Anthony                    Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Nobles, Rodrick                  Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Nollenberger, Rick               Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Noonan, Jeanetta                 Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Norberg, Lars                    Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Nordman, Jr., Darin              Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Noriega, Jose                    Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Norman                           Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Norman, Joseph                   Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Norris , Bradley                 Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Norris, Barbara                  Address on file                           Unearned Revenue                                                              $          250.00
                                                                                                                                                                                                                                                        269




Legendary Field Exhibitions, LLC   norris, brianna                  Address on file                           Unearned Revenue                                                              $           15.64
Legendary Field Exhibitions, LLC   Northside Education Foundation   6632 Bandera                              Trade                                                                         $        3,500.00
                                                                    Road, Bldg A
                                                                    San Antonio TX
                                                                    78238
Legendary Field Exhibitions, LLC   Norton, Andy                     Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Norton, Hillary                  Address on file                           Unearned Revenue                                                              $           70.00
Legendary Field Exhibitions, LLC   Norvision LLC                    502 S. College. Ave                       Trade                                                                         $       14,379.07
                                                                    Tempe AZ 85281

Legendary Field Exhibitions, LLC   Nothdurft, Diana                 Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Novelty, Muncie                  Address on file                           Trade                                                                         $          711.74


Legendary Field Exhibitions, LLC   Novotny, Melissa                 Address on file                           Unearned Revenue                                                              $          265.50
Legendary Field Exhibitions, LLC   Noyer, Joshua                    Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   NRG Park                         One NRG Park                              Trade                                                                         $        1,900.00
                                                                    Houston TX 77054
Legendary Field Exhibitions, LLC   NTS PROPERTIES LLC               Address on file                           Unearned Revenue                                                              $        1,200.00

Legendary Field Exhibitions, LLC   Nucci, Christopher               Address on file                           Unearned Revenue                                                              $        1,200.00

Legendary Field Exhibitions, LLC   Nuckols, Edward                  Address on file                           Unearned Revenue                                                              $           90.00


Legendary Field Exhibitions, LLC   NUCKOLS, SHERMAN                 Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Nulph, Greg                      Address on file                           Unearned Revenue                                                              $          120.00
Legendary Field Exhibitions, LLC   Nuncio, Catharine                Address on file                           Unearned Revenue                                                              $           61.00

Legendary Field Exhibitions, LLC   Nunez, Barbara                   Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   nunez, jose                      Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Nunez, Michael                   Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Nunley III, A.M.                 Address on file                           Unearned Revenue                                                              $        1,200.00
                                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 181 of




                                                                                                                                                   Page 130 of 202
                                                                                In re Legendary Field Exhibitions, LLC
                                                                                                Case No.
                                                                  Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name            Address          Last 4 Date Debt   Trade, Debt / Note           Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                       Digits of  was    Payable (Type of Claim)                                             subject to
                                                                                       Account Incurred,                                                                      offset?
                                                                                       Number Basis for
                                                                                                 Claim
Legendary Field Exhibitions, LLC   NUNN, EDWARD                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Nuzzo, Ron                     Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Nygard, Jonathan               Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   O’Neal, Belinda                Address on file                           Unearned Revenue                                                              $          150.00
Legendary Field Exhibitions, LLC   Oakley, Patsy                  Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Oakwood Sports                 10804 Emerald Dr                          Trade                                                                         $       22,547.00
                                                                  Cement City MI
                                                                  49233
Legendary Field Exhibitions, LLC   Oba, Chad                      Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Obear, David                   Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Obert, Jacob                   Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   O'Brien, Kevin                 Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Obrite, Phillip                Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Ocana, Jared                   Address on file                           Unearned Revenue                                                              $           19.00

Legendary Field Exhibitions, LLC   Ocana, Manny                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Ocana-Nafarrate, Angelica      Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   O'Carroll, Sherrie             Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Ocegueda, Victor               Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Ochoa, Devvon                  Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Ochoa, Gregory                 Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Ochoa, Marlene                 Address on file                           Unearned Revenue                                                              $           40.00
                                                                                                                                                                                                                                                      269




Legendary Field Exhibitions, LLC   Ochoa, Rick                    Address on file                           Unearned Revenue                                                              $           30.50
Legendary Field Exhibitions, LLC   Ochoa, Roel                    Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   O'Dell, Allen                  Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   O'Dell, Buddy                  Address on file                           Trade                                                                         $          300.00

Legendary Field Exhibitions, LLC   ODell, Harrison                Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Odonnell, Colleen              Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   odonnell, mark                 Address on file                           Unearned Revenue                                                              $           90.00
Legendary Field Exhibitions, LLC   Odonnell, Sean                 Address on file                           Unearned Revenue                                                              $           19.00

Legendary Field Exhibitions, LLC   Oerly, Samuel                  Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   O'Farrell, Kevin               Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   OFFICE DEPOT                   P.O Box 29248                             Trade                                                                         $       57,267.73
                                                                  Phoenix AZ 85038-
                                                                  9248
Legendary Field Exhibitions, LLC   Office Resale Solutions, LLC   P.O Box 27216                             Trade                                                                         $        6,000.00
                                                                  Tempe AZ 85285
Legendary Field Exhibitions, LLC   Officials Flags and Bags USA   8466 N. Lockwood                          Trade                                                                         $        2,069.20
                                                                  Ridge Rd. #253
                                                                  Sarasota FL 34243-
                                                                  2951
Legendary Field Exhibitions, LLC   Ogburn, Marty                  Address on file                           Unearned Revenue                                                              $           76.00


Legendary Field Exhibitions, LLC   Ogden, Becky                   Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Ogier, Stewart                 Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Ogletree Deakins               P.O Box 89                                Trade                                                                         $       24,540.50
                                                                  Columbia SC 29202

Legendary Field Exhibitions, LLC   Ohab, Marty                    Address on file                           Unearned Revenue                                                              $          100.00



Legendary Field Exhibitions, LLC   Oharra, Patrick                Address on file                           Unearned Revenue                                                              $          140.00
                                                                                                                                                                                                              19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 182 of




                                                                                                                                                 Page 131 of 202
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                                    Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                            Creditor Name          Address            Last 4 Date Debt   Trade, Debt / Note         Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                           Digits of  was    Payable (Type of Claim)                                           subject to
                                                                                           Account Incurred,                                                                    offset?
                                                                                           Number Basis for
                                                                                                     Claim
Legendary Field Exhibitions, LLC   Ojeda, Ruben                     Address on file                           Unearned Revenue                                                              $          105.00

Legendary Field Exhibitions, LLC   Okamoto, Vincent                 Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Olcott, Debbie                   Address on file                           Unearned Revenue                                                              $          112.00


Legendary Field Exhibitions, LLC   Oldakowski, Andrea               Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Olds, Rose                       Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Oler, Stephanie                  Address on file                           Unearned Revenue                                                              $           61.00
Legendary Field Exhibitions, LLC   OLESON, SARAH                    Address on file                           Unearned Revenue                                                              $          112.50
Legendary Field Exhibitions, LLC   Olguin, Matthew                  Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Olivarri, Charles                Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Olivas, Daniel                   Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Oliver, Edward                   Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Olivere, Joseph                  Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Olivieri, Joseph                 Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Ollier, Lori                     Address on file                           Unearned Revenue                                                              $          500.00

Legendary Field Exhibitions, LLC   Ollis, Greg                      Address on file                           Unearned Revenue                                                              $          114.00

Legendary Field Exhibitions, LLC   Olson, Dana                      Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Olson, Jason                     Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Olson, Steve                     Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Olympic Case Co                  9110 King Palm Dr                         Trade                                                                         $      118,537.79
                                                                    Ste 101
                                                                    Tampa FL 33619-
                                                                    8312
                                                                                                                                                                                                                                                        269




Legendary Field Exhibitions, LLC   O'Mahoney, Neil                  Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Omni Colonnade                   9821 Colonnade                            Trade                                                                         $      545,647.94
                                                                    Blvd
                                                                    San Antonio TX
                                                                    78230
Legendary Field Exhibitions, LLC   Omran, Haitham                   Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   On the Square Enterprises LLC    Address on file                           Unearned Revenue                                                              $          170.00

Legendary Field Exhibitions, LLC   On-Air Sports Marketing LLC      7471 E. Desert                            Trade                                                                         $          850.00
                                                                    Vista Rd.
                                                                    Scottsdale AZ
                                                                    85255
Legendary Field Exhibitions, LLC   Onderick, Nick                   Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   O'neal, Samuel                   Address on file                           Unearned Revenue                                                              $          250.00


Legendary Field Exhibitions, LLC   Oneil, Richard                   Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Onsite Contracting               Address on file                           Unearned Revenue                                                              $          340.00



Legendary Field Exhibitions, LLC   Ontiveros, Fabian                Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Open net Inc. dba Bway.net       129-30 Queens                             Trade                                                                         $        1,155.00
                                                                    Blvd
                                                                    New York NY 11435

Legendary Field Exhibitions, LLC   Opendorse Inc.                   1320 Q Street                             Trade                                                                         $       72,500.00
                                                                    Lincoln NE 68508
Legendary Field Exhibitions, LLC   Oradei, Michael                  Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Orange County Public Schools     445 W. Amelia St.                         Trade                                                                         $        1,883.99
                                                                    Attn: Adrienne Noel,
                                                                    9th floor
                                                                    Orlando FL 32801-
                                                                    1129
Legendary Field Exhibitions, LLC   Orange County Sheriff's Office   P.O. Box 1440                             Trade                                                                         $          837.38
                                   Fiscal Management                Orlando FL 32802
Legendary Field Exhibitions, LLC   Ordinario, Lennard               Address on file                           Unearned Revenue                                                              $           30.00
                                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 183 of




                                                                                                                                                   Page 132 of 202
                                                                                   In re Legendary Field Exhibitions, LLC
                                                                                                   Case No.
                                                                     Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name             Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                         Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                         Account Incurred,                                                                       offset?
                                                                                         Number Basis for
                                                                                                   Claim
Legendary Field Exhibitions, LLC   Orlando Dodge                     Address on file                           Unearned Revenue                                                              $          680.00

Legendary Field Exhibitions, LLC   Orlando Food Service Partners dba 400 W. Church St.                         Trade                                                                         $       40,141.43
                                   Levy Restaurants                  Suite 210
                                                                     Orlando FL 32801
Legendary Field Exhibitions, LLC   Orlando Sentinel Media Group      P.O Box 100608                            Trade                                                                         $        4,000.00
                                                                     Atlanta GA 30384-
                                                                     0608
Legendary Field Exhibitions, LLC   Orlando Sports Foundation         Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Ornelas, James                    Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Oropeza, Tessie                   Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   ORourke, Rodney                   Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   orozco, alex                      Address on file                           Unearned Revenue                                                              $           81.00
Legendary Field Exhibitions, LLC   Orozco, Jhonny                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Orozco, John                      Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Orr, Chris                        Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Orrico, David                     Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Orseno, Amy                       Address on file                           Unearned Revenue                                                              $          108.00
Legendary Field Exhibitions, LLC   Ort, Korey                        Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Ortega, Favio                     Address on file                           Unearned Revenue                                                              $           75.00


Legendary Field Exhibitions, LLC   Ortega, Javier                    Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Ortega, Santiago                  Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Ortega, Steven                    Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Orth, Barrett                     Address on file                           Unearned Revenue                                                              $           30.00
                                                                                                                                                                                                                                                         269




Legendary Field Exhibitions, LLC   ortiz, betty                      Address on file                           Unearned Revenue                                                              $           61.00
Legendary Field Exhibitions, LLC   Ortiz, Carmen                     Address on file                           Unearned Revenue                                                              $           67.50
Legendary Field Exhibitions, LLC   Ortiz, Christopher                Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Ortiz, Polly                      Address on file                           Unearned Revenue                                                              $           50.40

Legendary Field Exhibitions, LLC   Ortiz, Robert                     Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Orton, Jeremy                     Address on file                           Unearned Revenue                                                              $           78.00

Legendary Field Exhibitions, LLC   Orton, JoiLyn                     Address on file                           Unearned Revenue                                                              $          216.00


Legendary Field Exhibitions, LLC   osborn, bill                      Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Osborn, Jennifer                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Osborne, Kristen                  Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Osborne, Zach                     Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   OShaughnessy, Timothy             Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   O'Shea, Charlene                  Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Ostapiej, Alex                    Address on file                           Unearned Revenue                                                              $          110.00

Legendary Field Exhibitions, LLC   Osterhues, Ryan                   Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Ostnes, Sandra                    Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   ostroff, hayley                   Address on file                           Unearned Revenue                                                              $           22.00
Legendary Field Exhibitions, LLC   osuna, blanca                     Address on file                           Unearned Revenue                                                              $           90.00
Legendary Field Exhibitions, LLC   Oswald, McKinley                  Address on file                           Unearned Revenue                                                              $          156.00

Legendary Field Exhibitions, LLC   Othon, Alexandra                  Address on file                           Unearned Revenue                                                              $          144.00
Legendary Field Exhibitions, LLC   Otineru, Tricille                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Ottmers, Erin                     Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   ottomaniello, nicholas            Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Oubre, Daniel                     Address on file                           Unearned Revenue                                                              $           25.00
                                                                                                                                                                                                                 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 184 of




                                                                                                                                                    Page 133 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name                 Address          Last 4 Date Debt   Trade, Debt / Note           Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                           Digits of  was    Payable (Type of Claim)                                             subject to
                                                                                           Account Incurred,                                                                      offset?
                                                                                           Number Basis for
                                                                                                     Claim
Legendary Field Exhibitions, LLC   Ouellette, Shawn                   Address on file                           Unearned Revenue                                                              $           56.00

Legendary Field Exhibitions, LLC   Outdoor America Images, Inc. OAI   4545 W                                    Trade                                                                         $      790,832.10
                                                                      Hillsborough Ave
                                                                      Tampa FL 33614
Legendary Field Exhibitions, LLC   OUTFRONT Media Inc.                185 Highway 46                            Trade                                                                         $       60,447.50
                                                                      Fairfield NJ 07004
Legendary Field Exhibitions, LLC   Overlook Networks                  20 S. Santa Cruz                          Trade                                                                         $        2,800.00
                                                                      Ave.
                                                                      Suite 300
                                                                      Los Gatos CA
                                                                      95030
Legendary Field Exhibitions, LLC   Overton, John                      Address on file                           Unearned Revenue                                                              $           70.00
Legendary Field Exhibitions, LLC   Oviedo, Juan                       Address on file                           Unearned Revenue                                                              $          102.50
Legendary Field Exhibitions, LLC   Oviedo, Roland                     Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Owen, Bobby                        Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Owen, Michael                      Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Owens, Bob                         Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Owens, Daniel                      Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Owens, G Brent                     Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Owens, Laurie                      Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Owens, Michael                     Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Owens, Trina                       Address on file                           Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   Owings, Eric                       Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Ownbey, Portia                     Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Oxley, Justin Ala                  Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Oyervides, Marissa                 Address on file                           Unearned Revenue                                                              $           20.00
                                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   Oyola, Alex                        Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Ozim, Patryk                       Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   P3 Electrical Services             Address on file                           Unearned Revenue                                                              $          400.00

Legendary Field Exhibitions, LLC   Pabst, Paul                        Address on file                           Trade                                                                         $       20,000.00

Legendary Field Exhibitions, LLC   Pace, Greg                         Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Pacheco, Donna                     Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Pacheco, Manuel                    Address on file                           Unearned Revenue                                                              $          150.00


Legendary Field Exhibitions, LLC   Pacheco, Raul                      Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Pacheco, Robert                    Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   packham, karl                      Address on file                           Unearned Revenue                                                              $           48.00
Legendary Field Exhibitions, LLC   Pac-Van                            5532 Hickory Hill                         Trade                                                                         $          783.30
                                                                      Rd
                                                                      Memphis TN 38141
Legendary Field Exhibitions, LLC   Padalecki, David                   Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Padalecki, Dwayne                  Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Paddock, Dorian                    Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Padgett, Kade                      Address on file                           Unearned Revenue                                                              $          105.00

Legendary Field Exhibitions, LLC   Padia, Manuel                      Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Padilla, David                     Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Padilla, Gustavo                   Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Padilla, James                     Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Padilla-Wiese, Alexis              Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Padot, Karen                       Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Paduano, Anthony                   Address on file                           Unearned Revenue                                                              $           45.00
Legendary Field Exhibitions, LLC   paet, jason                        Address on file                           Unearned Revenue                                                              $           70.00
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 185 of




                                                                                                                                                     Page 134 of 202
                                                                                 In re Legendary Field Exhibitions, LLC
                                                                                                 Case No.
                                                                   Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name           Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                       Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                       Account Incurred,                                                                       offset?
                                                                                       Number Basis for
                                                                                                 Claim
Legendary Field Exhibitions, LLC   paez, gracie                    Address on file                           Unearned Revenue                                                              $          277.50
Legendary Field Exhibitions, LLC   Pagan, Josh                     Address on file                           Unearned Revenue                                                              $        2,100.00
Legendary Field Exhibitions, LLC   Page, Daniel                    Address on file                           Unearned Revenue                                                              $           56.00

Legendary Field Exhibitions, LLC   Page, Michael                   Address on file                           Unearned Revenue                                                              $          340.00

Legendary Field Exhibitions, LLC   Paguio, Ryan                    Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Pahona, Estel                   Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Paige, Contessa                 Address on file                           Unearned Revenue                                                              $          110.00

Legendary Field Exhibitions, LLC   paiz, sandra                    Address on file                           Unearned Revenue                                                              $           30.50
Legendary Field Exhibitions, LLC   Pakrer, James & Deborah         Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Palafox, George                 Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Palgon, Michael                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Palmer, Christopher             Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Palmer, Ruth                    Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Palmer, Sean                    Address on file                           Unearned Revenue                                                              $          440.00

Legendary Field Exhibitions, LLC   Palmese, Mark                   Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Palmore, Takeyia                Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   PALOMO, phillip                 Address on file                           Unearned Revenue                                                              $            0.08

Legendary Field Exhibitions, LLC   Paluck, Dave                    Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   Paniagua, Nez                   Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Panos, Ted                      Address on file                           Unearned Revenue                                                              $          800.00
                                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   Pansza, Adrian                  Address on file                           Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Papanek, Sandra                 Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Papayanopolus, Roberto          Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Pape, David G.                  Address on file                           Unearned Revenue                                                              $        1,400.00


Legendary Field Exhibitions, LLC   Parabicoli , Nicholas           Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Pare, Andre                     Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Parent, Roger                   Address on file                           Unearned Revenue                                                              $          112.00

Legendary Field Exhibitions, LLC   Paretti, John                   Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Parisi, Greg                    Address on file                           Unearned Revenue                                                              $          350.00

Legendary Field Exhibitions, LLC   Park Place Printing, Inc, dba   535 W. Baseline                           Trade                                                                         $       13,281.72
                                   Alphagraphics                   Rd. Suite 104
                                                                   Mesa AZ 85210
Legendary Field Exhibitions, LLC   Park, Ben                       Address on file                           Unearned Revenue                                                              $          480.00

Legendary Field Exhibitions, LLC   Park, Larry                     Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Parker, Al                      Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Parker, Anita                   Address on file                           Unearned Revenue                                                              $           10.00

Legendary Field Exhibitions, LLC   Parker, Blake                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Parker, Carla                   Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Parker, Cordell                 Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Parker, Curtis                  Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Parker, David                   Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Parker, Edie                    Address on file                           Unearned Revenue                                                              $           46.92
Legendary Field Exhibitions, LLC   Parker, Joel                    Address on file                           Unearned Revenue                                                              $          200.00
                                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 186 of




                                                                                                                                                  Page 135 of 202
                                                                             In re Legendary Field Exhibitions, LLC
                                                                                             Case No.
                                                               Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name          Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                   Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                   Account Incurred,                                                                       offset?
                                                                                   Number Basis for
                                                                                             Claim
Legendary Field Exhibitions, LLC   Parker, Linda               2270 Devoy                                Trade                                                                         $          410.00
                                                               Avenue,
                                                               Memphis, TN 38108

Legendary Field Exhibitions, LLC   Parker, Scott               Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   PARKER, SEAN                Address on file                           Unearned Revenue                                                              $           55.00

Legendary Field Exhibitions, LLC   Parker, Tyrone              Address on file                           Unearned Revenue                                                              $          181.28

Legendary Field Exhibitions, LLC   Parker, Victor              Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Parkinson, David            Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Parkinson, Kendel           Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Parks, Cole                 Address on file                           Unearned Revenue                                                              $           39.00
Legendary Field Exhibitions, LLC   Parks, Madison              Address on file                           Unearned Revenue                                                              $          340.00

Legendary Field Exhibitions, LLC   Parks, Paul                 Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Parli, Jake                 Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Parra, Carlos               Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Parra, Juan                 Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Parra, Manuel               Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Parra, Ozzy                 Address on file                           Unearned Revenue                                                              $          200.00
Legendary Field Exhibitions, LLC   Parsons, Russ               Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Partin, Ryan                Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Paruleski, Nick             Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Pasamonte, Rochelle         Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Pastrano, Steven            Address on file                           Unearned Revenue                                                              $          111.00
                                                                                                                                                                                                                                                   269




Legendary Field Exhibitions, LLC   Pate, Darrick               Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Pate, John                  Address on file                           Unearned Revenue                                                              $           35.00

Legendary Field Exhibitions, LLC   Pate, Kevin                 Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Patel, Ajay                 Address on file                           Unearned Revenue                                                              $          920.00

Legendary Field Exhibitions, LLC   Patel, Minesh               Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Patel, Neal                 Address on file                           Unearned Revenue                                                              $        1,190.00

Legendary Field Exhibitions, LLC   Patel, Pinkal               Address on file                           Unearned Revenue                                                              $          280.00

Legendary Field Exhibitions, LLC   Paterson, Cole              Address on file                           Unearned Revenue                                                              $           19.00


Legendary Field Exhibitions, LLC   Patnode, Jaime              Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Patrick AFB                 Address on file                           Unearned Revenue                                                              $           80.00


Legendary Field Exhibitions, LLC   Patrick, Gavin              Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Patrick, Guiant             Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Patrick, Jack               Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Patrick, Jason              Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Patrick, Joseph             Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Patrick, Teresa             Address on file                           Unearned Revenue                                                              $          400.00

Legendary Field Exhibitions, LLC   Patrick, Tom                Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Patrick-Diekemper, Auriel   Address on file                           Unearned Revenue                                                              $           30.50
Legendary Field Exhibitions, LLC   Patry, Charles              Address on file                           Unearned Revenue                                                              $          125.00

Legendary Field Exhibitions, LLC   Patten, Thomas              Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Patterson, Michael          Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Patterson, Shawn            Address on file                           Unearned Revenue                                                              $          140.00
                                                                                                                                                                                                           19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 187 of




                                                                                                                                              Page 136 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name                Address             Last 4 Date Debt   Trade, Debt / Note        Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                              Digits of  was    Payable (Type of Claim)                                          subject to
                                                                                              Account Incurred,                                                                   offset?
                                                                                              Number Basis for
                                                                                                        Claim
Legendary Field Exhibitions, LLC   Paul M Halsey dba Admiral Video,   503 E. Erie St. Suite                      Trade                                                                        $       11,170.00
                                   LLC                                B
                                                                      Lancaster NY
                                                                      14086
Legendary Field Exhibitions, LLC   Paul, George                       Address on file                            Unearned Revenue                                                             $          180.00

Legendary Field Exhibitions, LLC   Paul, Michael                      Address on file                            Unearned Revenue                                                             $          110.00

Legendary Field Exhibitions, LLC   Paul, Shane M.                     Address on file                            Unearned Revenue                                                             $           45.00

Legendary Field Exhibitions, LLC   Paulino, Courtney                  Address on file                            Unearned Revenue                                                             $           15.64

Legendary Field Exhibitions, LLC   Paulissen, Stephanie               Address on file                            Unearned Revenue                                                             $          121.50
Legendary Field Exhibitions, LLC   Paulsen, Alexander                 Address on file                            Unearned Revenue                                                             $           80.00

Legendary Field Exhibitions, LLC   Pavilion Management Company dba 1011 W Holmes                                 Trade                                                                        $      170,437.89
                                   Hilton Phoenix Mesa Hotel       Avenue
                                                                   Mesa AZ 85210
Legendary Field Exhibitions, LLC   Payan, Marcos                   Address on file                               Unearned Revenue                                                             $           70.00

Legendary Field Exhibitions, LLC   Payne, Carlton                     Address on file                            Unearned Revenue                                                             $           30.00

Legendary Field Exhibitions, LLC   Payne, Dale                        Address on file                            Unearned Revenue                                                             $           30.00

Legendary Field Exhibitions, LLC   Payne, John                        Address on file                            Unearned Revenue                                                             $          432.00

Legendary Field Exhibitions, LLC   Payne, Kristal                     Address on file                            Unearned Revenue                                                             $           31.28
Legendary Field Exhibitions, LLC   Payne, Michael                     Address on file                            Unearned Revenue                                                             $           88.00

Legendary Field Exhibitions, LLC   Payne, Shavita                     Address on file                            Unearned Revenue                                                             $           31.28

Legendary Field Exhibitions, LLC   Payne, Tom                         Address on file                            Unearned Revenue                                                             $           41.00


Legendary Field Exhibitions, LLC   Payne, Wendolyn                    Address on file                            Unearned Revenue                                                             $           30.00

Legendary Field Exhibitions, LLC   PCH TRIBUNE LLC DBA NUMBER 4770 S 5600 W                                      Trade                                                                        $       95,653.43
                                   SIX LLC                    West Valley City,
                                                                                                                                                                                                                                                          269




                                                              UT 84118
Legendary Field Exhibitions, LLC   PCS Production Company, LP 1551 Corporate                                     Trade                                                                        $       12,995.85
                                                              Drive
                                                              Suite 125
                                                              Irving TX 75038
Legendary Field Exhibitions, LLC   Peacock, Bryan             Address on file                                    Unearned Revenue                                                             $           60.00

Legendary Field Exhibitions, LLC   Peacock, Kara                      Address on file                            Unearned Revenue                                                             $           57.00

Legendary Field Exhibitions, LLC   Peak Performance                   Address on file                            Unearned Revenue                                                             $          100.00
Legendary Field Exhibitions, LLC   Pearl, Josh                        Address on file                            Unearned Revenue                                                             $          170.00

Legendary Field Exhibitions, LLC   Pearson, McCade                    Address on file                            Unearned Revenue                                                             $           38.00

Legendary Field Exhibitions, LLC   Pease, Ben                         Address on file                            Unearned Revenue                                                             $           30.00
Legendary Field Exhibitions, LLC   Pease, David                       Address on file                            Unearned Revenue                                                             $          100.00

Legendary Field Exhibitions, LLC   Peavy, Daniel                      Address on file                            Unearned Revenue                                                             $          248.00

Legendary Field Exhibitions, LLC   pecina, anthony                    Address on file                            Unearned Revenue                                                             $          122.00

Legendary Field Exhibitions, LLC   Peck, AJ                           Address on file                            Unearned Revenue                                                             $           40.00

Legendary Field Exhibitions, LLC   Peck, Curtis                       Address on file                            Unearned Revenue                                                             $          100.00
Legendary Field Exhibitions, LLC   Pecoraro, Jack                     Address on file                            Unearned Revenue                                                             $          250.00

Legendary Field Exhibitions, LLC   Pedalino, John                     Address on file                            Unearned Revenue                                                             $          250.00


Legendary Field Exhibitions, LLC   pedersen, cristine                 Address on file                            Unearned Revenue                                                             $           78.00
Legendary Field Exhibitions, LLC   Pedersen, Heidi                    Address on file                            Unearned Revenue                                                             $           31.28
Legendary Field Exhibitions, LLC   Pedraza, Rico                      Address on file                            Unearned Revenue                                                             $           20.00
Legendary Field Exhibitions, LLC   Pedrotti, Nicholas                 Address on file                            Unearned Revenue                                                             $           30.00
Legendary Field Exhibitions, LLC   Pedroza, Daniel                    Address on file                            Unearned Revenue                                                             $           30.00

Legendary Field Exhibitions, LLC   Pedroza, Dolores                   Address on file                            Unearned Revenue                                                             $           20.00

Legendary Field Exhibitions, LLC   Peebles, Mark                      Address on file                            Unearned Revenue                                                             $          640.00

Legendary Field Exhibitions, LLC   Pegg, Bailey                       Address on file                            Unearned Revenue                                                             $           30.00
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 188 of




                                                                                                                                                     Page 137 of 202
                                                                              In re Legendary Field Exhibitions, LLC
                                                                                              Case No.
                                                                Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                    Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                    Account Incurred,                                                                       offset?
                                                                                    Number Basis for
                                                                                              Claim
Legendary Field Exhibitions, LLC   Pehlivanian, Bill            Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Peine, Brian                 Address on file                           Unearned Revenue                                                              $          370.00

Legendary Field Exhibitions, LLC   Pela, Jeff                   Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Pelegrin, Pablo              Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Pelham, Tony                 Address on file                           Unearned Revenue                                                              $          180.00

Legendary Field Exhibitions, LLC   Pellegra, Nathan             Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Pelletier , Jeff             Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Pellett, Wendy               Address on file                           Unearned Revenue                                                              $          100.00



Legendary Field Exhibitions, LLC   Pelton, Myron                Address on file                           Unearned Revenue                                                              $          500.00

Legendary Field Exhibitions, LLC   Pena, Joe                    Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Pena, Jorge                  Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Pena, Marco                  Address on file                           Unearned Revenue                                                              $          100.00



Legendary Field Exhibitions, LLC   Pena, Selina                 Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Pence, Crystal               Address on file                           Unearned Revenue                                                              $           91.50
Legendary Field Exhibitions, LLC   Penilla, Marcus              Address on file                           Unearned Revenue                                                              $           90.00
Legendary Field Exhibitions, LLC   Peninger, Fred               Address on file                           Unearned Revenue                                                              $          625.00

Legendary Field Exhibitions, LLC   Penn, Joe                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Penn, Wesley Penn            Address on file                           Unearned Revenue                                                              $           30.00
                                                                                                                                                                                                                                                    269




Legendary Field Exhibitions, LLC   Pennell, Robert              Address on file                           Unearned Revenue                                                              $           20.50
Legendary Field Exhibitions, LLC   Pennella, Joe                Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Pennington, David            Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Pennington, Freda            Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Penticoff, Merritt           Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Pentzer, LaTonya             Address on file                           Unearned Revenue                                                              $          150.00
Legendary Field Exhibitions, LLC   Peppersack, Amy              Address on file                           Unearned Revenue                                                              $           70.00
Legendary Field Exhibitions, LLC   perales, raul                Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Perdue, Joshua               Address on file                           Unearned Revenue                                                              $           45.00
Legendary Field Exhibitions, LLC   Perera, Elida                Address on file                           Unearned Revenue                                                              $           45.75

Legendary Field Exhibitions, LLC   Perez, Adolfo C.             Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Perez, AManda                Address on file                           Unearned Revenue                                                              $          161.00

Legendary Field Exhibitions, LLC   Perez, Christopher           Address on file                           Unearned Revenue                                                              $          116.00

Legendary Field Exhibitions, LLC   perez, cynthia               Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Perez, David                 Address on file                           Unearned Revenue                                                              $          300.00


Legendary Field Exhibitions, LLC   Perez, Fermin                Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Perez, Gary                  Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Perez, Joe                   Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Perez, Julio                 Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Perez, Kevin G.              Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Perez, Larry                 Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Perez, Lydia                 Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Perez, Robert                Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Perez, Sabrina               Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Perez, Sergio                Address on file                           Unearned Revenue                                                              $           76.00

Legendary Field Exhibitions, LLC   Perez, Vicente               Address on file                           Unearned Revenue                                                              $           20.00
                                                                                                                                                                                                            19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 189 of




                                                                                                                                               Page 138 of 202
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                                    Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name            Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                        Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                        Account Incurred,                                                                       offset?
                                                                                        Number Basis for
                                                                                                  Claim
Legendary Field Exhibitions, LLC   Performance Health Supply Inc.   21773 Network                             Trade                                                                         $       29,604.99
                                   dba. Medco Supply Company        Place
                                                                    Chicago IL 60673-
                                                                    1217
Legendary Field Exhibitions, LLC   Perhach, Bill                    Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Perham, Steven                   Address on file                           Unearned Revenue                                                              $           44.00

Legendary Field Exhibitions, LLC   Perkins, Jasen                   Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Perkins, Jim                     Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   perkins, marguerite              Address on file                           Unearned Revenue                                                              $           62.56
Legendary Field Exhibitions, LLC   Perkins, Sandra                  Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Perona, Juleigh                  Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Perotti, William                 Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Perrone, Dawn                    Address on file                           Unearned Revenue                                                              $          240.00

Legendary Field Exhibitions, LLC   Perry, Austin                    Address on file                           Unearned Revenue                                                              $           80.00


Legendary Field Exhibitions, LLC   Perry, Glenn                     Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Perry, Ian                       Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Perry, Keith                     Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Perry, Kelly                     Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Perry, Michael                   Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Pershin, Marc                    Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Person, Jowina                   Address on file                           Unearned Revenue                                                              $          320.00
                                                                                                                                                                                                                                                        269




Legendary Field Exhibitions, LLC   Person, Milton                   Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Petch, Jeff                      Address on file                           Unearned Revenue                                                              $          640.00


Legendary Field Exhibitions, LLC   Peter, Steven                    Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Peters, Chris                    Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Petersen, Margaret               Address on file                           Unearned Revenue                                                              $          400.00

Legendary Field Exhibitions, LLC   Peterson, Imani                  Address on file                           Unearned Revenue                                                              $           35.00

Legendary Field Exhibitions, LLC   Peterson, MC                     Address on file                           Unearned Revenue                                                              $           35.00

Legendary Field Exhibitions, LLC   Peterson, Michelle               Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Peterson, Rick                   Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Peterson, Shane                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Peterson, Shannon                Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Petit, Michael                   Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Petri, Goldie                    Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Petrizzo, Sandra                 Address on file                           Unearned Revenue                                                              $          251.00
Legendary Field Exhibitions, LLC   Petska, Gina                     Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Pett, Brady                      Address on file                           Unearned Revenue                                                              $          156.00

Legendary Field Exhibitions, LLC   Petter, Kimberly                 Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Pettiette, David                 Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   Pettit, Janet                    Address on file                           Unearned Revenue                                                              $           70.00
Legendary Field Exhibitions, LLC   Petty, Keith                     Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Peyrefitte, Kai                  Address on file                           Unearned Revenue                                                              $          105.00
                                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 190 of




                                                                                                                                                   Page 139 of 202
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                                    Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name            Address          Last 4 Date Debt   Trade, Debt / Note           Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                         Digits of  was    Payable (Type of Claim)                                             subject to
                                                                                         Account Incurred,                                                                      offset?
                                                                                         Number Basis for
                                                                                                   Claim
Legendary Field Exhibitions, LLC   Pfau, Kent                       Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Pfeiffer , Mark                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Pham, Nicholas                   Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   PHG Birmingham Perimeter Park,   8 Perimeter Park S                        Trade                                                                         $       38,009.90
                                   LLC dba Hilton Birmingham        Birmingham AL
                                   Perimeter Park / Doubletree      35243
                                   Birmingham Peri
Legendary Field Exhibitions, LLC   Philipps, Kurt                   Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Phillians, Jerry                 Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   phillip, Roger                   Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Phillips, Angela                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   phillips, caleb                  Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Phillips, Christina              Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Phillips, Fred                   Address on file                           Unearned Revenue                                                              $          320.00


Legendary Field Exhibitions, LLC   Phillips, George                 Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Phillips, James                  Address on file                           Unearned Revenue                                                              $           44.00

Legendary Field Exhibitions, LLC   Phillips, Justin                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Phillips, Karen & Jim            Address on file                           Unearned Revenue                                                              $          216.00
Legendary Field Exhibitions, LLC   Phillips, Robert                 Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Phillips, Tommy                  Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   PHIPPS, Jed                      Address on file                           Unearned Revenue                                                              $           60.00
                                                                                                                                                                                                                                                        269




Legendary Field Exhibitions, LLC   Picazo, Gloria                   Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Pickelsimer, Bill                Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Piecznski, Joshua                Address on file                           Unearned Revenue                                                              $          111.00
Legendary Field Exhibitions, LLC   Pierce, Pat                      Address on file                           Unearned Revenue                                                              $           40.00


Legendary Field Exhibitions, LLC   Pierce, Shane                    Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Piercy, Charles                  Address on file                           Unearned Revenue                                                              $           45.00
Legendary Field Exhibitions, LLC   Pierotti, Donald                 Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Pierson, Paula                   Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Pike, Bradley                    Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Pike, Caleb                      Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Pileggi, Tony                    Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Pilitsis, Livanios               Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Pilkington, Debbie               Address on file                           Unearned Revenue                                                              $          500.00

Legendary Field Exhibitions, LLC   pimentel, john                   Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Pimentel, Rod                    Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Pina, Alex                       Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Pinarelli, Greg                  Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Pineda, Daniel                   Address on file                           Unearned Revenue                                                              $           81.00

Legendary Field Exhibitions, LLC   Pineda, Jennifer                 Address on file                           Unearned Revenue                                                              $           61.00

Legendary Field Exhibitions, LLC   Pineda, Vanessa                  Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Pinnacle Communications          19821 Executive                           Trade                                                                         $          411.69
                                                                    Park Circle
                                                                    Germantown, MD
                                                                    20874
Legendary Field Exhibitions, LLC   Pino, Carol                      Address on file                           Unearned Revenue                                                              $          100.00
                                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 191 of




                                                                                                                                                   Page 140 of 202
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                                    Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name            Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                        Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                        Account Incurred,                                                                       offset?
                                                                                        Number Basis for
                                                                                                  Claim
Legendary Field Exhibitions, LLC   Pion, Julianne                   Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Pioneer Manufacturing Company    4529 Industrial                           Trade                                                                         $       50,594.76
                                   dba Pioneer Athletics & Revere   Pkwy
                                   Products                         Cleveland OH
                                                                    44135
Legendary Field Exhibitions, LLC   Pipes, Dallas                    Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Pipes, Lacey                     Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Pippin, Andrew                   Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Pirouznia, Ravel                 Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Pirtyle, Ann                     Address on file                           Unearned Revenue                                                              $          125.00
Legendary Field Exhibitions, LLC   Piszkin, John                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   PITCEL, BLANE                    Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Pitterle, Elise                  Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Pittman, Jeremy                  Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Pitts, Kim                       Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   Pixels2Press                     Address on file                           Trade                                                                         $          816.00

Legendary Field Exhibitions, LLC   Pizana, Sylvia                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Plath, Jesse                     Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Plato, Madeline                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Platt, David                     Address on file                           Unearned Revenue                                                              $          120.00


Legendary Field Exhibitions, LLC   Plazek, Amy                      Address on file                           Unearned Revenue                                                              $          111.00
Legendary Field Exhibitions, LLC   pleasant, Britani                Address on file                           Unearned Revenue                                                              $           50.00
                                                                                                                                                                                                                                                        269




Legendary Field Exhibitions, LLC   Plemmons, Caroline               Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Pless, Samuel                    Address on file                           Unearned Revenue                                                              $           70.00



Legendary Field Exhibitions, LLC   Plummer, Wayne                   Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Plunk, Gregory                   Address on file                           Unearned Revenue                                                              $          200.00


Legendary Field Exhibitions, LLC   Poe, Rhonda                      Address on file                           Unearned Revenue                                                              $          116.00
Legendary Field Exhibitions, LLC   Pohling, Connor                  Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Pohling, John                    Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Pohlke, Ryan                     Address on file                           Unearned Revenue                                                              $          370.00

Legendary Field Exhibitions, LLC   Pohlmann, Chris                  Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Pojero, Steven                   Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Pokora, David                    Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Polendo, Ricardo                 Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Polian Consulting                17103 Freshwater                          Trade                                                                         $        3,288.00
                                                                    Lane
                                                                    Cornelius, NC
                                                                    28031
Legendary Field Exhibitions, LLC   Polityka, Michael                Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Pollack, Greg                    Address on file                           Unearned Revenue                                                              $          740.00

Legendary Field Exhibitions, LLC   Pollard, Richard                 Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Ponce, Adolph                    Address on file                           Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Ponce, Alison                    Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Ponderosa, Steve                 Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Ponse, Maria                     Address on file                           Unearned Revenue                                                              $          800.00
                                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 192 of




                                                                                                                                                   Page 141 of 202
                                                                                     In re Legendary Field Exhibitions, LLC
                                                                                                     Case No.
                                                                       Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name               Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                           Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                           Account Incurred,                                                                       offset?
                                                                                           Number Basis for
                                                                                                     Claim
Legendary Field Exhibitions, LLC   Poole, Eric                         Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Poore, Michele                      Address on file                           Unearned Revenue                                                              $          600.00

Legendary Field Exhibitions, LLC   Pope, Hailey                        Address on file                           Unearned Revenue                                                              $           88.00
Legendary Field Exhibitions, LLC   POPE, MICHELLE                      Address on file                           Unearned Revenue                                                              $           40.50

Legendary Field Exhibitions, LLC   Pope, Will                          Address on file                           Unearned Revenue                                                              $          180.00

Legendary Field Exhibitions, LLC   Popham, Alex                        Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   popowicz, Brianna                   Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Porfilio, Chris                     Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Porter, Maddison                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Porter, Melisssa                    Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Porter, Merle                       Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Porter, Steven                      Address on file                           Unearned Revenue                                                              $          112.00

Legendary Field Exhibitions, LLC   porter, vicki                       Address on file                           Unearned Revenue                                                              $           75.00
Legendary Field Exhibitions, LLC   Portillo, Armando                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Portwood, Lisa                      Address on file                           Unearned Revenue                                                              $           77.00
Legendary Field Exhibitions, LLC   Posey Realty Group                  Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   Posey, Christine                    Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Posey, Fentress                     Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   POSEY, MICHAEL                      Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Possemato, Justin                   Address on file                           Unearned Revenue                                                              $           15.00
                                                                                                                                                                                                                                                           269




Legendary Field Exhibitions, LLC   Possin, Howard                      Address on file                           Unearned Revenue                                                              $          200.00


Legendary Field Exhibitions, LLC   POSTEN, KIMBERLY                    Address on file                           Unearned Revenue                                                              $          400.00


Legendary Field Exhibitions, LLC   Poston, Darin                       Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Potter, Thomas                      Address on file                           Unearned Revenue                                                              $          924.00

Legendary Field Exhibitions, LLC   Poulsen, Janice                     Address on file                           Unearned Revenue                                                              $           78.00

Legendary Field Exhibitions, LLC   Powell, Angela                      Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Powell, Benjamin                    Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Powell, Bennett                     Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Powell, Brian                       Address on file                           Unearned Revenue                                                              $          150.00
Legendary Field Exhibitions, LLC   Powell, Christy                     Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Powell, Gerald                      Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Powell, James                       Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Powell, Marilyn                     Address on file                           Unearned Revenue                                                              $           31.28

Legendary Field Exhibitions, LLC   Power Plus Sound & Lighting, Inc.   2445 Grand Ave.                           Trade                                                                         $       20,000.00
                                                                       Vista CA 92018
Legendary Field Exhibitions, LLC   Power, Thomas                       Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Powers, David                       Address on file                           Unearned Revenue                                                              $           66.00
Legendary Field Exhibitions, LLC   Powers, Louan                       Address on file                           Unearned Revenue                                                              $           30.50

Legendary Field Exhibitions, LLC   Powers, Nick                        Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   powers, raymond                     Address on file                           Unearned Revenue                                                              $          102.00
Legendary Field Exhibitions, LLC   Powers, Vance                       Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Pownell, Kylan                      Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Poyner, William                     Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Pozo, Renan                         Address on file                           Unearned Revenue                                                              $           30.00
                                                                                                                                                                                                                   19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 193 of




                                                                                                                                                      Page 142 of 202
                                                                                     In re Legendary Field Exhibitions, LLC
                                                                                                     Case No.
                                                                       Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name                  Address          Last 4 Date Debt   Trade, Debt / Note           Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                            Digits of  was    Payable (Type of Claim)                                             subject to
                                                                                            Account Incurred,                                                                      offset?
                                                                                            Number Basis for
                                                                                                      Claim
Legendary Field Exhibitions, LLC   Pratt, Dustin                       Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Precision Medical Services          300 Held Dr                               Trade                                                                         $       12,500.00
                                                                       Northampton, PA
                                                                       18067
Legendary Field Exhibitions, LLC   Premier Criminal Defense            Address on file                           Unearned Revenue                                                              $          280.00


Legendary Field Exhibitions, LLC   Premier Metal Plating               Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Prentice, John                      Address on file                           Unearned Revenue                                                              $        1,050.00


Legendary Field Exhibitions, LLC   Present Creative                    P.O Box 401151                            Trade                                                                         $        6,615.00
                                                                       San Francisco CA
                                                                       94140
Legendary Field Exhibitions, LLC   Preston, Ashyia                     Address on file                           Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   Preston, Daniel                     Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Preston, Nicole                     Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Prevatt , Tracy                     Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Previe, Timothy                     Address on file                           Unearned Revenue                                                              $           15.20


Legendary Field Exhibitions, LLC   Prewett, Julia                      Address on file                           Unearned Revenue                                                              $           60.00



Legendary Field Exhibitions, LLC   Prewitt, Kenneth                    Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Preyer, Michael                     Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Preza, David                        Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Price, Bryant                       Address on file                           Unearned Revenue                                                              $           30.00
                                                                                                                                                                                                                                                           269




Legendary Field Exhibitions, LLC   Price, Mike                         Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Priesmeyer, Kenneth                 Address on file                           Unearned Revenue                                                              $           35.00

Legendary Field Exhibitions, LLC   Prieto, Isaac                       Address on file                           Unearned Revenue                                                              $          150.00


Legendary Field Exhibitions, LLC   Prieto, Kathy                       Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Prince, Cody                        Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Prins, Edward                       Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Priour, Stephen                     Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Prismic                             Address on file                           Trade                                                                         $       10,010.00

Legendary Field Exhibitions, LLC   Pro Orthopedic Devices, Inc.        2884 E Ganley Rd.                         Trade                                                                         $       21,873.63
                                                                       Tucson AZ 85706
Legendary Field Exhibitions, LLC   Prochaska, Annette                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Proctor, Mike                       Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Procunier, Ron                      Address on file                           Unearned Revenue                                                              $          600.00

Legendary Field Exhibitions, LLC   Profancik , Edward                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Professional Travel Inc             25000 Country Club                        Trade                                                                         $        2,042.15
                                                                       Blvd #170,
                                                                       North Olmsted, OH
                                                                       44070
Legendary Field Exhibitions, LLC   Project Professionals Corporation   Address on file                           Unearned Revenue                                                              $          400.00


Legendary Field Exhibitions, LLC   Prom, Ryan                          Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Proof of the Pudding by MGR Inc.    1175                                      Trade                                                                         $      159,604.20
                                                                       Chattahoochee Ave.
                                                                       NW Complex A
                                                                       Atlanta GA 30318
                                                                                                                                                                                                                   19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 194 of




                                                                                                                                                      Page 143 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name                 Address           Last 4 Date Debt   Trade, Debt / Note          Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                            Digits of  was    Payable (Type of Claim)                                            subject to
                                                                                            Account Incurred,                                                                     offset?
                                                                                            Number Basis for
                                                                                                      Claim
Legendary Field Exhibitions, LLC   Proptology FX Inc. dba Set Masters 24853 Avenue                              Trade                                                                         $        1,313.45
                                                                      Rockefeller
                                                                      Valencia CA 91355
Legendary Field Exhibitions, LLC   Proscout, Inc.                     214 Woodside                              Trade                                                                         $      100,000.00
                                                                      Park City, UT 84060

Legendary Field Exhibitions, LLC   ProShow Systems LLC                PO Box 342523                             Trade                                                                         $       12,488.00
                                                                      Bartlett TN 38184
Legendary Field Exhibitions, LLC   Prospect Productions LLC dba       175 Varick St. 2nd                        Trade                                                                         $       99,550.12
                                   Barnicle                           floor
                                                                      New York NY 10014

Legendary Field Exhibitions, LLC   Prosser, Kenneth                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Prouse, Michael                    Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Pruitt, Byron                      Address on file                           Unearned Revenue                                                              $           25.00


Legendary Field Exhibitions, LLC   Pruitt, Gregory                    Address on file                           Unearned Revenue                                                              $          160.00


Legendary Field Exhibitions, LLC   Pruitt, Kenneth                    Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Pryor, David                       Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   PSAV                               23918 Network                             Trade                                                                         $       26,006.67
                                                                      Place
                                                                      Chicago IL 60673-
                                                                      1239
Legendary Field Exhibitions, LLC   Puckett, Andrew                    Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Puckett, Will                      Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Puello, Victor                     Address on file                           Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Puente, Jesse                      Address on file                           Unearned Revenue                                                              $          170.00

Legendary Field Exhibitions, LLC   Puente, Marvin                     Address on file                           Unearned Revenue                                                              $          300.00
                                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   Puente, Steven                     Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Pugh, Brad                         Address on file                           Unearned Revenue                                                              $           37.00
Legendary Field Exhibitions, LLC   Pugh, Thomas                       Address on file                           Unearned Revenue                                                              $          500.00

Legendary Field Exhibitions, LLC   Pulido, William                    Address on file                           Unearned Revenue                                                              $          670.00

Legendary Field Exhibitions, LLC   Pulliam, Matt                      Address on file                           Unearned Revenue                                                              $          400.00

Legendary Field Exhibitions, LLC   Purdon, Nicolas                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Purdy, Karl                        Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Purvis, James                      Address on file                           Unearned Revenue                                                              $           25.00


Legendary Field Exhibitions, LLC   Push Button Films                  Address on file                           Trade                                                                         $        1,500.00

Legendary Field Exhibitions, LLC   Pyro Shows of Alabama, Inc.        PO Box 1776                               Trade                                                                         $       18,040.00
                                                                      LaFallette TN 37766

Legendary Field Exhibitions, LLC   Pyro Shows of Texas, Inc           PO Box 1776                               Trade                                                                         $       15,720.00
                                                                      LaFollette TN 37766

Legendary Field Exhibitions, LLC   Pyro Spectaculars Inc.             PO Box 2329, 3196                         Trade                                                                         $       51,350.00
                                                                      North Locust Ave.
                                                                      Rialto CA 92377
Legendary Field Exhibitions, LLC   Pyrotecnico FX, LLC                PO Box 645830                             Trade                                                                         $       19,415.00
                                                                      Pittsburgh PA
                                                                      15264-5830
Legendary Field Exhibitions, LLC   Quakenbush, Mike                   Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   quashnock, diane                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Queale, William                    Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Quigley, Shaun                     Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Quillar, Joshua                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Quinn, David                       Address on file                           Unearned Revenue                                                              $          400.00
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 195 of




                                                                                                                                                     Page 144 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name                Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                          Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                          Account Incurred,                                                                       offset?
                                                                                          Number Basis for
                                                                                                    Claim
Legendary Field Exhibitions, LLC   Quinn, Timothy                     Address on file                           Unearned Revenue                                                              $           45.00


Legendary Field Exhibitions, LLC   Quinones, Joey                     Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Quintana, Jason                    Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Quintero, Michelle                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Quintero, Raoul                    Address on file                           Unearned Revenue                                                              $          320.00


Legendary Field Exhibitions, LLC   Quintero, Robert                   Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Quinton, Dan                       Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Quisano, Bernice                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   R Bryant Jr, Robert                Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   R360 Enviromental Solutions        Address on file                           Unearned Revenue                                                              $        1,400.00


Legendary Field Exhibitions, LLC   RA Huntzinger & Sons Construction Address on file                            Unearned Revenue                                                              $           75.00
                                   Inc
Legendary Field Exhibitions, LLC   Raby, Jeff                        Address on file                            Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Radcliff, Brent                    Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Radio One Atlanta                  Address on file                           Trade                                                                         $          375.00

Legendary Field Exhibitions, LLC   Radwan, Wendy                      Address on file                           Unearned Revenue                                                              $          600.00

Legendary Field Exhibitions, LLC   Raess, Shanon                      Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Rafferty, Thomas                   Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Ragland, Jan                       Address on file                           Unearned Revenue                                                              $          140.00
                                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   Ragland, Tanner                    Address on file                           Unearned Revenue                                                              $          480.00

Legendary Field Exhibitions, LLC   Railey, Brett                      Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Raines, David                      Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Raines, Lawrence                   Address on file                           Unearned Revenue                                                              $          200.00


Legendary Field Exhibitions, LLC   Rajwani, Al                        Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Ralph AC LLC                       Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Ralph Colella dba Queso Good by    4501 W. Van Buren                         Trade                                                                         $        2,785.00
                                   Ralph's Snack Bar                  St.
                                                                      Phoenix AZ 85043
Legendary Field Exhibitions, LLC   Ralston, Richard                   Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Ramirez IV, Esteban                Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Ramirez, Adolfo                    Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Ramirez, Adriana                   Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Ramirez, Andres                    Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Ramirez, Anthony                   Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Ramirez, Christine                 Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Ramirez, David                     Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Ramirez, Evelyn                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Ramirez, Fred                      Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Ramirez, Hannah                    Address on file                           Unearned Revenue                                                              $           55.50
Legendary Field Exhibitions, LLC   Ramirez, John                      Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Ramirez, Juan                      Address on file                           Unearned Revenue                                                              $          500.00

Legendary Field Exhibitions, LLC   Ramirez, Manuel                    Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Ramirez, Maria                     Address on file                           Unearned Revenue                                                              $           70.00
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 196 of




                                                                                                                                                     Page 145 of 202
                                                                             In re Legendary Field Exhibitions, LLC
                                                                                             Case No.
                                                               Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name          Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                   Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                   Account Incurred,                                                                       offset?
                                                                                   Number Basis for
                                                                                             Claim
Legendary Field Exhibitions, LLC   Ramirez, Mark               Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Ramirez, Rene               Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Ramirez, Sandra             Address on file                           Unearned Revenue                                                              $           40.50
Legendary Field Exhibitions, LLC   Ramirez, Shanna             Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Ramon, Victor               Address on file                           Unearned Revenue                                                              $          174.00
Legendary Field Exhibitions, LLC   Ramos, Anna                 Address on file                           Unearned Revenue                                                              $           20.51
Legendary Field Exhibitions, LLC   Ramos, Christopher          Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Ramos, Danielle             Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Ramos, Edwin                Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Ramos, Guillermo            Address on file                           Unearned Revenue                                                              $          200.00


Legendary Field Exhibitions, LLC   Ramos, Jeri                 Address on file                           Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Ramos, Lisa                 Address on file                           Unearned Revenue                                                              $           90.00


Legendary Field Exhibitions, LLC   Ramos, Louisa               Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   ramos, luis                 Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   ramos, paul                 Address on file                           Unearned Revenue                                                              $          152.00

Legendary Field Exhibitions, LLC   ramos, pedro                Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Ramos-Garza, Angela         Address on file                           Unearned Revenue                                                              $           20.51
Legendary Field Exhibitions, LLC   Rampolla, Marc              Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Ramsay, Krystal             Address on file                           Unearned Revenue                                                              $           61.00

Legendary Field Exhibitions, LLC   Ramsey, Philip              Address on file                           Trade                                                                         $          600.00

Legendary Field Exhibitions, LLC   Ramsey, Richard             Address on file                           Unearned Revenue                                                              $           45.00
                                                                                                                                                                                                                                                   269




Legendary Field Exhibitions, LLC   Ramsey-Barden, Nancy        Address on file                           Unearned Revenue                                                              $           66.00
Legendary Field Exhibitions, LLC   Ramskill, Tommy             Address on file                           Unearned Revenue                                                              $          125.00

Legendary Field Exhibitions, LLC   Rand, Aaron                 Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Randall Mechanical          Address on file                           Unearned Revenue                                                              $        7,354.00

Legendary Field Exhibitions, LLC   Randall, Jared              Address on file                           Unearned Revenue                                                              $           24.00
Legendary Field Exhibitions, LLC   Randle, Danielle            Address on file                           Unearned Revenue                                                              $           62.56
Legendary Field Exhibitions, LLC   Randolph, Jim               Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Raney, Caleb                Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Raney, Jessica              Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Rangel, Adriana             Address on file                           Unearned Revenue                                                              $           55.50
Legendary Field Exhibitions, LLC   Rangel, Arthur              Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   RANGEL, ASHLEY              Address on file                           Unearned Revenue                                                              $           11.00
Legendary Field Exhibitions, LLC   Rangel, Carlos              Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Rangel, Michael             Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Rangel, Patricia            Address on file                           Unearned Revenue                                                              $           30.50
Legendary Field Exhibitions, LLC   rangel, yolanda             Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Ranis, Victor               Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Raphael's Party Rentals     8606 Mirimar Rd.                          Trade                                                                         $        7,247.72
                                                               San Diego CA
                                                               92126
Legendary Field Exhibitions, LLC   Raquel, Chris               Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Rasnick, Tom                Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Rast, Glenda                Address on file                           Unearned Revenue                                                              $          277.50
Legendary Field Exhibitions, LLC   Rathgeber, Rebecca          Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Raulerson, Jane             Address on file                           Unearned Revenue                                                              $           25.00

Legendary Field Exhibitions, LLC   Ravalli, Heather            Address on file                           Unearned Revenue                                                              $           75.00
Legendary Field Exhibitions, LLC   Ray Sprayberry DDS MSD PA   Address on file                           Unearned Revenue                                                              $          125.00

Legendary Field Exhibitions, LLC   Ray, James                  Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Ray, Jeremy                 Address on file                           Unearned Revenue                                                              $          112.00
                                                                                                                                                                                                           19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 197 of




                                                                                                                                              Page 146 of 202
                                                                                In re Legendary Field Exhibitions, LLC
                                                                                                Case No.
                                                                  Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name          Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                      Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                      Account Incurred,                                                                       offset?
                                                                                      Number Basis for
                                                                                                Claim
Legendary Field Exhibitions, LLC   Ray, Michael                   Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   Rayburg, Jason                 Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   Rayburn, Justin                Address on file                           Unearned Revenue                                                              $           34.00

Legendary Field Exhibitions, LLC   Raycom Media Inc. dba WMC-TV   PO Box 11407                              Trade                                                                         $        8,105.00
                                                                  Drawer 0422
                                                                  Birmingham AL
                                                                  35246
Legendary Field Exhibitions, LLC   Raymond, Phil                  Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   RbA of Colorado                Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Reagan, Michelle               Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   real, biviana                  Address on file                           Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   Ream, Kevin                    Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Reardon, Josh                  Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Re-bath of San Antonio         Address on file                           Unearned Revenue                                                              $          450.00



Legendary Field Exhibitions, LLC   Redding, Jessica               Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Reddy-Veluri, Preethi          Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Redi Camp                      Address on file                           Unearned Revenue                                                              $           70.00



Legendary Field Exhibitions, LLC   Reed, Craig                    Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Reed, David                    Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Reed, Doug                     Address on file                           Unearned Revenue                                                              $           30.00
                                                                                                                                                                                                                                                      269




Legendary Field Exhibitions, LLC   Reed, Ebony                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Reed, Jack                     Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Reed, Justin                   Address on file                           Unearned Revenue                                                              $          230.00

Legendary Field Exhibitions, LLC   Reed, Kevin                    Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Reed, Michael                  Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Reed, Thomas                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Reed, Timothy                  Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Reed, Tracy                    Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Reedy, Karra                   Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   Reese, Joe                     Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Reeves, Edward                 Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Reeves, Tiffany                Address on file                           Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   Refined Floors and Design      Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   reger, john                    Address on file                           Unearned Revenue                                                              $          116.00
Legendary Field Exhibitions, LLC   Regino, Lisa                   Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Regn, Mark                     Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Rehab Associates, LLC d/b/a    4714 Gettysburg                           Trade                                                                         $       11,000.00
                                   Champion Sports Medicine       Road
                                                                  Mechanicsburg PA
                                                                  17055
Legendary Field Exhibitions, LLC   Rehley, Robert                 Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Reich, Susan                   Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Reichert, Kyle                 Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Reid, Chris                    Address on file                           Unearned Revenue                                                              $           80.00
Legendary Field Exhibitions, LLC   Reid, Marcus                   Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Reid, Tara                     Address on file                           Unearned Revenue                                                              $           20.00
                                                                                                                                                                                                              19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 198 of




                                                                                                                                                 Page 147 of 202
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                                    Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name               Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                        Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                        Account Incurred,                                                                       offset?
                                                                                        Number Basis for
                                                                                                  Claim
Legendary Field Exhibitions, LLC   Reidy, Edward                    Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Reif, Yvonne                     Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Reinecke, Julie                  Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Reinhard, Flor                   Address on file                           Unearned Revenue                                                              $           70.00
Legendary Field Exhibitions, LLC   Reininger, Brian                 Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Reinsmith, Lance                 Address on file                           Unearned Revenue                                                              $          340.00

Legendary Field Exhibitions, LLC   Remigio, Ryan                    Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   rendon, laura                    Address on file                           Unearned Revenue                                                              $           15.00
Legendary Field Exhibitions, LLC   Rendon, Margot                   Address on file                           Unearned Revenue                                                              $           82.00
Legendary Field Exhibitions, LLC   Rendon, Martha                   Address on file                           Unearned Revenue                                                              $          283.50

Legendary Field Exhibitions, LLC   RENDON, Phillip                  Address on file                           Unearned Revenue                                                              $          162.00
Legendary Field Exhibitions, LLC   Rendon, Ray                      Address on file                           Unearned Revenue                                                              $          125.00

Legendary Field Exhibitions, LLC   Rendon, Rene                     Address on file                           Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Renning, Bob                     Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Renschler, John                  Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Rental Pro                       Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Renteria, Jurgen                 Address on file                           Unearned Revenue                                                              $           10.00

Legendary Field Exhibitions, LLC   Rentz, Amy                       Address on file                           Unearned Revenue                                                              $           55.50

Legendary Field Exhibitions, LLC   Resendez, Ruben                  Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Resources Unlimited Co USA LLC   Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Retault, Louis                   Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Revelez, Dominic                 Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Rexilius, Rex                    Address on file                           Unearned Revenue                                                              $          160.00
                                                                                                                                                                                                                                                        269




Legendary Field Exhibitions, LLC   Reyes , Roberto                  Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Reyes, Hank                      Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Reyes, Joe                       Address on file                           Unearned Revenue                                                              $          150.00
Legendary Field Exhibitions, LLC   Reyes, Julio                     Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Reyes, Robert                    Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Reyes, Roderick                  Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Reyes, Rudy                      Address on file                           Unearned Revenue                                                              $          122.00
Legendary Field Exhibitions, LLC   Reyes, Veronica                  Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Reyna, Joseph                    Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Reyna, Kristen                   Address on file                           Unearned Revenue                                                              $          110.00

Legendary Field Exhibitions, LLC   Reyna, Rogelio                   Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Reyna, Susan                     Address on file                           Unearned Revenue                                                              $          111.00
Legendary Field Exhibitions, LLC   Reynolds, James                  Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Reynolds, Matthew                Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Reynolds, Tiffany                Address on file                           Unearned Revenue                                                              $          112.00

Legendary Field Exhibitions, LLC   Reynolds, Troy                   Address on file                           Unearned Revenue                                                              $          132.00

Legendary Field Exhibitions, LLC   Rhinehart, Danny                 Address on file                           Unearned Revenue                                                              $          640.00

Legendary Field Exhibitions, LLC   Rhodehamel, Jason                Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Rhodes, Gregory                  Address on file                           Unearned Revenue                                                              $           22.00


Legendary Field Exhibitions, LLC   Rhodes, Lawrence                 Address on file                           Unearned Revenue                                                              $          170.00

Legendary Field Exhibitions, LLC   Rhodes, Monte                    Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Ribbeck, Randy Woody             Address on file                           Trade                                                                         $        1,750.00

Legendary Field Exhibitions, LLC   Ribley, Cheryl                   Address on file                           Unearned Revenue                                                              $           30.00
                                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 199 of




                                                                                                                                                   Page 148 of 202
                                                                                 In re Legendary Field Exhibitions, LLC
                                                                                                 Case No.
                                                                   Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name             Address            Last 4 Date Debt   Trade, Debt / Note             Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                          Digits of  was    Payable (Type of Claim)                                               subject to
                                                                                          Account Incurred,                                                                        offset?
                                                                                          Number Basis for
                                                                                                    Claim
Legendary Field Exhibitions, LLC   Ricci, Glenn                    Address on file                           Unearned Revenue                                                                  $           60.00



Legendary Field Exhibitions, LLC   Rice Eccles Stadium             Address on file                           Trade                                                                             $       55,242.30


Legendary Field Exhibitions, LLC   Rice, Carlos                    Address on file                           Unearned Revenue                                                                  $          156.00

Legendary Field Exhibitions, LLC   Rice, Phillip                   Address on file                           Unearned Revenue                                                                  $          100.00

Legendary Field Exhibitions, LLC   Rice, Thomas                    Address on file                           Unearned Revenue                                                                  $           60.00

Legendary Field Exhibitions, LLC   Rich, Doug                      Address on file                           Unearned Revenue                                                                  $          416.00

Legendary Field Exhibitions, LLC   Richard darling                 110 Riverpath Dr                          Trade                                                                             $        2,768.88
                                                                   #27
                                                                   Framingham MA
                                                                   01701
Legendary Field Exhibitions, LLC   Richard Muirbrook               Clyde Snow &                              Litigation                  x                x             x                               Unknown
                                                                   Sessions
                                                                   One Utah Center
                                                                   13th Floor
                                                                   201 S Main Street
                                                                   Salt Lake City, Utah
                                                                   84111-2216
Legendary Field Exhibitions, LLC   Richards, Charles               Address on file                           Unearned Revenue                                                                  $           25.00

Legendary Field Exhibitions, LLC   Richards, Jeff                  Address on file                           Unearned Revenue                                                                  $        1,592.00

Legendary Field Exhibitions, LLC   Richards, Taylor                Address on file                           Unearned Revenue                                                                  $          300.00

Legendary Field Exhibitions, LLC   Richards, Teresa                Address on file                           Unearned Revenue                                                                  $          370.00


Legendary Field Exhibitions, LLC   richardson, adrienne            Address on file                           Unearned Revenue                                                                  $           31.28
Legendary Field Exhibitions, LLC   Richardson, Anthony             Address on file                           Unearned Revenue                                                                  $          140.00
Legendary Field Exhibitions, LLC   Richardson, Barbara             Address on file                           Unearned Revenue                                                                  $           70.00
                                                                                                                                                                                                                                                           269




Legendary Field Exhibitions, LLC   Richardson, Cedrick             Address on file                           Unearned Revenue                                                                  $           15.64
Legendary Field Exhibitions, LLC   Richardson, Chris               Address on file                           Unearned Revenue                                                                  $           80.00

Legendary Field Exhibitions, LLC   Richardson, John                Address on file                           Unearned Revenue                                                                  $          160.00

Legendary Field Exhibitions, LLC   Richardson, Lance               Address on file                           Unearned Revenue                                                                  $          700.00


Legendary Field Exhibitions, LLC   Richardson, Lashaunda           Address on file                           Unearned Revenue                                                                  $          140.00

Legendary Field Exhibitions, LLC   Richmond, Dean                  Address on file                           Unearned Revenue                                                                  $           30.00

Legendary Field Exhibitions, LLC   Richter, Nodja                  Address on file                           Unearned Revenue                                                                  $          100.00


Legendary Field Exhibitions, LLC   Richter, Tom                    Address on file                           Unearned Revenue                                                                  $          156.00

Legendary Field Exhibitions, LLC   Rick Hamilton                   16043 Bella Woods                         Trade                                                                             $        5,005.91
                                                                   Drive
                                                                   Tampa FL 33647
Legendary Field Exhibitions, LLC   Rick Mikulic dba Two Fat Guys   5929 E. Enrose Cir.                       Trade                                                                             $        1,000.00
                                   Grilled Cheese LLC              Mesa AZ 85205
Legendary Field Exhibitions, LLC   Rickard, Kenny                  Address on file                           Unearned Revenue                                                                  $          200.00
Legendary Field Exhibitions, LLC   Ricks, Shelby                   Address on file                           Unearned Revenue                                                                  $           45.00

Legendary Field Exhibitions, LLC   Rico, Randolph                  Address on file                           Unearned Revenue                                                                  $          300.00

Legendary Field Exhibitions, LLC   Rico, Richard                   Address on file                           Unearned Revenue                                                                  $           30.00
Legendary Field Exhibitions, LLC   RIDDELL SPORTS GROUP INC.       P.O Box 71914                             Trade                                                                             $      494,322.55
                                                                   Chicago IL 60694-
                                                                   1914
Legendary Field Exhibitions, LLC   Riddick, Timothy                Address on file                           Unearned Revenue                                                                  $           90.00

Legendary Field Exhibitions, LLC   Riddle, Christopher             Address on file                           Unearned Revenue                                                                  $           15.64
Legendary Field Exhibitions, LLC   Ridenhour, David                Address on file                           Unearned Revenue                                                                  $           50.00


Legendary Field Exhibitions, LLC   Riedel, Peter                   Address on file                           Unearned Revenue                                                                  $          200.00

Legendary Field Exhibitions, LLC   Rieger, Daniel                  Address on file                           Unearned Revenue                                                                  $          200.00

Legendary Field Exhibitions, LLC   Rierdan, Jackie                 Address on file                           Unearned Revenue                                                                  $           30.00
                                                                                                                                                                                                                   19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 200 of




                                                                                                                                                      Page 149 of 202
                                                                             In re Legendary Field Exhibitions, LLC
                                                                                             Case No.
                                                               Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name         Address         Last 4 Date Debt   Trade, Debt / Note                Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                   Digits of  was    Payable (Type of Claim)                                                  subject to
                                                                                   Account Incurred,                                                                           offset?
                                                                                   Number Basis for
                                                                                             Claim
Legendary Field Exhibitions, LLC   Riess, Lisa                 Address on file                           Unearned Revenue                                                                  $          200.00

Legendary Field Exhibitions, LLC   Riggs, Jason                Address on file                           Unearned Revenue                                                                  $          250.00

Legendary Field Exhibitions, LLC   Riggs, Terry                Address on file                           Unearned Revenue                                                                  $           30.00

Legendary Field Exhibitions, LLC   Riggs, Zachary              Address on file                           Unearned Revenue                                                                  $           30.00

Legendary Field Exhibitions, LLC   RIght Choice Digital        10424 N 22nd Way                          Trade                                                                             $        6,260.16
                                                               Phoenix AZ 85028
Legendary Field Exhibitions, LLC   Riley, Gary                 Address on file                           Unearned Revenue                                                                  $          120.00

Legendary Field Exhibitions, LLC   Rinaldi, Rachel             Address on file                           Unearned Revenue                                                                  $          220.00

Legendary Field Exhibitions, LLC   Rinaldo, Mary Jo            Address on file                           Unearned Revenue                                                                  $           45.00
Legendary Field Exhibitions, LLC   Ring, Mary Beth             Address on file                           Unearned Revenue                                                                  $          100.00

Legendary Field Exhibitions, LLC   Ring, Mike                  Address on file                           Unearned Revenue                                                                  $           50.00

Legendary Field Exhibitions, LLC   Riojas, Carlos I            Address on file                           Unearned Revenue                                                                  $           30.00

Legendary Field Exhibitions, LLC   Riojas, Jessica             Address on file                           Unearned Revenue                                                                  $           55.50
Legendary Field Exhibitions, LLC   Riojas, Rene                Address on file                           Unearned Revenue                                                                  $           60.00
Legendary Field Exhibitions, LLC   Riordan, Edward             Address on file                           Unearned Revenue                                                                  $          140.00

Legendary Field Exhibitions, LLC   Rios, Arthur                Address on file                           Unearned Revenue                                                                  $           15.20

Legendary Field Exhibitions, LLC   Rios, Gilbert               Address on file                           Unearned Revenue                                                                  $           30.00

Legendary Field Exhibitions, LLC   Rios, Jimmy                 Address on file                           Unearned Revenue                                                                  $           50.00

Legendary Field Exhibitions, LLC   RIOS, JULIO                 Address on file                           Unearned Revenue                                                                  $           40.00
Legendary Field Exhibitions, LLC   Rios, Luis                  Address on file                           Unearned Revenue                                                                  $          200.00

Legendary Field Exhibitions, LLC   Rise, Tim                   Address on file                           Unearned Revenue                                                                  $          500.00
Legendary Field Exhibitions, LLC   Risher, Aurilynn            Address on file                           Unearned Revenue                                                                  $          100.00
                                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   Ritchey, Kelly              Address on file                           Unearned Revenue                                                                  $          400.00

Legendary Field Exhibitions, LLC   Ritter, Nikolaus            Address on file                           Unearned Revenue                                                                  $           70.00

Legendary Field Exhibitions, LLC   rivas, edward               Address on file                           Unearned Revenue                                                                  $           41.00
Legendary Field Exhibitions, LLC   Rivas, Marc                 Address on file                           Unearned Revenue                                                                  $           20.00
Legendary Field Exhibitions, LLC   Rivera Services             Address on file                           Unearned Revenue                                                                  $          100.00

Legendary Field Exhibitions, LLC   Rivera, Casey               Address on file                           Unearned Revenue                                                                  $           40.00
Legendary Field Exhibitions, LLC   Rivera, Jim                 Address on file                           Unearned Revenue                                                                  $           70.00


Legendary Field Exhibitions, LLC   Rivera, Jose                Address on file                           Unearned Revenue                                                                  $          100.00

Legendary Field Exhibitions, LLC   Rivera, Marcus              Address on file                           Unearned Revenue                                                                  $           50.00


Legendary Field Exhibitions, LLC   Rivera, Osbaldo             Address on file                           Unearned Revenue                                                                  $           30.00

Legendary Field Exhibitions, LLC   Rivera, Ryan                Address on file                           Unearned Revenue                                                                  $           40.00

Legendary Field Exhibitions, LLC   Rivera, Yereida             Address on file                           Unearned Revenue                                                                  $          280.00

Legendary Field Exhibitions, LLC   Rivera, Zoe                 Address on file                           Unearned Revenue                                                                  $           60.00
Legendary Field Exhibitions, LLC   Rivera-Lawrence, Giovanni   Address on file                           Unearned Revenue                                                                  $           90.00

Legendary Field Exhibitions, LLC   Rivers, Vionnta             Address on file                           Unearned Revenue                                                                  $          165.00
Legendary Field Exhibitions, LLC   Rizvi, Shakir               Address on file                           Unearned Revenue                                                                  $           50.00

Legendary Field Exhibitions, LLC   Rizvi, Syed                 Address on file                           Unearned Revenue                                                                  $          220.00

Legendary Field Exhibitions, LLC   Roach, William              Address on file                           Unearned Revenue                                                                  $          400.00

Legendary Field Exhibitions, LLC   Roark, Kathy                Address on file                           Unearned Revenue                                                                  $           70.00
Legendary Field Exhibitions, LLC   Robb, Roger                 Address on file                           Unearned Revenue                                                                  $           70.00


Legendary Field Exhibitions, LLC   Robbins, Alyssa             Address on file                           Unearned Revenue                                                                  $          100.00

Legendary Field Exhibitions, LLC   Robbins, Dennis             Address on file                           Unearned Revenue                                                                  $          120.00

Legendary Field Exhibitions, LLC   Roberson Jr, James          Address on file                           Litigation                  x                x             x                               Unknown
                                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 201 of




Legendary Field Exhibitions, LLC   Roberson, David             Address on file                           Unearned Revenue                                                                  $           50.00




                                                                                                                                                  Page 150 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name                 Address           Last 4 Date Debt   Trade, Debt / Note          Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                            Digits of  was    Payable (Type of Claim)                                            subject to
                                                                                            Account Incurred,                                                                     offset?
                                                                                            Number Basis for
                                                                                                      Claim
Legendary Field Exhibitions, LLC   Roberson, John                     Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Robert Half                        2884 Sand Hill Rd #                       Trade                                                                         $       16,560.32
                                                                      200, Menlo Park,
                                                                      CA 94025
Legendary Field Exhibitions, LLC   Roberts, Elizabeth                 Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Roberts, Greyson                   Address on file                           Unearned Revenue                                                              $           35.00

Legendary Field Exhibitions, LLC   Roberts, Jack                      Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Roberts, Jennifer                  Address on file                           Unearned Revenue                                                              $          240.00

Legendary Field Exhibitions, LLC   Roberts, Joseph                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Roberts, Krista                    Address on file                           Unearned Revenue                                                              $          312.50
Legendary Field Exhibitions, LLC   Roberts, Metta                     Address on file                           Unearned Revenue                                                              $          500.00

Legendary Field Exhibitions, LLC   Roberts, William                   Address on file                           Unearned Revenue                                                              $          180.00

Legendary Field Exhibitions, LLC   Robertson and Associates, Inc. dba 4212 Robertson                            Trade                                                                         $       18,000.00
                                   Colonnade Group                    Road
                                                                      Birmingham AL
                                                                      35243
Legendary Field Exhibitions, LLC   Robertson, Clayton E.              Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Robertson, Margaret                Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Robey, Steven                      Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   Robillard, Dennis                  Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Robinson, Ben                      Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Robinson, Darrell                  Address on file                           Unearned Revenue                                                              $           56.00
Legendary Field Exhibitions, LLC   Robinson, Elfrieda                 Address on file                           Unearned Revenue                                                              $          100.00
                                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   Robinson, Frank                    Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Robinson, James                    Address on file                           Unearned Revenue                                                              $          180.00


Legendary Field Exhibitions, LLC   Robinson, Lindy                    Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Robinson, Logan                    Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Robinson, Sam                      Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Robinson, Steve                    Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Robinson, Wesley                   Address on file                           Unearned Revenue                                                              $          280.00


Legendary Field Exhibitions, LLC   Robledo, Mark                      Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Robledo, Ruben                     Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Robles, Esmeralda                  Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   robles, imer                       Address on file                           Unearned Revenue                                                              $           52.00
Legendary Field Exhibitions, LLC   Robles, Jennifer                   Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   robles, joel                       Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Robles, Lorenzo                    Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Robles, Rudy                       Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Roblez, Matthew                    Address on file                           Unearned Revenue                                                              $          200.00


Legendary Field Exhibitions, LLC   Rocha, Michael                     Address on file                           Trade                                                                         $        1,000.00

Legendary Field Exhibitions, LLC   ROCHE, ANTHONY                     Address on file                           Unearned Revenue                                                              $          243.00
Legendary Field Exhibitions, LLC   Rochlin, Matthew                   Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Rocho, Tyler                       Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Rockmore, Brianna                  Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Rockwell, Justin                   Address on file                           Unearned Revenue                                                              $          200.00
Legendary Field Exhibitions, LLC   Rod Woodson                        3304 Medallion Ct.                        Trade                                                                         $       80,000.00
                                                                      Pleasanton CA
                                                                      94588
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 202 of




                                                                                                                                                     Page 151 of 202
                                                                            In re Legendary Field Exhibitions, LLC
                                                                                            Case No.
                                                              Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                  Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                  Account Incurred,                                                                       offset?
                                                                                  Number Basis for
                                                                                            Claim
Legendary Field Exhibitions, LLC   Roda, Rick                 Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Rodes, Phillip             Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Rodgers, Colter            Address on file                           Unearned Revenue                                                              $           20.50

Legendary Field Exhibitions, LLC   Rodgers, Dominic           Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Rodgers, Keith             Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Rodriguez, Adolph          Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Rodriguez, Alex            Address on file                           Unearned Revenue                                                              $           81.00
Legendary Field Exhibitions, LLC   Rodriguez, Alfred          Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Rodriguez, Betty           Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Rodriguez, Christopher     Address on file                           Unearned Revenue                                                              $          315.00



Legendary Field Exhibitions, LLC   Rodriguez, David           Address on file                           Unearned Revenue                                                              $          170.00

Legendary Field Exhibitions, LLC   Rodriguez, Eloy            Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Rodriguez, Eloy            Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Rodriguez, Emmanuel        Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Rodriguez, Frank           Address on file                           Unearned Revenue                                                              $           44.00

Legendary Field Exhibitions, LLC   Rodriguez, Freddie         Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Rodriguez, Gabriel         Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   rodriguez, gerardo         Address on file                           Unearned Revenue                                                              $          225.00
Legendary Field Exhibitions, LLC   Rodriguez, Gilbert         Address on file                           Unearned Revenue                                                              $          111.00
Legendary Field Exhibitions, LLC   Rodriguez, Jaime           Address on file                           Unearned Revenue                                                              $          250.00
                                                                                                                                                                                                                                                  269




Legendary Field Exhibitions, LLC   Rodriguez, Jill            Address on file                           Unearned Revenue                                                              $           91.50

Legendary Field Exhibitions, LLC   Rodriguez, Jimmy           Address on file                           Unearned Revenue                                                              $           61.00
Legendary Field Exhibitions, LLC   Rodriguez, Joey            Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Rodriguez, John            Address on file                           Unearned Revenue                                                              $           95.00


Legendary Field Exhibitions, LLC   Rodriguez, Jonathan        Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Rodriguez, Jorge           Address on file                           Unearned Revenue                                                              $          210.00

Legendary Field Exhibitions, LLC   Rodriguez, Josh            Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Rodriguez, Joshua          Address on file                           Unearned Revenue                                                              $          228.00

Legendary Field Exhibitions, LLC   Rodriguez, juan            Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Rodriguez, Laura           Address on file                           Unearned Revenue                                                              $           55.50
Legendary Field Exhibitions, LLC   Rodriguez, Lynda           Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Rodriguez, Marcos          Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Rodriguez, Mario           Address on file                           Unearned Revenue                                                              $          120.00


Legendary Field Exhibitions, LLC   Rodriguez, Mark            Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Rodriguez, Michael         Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Rodriguez, Mitzi           Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Rodriguez, Oscar           Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Rodriguez, Peggy           Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Rodriguez, Rafael          Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   rodriguez, raymond         Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Rodriguez, Reannon         Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Rodriguez, Rigo            Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Rodriguez, Robert          Address on file                           Unearned Revenue                                                              $           35.00
                                                                                                                                                                                                          19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 203 of




                                                                                                                                             Page 152 of 202
                                                                            In re Legendary Field Exhibitions, LLC
                                                                                            Case No.
                                                              Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                  Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                  Account Incurred,                                                                       offset?
                                                                                  Number Basis for
                                                                                            Claim
Legendary Field Exhibitions, LLC   Rodriguez, Rodney          Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Rodriguez, Santiago        Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Rodriguez, Santos          Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Rodriguez, Sara            Address on file                           Unearned Revenue                                                              $           91.50

Legendary Field Exhibitions, LLC   Rodriguez-Soto, Jose       Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Roe, Jennifer              Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Roepke, Eric               Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Rogers, Amy                Address on file                           Unearned Revenue                                                              $           22.00
Legendary Field Exhibitions, LLC   Rogers, Bob                Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Rogers, Brandon            Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Rogers, Herbert            Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Rogers, Jennifer           Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Rogers, Keenan             Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   rogers, kevin              Address on file                           Unearned Revenue                                                              $           75.00
Legendary Field Exhibitions, LLC   Rogers, Yvan               Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Rogiers, Michael           Address on file                           Unearned Revenue                                                              $          275.00

Legendary Field Exhibitions, LLC   Rogitz, William            Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Rogstad, John              Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Rogus, Gavin               Address on file                           Unearned Revenue                                                              $          150.00


Legendary Field Exhibitions, LLC   Roiz, Adrian               Address on file                           Unearned Revenue                                                              $           61.50
Legendary Field Exhibitions, LLC   Rojas, Patrick             Address on file                           Unearned Revenue                                                              $          198.00
                                                                                                                                                                                                                                                  269




Legendary Field Exhibitions, LLC   Roji, Andres               Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Roland, Terry              Address on file                           Unearned Revenue                                                              $          123.52
Legendary Field Exhibitions, LLC   Rolirad, Karen             Address on file                           Unearned Revenue                                                              $          316.00

Legendary Field Exhibitions, LLC   Rollings, Scott            Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Rollins, Alisa             Address on file                           Unearned Revenue                                                              $          112.00

Legendary Field Exhibitions, LLC   Roman, Hector              Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Roman, Mickey              Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Romando, Robert            Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Romanelli, Kean            Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   Romano, Caterina           Address on file                           Unearned Revenue                                                              $          200.00


Legendary Field Exhibitions, LLC   Romasanta, Eric            Address on file                           Unearned Revenue                                                              $           40.50
Legendary Field Exhibitions, LLC   Romero, Brendon            Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Romero, Daniela            Address on file                           Unearned Revenue                                                              $           55.50
Legendary Field Exhibitions, LLC   Romero, Jason              Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Romero, John               Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Romero, Jonathan           Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Romero, Victor             Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Romo, Mario                Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Romo, Rudy                 Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   ROND, ROBIN                Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Ronquillo, Matthew         Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Roper, Christopher         Address on file                           Unearned Revenue                                                              $          100.00
                                                                                                                                                                                                          19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 204 of




                                                                                                                                             Page 153 of 202
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                                    Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name            Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                        Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                        Account Incurred,                                                                       offset?
                                                                                        Number Basis for
                                                                                                  Claim
Legendary Field Exhibitions, LLC   Rosado, Julian                   Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Rosales, Alex                    Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Rosales, Sergio                  Address on file                           Unearned Revenue                                                              $          122.00
Legendary Field Exhibitions, LLC   Rosas, Alex                      Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Rosas, Antonio                   Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Rose, Allison                    Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Rosemann, Larry                  Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Rosemary’s catering              Address on file                           Unearned Revenue                                                              $          800.00

Legendary Field Exhibitions, LLC   Rosenberg, Harvey                Address on file                           Unearned Revenue                                                              $          533.00

Legendary Field Exhibitions, LLC   Rosenberg, Leigh                 Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Rosenberg, Louis                 Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Rosenbloom, Jeffrey              Address on file                           Unearned Revenue                                                              $          800.00

Legendary Field Exhibitions, LLC   Rosenfeld, Denny                 Address on file                           Unearned Revenue                                                              $            0.02
Legendary Field Exhibitions, LLC   Rosenfield, Lyle                 Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Rosengren, Andrew                Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   ROSENTHAL, BERNARD               Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Rosenthal, Cary                  Address on file                           Unearned Revenue                                                              $          260.00

Legendary Field Exhibitions, LLC   Rosignal , Richard               Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Rositas, Mario                   Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Ross, Carl                       Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Ross, Claude                     Address on file                           Unearned Revenue                                                              $           30.00
                                                                                                                                                                                                                                                        269




Legendary Field Exhibitions, LLC   Ross, Jeff                       Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Ross, Matthew                    Address on file                           Unearned Revenue                                                              $          316.00

Legendary Field Exhibitions, LLC   ross, rashad                     Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Ross, Thaine                     Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Ross-Few, Brenda                 Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Rossi, Jonathan                  Address on file                           Unearned Revenue                                                              $           45.00


Legendary Field Exhibitions, LLC   Roth, Meghan                     Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Roulhac, Monya                   Address on file                           Unearned Revenue                                                              $           10.00


Legendary Field Exhibitions, LLC   Rountree, Brandon                Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Rountree, Cynthia                Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Rountree, John                   Address on file                           Unearned Revenue                                                              $          123.53

Legendary Field Exhibitions, LLC   Roupe, Addie                     Address on file                           Unearned Revenue                                                              $          390.00


Legendary Field Exhibitions, LLC   Rousseau, Rona                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Rowe, Brian                      Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Rowe, Craig                      Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Rowell, Jermaine                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Rowley, Ronaele                  Address on file                           Unearned Revenue                                                              $        1,600.00

Legendary Field Exhibitions, LLC   Roy, Martin                      Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Royal Restrooms Mountain West,   Address on file                           Trade                                                                         $       17,724.50
                                   LLC
Legendary Field Exhibitions, LLC   Royal, Annette                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Royal, Byron                     Address on file                           Unearned Revenue                                                              $          148.00
                                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 205 of




                                                                                                                                                   Page 154 of 202
                                                                                   In re Legendary Field Exhibitions, LLC
                                                                                                   Case No.
                                                                     Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                         Creditor Name              Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                         Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                         Account Incurred,                                                                       offset?
                                                                                         Number Basis for
                                                                                                   Claim
Legendary Field Exhibitions, LLC   Royall, Gary                     Address on file                            Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Royse, Robert                    Address on file                            Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Rozell, Karl                     Address on file                            Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Rua, Marcella                    Address on file                            Unearned Revenue                                                              $           80.00
Legendary Field Exhibitions, LLC   Rubin, Irwin                     Address on file                            Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   RUBIN, MARK                      Address on file                            Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Rubio, Orlando                   Address on file                            Unearned Revenue                                                              $           10.00


Legendary Field Exhibitions, LLC   Rudeseal, Tamonia                Address on file                            Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Rudolph, James                   Address on file                            Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Rueda, Rudy                      Address on file                            Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Ruehs, Steve                     Address on file                            Unearned Revenue                                                              $           32.00
Legendary Field Exhibitions, LLC   Ruff, Robert                     Address on file                            Unearned Revenue                                                              $           90.00



Legendary Field Exhibitions, LLC   Ruff, Tim                        Address on file                            Unearned Revenue                                                              $          130.00

Legendary Field Exhibitions, LLC   RUFRANO, SUZANNE                 Address on file                            Unearned Revenue                                                              $          168.00

Legendary Field Exhibitions, LLC   Ruggiero, Joseph                 Address on file                            Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Ruhl, Steve                      Address on file                            Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Ruhle, Cody                      Address on file                            Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Ruiz, Antonio                    Address on file                            Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Ruiz, Daniel                     Address on file                            Unearned Revenue                                                              $          887.00
                                                                                                                                                                                                                                                         269




Legendary Field Exhibitions, LLC   Ruiz, David                      Address on file                            Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Ruiz, Joseph                     Address on file                            Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Ruiz, Roger                      Address on file                            Unearned Revenue                                                              $          125.00


Legendary Field Exhibitions, LLC   Ruiz, Vidal                      Address on file                            Unearned Revenue                                                              $          175.00


Legendary Field Exhibitions, LLC   Runco, Victor                    Address on file                            Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Rural Metro of San Diego Inc. DBA P.O. Box 31001-                           Trade                                                                         $        7,000.00
                                   American Medical Response (AMR) 1584
                                                                     Pasadena CA
                                                                     91110
Legendary Field Exhibitions, LLC   Rusek, Seth                       Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   Rushing, Benjamin                Address on file                            Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Russell, Buddy                   Address on file                            Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Russell, David                   Address on file                            Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Russell, John                    Address on file                            Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Russell, Michael                 Address on file                            Unearned Revenue                                                              $          300.00


Legendary Field Exhibitions, LLC   Russell, Mike                    Address on file                            Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Rust, Steve                      Address on file                            Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Rutberg, Gerald                  Address on file                            Unearned Revenue                                                              $           70.00
Legendary Field Exhibitions, LLC   Ruthardt, Paul                   Address on file                            Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Rutkowski, Bob                   Address on file                            Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Rutkowski, Paul                  Address on file                            Unearned Revenue                                                              $          740.00
Legendary Field Exhibitions, LLC   Rutledge, Amber                  Address on file                            Unearned Revenue                                                              $          210.00

Legendary Field Exhibitions, LLC   Rutz, Cameron                    Address on file                            Unearned Revenue                                                              $           60.00
                                                                                                                                                                                                                 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 206 of




                                                                                                                                                    Page 155 of 202
                                                                                      In re Legendary Field Exhibitions, LLC
                                                                                                      Case No.
                                                                        Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name                Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                            Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                            Account Incurred,                                                                       offset?
                                                                                            Number Basis for
                                                                                                      Claim
Legendary Field Exhibitions, LLC   Ruyak, Frank                         Address on file                           Unearned Revenue                                                              $          500.00

Legendary Field Exhibitions, LLC   Ryals, Cassandra                     Address on file                           Unearned Revenue                                                              $          182.00
Legendary Field Exhibitions, LLC   Ryan Murphy                          9613 Armstrong                            Trade                                                                         $          205.00
                                                                        Drive
                                                                        oakland CA 94603
Legendary Field Exhibitions, LLC   Ryan, Brendan                        Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Ryan, Ken                            Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Rybczynski, Marc                     Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Ryder, Scott                         Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Ryznar, Grant                        Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   S O S Global Express                 PO 12307                                  Trade                                                                         $       21,048.88
                                                                        New Bern NC
                                                                        28561
Legendary Field Exhibitions, LLC   S2 Global Inc.                       Chicago Lockbox,                          Trade                                                                         $       18,778.27
                                                                        16373 Collections
                                                                        Center Dr
                                                                        Chicago IL 60693
Legendary Field Exhibitions, LLC   Saavedra, Andres                     Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Sabatowski, Richard                  Address on file                           Unearned Revenue                                                              $          125.00

Legendary Field Exhibitions, LLC   Sabedra, Joe                         Address on file                           Unearned Revenue                                                              $          150.00
Legendary Field Exhibitions, LLC   Sablan, Trevor                       Address on file                           Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Sacco, Michael                       Address on file                           Unearned Revenue                                                              $           44.00

Legendary Field Exhibitions, LLC   Sade, James                          Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Sadler, Charles                      Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Sadlo, Liz                           Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Saenz, Pedro                         Address on file                           Unearned Revenue                                                              $           70.00
                                                                                                                                                                                                                                                            269




Legendary Field Exhibitions, LLC   Saenz, Sandra                        Address on file                           Unearned Revenue                                                              $           91.50
Legendary Field Exhibitions, LLC   Safari Jeffries dba Jeffries Media   6818 Panda Drive                          Trade                                                                         $          152.25
                                   Enterprises LLC                      SW
                                                                        Unit B
                                                                        Austell GA 30168
Legendary Field Exhibitions, LLC   SAFC Management                      Address on file                           Trade                                                                         $       97,414.53

Legendary Field Exhibitions, LLC   Safety Services, Inc. dba U.S.       5525 Blanco Rd.                           Trade                                                                         $        4,833.50
                                   Safety Services                      Suite 124
                                                                        San Antonio TX
                                                                        78216
Legendary Field Exhibitions, LLC   sage, wendy                          Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   saggio, jason                        Address on file                           Unearned Revenue                                                              $           58.00
Legendary Field Exhibitions, LLC   Sagredo, Christine                   Address on file                           Unearned Revenue                                                              $           70.00
Legendary Field Exhibitions, LLC   Sahr, Doug                           Address on file                           Unearned Revenue                                                              $           44.00
Legendary Field Exhibitions, LLC   Saiz, Helen                          Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Saiza, Michele                       Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Salais, Javier                       Address on file                           Unearned Revenue                                                              $           70.00
Legendary Field Exhibitions, LLC   Salamon, Joel                        Address on file                           Unearned Revenue                                                              $          280.00

Legendary Field Exhibitions, LLC   Salas, Daniel                        Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Salas, Jaime                         Address on file                           Unearned Revenue                                                              $          230.00

Legendary Field Exhibitions, LLC   Salas, ricardo                       Address on file                           Unearned Revenue                                                              $          150.00
Legendary Field Exhibitions, LLC   Salas, Sylvia                        Address on file                           Unearned Revenue                                                              $           75.00



Legendary Field Exhibitions, LLC   Salazar, Alan                        Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Salazar, Armando                     Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Salazar, Danette                     Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Salazar, David                       Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Salazar, Dominick                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Salazar, Estella                     Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Salazar, Javier                      Address on file                           Unearned Revenue                                                              $           55.50
                                                                                                                                                                                                                    19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 207 of




                                                                                                                                                       Page 156 of 202
                                                                                     In re Legendary Field Exhibitions, LLC
                                                                                                     Case No.
                                                                       Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name                  Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                           Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                           Account Incurred,                                                                       offset?
                                                                                           Number Basis for
                                                                                                     Claim
Legendary Field Exhibitions, LLC   Salazar, Jesse                     Address on file                            Unearned Revenue                                                              $           35.00
Legendary Field Exhibitions, LLC   SALAZAR, OSCAR                     Address on file                            Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Salcido Rojero, Cesar              Address on file                            Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Saldana, Eduardo                   Address on file                            Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Saldana, Mark                      Address on file                            Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Sale, Almira                       Address on file                            Unearned Revenue                                                              $           70.00



Legendary Field Exhibitions, LLC   Saleh, Amir                        Address on file                            Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Salerno, Christina                 Address on file                            Unearned Revenue                                                              $            0.02

Legendary Field Exhibitions, LLC   Sales Lane LLC                     Address on file                            Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Salesforce                         P.O Box 203141                             Trade                                                                         $       52,416.00
                                                                      Dallas TX 75320-
                                                                      3141
Legendary Field Exhibitions, LLC   Salinas, Carlos                    Address on file                            Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Salinas, gio                       Address on file                            Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Salinas, Jay                       Address on file                            Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Salinas, Karina                    Address on file                            Unearned Revenue                                                              $           20.00


Legendary Field Exhibitions, LLC   Salinas, Martin                    Address on file                            Unearned Revenue                                                              $          150.00
Legendary Field Exhibitions, LLC   Salinas, Steve                     Address on file                            Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Salmon, Jeff                       Address on file                            Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Salof, Donna                       Address on file                            Unearned Revenue                                                              $          500.00

Legendary Field Exhibitions, LLC   SALSBURY INDUSTRIES                1010 East 62nd                             Trade                                                                         $       19,662.50
                                                                      Street
                                                                                                                                                                                                                                                           269




                                                                      Los Angeles CA
                                                                      90001
Legendary Field Exhibitions, LLC   Salser, Floyd Stan                 Address on file                            Unearned Revenue                                                              $        1,400.00

Legendary Field Exhibitions, LLC   Salt Lake City Weekly              248 S. Main St.                            Trade                                                                         $        2,020.00
                                                                      Salt Lake City UT
                                                                      84101
Legendary Field Exhibitions, LLC   Salus Labs, Inc (dba Triplebyte)   301 Howard St.                             Trade                                                                         $       78,000.00
                                                                      Suite 550
                                                                      San Francisco CA
                                                                      94104
Legendary Field Exhibitions, LLC   Salvador, Sarah                    Address on file                            Unearned Revenue                                                              $          750.00
Legendary Field Exhibitions, LLC   Salvage, Paul                      Address on file                            Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Samarzich, Simon                   Address on file                            Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Sambor, John                       Address on file                            Unearned Revenue                                                              $          660.00

Legendary Field Exhibitions, LLC   Sampedro, Marco                    Address on file                            Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Sample, Jerry                      Address on file                            Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Samples, Jon                       Address on file                            Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Sams, Tim                          Address on file                            Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   San Antonio Bowl Association dba   100 Montana St.                            Trade                                                                         $        5,750.00
                                   Valero Alamo Bowl                  Suite 3D01
                                                                      San Antonio CA
                                                                      78203
Legendary Field Exhibitions, LLC   San Antonio Business Journal dba   PO Box 844855                              Trade                                                                         $        7,491.00
                                   American City Business Journals,   Dallas TX 75284
                                   Inc
Legendary Field Exhibitions, LLC   San Antonio Chamber of Commerce Address on file                               Unearned Revenue                                                              $          800.00

Legendary Field Exhibitions, LLC   San Antonio River Walk Association Address on file                            Trade                                                                         $          300.00

Legendary Field Exhibitions, LLC   San Antonio Sports                 PO Box 830386                              Trade                                                                         $       22,500.00
                                                                      San Antonio TX
                                                                      78283-0386
Legendary Field Exhibitions, LLC   San Diego Realty Gals              Address on file                            Unearned Revenue                                                              $          100.00
                                                                                                                                                                                                                   19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 208 of




                                                                                                                                                      Page 157 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name                 Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                          Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                          Account Incurred,                                                                       offset?
                                                                                          Number Basis for
                                                                                                    Claim
Legendary Field Exhibitions, LLC   San Diego Regional Chamber         402 W. Broadway,                          Trade                                                                         $        4,500.00
                                                                      Suite 1000
                                                                      San Diego CA
                                                                      92101
Legendary Field Exhibitions, LLC   San Diego Sportservice, Inc. dba   9449 Friars Road,                         Trade                                                                         $      120,935.91
                                   Delaware North                     San Diego CA
                                                                      92108
Legendary Field Exhibitions, LLC   San Roman, Luis                    Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Sanborn, Jake                      Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Sanchez, Agustin                   Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Sanchez, Albert                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Sanchez, Christopher               Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Sanchez, Dale                      Address on file                           Unearned Revenue                                                              $           90.00


Legendary Field Exhibitions, LLC   Sanchez, Dominic                   Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Sanchez, Elizabeth                 Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Sanchez, Felipe                    Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Sanchez, Fernando                  Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Sanchez, Isreal                    Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Sanchez, Jacob                     Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Sanchez, Jesse                     Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Sanchez, Jose                      Address on file                           Unearned Revenue                                                              $           45.00
                                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   Sanchez, Joshua                    Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Sanchez, Julia                     Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   sanchez, leonor                    Address on file                           Unearned Revenue                                                              $          324.00

Legendary Field Exhibitions, LLC   Sanchez, Lori                      Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Sanchez, Raul                      Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Sanchez, Robert                    Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Sanchez, Robert F.                 Address on file                           Unearned Revenue                                                              $           90.00
Legendary Field Exhibitions, LLC   Sanchez, Robert N.                 Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Sanchez, Roger                     Address on file                           Unearned Revenue                                                              $          125.00

Legendary Field Exhibitions, LLC   Sanchez, Samuel                    Address on file                           Unearned Revenue                                                              $           10.00

Legendary Field Exhibitions, LLC   sanchez, vanessa                   Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Sanchez, Wilfredo                  Address on file                           Unearned Revenue                                                              $          140.00
Legendary Field Exhibitions, LLC   Sanders, Bob                       Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Sanders, Derek                     Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Sanders, Jerry                     Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Sanders, Morgan                    Address on file                           Unearned Revenue                                                              $          168.00

Legendary Field Exhibitions, LLC   Sanders, Robert                    Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Sanders, Ron                       Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Sanders, Sheila                    Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Sanders, Steven                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Sandler, Mike                      Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Sandoval, Daniel                   Address on file                           Unearned Revenue                                                              $           15.00
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 209 of




                                                                                                                                                     Page 158 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name                Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                          Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                          Account Incurred,                                                                       offset?
                                                                                          Number Basis for
                                                                                                    Claim
Legendary Field Exhibitions, LLC   Sandoval, Dick                     Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Sandoval, Edward                   Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Sandoval, Gabriel                  Address on file                           Unearned Revenue                                                              $          224.00

Legendary Field Exhibitions, LLC   Sandoval, Irma                     Address on file                           Unearned Revenue                                                              $           81.00
Legendary Field Exhibitions, LLC   Sandoval, Joe                      Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Sandoval, Johanna                  Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Sanicolas, Maria                   Address on file                           Unearned Revenue                                                              $           75.00
Legendary Field Exhibitions, LLC   Sannipoli, Anthony                 Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Santa Cruz, Martin                 Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Santana, Allejandro                Address on file                           Unearned Revenue                                                              $          105.00

Legendary Field Exhibitions, LLC   Santiago, Carlos                   Address on file                           Unearned Revenue                                                              $          225.00

Legendary Field Exhibitions, LLC   Santiago, Heriberto                Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Santiago, Shawn                    Address on file                           Unearned Revenue                                                              $          112.00


Legendary Field Exhibitions, LLC   Santillan, Jaime                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Santilli, Rick                     Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Santos, Allen                      Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Santos, Charles                    Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Santos, Joseph                     Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   santos, Josue                      Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Santos, Pete                       Address on file                           Unearned Revenue                                                              $           90.00
Legendary Field Exhibitions, LLC   Santoyo, Paul                      Address on file                           Unearned Revenue                                                              $          320.00
                                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   Sapp, Debbie                       Address on file                           Unearned Revenue                                                              $           44.00
Legendary Field Exhibitions, LLC   Sarabasa, Alberto                  Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Sarac, Yigit                       Address on file                           Unearned Revenue                                                              $           44.00
Legendary Field Exhibitions, LLC   Saracho, Donna and Joe             Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Sardeson, Stuart                   Address on file                           Unearned Revenue                                                              $          132.00

Legendary Field Exhibitions, LLC   Sargent, Nicole                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Sarmiento, Enrique                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Sartell Tyner, Kindel              Address on file                           Unearned Revenue                                                              $          105.00

Legendary Field Exhibitions, LLC   Satterfield, Tyler                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Satumbaga, Kathleen                Address on file                           Unearned Revenue                                                              $           61.00
Legendary Field Exhibitions, LLC   Sauceda, Joe                       Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Saucedo, Richard                   Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Sauerborn, Michael                 Address on file                           Unearned Revenue                                                              $          275.00

Legendary Field Exhibitions, LLC   Saul, Sean                         Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Sauls, Meredith                    Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Sauri, Adriel                      Address on file                           Unearned Revenue                                                              $           22.00

Legendary Field Exhibitions, LLC   sautter, william                   Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Savarino, Diego                    Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Savela, Jeffrey                    Address on file                           Unearned Revenue                                                              $          400.00

Legendary Field Exhibitions, LLC   Savignac, James                    Address on file                           Unearned Revenue                                                              $          600.00

Legendary Field Exhibitions, LLC   Savoie, Peter                      Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Sawn, Kavita                       Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Sawyer, Kendra                     Address on file                           Unearned Revenue                                                              $            0.02
Legendary Field Exhibitions, LLC   SBR Technologies Vision Graphics   2525 South 900                            Trade                                                                         $       16,360.25
                                                                      West
                                                                      Salt Lake City UT
                                                                      84119
Legendary Field Exhibitions, LLC   Scalafani, scott                   Address on file                           Unearned Revenue                                                              $           40.00
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 210 of




                                                                                                                                                     Page 159 of 202
                                                                                   In re Legendary Field Exhibitions, LLC
                                                                                                   Case No.
                                                                     Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name                Address         Last 4 Date Debt   Trade, Debt / Note                Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                         Digits of  was    Payable (Type of Claim)                                                  subject to
                                                                                         Account Incurred,                                                                           offset?
                                                                                         Number Basis for
                                                                                                   Claim
Legendary Field Exhibitions, LLC   Scales, Tony                      Address on file                           Unearned Revenue                                                                  $          120.00

Legendary Field Exhibitions, LLC   Scaliatine, David                 Address on file                           Unearned Revenue                                                                  $           61.00
Legendary Field Exhibitions, LLC   Scarborough, Lisa                 Address on file                           Unearned Revenue                                                                  $          150.00
Legendary Field Exhibitions, LLC   Scarbrough, Michael               Address on file                           Unearned Revenue                                                                  $           80.00

Legendary Field Exhibitions, LLC   Scarpinato, Vince                 Address on file                           Unearned Revenue                                                                  $           20.00
Legendary Field Exhibitions, LLC   Scenic Property Management, LLC   Address on file                           Trade                                                                             $        7,115.26

Legendary Field Exhibitions, LLC   Scentsy                           Address on file                           Unearned Revenue                                                                  $           30.00

Legendary Field Exhibitions, LLC   Schaab, Ronald                    Address on file                           Unearned Revenue                                                                  $           80.00


Legendary Field Exhibitions, LLC   Schaaf, Kevin                     Address on file                           Unearned Revenue                                                                  $           30.00


Legendary Field Exhibitions, LLC   Schade, Michelle                  Address on file                           Unearned Revenue                                                                  $           30.00


Legendary Field Exhibitions, LLC   Schaefer, Kevin                   Address on file                           Unearned Revenue                                                                  $          580.00

Legendary Field Exhibitions, LLC   Schaeffer, Kim                    Address on file                           Unearned Revenue                                                                  $          100.00


Legendary Field Exhibitions, LLC   Schalin, Andrew                   Address on file                           Unearned Revenue                                                                  $          100.00

Legendary Field Exhibitions, LLC   Scharfenberg, Leroy               Address on file                           Unearned Revenue                                                                  $          280.00

Legendary Field Exhibitions, LLC   Schaub, Mike                      Address on file                           Unearned Revenue                                                                  $           15.00

Legendary Field Exhibitions, LLC   Schaub, Patrick                   Address on file                           Unearned Revenue                                                                  $           10.00
Legendary Field Exhibitions, LLC   Scheel, Carla                     Address on file                           Unearned Revenue                                                                  $           20.00

Legendary Field Exhibitions, LLC   Schemmel, John                    Address on file                           Unearned Revenue                                                                  $          170.00

Legendary Field Exhibitions, LLC   Schiano, David                    Address on file                           Unearned Revenue                                                                  $           30.00
                                                                                                                                                                                                                                                             269




Legendary Field Exhibitions, LLC   Schilawski, Kelly                 Address on file                           Unearned Revenue                                                                  $           15.00

Legendary Field Exhibitions, LLC   Schimke, Jennifer                 Address on file                           Unearned Revenue                                                                  $           60.00
Legendary Field Exhibitions, LLC   Schimmel, Paul                    Address on file                           Unearned Revenue                                                                  $           60.00

Legendary Field Exhibitions, LLC   Schirripa, Ryan                   Address on file                           Unearned Revenue                                                                  $           45.00

Legendary Field Exhibitions, LLC   Schlein, Amanda                   Address on file                           Unearned Revenue                                                                  $        1,192.00


Legendary Field Exhibitions, LLC   Schlotter, Bob                    Address on file                           Unearned Revenue                                                                  $          100.00

Legendary Field Exhibitions, LLC   Schmelzer, Joseph                 Address on file                           Unearned Revenue                                                                  $           30.00

Legendary Field Exhibitions, LLC   Schmidt, Brian                    Address on file                           Unearned Revenue                                                                  $           60.00

Legendary Field Exhibitions, LLC   Schmidt, Colton A.                Address on file                           Litigation                  x                x             x                               Unknown

Legendary Field Exhibitions, LLC   Schmidt, Dean and Kassie          Address on file                           Unearned Revenue                                                                  $           30.00


Legendary Field Exhibitions, LLC   Schmidt, Gregg                    Address on file                           Unearned Revenue                                                                  $          220.00

Legendary Field Exhibitions, LLC   Schmidt, Jeffrey                  Address on file                           Unearned Revenue                                                                  $          300.00


Legendary Field Exhibitions, LLC   Schmidt, Mariel                   Address on file                           Unearned Revenue                                                                  $           60.00
Legendary Field Exhibitions, LLC   Schmidt, Mike                     Address on file                           Unearned Revenue                                                                  $           60.00

Legendary Field Exhibitions, LLC   Schmidt, Ray                      Address on file                           Unearned Revenue                                                                  $           30.00

Legendary Field Exhibitions, LLC   Schmitte, Derrick                 Address on file                           Unearned Revenue                                                                  $          200.00

Legendary Field Exhibitions, LLC   Schmueckle, Henry                 Address on file                           Unearned Revenue                                                                  $          210.00

Legendary Field Exhibitions, LLC   Schneider, Kathleen               Address on file                           Unearned Revenue                                                                  $          605.00

Legendary Field Exhibitions, LLC   Schneiderman, Harris              Address on file                           Unearned Revenue                                                                  $           30.00


Legendary Field Exhibitions, LLC   School of Health Corp.            6764 Eagle Way                            Trade                                                                             $       48,201.68
                                                                     Chicago IL 60678-
                                                                     1067
                                                                                                                                                                                                                     19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 211 of




                                                                                                                                                        Page 160 of 202
                                                                               In re Legendary Field Exhibitions, LLC
                                                                                               Case No.
                                                                 Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                           Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                     Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                     Account Incurred,                                                                       offset?
                                                                                     Number Basis for
                                                                                               Claim
Legendary Field Exhibitions, LLC   Schopmeyer, Greg              Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Schorn, Andrew                Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Schrader-Bidwell, Patrick     Address on file                           Unearned Revenue                                                              $           15.00


Legendary Field Exhibitions, LLC   Schrimsher, Joe               Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Schroeder, Timothy            Address on file                           Unearned Revenue                                                              $           55.00

Legendary Field Exhibitions, LLC   Schuchardt, Christopher       Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Schulte and Schulte, LLC      Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   Schulte, Tonya                Address on file                           Unearned Revenue                                                              $          105.00

Legendary Field Exhibitions, LLC   Schultz, Alex                 Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Schultz, David                Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Schultz, Harrison             Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Schultz, Heidi                2011 McCormick                            Trade                                                                         $        1,536.61
                                                                 Dr,
                                                                 Saline, MI 48176
Legendary Field Exhibitions, LLC   Schultz, Michael              Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Schulz, Sean                  Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Schulze, April                Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Schupp, Matthew               Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Schwartz, Gregory             Address on file                           Unearned Revenue                                                              $          100.00
                                                                                                                                                                                                                                                     269




Legendary Field Exhibitions, LLC   Schwenner, Robert             Address on file                           Unearned Revenue                                                              $          350.00

Legendary Field Exhibitions, LLC   Sciuto, Joseph                Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Score Atlanta                 9755 Dogwood Rd.                          Trade                                                                         $          225.00
                                                                 Suite 101
                                                                 Roswell GA 30075-
                                                                 4663
Legendary Field Exhibitions, LLC   Scornavacco, Jake             Address on file                           Unearned Revenue                                                              $           15.00


Legendary Field Exhibitions, LLC   Scott, Andrea                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Scott, Clint                  Address on file                           Unearned Revenue                                                              $        2,120.00

Legendary Field Exhibitions, LLC   Scott, Craig                  Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Scott, Earl                   Address on file                           Unearned Revenue                                                              $          600.00

Legendary Field Exhibitions, LLC   Scott, Heather                Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Scott, Jasmine                Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   Scott, Jeff                   Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Scott, John                   Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Scott, LaQuinta               Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Scott, Latrell                Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Scott, Melissa                Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Scott, TaBetha                Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Scribner, Christina           Address on file                           Unearned Revenue                                                              $          122.00
Legendary Field Exhibitions, LLC   SD Design, LLC                8820 Kenamar Dr.                          Trade                                                                         $        5,012.52
                                                                 #503
                                                                 San Diego CA
                                                                 92121
Legendary Field Exhibitions, LLC   Seabolt, Erik                 Address on file                           Unearned Revenue                                                              $           35.00

Legendary Field Exhibitions, LLC   Sealane Marketing Inc.        Address on file                           Unearned Revenue                                                              $        2,800.00
                                                                                                                                                                                                             19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 212 of




                                                                                                                                                Page 161 of 202
                                                                                        In re Legendary Field Exhibitions, LLC
                                                                                                        Case No.
                                                                          Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name                    Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                              Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                              Account Incurred,                                                                       offset?
                                                                                              Number Basis for
                                                                                                        Claim
Legendary Field Exhibitions, LLC   Seaquist, Joseph                       Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Searles, Kevin                         Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Seay, Tara                             Address on file                           Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   Sebern, Carl                           Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Security Industry Specialists Inc. -   6071 Bristol                              Trade                                                                         $      488,179.35
                                   SIS                                    Parkway
                                                                          Culver City CA
                                                                          90230
Legendary Field Exhibitions, LLC   Seemann, Eric                          Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Segelke, Greg                          Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Segerstrom, John                       Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Segovia, Bobby                         Address on file                           Unearned Revenue                                                              $          305.00
Legendary Field Exhibitions, LLC   Segura, Jack                           Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Sekula, Chase                          Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Sekula, Mark                           Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Selden, Rodney                         Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Seligman, Robert                       Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Sellare, Gian                          Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Sellars, Robin                         Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Sellers, Marico                        Address on file                           Unearned Revenue                                                              $           25.00

Legendary Field Exhibitions, LLC   Sellers, Nathan                        Address on file                           Unearned Revenue                                                              $           81.00
Legendary Field Exhibitions, LLC   Sellers, Shawn                         Address on file                           Unearned Revenue                                                              $           35.00

Legendary Field Exhibitions, LLC   Selthofner, Christopher                Address on file                           Unearned Revenue                                                              $            0.02
                                                                                                                                                                                                                                                              269




Legendary Field Exhibitions, LLC   Selva, Martin                          Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Semas, Joe                             Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Semlinger, Jeremy                      Address on file                           Unearned Revenue                                                              $          125.00

Legendary Field Exhibitions, LLC   SEMMEL, DAVID                          Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Sena, Joseph                           Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Sendlak, Karina                        Address on file                           Unearned Revenue                                                              $          105.00
Legendary Field Exhibitions, LLC   Sepulveda, Diego                       Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Sepulveda, Gina                        Address on file                           Unearned Revenue                                                              $           40.50
Legendary Field Exhibitions, LLC   Serda, Tonya                           Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Serene reef                            Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Serna, Dolores                         Address on file                           Unearned Revenue                                                              $          122.00
Legendary Field Exhibitions, LLC   Serna, Michael                         Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Serpa, Ron                             Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Serrano, Dave                          Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Serrano, Lupe                          Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Serrano, Michael                       Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Serrato, Rick                          Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Servin, Leopold                        Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Setser, Michael                        Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Settle, Charles                        Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Settlecowski, Patrick                  Address on file                           Unearned Revenue                                                              $           70.00
Legendary Field Exhibitions, LLC   Seuferer, Brett                        Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Severson, Daniel                       Address on file                           Unearned Revenue                                                              $           40.00
                                                                                                                                                                                                                      19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 213 of




                                                                                                                                                         Page 162 of 202
                                                                                In re Legendary Field Exhibitions, LLC
                                                                                                Case No.
                                                                  Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name            Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                      Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                      Account Incurred,                                                                       offset?
                                                                                      Number Basis for
                                                                                                Claim
Legendary Field Exhibitions, LLC   SewWrite                       3525 Del Mar                              Trade                                                                         $          552.82
                                                                  Heights Road
                                                                  #147
                                                                  San Diego CA
                                                                  92139
Legendary Field Exhibitions, LLC   Sfikas, Allan                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Shaban, Raymond                Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Shadburn, Jonathan             Address on file                           Unearned Revenue                                                              $          640.00

Legendary Field Exhibitions, LLC   Shade, Jim                     Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Shafer, Steven                 Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   shah, priti                    Address on file                           Unearned Revenue                                                              $           54.00
Legendary Field Exhibitions, LLC   Shah, Tara                     Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Shakowski, Steven              Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Shammas, Yvonne                Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Shank, Kevin                   Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Shannon, Dustin                Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Shapins, William               Address on file                           Unearned Revenue                                                              $          280.00


Legendary Field Exhibitions, LLC   Shapiro, Nathan                Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Sharp, Alexandra               Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Sharp, Christopher             Address on file                           Unearned Revenue                                                              $          500.00

Legendary Field Exhibitions, LLC   Shaun O'Hara dba 60 Soho       Attn: Jim Omstein                         Trade                                                                         $      100,000.00
                                   Consulting, LLC c/o WME        11 Madison Ave.
                                   Entertainment, LLC.            18th Floor
                                                                  New York NY 10010
                                                                                                                                                                                                                                                      269




Legendary Field Exhibitions, LLC   Shavers, Brenda S              Address on file                           Unearned Revenue                                                              $          390.00

Legendary Field Exhibitions, LLC   Shaw Jr, Russel                Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Shaw, Edmund                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Shealy, Michael                Address on file                           Unearned Revenue                                                              $           14.00
Legendary Field Exhibitions, LLC   Shearer, Tracy                 Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Sheats, Dan                    Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Sheddy, Christopher            Address on file                           Unearned Revenue                                                              $          105.00

Legendary Field Exhibitions, LLC   Sheeran, Kate                  Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   sheib, jake                    Address on file                           Unearned Revenue                                                              $           12.00
Legendary Field Exhibitions, LLC   Shelby, Marna                  Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Sheldon, David                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Shelley, Aaron                 Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Shelton, Brijin                Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Shelton, Charisma              Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Shelton, Doreen                Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   shenefield, trevor             Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Shepard, Alan                  Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Shepard, Denise                Address on file                           Unearned Revenue                                                              $          250.00


Legendary Field Exhibitions, LLC   shepard, jeramiah              Address on file                           Unearned Revenue                                                              $          153.00
Legendary Field Exhibitions, LLC   Shephard, Leah                 Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Shepherd, John                 Address on file                           Unearned Revenue                                                              $          420.00

Legendary Field Exhibitions, LLC   Shepherd, Joseph               Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Shepherd, Michelle             Address on file                           Unearned Revenue                                                              $          166.50
Legendary Field Exhibitions, LLC   Shepherds Locksmith Services   Address on file                           Trade                                                                         $          128.40
                                                                                                                                                                                                              19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 214 of




                                                                                                                                                 Page 163 of 202
                                                                                 In re Legendary Field Exhibitions, LLC
                                                                                                 Case No.
                                                                   Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name               Address         Last 4 Date Debt   Trade, Debt / Note           Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                        Digits of  was    Payable (Type of Claim)                                             subject to
                                                                                        Account Incurred,                                                                      offset?
                                                                                        Number Basis for
                                                                                                  Claim
Legendary Field Exhibitions, LLC   Sheraton Mission Valley         1433 Camino Del                           Trade                                                                         $       33,569.64
                                                                   Rio South
                                                                   San Diego CA
                                                                   92108
Legendary Field Exhibitions, LLC   Sheridan, Shaun                 Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Sherman, Anthony                Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   sherman, billy                  Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Sherman, Bonita                 Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Sherman, Michael                Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Shields, Derriko                Address on file                           Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   Shields, James                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Shields, Richard                Address on file                           Unearned Revenue                                                              $          700.00

Legendary Field Exhibitions, LLC   Shields, Roy                    Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Shields, Steve                  Address on file                           Unearned Revenue                                                              $          140.00


Legendary Field Exhibitions, LLC   Shimansky, Sherri               Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Shine, Richard                  Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Shinnefield, Justin             Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Shipley, Lawrence               Address on file                           Unearned Revenue                                                              $          410.00

Legendary Field Exhibitions, LLC   Shirley, Dyan                   Address on file                           Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   Shironaka, Pamela               Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Shock Doctor, Inc. dba United   PO Box 1691                               Trade                                                                         $       46,928.83
                                   Sports Brands, Cutter Gloves,   Minneapolis MN
                                   McDavid                         55480-1691
Legendary Field Exhibitions, LLC   Shockey, Steve                  Address on file                           Unearned Revenue                                                              $          300.00
                                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   Shockley, Ed                    136 River Drive,                          Trade                                                                         $          590.81
                                                                   Millville, NJ 8332
Legendary Field Exhibitions, LLC   Shoemaker, Scott                Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Shoen, Riley                    Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Shoop, Barry                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Short, Damon                    Address on file                           Unearned Revenue                                                              $           40.00


Legendary Field Exhibitions, LLC   Shortland, Stephen              Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Shotwell, Kristina              Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Shotwell, Whitney               Address on file                           Unearned Revenue                                                              $          112.00

Legendary Field Exhibitions, LLC   Showler, Karen                  Address on file                           Unearned Revenue                                                              $           37.00
Legendary Field Exhibitions, LLC   Shropshire, Shannon             Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Shuptrine, Jake                 Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   Shurling, Stephanie             Address on file                           Unearned Revenue                                                              $          210.00

Legendary Field Exhibitions, LLC   Sibert, James                   Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Sibley, Sara                    5056 Village Woods                        Trade                                                                         $          450.00
                                                                   Dr Apt 5,
                                                                   Memphis, TN 38116

Legendary Field Exhibitions, LLC   Sibley, Scott                   Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   sibrell, donna                  Address on file                           Unearned Revenue                                                              $           15.00
Legendary Field Exhibitions, LLC   Sidabras, James                 Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Sides, Lori                     Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Sidle, Jason                    Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Siebert, Marcy                  Address on file                           Unearned Revenue                                                              $          150.00
                                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 215 of




                                                                                                                                                  Page 164 of 202
                                                                                   In re Legendary Field Exhibitions, LLC
                                                                                                   Case No.
                                                                     Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                           Creditor Name            Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                         Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                         Account Incurred,                                                                       offset?
                                                                                         Number Basis for
                                                                                                   Claim
Legendary Field Exhibitions, LLC   Sieck, Bruce                      Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Siegel, Richard                   Address on file                           Unearned Revenue                                                              $        1,200.00

Legendary Field Exhibitions, LLC   Siegfried, Rick                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Sierra, Carlos                    Address on file                           Unearned Revenue                                                              $           42.00
Legendary Field Exhibitions, LLC   SIERRA, Ivan                      Address on file                           Unearned Revenue                                                              $          305.00
Legendary Field Exhibitions, LLC   Siewert, Ginger                   Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Sifuentes, Armando                Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Sifuentes, Joseph                 Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Sights, Jere                      Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Sigismond, Anthony                Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Sigler, Katrina                   Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Signaigo, Matt                    Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Signal Wiz - Technical Services   Address on file                           Trade                                                                         $        4,800.00

Legendary Field Exhibitions, LLC   Sikes, Mark                       Address on file                           Unearned Revenue                                                              $          140.00


Legendary Field Exhibitions, LLC   Silk, Jillian                     Address on file                           Unearned Revenue                                                              $          400.00

Legendary Field Exhibitions, LLC   Sills, Shaun                      Address on file                           Unearned Revenue                                                              $          325.00

Legendary Field Exhibitions, LLC   Sills, Wayne                      Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Silva, Albert                     Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Silva, Armando                    Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Silva, Derek                      Address on file                           Unearned Revenue                                                              $          150.00
                                                                                                                                                                                                                                                         269




Legendary Field Exhibitions, LLC   Silva, Donald                     Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Silva, Eric                       Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Silva, Flavia                     Address on file                           Unearned Revenue                                                              $          108.00

Legendary Field Exhibitions, LLC   silva, jacob                      Address on file                           Unearned Revenue                                                              $           30.50
Legendary Field Exhibitions, LLC   silva, jade                       Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   silva, jessica                    Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Silva, Manuel                     Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Silva, Nettie                     Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Silva, Sean                       Address on file                           Unearned Revenue                                                              $           45.00


Legendary Field Exhibitions, LLC   Silver, Marc                      Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Silver, Thomas                    Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Silverio, Robert                  Address on file                           Unearned Revenue                                                              $          640.00


Legendary Field Exhibitions, LLC   Silverman Group                   436 Orange Street                         Trade                                                                         $       94,950.00
                                                                     New Haven CT
                                                                     06511
Legendary Field Exhibitions, LLC   Silvers, Rae Ann                  Address on file                           Unearned Revenue                                                              $          375.00


Legendary Field Exhibitions, LLC   Silvester, Eric                   Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Simanton, Benjamin                Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Simmonds, Chip                    Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Simmons, Chilton                  Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Simmons, Jessica                  Address on file                           Unearned Revenue                                                              $          164.00
                                                                                                                                                                                                                 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 216 of




                                                                                                                                                    Page 165 of 202
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                                    Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                         Creditor Name            Address          Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                        Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                        Account Incurred,                                                                       offset?
                                                                                        Number Basis for
                                                                                                  Claim
Legendary Field Exhibitions, LLC   Simmons, Kelly                  Address on file                            Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Simon, Jeffrey                  Address on file                            Unearned Revenue                                                              $          280.00


Legendary Field Exhibitions, LLC   Simon, Kyle                     Address on file                            Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Simon, William                  Address on file                            Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Simone, John                    Address on file                            Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Simons, Katherine               Address on file                            Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Simplified Coach, Inc.          14051 Saratoga-                            Trade                                                                         $       59,211.29
                                                                   Sunnyvale Rd.
                                                                   Saratoga CA 95070

Legendary Field Exhibitions, LLC   Sims, Ann                       Address on file                            Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Sims, Curtis                    Address on file                            Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Sims, Kenneth                   Address on file                            Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Sims, Michael                   Address on file                            Unearned Revenue                                                              $            0.02
Legendary Field Exhibitions, LLC   Sinclair Broadcasting WBMA WTTO PO Box 206270                              Trade                                                                         $       54,435.00
                                   WABM                            Dallas TX 75320-
                                                                   6270
Legendary Field Exhibitions, LLC   Singer, Michael                 Address on file                            Unearned Revenue                                                              $          600.00

Legendary Field Exhibitions, LLC   Singleton, Shawn                Address on file                            Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Sinigayan , Marty               Address on file                            Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Sink, Michael                   Address on file                            Unearned Revenue                                                              $          196.00
                                                                                                                                                                                                                                                        269




Legendary Field Exhibitions, LLC   Sinkey, Chuck                   Address on file                            Unearned Revenue                                                              $           15.00
Legendary Field Exhibitions, LLC   Sinsay, Dominique               Address on file                            Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Sipzner, James                  Address on file                            Unearned Revenue                                                              $          210.00

Legendary Field Exhibitions, LLC   Sir Speedy                      317 North Orange                           Trade                                                                         $        3,054.85
                                                                   Ave.
                                                                   Orlando FL 32801
Legendary Field Exhibitions, LLC   Sisson, Gina                    Address on file                            Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Sissys Log Cabin                Address on file                            Unearned Revenue                                                              $           20.00


Legendary Field Exhibitions, LLC   Skaggs, Shauna                  Address on file                            Unearned Revenue                                                              $          111.00
Legendary Field Exhibitions, LLC   Skaja, Carl                     Address on file                            Unearned Revenue                                                              $          500.00


Legendary Field Exhibitions, LLC   Skelton, Austin                 Address on file                            Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Skinner, Charles                Address on file                            Unearned Revenue                                                              $        3,000.00

Legendary Field Exhibitions, LLC   Skinner, Cory                   Address on file                            Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Skinner, Kyle                   Address on file                            Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Skola, Arthur                   Address on file                            Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Skousen, Lindsay                Address on file                            Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Skuches, Sherry                 Address on file                            Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   SkyCam/Outdoor Channel          1000 Chopper                               Trade                                                                         $      969,695.16
                                                                   Circle
                                                                   Denver CO 80204
Legendary Field Exhibitions, LLC   Skymail International, Inc.     Skymail                                    Trade                                                                         $        3,105.08
                                                                   1476 S. 3600 West
                                                                   Ste B
                                                                   Salt Lake City UT
                                                                   84104
Legendary Field Exhibitions, LLC   Slack, James                    Address on file                            Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Slack, Scott                    Address on file                            Unearned Revenue                                                              $          165.00
                                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 217 of




                                                                                                                                                   Page 166 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name                Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                          Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                          Account Incurred,                                                                       offset?
                                                                                          Number Basis for
                                                                                                    Claim
Legendary Field Exhibitions, LLC   Slaff, Jared                       Address on file                           Unearned Revenue                                                              $           35.00


Legendary Field Exhibitions, LLC   Slaughter, Charles                 Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   slaughter, evidane                 Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Slaughter, Kelley                  Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Sleddens, James                    Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Sledge, Joe                        Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Sledz, David                       Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Slepack, Vincent                   Address on file                           Unearned Revenue                                                              $          100.00



Legendary Field Exhibitions, LLC   Slinkard, Lee                      Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Sloan, April                       Address on file                           Unearned Revenue                                                              $          110.00

Legendary Field Exhibitions, LLC   Sloane, Offer, Weber and Dern, LLP 10100 Santa                               Trade                                                                         $       25,000.00
                                                                      Monica Blvd
                                                                      Suite 750
                                                                      Los Angeles CA
                                                                      90067
Legendary Field Exhibitions, LLC   Slocumb, Curtis                    Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Sloma III, Richard                 Address on file                           Unearned Revenue                                                              $           45.00
Legendary Field Exhibitions, LLC   small, james                       Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Small, Ryan                        Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Small, Tonja                       Address on file                           Unearned Revenue                                                              $           55.20
Legendary Field Exhibitions, LLC   SMG-State Farm Stadium             1 Cardinals Drive                         Trade                                                                         $       22,500.00
                                                                      Glendale AZ 85305
                                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   Smiley, Fillmore                   Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Smith , Jeffery                    Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Smith Jr., Lawrence                Address on file                           Unearned Revenue                                                              $          170.00

Legendary Field Exhibitions, LLC   Smith, Andrew                      Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Smith, Benjamin                    Address on file                           Unearned Revenue                                                              $        2,275.00

Legendary Field Exhibitions, LLC   Smith, Bobby                       Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Smith, Brian                       Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Smith, Brittney                    Address on file                           Unearned Revenue                                                              $           61.50
Legendary Field Exhibitions, LLC   Smith, Bryan                       Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Smith, Carl                        Address on file                           Unearned Revenue                                                              $           32.00
Legendary Field Exhibitions, LLC   Smith, Charles                     Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Smith, Claranne                    Address on file                           Unearned Revenue                                                              $          700.00

Legendary Field Exhibitions, LLC   Smith, Claude Earl                 Address on file                           Unearned Revenue                                                              $          222.00
Legendary Field Exhibitions, LLC   Smith, Colt                        Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Smith, Conner                      Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Smith, Cooper                      Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Smith, Daniel                      Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Smith, Darrel                      Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   SMITH, DENNIS                      Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   Smith, Derek                       Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Smith, Eric                        Address on file                           Unearned Revenue                                                              $          135.00

Legendary Field Exhibitions, LLC   Smith, Freeman                     Address on file                           Unearned Revenue                                                              $           50.00
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 218 of




                                                                                                                                                     Page 167 of 202
                                                                              In re Legendary Field Exhibitions, LLC
                                                                                              Case No.
                                                                Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name        Address           Last 4 Date Debt   Trade, Debt / Note          Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                      Digits of  was    Payable (Type of Claim)                                            subject to
                                                                                      Account Incurred,                                                                     offset?
                                                                                      Number Basis for
                                                                                                Claim
Legendary Field Exhibitions, LLC   Smith, Grant                 Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Smith, James                 Address on file                           Unearned Revenue                                                              $          250.00
Legendary Field Exhibitions, LLC   Smith, Jeanne                Address on file                           Unearned Revenue                                                              $          100.00



Legendary Field Exhibitions, LLC   Smith, Jeffrey               Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Smith, Jeni                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Smith, Jeremy                Address on file                           Unearned Revenue                                                              $          420.00

Legendary Field Exhibitions, LLC   Smith, John                  Address on file                           Unearned Revenue                                                              $          280.00

Legendary Field Exhibitions, LLC   SMITH, JOSEPH                Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Smith, Julius                Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Smith, Karen                 Address on file                           Unearned Revenue                                                              $           85.00

Legendary Field Exhibitions, LLC   Smith, Keith                 Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Smith, Ken                   Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Smith, Kenneth               Address on file                           Unearned Revenue                                                              $          450.00

Legendary Field Exhibitions, LLC   Smith, Lorrie                Address on file                           Unearned Revenue                                                              $          280.00
Legendary Field Exhibitions, LLC   Smith, Margaret              Address on file                           Unearned Revenue                                                              $           15.64
Legendary Field Exhibitions, LLC   Smith, Mario                 Address on file                           Unearned Revenue                                                              $           25.00

Legendary Field Exhibitions, LLC   Smith, Marty                 Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Smith, Michael               Address on file                           Unearned Revenue                                                              $          210.00

Legendary Field Exhibitions, LLC   Smith, Michael               Address on file                           Unearned Revenue                                                              $          204.00

Legendary Field Exhibitions, LLC   Smith, Mike                  Address on file                           Unearned Revenue                                                              $          100.00
                                                                                                                                                                                                                                                    269




Legendary Field Exhibitions, LLC   Smith, Nick                  Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Smith, Nicol                 Address on file                           Unearned Revenue                                                              $           11.00
Legendary Field Exhibitions, LLC   Smith, Nikki                 Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Smith, Noah                  Address on file                           Unearned Revenue                                                              $          165.60
Legendary Field Exhibitions, LLC   Smith, R.T.                  Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Smith, Robin                 Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Smith, Sherry                Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Smith, Stephen               Address on file                           Unearned Revenue                                                              $          270.00

Legendary Field Exhibitions, LLC   Smith, Teresa                Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Smith, Thomas                Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Smith, Tina                  Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Smith, Wayne                 Address on file                           Unearned Revenue                                                              $          230.00

Legendary Field Exhibitions, LLC   Smith, Wendy                 Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Smith, William               Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Smith, Young                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   SmithPrint                   333 Burnet St                             Trade                                                                         $          189.44
                                                                San Antonio TX
                                                                78202
Legendary Field Exhibitions, LLC   Smock, Stephen               Address on file                           Unearned Revenue                                                              $          200.00


Legendary Field Exhibitions, LLC   Sneaky Big Studios, LLC      15750 N. Northsight                       Trade                                                                         $      795,000.00
                                                                Blvd.
                                                                Scottsdale AZ
                                                                85260
Legendary Field Exhibitions, LLC   Snedaker, Barrett            Address on file                           Unearned Revenue                                                              $           44.00
Legendary Field Exhibitions, LLC   Snelson, Mark                Address on file                           Unearned Revenue                                                              $          320.00
                                                                                                                                                                                                            19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 219 of




                                                                                                                                               Page 168 of 202
                                                                               In re Legendary Field Exhibitions, LLC
                                                                                               Case No.
                                                                 Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name         Address           Last 4 Date Debt   Trade, Debt / Note              Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                       Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                       Account Incurred,                                                                         offset?
                                                                                       Number Basis for
                                                                                                 Claim
Legendary Field Exhibitions, LLC   Snider, Kim                   Address on file                           Unearned Revenue                                                                  $           80.00


Legendary Field Exhibitions, LLC   Snider, Tanya                 Address on file                           Unearned Revenue                                                                  $          200.00

Legendary Field Exhibitions, LLC   snodgrass, randy              Address on file                           Unearned Revenue                                                                  $          320.00

Legendary Field Exhibitions, LLC   Snyder, Alan                  Address on file                           Unearned Revenue                                                                  $          200.00

Legendary Field Exhibitions, LLC   Snyder, Jeffrey               Address on file                           Unearned Revenue                                                                  $          160.00

Legendary Field Exhibitions, LLC   Snyder, Steve                 Address on file                           Unearned Revenue                                                                  $          210.00

Legendary Field Exhibitions, LLC   Snyder, Zachary               Address on file                           Unearned Revenue                                                                  $           35.00

Legendary Field Exhibitions, LLC   Sobczak, Art                  Address on file                           Unearned Revenue                                                                  $          370.00

Legendary Field Exhibitions, LLC   SocialFlow, Inc.              52 Vanderbilt Ave.,                       Trade                                                                             $      105,000.00
                                                                 12th floor
                                                                 New York NY 10017

Legendary Field Exhibitions, LLC   SocialFlow, Inc.              52 Vanderbilt Ave.,                       Litigation                  x                x             x                               Unknown
                                                                 12th floor
                                                                 New York, NY
                                                                 10017
Legendary Field Exhibitions, LLC   Soden, Dean                   Address on file                           Unearned Revenue                                                                  $          100.00


Legendary Field Exhibitions, LLC   Sodexo                        1365 N. Orchard St.                       Trade                                                                             $      213,260.17
                                                                 Ste. 373
                                                                 Boise ID 81706

Legendary Field Exhibitions, LLC   SOL Studio Architects, LLC    Address on file                           Trade                                                                             $          850.00

Legendary Field Exhibitions, LLC   Solis, Efren                  Address on file                           Unearned Revenue                                                                  $           45.00

Legendary Field Exhibitions, LLC   Solis, James                  Address on file                           Unearned Revenue                                                                  $           20.00
Legendary Field Exhibitions, LLC   Solis, Mario                  Address on file                           Unearned Revenue                                                                  $           70.00
                                                                                                                                                                                                                                                         269




Legendary Field Exhibitions, LLC   Solis, Robert C.              Address on file                           Unearned Revenue                                                                  $           70.00

Legendary Field Exhibitions, LLC   Solorzano, Sarah              Address on file                           Unearned Revenue                                                                  $           30.00


Legendary Field Exhibitions, LLC   Solum, Jesse                  Address on file                           Unearned Revenue                                                                  $          250.00

Legendary Field Exhibitions, LLC   somerville, austin            Address on file                           Unearned Revenue                                                                  $           30.00
Legendary Field Exhibitions, LLC   Sommers, Michael              Address on file                           Unearned Revenue                                                                  $           60.00

Legendary Field Exhibitions, LLC   Sommons, Sheryl               Address on file                           Unearned Revenue                                                                  $           75.00

Legendary Field Exhibitions, LLC   Sonora, Alexander             Address on file                           Unearned Revenue                                                                  $           40.00
Legendary Field Exhibitions, LLC   Sorenson, Jeremy              Address on file                           Unearned Revenue                                                                  $           45.00

Legendary Field Exhibitions, LLC   Sosa, David                   Address on file                           Unearned Revenue                                                                  $          250.00
Legendary Field Exhibitions, LLC   Sotelo, Yuren                 Address on file                           Unearned Revenue                                                                  $           30.00

Legendary Field Exhibitions, LLC   Soto, Anthony                 Address on file                           Unearned Revenue                                                                  $           15.00

Legendary Field Exhibitions, LLC   Soto, Douglas                 Address on file                           Unearned Revenue                                                                  $          100.00


Legendary Field Exhibitions, LLC   Soto, Jenessa                 Address on file                           Unearned Revenue                                                                  $          140.00

Legendary Field Exhibitions, LLC   Soto, Jessica                 Address on file                           Unearned Revenue                                                                  $           38.00

Legendary Field Exhibitions, LLC   Soto, Jesus                   Address on file                           Unearned Revenue                                                                  $           90.00

Legendary Field Exhibitions, LLC   Soto, Luis                    Address on file                           Unearned Revenue                                                                  $           45.00

Legendary Field Exhibitions, LLC   Soto, Monisa                  Address on file                           Unearned Revenue                                                                  $           30.00
Legendary Field Exhibitions, LLC   Soto, Nicholas                Address on file                           Unearned Revenue                                                                  $          150.00

Legendary Field Exhibitions, LLC   Sotro, Ben                    Address on file                           Unearned Revenue                                                                  $           50.00

Legendary Field Exhibitions, LLC   Soucie, Adam                  Address on file                           Unearned Revenue                                                                  $           60.00

Legendary Field Exhibitions, LLC   Soule, Marty                  Address on file                           Unearned Revenue                                                                  $           20.00

Legendary Field Exhibitions, LLC   South Lake Pool Repairs LLC   Address on file                           Unearned Revenue                                                                  $          100.00
                                                                                                                                                                                                                 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 220 of




                                                                                                                                                    Page 169 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                         Creditor Name               Address           Last 4 Date Debt   Trade, Debt / Note          Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                            Digits of  was    Payable (Type of Claim)                                            subject to
                                                                                            Account Incurred,                                                                     offset?
                                                                                            Number Basis for
                                                                                                      Claim
Legendary Field Exhibitions, LLC   Southerland, Alfred                Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Southern Foodservice Management, P.O. Box 830469                             Trade                                                                         $        3,853.17
                                   Inc.                             Birmingham AL
                                                                    35283
Legendary Field Exhibitions, LLC   Southland electric Company Inc.  5640 Clifford Cir.                          Trade                                                                         $          355.87
                                                                    Ste B
                                                                    Birmingham AL
                                                                    35210-5413
Legendary Field Exhibitions, LLC   Southwest Concrete Paving Co.    Address on file                             Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Souza, Philip                      Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Souza-Adams, Sherri                Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Spark Printing                     5860 Ridgeway                             Trade                                                                         $        1,398.50
                                                                      Center Parkway
                                                                      suite 102
                                                                      Memphis TN 38120
Legendary Field Exhibitions, LLC   Sparks, Robert                     Address on file                           Unearned Revenue                                                              $          410.00

Legendary Field Exhibitions, LLC   Sparling, Roger                    Address on file                           Unearned Revenue                                                              $          200.00
Legendary Field Exhibitions, LLC   Spaulding, Henry                   Address on file                           Unearned Revenue                                                              $           15.00


Legendary Field Exhibitions, LLC   Spaulding, Joel                    Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Spears, Brandon                    Address on file                           Unearned Revenue                                                              $          122.00


Legendary Field Exhibitions, LLC   speciale, shana                    Address on file                           Unearned Revenue                                                              $           40.50
Legendary Field Exhibitions, LLC   Spectrum Business/Time Warner      P.O Box 70872                             Trade                                                                         $        2,754.34
                                   Cable                              Charlotte NC 28272-
                                                                      0872
Legendary Field Exhibitions, LLC   Spectrum Reach / Charter           PO Box 936671                             Trade                                                                         $       98,888.88
                                                                      Atlanta GA 31193-
                                                                      6671
Legendary Field Exhibitions, LLC   Speegle, Faith                     Address on file                           Unearned Revenue                                                              $          140.00
                                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   Spence, Eric                       Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   Spencer, Adam                      Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Spencer, Blake                     Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Spencer, Donald                    Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Spencer, Jeffrey                   Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   Spencer, Kerri                     Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Spencer, Lamar                     Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Spencer, Matt                      Address on file                           Unearned Revenue                                                              $          208.00

Legendary Field Exhibitions, LLC   Spencer, Odis                      Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Spencer, Steven                    Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Spencer, Tristan                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Sperla, Mike                       Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Spiegel, Shimon                    Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Spieler, Bill                      Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Spinelli, David                   Address on file                            Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Spiro, Donna                       Address on file                           Unearned Revenue                                                              $          400.00

Legendary Field Exhibitions, LLC   Spittell, Dwight                   Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Spivey, Carl                       Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Sports and Healthcare Solutions    c/o Keith Cronin                          Trade                                                                         $           63.11
                                   LLC                                8755 E 25th ave
                                                                      Denver CO 80238
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 221 of




                                                                                                                                                     Page 170 of 202
                                                                                     In re Legendary Field Exhibitions, LLC
                                                                                                     Case No.
                                                                       Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                         Creditor Name                Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                           Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                           Account Incurred,                                                                       offset?
                                                                                           Number Basis for
                                                                                                     Claim
Legendary Field Exhibitions, LLC   Sports Imaging Consultants a.k.a.   4770 Mission Bell                         Trade                                                                         $        1,600.00
                                   Raquel McBurney                     Lane
                                                                       La Mesa CA 91941
Legendary Field Exhibitions, LLC   Sports Medicine Associates of San   21 Spurs Lane,                            Trade                                                                         $       37,500.00
                                   Antonio, PA                         Suite 300
                                                                       San Antonio TX
                                                                       78240
Legendary Field Exhibitions, LLC   Sports Medicine Associates of San   Address on file                           Unearned Revenue                                                              $          560.00
                                   Antonio, PA

Legendary Field Exhibitions, LLC   Sports360az LLC                     4405 E. Palmdale                          Trade                                                                         $        1,500.00
                                                                       Lane
                                                                       Gilbert AZ 85298
Legendary Field Exhibitions, LLC   SportsMEDIA Technology Corp         3511 University                           Trade                                                                         $      326,071.57
                                   (SMT)                               Drive
                                                                       Durham NC 27707
Legendary Field Exhibitions, LLC   SportSoft                           914 164th SE                              Trade                                                                         $        5,669.00
                                                                       Suite B-12-375
                                                                       Mill Creek WA
                                                                       98012
Legendary Field Exhibitions, LLC   Sportstar Athletics                 5601 Centralcrest                         Trade                                                                         $       14,034.50
                                                                       St
                                                                       Houston, TX 77092
Legendary Field Exhibitions, LLC   Spradling, Bill                     Address on file                           Unearned Revenue                                                              $          322.00

Legendary Field Exhibitions, LLC   Sprague, Kevin                      Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Spreder, Brendan                    Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Sproat, Samantha                    Address on file                           Unearned Revenue                                                              $           54.00
Legendary Field Exhibitions, LLC   Sprowell, Katie                     Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Spurlock, Mitchell                  Address on file                           Unearned Revenue                                                              $          300.00


Legendary Field Exhibitions, LLC   Sroka, John                         Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   St Onge, Edward                     Address on file                           Unearned Revenue                                                              $        1,200.00
                                                                                                                                                                                                                                                           269




Legendary Field Exhibitions, LLC   St.John, Brandon                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   St.Julian-David, LaDonna            Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Stachowiak, Donna                   Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Stafford, Jeffrey                   Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Stafford, Sim                       Address on file                           Unearned Revenue                                                              $          520.00

Legendary Field Exhibitions, LLC   Stahl, Jason                        Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Staley, Jeremy                      Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   stallard, david                     Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Stallard, Diane                     Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Stambaugh, Dawn                     Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Stamford, Stephanie                 Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Stanfield, Paul                     Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Stanley, Angela                     Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Stanley, Ed                         Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Stanley, Sherita                    Address on file                           Unearned Revenue                                                              $           74.00
Legendary Field Exhibitions, LLC   Stanley, Trina                      Address on file                           Unearned Revenue                                                              $          600.00


Legendary Field Exhibitions, LLC   Stansberry, Terry                   Address on file                           Unearned Revenue                                                              $          400.00

Legendary Field Exhibitions, LLC   Stanton, James                      Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Stanton, Jerry                      Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Stapleton, Darrel                   Address on file                           Unearned Revenue                                                              $           44.00
Legendary Field Exhibitions, LLC   stapleton, josh                     Address on file                           Unearned Revenue                                                              $          310.00
                                                                                                                                                                                                                   19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 222 of




                                                                                                                                                      Page 171 of 202
                                                                                   In re Legendary Field Exhibitions, LLC
                                                                                                   Case No.
                                                                     Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name            Address          Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                         Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                         Account Incurred,                                                                       offset?
                                                                                         Number Basis for
                                                                                                   Claim
Legendary Field Exhibitions, LLC   Stark, Troy                      Address on file                            Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Starkey, Kelly                   Address on file                            Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Starley, Scott                   Address on file                            Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Starlin, Tanya                   Address on file                            Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Starnes, Todd                    Address on file                            Unearned Revenue                                                              $          680.00


Legendary Field Exhibitions, LLC   State Compensation Insurance Fund P.O. Box 7441                             Trade                                                                         $       86,511.08
                                                                     San Francisco CA
                                                                     94120-7441
Legendary Field Exhibitions, LLC   Staten, Susan                     Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   STATSports                       Drumlane Mill, 1st                         Trade                                                                         $      100,000.00
                                                                    Floor, The Quays,
                                                                    Newry, Co. Down
                                                                    N. Ireland, BT35
                                                                    BQS
Legendary Field Exhibitions, LLC   Stauff, Bruce                    Address on file                            Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Stauffer, Theresa                Address on file                            Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Stavley, Matt                    Address on file                            Unearned Revenue                                                              $           90.00


Legendary Field Exhibitions, LLC   Stavola, John                    Address on file                            Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Stavropoulos, Mike               Address on file                            Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Stawney, Chris                   Address on file                            Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Staybridge Suites Downtown       123 Hoefgen Ave                            Trade                                                                         $       21,952.26
                                   Convention Center                San Antonio TX
                                                                    78205
Legendary Field Exhibitions, LLC   Steadman, Bryan                  Address on file                            Unearned Revenue                                                              $           30.00
                                                                                                                                                                                                                                                         269




Legendary Field Exhibitions, LLC   Stearns, Greg                    Address on file                            Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Steed, Sean                      Address on file                            Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Steele, Elizabeth                Address on file                            Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Steele, Kevin                    Address on file                            Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Steele, Nancy                    Address on file                            Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Steffen, Rhonda                  Address on file                            Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Stegall, Willie                  Address on file                            Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   Stehr, Justin                    Address on file                            Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Steiner, Ray                     Address on file                            Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Steinert, Michael                Address on file                            Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Steinke, Christine               Address on file                            Unearned Revenue                                                              $          150.00
Legendary Field Exhibitions, LLC   Steinmann, Dr. Thomas            Address on file                            Unearned Revenue                                                              $          175.00

Legendary Field Exhibitions, LLC   Steinmetz, Don                   Address on file                            Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Stell, Amy                       Address on file                            Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Stemple, Gary                    Address on file                            Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Stephen, Alex                    Address on file                            Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Stephen, Kathy                   Address on file                            Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Stephen, Patty                   Address on file                            Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Stephens, Cornelius              Address on file                            Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Stephens, Greg                   Address on file                            Unearned Revenue                                                              $          112.00

Legendary Field Exhibitions, LLC   STEPHENS, JOHN                   Address on file                            Unearned Revenue                                                              $           70.00
Legendary Field Exhibitions, LLC   Stephens, Linda                  Address on file                            Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Stephens, Marcus                 Address on file                            Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Stephenson Jr, Larry             Address on file                            Unearned Revenue                                                              $           15.00
                                                                                                                                                                                                                 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 223 of




                                                                                                                                                    Page 172 of 202
                                                                                 In re Legendary Field Exhibitions, LLC
                                                                                                 Case No.
                                                                   Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                            Creditor Name         Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                       Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                       Account Incurred,                                                                       offset?
                                                                                       Number Basis for
                                                                                                 Claim
Legendary Field Exhibitions, LLC   Stephenson, Wiley               Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Sterling, George                Address on file                           Unearned Revenue                                                              $           85.00

Legendary Field Exhibitions, LLC   Sternberg, Matthew              Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Sterrenberg, Dan                Address on file                           Unearned Revenue                                                              $          600.00

Legendary Field Exhibitions, LLC   Steve Nguyen dba Forwin Group   Address on file                           Trade                                                                         $          600.00

Legendary Field Exhibitions, LLC   Steve Strimling                 5341 Tremaine Dr                          Trade                                                                         $        1,840.95
                                                                   Huntington Beach
                                                                   CA 92649
Legendary Field Exhibitions, LLC   Stevens, Cheryl                 Address on file                           Unearned Revenue                                                              $           72.00
Legendary Field Exhibitions, LLC   Stevens, Michael                Address on file                           Unearned Revenue                                                              $           70.00
Legendary Field Exhibitions, LLC   Stevens, Robert                 Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Stevens, Ronald                 Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Stevens, Victor L.              Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Stevenson, John                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Stevenson, Ronvell              Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Steward, Chad                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Stewart, Aaron                  Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   Stewart, Cameron                Address on file                           Unearned Revenue                                                              $          120.00


Legendary Field Exhibitions, LLC   Stewart, Jeb                    Address on file                           Unearned Revenue                                                              $          224.00

Legendary Field Exhibitions, LLC   Stewart, John                   Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Stewart, Sherry                 Address on file                           Unearned Revenue                                                              $          100.00
                                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   Stewert, Ernie                  Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Stewert, Ray                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Stich, Karl                     Address on file                           Unearned Revenue                                                              $          222.00

Legendary Field Exhibitions, LLC   Stickel, Ellis                  Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Stidham, Charles                Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Stieg, Frank                    Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Stigall, Shenika                Address on file                           Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   Stiles , James                  Address on file                           Unearned Revenue                                                              $          110.00

Legendary Field Exhibitions, LLC   Stillwell, Theodore             Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Stinnett, Cory                  Address on file                           Unearned Revenue                                                              $           20.50
Legendary Field Exhibitions, LLC   Stinson, James                  Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Stinson, Joel                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Stinson, Roger                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Stinson, Terry                  Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Stites, Bill                    Address on file                           Unearned Revenue                                                              $          110.00


Legendary Field Exhibitions, LLC   Stock, Charles                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Stoewe, Russell                 Address on file                           Unearned Revenue                                                              $          210.00

Legendary Field Exhibitions, LLC   Stokes, Larry                   Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Stokes, William                 Address on file                           Unearned Revenue                                                              $          400.00


Legendary Field Exhibitions, LLC   Stolowski, Michael              Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Stolte, Steven                  Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Stone, Deanna                   Address on file                           Unearned Revenue                                                              $          200.00
                                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 224 of




                                                                                                                                                  Page 173 of 202
                                                                            In re Legendary Field Exhibitions, LLC
                                                                                            Case No.
                                                              Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                  Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                  Account Incurred,                                                                       offset?
                                                                                  Number Basis for
                                                                                            Claim
Legendary Field Exhibitions, LLC   Stone, Michael             Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Stone, Sam                 Address on file                           Unearned Revenue                                                              $          200.00
Legendary Field Exhibitions, LLC   Stonefield, Kala           Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Stoops, Chris              Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Storm Johnson              315 Zion Woods                            Trade                                                                         $          225.71
                                                              Road
                                                              Loganville GA
                                                              30052
Legendary Field Exhibitions, LLC   Storniolo, Lisa            Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Stout, Paul                Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Stout, Renee               Address on file                           Unearned Revenue                                                              $          600.00

Legendary Field Exhibitions, LLC   Stout, William             Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Stovall, Jonathan          Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Stover, Patty              Address on file                           Unearned Revenue                                                              $        7,040.00

Legendary Field Exhibitions, LLC   Straight, Tim              Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Strawn, Jay                Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Strawn, Tim                Address on file                           Unearned Revenue                                                              $          180.00

Legendary Field Exhibitions, LLC   Strayer, Barbara           Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Strebler, Jon              Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Streetman, Richard         Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Streets, Donald            Address on file                           Unearned Revenue                                                              $          270.00

Legendary Field Exhibitions, LLC   Strelchun, john            Address on file                           Unearned Revenue                                                              $           61.50
Legendary Field Exhibitions, LLC   Strelsin, Howard           Address on file                           Unearned Revenue                                                              $          450.00
                                                                                                                                                                                                                                                  269




Legendary Field Exhibitions, LLC   Stretch Dynamics           Address on file                           Unearned Revenue                                                              $          110.00

Legendary Field Exhibitions, LLC   Strickland, Jim            Address on file                           Unearned Revenue                                                              $          168.00



Legendary Field Exhibitions, LLC   Stricklen, Everett         Address on file                           Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   Striegler, Gene            Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Stringer, Mike & Liz       Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Stroman, Matt              Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Stroup, Bruce              Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Strubel, Jon               Address on file                           Unearned Revenue                                                              $          240.00

Legendary Field Exhibitions, LLC   Strudgeon, William         Address on file                           Unearned Revenue                                                              $          240.00

Legendary Field Exhibitions, LLC   Struyk, Theresa            Address on file                           Unearned Revenue                                                              $          200.00


Legendary Field Exhibitions, LLC   Stryjewski, Ken            Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Stryker, Jim               Address on file                           Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Stuart, Marcus             Address on file                           Unearned Revenue                                                              $           45.00


Legendary Field Exhibitions, LLC   Stuart, Scott              Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Stuhlmiller, Josh          Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Stump, Jonathan            Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Stumpf, Nick               Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Sturken, Al                Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Stutzman, Donna            Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Styne, Johanna             Address on file                           Unearned Revenue                                                              $           80.00
                                                                                                                                                                                                          19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 225 of




                                                                                                                                             Page 174 of 202
                                                                                In re Legendary Field Exhibitions, LLC
                                                                                                Case No.
                                                                  Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name            Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                      Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                      Account Incurred,                                                                       offset?
                                                                                      Number Basis for
                                                                                                Claim
Legendary Field Exhibitions, LLC   Su, Colleen                    Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Suarez, Cynthia                Address on file                           Unearned Revenue                                                              $           40.50
Legendary Field Exhibitions, LLC   Suarez, Jerry                  Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Suess, Jimmy                   Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Suffield, Lee                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   suliin, lauren                 Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Sullivan, Brian                Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Sullivan, James                Address on file                           Unearned Revenue                                                              $          650.00

Legendary Field Exhibitions, LLC   Sullivan, Jaynie               Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Sullivan, Terri                Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Sult, Deanna                   Address on file                           Unearned Revenue                                                              $          222.00

Legendary Field Exhibitions, LLC   Sumerall, Constance            Address on file                           Unearned Revenue                                                              $           15.64
Legendary Field Exhibitions, LLC   Summerville, Eric              Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Summit Media                   P.O Box 11407                             Trade                                                                         $       37,663.75
                                                                  Birmingham AL
                                                                  35246-2409
Legendary Field Exhibitions, LLC   Sumner, Thomas                 Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   SUMO LOGIC                     Address on file                           Trade                                                                         $        6,796.50

Legendary Field Exhibitions, LLC   Sun State Landscaping LLC      Address on file                           Unearned Revenue                                                              $          640.00

Legendary Field Exhibitions, LLC   Sundberg, Robin                Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Superglass Windshield Repair   Address on file                           Unearned Revenue                                                              $          400.00
                                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   Sutherland, Michael            Address on file                           Unearned Revenue                                                              $          125.12


Legendary Field Exhibitions, LLC   Sutton, Charles                Address on file                           Unearned Revenue                                                              $          600.00

Legendary Field Exhibitions, LLC   Sutton, Meg                    Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Swagger, Bobby                 Address on file                           Unearned Revenue                                                              $          450.00

Legendary Field Exhibitions, LLC   Swain, Mike                    Address on file                           Unearned Revenue                                                              $          680.00

Legendary Field Exhibitions, LLC   Swan, Michael                  Address on file                           Unearned Revenue                                                              $        1,205.00

Legendary Field Exhibitions, LLC   Swank, Edward                  Address on file                           Unearned Revenue                                                              $        1,550.00
Legendary Field Exhibitions, LLC   swann, terry                   Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Swanson, Brian                 Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Swanson, Jeff                  Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   swartz, scott                  Address on file                           Unearned Revenue                                                              $          400.00

Legendary Field Exhibitions, LLC   Swearingen, Nikki              Address on file                           Unearned Revenue                                                              $           60.75
Legendary Field Exhibitions, LLC   Sweeney, Bill & Teresa         Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Sweeney, Bruce                 Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Sweet, Janell                  Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Swenson, Dlayne                Address on file                           Unearned Revenue                                                              $          117.00


Legendary Field Exhibitions, LLC   Swierzynski, Jessica           Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   swindell, tim                  Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   swirl | mcgarrybowen           101 Montgomery                            Trade                                                                         $     2,275,602.29
                                                                  Street,
                                                                  San Francisco CA
                                                                  94129
                                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 226 of




                                                                                                                                                 Page 175 of 202
                                                                                     In re Legendary Field Exhibitions, LLC
                                                                                                     Case No.
                                                                       Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name               Address           Last 4 Date Debt   Trade, Debt / Note          Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                             Digits of  was    Payable (Type of Claim)                                            subject to
                                                                                             Account Incurred,                                                                     offset?
                                                                                             Number Basis for
                                                                                                       Claim
Legendary Field Exhibitions, LLC   Swisher Law, P.C.                   Address on file                           Unearned Revenue                                                              $          200.00
Legendary Field Exhibitions, LLC   Swisher, Jill                       Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   SWOPE, SKYLOR                       Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Swyers, Ray                         Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Syde, Brandon                       Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Symonds, Adam                       Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Sytsma, John                        Address on file                           Unearned Revenue                                                              $          600.00

Legendary Field Exhibitions, LLC   Syzdek, Robert                      Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Szacon, Joseph                      Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Szafranski, Melissa                 Address on file                           Unearned Revenue                                                              $          400.00

Legendary Field Exhibitions, LLC   Szczepanski, S                      Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   T&MG, LLC dba Fastsigns/Accuprint 2023 1st Avenue                             Trade                                                                         $        1,378.85
                                                                     North
                                                                     Birmingham AL
                                                                     35203
Legendary Field Exhibitions, LLC   T.O.P Marketing USA               1332 Baur Blvd                              Trade                                                                         $       34,000.94
                                                                     ST. Louis MO
                                                                     63132
Legendary Field Exhibitions, LLC   Taboas, Brenda                    Address on file                             Unearned Revenue                                                              $           40.50

Legendary Field Exhibitions, LLC   Taboga, Eric                        Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Taboga, Leif                        Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Tabouch Inc                         Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Tabrizi, KC                         Address on file                           Unearned Revenue                                                              $          320.00
                                                                                                                                                                                                                                                           269




Legendary Field Exhibitions, LLC   Tackett, G                          Address on file                           Unearned Revenue                                                              $          200.00


Legendary Field Exhibitions, LLC   Tafolla, Erica                      Address on file                           Unearned Revenue                                                              $          244.00
Legendary Field Exhibitions, LLC   Tag Up by Rischard Marketing, Inc   PO Box 714                                Trade                                                                         $       17,120.10
                                                                       831 Industrial Park
                                                                       Blvd
                                                                       Fergus Falls MN
                                                                       56538-0714
Legendary Field Exhibitions, LLC   taggart, kyle                       Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Taitano, James                      Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Talamantez, Sandra                  Address on file                           Unearned Revenue                                                              $          122.00

Legendary Field Exhibitions, LLC   Talbot, Pierre                      Address on file                           Unearned Revenue                                                              $           15.64
Legendary Field Exhibitions, LLC   Tallant, Sabrina                    Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Taluban, Pamela                     Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Taluban, Randy                      Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Tamayo, Joyce                       Address on file                           Unearned Revenue                                                              $           81.00
Legendary Field Exhibitions, LLC   Tame, Joseph                        Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Tamez, Katharine                    Address on file                           Unearned Revenue                                                              $          122.00
Legendary Field Exhibitions, LLC   Tanaka, Laurence                    Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Tannenbaum, Mike                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   tapia-santiago, cecille             Address on file                           Unearned Revenue                                                              $          140.00


Legendary Field Exhibitions, LLC   Tarantino, Josephine                Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Tarasewich, Thomas                  Address on file                           Unearned Revenue                                                              $          640.00

Legendary Field Exhibitions, LLC   Tarbuck, Elizabeth                  Address on file                           Unearned Revenue                                                              $          200.00


Legendary Field Exhibitions, LLC   Tarpey, Bruce                       Address on file                           Unearned Revenue                                                              $          200.00
                                                                                                                                                                                                                   19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 227 of




                                                                                                                                                      Page 176 of 202
                                                                               In re Legendary Field Exhibitions, LLC
                                                                                               Case No.
                                                                 Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name           Address           Last 4 Date Debt   Trade, Debt / Note          Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                       Digits of  was    Payable (Type of Claim)                                            subject to
                                                                                       Account Incurred,                                                                     offset?
                                                                                       Number Basis for
                                                                                                 Claim
Legendary Field Exhibitions, LLC   Tarter, Shane                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Tastinger, Anthony            Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   Tate, Anthony                 Address on file                           Unearned Revenue                                                              $          356.00
Legendary Field Exhibitions, LLC   Tate, Rob                     Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Tate, Sherika                 Address on file                           Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   Tate, Sylvester               Address on file                           Unearned Revenue                                                              $          356.00

Legendary Field Exhibitions, LLC   Tatlonghari, Teresa           Address on file                           Trade                                                                         $        1,000.00

Legendary Field Exhibitions, LLC   Tatman, Don                   Address on file                           Unearned Revenue                                                              $          200.00
Legendary Field Exhibitions, LLC   Taus, Kenneth                 Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Tavarez, Andres               Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Tayaba, Arthur                Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Taylor, Andrew                Address on file                           Unearned Revenue                                                              $           44.00
Legendary Field Exhibitions, LLC   Taylor, Benjamin              Address on file                           Unearned Revenue                                                              $          640.00

Legendary Field Exhibitions, LLC   Taylor, Brad                  Address on file                           Unearned Revenue                                                              $          170.00

Legendary Field Exhibitions, LLC   Taylor, Cindy                 Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Taylor, Daniel                Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Taylor, David                 Address on file                           Unearned Revenue                                                              $          410.00

Legendary Field Exhibitions, LLC   Taylor, Erica                 Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Taylor, Glenn                 Address on file                           Unearned Revenue                                                              $          108.00

Legendary Field Exhibitions, LLC   Taylor, Jake                  Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Taylor, Jamila                Address on file                           Unearned Revenue                                                              $           37.00

Legendary Field Exhibitions, LLC   Taylor, Marjorie              Address on file                           Unearned Revenue                                                              $           50.00
                                                                                                                                                                                                                                                     269




Legendary Field Exhibitions, LLC   Taylor, Rick                  Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Taylor, Roy                   Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   Taylor, Ruth                  Address on file                           Unearned Revenue                                                              $           35.00
Legendary Field Exhibitions, LLC   Taylor, Sullivan              Address on file                           Unearned Revenue                                                              $          150.00



Legendary Field Exhibitions, LLC   Taylor, Will                  Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Teachout, John                Address on file                           Unearned Revenue                                                              $           44.00
Legendary Field Exhibitions, LLC   Teague, Joshua                Address on file                           Unearned Revenue                                                              $          120.00


Legendary Field Exhibitions, LLC   Team Fitz Graphics            11320 Mosteller Rd.                       Trade                                                                         $          965.00
                                                                 Cincinnati OH
                                                                 45241

Legendary Field Exhibitions, LLC   TeamWork Online               22550 McCauley                            Trade                                                                         $        5,000.00
                                                                 Road
                                                                 Shaker Heights, OH
                                                                 44122 OH 44122
Legendary Field Exhibitions, LLC   Teamworks Innovations, Inc.   122 E Parrish St                          Trade                                                                         $       54,350.00
                                                                 Durham NC 27701
Legendary Field Exhibitions, LLC   Teasley, Heidi                Address on file                           Unearned Revenue                                                              $          200.00
Legendary Field Exhibitions, LLC   Tedford, Tom                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Teel, Edmund E.               Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Teeling, Michelle             Address on file                           Unearned Revenue                                                              $          150.00
Legendary Field Exhibitions, LLC   Tefft, Dana                   Address on file                           Unearned Revenue                                                              $          160.00


Legendary Field Exhibitions, LLC   Teifel, Melissa               Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   teixeira, luis                Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Teixeira, Trent               Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Tenayuca, Chris               Address on file                           Unearned Revenue                                                              $           35.00
                                                                                                                                                                                                             19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 228 of




Legendary Field Exhibitions, LLC   Tenner, Tiwana                Address on file                           Unearned Revenue                                                              $           60.00




                                                                                                                                                Page 177 of 202
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                                    Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name              Address           Last 4 Date Debt   Trade, Debt / Note              Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                          Digits of  was    Payable (Type of Claim)                                                subject to
                                                                                          Account Incurred,                                                                         offset?
                                                                                          Number Basis for
                                                                                                    Claim
Legendary Field Exhibitions, LLC   Tenorio, Bradley                 Address on file                           Unearned Revenue                                                                  $          170.00


Legendary Field Exhibitions, LLC   Terence Garvin                   8120 Cleary Blvd                          Trade                                                                             $          205.00
                                                                    Plantation FL 33324

Legendary Field Exhibitions, LLC   Terpstra, Linda                  Address on file                           Unearned Revenue                                                                  $           45.00
Legendary Field Exhibitions, LLC   Terrazas, Ashley                 Address on file                           Unearned Revenue                                                                  $           61.00
Legendary Field Exhibitions, LLC   Terrazas, Elias                  Address on file                           Unearned Revenue                                                                  $           10.00

Legendary Field Exhibitions, LLC   Terrell, R D.                    Address on file                           Unearned Revenue                                                                  $          150.00

Legendary Field Exhibitions, LLC   Terrier, Dwayne                  Address on file                           Unearned Revenue                                                                  $          100.00

Legendary Field Exhibitions, LLC   Territo, Anna                    Address on file                           Unearned Revenue                                                                  $          120.00

Legendary Field Exhibitions, LLC   Terrizzi, Dawn                   Address on file                           Unearned Revenue                                                                  $           40.00

Legendary Field Exhibitions, LLC   Terry , Wayne                    Address on file                           Unearned Revenue                                                                  $          410.00

Legendary Field Exhibitions, LLC   Terry, Ken                       Address on file                           Unearned Revenue                                                                  $           78.00
Legendary Field Exhibitions, LLC   Terry, Kimberly                  Address on file                           Unearned Revenue                                                                  $          610.00

Legendary Field Exhibitions, LLC   Terry, Patrick                   Address on file                           Unearned Revenue                                                                  $          200.00

Legendary Field Exhibitions, LLC   Tetzlaff, Paul                   Address on file                           Unearned Revenue                                                                  $           25.00

Legendary Field Exhibitions, LLC   Texas Comptroller of Public      Lyndon B. Johnson                         Litigation                  x                x             x                               Unknown
                                   Accounts                         State Office
                                                                    Building
                                                                    111 East 17th
                                                                    Street
                                                                    Austin, TX 78774
Legendary Field Exhibitions, LLC   Texas Temporary Fence            Address on file                           Unearned Revenue                                                                  $          160.00

Legendary Field Exhibitions, LLC   Texas Veteran Security           texasvetops@gmail.                        Trade                                                                             $        1,909.53
                                                                    com
Legendary Field Exhibitions, LLC   Texas Veteran Security           texasvetops@gmail.                        Trade                                                                             $        2,788.52
                                                                                                                                                                                                                                                            269




                                                                    com
Legendary Field Exhibitions, LLC   THARP, MALIA                     Address on file                           Unearned Revenue                                                                  $          100.00

Legendary Field Exhibitions, LLC   thayer, gerald                   Address on file                           Unearned Revenue                                                                  $          100.00

Legendary Field Exhibitions, LLC   The Castle Consulting Firm       Address on file                           Unearned Revenue                                                                  $          400.00

Legendary Field Exhibitions, LLC   The City of San Diego           PO Box 129020                              Trade                                                                             $      111,352.10
                                                                   San Diego CA
                                                                   92112-9020
Legendary Field Exhibitions, LLC   The Commercial Appeal           P.O Box 630037                             Trade                                                                             $       20,873.90
                                                                   Cincinnati OH
                                                                   45263-0037
Legendary Field Exhibitions, LLC   The Ebersol Lanigan Company LLC 8447 Wilshire Blvd.                        Trade                                                                             $      182,851.00
                                                                   Suite 300
                                                                   Beverly Hills CA
                                                                   90211
Legendary Field Exhibitions, LLC   The Emblem Source LLC           4575 Westgrove Ste                         Trade                                                                             $        1,018.99
                                                                   500
                                                                   Addison TX 75001
Legendary Field Exhibitions, LLC   The Emily Morgan Hotel a        705 E. Houston                             Trade                                                                             $      324,416.29
                                   Doubletree by Hilton            Street
                                                                   C/O Mario Mauricio
                                                                   San Antonio TX
                                                                   78205
Legendary Field Exhibitions, LLC   The Enterprise-Utah's Business  PO Box 11778                               Trade                                                                             $        5,000.00
                                   Journal                         Salt Lake City UT
                                                                   84147
Legendary Field Exhibitions, LLC   The Fanning Law Firm APC        Address on file                            Unearned Revenue                                                                  $           60.00


Legendary Field Exhibitions, LLC   The Farm                         Address on file                           Trade                                                                             $        3,500.00

Legendary Field Exhibitions, LLC   The Goal                         Address on file                           Unearned Revenue                                                                  $           60.00

Legendary Field Exhibitions, LLC   The H and W Group, LLC           Address on file                           Unearned Revenue                                                                  $           50.00

Legendary Field Exhibitions, LLC   The Highland Mint                4100 North                                Trade                                                                             $          672.00
                                                                    Riverside Drive
                                                                    Melbourne FL
                                                                    32937
                                                                                                                                                                                                                    19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 229 of




                                                                                                                                                       Page 178 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name                Address           Last 4 Date Debt   Trade, Debt / Note          Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                            Digits of  was    Payable (Type of Claim)                                            subject to
                                                                                            Account Incurred,                                                                     offset?
                                                                                            Number Basis for
                                                                                                      Claim
Legendary Field Exhibitions, LLC   The Montag Group                   7 Renaissance Sq                          Trade                                                                         $      100,000.00
                                                                      2nd Fl
                                                                      White Plains, NY
                                                                      10601
Legendary Field Exhibitions, LLC   The PM Group                       Address on file                           Unearned Revenue                                                              $          440.00


Legendary Field Exhibitions, LLC   THE SCOREBOARD                     Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   The Switch Enterprises, LLC        683 Main Street                           Trade                                                                         $       41,800.00
                                                                      Suite A-2
                                                                      Osterville MA 02655

Legendary Field Exhibitions, LLC   Theed, Michael                     Address on file                           Unearned Revenue                                                              $           22.00

Legendary Field Exhibitions, LLC   Theiss, Brandon                    Address on file                           Unearned Revenue                                                              $           66.00
Legendary Field Exhibitions, LLC   Theta Chi Fraternity               UCF PO Box                                Trade                                                                         $        1,000.00
                                                                      161760
                                                                      Orlando FL 32816
Legendary Field Exhibitions, LLC   Thiel, Scott                       Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Thimpson, Patrice                  Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Thinnes, Jodie                     Address on file                           Unearned Revenue                                                              $          105.00
Legendary Field Exhibitions, LLC   Thomas Reprographics, Inc. d/b/a   5000 SW                                   Trade                                                                         $        1,637.70
                                   Thomas Printworks                  75thAvenue, Suite
                                                                      112
                                                                      Miami FL 33155
Legendary Field Exhibitions, LLC   Thomas, Adam                       Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Thomas, Cassandra                  Address on file                           Unearned Revenue                                                              $           76.00


Legendary Field Exhibitions, LLC   Thomas, Charlie                    Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Thomas, Chris                      Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Thomas, Emmanuel                   Address on file                           Unearned Revenue                                                              $           50.00
                                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   Thomas, Gary Allen                 Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Thomas, Greg                       Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Thomas, James                      Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Thomas, John                       Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   thomas, kayla                      Address on file                           Unearned Revenue                                                              $           15.00
Legendary Field Exhibitions, LLC   Thomas, Keith                      Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Thomas, Lakeith                    Address on file                           Unearned Revenue                                                              $          105.00

Legendary Field Exhibitions, LLC   Thomas, Lea Ann                    Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Thomas, Lisa                       Address on file                           Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   Thomas, Mikhail                    Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   thomas, regina                     Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Thomas, Sam                        Address on file                           Unearned Revenue                                                              $           15.00


Legendary Field Exhibitions, LLC   Thomas, Sara                       Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Thomas, Shonna                     Address on file                           Unearned Revenue                                                              $           57.00

Legendary Field Exhibitions, LLC   Thomas, Sonya                      Address on file                           Unearned Revenue                                                              $          140.00


Legendary Field Exhibitions, LLC   Thomas, Terry                      Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Thomas, Wayne                      Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Thomas-Lawson, Mitzi               Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Thomas-Logan, LLC                  PO Box 39                                 Trade                                                                         $        2,000.00
                                                                      Cornelius NC 28031-
                                                                      0039
Legendary Field Exhibitions, LLC   Thompson, Bernard                  Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Thompson, Brian                    Address on file                           Unearned Revenue                                                              $          120.00
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 230 of




                                                                                                                                                     Page 179 of 202
                                                                             In re Legendary Field Exhibitions, LLC
                                                                                             Case No.
                                                               Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name          Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                   Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                   Account Incurred,                                                                       offset?
                                                                                   Number Basis for
                                                                                             Claim
Legendary Field Exhibitions, LLC   Thompson, Bryan             Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Thompson, Cary              Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Thompson, Chris             Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Thompson, Chrissy           Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Thompson, Christian         Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Thompson, Denise            Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   Thompson, Gregory           Address on file                           Unearned Revenue                                                              $          800.00

Legendary Field Exhibitions, LLC   Thompson, Haydn             Address on file                           Unearned Revenue                                                              $          234.00


Legendary Field Exhibitions, LLC   Thompson, Holly             Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Thompson, Kevin             Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Thompson, Michael           Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Thompson, Nick              Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Thompson, Roderick          Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Thompson, Ryan              Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Thompson, Sarah             Address on file                           Unearned Revenue                                                              $          340.00

Legendary Field Exhibitions, LLC   Thompson, Shane             Address on file                           Unearned Revenue                                                              $          250.00


Legendary Field Exhibitions, LLC   Thompson, Shaun             Address on file                           Unearned Revenue                                                              $           50.00
                                                                                                                                                                                                                                                   269




Legendary Field Exhibitions, LLC   Thompson, Thomas            Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Thompson, Timothy           Address on file                           Unearned Revenue                                                              $          112.00
Legendary Field Exhibitions, LLC   Thompson, Vaughn            Address on file                           Unearned Revenue                                                              $          375.00

Legendary Field Exhibitions, LLC   Thomson, Jennifer           Address on file                           Unearned Revenue                                                              $          280.00

Legendary Field Exhibitions, LLC   Thomson, William            Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Thorne, Brian               Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Thornton, Adam              Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   thornton, kim               Address on file                           Unearned Revenue                                                              $          270.00

Legendary Field Exhibitions, LLC   Thornton, Travis            Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Thorp, James                Address on file                           Unearned Revenue                                                              $          280.00

Legendary Field Exhibitions, LLC   Thrasher, Thomas            Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Threaded Agency             3525 Piedmont Rd.                         Trade                                                                         $       12,500.00
                                                               NE, Bldg 5-205
                                                               Atlanta GA 30305
Legendary Field Exhibitions, LLC   Three Sisters Partnership   Attn: Accounts                            Trade                                                                         $        8,766.84
                                                               Receivable
                                                               Department Acct
                                                               #T0001262-
                                                               A88UNI/01
                                                               PO Box 3661
                                                               Memphis TN 38173
Legendary Field Exhibitions, LLC   THRIFTY Car rental          P.O Box 35250                             Trade                                                                         $          246.70
                                                               Tulsa OK 74153-
                                                               1167
Legendary Field Exhibitions, LLC   Throckmorton, Cade          Address on file                           Unearned Revenue                                                              $           15.00


Legendary Field Exhibitions, LLC   Thuente, Joe                Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Thurman, Gwen               Address on file                           Unearned Revenue                                                              $           80.00


Legendary Field Exhibitions, LLC   Thurmond, Jarae             Address on file                           Unearned Revenue                                                              $           35.00
                                                                                                                                                                                                           19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 231 of




                                                                                                                                              Page 180 of 202
                                                                            In re Legendary Field Exhibitions, LLC
                                                                                            Case No.
                                                              Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                  Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                  Account Incurred,                                                                       offset?
                                                                                  Number Basis for
                                                                                            Claim
Legendary Field Exhibitions, LLC   Thurner, Steve             Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Tibbitts, Jonathan         Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Ticket Galaxy              Address on file                           Unearned Revenue                                                              $        2,445.00


Legendary Field Exhibitions, LLC   Ticket Galaxy AZH          Address on file                           Unearned Revenue                                                              $        2,290.00

Legendary Field Exhibitions, LLC   Ticket Galaxy San Diego    Address on file                           Unearned Revenue                                                              $        3,850.00


Legendary Field Exhibitions, LLC   Ticketmaster LLC           Ticketmaster LLC                          Trade                                                                         $       55,124.85
                                                              14643 Collections
                                                              Center Drive
                                                              Chicago IL 60693
Legendary Field Exhibitions, LLC   Tiemann, Tim               Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   TIEMANN, WAYNE             Address on file                           Unearned Revenue                                                              $          245.00


Legendary Field Exhibitions, LLC   Tiernan, Joe               Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Tijerina, Joseph           Address on file                           Unearned Revenue                                                              $          126.00

Legendary Field Exhibitions, LLC   Tijerina, Luis             Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Tijerina, Santiago         Address on file                           Unearned Revenue                                                              $           80.00
Legendary Field Exhibitions, LLC   Tillotson, Esme            Address on file                           Unearned Revenue                                                              $          195.00

Legendary Field Exhibitions, LLC   Tillotson, Jeffery         Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Tillson, John              Address on file                           Unearned Revenue                                                              $          104.00
Legendary Field Exhibitions, LLC   Tilton, Chris              Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   timberline moulding        Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Timeline Productions LLC   1721 S. National                          Trade                                                                         $        4,045.00
                                                              Ave
                                                                                                                                                                                                                                                  269




                                                              Springfield MO
                                                              65804
Legendary Field Exhibitions, LLC   Timmel, Michael            Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Timson, Lincoln            Address on file                           Unearned Revenue                                                              $           15.00
Legendary Field Exhibitions, LLC   Tindol, Lance              Address on file                           Unearned Revenue                                                              $          200.00


Legendary Field Exhibitions, LLC   Tingley, Christopher       Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Tinker, Larry              Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Tippery, Beth              Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Tipsord, Dustin            Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Tirado, Josue              Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Tirado, Nelson             Address on file                           Unearned Revenue                                                              $          152.00
Legendary Field Exhibitions, LLC   tirado, Sergio             Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   tjiong, joshua             Address on file                           Unearned Revenue                                                              $           27.00
Legendary Field Exhibitions, LLC   TNT Game Truck, LLC        26788 Rhapsody                            Trade                                                                         $        1,298.00
                                                              Ct.
                                                              Menifee LA 92584
Legendary Field Exhibitions, LLC   Tobias-Molina, Jo Ann      Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Todd Siddons Enterprises   Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   Todd, Christina            Address on file                           Unearned Revenue                                                              $           30.50
Legendary Field Exhibitions, LLC   Todd, James                Address on file                           Unearned Revenue                                                              $          200.00


Legendary Field Exhibitions, LLC   TOKARZ, LORRAINE           Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Toledo, Jennifer           Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Toliver, Michael           Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Tomaselli, Steven          Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Tomlin, Krystal            Address on file                           Unearned Revenue                                                              $           10.00
                                                                                                                                                                                                          19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 232 of




                                                                                                                                             Page 181 of 202
                                                                                In re Legendary Field Exhibitions, LLC
                                                                                                Case No.
                                                                  Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name            Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                      Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                      Account Incurred,                                                                       offset?
                                                                                      Number Basis for
                                                                                                Claim
Legendary Field Exhibitions, LLC   Tompkins, John                 Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Tonkins, Mark                  Address on file                           Unearned Revenue                                                              $        1,200.00


Legendary Field Exhibitions, LLC   Tope, Thomas                   Address on file                           Unearned Revenue                                                              $           55.50
Legendary Field Exhibitions, LLC   Torbert, Andrew                Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Torrado, Jose                  Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Torre, Jose                    Address on file                           Unearned Revenue                                                              $           54.00

Legendary Field Exhibitions, LLC   Torres, Albert                 Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Torres, arturo                 Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Torres, Bobby                  Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Torres, Chris                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Torres, Jason                  Address on file                           Unearned Revenue                                                              $           10.00


Legendary Field Exhibitions, LLC   Torres, John                   Address on file                           Unearned Revenue                                                              $        1,430.00

Legendary Field Exhibitions, LLC   Torres, Joshua                 Address on file                           Unearned Revenue                                                              $          162.00


Legendary Field Exhibitions, LLC   Torres, Juliana                Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Torres, Martin                 Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Torres, Rick                   Address on file                           Unearned Revenue                                                              $           55.50
Legendary Field Exhibitions, LLC   Torres, Ted                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Torres, Vicente                Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Torres, Willie                 Address on file                           Unearned Revenue                                                              $          200.00
                                                                                                                                                                                                                                                      269




Legendary Field Exhibitions, LLC   totahs5@hotmail.com, shelley   Address on file                           Unearned Revenue                                                              $           70.00
Legendary Field Exhibitions, LLC   Total Mobility Services        Address on file                           Unearned Revenue                                                              $          470.00


Legendary Field Exhibitions, LLC   Total Traffic Network          Address on file                           Trade                                                                         $        4,105.00


Legendary Field Exhibitions, LLC   Toth, James                    Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Totten, Brian                  Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Tousignant, James              Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Tousley, Rosemary              Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   TOVAR, Elizabeth               Address on file                           Unearned Revenue                                                              $          166.50
Legendary Field Exhibitions, LLC   Tovar, Vincent                 Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Tovey, Matthew                 Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Towers, Beau                   Address on file                           Unearned Revenue                                                              $        1,250.00

Legendary Field Exhibitions, LLC   Towns, Albert                  Address on file                           Unearned Revenue                                                              $           44.00

Legendary Field Exhibitions, LLC   Townsend, Crystal              Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Townsend, Evan                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Townsend, James                Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Towry, John                    Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Trammo, Kevin                  Address on file                           Unearned Revenue                                                              $          320.00


Legendary Field Exhibitions, LLC   Tran, Nathan                   Address on file                           Unearned Revenue                                                              $          170.00

Legendary Field Exhibitions, LLC   Tran, Philip                   Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Tran, Quoc                     Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Tran, Thong                    Address on file                           Unearned Revenue                                                              $          480.00
                                                                                                                                                                                                              19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 233 of




                                                                                                                                                 Page 182 of 202
                                                                                In re Legendary Field Exhibitions, LLC
                                                                                                Case No.
                                                                  Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                           Creditor Name         Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                      Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                      Account Incurred,                                                                       offset?
                                                                                      Number Basis for
                                                                                                Claim
Legendary Field Exhibitions, LLC   Tran, Vinh                     Address on file                           Unearned Revenue                                                              $          280.00

Legendary Field Exhibitions, LLC   Trane                          Address on file                           Unearned Revenue                                                              $          800.00


Legendary Field Exhibitions, LLC   Travis, Justine                Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Trcka, Lindsey                 Address on file                           Unearned Revenue                                                              $           90.00


Legendary Field Exhibitions, LLC   Treadway, Charles              Address on file                           Unearned Revenue                                                              $          500.00

Legendary Field Exhibitions, LLC   Trejo, Larry                   Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Trejo, LeAnn                   Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   tremonti, steven               Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Trent, Margaret                Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Tressler, II, Dan              Address on file                           Unearned Revenue                                                              $           17.00

Legendary Field Exhibitions, LLC   Trevino, Danny                 Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Trevino, Francisco             Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Trevino, Gabe                  Address on file                           Unearned Revenue                                                              $          190.00

Legendary Field Exhibitions, LLC   Trevino, Jcisaac               Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Trevino, Jose                  Address on file                           Unearned Revenue                                                              $          270.00

Legendary Field Exhibitions, LLC   Trevino, Matthew               Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Trevino, Michael               Address on file                           Unearned Revenue                                                              $            0.04
Legendary Field Exhibitions, LLC   Trevino, Stephen               Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Trevino, Timothy               Address on file                           Unearned Revenue                                                              $          121.50

Legendary Field Exhibitions, LLC   TRI-C Club Supply Inc.         32615 Park Lane                           Trade                                                                         $       17,687.79
                                                                  St.
                                                                  Garden City MI
                                                                                                                                                                                                                                                      269




                                                                  48135
Legendary Field Exhibitions, LLC   Trier-valenti, Jennifer        Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   TRIGGS, JAMES                  Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Trimm, Matthew                 Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Trinidad Realty Partners Inc   Address on file                           Unearned Revenue                                                              $          420.00

Legendary Field Exhibitions, LLC   Triplett, Tanner               Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Tripp, Benjamin                Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   TROBAUGH, NIKKI                Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Trombley, Brian                Address on file                           Unearned Revenue                                                              $          200.00


Legendary Field Exhibitions, LLC   Trost, Bill                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Troth, Kirby                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   TROTTER DOOR & TRIM INC        Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   Trovillion, David              Address on file                           Unearned Revenue                                                              $           17.00
Legendary Field Exhibitions, LLC   Troxel, Dan                    Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Trudeau, Corey                 Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Trudeau, Thomas                Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Trueblood, Wes                 Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Trujillo, Robert               Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Trumble, William               Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Truss, Audra                   Address on file                           Unearned Revenue                                                              $          170.00

Legendary Field Exhibitions, LLC   Trussell, Christopher          Address on file                           Unearned Revenue                                                              $           60.00
                                                                                                                                                                                                              19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 234 of




                                                                                                                                                 Page 183 of 202
                                                                                     In re Legendary Field Exhibitions, LLC
                                                                                                     Case No.
                                                                       Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                           Creditor Name              Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                           Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                           Account Incurred,                                                                       offset?
                                                                                           Number Basis for
                                                                                                     Claim
Legendary Field Exhibitions, LLC   TS2 Holdings, LLC                   300 N. Sepulveda                          Trade                                                                         $       15,000.00
                                                                       Blvd
                                                                       Suite 1018
                                                                       El Segundo CA
                                                                       90245
Legendary Field Exhibitions, LLC   Tsay, Rung-Kai                      Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Tu, Jason                           Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Tuan, Han-Hsien                     Address on file                           Unearned Revenue                                                              $        1,200.00


Legendary Field Exhibitions, LLC   Tubbs, Suzanne                      Address on file                           Unearned Revenue                                                              $          140.00
Legendary Field Exhibitions, LLC   Tucker Castleberry Printing, Inc.   3500 McCall Pl                            Trade                                                                         $       25,131.94
                                                                       Atlanta GA 30340
Legendary Field Exhibitions, LLC   Tucker, Bonnie                      Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Tucker, Darian                      Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   Tucker, Seth                        Address on file                           Unearned Revenue                                                              $        1,200.00

Legendary Field Exhibitions, LLC   Tucker, Willie                      Address on file                           Unearned Revenue                                                              $          120.00


Legendary Field Exhibitions, LLC   Tuckey, Jeremy T.                   Address on file                           Unearned Revenue                                                              $          340.00

Legendary Field Exhibitions, LLC   Tuer, William                       Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Tully, Matt                         Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Tummins, Donald                     Address on file                           Unearned Revenue                                                              $          200.00
Legendary Field Exhibitions, LLC   Turcios, Richard                    Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Turella-Garcia, Gina                Address on file                           Unearned Revenue                                                              $           81.00
Legendary Field Exhibitions, LLC   Turley, Alex                        Address on file                           Unearned Revenue                                                              $          140.00
                                                                                                                                                                                                                                                           269




Legendary Field Exhibitions, LLC   Turnage, Lori                       Address on file                           Unearned Revenue                                                              $          320.00
Legendary Field Exhibitions, LLC   Turner, Adam                        Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Turner, Amy                         Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Turner, Dennis                      Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Turner, John                        Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Turner, Matthew                     Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Turner, Sam                         Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Turner, Stanley                     Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Turner-Allen, Deborah               Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Turquoise Barn Cider                Address on file                           Unearned Revenue                                                              $          105.00

Legendary Field Exhibitions, LLC   Turriff, Dennis                     Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Tuttle, Daniel                      Address on file                           Unearned Revenue                                                              $           90.00


Legendary Field Exhibitions, LLC   tuttle, randy                       Address on file                           Unearned Revenue                                                              $           64.00
Legendary Field Exhibitions, LLC   Tweedy, Deborah                     Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Twining, Brian                      Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   tyler, alyssa                       Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Tyler, Michelle                     Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Tyler, Pamela                       Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Tyler, Stacey                       Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Tyler, Thomas                       Address on file                           Unearned Revenue                                                              $          132.00

Legendary Field Exhibitions, LLC   Tylim, Frederik                     Address on file                           Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   Tzoucalis, Clay                     Address on file                           Unearned Revenue                                                              $          390.00

Legendary Field Exhibitions, LLC   U.S. Security Associates Inc. dba   Address on file                           Trade                                                                         $          965.58
                                   Advance Security
                                                                                                                                                                                                                   19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 235 of




                                                                                                                                                      Page 184 of 202
                                                                                       In re Legendary Field Exhibitions, LLC
                                                                                                       Case No.
                                                                         Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name                    Address           Last 4 Date Debt   Trade, Debt / Note          Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                               Digits of  was    Payable (Type of Claim)                                            subject to
                                                                                               Account Incurred,                                                                     offset?
                                                                                               Number Basis for
                                                                                                         Claim
Legendary Field Exhibitions, LLC   UAB Blazers                           Address on file                           Trade                                                                         $        8,000.00


Legendary Field Exhibitions, LLC   Ubl, matt                             Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Uddin, Philip                         Address on file                           Unearned Revenue                                                              $          120.00
Legendary Field Exhibitions, LLC   Uhls, Tyler                           Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Ultimate Tailgating                   116 Calming Water                         Trade                                                                         $       15,000.00
                                                                         Trl
                                                                         Suite 200
                                                                         Dallas GA 30132
Legendary Field Exhibitions, LLC   Ultra Care Concepts, Inc.             Address on file                           Unearned Revenue                                                              $           50.00



Legendary Field Exhibitions, LLC   Umali, Charlie                        Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   UNCF                                  229 Peachtree St.                         Trade                                                                         $        7,500.00
                                                                         NE suite 2350
                                                                         Atlanta GA 30303
Legendary Field Exhibitions, LLC   Underwood , Laurence                  Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Underwood, David                      Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Ungvarsky, Brock                      Address on file                           Unearned Revenue                                                              $           25.00
Legendary Field Exhibitions, LLC   United Rentals North America, Inc     PO Box 100711                             Trade                                                                         $        2,237.26
                                                                         Atlanta GA 30384-
                                                                         0711
Legendary Field Exhibitions, LLC   University of Central Florida (UCF)   4465 Knights                              Trade                                                                         $           79.65
                                                                         Victory Way
                                                                         Orlando, FL 32816
Legendary Field Exhibitions, LLC   University of Central Florida         4465 Knights                              Trade                                                                         $      778,883.11
                                   Athletics Association                 Victory Way
                                   (University System of Florida)        Orlando, FL 32816
Legendary Field Exhibitions, LLC   University of San Diego Athletics     5998 Alcala Park                          Trade                                                                         $        2,000.00
                                   Facilities - Kirby Uranich            San Diego CA
                                                                         92110-2492
Legendary Field Exhibitions, LLC   University of Utah                    Rice-Eccles                               Trade                                                                         $        1,228.50
                                                                                                                                                                                                                                                             269




                                                                         Stadium & Tower
                                                                         University of Utah
                                                                         Salt Lake City UT
                                                                         84112-0320
Legendary Field Exhibitions, LLC   University of Utah Health dba         127 S. 500 E. Rm                          Trade                                                                         $      113,118.80
                                   AnnDrea Ricci, University of Utah     460D
                                   Health                                Attn: AnnDrea Ricci
                                                                         Salt Lake City UT
                                                                         84111
Legendary Field Exhibitions, LLC   Univision Radio Phoenix, Inc.         PO Box 740721                             Trade                                                                         $        1,725.59
                                                                         Los Angeles CA
                                                                         90074-0719
Legendary Field Exhibitions, LLC   Upright, Patricya                     Address on file                           Unearned Revenue                                                              $          109.50

Legendary Field Exhibitions, LLC   UPS Store                             6060 Cornerstone                          Trade                                                                         $        2,347.44
                                                                         Ct W, San Diego,
                                                                         CA 92121
Legendary Field Exhibitions, LLC   Urban Scape, Liv                      Address on file                           Unearned Revenue                                                              $        7,500.00

Legendary Field Exhibitions, LLC   Urbanowski, Wayne                     Address on file                           Unearned Revenue                                                              $          170.00

Legendary Field Exhibitions, LLC   Urbanski, Thomas                      Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Urias, Christian                      Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Urias, Damian                         Address on file                           Unearned Revenue                                                              $           35.00

Legendary Field Exhibitions, LLC   Uribe, Eufemia                        Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Uriegas, Anthony                      Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Urow, Michael                         Address on file                           Unearned Revenue                                                              $          112.00

Legendary Field Exhibitions, LLC   Urquhart, Kellie                      Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Urquieta, Ray                         Address on file                           Unearned Revenue                                                              $           75.00
Legendary Field Exhibitions, LLC   US Health Advisors - Maitland         Address on file                           Unearned Revenue                                                              $          315.00


Legendary Field Exhibitions, LLC   Utke, Cyrena                          Address on file                           Unearned Revenue                                                              $           72.00
Legendary Field Exhibitions, LLC   Utley, Jeremiah                       Address on file                           Unearned Revenue                                                              $           30.00
                                                                                                                                                                                                                     19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 236 of




                                                                                                                                                        Page 185 of 202
                                                                                In re Legendary Field Exhibitions, LLC
                                                                                                Case No.
                                                                  Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name           Address          Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                      Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                      Account Incurred,                                                                       offset?
                                                                                      Number Basis for
                                                                                                Claim
Legendary Field Exhibitions, LLC   UTSA Alumni Association       One UTSA Circle                            Trade                                                                         $        1,000.00
                                                                 San Antonio TX
                                                                 78249
Legendary Field Exhibitions, LLC   Utterback, Royce              Address on file                            Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Uy, Francis                   Address on file                            Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   uzoh, michelle                Address on file                            Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Vahrenwald, Ryan              Address on file                            Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Valadez, Alora                Address on file                            Unearned Revenue                                                              $            0.02
Legendary Field Exhibitions, LLC   Valadez, David                Address on file                            Unearned Revenue                                                              $          100.00



Legendary Field Exhibitions, LLC   VALADEZ, HIRAM                Address on file                            Unearned Revenue                                                              $          250.00
Legendary Field Exhibitions, LLC   VALADEZ, RICK                 Address on file                            Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Valadez, Robert               Address on file                            Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Valasquez, Jonathan           Address on file                            Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Valcarcel, Andres             Address on file                            Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   valdez, giancarlo             Address on file                            Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Valdez, Larry                 Address on file                            Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Valdez, Lisa                  Address on file                            Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Valdez, Marco                 Address on file                            Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Valdez, Senon                 Address on file                            Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Valdez-Buck, Rolando          Address on file                            Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Valdivia, Kenny               Address on file                            Unearned Revenue                                                              $           50.00
                                                                                                                                                                                                                                                      269




Legendary Field Exhibitions, LLC   valenza, Nick                 Address on file                            Unearned Revenue                                                              $           15.00
Legendary Field Exhibitions, LLC   Valenzuela, Sarah             Address on file                            Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Valero, Eddie E.              Address on file                            Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Valero, Rene                  Address on file                            Unearned Revenue                                                              $           35.00
Legendary Field Exhibitions, LLC   Valero, Xavier                Address on file                            Unearned Revenue                                                              $          170.00

Legendary Field Exhibitions, LLC   VALIANT INTEGRATED SERVICES Address on file                              Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Valle Luna                    Address on file                            Unearned Revenue                                                              $          150.00
Legendary Field Exhibitions, LLC   Valle, Daniel                 Address on file                            Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Valle, Jillian                Address on file                            Unearned Revenue                                                              $           61.00
Legendary Field Exhibitions, LLC   Valle, Jimmy                  Address on file                            Unearned Revenue                                                              $           25.00
Legendary Field Exhibitions, LLC   Valle, William                Address on file                            Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Valles, Dawn                  Address on file                            Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Valles, Eric                  Address on file                            Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Valtr, Roger                  Address on file                            Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Van Buren, Gerald             Address on file                            Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Van Dalsem, Joe               Address on file                            Unearned Revenue                                                              $          350.00

Legendary Field Exhibitions, LLC   VAN DIJK, THOMAS              Address on file                            Unearned Revenue                                                              $           22.00

Legendary Field Exhibitions, LLC   Van Heusen, Michael           Address on file                            Unearned Revenue                                                              $          104.00
Legendary Field Exhibitions, LLC   Van Witzenberg, Dale          Address on file                            Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Vance, Chad                   Address on file                            Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Vandenberg, David             Address on file                            Unearned Revenue                                                              $          350.00
Legendary Field Exhibitions, LLC   Vandenbosch, Bill             Address on file                            Unearned Revenue                                                              $          170.00

Legendary Field Exhibitions, LLC   Vandenover, Jon               Address on file                            Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Vanderberg, Liz               Address on file                            Unearned Revenue                                                              $          116.00

Legendary Field Exhibitions, LLC   Vandergriff, Jason            Address on file                            Unearned Revenue                                                              $           50.00
                                                                                                                                                                                                              19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 237 of




                                                                                                                                                 Page 186 of 202
                                                                           In re Legendary Field Exhibitions, LLC
                                                                                           Case No.
                                                             Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note                Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                 Digits of  was    Payable (Type of Claim)                                                  subject to
                                                                                 Account Incurred,                                                                           offset?
                                                                                 Number Basis for
                                                                                           Claim
Legendary Field Exhibitions, LLC   Vandeveld, Amy            Address on file                           Unearned Revenue                                                                  $          100.00

Legendary Field Exhibitions, LLC   Vanech, Robert            Address on file                           Litigation                  x                x             x                               Unknown
Legendary Field Exhibitions, LLC   Vanetti, Lorene           Address on file                           Unearned Revenue                                                                  $          440.00

Legendary Field Exhibitions, LLC   VanGundy, Jeff            Address on file                           Unearned Revenue                                                                  $            0.02
Legendary Field Exhibitions, LLC   Vanleeuwen, John          Address on file                           Unearned Revenue                                                                  $           35.00

Legendary Field Exhibitions, LLC   Vann, Steffani            Address on file                           Unearned Revenue                                                                  $          140.00

Legendary Field Exhibitions, LLC   VanSant, Ryan             Address on file                           Unearned Revenue                                                                  $           25.00

Legendary Field Exhibitions, LLC   Vara, Richard             Address on file                           Unearned Revenue                                                                  $           70.00

Legendary Field Exhibitions, LLC   Varble, Marty             Address on file                           Unearned Revenue                                                                  $          168.00

Legendary Field Exhibitions, LLC   Varela, David             Address on file                           Unearned Revenue                                                                  $           50.00
Legendary Field Exhibitions, LLC   Vargas, Anthony           Address on file                           Unearned Revenue                                                                  $           45.00

Legendary Field Exhibitions, LLC   Vargas, Elvira            Address on file                           Unearned Revenue                                                                  $           30.00
Legendary Field Exhibitions, LLC   Vargas, Oswaldo           Address on file                           Unearned Revenue                                                                  $           50.00


Legendary Field Exhibitions, LLC   Vargo, Blake              Address on file                           Unearned Revenue                                                                  $           70.00

Legendary Field Exhibitions, LLC   Various, Trey             Address on file                           Unearned Revenue                                                                  $           30.00

Legendary Field Exhibitions, LLC   Varley, Curtis            Address on file                           Unearned Revenue                                                                  $          160.00

Legendary Field Exhibitions, LLC   Varnadore, Jordan         Address on file                           Unearned Revenue                                                                  $        1,050.00

Legendary Field Exhibitions, LLC   Varner, Nicole            Address on file                           Unearned Revenue                                                                  $          100.00

Legendary Field Exhibitions, LLC   Varrieur, Stephen         Address on file                           Unearned Revenue                                                                  $        2,100.00

Legendary Field Exhibitions, LLC   Vasile, Michelle          Address on file                           Unearned Revenue                                                                  $           50.00
                                                                                                                                                                                                                                                     269




Legendary Field Exhibitions, LLC   Vasquez, Antonio          Address on file                           Unearned Revenue                                                                  $          100.00
Legendary Field Exhibitions, LLC   Vasquez, Bill             Address on file                           Unearned Revenue                                                                  $           30.00

Legendary Field Exhibitions, LLC   Vasquez, Eddie            Address on file                           Unearned Revenue                                                                  $           30.00

Legendary Field Exhibitions, LLC   Vasquez, Gilbert          Address on file                           Unearned Revenue                                                                  $           40.00

Legendary Field Exhibitions, LLC   Vasquez, Jose             Address on file                           Unearned Revenue                                                                  $           61.00
Legendary Field Exhibitions, LLC   Vasquez, Martin           Address on file                           Unearned Revenue                                                                  $           70.00

Legendary Field Exhibitions, LLC   Vasquez, Melissa          Address on file                           Unearned Revenue                                                                  $           81.00
Legendary Field Exhibitions, LLC   VASQUEZ, RAFAEL           Address on file                           Unearned Revenue                                                                  $          121.00
Legendary Field Exhibitions, LLC   Vasquez, Raul             Address on file                           Unearned Revenue                                                                  $          140.00

Legendary Field Exhibitions, LLC   Vassell, Conrad           Address on file                           Unearned Revenue                                                                  $          140.00

Legendary Field Exhibitions, LLC   Vaughan, Bill             Address on file                           Unearned Revenue                                                                  $          150.00


Legendary Field Exhibitions, LLC   Vaughan, Courtney         Address on file                           Unearned Revenue                                                                  $          170.00

Legendary Field Exhibitions, LLC   Vaughan, Jeff             Address on file                           Unearned Revenue                                                                  $           30.00


Legendary Field Exhibitions, LLC   Vaughan, Scott            Address on file                           Unearned Revenue                                                                  $          220.00

Legendary Field Exhibitions, LLC   Vaughn, Cary              Address on file                           Unearned Revenue                                                                  $          123.52
Legendary Field Exhibitions, LLC   Vaughn, Donna             Address on file                           Unearned Revenue                                                                  $          220.00


Legendary Field Exhibitions, LLC   Vaughn, Matthew           Address on file                           Unearned Revenue                                                                  $           35.00

Legendary Field Exhibitions, LLC   Vaughn, Nia               Address on file                           Unearned Revenue                                                                  $           20.00

Legendary Field Exhibitions, LLC   Vaughn, Rev               Address on file                           Unearned Revenue                                                                  $           70.00
Legendary Field Exhibitions, LLC   vazquez, Cynthia          Address on file                           Unearned Revenue                                                                  $           52.00
Legendary Field Exhibitions, LLC   Vazquez, James            Address on file                           Unearned Revenue                                                                  $          100.00


Legendary Field Exhibitions, LLC   Vazquez, Luis             Address on file                           Unearned Revenue                                                                  $          140.00
Legendary Field Exhibitions, LLC   Vedeen, Don               Address on file                           Unearned Revenue                                                                  $          100.00
Legendary Field Exhibitions, LLC   Vega, Erik                Address on file                           Unearned Revenue                                                                  $           50.00
                                                                                                                                                                                                             19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 238 of




                                                                                                                                                Page 187 of 202
                                                                                In re Legendary Field Exhibitions, LLC
                                                                                                Case No.
                                                                  Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                            Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                      Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                      Account Incurred,                                                                       offset?
                                                                                      Number Basis for
                                                                                                Claim
Legendary Field Exhibitions, LLC   Vega, Ricardo                  Address on file                           Unearned Revenue                                                              $          112.00


Legendary Field Exhibitions, LLC   Veilleux, Brenda               Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Veillon, Joseph                Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Vela, Raymond                  Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Vela, Robert                   Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Velarde, Sarah                 Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Velasquez, Joseph              Address on file                           Unearned Revenue                                                              $          111.00
Legendary Field Exhibitions, LLC   Velazquez, Luis R              Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   velazquez, max                 Address on file                           Unearned Revenue                                                              $           54.00
Legendary Field Exhibitions, LLC   Velazquez, Vanesa              Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Velazquez-DeBoer, Linda        Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Velis, Stan                    Address on file                           Unearned Revenue                                                              $          300.00


Legendary Field Exhibitions, LLC   Veliz, Arthur                  Address on file                           Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Venditti, Nicolas              Address on file                           Unearned Revenue                                                              $           80.00


Legendary Field Exhibitions, LLC   Venezia, Michael               Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Venzor Sr, Martin I            Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Vera, Alejandro                Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Vera, Arely                    Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   verbalaitis, luke              Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Verette, Alan                  Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Vernon, Jill                   Address on file                           Unearned Revenue                                                              $           31.28
                                                                                                                                                                                                                                                      269




Legendary Field Exhibitions, LLC   Vicino, Christine              Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Vicis                          570 Mercer St.                            Trade                                                                         $        8,558.87
                                                                  Seattle WA 98109
Legendary Field Exhibitions, LLC   Vick, Trey                     Address on file                           Unearned Revenue                                                              $          200.00


Legendary Field Exhibitions, LLC   Vickers, Mitchell              Address on file                           Unearned Revenue                                                              $          240.00

Legendary Field Exhibitions, LLC   Viera-Echevarria, Natalie      Address on file                           Unearned Revenue                                                              $           34.00
Legendary Field Exhibitions, LLC   vigar, jeremy                  Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Vigil, Andrew                  Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Vigil, Julio                   Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Vigne, David                   Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Villalobos, Art                Address on file                           Unearned Revenue                                                              $          345.00

Legendary Field Exhibitions, LLC   villalon, victor               Address on file                           Unearned Revenue                                                              $          111.00
Legendary Field Exhibitions, LLC   Villanueva, Amadeo             Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   VILLANUEVA, GINA               Address on file                           Unearned Revenue                                                              $           61.00
Legendary Field Exhibitions, LLC   Villanueva, John               Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Villanueva, Jose               Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Villanueva, Melissa            Address on file                           Unearned Revenue                                                              $           81.00
Legendary Field Exhibitions, LLC   Villanueva, Michelle           Address on file                           Unearned Revenue                                                              $           30.50
Legendary Field Exhibitions, LLC   Villanueva, Pedro              Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   villar, esmeralda              Address on file                           Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Villareal, E Hector            Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   Villarreal, Arthur             Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Villarreal, Henry              Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Villarreal, Jorge              Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   villarreal, omar               Address on file                           Unearned Revenue                                                              $           60.00
                                                                                                                                                                                                              19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 239 of




                                                                                                                                                 Page 188 of 202
                                                                               In re Legendary Field Exhibitions, LLC
                                                                                               Case No.
                                                                 Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name         Address            Last 4 Date Debt   Trade, Debt / Note         Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                        Digits of  was    Payable (Type of Claim)                                           subject to
                                                                                        Account Incurred,                                                                    offset?
                                                                                        Number Basis for
                                                                                                  Claim
Legendary Field Exhibitions, LLC   Villarreal, Patricia          Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Villarreal, Salvador          Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Villarreall, Raul             Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Villesca, Margaret            Address on file                           Unearned Revenue                                                              $           81.00

Legendary Field Exhibitions, LLC   Villont, Lisa                 Address on file                           Unearned Revenue                                                              $        1,400.00

Legendary Field Exhibitions, LLC   viloria, joann                Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Vincent, Paula                Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Viola, Ian                    Address on file                           Unearned Revenue                                                              $          120.00


Legendary Field Exhibitions, LLC   Violet Crown Independent      11715 Capotillo Unit                      Trade                                                                         $        2,000.00
                                                                 2
                                                                 San Antonio TX
                                                                 78233
Legendary Field Exhibitions, LLC   Virgen, Jose                  Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Virgona, Jeff                 Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Virissimo, Jeanne             Address on file                           Unearned Revenue                                                              $           25.00
Legendary Field Exhibitions, LLC   Virissimo, Taryn              Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Vision Service Plan - VSP     Address on file                           Trade                                                                         $        7,462.15


Legendary Field Exhibitions, LLC   Viskovich, Fred               Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   VITAC Corporation             8300 E Maplewood                          Trade                                                                         $       13,230.00
                                                                 Ave Suite 310
                                                                 Greenwood Village
                                                                 CO 80111
Legendary Field Exhibitions, LLC   Vitecka, Jana                 Address on file                           Unearned Revenue                                                              $           27.00
                                                                                                                                                                                                                                                     269




Legendary Field Exhibitions, LLC   Vitela, Alex                  Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Vititoe, James                Address on file                           Unearned Revenue                                                              $           10.00

Legendary Field Exhibitions, LLC   Vitro, John                   Address on file                           Unearned Revenue                                                              $          500.00

Legendary Field Exhibitions, LLC   Voeltner, Bryan               Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   vogel, jared                  Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Vokkero by Adeunis NA, Inc.   25 Main Street                            Trade                                                                         $       59,008.00
                                                                 Tuckahoe NY 10707

Legendary Field Exhibitions, LLC   Volkerson, Harold             Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Volkerson, Tim                Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Vollbrecht, David             Address on file                           Unearned Revenue                                                              $           95.00

Legendary Field Exhibitions, LLC   Vollmer, Alan                 Address on file                           Unearned Revenue                                                              $          117.00

Legendary Field Exhibitions, LLC   Volusia United Educators      Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   VON ESSEN, DEBRA              Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Vossmer, Patrick              Address on file                           Unearned Revenue                                                              $           48.00
Legendary Field Exhibitions, LLC   Voth, David                   Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Vulcan Park and Museum        1710 Valley View                          Trade                                                                         $          100.00
                                                                 Drive
                                                                 Birmingham AL
                                                                 35209
Legendary Field Exhibitions, LLC   vullo, brandon                Address on file                           Unearned Revenue                                                              $          116.00
Legendary Field Exhibitions, LLC   Vuxta, Randy                  Address on file                           Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Waalen, Jill                  Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Wabby, James                  Address on file                           Unearned Revenue                                                              $          500.00


Legendary Field Exhibitions, LLC   Wacker, Carri                 Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   waddle, michael               Address on file                           Unearned Revenue                                                              $           40.00
                                                                                                                                                                                                             19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 240 of




                                                                                                                                                Page 189 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name                 Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                          Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                          Account Incurred,                                                                       offset?
                                                                                          Number Basis for
                                                                                                    Claim
Legendary Field Exhibitions, LLC   Wade, Karen                        Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Wadley, Jim                        Address on file                           Unearned Revenue                                                              $          200.00


Legendary Field Exhibitions, LLC   Wages, Jim                         Address on file                           Unearned Revenue                                                              $          400.00

Legendary Field Exhibitions, LLC   Waggoner, Dawn                     Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Waggoner, Jack                     Address on file                           Unearned Revenue                                                              $          170.00

Legendary Field Exhibitions, LLC   wagner, ben                        Address on file                           Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   Wagner, Derek                      Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Wagner, Diane                      Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Wagner, Joe                        Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Wagner, Mary                       Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Waguespack, Joshua                 Address on file                           Unearned Revenue                                                              $          112.00

Legendary Field Exhibitions, LLC   Wahlen, Ruth                       Address on file                           Unearned Revenue                                                              $          240.00

Legendary Field Exhibitions, LLC   WAIT                               Address on file                           Trade                                                                         $          500.00

Legendary Field Exhibitions, LLC   Wakerlig, Ryan                     Address on file                           Unearned Revenue                                                              $           65.00

Legendary Field Exhibitions, LLC   Walcott, Robert                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Waldie, Tim                        Address on file                           Unearned Revenue                                                              $           50.00



Legendary Field Exhibitions, LLC   Waldrop, Paul                      Address on file                           Unearned Revenue                                                              $           38.00

Legendary Field Exhibitions, LLC   Walkenford Sr, Chris               Address on file                           Unearned Revenue                                                              $           30.00
                                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   Walker, Betty                      Address on file                           Unearned Revenue                                                              $          130.00
Legendary Field Exhibitions, LLC   Walker, Christopher                Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Walker, Hiram                      Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Walker, James                      Address on file                           Unearned Revenue                                                              $          320.00
Legendary Field Exhibitions, LLC   Walker, Luke                       Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Walker, Michael                    Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Walker, Quinton                    Address on file                           Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   Walker, Richard                    Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Walker, Tia                        Address on file                           Unearned Revenue                                                              $           25.00

Legendary Field Exhibitions, LLC   Walker, William                    Address on file                           Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Walker, Woody                      Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Walker-Powers, Tanya               Address on file                           Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   Walkup, Brian                      Address on file                           Unearned Revenue                                                              $           25.50
Legendary Field Exhibitions, LLC   Wallace, Christine                 Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Wallace, Joshua                    Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Wallace, Mathew                    Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Wallace, Mike                      Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Wallace, Tony                      Address on file                           Unearned Revenue                                                              $           35.00


Legendary Field Exhibitions, LLC   Wallbaum, Barbara                  Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Wallin, Michael                    Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Walter John Ellis dba Sports and   12101 E Mountain                          Trade                                                                         $        5,427.23
                                   Broadcast Services, LLC            View Rd
                                                                      Scottsdale AZ
                                                                      85259
Legendary Field Exhibitions, LLC   Walter, Nathan                     Address on file                           Unearned Revenue                                                              $          400.00

Legendary Field Exhibitions, LLC   Walters, Alexandra                 Address on file                           Unearned Revenue                                                              $           31.28
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 241 of




                                                                                                                                                     Page 190 of 202
                                                                           In re Legendary Field Exhibitions, LLC
                                                                                           Case No.
                                                             Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                 Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                 Account Incurred,                                                                       offset?
                                                                                 Number Basis for
                                                                                           Claim
Legendary Field Exhibitions, LLC   Walters, Zac              Address on file                           Unearned Revenue                                                              $          300.00
Legendary Field Exhibitions, LLC   Walthall, Adrian          Address on file                           Unearned Revenue                                                              $          112.00

Legendary Field Exhibitions, LLC   Waltman, Elizabeth        Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Walton, Kala              Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Walton, Thomas            Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   WAMJ-FM/WUMJ-FM           Address on file                           Trade                                                                         $       14,625.00

Legendary Field Exhibitions, LLC   Wandling, Brian           Address on file                           Unearned Revenue                                                              $          110.00

Legendary Field Exhibitions, LLC   wang, jade                Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Wapnowski, Theodore       Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   War Machine Inc dba       3429-B Rutherford                         Trade                                                                         $        8,500.00
                                   TSHIRTGUN.COM             Rd EXT
                                                             Taylors SC 29687
Legendary Field Exhibitions, LLC   Warburton, Julie          Address on file                           Unearned Revenue                                                              $           39.00

Legendary Field Exhibitions, LLC   Ward, Cody                Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Ward, Daniel              Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Ward, David               Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Ward, Jason               Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Ward, Jayme               Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   WARD, KEITH               Address on file                           Unearned Revenue                                                              $           62.56
Legendary Field Exhibitions, LLC   Ward, Monte               Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Ward, Robert              Address on file                           Unearned Revenue                                                              $           60.00
                                                                                                                                                                                                                                                 269




Legendary Field Exhibitions, LLC   Ward, Sarah               Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Ward, Wilma               Address on file                           Unearned Revenue                                                              $          240.00

Legendary Field Exhibitions, LLC   wardojo, erwin            Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Ware, Dustin              Address on file                           Unearned Revenue                                                              $          125.00

Legendary Field Exhibitions, LLC   Ware, Gregory             Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Ware, Matthew             Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   WARNER, EVELYN            Address on file                           Unearned Revenue                                                              $          180.00


Legendary Field Exhibitions, LLC   Warnicke, Shane           Address on file                           Unearned Revenue                                                              $          270.00

Legendary Field Exhibitions, LLC   Warren, Brett             Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Warren, James             Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Warren, John              Address on file                           Unearned Revenue                                                              $          500.00


Legendary Field Exhibitions, LLC   Warren, Tameka            Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Warren, William           Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Wartell, Jason            Address on file                           Unearned Revenue                                                              $          280.00

Legendary Field Exhibitions, LLC   Washington, Melody        Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Washington, Quandre       Address on file                           Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Washington, Randall       Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Washington, Robin         Address on file                           Unearned Revenue                                                              $        1,200.00
Legendary Field Exhibitions, LLC   Washington, Simone        Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Wass, Nick                Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Wassean, Michael          Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Wasylenko, Michael        Address on file                           Unearned Revenue                                                              $           75.00
                                                                                                                                                                                                         19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 242 of




                                                                                                                                            Page 191 of 202
                                                                              In re Legendary Field Exhibitions, LLC
                                                                                              Case No.
                                                                Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                    Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                    Account Incurred,                                                                       offset?
                                                                                    Number Basis for
                                                                                              Claim
Legendary Field Exhibitions, LLC   Watermark Group              4271 Gate Crest                           Trade                                                                         $        2,748.47
                                                                Attn: Accounts
                                                                Payable
                                                                San Antonio TX
                                                                78217-4807
Legendary Field Exhibitions, LLC   Watke, Frederic              Address on file                           Unearned Revenue                                                              $          200.00


Legendary Field Exhibitions, LLC   Watkins, Cedric              Address on file                           Unearned Revenue                                                              $          110.00

Legendary Field Exhibitions, LLC   Watkins, Chris               Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Watkins, Lucas               Address on file                           Unearned Revenue                                                              $          123.00
Legendary Field Exhibitions, LLC   watrach, james               Address on file                           Unearned Revenue                                                              $           61.00
Legendary Field Exhibitions, LLC   Watson , Spencer             Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Watson, Clint                Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Watson, Frank                Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Watson, George               Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Watson, Jamie                Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Watson, Jeffrey              Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Watson, Kara                 Address on file                           Unearned Revenue                                                              $           10.00

Legendary Field Exhibitions, LLC   Watson, Mark                 Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Watson, Robert               Address on file                           Unearned Revenue                                                              $          125.00

Legendary Field Exhibitions, LLC   Watson, Rosie                Address on file                           Unearned Revenue                                                              $          112.00

Legendary Field Exhibitions, LLC   Watson, Tom                  Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Watt, George                 Address on file                           Unearned Revenue                                                              $          350.00
                                                                                                                                                                                                                                                    269




Legendary Field Exhibitions, LLC   Watters, Michaela            Address on file                           Unearned Revenue                                                              $          112.00

Legendary Field Exhibitions, LLC   WATTS, SHERI                 Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Wayt, Holly                  Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   WBRC                         P.O Box 11407                             Trade                                                                         $        8,470.00
                                                                Dept 1577
                                                                Birmingham AL
                                                                35246-1577
Legendary Field Exhibitions, LLC   wear, frank                  Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Weatherford, Will            Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Weatherhead, Johnathon       Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Weatherly, Tiffany           Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Weaver, Mack                 Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Weaver, Scott                Address on file                           Unearned Revenue                                                              $          200.00


Legendary Field Exhibitions, LLC   Webb, Bill                   Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Webb, Mark                   Address on file                           Unearned Revenue                                                              $          166.50
Legendary Field Exhibitions, LLC   Webb, misha                  Address on file                           Unearned Revenue                                                              $           15.64
Legendary Field Exhibitions, LLC   Webb, Robert                 Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Webb, William                Address on file                           Unearned Revenue                                                              $          830.00

Legendary Field Exhibitions, LLC   Webber, John                 Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Webber, Rick                 Address on file                           Unearned Revenue                                                              $          370.00

Legendary Field Exhibitions, LLC   Weber, Charles               Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Weber, Glenn                 Address on file                           Unearned Revenue                                                              $          122.00
Legendary Field Exhibitions, LLC   Weber, Jake                  Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Weber, Kay                   Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   weber, ray                   Address on file                           Unearned Revenue                                                              $           50.00
                                                                                                                                                                                                            19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 243 of




                                                                                                                                               Page 192 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name              Address           Last 4 Date Debt   Trade, Debt / Note          Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                            Digits of  was    Payable (Type of Claim)                                            subject to
                                                                                            Account Incurred,                                                                     offset?
                                                                                            Number Basis for
                                                                                                      Claim
Legendary Field Exhibitions, LLC   Weber, Roxanne                     Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Webster, Frederick                 Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Webster, Teena                     Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Weeks, Matt                       Address on file                            Unearned Revenue                                                              $           78.00
Legendary Field Exhibitions, LLC   Wehbe Marketing, Inc. DBA Make it Address on file                            Trade                                                                         $        6,620.00
                                   Happen
Legendary Field Exhibitions, LLC   Wehbe, Freddie                    Address on file                            Unearned Revenue                                                              $        3,600.00

Legendary Field Exhibitions, LLC   Weidele, Craig                     Address on file                           Unearned Revenue                                                              $          320.00

Legendary Field Exhibitions, LLC   Weiner, Aimee                      Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Weise, Boyd                        Address on file                           Unearned Revenue                                                              $          140.00


Legendary Field Exhibitions, LLC   Weise, Philipp                     Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Weiser, Christopher                Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Weisner, Ayisha                    Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Weispfenning, Otto                 Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Weissler, Joel                     Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Welch, Betty                       Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Welch, James                       Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Weldon Williams & Lick Inc.        PO Box 168                                Trade                                                                         $        3,914.11
                                                                      Fort Smith AZ
                                                                      72902-0168
Legendary Field Exhibitions, LLC   Weldon, Michael                    Address on file                           Unearned Revenue                                                              $          200.00
                                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   Weldon, Ronald                     Address on file                           Unearned Revenue                                                              $          596.00

Legendary Field Exhibitions, LLC   WELLENS, MATTHEW                   Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Wellman, Dale                      Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Wells, Denise                      Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Wells, Jay                         Address on file                           Unearned Revenue                                                              $          640.00


Legendary Field Exhibitions, LLC   Wells, Karen                       Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Wells, Kelly                       Address on file                           Unearned Revenue                                                              $           33.00

Legendary Field Exhibitions, LLC   Wells, William                     9331 Falcon Hill Dr                       Trade                                                                         $          590.00
                                                                      Lakeland, TN 38002

Legendary Field Exhibitions, LLC   Welsh, Jeff                        Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Welson, Douglas                    Address on file                           Unearned Revenue                                                              $          190.00

Legendary Field Exhibitions, LLC   Welton, Christopher                Address on file                           Unearned Revenue                                                              $          400.00

Legendary Field Exhibitions, LLC   weltsch, jeffrey                   Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Wents, Deric                       Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Wentzloff, Brian                   Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Wenzel, Danna                      Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Wenzl, Aaron                       Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Werner, Cynthia                    Address on file                           Unearned Revenue                                                              $          166.50

Legendary Field Exhibitions, LLC   Werner, Matthew                    Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Werner, Nate                       Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Werqwise, Inc                      149 New                                   Trade                                                                         $      145,281.00
                                                                      Montgomery St
                                                                      San Francisco CA
                                                                      94105
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 244 of




                                                                                                                                                     Page 193 of 202
                                                                                 In re Legendary Field Exhibitions, LLC
                                                                                                 Case No.
                                                                   Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name              Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                       Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                       Account Incurred,                                                                       offset?
                                                                                       Number Basis for
                                                                                                 Claim
Legendary Field Exhibitions, LLC   Wertsching, Scott               Address on file                           Unearned Revenue                                                              $          440.00


Legendary Field Exhibitions, LLC   Wesgaites, Larry                Address on file                           Unearned Revenue                                                              $           70.00



Legendary Field Exhibitions, LLC   WESLEY, JACLYN                  Address on file                           Unearned Revenue                                                              $           72.00
Legendary Field Exhibitions, LLC   West, Angela                    Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   West, Ean                       Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   West, Joanna                    Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   West, Kyler                     Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   West, Max                       Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   West, Michael                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   West, Perry                     Address on file                           Unearned Revenue                                                              $          243.00
Legendary Field Exhibitions, LLC   Westbrook, Joseph               Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Westgate, Allen                 Address on file                           Unearned Revenue                                                              $          280.00

Legendary Field Exhibitions, LLC   Westman, Scott                  Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Weston, Tracy                   Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Weynand, Phil A.                Address on file                           Unearned Revenue                                                              $           80.50
Legendary Field Exhibitions, LLC   Whalen, Christopher             Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Whaley, Brian                   Address on file                           Unearned Revenue                                                              $          112.00

Legendary Field Exhibitions, LLC   Whaley, Doug                    Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Whan, Christopher               Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   WHBQ-TV - Cox Media Group NE,   P.O Box 82393                             Trade                                                                         $        8,755.00
                                   Inc.                            Chicago IL 80691-
                                                                   0293
                                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   WHBQ-TV - Cox Media Group NE,   Address on file                           Trade                                                                         $        1,000.00
                                   Inc., Jay
Legendary Field Exhibitions, LLC   Wheeler, Barbie                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Wheeler, Kay                    Address on file                           Unearned Revenue                                                              $          302.50
Legendary Field Exhibitions, LLC   Wheeler, Kim                    Address on file                           Unearned Revenue                                                              $           38.00

Legendary Field Exhibitions, LLC   Wheeler, Leonard                Address on file                           Unearned Revenue                                                              $          440.00

Legendary Field Exhibitions, LLC   Wheeler, Steven                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   whelchel, steve                 Address on file                           Unearned Revenue                                                              $          132.00

Legendary Field Exhibitions, LLC   Whetstone, Don                  Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Whipple, Cory                   Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Whistle, Fred                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Whitaker, Josh                  Address on file                           Unearned Revenue                                                              $           19.00

Legendary Field Exhibitions, LLC   Whitaker, Thomas                Address on file                           Unearned Revenue                                                              $           70.00


Legendary Field Exhibitions, LLC   White, Basil                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   White, Bud                      Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   White, Christina                Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   White, Christine                Address on file                           Unearned Revenue                                                              $           56.00

Legendary Field Exhibitions, LLC   White, David                    Address on file                           Unearned Revenue                                                              $          115.00

Legendary Field Exhibitions, LLC   white, garrett                  Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   White, Jacqueline               Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   White, Joshua                   Address on file                           Unearned Revenue                                                              $           88.00


Legendary Field Exhibitions, LLC   White, Matthew                  Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   White, Michael                  Address on file                           Unearned Revenue                                                              $          300.00
                                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 245 of




                                                                                                                                                  Page 194 of 202
                                                                                In re Legendary Field Exhibitions, LLC
                                                                                                Case No.
                                                                  Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name             Address          Last 4 Date Debt   Trade, Debt / Note           Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                       Digits of  was    Payable (Type of Claim)                                             subject to
                                                                                       Account Incurred,                                                                      offset?
                                                                                       Number Basis for
                                                                                                 Claim
Legendary Field Exhibitions, LLC   White, Mike                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   White, Odis                    Address on file                           Unearned Revenue                                                              $          300.00


Legendary Field Exhibitions, LLC   White, Richard                 Address on file                           Unearned Revenue                                                              $          150.00
Legendary Field Exhibitions, LLC   White, Ricky                   Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   White, Sheryl                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   White, Spencer                 Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Whitfield, Allen               Address on file                           Unearned Revenue                                                              $           70.00
Legendary Field Exhibitions, LLC   Whitfield, Christopher         Address on file                           Unearned Revenue                                                              $          112.00

Legendary Field Exhibitions, LLC   Whitman, Tim                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Whitmore, Ben                  Address on file                           Unearned Revenue                                                              $           15.00


Legendary Field Exhibitions, LLC   Whitmore, Jennifer             Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Whittemore, Bruce              Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   whitten, murlin                Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   Whitton, Champion              Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Wholesale Commercial Laundry   2950 Highway 77                           Trade                                                                         $        5,996.76
                                   Equipment, SE LLC              Southside AL 35907

Legendary Field Exhibitions, LLC   Wick, Robert                   Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Wicks, Sean                    Address on file                           Unearned Revenue                                                              $          170.00

Legendary Field Exhibitions, LLC   Wickson, Brenda                Address on file                           Unearned Revenue                                                              $          111.00
Legendary Field Exhibitions, LLC   Wickwire, Shane                Address on file                           Unearned Revenue                                                              $           30.00
                                                                                                                                                                                                                                                      269




Legendary Field Exhibitions, LLC   Wiebers, Cory                  Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Wiegmann, Bret                 Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Wielgus, Gedaliah              Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Wieloch, Jared                 Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Wierzbicki, Troy               Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Wight, James                   Address on file                           Unearned Revenue                                                              $          210.00


Legendary Field Exhibitions, LLC   Wilbanks, Mike                 Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Wilbanks, Willis               Address on file                           Unearned Revenue                                                              $          600.00

Legendary Field Exhibitions, LLC   Wilborn, Terrie                Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Wilcher, Tonsha                Address on file                           Unearned Revenue                                                              $           45.00
Legendary Field Exhibitions, LLC   Wilcox, George                 Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Wilcox-Strickland, Daniel      Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Wilde, Ralph                   Address on file                           Unearned Revenue                                                              $          405.00

Legendary Field Exhibitions, LLC   Wilde, Valarie                 Address on file                           Unearned Revenue                                                              $          370.00
Legendary Field Exhibitions, LLC   WILDMOKA SAS                   535 route des                             Trade                                                                         $        6,500.00
                                                                  Lucioles, Les
                                                                  Aqueducs Bat 1
                                                                  Valbonne 06560
                                                                  France
Legendary Field Exhibitions, LLC   Wiley Graphics                 1215 2nd Avenue                           Trade                                                                         $        3,572.80
                                                                  South
                                                                  Birmingham AL
                                                                  35233
Legendary Field Exhibitions, LLC   Wiley, Arthur W.               Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Wiley, Melody                  Address on file                           Unearned Revenue                                                              $          105.00

Legendary Field Exhibitions, LLC   Wilford, Jason                 Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Wilhelmi, Zach                 Address on file                           Unearned Revenue                                                              $           45.00
                                                                                                                                                                                                              19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 246 of




                                                                                                                                                 Page 195 of 202
                                                                                   In re Legendary Field Exhibitions, LLC
                                                                                                   Case No.
                                                                     Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                          Creditor Name             Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                         Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                         Account Incurred,                                                                       offset?
                                                                                         Number Basis for
                                                                                                   Claim
Legendary Field Exhibitions, LLC   Wilkens, Matthew                  Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Wilkins, Ashley                   Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Wilkinson, David                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Wilkinson, Stephen                Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Willcam Inc / Vanguard Cleaning   3755 Corporate                            Trade                                                                         $        6,431.65
                                   Systems                           Woods Dr.
                                                                     Birmingham AL
                                                                     35242
Legendary Field Exhibitions, LLC   Wille, Don                        Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Williams, Anne Marie              Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Williams, Austin                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Williams, Barry                   Address on file                           Unearned Revenue                                                              $          340.00

Legendary Field Exhibitions, LLC   Williams, Bill                    Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Williams, Brandon                 Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Williams, Chris                   Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Williams, Christopher             Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Williams, Chryle                  Address on file                           Unearned Revenue                                                              $          600.00

Legendary Field Exhibitions, LLC   Williams, Cilton                  Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Williams, David                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Williams, Dean                    Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Williams, Donna                   Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Williams, Donnie                  Address on file                           Unearned Revenue                                                              $          264.00
                                                                                                                                                                                                                                                         269




Legendary Field Exhibitions, LLC   Williams, Garrick                 Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   Williams, Irving                  Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Williams, Jack F.                 Address on file                           Unearned Revenue                                                              $          620.00

Legendary Field Exhibitions, LLC   Williams, James                   Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   williams, Jammal                  Address on file                           Unearned Revenue                                                              $          121.50
Legendary Field Exhibitions, LLC   Williams, Jayson                  Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Williams, Jerry                   Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Williams, Jessica                 Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Williams, Joel                    Address on file                           Unearned Revenue                                                              $          170.00

Legendary Field Exhibitions, LLC   Williams, John                    Address on file                           Unearned Revenue                                                              $        3,545.00
Legendary Field Exhibitions, LLC   Williams, John Wesley             Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Williams, Jonathan                Address on file                           Unearned Revenue                                                              $           88.00
Legendary Field Exhibitions, LLC   Williams, Joshua                  Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Williams, Juan                    Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Williams, Linda                   Address on file                           Unearned Revenue                                                              $          400.00

Legendary Field Exhibitions, LLC   Williams, Maria                   Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Williams, Mark                    Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   williams, mary                    Address on file                           Unearned Revenue                                                              $           40.00

Legendary Field Exhibitions, LLC   Williams, Meme                    Address on file                           Unearned Revenue                                                              $           31.28

Legendary Field Exhibitions, LLC   Williams, Otis                    Address on file                           Unearned Revenue                                                              $           35.00


Legendary Field Exhibitions, LLC   Williams, Patrick                 Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Williams, Paul                    Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Williams, Preston                 Address on file                           Unearned Revenue                                                              $           30.00
                                                                                                                                                                                                                 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 247 of




                                                                                                                                                    Page 196 of 202
                                                                            In re Legendary Field Exhibitions, LLC
                                                                                            Case No.
                                                              Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                  Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                  Account Incurred,                                                                       offset?
                                                                                  Number Basis for
                                                                                            Claim
Legendary Field Exhibitions, LLC   Williams, Ray              Address on file                           Unearned Revenue                                                              $          224.00

Legendary Field Exhibitions, LLC   Williams, Wesley           Address on file                           Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Williamson, Andre          Address on file                           Unearned Revenue                                                              $           80.50
Legendary Field Exhibitions, LLC   Williamson, Sean           Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Williby, Eric              Address on file                           Unearned Revenue                                                              $          110.00
Legendary Field Exhibitions, LLC   Willingham, Rickey         Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Willis Engineering         Address on file                           Unearned Revenue                                                              $        1,000.00
Legendary Field Exhibitions, LLC   Willis, Clyde              Address on file                           Unearned Revenue                                                              $           80.00

Legendary Field Exhibitions, LLC   Willis, Kris               Address on file                           Unearned Revenue                                                              $          490.00


Legendary Field Exhibitions, LLC   Willis, Timothy W.         Address on file                           Unearned Revenue                                                              $          300.00

Legendary Field Exhibitions, LLC   Willoughby, Lance          Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Willoughby, Trent          Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Wilsey, Chase              Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Wilson, Anthony            Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Wilson, Charlotte          Address on file                           Unearned Revenue                                                              $          140.00


Legendary Field Exhibitions, LLC   Wilson, Chrysta            Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Wilson, David              10 E 5878 S,                              Trade                                                                         $          355.00
                                                              Murray, UT 84107
Legendary Field Exhibitions, LLC   Wilson, David              Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Wilson, Duane              Address on file                           Unearned Revenue                                                              $          340.00
                                                                                                                                                                                                                                                  269




Legendary Field Exhibitions, LLC   wilson, earl               Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Wilson, James              Address on file                           Unearned Revenue                                                              $          370.00

Legendary Field Exhibitions, LLC   Wilson, Jay                Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Wilson, Jesse              Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Wilson, Joy                Address on file                           Unearned Revenue                                                              $           45.00


Legendary Field Exhibitions, LLC   Wilson, Linda              Address on file                           Unearned Revenue                                                              $          156.00

Legendary Field Exhibitions, LLC   Wilson, Loyce              Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Wilson, Marshall           Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Wilson, Maureen            Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Wilson, Megan              Address on file                           Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   wilson, porsha             Address on file                           Unearned Revenue                                                              $           31.28
Legendary Field Exhibitions, LLC   Wilson, Rick               Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Wilson, Robert             Address on file                           Unearned Revenue                                                              $          325.00

Legendary Field Exhibitions, LLC   Wilson, Thomas             Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Wilson, Timothy            Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   wilson, Travis             Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Wilson, Woody              Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   WILSON, XAVIER             Address on file                           Unearned Revenue                                                              $           78.00
Legendary Field Exhibitions, LLC   Wiltz, Lawrence            Address on file                           Unearned Revenue                                                              $          500.00

Legendary Field Exhibitions, LLC   Wimberly, Tracy            Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Wimberly, Wes              Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   wincraft                   960 East Mark                             Trade                                                                         $       10,452.00
                                                              Street
                                                              Winona MN 55987
                                                                                                                                                                                                          19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 248 of




                                                                                                                                             Page 197 of 202
                                                                                 In re Legendary Field Exhibitions, LLC
                                                                                                 Case No.
                                                                   Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name             Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                       Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                       Account Incurred,                                                                       offset?
                                                                                       Number Basis for
                                                                                                 Claim
Legendary Field Exhibitions, LLC   Winders, Sybil                  Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Window 7, Atlanta GSU Stadium   Address on file                           Unearned Revenue                                                              $           80.00



Legendary Field Exhibitions, LLC   Winer, Rhonda                   Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Winfrey, Aurelia                Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Winfrey, Donna                  Address on file                           Unearned Revenue                                                              $          250.00


Legendary Field Exhibitions, LLC   Wing, Sidney                    Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Winkelhorst, Jack               Address on file                           Unearned Revenue                                                              $           90.00

Legendary Field Exhibitions, LLC   Winkelman, Valerie              Address on file                           Unearned Revenue                                                              $           70.00
Legendary Field Exhibitions, LLC   Winkler, Richard                Address on file                           Unearned Revenue                                                              $          320.00



Legendary Field Exhibitions, LLC   Winn, Blaine                    Address on file                           Unearned Revenue                                                              $          600.00


Legendary Field Exhibitions, LLC   Winnell, Paul                   Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Winningham, Kathleen            Address on file                           Unearned Revenue                                                              $          600.00

Legendary Field Exhibitions, LLC   Winningham, Thomas              Address on file                           Unearned Revenue                                                              $          150.00


Legendary Field Exhibitions, LLC   Wintemute, Matt                 Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Winter, Jill                    Address on file                           Unearned Revenue                                                              $           15.00
Legendary Field Exhibitions, LLC   Winters, Bill                   Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Wise, James                     Address on file                           Unearned Revenue                                                              $           80.00
                                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   Wise, Josh                      Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   WiseGuys Lounge                 Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Wiskus, Ron                     Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Wisniew, Anthony                Address on file                           Unearned Revenue                                                              $           75.00

Legendary Field Exhibitions, LLC   Witherbee, Jacob                Address on file                           Unearned Revenue                                                              $           25.00

Legendary Field Exhibitions, LLC   Withers, Mel                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Withrow, Jennifer               Address on file                           Unearned Revenue                                                              $          900.00

Legendary Field Exhibitions, LLC   Witt, Bradford                  Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Witt, Sophia                    Address on file                           Unearned Revenue                                                              $          320.00
Legendary Field Exhibitions, LLC   Wittes, David                   Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Wixom, Kristy                   Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   WKMG                            Address on file                           Unearned Revenue                                                              $        1,400.00


Legendary Field Exhibitions, LLC   Woehler, Kyle                   Address on file                           Unearned Revenue                                                              $           50.00


Legendary Field Exhibitions, LLC   Wojtowicz, Tony                 Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Wolcott, Randall                Address on file                           Unearned Revenue                                                              $          160.00

Legendary Field Exhibitions, LLC   Wolf, Christine                 Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Wolf, Stephen                   Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Wolfe, Ashley                   Address on file                           Unearned Revenue                                                              $           46.92
Legendary Field Exhibitions, LLC   Wolfe, Barry                    Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Wolfe, Troy                     Address on file                           Unearned Revenue                                                              $           70.00
Legendary Field Exhibitions, LLC   Wolff, Steve                    Address on file                           Unearned Revenue                                                              $          500.00


Legendary Field Exhibitions, LLC   Wolford, Ray                    Address on file                           Unearned Revenue                                                              $          150.00
Legendary Field Exhibitions, LLC   Wolford, Ronald                 Address on file                           Unearned Revenue                                                              $           30.00
                                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 249 of




                                                                                                                                                  Page 198 of 202
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                                    Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name               Address           Last 4 Date Debt   Trade, Debt / Note          Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                          Digits of  was    Payable (Type of Claim)                                            subject to
                                                                                          Account Incurred,                                                                     offset?
                                                                                          Number Basis for
                                                                                                    Claim
Legendary Field Exhibitions, LLC   Woliver, Tim                     Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Wolkin, Dennis                   Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Wolkowsky, Olivia                Address on file                           Unearned Revenue                                                              $          140.00


Legendary Field Exhibitions, LLC   Woloshen, John                   Address on file                           Unearned Revenue                                                              $          440.00

Legendary Field Exhibitions, LLC   Wolske, Sandra                   Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Won Worldwide LLC                120 Holbrook Road                         Trade                                                                         $       52,500.00
                                                                    Briarcliff Manor NY
                                                                    10510
Legendary Field Exhibitions, LLC   Wonsetler, Karen                 Address on file                           Unearned Revenue                                                              $          320.00


Legendary Field Exhibitions, LLC   Wood, Derek                      Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Wood, Holly                      Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   wood, hunter                     Address on file                           Unearned Revenue                                                              $          165.60
Legendary Field Exhibitions, LLC   Wood, Michael                    Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Woodall, charler                 Address on file                           Unearned Revenue                                                              $           10.00
Legendary Field Exhibitions, LLC   Woodard, Jordan                  Address on file                           Unearned Revenue                                                              $           40.00


Legendary Field Exhibitions, LLC   Woodley, Stephanie               Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Woodman, Tamra                   Address on file                           Unearned Revenue                                                              $          370.00

Legendary Field Exhibitions, LLC   Woodruff, Ethan                  Address on file                           Unearned Revenue                                                              $           41.00
Legendary Field Exhibitions, LLC   Woods, Patrick                   Address on file                           Unearned Revenue                                                              $           45.00


Legendary Field Exhibitions, LLC   Woods, Rebecca                   Address on file                           Unearned Revenue                                                              $           90.00
                                                                                                                                                                                                                                                        269




Legendary Field Exhibitions, LLC   Woodward, Roddy                  Address on file                           Unearned Revenue                                                              $          208.00

Legendary Field Exhibitions, LLC   Woodworth, Shawn                 Address on file                           Unearned Revenue                                                              $          265.00

Legendary Field Exhibitions, LLC   Woolf, Jeff                      Address on file                           Unearned Revenue                                                              $          100.00
Legendary Field Exhibitions, LLC   Woolman, Joyce                   Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Wooten, Toddy                    Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Worlds, Reginald                 Address on file                           Unearned Revenue                                                              $          800.00

Legendary Field Exhibitions, LLC   Worley, Keith                    Address on file                           Unearned Revenue                                                              $          320.00
Legendary Field Exhibitions, LLC   Wortham, Stephanie               Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Worthington, Chris               Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   woster, Leo                      Address on file                           Unearned Revenue                                                              $           35.00

Legendary Field Exhibitions, LLC   Wounded Warrior Project          Address on file                           Unearned Revenue                                                              $        2,500.00


Legendary Field Exhibitions, LLC   Wray, Wenona                     Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Wreden, Jason                    Address on file                           Unearned Revenue                                                              $           40.00
Legendary Field Exhibitions, LLC   WREG-TV                          Address on file                           Trade                                                                         $          525.00

Legendary Field Exhibitions, LLC   Wren, Carol                      Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Wright Fitness Inc. dba Wright   6510 1st Ave. North                       Trade                                                                         $        3,390.00
                                   Equipment                        Birmingham AL
                                                                    35206

Legendary Field Exhibitions, LLC   Wright, Chuck                    Address on file                           Unearned Revenue                                                              $           25.00

Legendary Field Exhibitions, LLC   Wright, Jason                    Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   Wright, Lee                      Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Wright, Myrleen                  Address on file                           Unearned Revenue                                                              $          100.00
                                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 250 of




                                                                                                                                                   Page 199 of 202
                                                                                    In re Legendary Field Exhibitions, LLC
                                                                                                    Case No.
                                                                      Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name                Address          Last 4 Date Debt   Trade, Debt / Note           Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                           Digits of  was    Payable (Type of Claim)                                             subject to
                                                                                           Account Incurred,                                                                      offset?
                                                                                           Number Basis for
                                                                                                     Claim
Legendary Field Exhibitions, LLC   WTP Service BPM 326634             8345 NW 66 ST                             Trade                                                                         $        5,520.00
                                                                      #2000
                                                                      Miami FL 33166-
                                                                      7896
Legendary Field Exhibitions, LLC   Wuerdeman, Paul                    Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Wulff, Mark                        Address on file                           Unearned Revenue                                                              $          140.00


Legendary Field Exhibitions, LLC   Wyant, Evan                        Address on file                           Unearned Revenue                                                              $        1,620.00

Legendary Field Exhibitions, LLC   Wyatt Jr, Vince                    Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Wyatt, Brandon                     Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   WYATT, MICHAEL                     Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Wynn II, Gary                      Address on file                           Unearned Revenue                                                              $          600.00

Legendary Field Exhibitions, LLC   Wynn, Sherrie                      Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Xerographic                        Address on file                           Unearned Revenue                                                              $          600.00

Legendary Field Exhibitions, LLC   XOS Technologies, Inc. dba XOS     P.O Box 742251                            Trade                                                                         $      164,526.34
                                   Digital                            Atlanta GA 30374-
                                                                      2251
Legendary Field Exhibitions, LLC   Xzavier Dickson                    1083 Jackson Rd                           Trade                                                                         $          392.96
                                                                      Apt C
                                                                      Griffin GA 30223
Legendary Field Exhibitions, LLC   Yanez, Daniel                      Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Yanez, Martin                      Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Yankovich, Phil                    Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   YarTay Company, Inc. dba Y-Cater   2809 5th Ave South                        Trade                                                                         $      125,443.49
                                                                      Birmingham AL
                                                                      35233
Legendary Field Exhibitions, LLC   Yazzie, Derek                      Address on file                           Unearned Revenue                                                              $          200.00
                                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   Yazzie, Jon                        Address on file                           Unearned Revenue                                                              $           60.00
Legendary Field Exhibitions, LLC   Yeasel, Christine                  Address on file                           Unearned Revenue                                                              $          240.00

Legendary Field Exhibitions, LLC   yeatts, richard                    Address on file                           Unearned Revenue                                                              $          111.00

Legendary Field Exhibitions, LLC   Yee, Denise                        Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Yelsits, Mark                      Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Yerger, Lucas                      Address on file                           Unearned Revenue                                                              $          100.00


Legendary Field Exhibitions, LLC   Yochum, Michael                    Address on file                           Unearned Revenue                                                              $          500.00

Legendary Field Exhibitions, LLC   Yocum, Heather                     Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Yoder, Curtis                      Address on file                           Unearned Revenue                                                              $        1,192.00

Legendary Field Exhibitions, LLC   Yoders, Grant                      Address on file                           Unearned Revenue                                                              $          250.00


Legendary Field Exhibitions, LLC   Yogurtjian, Ari                    Address on file                           Unearned Revenue                                                              $          165.00

Legendary Field Exhibitions, LLC   York, Jeremy                       Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Yorkey, Jody                       Address on file                           Unearned Revenue                                                              $           25.00

Legendary Field Exhibitions, LLC   Yoshikawa, Albert                  Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Youmans, Chad                      Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Youmans, William                   Address on file                           Unearned Revenue                                                              $          102.00

Legendary Field Exhibitions, LLC   Young, Abbie                       Address on file                           Unearned Revenue                                                              $          240.00

Legendary Field Exhibitions, LLC   Young, Brian                       Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Young, Chris                       Address on file                           Unearned Revenue                                                              $          155.00

Legendary Field Exhibitions, LLC   Young, Clayton                     Address on file                           Unearned Revenue                                                              $          220.00

Legendary Field Exhibitions, LLC   Young, Daniel                      Address on file                           Unearned Revenue                                                              $          300.00
                                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 251 of




                                                                                                                                                     Page 200 of 202
                                                                           In re Legendary Field Exhibitions, LLC
                                                                                           Case No.
                                                             Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                       Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                 Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                 Account Incurred,                                                                       offset?
                                                                                 Number Basis for
                                                                                           Claim
Legendary Field Exhibitions, LLC   Young, Jeff               Address on file                           Unearned Revenue                                                              $          960.00


Legendary Field Exhibitions, LLC   Young, Jerry              Address on file                           Unearned Revenue                                                              $          120.00

Legendary Field Exhibitions, LLC   Young, Kimberly           Address on file                           Unearned Revenue                                                              $           22.00

Legendary Field Exhibitions, LLC   Young, Lawrence           Address on file                           Unearned Revenue                                                              $          105.00


Legendary Field Exhibitions, LLC   Young, Michael            Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Young, Patrick            Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   Young, Terrell            Address on file                           Unearned Revenue                                                              $           10.00

Legendary Field Exhibitions, LLC   Young, Travis             Address on file                           Unearned Revenue                                                              $          175.00

Legendary Field Exhibitions, LLC   young, wendy              Address on file                           Unearned Revenue                                                              $          125.00
Legendary Field Exhibitions, LLC   Young, William            Address on file                           Unearned Revenue                                                              $          150.00

Legendary Field Exhibitions, LLC   Youngblood, Ray           Address on file                           Unearned Revenue                                                              $          400.00

Legendary Field Exhibitions, LLC   Youngblood, Susan         Address on file                           Unearned Revenue                                                              $           15.00

Legendary Field Exhibitions, LLC   Youngs, Donald            Address on file                           Unearned Revenue                                                              $          210.00


Legendary Field Exhibitions, LLC   Ytuarte, Francisco        Address on file                           Unearned Revenue                                                              $           55.50
Legendary Field Exhibitions, LLC   Ytuarte, Joaquin          Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Yurick, marcy             Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Z21 Creative, LLC         1055 Soledad Way                          Trade                                                                         $        6,627.00
                                                             Lady Lake, FL
                                                             32159
Legendary Field Exhibitions, LLC   Zabala, Sharon            Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Zaban, Joe                Address on file                           Unearned Revenue                                                              $           15.00
                                                                                                                                                                                                                                                 269




Legendary Field Exhibitions, LLC   Zable, Terrance           Address on file                           Unearned Revenue                                                              $          400.00

Legendary Field Exhibitions, LLC   Zachary, nathan           Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Zachry Hospitality, LLC   Address on file                           Unearned Revenue                                                              $          800.00

Legendary Field Exhibitions, LLC   Zaleski, David            Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   ZALOGA, SUZANNE           Address on file                           Unearned Revenue                                                              $           50.00

Legendary Field Exhibitions, LLC   Zamarripa, Alec           Address on file                           Unearned Revenue                                                              $           30.00



Legendary Field Exhibitions, LLC   Zambrano, Alexander       Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Zamora, Adrian            Address on file                           Unearned Revenue                                                              $           15.00
Legendary Field Exhibitions, LLC   Zamora, James             Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Zamzow, Tyler             Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Zapata, Gilbert           Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Zapata, Johnny            Address on file                           Unearned Revenue                                                              $          625.00

Legendary Field Exhibitions, LLC   Zappulla, Raymond         Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Zarate, Rhonda            Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Zarazinski, Richard       Address on file                           Unearned Revenue                                                              $          120.00



Legendary Field Exhibitions, LLC   Zatezalo, Troy            Address on file                           Unearned Revenue                                                              $           60.00

Legendary Field Exhibitions, LLC   Zavardino, Adam           Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Zawicki, David            Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Zdancewicz, Bill          Address on file                           Unearned Revenue                                                              $          105.00

Legendary Field Exhibitions, LLC   Zearfoss, Robert          Address on file                           Unearned Revenue                                                              $          200.00

Legendary Field Exhibitions, LLC   Zebersky, David           Address on file                           Unearned Revenue                                                              $          210.00
                                                                                                                                                                                                         19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 252 of




                                                                                                                                            Page 201 of 202
                                                                            In re Legendary Field Exhibitions, LLC
                                                                                            Case No.
                                                              Schedule E/F: Part 2 - Creditors With Non-Priority Unsecured Claims

           Debtor Name                        Creditor Name        Address         Last 4 Date Debt   Trade, Debt / Note            Contingent   Unliquidated Disputed     Claim          Total Claim
                                                                                  Digits of  was    Payable (Type of Claim)                                              subject to
                                                                                  Account Incurred,                                                                       offset?
                                                                                  Number Basis for
                                                                                            Claim
Legendary Field Exhibitions, LLC   Zeichick, Marlene          Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   ZENDEJAS, LAURA            Address on file                           Unearned Revenue                                                              $           91.50
Legendary Field Exhibitions, LLC   Zentgraf, Kate             Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Zentz, Dave                Address on file                           Unearned Revenue                                                              $          120.00
Legendary Field Exhibitions, LLC   Zepeda, John               Address on file                           Unearned Revenue                                                              $          310.00


Legendary Field Exhibitions, LLC   Zepf, Marissa              Address on file                           Unearned Revenue                                                              $           30.00


Legendary Field Exhibitions, LLC   Ziegler, Brent             Address on file                           Unearned Revenue                                                              $          140.00

Legendary Field Exhibitions, LLC   Ziegler, Cameron           Address on file                           Unearned Revenue                                                              $          380.00

Legendary Field Exhibitions, LLC   Ziegler, Devin             Address on file                           Unearned Revenue                                                              $           60.00


Legendary Field Exhibitions, LLC   Ziegler, Patrick           Address on file                           Unearned Revenue                                                              $          200.00
Legendary Field Exhibitions, LLC   zielinski, matt            Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Zika, David                Address on file                           Unearned Revenue                                                              $        1,200.00

Legendary Field Exhibitions, LLC   Zimmer, Warren             Address on file                           Unearned Revenue                                                              $           15.64
Legendary Field Exhibitions, LLC   Zimmerman, Joseph          Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Zimmerman, Todd            Address on file                           Unearned Revenue                                                              $           30.00

Legendary Field Exhibitions, LLC   Zimmermann, Ted            Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Zindani, Rehman            Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Zisek, Mark                Address on file                           Unearned Revenue                                                              $           15.00
Legendary Field Exhibitions, LLC   Zogby, Drew                Address on file                           Unearned Revenue                                                              $          100.00

Legendary Field Exhibitions, LLC   Zoominfo Inc.              307 Waverley Oaks                         Trade                                                                         $       49,900.00
                                                              Road, Suite 405
                                                                                                                                                                                                                                                  269




                                                              Waltham MA 02452
Legendary Field Exhibitions, LLC   Zubiate, Johnny            Address on file                           Unearned Revenue                                                              $           45.00

Legendary Field Exhibitions, LLC   zucha, jason               Address on file                           Unearned Revenue                                                              $           20.00
Legendary Field Exhibitions, LLC   Zulaica, William           Address on file                           Unearned Revenue                                                              $           70.00

Legendary Field Exhibitions, LLC   Zuniga, David              Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   Zuniga, Joanna             Address on file                           Unearned Revenue                                                              $           20.00

Legendary Field Exhibitions, LLC   Zunigs, Maricela           Address on file                           Unearned Revenue                                                              $           91.50
Legendary Field Exhibitions, LLC   Zurich, Michael            Address on file                           Unearned Revenue                                                              $          250.00

Legendary Field Exhibitions, LLC   Zurita, Melissa            Address on file                           Unearned Revenue                                                              $           30.00
Legendary Field Exhibitions, LLC   ZZZ 2-14761/WES, Kristen   Address on file                           Unearned Revenue                                                              $           50.00
Legendary Field Exhibitions, LLC   ZZZ 2-27471/DL2, James     Address on file                           Unearned Revenue                                                              $          121.50
Legendary Field Exhibitions, LLC   ZZZ 2-48244/FL2, Veann     Address on file                           Unearned Revenue                                                              $           70.00
Legendary Field Exhibitions, LLC   ZZZ 4-16930/DL2, Dorothy   Address on file                           Unearned Revenue                                                              $           20.00
                                   Mcgovern
                                                                                                                                                                                                          19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 253 of




                                                                                                                                             Page 202 of 202
       19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 254 of
                                               269
 Fill in this information to identify the case:

              Legendary Field Exhibitions, LLC
 Debtor name __________________________________________________________________

                                        Western
 United States Bankruptcy Court for the:______________________ District of     Texas
                                                                               _______
                                                                              (State)
 Case number (If known):    _________________________                Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


         State what the contract or       See attached Schedule G
                                          ____________________________________             _________________________________________________________
 2.1     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of ___
                                                                                In re Legendary Field Exhibitions, LLC
                                                                                               Case No.
                                                    Schedule G: Part 10, Question 60 - 65 - Schedule G: Executory Contracts and Unexpired Leases

           Debtor Name                       Contract Counterparty                             Address                Description of Contract or Lease Date of    Remaining    List Contract
                                                                                                                       and Nature of Debtor's Interest Contract     Term      Number of Any
                                                                                                                                                       or Lease                Government
                                                                                                                                                                                 Contract
Legendary Field Exhibitions, LLC   100 South Ashley Property Owner, LLC      Attn: Barry P. Marcus                    Lease Agreement (as amended)
                                                                             c/o Greenfield Partners, LLC
                                                                             2 Post Road West
                                                                             Westport, CT 06880
Legendary Field Exhibitions, LLC   Accolade USA, Inc. dba Levelwear          60 Industrial Parkway, Suite 397         License Agreement
                                                                             Cheektowaga, NY 14227
Legendary Field Exhibitions, LLC   Akins, Lauren                             Address on file                          Employee Invention Assignment
                                                                                                                      and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Alliance Productions                      5200 Northshore Dr. Ste C                Payroll Agreement
                                                                             North Little Rock AR 72118
Legendary Field Exhibitions, LLC   Alliance Productions                      5200 Northshore Dr, Ste C                Remote Facilities Support
                                                                             North Little Rock, AR 72118              Agreement
Legendary Field Exhibitions, LLC   Alou, Valerie                             Address on file                          Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Anderson, Matt                            Address on file                          Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Anthem Inc                                21555 Oxnard Street, 11th Floor          Healthcare Plan
                                                                             Woodland Hills, CA 91367
Legendary Field Exhibitions, LLC   Aramark Sports and Entertainment          2400 Market Street                       Stadium Merchandising and E-
                                   Services, LLC                             Philadelphia, PA 19103                   commerce Services Agreement
Legendary Field Exhibitions, LLC   Arizona Cardinals Football Club LLC dba   8701 S Hardy Dr                          License Agreement
                                   Arizona Cardinals                         Tempe, AZ 85284
                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   Arizona Christian University              Office of Retail Leasing                 Lease Agreement
                                                                             Danielle Bloss-Burdick, Director
                                                                             15249 N 59th Ave
                                                                             Glendale, AZ 85306
Legendary Field Exhibitions, LLC   Arizona State University                  500 E Veterans Way                       Memorandum of Understanding
                                                                             Tempe AZ 85281
Legendary Field Exhibitions, LLC   Ashton, Evan                              Address on file                          Employee Invention Assignment
                                                                                                                      and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Austin Media Group, LLC                   180 Newport Center Dr                    Master Services Agreement
                                                                             Newport Beach, CA 92660
Legendary Field Exhibitions, LLC   BaseCamp Franchising, LLC                 39 E. Eagle Ridge Drive,                 Lease Agreement
                                                                             Suite 100
                                                                             North Salt Lake UT 84054
Legendary Field Exhibitions, LLC   Bauer, Brent                              Address on file                          Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Beacham, Darwin                           Address on file                          Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Belkhous, Abed                            Address on file                          Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Belz Construction Service LLC             PO Box 3661                              Construction Agreement
                                                                             Memphis TN 38173
Legendary Field Exhibitions, LLC   Billick, Brian                            Address on file                          Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Birmingham Jefferson Civic Center         Tad Snider                               Partnership Agreement
                                   Authority                                 2100 Richard Arrington Jr. Blvd. North
                                                                             Birmingham, AL 35203
Legendary Field Exhibitions, LLC   Birmingham Park and Recreation Board,     400 Graymont Avenue, West                Lease / Facilities Use Agreements
                                   an Alabama municipal corporation          Birmingham, AL 35204
                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 255 of




                                                                                                   Page 1 of 13
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                 Case No.
                                                      Schedule G: Part 10, Question 60 - 65 - Schedule G: Executory Contracts and Unexpired Leases

           Debtor Name                      Contract Counterparty                                Address               Description of Contract or Lease Date of    Remaining    List Contract
                                                                                                                        and Nature of Debtor's Interest Contract     Term      Number of Any
                                                                                                                                                        or Lease                Government
                                                                                                                                                                                  Contract
Legendary Field Exhibitions, LLC   Birmingham Park and Recreation Board,       400 Graymont Avenue, West               License Agreement
                                   an Alabama municipal corporation            Birmingham, AL 35204
Legendary Field Exhibitions, LLC   Board of Regents of the University System   Georgia State University                Lease / Facilities Use Agreements
                                   of Georgia                                  755 Hank Aaron Drive SE, Atlanta,
Legendary Field Exhibitions, LLC   Boelter                                     Kate Sytkowski                          Royalty Agreement
                                                                               4200 N Port Washington Rd
                                                                               Glendale WI 53212
Legendary Field Exhibitions, LLC   Boller, David                               Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Boyette, Dalis                              Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Brady, Jordan                               Address on file                         Employee Invention Assignment
                                                                                                                       and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Brady, Kellie                               Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Bridges, Bobby                              Address on file                         Employee Invention Assignment
                                                                                                                       and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Brinker Media Group, Inc.                   1070 Dove Valley Road                   License Agreement
                                                                               Decatur, GA 30032
Legendary Field Exhibitions, LLC   Brown, Theotis                              Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Camden County PSA Leisure Services          1050 Wildcat Dr.                        Lease / Facilities Use Agreements
                                                                                                                                                                                                                                        269




                                                                               Kingsland GA 31548
Legendary Field Exhibitions, LLC   Candlewood Suites Birmingham                400 Commons Dr                          Group Sales Agreement
                                   Homewood                                    Birmingham, AL 35209
Legendary Field Exhibitions, LLC   Carey International Inc.                    P.O Box 931994                          Transportation Rate Agreement
                                                                               Atlanta GA 31193-1994
Legendary Field Exhibitions, LLC   Carter, Casey                               Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Central Catholic High School                1403 N St Mary's St,                    Lease / Facilities Use Agreements
                                                                               San Antonio, TX 78215
Legendary Field Exhibitions, LLC   Champlin, Todd                              Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Chazot, Bertrand                            Address on file                         Employee Invention Assignment
                                                                                                                       and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Chief Zebra Productions - Mike Pereira      2443 Fair Oaks Blvd                     Master Services Agreement
                                                                               Box # 503
                                                                               Sacramento CA 95825
Legendary Field Exhibitions, LLC   Childress, Brad                             Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   City of Birmingham, Park and Recreation     710 North 20th Street, Suite 300,       Partnership Agreement
                                   Board                                       Birmingham, AL 35203
Legendary Field Exhibitions, LLC   City of San Antonio - Alamodome             100 Montana St                          Lease / Facilities Use Agreements
                                                                               San Antonio, TX 78203
Legendary Field Exhibitions, LLC   City of San Antonio - Alamodome             100 Montana St                          License Agreement
                                                                               San Antonio, TX 78203
Legendary Field Exhibitions, LLC   City of San Diego - SDCCU Stadium           SDCCU Stadium - City Treasurer          Lease / Facilities Use Agreements
                                                                               9449 Friars Rd
                                                                               San Diego CA 92108
Legendary Field Exhibitions, LLC   Clark, Joseph                               Address on file                         Employee Invention Assignment
                                                                                                                       and Confidentiality Agreement
                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 256 of




                                                                                                     Page 2 of 13
                                                                                   In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                       Schedule G: Part 10, Question 60 - 65 - Schedule G: Executory Contracts and Unexpired Leases

           Debtor Name                       Contract Counterparty                                Address               Description of Contract or Lease Date of    Remaining    List Contract
                                                                                                                         and Nature of Debtor's Interest Contract     Term      Number of Any
                                                                                                                                                         or Lease                Government
                                                                                                                                                                                   Contract
Legendary Field Exhibitions, LLC   Clark, Yvonne                                Address on file                         Termination Agreement

Legendary Field Exhibitions, LLC   CoachComm, LLC                               205 Technology Parkway                  Sales Agreement
                                                                                Auburn, AL 36830
Legendary Field Exhibitions, LLC   Cornerstone Christian School                 17702 NW Military Hwy                   Lease / Facilities Use Agreements
                                                                                San Antonio, TX 78257
Legendary Field Exhibitions, LLC   Courtyard Atlanta Alpharetta                 12645 Deerfield Parkway                 Group Sales Agreement
                                                                                Alpharetta, GA 30004-8524
Legendary Field Exhibitions, LLC   Creative Broadcast Techniques (“CBT”)        12585 Kirkham Court                     Lease / Facilities Use Agreements
                                                                                Poway, CA 92064
Legendary Field Exhibitions, LLC   CWI, Inc. dba Camping World                  250 Parkway Dr                          Facilities Use Agreement
                                                                                Lincolnshire, IL 60069
Legendary Field Exhibitions, LLC   Czarnecki, Pawel                             Address on file                         Employee Invention Assignment
                                                                                                                        and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Darling, Richard                             Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Delta Dental of California                   11155 International Drive, MS A1N,      Dental Benefit Plan
                                                                                Rancho Cordova, CA 95670
Legendary Field Exhibitions, LLC   Devaney, Billy                               Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Dilfer, Trent                                Address on file                         Advisor-Consulting Agreement
                                                                                                                                                                                                                                         269




Legendary Field Exhibitions, LLC   DNK Holdings LLC                             3242 Peachtree Road, N.E., #1203,       Advisor-Consulting Agreement
                                                                                Atlanta, GA 30305
Legendary Field Exhibitions, LLC   Doubletree By Hilton Orlando Downtown        60 S Ivanhoe Blvd                       Group Sales Agreement
                                                                                Orlando, FL 32804
Legendary Field Exhibitions, LLC   Dougherty, Mike                              Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Douglas, Philicia                            Address on file                         Employee Invention Assignment
                                                                                                                        and Confidentiality Agreement
Legendary Field Exhibitions, LLC   DVSport, Inc.                                1 Penn Center West, Suite 200           Lease Agreement
                                                                                Pittsburgh PA 15276
Legendary Field Exhibitions, LLC   eClinicalWorks LLC                           2 Technology Drive                      Software License Agreement
                                                                                Westborough, MA 01581
Legendary Field Exhibitions, LLC   Ekema-Agbaw, Joy                             Address on file                         Employee Invention Assignment
                                                                                                                        and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Embassy Suites by Hilton South Jordan        10333 South Jordan Gateway              Group Sales Agreement
                                   Salt Lake City                               South Jordan UT 84095
Legendary Field Exhibitions, LLC   Embassy Suites San Antonio Landmark          5615 Landmark Parkway                   Group Sales Agreement
                                                                                San Antonio TX 78249
Legendary Field Exhibitions, LLC   Emory Healthcare, Inc.                       Attn: Dr. Scott D. Boden                License Agreement
                                                                                59 Executive Park South- Suite 3047,
                                                                                Atlanta, Georgia 30329,
Legendary Field Exhibitions, LLC   Emory Healthcare, Inc. ("EHI") and The       Attn: Dr. Scott D. Boden                Medical Services Agreement
                                   Emory Clinic, Inc. ("TEC")                   59 Executive Park South- Suite 3047,
                                                                                Atlanta, Georgia 30329,
Legendary Field Exhibitions, LLC   Enfold I.T.                                  435 Lancaster St Ste 350                Master Services Agreement
                                                                                Leominster, MA 01453
Legendary Field Exhibitions, LLC   Erby, J'Ron                                  Address on file                         Employee Invention Assignment
                                                                                                                        and Confidentiality Agreement
                                                                                                                                                                                                 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 257 of




                                                                                                      Page 3 of 13
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                 Case No.
                                                      Schedule G: Part 10, Question 60 - 65 - Schedule G: Executory Contracts and Unexpired Leases

           Debtor Name                       Contract Counterparty                               Address               Description of Contract or Lease Date of    Remaining    List Contract
                                                                                                                        and Nature of Debtor's Interest Contract     Term      Number of Any
                                                                                                                                                        or Lease                Government
                                                                                                                                                                                  Contract
Legendary Field Exhibitions, LLC   Erickson, Dennis                            Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Erin, Mary                                  Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Fairfield Inn & Suites Kingsland            1319 E King Ave                         Group Sales Agreement
                                                                               Kingsland, GA 31548
Legendary Field Exhibitions, LLC   Fairfield Inn & Suites Kingsland, GA        1319 E. King Ave.,                      Group Sales Agreement
                                                                               Kingsland, GA 31548
Legendary Field Exhibitions, LLC   Fathead                                     Ronnie Robeson                          Royalty Agreement
                                                                               1201 Woodward Ave., 4th Floor
                                                                               Detroit, MI 48226
Legendary Field Exhibitions, LLC   Fitness International, LLC ("LA Fitness")   3161 Michelson Dr                       Group Sales Agreement
                                                                               Irvine, CA 92612
Legendary Field Exhibitions, LLC   Fitzgerald, Tara                            Address on file                         Employee Invention Assignment
                                                                                                                       and Confidentiality Agreement
Legendary Field Exhibitions, LLC   For Bare Feet                               Attn: Kelly Baugh                       Royalty Agreement
                                                                               1201 S. Ohio Street
                                                                               Martinsville, IN 46151
Legendary Field Exhibitions, LLC   Fritz, Luke                                 Address on file                         Employee Invention Assignment
                                                                                                                       and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Fund, Steve                                 Address on file                         Advisor-Consulting Agreement
                                                                                                                                                                                                                                        269




Legendary Field Exhibitions, LLC   Georgia State University Stadium            755 Hank Aaron Drive SE                 Memorandum of Understanding
                                                                               Atlanta, GA 30315
Legendary Field Exhibitions, LLC   G-III Apparel Group, Ltd.                   512 7th Avenue, 27th Fl                 License Agreement
                                                                               New York, NY 10018
Legendary Field Exhibitions, LLC   Gilvens, Christopher                        Address on file                         Employee Invention Assignment
                                                                                                                       and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Global Spectrum, L.P. d/b/a Spectra     Global Spectrum, LP as Agent for the        License Agreement (as amended)
                                   Venue Management, as agent on behalf of City of Memphis
                                   the City of Memphis                     Attn: Thomas Carrier, General Manager
                                                                           335 South Hollywood Street
                                                                           Memphis, TN 38104

Legendary Field Exhibitions, LLC   Goodson, Amy                                Address on file                         Employee Invention Assignment
                                                                                                                       and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Graff, Toby                                 Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Greater Birmingham Convention & Visitors J. John Oros Jr., President, CEO           Partnership Agreement
                                   Bureau                                   220 9th Ave North
                                                                            Birmingham, AL 35203-1100
Legendary Field Exhibitions, LLC   Gregovits, Vic                           Address on file                            Employee Invention Assignment
                                                                                                                       and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Hamilton, Rick                              Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Hampton, Clay                               Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Hanson, Megan                               Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Harris, Michael Robert                      Address on file                         Employee Invention Assignment
                                                                                                                       and Confidentiality Agreement
                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 258 of




                                                                                                        Page 4 of 13
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                 Case No.
                                                      Schedule G: Part 10, Question 60 - 65 - Schedule G: Executory Contracts and Unexpired Leases

           Debtor Name                       Contract Counterparty                               Address               Description of Contract or Lease Date of    Remaining       List Contract
                                                                                                                        and Nature of Debtor's Interest Contract     Term         Number of Any
                                                                                                                                                        or Lease                   Government
                                                                                                                                                                                     Contract
Legendary Field Exhibitions, LLC   Hedrick, Phillip                            Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Herring, Greg                               Address on file                         Employee Invention Assignment
                                                                                                                       and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Highwoods Realty L.P.                       c/o Highwood Properties, Inc.           Lease Agreement
                                                                               3100 Smoketree Court, Ste 600
                                                                               Raleigh, NC 27604
Legendary Field Exhibitions, LLC   Hinch, Joshua                               Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Holden, Ben                                 Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Hollern, Ryan                               Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Hyde, Evan                                  Address on file                         Advisor-Consulting Agreement
                                                                                                                                                                      4/30/2019
Legendary Field Exhibitions, LLC   ICM Partners - Trent Green                  10250 Constellation Blvd. 31st Fl       Advisor-Consulting Agreement
                                                                               Los Angeles CA 90067
Legendary Field Exhibitions, LLC   IGG Consultings, Inc.                       8100 La Mesa Dr. Ste 105                Advisor-Consulting Agreement
                                                                               La Mesa, CA 91942
Legendary Field Exhibitions, LLC   IsoLynx                                     179 Ward Hill                           License Agreement
                                                                               Haverhill MA 01835
Legendary Field Exhibitions, LLC   Jacobson, Dana                              Address on file                         Advisor-Consulting Agreement
                                                                                                                                                                                                                                           269




Legendary Field Exhibitions, LLC   Jerry Pate Rentals                          604 28th St North                       Equipment Rental Agreement
                                                                               Birmingham, AL 35203
Legendary Field Exhibitions, LLC   Jessop, Alicia                              Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Johnson, Sarah                              Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Johnston, Daryl                             Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Jolna, Kyley                                Address on file                         Termination Agreement

Legendary Field Exhibitions, LLC   Jordan, Fritz                               Address on file                         Employee Invention Assignment
                                                                                                                       and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Juarez, Ryan                                Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Kaiser                                      1900 S. Norfolk St. Suite 290,          Healthcare Plan
                                                                               San Mateo, CA 94403
Legendary Field Exhibitions, LLC   Kanik, Sarah                                Address on file                         Employee Invention Assignment
                                                                                                                       and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Kashuck, Kyle                               Address on file                         Employee Invention Assignment
                                                                                                                       and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Kasik, John                                 Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Kelly, Tina                                 Address on file                         Employee Invention Assignment
                                                                                                                       and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Kiese, Robert                               Address on file                         Employee Invention Assignment
                                                                                                                       and Confidentiality Agreement
                                                                                                                                                                                                   19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 259 of




                                                                                                     Page 5 of 13
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                 Case No.
                                                      Schedule G: Part 10, Question 60 - 65 - Schedule G: Executory Contracts and Unexpired Leases

           Debtor Name                       Contract Counterparty                               Address               Description of Contract or Lease Date of    Remaining    List Contract
                                                                                                                        and Nature of Debtor's Interest Contract     Term      Number of Any
                                                                                                                                                        or Lease                Government
                                                                                                                                                                                  Contract
Legendary Field Exhibitions, LLC   Kilpatrick Townsend & Stockton LLP          Dept # 34542                            Engagement Agreement
                                                                               P.O. Box 39000
                                                                               San Francisco CA 94139
Legendary Field Exhibitions, LLC   Kirk, Justin                                Address on file                         Employee Invention Assignment
                                                                                                                       and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Klunder, Chad                               Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   KORE Interactive Systems                    259 W 30th St., 16th Floor              Software License Agreement
                                                                               New York NY 10001
Legendary Field Exhibitions, LLC   Kovach, Cameron                             Address on file                         Employee Invention Assignment
                                                                                                                       and Confidentiality Agreement
Legendary Field Exhibitions, LLC   LA Fitness International LLC                3161 Michelson Dr                       Facilities Use Agreement
                                                                               Irvine, CA 92612
Legendary Field Exhibitions, LLC   Lash, Travis                                Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Lewis, Marvin                               Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Lewis, Tim                                  Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Lewis, William                              Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Lexington Hotel Conference Center           1515 Prudential Drive                   Group Sales Agreement
                                                                                                                                                                                                                                        269




                                   Jacksonville Riverwalk                      Jacksonville FL 32207
Legendary Field Exhibitions, LLC   Logo Brands, Inc.                           117 Southeast Pkwy                      License Agreement
                                                                               Franklin, TN 37064
Legendary Field Exhibitions, LLC   Louie, Davis                                Address on file                         Termination Agreement

Legendary Field Exhibitions, LLC   MacCracken, Alan                            Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Maniar, Sam                                 Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Mann, Dinn                                  Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Martz, Michael                              Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Maxwell, Celeste                            Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Mayer, Mark                                 Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   McAdams, Daniel                             Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   McKay, John                                 Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   McKay, John                                 Address on file                         Termination Agreement

Legendary Field Exhibitions, LLC   McMillen, Gregory                           Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Memphis United Fitness, LLC dba The Box 580 Tillman, Suite 1                        Memorandum of Understanding
                                                                           Memphis TN 38112
Legendary Field Exhibitions, LLC   MGM Resorts International Operations,   6385 S. Rainbow Blvd, Ste 500               IP License and Escrow Agreement
                                   Inc.                                    Las Vegas, NV 89118
                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 260 of




                                                                                                       Page 6 of 13
                                                                                   In re Legendary Field Exhibitions, LLC
                                                                                                  Case No.
                                                       Schedule G: Part 10, Question 60 - 65 - Schedule G: Executory Contracts and Unexpired Leases

           Debtor Name                      Contract Counterparty                                 Address               Description of Contract or Lease Date of    Remaining    List Contract
                                                                                                                         and Nature of Debtor's Interest Contract     Term      Number of Any
                                                                                                                                                         or Lease                Government
                                                                                                                                                                                   Contract
Legendary Field Exhibitions, LLC   Miami Air International Inc                  P.O. Box 660880                         Charter Contract
                                                                                Miami Springs FL 33602
Legendary Field Exhibitions, LLC   Miami Air International Inc                  P.O. Box 660880                         Terms and Conditions Agreement
                                                                                Miami Springs FL 33602
Legendary Field Exhibitions, LLC   Miles, Jackie                                Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Miles, Jackie                                Address on file                         Termination Agreement

Legendary Field Exhibitions, LLC   Milton High School                           13025 Birrmingham Highway               Facilities Use Agreement
                                                                                Milton, GA 30004
Legendary Field Exhibitions, LLC   Milton High School                           13025 Birrmingham Highway               Facilities Use Agreement
                                                                                Milton, GA 30004
Legendary Field Exhibitions, LLC   Milton High School                           13025 Birmingham Highway                Lease / Facilities Use Agreements
                                                                                Milton, GA 30004
Legendary Field Exhibitions, LLC   Molina, Brian                                Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Mora, James                                  Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Mora, James                                  Address on file                         Termination Agreement

Legendary Field Exhibitions, LLC   Morris, Robert                               Address on file                         Advisor-Consulting Agreement
                                                                                                                                                                                                                                         269




Legendary Field Exhibitions, LLC   Muller, Randy                                Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Mullins, Maxfield                            Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Myers, Gary                                  Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Nationwide Referral Company, Inc. d/b/a      c/o Nationwide Referral Company, Inc.   Lease Agreement
                                   Apartment & Relocation Center                DBA Apartment & Relocation
                                                                                Center,11818 Wurzbach Road, San
                                                                                Antonio, TX 78230, Attn: Kari Uiz
Legendary Field Exhibitions, LLC   Nelson, Iain                                 Address on file                         Employee Invention Assignment
                                                                                                                        and Confidentiality Agreement
Legendary Field Exhibitions, LLC   NEP II, Inc dba NEP Supershooters, LP        2 Beta Dr                               Master Services Agreement
                                                                                Pittsburgh PA 15238
Legendary Field Exhibitions, LLC   NEP II, Inc dba NEP Supershooters, LP        2 Beta Dr                               Scope of Work Agreement
                                                                                Pittsburgh PA 15238
Legendary Field Exhibitions, LLC   NEP Supershooters, L.P.                      Attn: Dean Naccarato, General Counsel   Technical Production Services
                                                                                NEP Supershooters, L.P. 2 Beta Drive,   Agreement
                                                                                Pittsburgh, PA 15238
Legendary Field Exhibitions, LLC   Neuheisel Jr, Richard                        Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   New Era Cap                                  160 Delaware Avenue                     License Agreement
                                                                                Buffalo NY 14240
Legendary Field Exhibitions, LLC   NFL Enterprise LLC                           345 Park Avenue                         Distribution Agreement
                                                                                New York, NY 10154
Legendary Field Exhibitions, LLC   NFL Enterprise LLC                           345 Park Avenue                         Software License Agreement
                                                                                New York, NY 10154
Legendary Field Exhibitions, LLC   Northside Independent School District        5900 Evers Rd.                          Facilities Use Agreement
                                                                                San Antonio, TX 78238
                                                                                                                                                                                                 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 261 of




                                                                                                      Page 7 of 13
                                                                                 In re Legendary Field Exhibitions, LLC
                                                                                                Case No.
                                                     Schedule G: Part 10, Question 60 - 65 - Schedule G: Executory Contracts and Unexpired Leases

           Debtor Name                        Contract Counterparty                             Address               Description of Contract or Lease Date of    Remaining    List Contract
                                                                                                                       and Nature of Debtor's Interest Contract     Term      Number of Any
                                                                                                                                                       or Lease                Government
                                                                                                                                                                                 Contract
Legendary Field Exhibitions, LLC   Ogas, Raymond                              Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Operation Homefront, Inc.                  1355 Central Parkway, Ste 100           Donation Agreement
                                                                              San Antonio, TX 78232
Legendary Field Exhibitions, LLC   OpSec Security, Inc.                       1857 Colonial Village Lane              Scope of Work Agreement
                                                                              Lancaster, PA 17601
Legendary Field Exhibitions, LLC   Orca                                       Cliff Walker                            Royalty Agreement
                                                                              3287 Franklin Limestone Road, Suite 310
                                                                              Antioch TN 37013

Legendary Field Exhibitions, LLC   Orendorff, Alex                            Address on file                         Employee Invention Assignment
                                                                                                                      and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Orlando Venues on behalf of the City of    400 W. Church St, Ste 200               Facilities Use Agreement
                                   Orlando, Florida                           Orlando, FL 32801
Legendary Field Exhibitions, LLC   Outerstuff                                 Sol Werdiger, CEO                       Royalty Agreement
                                                                              1412 Broadway, 18th floor
                                                                              New York, NY 10018
Legendary Field Exhibitions, LLC   Outerstuff LLC                             Sol Werdiger, CEO                       License Agreement
                                                                              1412 Broadway, 18th floor
                                                                              New York, NY 10018
Legendary Field Exhibitions, LLC   OYO Toys, Inc.                             108 Forest Ave.                         License Agreement
                                                                              Hudson, MA 01749
                                                                                                                                                                                                                                       269




Legendary Field Exhibitions, LLC   Pace, Jeremy                               Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Peck, Nathan                               Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Pendry, Joseph                             Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Perigo, Sotero                             Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Peterson, John                             Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Peterson, Tim                              Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Piedmont Office Management, LLC            60 Broad St # Ll                        License Agreement
                                                                              New York, NY 10004
Legendary Field Exhibitions, LLC   Pinder-Amaker, Stephanie                   Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Prologis                                   1800 Wazee St, Ste 500                  Lease Agreement
                                                                              Denver, CO 80202
Legendary Field Exhibitions, LLC   Proscout, Inc.                             214 Woodside                            Services Agreement
                                                                              Park City, UT 84060
Legendary Field Exhibitions, LLC   Ramsay, Philip                             Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Randel, Jane                               Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Raustein, Eric                             Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Real Salt Lake                             14787 S Academy Parkway Bldg A          Lease Agreement
                                                                              Herriman, UT 84096
                                                                                                                                                                                               19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 262 of




                                                                                                    Page 8 of 13
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                 Case No.
                                                      Schedule G: Part 10, Question 60 - 65 - Schedule G: Executory Contracts and Unexpired Leases

           Debtor Name                      Contract Counterparty                                Address               Description of Contract or Lease Date of    Remaining    List Contract
                                                                                                                        and Nature of Debtor's Interest Contract     Term      Number of Any
                                                                                                                                                        or Lease                Government
                                                                                                                                                                                  Contract
Legendary Field Exhibitions, LLC   Reid, Mitch                                 Address on file                         Employee Invention Assignment
                                                                                                                       and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Residence Inn by Marriott Orlando       680 N Orange Ave                            Group Sales Agreement
                                   Downtown                                Orlando, FL 32801
Legendary Field Exhibitions, LLC   Residence Inn by Marriott San Diego     1865 Hotel Cir S,                           Group Sales Agreement
                                   Mission Valley                          San Diego, CA 92108
Legendary Field Exhibitions, LLC   Residence Inn by Marriott, LLC          1410 N.E. Loop 410                          License Agreement
                                                                           San Antonio, Texas 78209
Legendary Field Exhibitions, LLC   Residence Inn Mission Valley San Diego 1865 Hotel Circle S.                         Group Sales Event Agreement
                                                                           San Diego, CA 92108
Legendary Field Exhibitions, LLC   Residence Inn San Antonio Airport/Alamo 1410 NE Loop 410                            License Agreement
                                   Heights Hotel                           San Antonio, TX 78209
Legendary Field Exhibitions, LLC   Riddell                                 7501 Performance Lane                       Equipment Agreement
                                                                           North Ridgeville, OH 44039
Legendary Field Exhibitions, LLC   Riddell                                 7501 Performance Lane                       Purchase Order Agreement
                                                                           North Ridgeville, OH 44039
Legendary Field Exhibitions, LLC   Riddell Sports Group Inc.               P.O Box 71914                               License Agreement
                                                                           Chicago IL 60694-1914
Legendary Field Exhibitions, LLC   Riedel, Andy                            Address on file                             Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Riley, Michael                              Address on file                         Advisor-Consulting Agreement
                                                                                                                                                                                                                                        269




Legendary Field Exhibitions, LLC   Riley, Michael                              Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Rivers, Thad                                Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Robbins, David                              Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Robert Colman Trust                         Attn.: Robert Colman                    Lease Agreement
                                                                               610 Santa Monica Boulevard, Suite 206
                                                                               Santa Monica, California 90401
Legendary Field Exhibitions, LLC   Roberts, Stacey                             Address on file                         Employee Invention Assignment
                                                                                                                       and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Robertson and Associates, Inc. dba          4212 Robertson Road                     Production Agreement
                                   Colonnade Group                             Birmingham AL 35243
Legendary Field Exhibitions, LLC   Rocha, Mike                                 Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Rose, Ben                                   Address on file                         Termination Agreement

Legendary Field Exhibitions, LLC   Rose, Richard                               Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Ruskell, Timothy                            Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   SA FC Management, LLC                       5106 David Edwards Drive                Complex Rental Agreement
                                                                               San Antonio, TX 78233
Legendary Field Exhibitions, LLC   Salesforce                                  P.O Box 203141                          Purchase Order Agreement
                                                                               Dallas TX 75320-3141
Legendary Field Exhibitions, LLC   Savage, Phil                                Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Scenic Property Management, LLC             14572 S 790 W Ste. A100                 Lease Agreement
                                   a/k/a Scenic Development, Inc.              Bluffdale UT 84065
                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 263 of




                                                                                                     Page 9 of 13
                                                                                 In re Legendary Field Exhibitions, LLC
                                                                                                Case No.
                                                     Schedule G: Part 10, Question 60 - 65 - Schedule G: Executory Contracts and Unexpired Leases

           Debtor Name                       Contract Counterparty                              Address               Description of Contract or Lease Date of    Remaining       List Contract
                                                                                                                       and Nature of Debtor's Interest Contract     Term         Number of Any
                                                                                                                                                       or Lease                   Government
                                                                                                                                                                                    Contract
Legendary Field Exhibitions, LLC   Schaeffer, Rick                            Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Schaeffer, Rick                            Address on file                         Termination Agreement

Legendary Field Exhibitions, LLC   Schanzer, Kenneth                          Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Schriffen, John                            Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Security Industry Specialists Inc. - SIS   6071 Bristol Parkway                    Master Services Agreement
                                                                              Culver City, CA 90230
Legendary Field Exhibitions, LLC   Security Industry Specialists Inc. - SIS   6071 Bristol Parkway                    Scope of Work Agreement
                                                                              Culver City, CA 90230
Legendary Field Exhibitions, LLC   Selesky Jr, Ronald                         Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Sharpe, Rachel                             Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Silverman Group                            436 Orange Street                       Scope of Work Agreement
                                                                              New Haven CT 06511
Legendary Field Exhibitions, LLC   Singletary, Michael                        Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Sirius XM Radio, Inc.                      1290 Avenue of the Americas, 11th Fl    License Agreement
                                                                              New York, NY 10104                                                                    12/31/2019
                                                                                                                                                                                                                                          269




Legendary Field Exhibitions, LLC   SMG-State Farm Stadium                     1 Cardinals Drive                       Facilities Use Agreement
                                                                              Glendale AZ 85305
Legendary Field Exhibitions, LLC   SMG-State Farm Stadium                     1 Cardinals Drive                       License Agreement
                                                                              Glendale AZ 85305
Legendary Field Exhibitions, LLC   SMG-State Farm Stadium                     1 Cardinals Drive                       License Agreement
                                                                              Glendale AZ 85305
Legendary Field Exhibitions, LLC   Smith, Mike                                Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Sneaky Big Studios, LLC                    15750 N. Northsight Blvd.               Production Agreement
                                                                              Scottsdale AZ 85260
Legendary Field Exhibitions, LLC   Snell, Wesley                              Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Sonesta ES Suites Memphis                  6141 Old Poplar Pike                    Group Sales Agreement
                                                                              Memphis, TN 38119
Legendary Field Exhibitions, LLC   Spinzo Corporation                         337 Rothesay Avenue                     Master Hosted Sales Agreement
                                                                              Saint John, NB E2J 2C3 Canada
Legendary Field Exhibitions, LLC   SportsMEDIA Technology Corp (SMT)          3511 University Drive                   On-site Production Support
                                                                              Durham NC 27707                         Agreement
Legendary Field Exhibitions, LLC   Spurrier, Stephen                          Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Stadium Development LLC                    8701 S Hardy Dr                         License Agreement
                                                                              Tempe, AZ 85284
Legendary Field Exhibitions, LLC   Staybridge Suites Downtown Convention      123 Hoefgen Ave                         Group Sales Agreement
                                   Center                                     San Antonio TX 78205
Legendary Field Exhibitions, LLC   Staybridge Suites Downtown Convention      123 Hoefgen Ave                         Lease / Facilities Use Agreements
                                   Center                                     San Antonio TX 78205
Legendary Field Exhibitions, LLC   Steed, Ronald Jason                        Address on file                         Termination Agreement
                                                                                                                                                                                                  19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 264 of




                                                                                                    Page 10 of 13
                                                                                  In re Legendary Field Exhibitions, LLC
                                                                                                 Case No.
                                                      Schedule G: Part 10, Question 60 - 65 - Schedule G: Executory Contracts and Unexpired Leases

           Debtor Name                      Contract Counterparty                                Address               Description of Contract or Lease Date of    Remaining    List Contract
                                                                                                                        and Nature of Debtor's Interest Contract     Term      Number of Any
                                                                                                                                                        or Lease                Government
                                                                                                                                                                                  Contract
Legendary Field Exhibitions, LLC   Stevenson, Derik                            Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Stevenson, Derik                            Address on file                         Termination Agreement

Legendary Field Exhibitions, LLC   Stoney, Christopher                         Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   StoragePRO                                  500 Indiana St                          Lease Agreement
                                                                               San Francisco, CA 94107
Legendary Field Exhibitions, LLC   Stover, Brent                               Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Strimling, Steve                            Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Strom, James                                Address on file                         Employee Invention Assignment
                                                                                                                       and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Tatlonghari, Teresa                         Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Teamworks Innovations, Inc.                 122 E Parrish St                        Customer Service Agreement
                                                                               Durham NC 27701
Legendary Field Exhibitions, LLC   Teitelman, Mark                             Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Teitelman, Mark                             Address on file                         Termination Agreement
                                                                                                                                                                                                                                        269




Legendary Field Exhibitions, LLC   Thalapaneni, Anusha                         Address on file                         Termination Agreement

Legendary Field Exhibitions, LLC   The Highland Mint                           4100 North Riverside Drive              Royalty Agreement
                                                                               Melbourne FL 32937
Legendary Field Exhibitions, LLC   The Markham Group, LLC                      2001 S St NW                            Master Services Agreement
                                                                               Washington, DC 20009
Legendary Field Exhibitions, LLC   The Montag Group                            7 Renaissance Sq 2nd Fl                 Advisor-Consulting Agreement
                                                                               White Plains, NY 10601
Legendary Field Exhibitions, LLC   The Topps Company, Inc.                     One Whitehall Street                    License Agreement
                                                                               New York, NY 10004
Legendary Field Exhibitions, LLC   Thomas - Logan LLC                          P.O. Box 39                             Lease Agreement
                                                                               Cornelius, NC 28031
Legendary Field Exhibitions, LLC   Thompson, Chris                             Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Thompson, Haydn                             Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Thompson, Haydn                             Address on file                         Termination Agreement

Legendary Field Exhibitions, LLC   Three Sisters Partnership                   Attn: Accounts Receivable Department    Lease Agreement
                                                                               Acct #T0001262-A88UNI/01
                                                                               PO Box 3661
                                                                               Memphis TN 38173
Legendary Field Exhibitions, LLC   Tice, Nate                                  Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Ticketmaster LLC                            Ticketmaster LLC                        License Agreement
                                                                               14643 Collections Center Drive
                                                                               Chicago IL 60693
                                                                                                                                                                                                19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 265 of




                                                                                                     Page 11 of 13
                                                                                In re Legendary Field Exhibitions, LLC
                                                                                               Case No.
                                                    Schedule G: Part 10, Question 60 - 65 - Schedule G: Executory Contracts and Unexpired Leases

           Debtor Name                      Contract Counterparty                              Address               Description of Contract or Lease Date of    Remaining       List Contract
                                                                                                                      and Nature of Debtor's Interest Contract     Term         Number of Any
                                                                                                                                                      or Lease                   Government
                                                                                                                                                                                   Contract
Legendary Field Exhibitions, LLC   Ticketmaster LLC                          Ticketmaster LLC                        Software License Agreement
                                                                             14643 Collections Center Drive
                                                                             Chicago IL 60693
Legendary Field Exhibitions, LLC   TS2 Holdings, LLC                         300 N. Sepulveda Blvd Suite 1018, El    Master Services Agreement
                                                                             Segundo, CA 90245
Legendary Field Exhibitions, LLC   Turner Sports, Inc.                       One CNN Center                          Broadcasting Agreement
                                                                             Atlanta, GA 30303                                                                     12/31/2020
Legendary Field Exhibitions, LLC   UCF Athletics Association, Inc.           4465 Knights Victory Way                Memorandum of Understanding (as
                                                                             Orlando, Florida 32816                  amended)
Legendary Field Exhibitions, LLC   UCFAA - Spectrum Stadium                  4465 Knights Victory Way                License Agreement
                                                                             Orlando, FL 32816
Legendary Field Exhibitions, LLC   Under the Hood, Inc.                      1118 3rd Street                         Master Services Agreement
                                                                             Apt. 501
                                                                             Santa Monica, CA 90403
Legendary Field Exhibitions, LLC   University of the Incarnate Word          University of the lncamate Word         Lease / Facilities Use Agreements
                                                                             c/o Schaffer Frost
                                                                             4301 Broadway, CPO 2E6
                                                                             San Antonio, TX 7E209
Legendary Field Exhibitions, LLC   University of Utah                        Rice-Eccles Stadium & Tower             Confidentiality Agreement
                                                                             University of Utah
                                                                             Salt Lake City UT 84112-0320
Legendary Field Exhibitions, LLC   University of Utah                        Rice-Eccles Stadium & Tower             Lease / Facilities Use Agreements
                                                                                                                                                                                                                                         269




                                                                             University of Utah
                                                                             Salt Lake City UT 84112-0320
Legendary Field Exhibitions, LLC   Valanju, Jay                              Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Valanju, Jay                              Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Vasquez, Charlene                         Address on file                         Employee Invention Assignment
                                                                                                                     and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Vick, Michael                             Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Vision Service Plan - VSP                 PO Box 45210                            Vision Service Plan
                                                                             San Francisco, CA 95145-5210
Legendary Field Exhibitions, LLC   Voth, David                               Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Waddell, Mike                             Address on file                         Employee Invention Assignment
                                                                                                                     and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Ward Jr, Hines                            Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Ward, Thomas                              Address on file                         Employee Invention Assignment
                                                                                                                     and Confidentiality Agreement
Legendary Field Exhibitions, LLC   Warner, Kurt                              Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Weingrad, Josh                            Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Werqwise, Inc                             149 New Montgomery St                   Lease Agreement
                                                                             San Francisco CA 94105
Legendary Field Exhibitions, LLC   Werqwise, Inc                             149 New Montgomery St                   Membership Agreement
                                                                             San Francisco CA 94105
                                                                                                                                                                                                 19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 266 of




                                                                                                   Page 12 of 13
                                                                                In re Legendary Field Exhibitions, LLC
                                                                                               Case No.
                                                    Schedule G: Part 10, Question 60 - 65 - Schedule G: Executory Contracts and Unexpired Leases

           Debtor Name                       Contract Counterparty                             Address               Description of Contract or Lease Date of    Remaining    List Contract
                                                                                                                      and Nature of Debtor's Interest Contract     Term      Number of Any
                                                                                                                                                      or Lease                Government
                                                                                                                                                                                Contract
Legendary Field Exhibitions, LLC   WeWork                                    115 W 18th St 2nd Floor                 Lease Agreement
                                                                             New York, NY 10011
Legendary Field Exhibitions, LLC   Wheels Up Partners LLC                    220 W 42nd St, 9th Fl                   Trade Out Agreement
                                                                             New York, NY 10036
Legendary Field Exhibitions, LLC   White, Ken                                Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   White, Kenny                              Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Wilson, Elijah                            Address on file                         Employee Invention Assignment
                                                                                                                     and Confidentiality Agreement
Legendary Field Exhibitions, LLC   WinCraft Inc.                             Matt Freiberg                           License Agreement
                                                                             960 East Mark Street
                                                                             Winona MN 55987
Legendary Field Exhibitions, LLC   WinCraft Inc.                             Matt Freiberg                           Royalty Agreement
                                                                             960 East Mark Street
                                                                             Winona MN 55987
Legendary Field Exhibitions, LLC   Winter, Seth                              Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Won Worldwide LLC                         120 Holbrook Road                       Consulting and Sponsorship
                                                                             Briarcliff Manor NY 10510               Agreement
Legendary Field Exhibitions, LLC   Wood, Brian                               Address on file                         Termination Agreement
                                                                                                                                                                                                                                      269




Legendary Field Exhibitions, LLC   Woods, Brian                              Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Woodson, Rod                              Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Xing, Steven                              Address on file                         Employee Invention Assignment
                                                                                                                     and Confidentiality Agreement
Legendary Field Exhibitions, LLC   XOS Technologies, Inc. dba XOS Digital    P.O Box 742251                          License Agreement
                                                                             Atlanta GA 30374-2251
Legendary Field Exhibitions, LLC   Yasin, Kareem                             Address on file                         Advisor-Consulting Agreement

Legendary Field Exhibitions, LLC   Yasin, Kareem                             Address on file                         Termination Agreement

Legendary Field Exhibitions, LLC   Zettler, Brian                            Address on file                         Advisor-Consulting Agreement
                                                                                                                                                                                              19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 267 of




                                                                                                    Page 13 of 13
       19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 268 of
                                               269
 Fill in this information to identify the case:

              Legendary Field Exhibitions, LLC
 Debtor name __________________________________________________________________

                                        Western
 United States Bankruptcy Court for the:_______________________             Texas
                                                                District of ________
                                                                                  (State)
 Case number (If known):            _________________________




                                                                                                                                                         Check if this is an
                                                                                                                                                           amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
           No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
           Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                                           Check all schedules
             Name                             Mailing address                                             Name
                                                                                                                                                           that apply:


 2.1
           Ebersol Sports Media Group, Inc.
         _____________________                 4525 Macro St.
                                              ________________________________________________________     MGM Resorts International Operations, Inc.
                                                                                                                                                            D                   
                                                                                                           _____________________
                                              Street                                                                                                       E/F
                                              ________________________________________________________                                                      G
                                               San Antonio             TX              78218
                                              ________________________________________________________
                                              City                    State             ZIP Code

                                                                                                                                                                                 
 2.2      AAF Properties, LLC                  4525 Macro St.
         _____________________                ________________________________________________________     MGM Resorts International Operations, Inc.
                                                                                                           _____________________                            D
                                              Street                                                                                                       E/F
                                              ________________________________________________________                                                      G
                                               San Antonio             TX              78218
                                              ________________________________________________________
                                              City                    State             ZIP Code
                                                                                                                                                                                 
 2.3      AAF Players, LLC                     4525 Macro St.
         _____________________                ________________________________________________________     MGM Resorts International Operations, Inc.
                                                                                                           _____________________                            D
                                              Street                                                                                                       E/F
                                              ________________________________________________________                                                      G
                                               San Antonio             TX              78218
                                              ________________________________________________________
                                              City                    State             ZIP Code
                                                                                                                                                                                 
 2.4       Ebersol Sports Media Group, Inc.    4525 Macro St.
         _____________________                ________________________________________________________      Silicon Valley Bank
                                                                                                           _____________________                            D
                                              Street                                                                                                       E/F
                                              ________________________________________________________                                                      G
                                               San Antonio             TX              78218
                                              ________________________________________________________
                                              City                    State             ZIP Code
                                                                                                                                                                                 
 2.5
         _____________________                ________________________________________________________     _____________________                            D
                                              Street                                                                                                       E/F
                                              ________________________________________________________                                                      G

                                              ________________________________________________________
                                              City                    State             ZIP Code
                                                                                                                                                                                 
 2.6
         _____________________                ________________________________________________________     _____________________                            D
                                              Street                                                                                                       E/F
                                              ________________________________________________________                                                      G

                                              ________________________________________________________
                                              City                    State             ZIP Code




Official Form 206H                                                   Schedule H: Codebtors                                                                   page 1 of ___
19-50900-cag Doc#1 Filed 04/17/19 Entered 04/17/19 13:00:14 Main Document Pg 269 of
                                        269
